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                         Exhibit A

                        Time Entries
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                           Project: 00010 - ASSET ANALYSIS AND RECOVERY

Date        Name                            Hours Description

03/01/2023 Andrew Dietderich                 2.30 Review US cases on federal law of tracing.
03/01/2023 Keiji Hatano                      0.40 Correspondence with internal teams re:
                                                  non-whitelisted tokens.
03/01/2023 Brian Glueckstein                 1.00 Correspondence and follow-up with internal team re:
                                                  asset recovery and QE information requests.
03/01/2023 Jacob Croke                       2.70 Call with A. Holland, Sygnia and A&M re: asset
                                                  transfer (.40); analysis re: plan for recovering
                                                  additional crypto assets held on third party platforms
                                                  (.70); correspondence with third party platforms (.40),
                                                  A. Dietderich (.10) re: same; analyze issues re:
                                                  potential recovery of exchange assets (.50),
                                                  correspondence with Alix re: same (.20); analyze
                                                  potential improper transactions and relationships to
                                                  known entities (.40).
03/01/2023 Nicole Friedlander                1.00 Correspondence with K. Ramanathan (A&M), W.
                                                  Scheffer and M. Berger (STB) re: current relevant
                                                  third party personnel call (.20); review and analyze
                                                  third party exchange summary (.20); correspondence
                                                  with J. Gallant re: same (.20); calls with A. Lewis re:
                                                  public statement re: asset tracing and forensic
                                                  investigation (.40).
03/01/2023 Evan Simpson                      0.50 Review files and company details for certain
                                                  non-debtor entities and related governance for asset
                                                  recovery exercise.
03/01/2023 Sharon Levin                      0.20 Correspondence with SDNY re: asset recovery.
03/01/2023 Anthony Lewis                     2.00 Calls with N. Friedlander re: public statement re: asset
                                                  tracing and forensic investigation (.40); review press
                                                  statement (.20); correspondence with internal team re:
                                                  same (.10); correspondences with FTX, Chainalysis
                                                  and A&M teams re: public statements re: asset tracing
                                                  (.10); correspondence with Chainalysis, S&C and
                                                  TRM teams re: asset tracing (.20); correspondence
                                                  with S&C, Sygnia and A&M teams re: security issues
                                                  (.10). correspondence with S&C and A&M teams re:
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                           Project: 00010 - ASSET ANALYSIS AND RECOVERY

Date        Name                            Hours Description

                                                   relevant third party asset issues (.50); correspondence
                                                   with S&C, STB teams and vendor re: vendor
                                                   assistance (.40).
03/01/2023 Lester Su                         0.50 Call with S. Rosenthal re: data request to relevant third
                                                  party and jurisdictional questions.
03/01/2023 Kathleen Donnelly                 3.60 Review and revise cover letters re: Bahamas
                                                  properties project.
03/01/2023 Meaghan Kerin                     1.40 Revise technical questions for former Alameda
                                                  Research employee (.70); correspondence with A.
                                                  Lewis, A. Holland, A&M and former Alameda
                                                  Research employee counsel re: same (.30); review
                                                  chronology of events re: forensic investigation (.10);
                                                  correspondence with A. Lewis and Sygnia re: FTI
                                                  requests (.10); review Sam Bankman-Fried filings re:
                                                  technical consultants (.20).
03/01/2023 Alexander Holland                 5.00 Call with J. Croke, Sygnia, and A&M re: asset
                                                  transfer (.40); draft chronology relating to asset
                                                  recovery from a relevant third party (3.1);
                                                  correspondence with J. Croke, S. Yeargan and A&M
                                                  re: responses to third party exchanges holding
                                                  Alameda assets (1.4); attention to team
                                                  communication re: forensic investigation (.10).
03/01/2023 Samantha Rosenthal                6.90 Research re: seeking pretrial discovery from foreign
                                                  entities (1.4); call with L. Su re: data request to
                                                  relevant third party and jurisdictional questions (.50);
                                                  revise notes re: same (.30); correspondences with L.
                                                  Su and H. Middleditch re: same (.40); internal
                                                  correspondences with internal team re: same (.20);
                                                  revise FTI RFI supplemental responses and materials
                                                  (2.1); correspondences with A. Lewis re: same (.10);
                                                  review Chainalysis materials re: unauthorized
                                                  transactions (.40); analysis re: same (.50); revise
                                                  chronology of key events (.20); attention to
                                                  correspondence with Chainalysis re: asset tracing
                                                  (.10); review relevant third party evidence (.70).
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                          Project: 00010 - ASSET ANALYSIS AND RECOVERY

Date        Name                           Hours Description
03/01/2023 Medina Sadat                     8.90 Research and review real estate documents re:
                                                 Bahamian properties project.
03/01/2023 Matthew Strand                   1.30 Review and summarize documents re: relevant third
                                                 parties.
03/01/2023 Ugonna Eze                       4.00 Research and review real estate documents re:
                                                 Bahamian properties project (2.5); prepare summaries
                                                 re: same (1.5).
03/01/2023 Emma Downing                     1.10 Revise stipulation re: political donation recovery from
                                                 relevant third party.
03/02/2023 Stephanie Wheeler                0.50 Correspondence with A. Holland re: Alameda data
                                                 requested by federal regulator (.10); correspondence
                                                 with current debtor entity personnel and A. Herzog
                                                 (Katz Banks Kumin) re: settlement payments received
                                                 (.20); correspondence with M. Cilia (RLKS) and C.
                                                 Dunne re: bank accounts (.20).
03/02/2023 Stephen Ehrenberg                0.60 Call with B. Harsch, F. Weinberg Crocco, E.
                                                 Downing, D. Hisarli and Turkish counsel re: legal
                                                 developments in Turkey (partial attendance).
03/02/2023 Brian Glueckstein                1.10 Call with S&C and federal regulator team re: asset
                                                 forfeiture issues (.80); review correspondence and
                                                 follow-up with federal regulator re: same (.30).
03/02/2023 Christopher Dunne                1.30 Review materials re: relevant third party re: political
                                                 contributions (.80); call with federal regulator re:
                                                 political contributions (.50).
03/02/2023 Kathleen McArthur                0.20 Correspondence with internal team re: political
                                                 donation workstreams.
03/02/2023 Jacob Croke                      3.90 Call with A. Holland, Sygnia and A&M re: asset
                                                 transfer (.60); analyze issues re: customer entitlements
                                                 and related parties (.50), correspondence with A.
                                                 Dietderich re: same (.20); analysis re: potential asset
                                                 misappropriation and recovery plan (.60),
                                                 correspondence with Alix re: same (.10);
                                                 correspondence with current FTX Japan personnel re:
                                                 FTX Japan assets (.20); correspondence with A.
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Date        Name                            Hours Description

                                                   Cohen re: venture asset recovery (.20); analyze issues
                                                   re: assets held on third party platforms and recovery
                                                   plans (.60), correspondence third party platform re:
                                                   same (.10); call with S&C and federal regulator teams
                                                   re: asset forfeiture issues (.80).
03/02/2023 Nicole Friedlander                1.70 Call with A. Lewis, M. Kerin, A. Holland, S.
                                                  Rosenthal and Sygnia re: status of forensic
                                                  investigation, coordination with DOJ, relevant third
                                                  party evidence and ongoing case management (.30 -
                                                  partial attendance); follow-up call with A. Lewis, M.
                                                  Kerin, A. Holland and S. Rosenthal re: status of
                                                  forensic investigation (.10); call with J. Peck (DOJ)
                                                  and A. Lewis re: forensic investigation (.10); call with
                                                  A. Lewis re: forensic investigation, third party asset
                                                  freeze (.20); review and revise list of advisor questions
                                                  for former FTX and Alameda personnel (.40);
                                                  correspondence with M. Kerin and advisors re: same
                                                  (.40); meeting with M. Materni re: political
                                                  contributions presentations to federal regulator (.20).
03/02/2023 James Bromley                     1.20 Call with S&C and federal regulator teams re: asset
                                                  forfeiture issues (.80); correspondence with internal
                                                  team re: same (.40).
03/02/2023 Sharon Levin                      0.70 Call with S&C and federal regulator teams re: asset
                                                  forfeiture issues (.50 - partial attendance); meeting
                                                  with B. Harsch re: state law enforcement inquiry on
                                                  seizure of assets (.20).
03/02/2023 Anthony Lewis                     2.70 Call with N. Friedlander, M. Kerin, A. Holland, S.
                                                  Rosenthal and Sygnia team re: status of forensic
                                                  investigation, coordination with DOJ, relevant third
                                                  party evidence and ongoing case management (.40);
                                                  follow-up call with N. Friedlander, M. Kerin, A.
                                                  Holland and S. Rosenthal re: status of forensic
                                                  investigation (.10); review materials re: investigation
                                                  report (.10); review revisions to press statement (.10);
                                                  review materials re: asset transfers and tracing (.50);
                                                  call with J. Laatikainen (Chainalysis) re: asset tracing
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Date        Name                             Hours Description

                                                    and DOJ/FBI discussions (.30); correspondence with
                                                    S&C, Sygnia, Chainalysis and A&M teams re: asset
                                                    tracing issues (.50); correspondence with DOJ, S&C
                                                    and Sygnia teams re: forensic investigation (.20); call
                                                    with J. Peck (DOJ) and N. Friedlander re: same (.10);
                                                    call with N. Friedlander re: forensic investigation, third
                                                    party asset freeze (.20); correspondence with DOJ,
                                                    FTX and S&C teams re: third party asset freeze (.10);
                                                    correspondence with internal team re: political
                                                    donations materials (.10).
03/02/2023 Bradley Harsch                     1.50 Prepare for call with Turkish counsel re: FTX Turkey
                                                   strategy (.20); call with S. Ehrenberg, F. Weinberg
                                                   Crocco, E. Downing, D. Hisarli and Turkish counsel
                                                   re: legal developments in Turkey (.70);
                                                   correspondence with Turkish counsel re: request for
                                                   access to FTX Turkey Gmail data (.20);
                                                   correspondence with S. Levin and N. Friedlander re:
                                                   State Law Enforcement inquiry on seizure of assets
                                                   (.20); meeting with S. Levin re: same (.20).
03/02/2023 Lester Su                          0.90 Call with H. Middleditch and S. Rosenthal re:
                                                   discovery request to relevant third party and
                                                   jurisdictional questions (.60); call with S. Rosenthal re:
                                                   discovery request to relevant third party and
                                                   jurisdictional questions (.30).
03/02/2023 Michele Materni                    0.80 Call with J. Rosenfeld and Z. Flegenheimer re: political
                                                   donations and loan investigation in response to federal
                                                   regulator request (.60); meeting with N. Friedlander
                                                   re: political contributions presentations to federal
                                                   regulator (.20).
03/02/2023 Hattie Middleditch                 5.20 Review materials re: third party document requests for
                                                   information connected to forensic incident (1.0); Note
                                                   of advice to S. Rosenthal re: English law procedural
                                                   mechanisms available in support of foreign
                                                   proceedings (3.0); call with L. Su and S. Rosenthal re:
                                                   discovery request to relevant third party and
                                                   jurisdictional questions (.60); correspondence with
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Date        Name                            Hours Description

                                                   David Allison KC re: issue (.40); correspondence with
                                                   S Rosenthal re: next steps (.20).
03/02/2023 Fabio Weinberg Crocco             0.70 Call with S. Ehrenberg, B. Harsch, E. Downing, D.
                                                  Hisarli and Turkish counsel re: legal developments in
                                                  Turkey.
03/02/2023 Kathleen Donnelly                 3.10 Call with M. Sadat and K. Mayberry re: feedback on
                                                  Bahamas properties project (.40); review and revise
                                                  summaries re: Bahamas property project (2.6);
                                                  meeting with K. Mayberry re: Bahamas property
                                                  project workstream (.10).
03/02/2023 Zoeth Flegenheimer                0.50 Correspondence with J. Rosenfeld re: status of Alix's
                                                  work tracing funds for political contributions (.10); call
                                                  with M. Materni and J. Rosenfeld re: political
                                                  donations and loan investigation in response to federal
                                                  regulator request (.40 - partial attendance).
03/02/2023 Meaghan Kerin                     2.40 Call with A. Lewis, N. Friedlander, A. Holland, S.
                                                  Rosenthal and Sygnia re: status of forensic
                                                  investigation, coordination with DOJ, relevant third
                                                  party evidence and ongoing case management (.40);
                                                  follow-up call re: status of forensic investigation with
                                                  N. Friedlander, A. Lewis, A. Holland and S.
                                                  Rosenthal (.10); review Chainalysis memoranda (.20);
                                                  review relevant third party productions (.20);
                                                  correspondence with N. Friedlander, A. Lewis, S.
                                                  Rosenthal, H. Zhukovsky and LRC re: same (.20);
                                                  revise interview questions for former employees (.30);
                                                  correspondence with N. Friedlander, A&M and Alix
                                                  re: same (.10); analyze Sygnia records re:
                                                  unauthorized transactions and related investigation
                                                  findings (.40); correspondence with A. Lewis and
                                                  Sygnia re: asset tracing, recovery issues (.20);
                                                  correspondence with A. Lewis, Sygnia re: DOJ
                                                  updates (.10); review S. Rosenthal summary re:
                                                  research relating to service on Relevant Third Parties
                                                  (.10); review Sygnia updates re: historic website
                                                  records (.10).
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Date        Name                            Hours Description
03/02/2023 KJ Lim                            0.30 Review and comment on IP questions re: relevant third
                                                  party settlement agreement.
03/02/2023 Jared Rosenfeld                   1.00 Call with J. Rosenfeld, D. O’Hara, T. Millet, and E.
                                                  Downing re: coordination on political contributions
                                                  workstream (.40); call with M. Materni and Z.
                                                  Flegenheimer re: political donations and loan
                                                  investigation in response to federal regulator request.
                                                  (.60).
03/02/2023 Alexander Holland                 2.80 Call with J. Croke, Sygnia and A&M re: asset transfer
                                                  (.50 - partial attendance); call with N. Friedlander, A.
                                                  Lewis, M. Kerin, S. Rosenthal and Sygnia re: status of
                                                  forensic investigation, coordination with DOJ, relevant
                                                  third party evidence and ongoing case management
                                                  (.40); follow-up call with N. Friedlander, A. Lewis,
                                                  M. Kerin and S. Rosenthal re: status of forensic
                                                  investigation (.10); call with L. Goldman (AP) and B.
                                                  Mackay (Alix) re: asset recovery from a relevant third
                                                  party (.50); review communications with AP re: asset
                                                  recovery from a relevant third party (.60);
                                                  correspondence with J. Croke and S. Yeargan re:
                                                  responses to third party exchanges holding Alameda
                                                  assets (.70).
03/02/2023 Daniel O'Hara                     0.40 Call with J. Rosenfeld, T. Millet and E. Downing re:
                                                  coordination on political contributions workstream.
03/02/2023 Samantha Rosenthal                6.40 Call with L. Su re: discovery request to relevant third
                                                  party and jurisdictional questions (.30); call with L. Su
                                                  and H. Middleditch re: same (.60); revise notes re:
                                                  same (.50); correspondences with L. Su and H.
                                                  Middleditch re: same (.50); draft summary re: seeking
                                                  pretrial discovery from foreign Relevant Third Parties
                                                  (.60); correspondence with N. Friedlander and A.
                                                  Lewis re: same (.50); draft summary of outstanding
                                                  items in forensic investigation (.70); call with A. Lewis,
                                                  N. Friedlander, M. Kerin, A. Holland and Sygnia re:
                                                  status of forensic investigation, coordination with DOJ,
                                                  relevant third party evidence and ongoing case
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Date        Name                           Hours Description

                                                  management (.40); follow-up call with N. Friedlander,
                                                  A. Lewis, M. Kerin, and A. Holland re: status of
                                                  forensic investigation (.10); revise notes re: same
                                                  (.30); draft follow-up questions to Relevant Third
                                                  Parties re: Rule 2004 subpoena responses (.90);
                                                  review relevant third party supplemental 2004
                                                  subpoena production (.70); analysis re: same (.30).
03/02/2023 Medina Sadat                     4.60 Research and review real estate documents re:
                                                 Bahamian properties project (4.2); call with K.
                                                 Donnelly and K. Mayberry re: feedback on Bahamas
                                                 properties project (.40).
03/02/2023 Ugonna Eze                       3.50 Research and review real estate documents re:
                                                 Bahamian properties project (2.0); prepare summaries
                                                 re: same (1.5).
03/02/2023 Emma Downing                     1.10 Call with S. Ehrenberg, B. Harsch, F. Weinberg
                                                 Crocco, D. Hisarli and Turkish counsel re: legal
                                                 developments in Turkey (.70); call with J. Rosenfeld,
                                                 D. O’Hara and T. Millet re: coordination on political
                                                 contributions workstream (.40).
03/02/2023 M. Devin Hisarli                 0.70 Call with S. Ehrenberg, B. Harsch, F. Weinberg
                                                 Crocco, E. Downing, and Turkish counsel re: legal
                                                 developments in Turkey.
03/02/2023 Keila Mayberry                   6.90 Draft summaries re: Bahamas properties project (6.4);
                                                 call with M. Sadat and K. Donnelly re: feedback on
                                                 Bahamas properties project (.40); meeting with K.
                                                 Donnelly re: Bahamas property project workstream
                                                 (.10).
03/02/2023 Tatum Millet                     3.80 Call with J. Rosenfeld, D. O’Hara and E. Downing re:
                                                 coordination on political contributions workstream
                                                 (.40); correspondences with J. Rosenfeld re: 2021
                                                 political contribution records (.60); review political
                                                 contribution documents (.50); review document
                                                 summary to identify political donations documents
                                                 (.40); revise political donations document summary
                                                 spreadsheet (1.2); review produced documents (.20);
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Date        Name                            Hours Description

                                                   update political contributions sub-chronology (.50).
03/02/2023 Hannah Zhukovsky                  0.80 Review materials from relevant third party
                                                  productions.
03/03/2023 Andrew Dietderich                 0.20 Correspondence with relevant third party team on
                                                  bank custodial risk for remaining non-migrated
                                                  accounts.
03/03/2023 Brian Glueckstein                 1.50 Correspondence and follow-up with internal team re:
                                                  relevant third party settlement issues (.70); review
                                                  documents and information re: facts supporting asset
                                                  recoveries (.80).
03/03/2023 Christopher Dunne                 1.00 Call with D. O’Hara, P. Brothers (Graves Garrett)
                                                  and E. Greim (Graves Garrett) re: FTX donation
                                                  repayments (.30); correspondence with S&C
                                                  bankruptcy team and investigations team re: same
                                                  (.70).
03/03/2023 Jacob Croke                       2.90 Call with A. Holland re: account balance in an
                                                  Alameda account at a relevant third party (.20);
                                                  analyze issues re: third party exchange accounts and
                                                  recovery plans (.60), correspondence with K.
                                                  Ramanathan (A&M), A. Holland and A. Liv-Feyman
                                                  re: same (.40); call with A. Thompson and T. Millet re:
                                                  token depegging inquiry and potential sources of
                                                  recovery (.60), follow-up correspondence re: same
                                                  (.30), review additional materials from TRM re: same
                                                  (.20); analyze issue re: potential motion for turnover of
                                                  third party exchange account assets (.30),
                                                  correspondence with S. Yeargan re: same (.10), call
                                                  with A. Holland re: same (.20).
03/03/2023 Anthony Lewis                     1.10 Review relevant third party materials (.20);
                                                  correspondence with DOJ and S&C teams re: law
                                                  enforcement requests (.10); correspondence with
                                                  S&C, Sygnia and Mayer Brown teams re: relevant
                                                  third party issues (.40); correspondence with S&C
                                                  and A&M teams re: relevant third party issues (.10);
                                                  correspondence with S&C, A&M, TRM, Chainalysis
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Date        Name                             Hours Description

                                                    and Alix teams re: asset tracing and transfer (.20);
                                                    correspondence with S&C, A&M and Sygnia teams
                                                    re: potential asset sale issues (.10).
03/03/2023 Bradley Harsch                     0.20 Correspondence with internal team re: FTX Turkey
                                                   access to KYC data.
03/03/2023 Lester Su                          0.30 Call with D. Allison (KC) and H. Middleditch re: third
                                                   party discovery against relevant third party.
03/03/2023 Michele Materni                    0.50 Call with K. Donnelly re: Bahamas properties project
                                                   (.30); correspondence with T. Millet and J. Rosenfeld
                                                   re: political contributions tracking (.20).
03/03/2023 Hattie Middleditch                 1.20 Call with L. Su and D. Allison (KC) re: third party
                                                   discovery against relevant third party (.30); call with
                                                   H. Middleditch and S. Rosenthal re: third party
                                                   discovery and relevant third party evidence (.40); note
                                                   on process and test for obtaining a third party
                                                   discovery (.50).
03/03/2023 Kathleen Donnelly                  2.30 Call with M. Materni re: Bahamas properties project
                                                   (.30); call with U. Eze re: Bahamas properties project
                                                   (.30); correspondence with internal team re: Bahamas
                                                   properties project (1.7).
03/03/2023 Meaghan Kerin                      0.50 Correspondence with S. Rosenthal, Sygnia,
                                                   Chainalysis re: unauthorized transactions, asset tracing
                                                   issues (.20); review draft RFI responses (.30).
03/03/2023 KJ Lim                             0.30 Review and comment on IP questions re: relevant third
                                                   party settlement agreement.
03/03/2023 Jared Rosenfeld                    0.90 Review correspondence re: UCC approval of relevant
                                                   third party settlement (.50); correspondence with
                                                   internal team re: Alix team research into political
                                                   donations (.40).
03/03/2023 Andrew Thompson                    2.80 Call with J. Croke and T. Millet re: token depegging
                                                   inquiry and potential sources of recovery (.60); call
                                                   with T. Millet re: initial steps of relevant third party
                                                   bridge research for J. Croke (.10); review
                                                   background material circulated by J. Croke re:
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Date        Name                            Hours Description

                                                   relevant third party token bridge and assets and begin
                                                   scoping searches in database (2.1).
03/03/2023 Alexander Holland                 1.10 Call with J. Croke re: potential motion for turnover of
                                                  third party exchange account assets (.20); call with
                                                  A&M re: Alameda account data at a third party
                                                  exchange (.50); correspondence with J. Croke and
                                                  A&M re: same (.20); attention to internal team
                                                  communication re: forensic investigation (.20).
03/03/2023 Daniel O'Hara                     0.70 Call with C. Dunne, D. O’Hara, P. Brothers (Graves
                                                  Garrett) and E. Greim (Graves Garrett) re: FTX
                                                  donation repayments (.30); call with C. Dunne, M.
                                                  Summers (Ballard Spahr), D. Arellano (Herrera
                                                  Arellano) and D. Fox (Herrera Arellano) re: real
                                                  estate issues (.40).
03/03/2023 Samantha Rosenthal                0.40 Call with H. Middleditch re: third party discovery and
                                                  relevant third party evidence
03/03/2023 Medina Sadat                      5.40 Research and review real estate documents re:
                                                  Bahamian properties project (4.8); meeting with M.
                                                  Strand, U. Eze, N. Hills, A. Mazumdar and K.
                                                  Mayberry re: Bahamas properties project workstream
                                                  (.60).
03/03/2023 Matthew Strand                    4.80 Meeting with M. Sadat, U. Eze, N. Hills, A.
                                                  Mazumdar and K. Mayberry re: Bahamas properties
                                                  project workstream (.60); review real estate
                                                  documents for Bahamian properties project (2.0);
                                                  draft cover letter re: same (2.2).
03/03/2023 Ugonna Eze                        2.80 Research and review real estate documents re:
                                                  Bahamian properties project (1.2); prepare summaries
                                                  re: same (.70); meeting with M. Strand, M. Sadat, N.
                                                  Hills, A. Mazmudar and K. Mayberry re: Bahamas
                                                  properties project workstream (.60); call with K.
                                                  Donnelly re: Bahamas properties project (.30).
03/03/2023 Natalie Hills                     7.90 Review sample materials re: Bahamas properties
                                                  project (1.2); meeting with M. Sadat, M. Strand, U.
                                                  Eze, A. Mazumdar and K. Mayberry re: Bahamas
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Date        Name                            Hours Description

                                                   properties project workstream (.60); research and
                                                   review real estate documents re: Bahamas properties
                                                   project (6.1).
03/03/2023 Keila Mayberry                    6.40 Work on Bahamas properties project (5.8); meeting
                                                  with M. Sadat, M. Strand, U. Eze, N. Hills and A.
                                                  Mazumdar re: Bahamas properties project
                                                  workstream (.60).
03/03/2023 Aneesa Mazumdar                   5.00 Research and review real estate documents re:
                                                  Bahamian properties project (4.4); meeting with M.
                                                  Sadat, M. Strand, U. Eze, N. Hills, and K. Mayberry
                                                  re: Bahamas properties project workstream (.60).
03/03/2023 Tatum Millet                      4.70 Call with J. Croke and A. Thompson re: token
                                                  depegging inquiry and potential sources of recovery
                                                  (.60); call with A. Thompson re: initial steps of
                                                  relevant third party bridge research for J. Croke (.10);
                                                  research re: FTX relevant third party bridge (2.4);
                                                  correspondence with J. Rosenfeld re: updated political
                                                  donations (.30); identify additional spreadsheets to
                                                  include in political donations document summaries
                                                  (.40); correspondence with H. Carr re: same (.10);
                                                  review additional political donations documents re:
                                                  crypto donations to add to binder (.40); update
                                                  document summaries with same (.40).
03/03/2023 Eric Newman                       0.20 Correspondence with FTI team re: KYC Turkey data.
03/04/2023 Brian Glueckstein                 0.20 Correspondence with A. Dietderich and S. Levin re:
                                                  bank issues.
03/04/2023 Mehdi Ansari                      0.80 Review communications with internal team re: relevant
                                                  third party settlement (.40); correspondence with J.
                                                  Croke re: IP considerations for relevant third party
                                                  settlement (.40).
03/04/2023 Jacob Croke                       2.10 Analyze issues re: recoveries from third party
                                                  exchanges (1.7); correspondence with B. Glueckstein
                                                  and K. Ramanathan (A&M) re: same (.40).
03/04/2023 Anthony Lewis                     0.60 Review investigation report outline (.10);
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Date        Name                            Hours Description

                                                   correspondence with S&C and Sygnia teams re:
                                                   investigation report (.40); correspondence with S&C,
                                                   A&M teams re: asset tracing (.10).
03/04/2023 Kathleen Donnelly                 2.00 Review and revise summaries re: Bahamas properties
                                                  project (1.8); correspondence with team re: same
                                                  (.20).
03/04/2023 Meaghan Kerin                     0.20 Correspondence with A. Lewis and Sygnia re:
                                                  potential vulnerabilities (.10); correspondence with A.
                                                  Lewis re: asset tracing issues and unauthorized
                                                  transactions (.10).
03/04/2023 Alexander Holland                 0.80 Revise third party exchange tracker (.30); attention to
                                                  team communication re: forensic investigation (.20);
                                                  correspondence with J. Croke re: assets at a relevant
                                                  third party (.30).
03/04/2023 Matthew Strand                    2.60 Review documents related to Bahamas real estate and
                                                  prepare summaries for same.
03/04/2023 Keila Mayberry                    2.00 Draft summaries re: Bahamas properties project.
03/05/2023 Rebecca Simmons                   0.10 Correspondence with A. Dietderich and B.
                                                  Glueckstein re: bailment research.
03/05/2023 Andrew Dietderich                 0.60 Review materials re: FTT valuation (.30);
                                                  correspondence with J. Bromley re: same (.30).
03/05/2023 Brian Glueckstein                 0.40 Correspondence with internal team and follow-up re:
                                                  relevant third party settlement.
03/05/2023 Kathleen McArthur                 0.40 Correspondence with A. Dietderich, N. Friedlander
                                                  and Alix team re: status of forensic work and planning
                                                  for board.
03/05/2023 Jacob Croke                       0.50 Review additional potential sources of crypto
                                                  recoveries, including tracking exchange-related wallets
                                                  and assets to be secured.
03/05/2023 Anthony Lewis                     1.30 Review and revise excerpts of investigation report
                                                  (.30); correspondence with S&C, Sygnia teams re:
                                                  investigation report (.30); correspondence with
                                                  internal team re: forensic investigation (.40);
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Date        Name                            Hours Description

                                                   correspondence with S&C, A&M teams re: asset
                                                   tracing and transfers (.20); correspondence with
                                                   internal team re: security assessment (.10).
03/05/2023 Kathleen Donnelly                 0.10 Correspondence with team re: Bahamas properties
                                                  project.
03/05/2023 Meaghan Kerin                     0.30 Correspondence with A. Lewis re: asset tracing
                                                  issues, unauthorized transactions (.10); review records
                                                  re: same (.20).
03/05/2023 Medina Sadat                      6.20 Research and review real estate documents re:
                                                  Bahamian properties project.
03/05/2023 Matthew Strand                    1.10 Review documents related to Bahamas properties
                                                  project (.50); prepare summaries re: same (.60).
03/05/2023 Natalie Hills                     0.30 Correspondence with K. Donnelly and M. Sadat re:
                                                  Bahamas properties project.
03/05/2023 Keila Mayberry                    0.80 Draft summaries re: Bahamas properties project (.50);
                                                  correspondence with internal team re: same (.30).
03/05/2023 Tatum Millet                      1.30 Update descriptions of work by Chainalysis and TRM
                                                  teams based on information provided by A&M team.
03/06/2023 Stephen Ehrenberg                 0.30 Review report from Nardello re: former FTX
                                                  personnel (.20); call with B. Harsch re: FTX Turkey
                                                  access to KYC documentation (.10).
03/06/2023 Brian Glueckstein                 4.60 Revise relevant third party settlement agreement (2.3);
                                                  address relevant third party settlement issues and
                                                  follow-up re: same (1.4); correspondence with S&C
                                                  and relevant third party counsel re: token issues and
                                                  correspondence (.40); review and analyze relevant
                                                  third party token security and issuance matters (.50).
03/06/2023 Mehdi Ansari                      0.80 Correspondences with internal team re: relevant third
                                                  party settlement agreement.
03/06/2023 Jacob Croke                       2.20 Analysis re: coordination of federal regulator forfeiture
                                                  and asset recoveries (.40); analyze third party
                                                  exchange records and related documentation for
                                                  turnover motion and recoveries re: other exchanges
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                                                    (.90); correspondence with K. Ramanathan (A&M),
                                                    A. Holland and B. Glueckstein re: same (.60); call
                                                    with S. Levin re: SDNY presentation (.30).
03/06/2023 Nicole Friedlander                 1.70 Call with W. Scheffer, current relevant third party
                                                   personnel (relevant third party), K. Ramanathan
                                                   (A&M), G. Walia (A&M), M. Berger (STB) and L.
                                                   Cron (STB) re: shortfall of customer assets at
                                                   FTX.US (.30); correspondence with J. Gallant re:
                                                   third party exchange documents (.30); review, analyze
                                                   and comment on draft federal regulator presentation
                                                   re: political contributions (.70); correspondence with
                                                   M. Materni, W. Scheffer and E. Downing re: same
                                                   (.30); review correspondence with W. Wagener re:
                                                   political contributions (.10).
03/06/2023 Sharon Levin                       0.80 Meeting with B. Harsch and state law enforcement re:
                                                   potential adversary action for recovery of assets (.30);
                                                   meeting with M. Materni re: asset forfeiture
                                                   presentation (.20); call with J. Croke re: SDNY
                                                   presentation (.30).
03/06/2023 Anthony Lewis                      2.50 Call with M. Kerin, S. Rosenthal, A. Holland, O.
                                                   Wortman (Sygnia) and Y. Torati (Sygnia) re: forensic
                                                   investigation outstanding items, FTI RFI, and staking
                                                   token activities (.50); call with O. Wortman (Sygnia)
                                                   re: relevant third party litigation (.10); review relevant
                                                   third party materials (.20); correspondence with S&C,
                                                   Sygnia, Mayer Brown teams re: relevant third party
                                                   issues (.60); correspondence with S&C, DOJ, FBI,
                                                   IRS and Sygnia teams re: forensic investigation (.50);
                                                   correspondence with internal team re: investigation
                                                   report (.10); correspondence with internal team re:
                                                   digital device collection and review (.20);
                                                   correspondence with internal team re: asset tracing
                                                   (.20); correspondence with S&C and A&M teams re:
                                                   relevant third party assets (.10).
03/06/2023 Bradley Harsch                     0.90 Call with S. Ehrenberg re: FTX Turkey access to
                                                   KYC documentation (.10); correspondence with
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                                                   A&M re: FTX Turkey access to KYC documentation
                                                   (.10); correspondence with FTX Turkey personnel re:
                                                   access to KYC documentation (.10); call with state
                                                   law enforcement and S. Levin re: potential adversary
                                                   action for recovery of assets (.30); follow up
                                                   correspondence with S. Levin re: follow-up to call
                                                   with state law enforcement (.20); correspondence with
                                                   A&M re: relevant third party question (.10).
03/06/2023 Michele Materni                   0.20 Meeting with S. Levin re: asset forfeiture presentation.
03/06/2023 Michael Haase                     0.90 Assessing asset recovery procedure against certain
                                                  accounts.
03/06/2023 Kathleen Donnelly                 4.40 Meeting with M. Strand and M. Sadat re: Bahamas
                                                  properties project (.20); review and revise summaries
                                                  re: Bahamas properties project (4.2).
03/06/2023 Meaghan Kerin                     1.30 Call with A. Lewis, S. Rosenthal, A. Holland, O.
                                                  Wortman (Sygnia) and Y. Torati (Sygnia) re: forensic
                                                  investigation outstanding items, FTI RFI, and staking
                                                  token activities (.50); correspondence with N.
                                                  Friedlander and A. Lewis re: FTI requests (.10);
                                                  revise workplan re: forensic investigation (.20);
                                                  correspondence with S. Rosenthal re: same (.10);
                                                  correspondence with N. Friedlander and FTI re:
                                                  collection of former employee devices (.10);
                                                  correspondence with Sygnia, DOJ re: investigation
                                                  updates (.10) correspondence with N. Friedlander re:
                                                  interview questions for former employees (.10);
                                                  correspondence with Sygnia re: investigation updates
                                                  (.10).
03/06/2023 KJ Lim                            0.40 Review and revise relevant third party settlement
                                                  agreement.
03/06/2023 Jared Rosenfeld                   1.70 Revise relevant third party settlement agreement.
03/06/2023 Alexander Holland                 2.80 Call with A. Lewis, M. Kerin, S. Rosenthal, O.
                                                  Wortman (Sygnia) and Y. Torati (Sygnia) re: forensic
                                                  investigation outstanding items, FTI RFI, and staking
                                                  token activities (.10 - partial attendance); call with K.
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                                                  Baker (A&M) re: asset collection from a relevant third
                                                  party (1.2); correspondence with J. Croke and K.
                                                  Baker re: same (.60); attention to correspondence re:
                                                  recovery from third party exchanges (.10);
                                                  correspondence with Alix, A&M, and J. Croke re:
                                                  Alameda relevant third party instances and account at
                                                  a relevant third party (.80).
03/06/2023 Samantha Rosenthal               5.80 Review S&C action list re: forensic investigation (.20);
                                                 call with A. Lewis, M. Kerin, A. Holland, O.
                                                 Wortman (Sygnia) and Y. Torati (Sygnia) re: forensic
                                                 investigation outstanding items, FTI RFI, and staking
                                                 token activities (.50); revise notes re: same (.30);
                                                 correspondence with S. Tanchuma (Sygnia) re: same
                                                 (.20); review Sygnia forensic findings (.90);
                                                 correspondence with A. Lewis re: FTI RFI (.10);
                                                 revise supplemental responses to FTI RFI (.70);
                                                 correspondence with A. Holland, M. Kerin re:
                                                 ongoing case management (.30); correspondence with
                                                 H. Zhukovsky re: same (.10); review unauthorized
                                                 transactions and potentially compromised addresses
                                                 (.60); attention to internal correspondences with
                                                 internal team re: asset tracing (.50) review former FTX
                                                 employee interview questions (.30); review employee
                                                 interview readout (.20); review relevant third party
                                                 evidence (.70); draft summary re: same (.20).
03/06/2023 Medina Sadat                     8.40 Meeting with K. Donnelly and M. Strand re: Bahamas
                                                 properties project (.20); review and revise cover
                                                 letters re: Bahamas properties project (8.2).
03/06/2023 Matthew Strand                   5.10 Meeting with K. Donnelly and M. Sadat re: Bahamas
                                                 properties project (.20); work on Bahamas properties
                                                 project based on comments from S. Wheeler and K.
                                                 Donnelly (1.70); prepare document summaries for
                                                 Bahamas properties project (3.20).
03/06/2023 Ugonna Eze                       4.00 Research and review real estate documents re:
                                                 Bahamian properties project (2.5); prepare summaries
                                                 re: same (1.5).
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Date        Name                            Hours Description
03/06/2023 Natalie Hills                     8.70 Research and review real estate documents re:
                                                  Bahamas properties project (4.1); draft cover letters
                                                  re: Bahamas properties project (3.7); draft summaries
                                                  re: Bahamas properties project (.90).
03/06/2023 Keila Mayberry                    2.40 Draft summaries re: Bahamas properties project.
03/06/2023 Aneesa Mazumdar                  11.20 Research and review real estate documents re:
                                                  Bahamian properties project.
03/06/2023 William Scheffer                  0.30 Call with N. Friedlander, current debtor entity
                                                  personnel, K. Ramanathan (A&M), G. Walia (A&M),
                                                  M. Berger (STB) and L. Cron (STB) re: shortfall of
                                                  customer assets at FTX.US.
03/07/2023 Stephanie Wheeler                 0.40 Review Nardello memo on relevant third party (.30);
                                                  correspondence with A. Kranzley re: founder loan
                                                  spreadsheeet (.10).
03/07/2023 Brian Glueckstein                 3.80 Call with J. Croke re: third party exchange and
                                                  follow-up work (1.1); meeting with J. Croke, J.
                                                  Rosenfeld, K. Mayberry, V. Kotharu (Alix), D.
                                                  Schwartz (Alix) and A. Searles (Alix) re: potential
                                                  relevant third party settlement information request list
                                                  (.30); call with C. Dunne and A. Lewis re: relevant
                                                  third party reissuance strategy (.60); revise relevant
                                                  third party settlement agreement and related (1.0); call
                                                  with J. Croke re: relevant third party settlement issues
                                                  and follow-up (.50); call with S. Levin re: SDNY
                                                  forfeiture (.30).
03/07/2023 Christopher Dunne                 1.10 Call with Alix, N. Friedlander, J. Rosenfeld and Z.
                                                  Flegenheimer re: political donations (.50); call with B.
                                                  Glueckstein and A. Lewis re: relevant third party
                                                  reissuance strategy (.60).
03/07/2023 Mehdi Ansari                      3.70 Revise relevant third party settlement agreement (1.9);
                                                  meet with K. Lim re: relevant third party settlement
                                                  agreement (.70); review draft order for relevant third
                                                  party settlement (.50); correspondence with internal
                                                  team re: relevant third party settlement (.60).
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Date        Name                             Hours Description
03/07/2023 Jacob Croke                        3.80 Call with A. Holland, Sygnia, and A&M re: asset
                                                   transfers from Third-Party Exchanges (.50);
                                                   correspondence with A. Dietderich re: USDT
                                                   recovery (.10); analysis re: additional exchange
                                                   accounts controlled by debtor-associated entities and
                                                   strategy for recovery (.70); analyze issues re:
                                                   stablecoin questions (.70), correspondence with K.
                                                   Ramanathan (A&M) re: same (.10); correspondence
                                                   with UCC, B. Glueckstein and K. Ramanathan
                                                   (A&M) re: same (.30); meeting with B. Glueckstein, J.
                                                   Rosenfeld, K. Mayberry, V. Kotharu (Alix), D.
                                                   Schwartz (Alix) and A. Searles (Alix) re: potential
                                                   relevant third party settlement information request list
                                                   (.30); call with B. Glueckstein re: third party exchange
                                                   and follow-up work (1.1).
03/07/2023 Nicole Friedlander                 0.80 Call with Alix, C. Dunne, J. Rosenfeld and Z.
                                                   Flegenheimer re: political donations (.50); call with A.
                                                   Holland re: digital asset recovery work (.30).
03/07/2023 Sharon Levin                       0.70 Correspondence with internal team re: political
                                                   donations/forfeiture (.40); call with B. Glueckstein re:
                                                   SDNY forfeiture (.30).
03/07/2023 Anthony Lewis                      2.70 Call with M. Kerin, S. Rosenthal, A. Holland and
                                                   Sygnia team re: forensic investigation outstanding items
                                                   (.50); correspondence with S&C, Sygnia teams re:
                                                   forensic investigation (.30); call with B. Glueckstein,
                                                   C. Dunne re: relevant third party reissuance strategy
                                                   (.60); call with K. Ramanathan (A&M) and relevant
                                                   third party re: relevant third party protocol assets
                                                   (.50); review letter to relevant third party re: assets
                                                   (.10); correspondence with S&C, A&M, relevant
                                                   third party teams re: relevant third party issues (.40);
                                                   correspondence with S&C, Chainalysis teams re:
                                                   asset tracing (.10); correspondence with S&C, A&M
                                                   teams re: staking (.20).
03/07/2023 Bradley Harsch                     0.20 Review A&M/FTX Turkey communications re:
                                                   access to database of KYC data (.10);
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                                                   correspondence with M. Flynn re: relevant third party
                                                   assets (.10).
03/07/2023 Mark Bennett                      0.50 Review Nardello report re: transactions by relevant
                                                  third party.
03/07/2023 Kathleen Donnelly                10.10 Call with M. Strand re: Bahamas properties project
                                                  (.20); meeting with A. Mazumdar and K. Mayberry
                                                  re: Bahamas properties project (.20); review and
                                                  revise summaries re: Bahamas properties project
                                                  (8.4); correspondence with team re: same (1.3)
03/07/2023 Zoeth Flegenheimer                1.10 Correspondence with J. Croke re: investigating
                                                  transfer of funds to customer and relevant third parties
                                                  (.40); correspondence with J. Rosenfeld re: updating
                                                  political contributions documents binder (.10);
                                                  correspondence with T. Millet re: updating political
                                                  contributions documents binder (.10); call with Alix,
                                                  C. Dunne, N. Friedlander and J. Rosenfeld re: political
                                                  donations (.50).
03/07/2023 Meaghan Kerin                     0.60 Call with A. Lewis, S. Rosenthal, A. Holland, and
                                                  Sygnia re: forensic investigation outstanding items
                                                  (.50); correspondence with Sygnia re: DOJ call (.10).
03/07/2023 KJ Lim                            3.00 Meeting with M. Ansari re: relevant third party
                                                  settlement agreement (.70); review and revise relevant
                                                  third party settlement agreement (2.3).
03/07/2023 Jared Rosenfeld                   6.20 Meeting with B. Glueckstein, J. Croke, K. Mayberry,
                                                  V. Kotharu (Alix), D. Schwartz (Alix) and A. Searles
                                                  (Alix) re: potential relevant third party settlement
                                                  information request list (.30); research answers to
                                                  UCC questions re: settlement (1.2); revise relevant
                                                  third party settlement motion (2.8); call with Alix
                                                  Partners with C. Dunne, N. Friedlander and Z.
                                                  Flegenheimer re: political donations. (.50); research
                                                  and correspondence with internal team re: relevant
                                                  third party funds recipients (1.4).
03/07/2023 Alexander Holland                 2.30 Call with A. Lewis, M. Kerin, S. Rosenthal, and
                                                  Sygnia re: forensic investigation outstanding items
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                                                  (.50); call with J. Croke, Sygnia, and A&M re: asset
                                                  transfers from Third-Party Exchanges (.50);
                                                  correspondence with J. Croke and K. Baker re: asset
                                                  collection from a relevant third party (.70); call with
                                                  A&M re: crypto assets (.30); review correspondence
                                                  with AP re: a relevant third party holding Debtor
                                                  assets (.30).
03/07/2023 Samantha Rosenthal               3.50 Review public statements re: forensic investigation
                                                 (.20); revise S&C action list re: forensic investigation
                                                 (.60); prepare summary re: unauthorized transactions
                                                 and compromised addresses (.60); correspondence
                                                 with A. Lewis re: same (.10); correspondence with M.
                                                 Kerin, H. Zhukovsky re: same (.10); correspondence
                                                 with Chainalysis re: asset tracing (.10); call with A.
                                                 Lewis, M. Kerin, A. Holland, and Sygnia re: forensic
                                                 investigation outstanding items (.50); revise notes re:
                                                 same (.20); draft summary re: same (.20);
                                                 correspondence with M. McGuire (LRC) re:
                                                 questions re: relevant third party 2004 subpoena
                                                 response (.10); review former FTX employee
                                                 separation agreement (.10); attention to
                                                 correspondence with internal team re: same (.10);
                                                 correspondences with N. Friedlander, Sygnia re:
                                                 Sygnia statements to regulator (.20); attention to
                                                 correspondence with A&M re: TRM and Chainalysis
                                                 engagements (.10); review proposed witness interview
                                                 questions for former FTX employees (.30).
03/07/2023 Medina Sadat                     7.20 Research and review real estate documents re:
                                                 Bahamas properties project (4.0); draft summaries re:
                                                 same (3.2).
03/07/2023 Matthew Strand                   5.30 Call with K. Donnelly re: Bahamas properties project
                                                 (.20); revise cover letters for Bahamas properties
                                                 project based on comments from K. Donnelly and S.
                                                 Wheeler (1.2); draft cover letters for Bahamas
                                                 properties project (3.3); correspondence with FTI re:
                                                 access to certain relevant real estate documents (.60).
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Date        Name                            Hours Description
03/07/2023 Ugonna Eze                        4.00 Research and review real estate documents re:
                                                  Bahamian properties project (2.5); prepare summaries
                                                  re: same (1.5).
03/07/2023 Natalie Hills                     9.70 Research and review real estate documents re:
                                                  Bahamas properties project (5.2); draft cover letters
                                                  re: same (3.9); revise summaries re: same (.60).
03/07/2023 Keila Mayberry                    5.30 Meeting with B. Glueckstein, J. Croke, J. Rosenfeld,
                                                  V. Kotharu (Alix), D. Schwartz (Alix) and A. Searles
                                                  (Alix) re: potential relevant third party settlement
                                                  information request list (.30); meeting with K.
                                                  Donnelly and A. Mazumdar re: Bahamas properties
                                                  project (.20); draft summaries re: same (4.8).
03/07/2023 Aneesa Mazumdar                  10.10 Research and review real estate documents re:
                                                  Bahamian properties project (9.9); meeting with K.
                                                  Donnelly and K. Mayberry re: Bahamas properties
                                                  project (.20).
03/07/2023 Hannah Zhukovsky                  0.10 Compile notes from call with Sygnia.
03/08/2023 Steven Holley                     0.90 Call with C. Dunne and A. Lewis re: FTX tokens in
                                                  possession of relevant third party (.40); review and
                                                  revise letter to counsel for relevant third party (.50).
03/08/2023 Stephanie Wheeler                 1.00 Revise additional Bahamas property summaries (.80);
                                                  call with N. Hills re: Bahamas properties project (.20).
03/08/2023 Brian Glueckstein                 2.40 Correspondence with J. Croke and follow-up re: asset
                                                  recoveries (.80); review and consider UCC comments
                                                  re: relevant third party (.40); revise letter to relevant
                                                  third party re: tokens (.60); respond to relevant third
                                                  party token reissuance requests (.60).
03/08/2023 Christopher Dunne                 1.70 Correspondence with internal team and A&M re:
                                                  political donations (.60); call with C. Dunne and A.
                                                  Lewis re: FTX tokens in possession of relevant third
                                                  party (.90); correspondence with internal team and
                                                  counsel for former FTX personnel re: sending letter to
                                                  three banks to recover funds that were conveyed to
                                                  relevant third party (.20).
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Date        Name                            Hours Description
03/08/2023 Kathleen McArthur                 0.60 Meeting with W. Wagener, Z. Flegenheimer, U. Eze
                                                  and Alix team re: asset recovery work stream.
03/08/2023 Jacob Croke                       3.50 Call with A. Holland, A&M, PWP and relevant third
                                                  party re: Alameda assets held at a relevant third party
                                                  (.10 - partial attendance); follow-up call with A.
                                                  Holland re: same (.20), correspondence with K.
                                                  Ramanathan (A&M) re: same (.10); analysis re:
                                                  additional exchange accounts and related recovery
                                                  plan (.40); correspondence with S. Yeargan re: same
                                                  (.20); revise A&M materials re: same (.60),
                                                  correspondence with K. Ramanathan (A&M) re:
                                                  same (.10); analysis re: exchange exploits and
                                                  potential recovery strategy (.40); correspondence with
                                                  Nardello and Alix re: same (.30); analysis re: relevant
                                                  third party assets and recovery plan (.30),
                                                  correspondence with D. Hariton re: same (.10);
                                                  analyze insider Signal messages for additional asset
                                                  recovery workstreams (.60), correspondence with S.
                                                  Wheeler re: same (.10).
03/08/2023 Nicole Friedlander                1.20 Call with M. Kerin, S. Rosenthal, A. Holland and
                                                  Sygnia re: outline of report re: control failures,
                                                  presentation of findings to DOJ and UCC, and
                                                  forensic investigation outstanding items (1.0);
                                                  correspondence with J. Rosenfeld re: Alix research of
                                                  customer cash bank accounts (.20).
03/08/2023 Anthony Lewis                     1.40 Review materials re: asset tracing (.20);
                                                  correspondence with S&C and Chainalysis teams re:
                                                  same (.30); correspondence with S&C, DOJ and
                                                  Sygnia teams re: forensic investigation (.30);
                                                  correspondence with S&C, A&M teams re: relevant
                                                  third party issues (.20); call with C. Dunne and S.
                                                  Holley re: FTX tokens in possession of relevant third
                                                  party (.40).
03/08/2023 William Wagener                   0.80 Meeting with K. McArthur, Z. Flegenheimer, U. Eze
                                                  and Alix team re: asset recovery work stream (.30 -
                                                  partial attendance); correspondence with Alix team, S.
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                                                   Wheeler and S. Yeargan re: source of funds for
                                                   relevant third party transfer (.50).
03/08/2023 Shane Yeargan                     0.40 Correspondence with J. Croke re: relevant third party
                                                  accounts (.10); correspondence with S. Wheeler and
                                                  W. Wagener re: relevant third party loan funds tracing
                                                  (.10); correspondence with K. Ramanathan (A&M)
                                                  re: relevant third party funds tracing (.20).
03/08/2023 Michele Materni                   0.20 Call with K. Donnelly re: Bahamas properties project.
03/08/2023 Kathleen Donnelly                 7.40 Call with M. Materni re: Bahamas properties project
                                                  (.20); review and revise summaries re: same (6.0);
                                                  correspondence with team re: same (1.2).
03/08/2023 Zoeth Flegenheimer                0.40 Meeting with K. McArthur, W. Wagener, U. Eze and
                                                  Alix team re: asset recovery work stream (partial
                                                  attendance).
03/08/2023 Meaghan Kerin                     1.80 Call with N. Friedlander, S. Rosenthal, A. Holland
                                                  and Sygnia re: outline of report re: control failures,
                                                  presentation of findings to DOJ and UCC, and
                                                  forensic investigation outstanding items (1.0);
                                                  correspondence with A. Lewis, H. Zhukovsky, A&M
                                                  and TRM re: asset tracing issues (.20); review
                                                  updated Sygnia spreadsheet re: analysis of
                                                  unauthorized transactions (.40); correspondence with
                                                  A. Lewis and S. Rosenthal re: same (.10);
                                                  correspondence with H. Zhukovsky re: Chainalysis
                                                  records management (.10).
03/08/2023 Jared Rosenfeld                   0.50 Correspondence with internal team re: conveying
                                                  documents to UCC in connection with relevant third
                                                  party settlement.
03/08/2023 Alexander Holland                 2.60 Call with J. Croke, A&M, PWP and relevant third
                                                  party re: Alameda assets held at a relevant third party
                                                  (.20); follow-up call with J. Croke re: same (.20); call
                                                  with N. Friedlander, M. Kerin, S. Rosenthal and
                                                  Sygnia re: outline of report re: control failures,
                                                  presentation of findings to DOJ and UCC, and
                                                  forensic investigation outstanding items (1.0); draft
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                                                   letter re: asset recovery from a relevant third party
                                                   (1.0); asset transfer call with A&M and Sygnia (.20).
03/08/2023 Samantha Rosenthal                7.10 Call with N. Friedlander, M. Kerin, A. Holland and
                                                  Sygnia re: outline of report re: control failures,
                                                  presentation of findings to DOJ and UCC, and
                                                  forensic investigation outstanding items (1.0); revise
                                                  draft summary re: same (.40); correspondences with
                                                  A. Lewis and M. Kerin re: questions for Sygnia re:
                                                  unauthorized transactions and compromised addresses
                                                  (.40); draft S&C workplan re: forensic investigation
                                                  (.50); review forensic artifacts from former FTX
                                                  employee devices (.80); correspondence with A.
                                                  Lewis, N. Friedlander and M. Kerin re: same (.20);
                                                  review Chainalysis asset breakdown (.70);
                                                  correspondence with Chainalysis re: same (.10); revise
                                                  supplemental responses to FTI RFI (2.4);
                                                  correspondence with N. Friedlander, A. Lewis, M.
                                                  Kerin and A. Holland re: same (.30);
                                                  correspondences with N. Friedlander and A. Lewis
                                                  re: FTI call re: RFIs (.10); correspondences with A.
                                                  Lewis, K. Ramanthan (A&M) re: unmixed
                                                  transactions (.20).
03/08/2023 Medina Sadat                      6.70 Research and review real estate documents re:
                                                  Bahamian properties project (4.0); draft summaries re:
                                                  same (2.7).
03/08/2023 Matthew Strand                    1.30 Review, revise and finalize cover letters for Bahamas
                                                  properties project.
03/08/2023 Ugonna Eze                        4.60 Research and review real estate documents re:
                                                  Bahamian properties project (2.5); prepare summaries
                                                  re: same (1.5); meeting with K. McArthur, W.
                                                  Wagener, Z. Flegenheimer and Alix team re: asset
                                                  recovery work stream (.60).
03/08/2023 Natalie Hills                     6.10 Compile documents re: Bahamas properties project
                                                  (1.7); call with S. Wheeler re: Bahamas properties
                                                  project (.20); revise summaries re: same (4.2).
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Date        Name                            Hours Description
03/08/2023 Keila Mayberry                    3.00 Revise summaries re: Bahamas properties project.
03/08/2023 Aneesa Mazumdar                   4.10 Research and review real estate documents re:
                                                  Bahamian properties project.
03/08/2023 Tatum Millet                      0.70 Update political donations document summaries to
                                                  include relevant third party documents identified by
                                                  QE team.
03/08/2023 Harrison Schlossberg              1.60 Cross-check re: insider and external loans chart.
03/08/2023 Hannah Zhukovsky                  0.30 Review wallet addresses.
03/09/2023 Steven Holley                     0.60 Review final letter to counsel for relevant third party
                                                  re: FTX tokens (.20); review report of response from
                                                  counsel for relevant third party to letter rejecting
                                                  proposal to transfer FTC tokens (.20); review and
                                                  comment on reply to counsel for relevant third party
                                                  (.20).
03/09/2023 Stephanie Wheeler                 0.60 Review and revise former FTX personnel payoff
                                                  agreement (.10); meeting with K. Donnelly re:
                                                  Bahamas properties (.40); correspondence with M.
                                                  Cilia (RLKS) re: investor request (.10).
03/09/2023 Andrew Dietderich                 0.30 Correspondence with S. Peikin, B. Glueckstein and J.
                                                  Bromley re: federal regulator MoU and potential
                                                  related presentation.
03/09/2023 Brian Glueckstein                 2.70 Draft and revise letter to relevant third party re: tokens
                                                  and stay issues (1.8); review documents and
                                                  information re: third party exchanges and asset
                                                  recovery (.60); follow-up correspondences with
                                                  internal team re: same (.30).
03/09/2023 Christopher Dunne                 0.20 Call with J. Rosenfeld re: update from Alix on political
                                                  donations flow of funds analysis.
03/09/2023 Jacob Croke                       2.00 Analysis re: additional relevant third party assets and
                                                  issues re: debtor control of registered entities (.90);
                                                  correspondence with S. Yeargan re: same (.20);
                                                  analysis re: donations and plan for recovery from
                                                  non-debtors (.20); correspondence with C. Dunne re:
                                                  same (.10); revise letter re: same (.20); revise letter to
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                                                    token issuer (.30); correspondence with S. Glustein
                                                    (A&M) re: same (.10).
03/09/2023 Nicole Friedlander                 1.90 Call with A. Lewis, M. Kerin, S. Rosenthal, A.
                                                   Holland and Sygnia team re: forensic investigation and
                                                   drafting the interim report (.50); call with A. Lewis, S.
                                                   Rosenthal, Paul Hastings, Sygnia and FTI teams re:
                                                   RFIs and forensic investigation update (1.3); call with
                                                   A. Lewis, S. Rosenthal and E. Liloof (Sygnia) re:
                                                   same (.10).
03/09/2023 Evan Simpson                       0.50 Revise documentation package for return of loan
                                                   assets to debtor entity.
03/09/2023 Sharon Levin                       0.30 Call with M. Materni, Z. Flegenheimer, A. Mazumdar
                                                   and T. Millet re: preparation of a presentation on asset
                                                   forfeiture for federal regulator (partial attendance).
03/09/2023 Anthony Lewis                      3.30 Call with N. Friedlander, M. Kerin, S. Rosenthal, A.
                                                   Holland and Sygnia team re: forensic investigation and
                                                   drafting the interim report (.50); call with N.
                                                   Friedlander, S. Rosenthal, Paul Hastings, Sygnia and
                                                   FTI teams re: RFIs and forensic investigation update
                                                   (1.3); call with N. Friedlander, S. Rosenthal and E.
                                                   Liloof (Sygnia) re: same (.10); correspondence with
                                                   internal team re: forensic investigation (.50); call with J.
                                                   Petiford re: asset transfer instruction letter (.10);
                                                   correspondence with S&C and Chainalysis teams re:
                                                   asset tracing (.20); review and revise relevant third
                                                   party letter (.10); correspondence with S&C, A&M,
                                                   relevant third party teams re: relevant third party issues
                                                   (.40); correspondence with S&C and A&M teams re:
                                                   vendor assistance for staking (.10).
03/09/2023 Bradley Harsch                     0.10 Correspondences with Turkish counsel re: request
                                                   from FTX Turkey re: users on FTX.com.
03/09/2023 Shane Yeargan                      0.30 Correspondence with A&M team re: relevant third
                                                   party funds tracing (.10); review Alix analysis of
                                                   relevant third party transfer (.20).
03/09/2023 Michele Materni                    0.70 Call with S. Levin, Z. Flegenheimer, A. Mazumdar
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Date        Name                            Hours Description

                                                   and T. Millet re: preparation of a presentation on asset
                                                   forfeiture for federal regulator (.20 - partial
                                                   attendance); call with Z. Flegenheimer, A. Mazumdar
                                                   and T. Millet re: same (.30); call with Z. Flegenheimer
                                                   re: same (.20).
03/09/2023 Julie Kapoor                      0.90 Call with A. Lewis re: asset transfer instruction letter
                                                  (.10); revise same (.80).
03/09/2023 Hattie Middleditch                0.30 Correspondence with S. Rosenthal re: costs estimate
                                                  of relevant third party discovery.
03/09/2023 Kathleen Donnelly                 7.80 Meeting with S. Wheeler re: Bahamas properties
                                                  (.40); meeting with K. Mayberry re: Bahamas
                                                  properties project (.30); call with M. Strand re: same
                                                  (.40); call with M. Sadat re: same (.30); review and
                                                  analyze documents re: additional properties (1.4);
                                                  propose order re: Bahamas properties project (.70);
                                                  review and revise summaries re: Bahamas properties
                                                  project (4.1); meeting with D. O’Hara re: relevant
                                                  third party issues (.20).
03/09/2023 Zoeth Flegenheimer                1.10 Call with S. Levin, M. Materni, A. Mazumdar and T.
                                                  Millet re: preparation of a presentation on asset
                                                  forfeiture for federal regulator (.50); call with M.
                                                  Materni, A. Mazumdar and T. Millet re: same (.30);
                                                  calls with M. Materni re: same (.20); coordinate re:
                                                  same (.10).
03/09/2023 Meaghan Kerin                     3.60 Call with N. Friedlander, A. Lewis, S. Rosenthal, A.
                                                  Holland, and Sygnia re: forensic investigation and
                                                  drafting the interim report (.50); review DOJ request
                                                  tracker (.10); correspondence with A. Lewis re: DOJ
                                                  requests (.10); review updated Sygnia spreadsheet re:
                                                  unauthorized transactions (.40); review Chainalysis
                                                  memos and related records re: asset tracing (.70);
                                                  correspondence with A. Lewis re: same (.10); revise
                                                  workplan re: forensic investigation (.30);
                                                  correspondence with internal team re: same (.10);
                                                  correspondence with DOJ re: document production
                                                  (.20); review records produced by relevant third party
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                                                   (.40); correspondence with S. Rosenthal, A. Lewis
                                                   and Sygnia team re: same (.30); correspondence with
                                                   N. Friedlander re: documents re: entity segregation
                                                   (.10); review Sygnia updates re: forensic investigation
                                                   findings (.20); correspondence with H. Zhukovsky re:
                                                   DOJ production (.10).
03/09/2023 Jared Rosenfeld                   0.80 Call with C. Dunne re: update from Alix on political
                                                  donations flow of funds analysis (.20); research re:
                                                  political donations project (.50); correspondence with
                                                  internal team re: same (.10).
03/09/2023 Alexander Holland                 0.70 Call with N. Friedlander, A. Lewis, M. Kerin, S.
                                                  Rosenthal, and Sygnia team re: forensic investigation
                                                  and drafting the interim report (.50); attention to
                                                  internal team correspondences re: forensic
                                                  investigation (.20).
03/09/2023 Daniel O'Hara                     3.40 Draft and revise letter re: asset recovery (3.0);
                                                  correspondence with internal team re: same (.20);
                                                  meeting with K. Donnelly re: relevant third party issues
                                                  (.20).
03/09/2023 Samantha Rosenthal                6.00 Call with N. Friedlander, A. Lewis, M. Kerin, A.
                                                  Holland and Sygnia team re: forensic investigation and
                                                  drafting the interim report (.50); revise notes re: same
                                                  (.30); call with N. Friedlander, A. Lewis, Paul
                                                  Hastings, Sygnia and FTI teams re: RFIs and forensic
                                                  investigation update (1.3); call with N. Friedlander, A.
                                                  Lewis and E. Liloof (Sygnia) re: same (.10); revise
                                                  notes re: same (.20); revise supplemental responses to
                                                  FTI RFIs (2.8); correspondence with FTI re: same
                                                  (.20); correspondence with N. Friedlander, A. Lewis
                                                  re: presentation to FTI outline (.10); correspondence
                                                  with A. Lewis re: updated table of unauthorized
                                                  transactions and compromised addresses (.20);
                                                  correspondence with A. Lewis, N. Friedlander, M.
                                                  Kerin and A. Holland re: FTI call takeaways (.30).
03/09/2023 Medina Sadat                      5.70 Call with K. Donnelly re: Bahamas properties project
                                                  (.30); research and review real estate documents re:
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                                                   Bahamian properties project (3.4); draft summaries re:
                                                   same (2.0).
03/09/2023 Matthew Strand                    2.30 Call with K. Donnelly re: Bahamas properties project
                                                  (.40); review documents and draft summaries for
                                                  Bahamas properties project (1.9).
03/09/2023 Ugonna Eze                        3.00 Research and review real estate documents re:
                                                  Bahamian properties project (2.0); prepare summaries
                                                  re: same (1.0).
03/09/2023 Natalie Hills                     2.80 Revise summaries re: Bahamas properties project
                                                  (.70); research and review real estate documents re:
                                                  same (2.1).
03/09/2023 Keila Mayberry                    6.30 Revise summaries re: Bahamas properties project
                                                  (6.0); meeting with K. Donnelly re: Bahamas
                                                  properties project (.30).
03/09/2023 Aneesa Mazumdar                   5.70 Research and review real estate documents re:
                                                  Bahamian properties project (4.9); call with S. Levin,
                                                  M. Materni, Z. Flegenheimer and T. Millet re:
                                                  preparation of a presentation on asset forfeiture for
                                                  federal regulator (.50); call with M. Materni, Z.
                                                  Flegenheimer and T. Millet re: same (.30).
03/09/2023 Tatum Millet                      2.80 Call with M. Materni, Z. Flegenheimer and A.
                                                  Mazumdar re: preparation of a presentation on asset
                                                  forfeiture for federal regulator (.30); correspondence
                                                  with A. Mazumdar re: same (.20); call with S. Levin,
                                                  M. Materni, Z. Flegenheimer and A. Mazumdar re:
                                                  preparation of a presentation on asset forfeiture for
                                                  federal regulator (.50); update political contributions
                                                  document summaries to include relevant third party
                                                  documents identified by QE team (.90); review
                                                  relevant third party documents to edit documents
                                                  summaries re: same (.90).
03/09/2023 Hannah Zhukovsky                  0.30 Archive and record Sygnia spreadsheet re:
                                                  unauthorized transactions (.20); archive and record
                                                  call notes with Sygnia (.10).
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03/10/2023 Stephanie Wheeler                 2.50 Review Bahamas property summaries (2.0);
                                                  correspondence with T. Millet re: Alameda
                                                  promissory note (.20); call with K. Donnelly and K.
                                                  Mayberry re: Bahamas property summary (.20); call
                                                  with M. Strand re: same (.10).
03/10/2023 Andrew Dietderich                 1.40 Correspondence with K. Ramanathan (A&M), J.
                                                  Petiford, C. Jensen and B. Glueckstein re: stablecoin
                                                  questions re: banking climate.
03/10/2023 Jacob Croke                       4.10 Call with W. Wagener, J. Rosenfeld, A. Holland, Alix
                                                  and Nardello teams re: account held by a relevant
                                                  third party (.50); further analysis re: related recovery
                                                  strategy (.30); call with counsel for blockchain re:
                                                  assets (.10); correspondence with K. Ramanathan
                                                  (A&M) re: same (.10); analysis re: token warrant
                                                  entitlements (.20); correspondence A. Titus (A&M)
                                                  re: same (.10); analysis re: additional relevant third
                                                  party assets and accounts (.50), correspondence with
                                                  third party exchanges re: same (.20); revise A&M
                                                  materials re: relevant third party recovery strategies
                                                  (.60); correspondence with K. Ramanathan (A&M)
                                                  and A. Holland re: same (.30); analysis re:
                                                  cryptocurrency issues and related asset recovery and
                                                  conversion plan (.40); correspondence with K.
                                                  Ramanathan (A&M) re: same (.20); analysis re:
                                                  potential asset recoveries (.20); analysis re: insider
                                                  documents and potential additional areas of inquiry for
                                                  debtor asset recoveries (.40).
03/10/2023 Evan Simpson                      0.50 Review and comment on motion and order for
                                                  potential return of loan assets to foreign debtor.
03/10/2023 Anthony Lewis                     0.40 Correspondence with S&C and A&M teams re:
                                                  vendor assistance re: staking (.10); correspondence
                                                  with S&C, A&M, TRM and Sygnia teams re: asset
                                                  tracing and transfers (.30).
03/10/2023 William Wagener                   0.50 Call with J. Croke, J. Rosenfeld, A. Holland, Alix and
                                                  Nardello teams re: account held by a relevant third
                                                  party.
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03/10/2023 Shane Yeargan                     0.70 Review letter to relevant third party re: token purchase
                                                  (.10); correspondence with S. Wheeler and W.
                                                  Wagener re: relevant third party loan tracing (.10);
                                                  review A&M findings re: relevant third party loan
                                                  funds (.40); correspondence with Alix re: relevant
                                                  third party analysis (.10).
03/10/2023 Michele Materni                   0.10 Call with K. Donnelly re: Bahamas properties project.
03/10/2023 Kathleen Donnelly                 6.10 Call with S. Wheeler and K. Mayberry re: Bahamas
                                                  property summary (.20); calls with M. Strand re:
                                                  Bahamas properties project (.80); call with K.
                                                  Mayberry re: same (.40); call with M. Materni re:
                                                  same (.10); review and revise summaries re: Bahamas
                                                  properties project (4.3); correspondence with internal
                                                  team re: same (.30).
03/10/2023 Zoeth Flegenheimer                1.30 Coordinate preparation re: asset forfeiture
                                                  presentation for federal regulator (.30); review and
                                                  revise same (1.0).
03/10/2023 Meaghan Kerin                     0.40 Review Landis correspondence re: relevant third party
                                                  production (.10); correspondence A&M re: data
                                                  questions for former employee (.10); correspondence
                                                  with A. Lewis and H. Zhukovsky re: asset tracing
                                                  issues (.10); review TRM report (.10).
03/10/2023 Jared Rosenfeld                   1.80 Call with J. Croke, W. Wagener, A. Holland, Alix and
                                                  Nardello teams re: account held by a relevant third
                                                  party (.50); call with A. Holland re: same (.10);
                                                  research re: political donations workstreams (1.0);
                                                  correspondence with internal team re: same (.20).
03/10/2023 Alexander Holland                 2.20 Call with J. Croke, W. Wagener, J. Rosenfeld, Alix
                                                  and Nardello teams re: account held by a relevant
                                                  third party (.50); call with J. Rosenfeld re: same (.10);
                                                  correspondence with J. Croke re: same (.10); revise
                                                  third party exchange tracker (1.1); correspondence
                                                  with J. Croke re: assets at a relevant third party (.20);
                                                  attention to internal team correspondence re: forensic
                                                  investigation (.20).
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03/10/2023 Daniel O'Hara                     0.70 Draft and revise demand letters re: relevant third party
                                                  donations return.
03/10/2023 Samantha Rosenthal                0.30 Correspondences with A. Lewis and K. Ramanathan
                                                  (A&M) re: TRM asset tracing (.20); attention to
                                                  correspondences with A. Lewis and Sygnia team re:
                                                  tokens ownership (.10).
03/10/2023 Matthew Strand                    4.40 Call with S. Wheeler re: Bahamas property summary
                                                  (.10); draft cover letters for Bahamas properties
                                                  project (1.2); work on same (1.8); revise same (.50);
                                                  calls with K. Donnelly re: Bahamas properties project
                                                  (.80).
03/10/2023 Ugonna Eze                        3.00 Research and review real estate documents re:
                                                  Bahamian properties project (2.0); prepare summaries
                                                  re: same (1.0).
03/10/2023 Natalie Hills                     8.20 Research and review real estate documents re:
                                                  Bahamas properties (5.6); revise cover letters re:
                                                  same (.90); draft summaries re: same (1.7).
03/10/2023 Keila Mayberry                    6.70 Call with K. Donnelly and S. Wheeler re: Bahamas
                                                  property summary (.20); draft summaries re: Bahamas
                                                  properties project (6.1); call with K. Donnelly re:
                                                  Bahamas properties project (.40).
03/10/2023 Aneesa Mazumdar                   8.50 Research and review real estate documents re:
                                                  Bahamian properties project (6.9); draft asset
                                                  forfeiture presentation (1.6).
03/10/2023 Tatum Millet                      2.60 Draft asset forfeiture presentation for federal regulator.
03/10/2023 Adam Toobin                       2.40 Review cryptocurrency lending company
                                                  motions/objections.
03/11/2023 Andrew Dietderich                 0.70 Correspondence with J. Ray (FTX) and A&M team
                                                  re: managing USDC risk (.60); call with K. Hansen
                                                  (Paul Hastings) re: same (.10).
03/11/2023 Jacob Croke                       0.90 Analyze issues re: potential areas of recovery and
                                                  debtor-affiliated entities (.50), correspondence with A.
                                                  Kranzley re: same (.10); analysis re: stablecoin
                                                  questions (.30).
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03/11/2023 Evan Simpson                      0.50 Correspondence with local counsel re: process for
                                                  local adjudication of asset claims.
03/11/2023 Anthony Lewis                     0.10 Correspondence with S&C, A&M and Sygnia teams
                                                  re: asset tracing.
03/11/2023 Michele Materni                   0.40 Revise asset forfeiture presentation.
03/11/2023 Kathleen Donnelly                 4.90 Review and revise summaries re: Bahamas property
                                                  project (4.3); work with N. Hills to calculate total
                                                  value of Bahamas properties (.60).
03/11/2023 Zoeth Flegenheimer                0.30 Review and revise asset forfeiture presentation for
                                                  federal regulator.
03/11/2023 Meaghan Kerin                     0.10 Correspondence with Sygnia and TRM teams re:
                                                  asset tracing issues.
03/11/2023 Medina Sadat                      0.60 Revise cover letters re: Bahamas property project.
03/11/2023 Ugonna Eze                        2.00 Research and review real estate documents re:
                                                  Bahamian properties project (1.5); prepare summaries
                                                  re: same (0.5).
03/11/2023 Natalie Hills                     2.30 Revise documents for Bahamas properties project
                                                  (1.7); work with K. Donnelly to calculate total value
                                                  of Bahamas properties (.60).
03/11/2023 Keila Mayberry                    0.50 Draft documents re: Bahamas properties project.
03/11/2023 Aneesa Mazumdar                   5.40 Research and review real estate documents re:
                                                  Bahamian properties project.
03/12/2023 Stephanie Wheeler                 0.60 Revise summaries of Bahamas properties.
03/12/2023 Andrew Dietderich                 1.00 Review correspondences with internal team re:
                                                  cryptocurrency value protection (.40); review
                                                  documentation for ordinary course e-money
                                                  management (.30); call with S. Coverick (A&M) re:
                                                  financial institution risk management (.20); review
                                                  correspondence from internal team re: same (.10).
03/12/2023 Jacob Croke                       0.30 Analyze issues re: securing additional crypto and
                                                  identifying debtor-affiliated wallets.
03/12/2023 Sharon Levin                      0.50 Review asset forfeiture presentation (.40);
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                                                    correspondence with internal team re: same (.10).
03/12/2023 Anthony Lewis                      0.30 Correspondence with S&C, Sygnia and A&M teams
                                                   re: forensic investigation (.10); correspondence with
                                                   S&C, A&M and Sygnia teams re: asset transfers
                                                   (.10); correspondence with S&C and A&M teams re:
                                                   vendor assistance re: staking (.10).
03/12/2023 Bradley Harsch                     0.30 Review summary of Alix work on political donations
                                                   (.10); review Nardello report on current relevant third
                                                   party personnel (.20).
03/12/2023 Michele Materni                    0.30 Further revise asset forfeiture presentation.
03/12/2023 Kathleen Donnelly                  1.90 Work with N. Hills to calculate total value of Bahamas
                                                   properties (1.1); review and revise summaries:
                                                   Bahamas properties project (.80).
03/12/2023 Zoeth Flegenheimer                 0.40 Review and revise asset forfeiture presentation.
03/12/2023 Meaghan Kerin                      0.20 Correspondence with Sygnia re: DOJ call agenda
                                                   (.10); correspondence with A&M re: asset recovery
                                                   issues (.10).
03/12/2023 Jared Rosenfeld                    1.80 Revise relevant third party settlement motion.
03/12/2023 Daniel O'Hara                      0.50 Revise letters re: charitable asset recovery.
03/12/2023 Ugonna Eze                         0.50 Research and review real estate documents re:
                                                   Bahamian properties project (.30); prepare summaries
                                                   re: same (.20).
03/12/2023 Natalie Hills                      1.10 Work with K. Donnelly to calculate total value of
                                                   Bahamas properties.
03/12/2023 Keila Mayberry                     1.60 Review and revise summaries re: Bahamas properties
                                                   project.
03/12/2023 Aneesa Mazumdar                    3.40 Research and review real estate documents re:
                                                   Bahamian properties project (2.1); draft asset
                                                   forfeiture presentation (1.3).
03/12/2023 Tatum Millet                       1.20 Finalize first half of asset forfeiture presentation (.70);
                                                   revise same (.40); correspondence with M. Materni
                                                   re: same (.10).
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Date        Name                           Hours Description
03/13/2023 Stephanie Wheeler                0.90 Meeting with K. Donnelly re: Bahamas property
                                                 summaries (.10); review and revise Bahamas property
                                                 summaries (.40); call with M. Strand re: deposits for
                                                 open Bahamian real estate transactions (.10); revise
                                                 additional Bahamas property summaries (.30).
03/13/2023 Andrew Dietderich                1.40 Correspondence with J. Ray (FTX), J. Bromley and
                                                 B. Glueckstein re: bank risks (.40); calls with A&M
                                                 and Kroll teams re: back up arrangement (1.0).
03/13/2023 Brian Glueckstein                1.40 Call with L. Metzger (Orrick) re: claims and asset
                                                 recovery issues and follow-up (.50); call with J. Croke
                                                 re: relevant third party settlement agreement (.20);
                                                 review and consider relevant third party settlement
                                                 agreement (.60); call with K. Pasquale (Paul Hastings)
                                                 re: relevant third party settlement (.10).
03/13/2023 Kathleen McArthur                0.60 Meeting with W. Wagener, J. Rosenfeld, A. Holland,
                                                 U. Eze and Alix team re: forensic accounting.
03/13/2023 Mehdi Ansari                     1.20 Review relevant third party settlement motion (.30);
                                                 review relevant third party settlement agreement (.50);
                                                 correspondence with internal team re: same (.40).
03/13/2023 Jacob Croke                      3.70 Call with B. Glueckstein re: relevant third party
                                                 settlement agreement (.20); call with A. Holland re:
                                                 asset collection from a relevant third party (.10);
                                                 analyze issues re: recoveries from debtor-associated
                                                 relevant third party accounts (1.9); correspondences
                                                 with third party exchanges, Sygnia and A. Holland re:
                                                 same (.70); revise A&M materials re: crypto asset
                                                 recoveries and next steps (.60); correspondence with
                                                 K. Donnelly re: real estate identification and recovery
                                                 strategy (.20).
03/13/2023 Nicole Friedlander               1.00 Call with A. Lewis, M. Kerin, Sygnia, DOJ, FBI and
                                                 IRS teams re: updates in forensic investigation (.70);
                                                 call with O. Wortman (Sygnia) re: safety deposit box
                                                 issue (.20); correspondence with A. Dietderich and K.
                                                 Ramanathan (A&M) re: same (.10).
03/13/2023 Sharon Levin                     0.30 Review and revise asset forfeiture presentation.
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Date        Name                             Hours Description

03/13/2023 Anthony Lewis                      2.20 Call with N. Friedlander, M. Kerin, Sygnia, DOJ, FBI
                                                   and IRS teams re: updates in forensic investigation
                                                   (.70); correspondence with S&C, Sygnia, DOJ and
                                                   FTX teams re: forensic investigation (.60); call with M.
                                                   Kerin, Stradley and Cahill teams re: technical and
                                                   data-related questions for former Alameda employee
                                                   (.60); call with M. Kerin re: same (.10);
                                                   correspondence with S&C and A&M teams re:
                                                   vendor assistance re: staking (.10); correspondence
                                                   with internal team re: Alameda research trading (.10).
03/13/2023 Bradley Harsch                     0.50 Review former FTX personnel correspondence re:
                                                   political contributions (.10); review correspondence
                                                   re: DOJ forensic investigation team inquiry (.10);
                                                   review correspondence re: Turkish counsel
                                                   conversation with FTX Turkey personnel and asset
                                                   recovery (.20); outreach to Turkish counsel re:
                                                   correspondence on discussion with FTX Turkey
                                                   personnel (.10).
03/13/2023 William Wagener                    0.60 Meeting with K. McArthur, J. Rosenfeld, A. Holland,
                                                   U. Eze and Alix team re: forensic accounting.
03/13/2023 Christian Jensen                   0.40 Call with D. O'Hara re: FTX Philanthropy letters
                                                   (.10); correspondence with bank counsels and M.
                                                   Cilia (RLKS) re: same (.30).
03/13/2023 Michele Materni                    1.70 Call with Z. Flegenheimer, J. Rosenfeld, D. O’Hara
                                                   and Alix re: political donations tracing (.50); call
                                                   between J. Rosenfeld, Z. Flegenheimer, D. O’Hara
                                                   and Alix re: political donations tracing (.50); call with
                                                   Alix re: asset recovery work (.30); review documents
                                                   re: control failures (.40).
03/13/2023 Kathleen Donnelly                  8.50 Meeting with S. Wheeler re: Bahamas property
                                                   summaries (.10); calls with M. Strand re: Bahamas
                                                   properties project (.50); call with M. Sadat, M.
                                                   Strand, N. Hills, K. Mayberry and A. Mazumdar re:
                                                   Bahamas properties project (.40); review and revise
                                                   documents re: same (7.5)
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Date        Name                            Hours Description
03/13/2023 Zoeth Flegenheimer                1.00 Correspondence with J. Rosenfeld re: Alix analysis of
                                                  loans to founders (.10); coordinate review of
                                                  employment records at request of DOJ (.20); meeting
                                                  with J. Rosenfeld re: preparing presentation to federal
                                                  regulator on political contribution funds flow (.20); call
                                                  with M. Materni, J. Rosenfeld, D. O’Hara and Alix re:
                                                  political donations tracing (.50).
03/13/2023 Meaghan Kerin                     2.80 Call with N. Friedlander, A. Lewis, Sygnia, DOJ, FBI
                                                  and IRS teams re: updates in forensic investigation
                                                  (.70); call with A. Lewis, Stradley and Cahill teams re:
                                                  technical and data-related questions for former
                                                  Alameda employee (.60); call with A. Lewis re: same
                                                  (.10); review workplan and list of open items re:
                                                  forensic investigation (.10); correspondence with A.
                                                  Lewis and S. Rosenthal re: relevant third party
                                                  document production (.10); correspondence with
                                                  Sygnia team re: analysis of code (.10);
                                                  correspondence with A. Lewis and A&M team re:
                                                  technical questions for former employee (.10); draft
                                                  summary of call with Stradley re: same (.40);
                                                  correspondence with A. Lewis, A. Holland, Sygnia
                                                  and A&M teams re: same (.20); correspondence with
                                                  N. Friedlander, A. Lewis, J. Peck (DOJ) and Sygnia
                                                  re: DOJ follow-up questions re: forensic investigation
                                                  (.20); correspondence with TRM re: asset tracing
                                                  updates (.10); correspondence with A. Holland re:
                                                  employment status of certain individuals (.10).
03/13/2023 KJ Lim                            0.30 Review relevant third party settlement agreement.
03/13/2023 Jared Rosenfeld                   1.30 Meeting with K. McArthur, W. Wagener, A. Holland,
                                                  U. Eze and Alix team re: forensic accounting (.60); call
                                                  with M. Materni, Z. Flegenheimer, D. O’Hara and
                                                  Alix re: political donations tracing (.50); meeting with
                                                  Z. Flegenheimer re: preparing presentation to federal
                                                  regulator on political contribution funds flow (.20).
03/13/2023 Alexander Holland                 3.10 Call with J. Croke re: asset collection from a relevant
                                                  third party (.10); meeting with K. McArthur, W.
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Date        Name                            Hours Description

                                                   Wagener, J. Rosenfeld, U. Eze and Alix team re:
                                                   forensic accounting (.60); review asset transfers at a
                                                   relevant third party (2.1) correspondence with J.
                                                   Croke re: same (.30).
03/13/2023 Daniel O'Hara                     1.30 Call with C. Jensen re: FTX Philanthropy letters (.10);
                                                  draft and revise letters re: relevant third party
                                                  reimbursements (.70); call with M. Materni, J.
                                                  Rosenfeld, Z. Flegenheimer and Alix team re: political
                                                  donations tracing (.50).
03/13/2023 Samantha Rosenthal                1.20 Correspondence with M. Kerin and A. Holland re:
                                                  workplan and list of open items re: forensic
                                                  investigation (.20); revise workplan re: forensic
                                                  investigation (.80); attention to correspondences with
                                                  S&C and Sygnia teams re: DOJ questions re: forensic
                                                  evidence (.20).
03/13/2023 Medina Sadat                      4.60 Research and review real estate documents re:
                                                  Bahamian properties project (1.8); draft cover letters
                                                  re: same (2.6); call with K. Donnelly, M. Strand, N.
                                                  Hills, K. Mayberry and A. Mazumdar re: Bahamas
                                                  property project (.20 - partial attendance).
03/13/2023 Matthew Strand                    4.40 Call with S. Wheeler re: deposits for open Bahamian
                                                  real estate transactions (.10); calls with K. Donnelly
                                                  re: Bahamas properties project (.50); call with K.
                                                  Donnelly, M. Sadat, N. Hills, K. Mayberry and A.
                                                  Mazumdar re: Bahamas property project (.40);
                                                  prepare cover letter documents for Bahamas
                                                  properties project (2.7); coordinate with internal team
                                                  re: Bahamas property assignment, finalizing letters and
                                                  related documents (.70).
03/13/2023 Ugonna Eze                        4.60 Research and review real estate documents re:
                                                  Bahamian properties project (2.5); prepare summaries
                                                  re: same (1.5); meeting with K. McArthur, W.
                                                  Wagener, J. Rosenfeld, A. Holland and Alix team re:
                                                  forensic accounting (.60).
03/13/2023 Natalie Hills                     4.20 Call with K. Donnelly, M. Sadat, M. Strand, K.
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Date        Name                           Hours Description

                                                  Mayberry, and A. Mazumdar re: Bahamas property
                                                  project (.40); research and review real estate
                                                  documents re: same (1.2); revise documents re: same
                                                  (.80); calculate total value of Bahamas properties
                                                  (1.8).
03/13/2023 M. Devin Hisarli                 0.30 Research retention application for Turkish counsel.
03/13/2023 Keila Mayberry                   3.20 Call with K. Donnelly, M. Sadat, M. Strand, N. Hills
                                                 and A. Mazumdar re: Bahamas property project (.20
                                                 - partial attendance); draft documents for same (3.0).
03/13/2023 Aneesa Mazumdar                  2.90 Research and review real estate documents re:
                                                 Bahamian properties project (2.8); call with K.
                                                 Donnelly, M. Sadat, M. Strand, N. Hills and K.
                                                 Mayberry re: Bahamas property project (.10 - partial
                                                 attendance).
03/13/2023 Tatum Millet                     0.80 Revise asset forfeiture presentation (.60);
                                                 correspondence with M. Materni re: same (.20).
03/13/2023 Hannah Zhukovsky                 1.20 Update comparison spreadsheet with new addresses
                                                 from most recent TRM and Chainalysis reports.
03/14/2023 Stephanie Wheeler                1.20 Call with S. Levin, W. Wagener, Z. Flegenheimer, J.
                                                 Rosenfeld and Alix team re: update on political
                                                 donations workstream (.70); call with K. Donnelly re:
                                                 Bahamas property records (.10); revise Bahamas
                                                 property summaries (.50); correspondence with M.
                                                 Kulkin (Wilmer Hale) re: former debtor entity
                                                 employee return of property (.10).
03/14/2023 Brian Glueckstein                2.30 Review and consider relevant third party settlement
                                                 comments (.20); call with J. Croke and relevant third
                                                 party counsel team re: relevant third party settlement
                                                 agreement (.90); follow-up correspondence with J.
                                                 Croke and relevant third party re: same (.40); analyze
                                                 documents correspondence with J. Croke and A.
                                                 Kranzley re: asset recovery issues (.80).
03/14/2023 Mehdi Ansari                     0.40 Review relevant third party settlement (.20); call with
                                                 J. Croke re: relevant third party settlement (.20)
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Date        Name                             Hours Description
03/14/2023 Jacob Croke                        1.90 Call with B. Glueckstein and relevant third party
                                                   counsel team re: relevant third party settlement
                                                   agreement (.90); analyze issues re: recovering debtor
                                                   assets from foreign third party platforms (.20); analysis
                                                   re: Alameda accounts and steps to access relevant
                                                   third party assets (.40); analysis re: federal regulator
                                                   coordination re: asset recovery and forfeiture,
                                                   including presentation materials (.10); call with federal
                                                   regulator re: asset recovery (.10); call with M. Ansari
                                                   re: relevant third party settlement (.20).
03/14/2023 Sharon Levin                       0.40 Call with S. Wheeler, W. Wagener, Z. Flegenheimer,
                                                   J. Rosenfeld and Alix team re: update on political
                                                   donations workstream (partial attendance).
03/14/2023 Anthony Lewis                      1.30 Correspondence with S&C, Sygnia and DOJ teams
                                                   re: forensic investigation (.90); correspondence with
                                                   S&C and A&M teams re: asset tracing and transfers
                                                   (.40).
03/14/2023 Bradley Harsch                     2.00 Call with Turkish counsel re: FTX Turkey personnel
                                                   requests and strategy to address regulator seizure of
                                                   assets (.60); call with A&M and Sygnia teams re:
                                                   recovery of stablecoin from relevant third party (.50);
                                                   correspondence with internal team re: same (.40);
                                                   review A&M correspondence re: relevant third party
                                                   burning of stablecoin (.30); correspondence re:
                                                   summary of call with Turkish counsel re: FTX Turkey
                                                   (.20).
03/14/2023 William Wagener                    0.50 Call with S. Levin, S. Wheeler, Z. Flegenheimer, J.
                                                   Rosenfeld and Alix team re: update on political
                                                   donations workstream.
03/14/2023 Nirav Mehta                        1.10 Call with third party exchange and AMT re: Alameda
                                                   assets (.50); correspondences with AMT, J. Croke,
                                                   S. Yeargan, A. Holland and S. Xiang re: call to third
                                                   party exchange (.30); correspondence with J. Croke,
                                                   S. Yeargan, A. Holland and S. Xiang re: Alameda silo
                                                   governance and status of accounts (.30).
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Date        Name                            Hours Description
03/14/2023 Shane Yeargan                     1.20 Review Alameda Research KK corporate documents
                                                  (.30); correspondence with N. Mehta re: third party
                                                  exchange accounts (.20); review third party exchange
                                                  account materials (.60): correspondence with J. Croke
                                                  re: third party exchange account access (.10).
03/14/2023 Kathleen Donnelly                 4.00 Call with S. Wheeler re: Bahamas property records
                                                  (.10); review and revise documents re: Bahamas
                                                  property project (2.7); review documents re: same
                                                  (.90); correspondence with internal team re: same
                                                  (.30).
03/14/2023 Zoeth Flegenheimer                0.50 Call with S. Levin, S. Wheeler, W. Wagener, J.
                                                  Rosenfeld and Alix team re: update on political
                                                  donations workstream.
03/14/2023 Meaghan Kerin                     1.00 Correspondence with N. Friedlander, A. Lewis, A.
                                                  Holland, S. Rosenthal and Sygnia re: DOJ request
                                                  (.20); correspondence with H. Zhukovsky re: TRM
                                                  report and asset tracing issues (.10); review records
                                                  re: same (.20); review A&M follow-up questions for
                                                  former employee re: technical and data issues (.20);
                                                  correspondence with A&M re: same (.10); review
                                                  A&M correspondence re: asset recovery issues (.10);
                                                  correspondence with H. Zhukovsky re: records
                                                  management (.10).
03/14/2023 Jared Rosenfeld                   0.50 Call with S. Levin, S. Wheeler, W. Wagener, Z.
                                                  Flegenheimer and Alix team re: update on political
                                                  donations workstream.
03/14/2023 Alexander Holland                 1.60 Draft correspondence with A. Lewis re: employee lists
                                                  (.30); draft correspondence with J. Croke re: account
                                                  information at a relevant third party (.90); draft
                                                  correspondence with S. Yeargan re: account
                                                  information at a relevant third party (.20); attention to
                                                  internal team correspondence re: forensic investigation
                                                  (.20).
03/14/2023 Daniel O'Hara                     0.30 Revise demand letter re: estate assets.
03/14/2023 Samantha Rosenthal                1.50 Correspondences with A. Lewis and M. Kerin re:
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Date        Name                            Hours Description

                                                   TRM asset tracing (.30); draft questions to A&M re:
                                                   same (.30); correspondence with Sygnia re: same
                                                   (.20); correspondences with N. Friedlander and M.
                                                   Kerin re: cold wallets (.50); correspondence with
                                                   Sygnia team re: same (.20).
03/14/2023 Medina Sadat                      2.80 Research and review real estate documents re:
                                                  Bahamian properties project (1.0); draft cover letters
                                                  re: same (1.8).
03/14/2023 Ugonna Eze                        2.50 Research and review real estate documents re:
                                                  Bahamian properties project (1.5); prepare summaries
                                                  re: same (1.0).
03/14/2023 Emma Downing                      0.20 Research contact information for political donation
                                                  return.
03/14/2023 Natalie Hills                     0.20 Finalize total value calculation for Bahamas properties.
03/14/2023 Keila Mayberry                    1.20 Correspondence with A&M re: Bahamas properties
                                                  questions (.10); draft documents re: Bahamas
                                                  properties project (1.1).
03/14/2023 Tatum Millet                      3.90 Summarize relevant third party bridge research (3.2);
                                                  review documents re: same (.50); revise transmittal
                                                  correspondence re: same (.20).
03/14/2023 Luke Ross                         3.30 Review documents re: potential former FTX
                                                  employees and forensic issues.
03/14/2023 Hannah Zhukovsky                  1.10 Compare addresses provided by Chainalysis to
                                                  unattributed transaction addresses compiled by Sygnia
                                                  (.40); check comparison list to see if any addresses
                                                  are unmixed (.70).
03/15/2023 Stephanie Wheeler                 2.80 Review final Bahamas property summary compilation
                                                  (1.7); revise combined Bahamas property document
                                                  (1.0); call with K. Donnelly re: Bahamas properties
                                                  project (.10).
03/15/2023 Brian Glueckstein                 1.80 Correspondence with J. Croke re: third party
                                                  exchange and relevant third party (.80); draft and
                                                  revise relevant third party settlement agreement (.80);
                                                  correspondence with relevant third party counsel re:
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Date        Name                             Hours Description

                                                    settlement (.20).
03/15/2023 Mehdi Ansari                       0.20 Correspondence with internal team re: relevant third
                                                   party settlement.
03/15/2023 Jacob Croke                        2.60 Analyze issues re: recovering debtor accounts from
                                                   third party platforms (1.3); correspondences with third
                                                   party exchanges, A. Holland and K. Ramanathan
                                                   (A&M) re: same (1.1); correspondence with federal
                                                   regulator re: crypto recovery (.20).
03/15/2023 Sharon Levin                       0.10 Review correspondence with internal team re: political
                                                   contributions.
03/15/2023 Anthony Lewis                      1.10 Call with M. Kerin, A. Holland, S. Rosenthal and
                                                   Sygnia team re: forensic investigation status, interim
                                                   report and relevant third party assets (.70);
                                                   correspondence with DOJ and S&C teams re:
                                                   forensic investigation (.20); correspondence with
                                                   S&C, Sygnia and A&M teams re: asset tracing and
                                                   transfers (.10); correspondence with S&C Law teams
                                                   re: relevant third party protocol (.10).
03/15/2023 Bradley Harsch                     0.20 Review correspondence with A&M and Sygnia re:
                                                   burned relevant third party stablecoin amounts.
03/15/2023 Shane Yeargan                      0.90 Correspondence with Sygnia team re: third party
                                                   exchange account (.20); correspondence with N.
                                                   Mehta re: third party exchange account access (.10);
                                                   draft letter to third party exchange re: Debtor accounts
                                                   (1.0); review third party exchange account records
                                                   (.50).
03/15/2023 Kathleen Donnelly                  2.40 Call with S. Wheeler re: Bahamas properties project
                                                   (.10); review and revise documents re: Bahamas
                                                   project (2.3).
03/15/2023 Meaghan Kerin                      1.80 Call with A. Lewis, A. Holland, S. Rosenthal and
                                                   Sygnia team re: forensic investigation status, interim
                                                   report and relevant third party assets (.70); review
                                                   personnel and interview records in connection with
                                                   DOJ request (.70); correspondence with N.
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                                                  Friedlander, A. Lewis and L. Ross re: same (.20);
                                                  correspondence with N. Friedlander, A. Lewis and
                                                  DOJ re: RFIs (.10); correspondence H. Zhukovsky
                                                  re: records management (.10).
03/15/2023 Jared Rosenfeld                  0.40 Correspondence with internal team re: political
                                                 donations workstream.
03/15/2023 Alexander Holland                1.00 Call with A. Lewis, M. Kerin, S. Rosenthal and
                                                 Sygnia team re: forensic investigation status, interim
                                                 report and relevant third party assets (.70);
                                                 correspondence with internal team re: account at
                                                 relevant third parties (.30).
03/15/2023 Samantha Rosenthal               3.00 Call with A. Lewis, M. Kerin, A. Holland and Sygnia
                                                 team re: forensic investigation status, interim report
                                                 and relevant third party assets (.70); draft summary re:
                                                 same (.30); revise S&C workplan re: forensic
                                                 investigation (.60); research re: DOJ query re: forensic
                                                 investigation (1.3); correspondences with N.
                                                 Friedlander and A. Lewis re: FTI RFIs (.10).
03/15/2023 Matthew Strand                   0.30 Review and revise document descriptions related to
                                                 political contributions.
03/15/2023 Keila Mayberry                   0.30 Research and review real estate documents re:
                                                 Bahamas properties project.
03/15/2023 Hannah Zhukovsky                 0.70 Archive and record documents produced to DOJ
                                                 (.30); correspondence with internal team re: DOJ
                                                 production issues (.40).
03/16/2023 Stephanie Wheeler                1.20 Revise summaries re: Bahamas properties project
                                                 (.90); meeting with K. Donnelly re: Bahamas
                                                 properties project (.30).
03/16/2023 Brian Glueckstein                1.50 Review and analyze information and correspondence
                                                 re: asset recovery issues (.80); address third party
                                                 exchange inquiries (.30); review re: relevant third party
                                                 settlement issues (.40).
03/16/2023 Christopher Dunne                2.10 Correspondence with third party exchange re:
                                                 recovery of funds (.30); review re: fifth amendment
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Date        Name                             Hours Description

                                                    jurisprudence and precedents (1.8).
03/16/2023 Jacob Croke                        3.70 Analysis re: strategy for relevant third party assets
                                                   (.30); correspondences with C. Dunne and D. Hariton
                                                   re: same (.40); revise letter to third party platform re:
                                                   debtor assets (.20); correspondence with S. Yeargan
                                                   and A. Kranzley re: same (.20); analyze issues re: third
                                                   party exchange asset tracking and recovery (1.5);
                                                   correspondences with exchanges, A. Holland and K.
                                                   Ramanathan (A&M) re: same (1.1).
03/16/2023 Nicole Friedlander                 0.60 Call with A. Lewis, M. Kerin, A. Holland, S.
                                                   Rosenthal and Sygnia re: forensic investigation status,
                                                   interim report and relevant third party assets.
03/16/2023 Anthony Lewis                      1.30 Call with N. Friedlander, M. Kerin, A. Holland, S.
                                                   Rosenthal and Sygnia re: forensic investigation status,
                                                   interim report and relevant third party assets (.40 -
                                                   partial attendance); correspondence with internal team
                                                   re: forensic investigation (.30); correspondence with
                                                   S&C and relevant third party counsel teams re:
                                                   relevant third party issues (.10); correspondence with
                                                   S&C and Chainalysis teams re: asset tracing and
                                                   transfers (.30); correspondence with N. Friedlander
                                                   re: chipmixer enforcement (.10); correspondence with
                                                   internal team re: same (.10).
03/16/2023 Bradley Harsch                     0.30 Correspondence with Turkish counsel re: strategy for
                                                   recovery of stablecoin from relevant third party (.10);
                                                   draft correspondence with Turkish counsel re:
                                                   recovery of stablecoin from relevant third party (.20).
03/16/2023 Shane Yeargan                      0.40 Revise correspondence with third party exchange re:
                                                   asset recovery (.30); correspondence with J. Croke
                                                   re: third party exchange accounts (.10).
03/16/2023 Michele Materni                    0.20 Meeting with K. Donnelly re: Bahamas properties
                                                   project.
03/16/2023 Kathleen Donnelly                  6.00 Meeting with M. Materni re: Bahamas properties
                                                   project (.20); meeting with S. Wheeler re: Bahamas
                                                   properties project (.30); call with N. Hills re: Bahamas
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Date        Name                            Hours Description

                                                   properties project (.30); call with U. Eze re: Bahamas
                                                   properties project (.30); review and revise Bahamas
                                                   research and correspondence with team re: same
                                                   (.30); review and revise comments on Bahamas
                                                   properties project (3.8); correspondence with internal
                                                   team re: Bahamas properties project (.80).
03/16/2023 Meaghan Kerin                     0.80 Call with N. Friedlander, A. Lewis, A. Holland, S.
                                                  Rosenthal and Sygnia re: forensic investigation status,
                                                  interim report and relevant third party assets (.60);
                                                  correspondence with H. Zhukovsky re: asset tracing
                                                  memos (.10); correspondence with A. Holland re:
                                                  former employee technical questions (.10).
03/16/2023 Jared Rosenfeld                   1.60 Review Alix political donations work product (.80);
                                                  draft talking points re: political donations presentation
                                                  to SDNY (.80).
03/16/2023 Alexander Holland                 1.50 Call with N. Friedlander, A. Lewis, M. Kerin, S.
                                                  Rosenthal and Sygnia re: forensic investigation status,
                                                  interim report and relevant third party assets (.60);
                                                  draft correspondence with A. Lewis re: tracing of
                                                  funds (.30); attention to team communication re: asset
                                                  recovery from third party exchanges (.20); review and
                                                  summarize materials for J. Croke re: relevant third
                                                  party (.40).
03/16/2023 Daniel O'Hara                     1.20 Draft and revise demand letter to relevant third party.
03/16/2023 Samantha Rosenthal                2.20 Call with N. Friedlander, A. Lewis, M. Kerin, A.
                                                  Holland and Sygnia re: forensic investigation status,
                                                  interim report, and relevant third party assets (.60);
                                                  research re: former FTX employee devices (.50);
                                                  revise S&C action list re: forensic investigation (.60);
                                                  attention to correspondences with N. Friedlander and
                                                  Y. Torati re: source code (.20); correspondences with
                                                  A. Lewis re: FTI RFIs (.10); correspondence with N.
                                                  Friedlander re: questions for former FTX employee
                                                  (.20).
03/16/2023 Medina Sadat                      2.50 Revise summaries re: Bahamian properties project.
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Date        Name                            Hours Description
03/16/2023 Matthew Strand                    1.30 Revise summaries re: Bahamian properties project.
03/16/2023 Ugonna Eze                        1.10 Review documents and prepare summaries of
                                                  Bahamian real estate (.80); call with K. Donnelly re:
                                                  Bahamas properties project (.30).
03/16/2023 Natalie Hills                     6.10 Call with K. Donnelly re: Bahamas properties project
                                                  (.30); research and review real estate documents re:
                                                  Bahamas properties project (5.3); correspondence
                                                  with S. Wheeler and K. Donnelly re: Bahamas
                                                  properties project document summaries (.50).
03/16/2023 Keila Mayberry                    0.50 Revise summaries re: Bahamian properties project.
03/16/2023 Aneesa Mazumdar                   0.40 Research real estate documents re: Bahamas
                                                  properties project.
03/16/2023 Hannah Zhukovsky                  1.40 Archive and record call notes with Sygnia (.10);
                                                  database research re: current FTX employees (.70);
                                                  compare tables of target addresses to check for new
                                                  addresses (.30); compile table of target addresses to
                                                  produce to DOJ (.30).
03/17/2023 Brian Glueckstein                 3.30 Call with relevant third party counsel and J. Croke re:
                                                  settlement agreement (.60); review and revise relevant
                                                  third party settlement agreement (.90);
                                                  correspondence with relevant third party counsel re:
                                                  settlement agreement (.30); correspondence with J.
                                                  Ray (FTX) and internal team re: relevant third party
                                                  settlement (.40); correspondence with A. Kranzley
                                                  and A. Sorkin (LW) re: relevant third party loan
                                                  repayment (.40); review re: relevant third party
                                                  settlement agreement (.70).
03/17/2023 Jacob Croke                       5.40 Call with counsel for pre-petition withdrawers re:
                                                  proposed consensual return of assets (.30); analysis
                                                  re: same (.50); correspondence with P. Lavin re: same
                                                  (.10); call with A. Holland, A&M and Sygnia re
                                                  debtors’ assets held at relevant third parties (.90);
                                                  analysis of related issues and communications (.30);
                                                  correspondence with A. Holland, Sygnia and K.
                                                  Ramanathan (A&M) re: same (.50); analyze third
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Date        Name                            Hours Description

                                                   party platform assets and requests for account
                                                   transfers and withdrawals of assets (.80);
                                                   correspondence with platforms, A. Holland and
                                                   Sygnia re: same (.60); meeting with S. Levin re: FTX
                                                   asset forfeiture presentation (.40); analysis re: SDNY
                                                   materials re: asset recovery coordination (.20);
                                                   correspondence with S. Levin re: same (.20); call with
                                                   relevant third party counsel and B. Glueckstein re:
                                                   settlement agreement (.60).
03/17/2023 Sharon Levin                      0.80 Meeting with J Croke re: FTX asset forfeiture
                                                  presentation (.40); call with M. Materni, Z.
                                                  Flegenheimer, A. Mazumdar and T. Millet re: revisions
                                                  to FTX asset forfeiture presentation (.40).
03/17/2023 Anthony Lewis                     1.30 Call with J. Kapoor and relevant third party counsel
                                                  re: third party agreement and IP (.50); follow up call
                                                  with J. Kapoor re: same (.20); correspondence with
                                                  S&C, Sygnia, A&M, Chainalysis and TRM teams re:
                                                  asset transfers and tracing (.40); correspondence with
                                                  A&M and relevant third party teams re: relevant third
                                                  party protocol issues (.20).
03/17/2023 Shane Yeargan                     0.90 Call with A. Holland, A&M, Sygnia and a relevant
                                                  third party re: recovery of debtors’ assets (.20);
                                                  correspondence with J. Croke re: third party exchange
                                                  assets (.10); review asset transfer agreements from
                                                  relevant third party (.30); review asset transfer
                                                  agreement for third party exchange (.20); call with J.
                                                  Kapoor re: direction letters re: moving assets to cold
                                                  storage (.10).
03/17/2023 Michele Materni                   0.40 Call with S. Levin,, Z. Flegenheimer, A. Mazumdar
                                                  and T. Millet re: revisions to FTX asset forfeiture
                                                  presentation.
03/17/2023 Julie Kapoor                      1.20 Call with A. Lewis and relevant third party counsel re:
                                                  third party agreement and IP (.50); follow up call with
                                                  A. Lewis re: same (.20); follow up re: same (.20); call
                                                  with S. Yeargan re: direction letters re: moving assets
                                                  to cold storage (.10); prepare re: same (.20).
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Date        Name                            Hours Description

03/17/2023 Kathleen Donnelly                 1.50 Call with M. Sadat re: Bahamas properties project
                                                  (.30); correspondence with internal team re: Bahamas
                                                  properties project (.50); revise summaries re:
                                                  Bahamas properties project (.70)
03/17/2023 Zoeth Flegenheimer                1.00 Call with S. Levin, M. Materni, A. Mazumdar and T.
                                                  Millet re: revisions to FTX asset forfeiture presentation
                                                  (.40); correspondences with T. Millet and A.
                                                  Mazumdar re: revisions to FTX asset forfeiture
                                                  presentation (.40); correspondence with J. Petiford re:
                                                  providing financial information for FTX asset forfeiture
                                                  presentation 1 (.20).
03/17/2023 Meaghan Kerin                     0.40 Review Chainalysis memo re: asset tracing (.10);
                                                  correspondence with A. Holland re: DOJ requests
                                                  (.20); review correspondences with Sygnia and A&M
                                                  re: asset recovery issues (.10).
03/17/2023 Alexander Holland                 4.90 Call with J. Croke, A&M and Sygnia re: debtors’
                                                  assets held at Relevant Third Parties (.90); call with S.
                                                  Yeargan, A&M, Sygnia and a relevant third party re:
                                                  recovery of debtors’ assets (.20); review and
                                                  summarize correspondence with a relevant third party
                                                  (1.6); review and summarize documents re asset
                                                  collection from a relevant third party (2.0); attention to
                                                  team communication re asset recovery (.20).
03/17/2023 Samantha Rosenthal                0.20 Correspondences with A. Lewis re: FTI RFIs.
03/17/2023 Medina Sadat                      1.10 Call with K. Donnelly re: Bahamas properties project
                                                  (.30); draft instructions for Bahamian properties
                                                  project (.50); revise summaries re: Bahamas
                                                  properties project (.30).
03/17/2023 Natalie Hills                     1.90 Document searches re: real estate purchases (1.6);
                                                  correspondence with S. Wheeler and K. Donnelly re:
                                                  document search summary (.30).
03/17/2023 Aneesa Mazumdar                   1.20 Revise notes from asset forfeiture meeting (.50); call
                                                  with S. Levin, M. Materni, Z. Flegenheimer and T.
                                                  Millet re: revisions to FTX asset forfeiture presentation
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                                                    (.40); update asset forfeiture presentation (.30).
03/17/2023 Tatum Millet                       0.60 Call with S. Levin, M. Materni, Z. Flegenheimer and
                                                   A. Mazumdar re: revisions to FTX asset forfeiture
                                                   presentation (.40); send edited notes to A. Mazumdar
                                                   re: same (.20).
03/18/2023 Brian Glueckstein                  0.40 Finalize relevant third party settlement agreement
                                                   (.30); follow-up with internal team re: same (.10).
03/18/2023 Jacob Croke                        4.10 Analysis of potential additional debtor assets on third
                                                   party platforms and plan for recoveries (1.0); review
                                                   re: FTX asset forfeiture presentation (.40);
                                                   correspondence with Sygnia re: same (.30); analyze
                                                   account records from third party platform and
                                                   additional related account materials (1.1);
                                                   correspondence with K. Ramanathan (A&M) re:
                                                   same (.20); analysis re: planned claims against relevant
                                                   third parties (.40); analysis re: additional assets in
                                                   venture portfolio (.60); correspondence with M&A
                                                   team re: same (.10).
03/18/2023 Evan Simpson                       1.00 Review comments from counterparty re: asset
                                                   recovery matter.
03/18/2023 Anthony Lewis                      0.30 Correspondence with internal team re: relevant third
                                                   party issues (.10); correspondence with internal team
                                                   re: asset tracing (.10); correspondence with internal
                                                   team re: forensic investigation (.10).
03/18/2023 Bradley Harsch                     0.10 Review correspondence re: relevant third party
                                                   settlement.
03/18/2023 Shane Yeargan                      0.70 Correspondence with A. Kranzley re: transfer
                                                   agreements (.10); review precedent indemnification
                                                   and liability limitation provisions (.60).
03/18/2023 Meaghan Kerin                      0.10 Correspondence with A. Lewis re: historical potential
                                                   forensic incidents.
03/18/2023 Jared Rosenfeld                    1.40 Draft talking points re: political donations presentation
                                                   to SDNY.
03/18/2023 Tatum Millet                       1.40 Update asset forfeiture presentation based on
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                                                   comments by S. Levin.
03/19/2023 Jacob Croke                       3.20 Review and analyze materials for potential motion re:
                                                  exchange platform assets (.50); revise filings re: same
                                                  (.40); analysis re: additional sources of debtor assets
                                                  on third party platforms and strategy for recoveries
                                                  (.90); correspondence with Sygnia re: same (.40);
                                                  analyze account records re: third party platform (.40);
                                                  correspondence with K. Ramanathan (A&M) re:
                                                  same (.10); analysis re: entity ownership for claim re:
                                                  debtor assets on platform (.30); correspondence with
                                                  A. Holland re: same (.20).
03/19/2023 Anthony Lewis                     0.30 Correspondence with S&C teams re: forensic
                                                  investigation (.10); correspondence with S&C and
                                                  Sygnia teams re: asset tracing and transfers (.10);
                                                  correspondence with A&M and relevant third party
                                                  teams re: relevant third party issues (.10).
03/19/2023 Shane Yeargan                     1.60 Revise third party exchange asset transfer
                                                  authorization agreement (.50); revise relevant third
                                                  party wallet designation and authorization agreements
                                                  (.60); review interim relief orders and final cash
                                                  management and indemnification orders (.40);
                                                  correspondences with A. Kranzley and J. Petiford re:
                                                  indemnification order (.10).
03/19/2023 Michele Materni                   0.50 Revise asset forfeiture presentation.
03/19/2023 Zoeth Flegenheimer                0.80 Review and revise presentation to SDNY on asset
                                                  recovery.
03/19/2023 Meaghan Kerin                     0.40 Correspondence with A. Lewis re: historical potential
                                                  forensic incidents (.10); review records in connection
                                                  with same (.10); correspondence with A&M and Alix
                                                  re: interview of former employee in connection with
                                                  asset recovery and analysis (.10); correspondence
                                                  with N. Friedlander, Sygnia, A&M and Relevant
                                                  Third Party data issues (.10).
03/19/2023 Alexander Holland                 0.40 Draft letter to third party exchange (.30);
                                                  correspondence with J. Croke re: relevant third party
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                                                  holding debtors' assets (.10).
03/19/2023 Samantha Rosenthal               0.10 Attention to correspondences with N. Friedlander and
                                                 Sygnia re: JPL database access.
03/19/2023 Aneesa Mazumdar                  3.50 Revise asset forfeiture presentation.
03/20/2023 Brian Glueckstein                6.80 Call with K. McArthur, M. Jacques (Alix) and A.
                                                 Vanderkamp (Alix) re: progress of forensic
                                                 reconstruction of balance sheet (.30); correspondence
                                                 with internal team re: factual investigation
                                                 developments (.30); correspondence with K.
                                                 McArthur and Alix team re: investigation workstreams
                                                 (.30); correspondence with third party brokerage and
                                                 M. Cilia re: FTX Europe accounts issues (.50);
                                                 follow-up with third party brokerage re: accounts
                                                 issues (.40); correspondence with K. Pasquale (PH)
                                                 re: relevant third party settlement (.20); draft and
                                                 revise relevant third party settlement agreement and
                                                 supporting documents (4.8).
03/20/2023 Kathleen McArthur                0.30 Correspondence with B. Glueckstein, M. Jacques
                                                 (Alix) and A. Vanderkamp (Alix) re: progress of
                                                 forensic reconstruction of balance sheet.
03/20/2023 Jacob Croke                      1.50 Analysis re: recoveries from relevant third party and
                                                 related issues (.70); correspondences with Sygnia, A.
                                                 Holland and counsel for former employee re: same
                                                 (.80).
03/20/2023 Nicole Friedlander               2.80 Call with A. Lewis, M. Kerin, A. Holland, S.
                                                 Rosenthal and Sygnia re: relevant third party asset
                                                 recovery efforts, Second FTI RFI, former FTX
                                                 employee interviews, and investigation strategy (.40);
                                                 call with M. Kerin, I. Graff (Fried Frank), former FTX
                                                 employee, A&M, Sygnia and Alix re: financial
                                                 accounting and asset management issues (2.4).
03/20/2023 Evan Simpson                     1.20 Review and comment on draft loan and assignment
                                                 documentation from Davis Polk (.50); call with Davis
                                                 Polk team re: documentation for return of loaned funds
                                                 (.70).
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Date        Name                             Hours Description

03/20/2023 Sharon Levin                       0.70 Correspondence with internal team re: charitable
                                                   contributions (.50); correspondence with internal team
                                                   re: FTX asset forfeiture/recovery (.20).
03/20/2023 Anthony Lewis                      0.90 Call with N. Friedlander, M. Kerin, A. Holland, S.
                                                   Rosenthal and Sygnia re: relevant third party asset
                                                   recovery efforts, Second FTI RFI, former FTX
                                                   employee interviews, and investigation strategy (.40);
                                                   correspondence with S&C, Sygnia and A&M teams
                                                   re: asset tracing and transfers (.10); correspondence
                                                   with A&M, relevant third party teams re: relevant third
                                                   party issues (.20); correspondence with DOJ, S&C
                                                   and Sygnia teams re: forensic investigation (.20).
03/20/2023 Bradley Harsch                     0.30 Correspondence with S. Ehrenberg re: FTX Turkey
                                                   database (.10); correspondence with Turkish counsel
                                                   re: FTX Turkey database and personnel request for
                                                   FTX Turkish user data (.10); review correspondence
                                                   with internal team re: charitable donations (.10).
03/20/2023 Michele Materni                    1.80 Call with J. Rosenfeld re: political contributions
                                                   presentation (.10); revise draft talking points re:
                                                   presentation on political contributions (1.7).
03/20/2023 Julie Kapoor                       0.10 Correspondence with S&C and A&M teams re: third
                                                   party vendor agreement.
03/20/2023 Zoeth Flegenheimer                 0.40 Meeting with J. Rosenfeld re: preparing presentation
                                                   to SDNY on political contribution funds.
03/20/2023 Meaghan Kerin                      5.50 Call with N. Friedlander, A. Lewis, A. Holland, S.
                                                   Rosenthal and Sygnia re: relevant third party asset
                                                   recovery efforts, Second FTI RFI, former FTX
                                                   employee interviews, and investigation strategy (.40);
                                                   call with N. Friedlander, I. Graff (Fried Frank), former
                                                   FTX employee, A&M, Sygnia and Alix re: financial
                                                   accounting and asset management issues (2.4);
                                                   correspondence with N. Friedlander and Alix re
                                                   anticipated interview of former employee (.10); revise
                                                   notes from former employee interview re financial
                                                   accounting and asset recovery issues (1.1); review
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                                                 Chainalysis updates re: asset tracing (.20);
                                                 correspondence with N. Friedlander, A. Lewis and H.
                                                 Zhukovsky re: same (.10); review records re:
                                                 personnel data in connection with DOJ request (.30);
                                                 correspondence with N. Friedlander, A. Lewis, A.
                                                 Holland re: same (.10); review additional materials
                                                 produced by relevant third party (.30);
                                                 correspondence with A. Lewis and Landis re: same
                                                 (.10); correspondence with A. Lewis, S. Rosenthal
                                                 and A&M re: asset tracing issues (.10); review work
                                                 plan re: forensic investigation (.10); correspondence
                                                 with A. Lewis and S. Rosenthal re: UCC/FTI requests
                                                 (.10); correspondence with N. Friedlander, A. Lewis
                                                 and B. Kotara (debtor entity) re: DOJ request (.10).
03/20/2023 Jared Rosenfeld                 3.40 Research re: charitable donations documents of
                                                interest for asset tracing workstream (.80); draft
                                                talking points re: political donations presentation (2.1);
                                                meeting with Z. Flegenheimer re: preparing
                                                presentation to SDNY on political contributions (.40);
                                                call with M. Materni re: political contributions
                                                presentation (.10).
03/20/2023 Alexander Holland               5.10 Call with N. Friedlander, A. Lewis, M. Kerin, S.
                                                Rosenthal and Sygnia re: relevant third party asset
                                                recovery efforts, Second FTI RFI, former FTX
                                                employee interviews, and investigation strategy (.40);
                                                draft email to J. Croke re account held at a relevant
                                                third party (1.4); review and summarize materials re:
                                                asset recovery from a relevant third party (3.1);
                                                correspondence with N. Freidlander re a former
                                                employee (.20).
03/20/2023 Samantha Rosenthal              4.80 Call with N. Friedlander, A. Lewis, M. Kerin, A.
                                                Holland and Sygnia re: relevant third party asset
                                                recovery efforts, Second FTI RFI, former FTX
                                                employee interviews and investigation strategy (.40);
                                                revise notes re: same (.20); revise S&C action list re:
                                                forensic investigation (.60); draft responses to FTI
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                                                   Second RFI (1.8); correspondence with A. Lewis re:
                                                   same (.10); review re: same (1.2); correspondences
                                                   with A. Lewis and Sygnia re: asset tracing (.20);
                                                   correspondences with A. Lewis, A&M and TRM re:
                                                   same (.20); correspondence with N. Friedlander, A.
                                                   Lewis, M. Kerin and A. Holland re: former FTX
                                                   employee devices (.10).
03/20/2023 Medina Sadat                      2.30 Revise summaries re: Bahamian properties project.
03/20/2023 Matthew Strand                    1.10 Review summaries re: Bahamas properties project.
03/20/2023 Natalie Hills                     6.40 Revise summaries re: Bahamas properties project.
03/20/2023 Aneesa Mazumdar                   1.50 Revise summaries re: Bahamas properties project
                                                  (.70); review cover letters re: Bahamas properties
                                                  project (.80).
03/21/2023 Brian Glueckstein                 3.80 Correspondence with internal team re: SDNY
                                                  requests and updates (.30); review and consider
                                                  information re: potential asset recovery (.30);
                                                  correspondence and follow-up with Third Party
                                                  Brokerage and FTX team re: FTX Europe accounts
                                                  issues (1.1); correspondence with internal team re:
                                                  relevant third party settlement issues (.30); draft and
                                                  revise relevant third party settlement motion and
                                                  related (1.8).
03/21/2023 Christopher Dunne                 2.30 Review comments re: political donations presentation.
03/21/2023 Kathleen McArthur                 0.50 Call with W. Wagener, J. Rosenfeld, Z. Flegenheimer,
                                                  D. O’Hara and Alix re: political donation tracing
                                                  (partial attendance).
03/21/2023 Jacob Croke                       7.30 Call with J. Rosenfeld, A. Holland and Alix re:
                                                  debtors’ assets held by a relevant third party (.70);
                                                  analyze assets on third party platforms and strategy for
                                                  recovery (.80); correspondence with S. Yeargan and
                                                  Sygnia re: same (.70); meeting with J. Ray (FTX) re:
                                                  PMO (.50); review and revise motion for approval of
                                                  relevant third party settlement and accompanying
                                                  materials (1.3); correspondences with B. Glueckstein
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                                                    and J. Ray (FTX) re: same (.50); analyze issues re:
                                                    SDNY outreach re: asset recoveries (.40);
                                                    correspondence with A. Dietderich re: same (.30);
                                                    analysis re: plan for potential recoveries from exploits
                                                    and BLP program (.80); draft and revise letters to
                                                    third party platforms re: assets for recoveries (.40);
                                                    correspondence with S. Yeargan and K. Ramanathan
                                                    (A&M) re: same (.30); analyze former Alameda
                                                    employee's notes re: borrowing (.50); correspondence
                                                    with K. Donnelly re: same (.10).
03/21/2023 Evan Simpson                       1.00 Mark-ups of assignment agreement, statement of
                                                   facts, motion, order and payoff letters for return of
                                                   loaned amounts.
03/21/2023 Anthony Lewis                      1.00 Review and revise relevant third party protocol letter
                                                   (.20); correspondence with S&C, A&M and relevant
                                                   third party teams re: relevant third party issues (.30);
                                                   correspondence with S&C, Sygnia and A&M teams
                                                   re: forensic investigation (.20); correspondence with
                                                   S&C, A&M teams and relevant third party re:
                                                   assistance staking (.10); correspondence with S&C,
                                                   A&M and Sygnia teams re: asset transfers (.20).
03/21/2023 Bradley Harsch                     0.70 Review correspondence with Turkish counsel re: calls
                                                   with FTX Turkey personnel (.20); correspondence
                                                   with Turkish counsel re: FTX Turkey personnel
                                                   requests and access to FTX Turkey data (.10);
                                                   correspondence with FTX team and S. Ehrenberg re:
                                                   access to FTX Turkey data (.10); correspondence
                                                   with S. Ehrenberg, E. Downing, F. Weinberg and D.
                                                   Hisarli re: FTX Turkey access and preservation (.20);
                                                   correspondence with R. Perhubatla re: access to FTX
                                                   Turkey Gmail data (.10).
03/21/2023 William Wagener                    0.70 Call with K. McArthur, J. Rosenfeld, Z. Flegenheimer,
                                                   D. O’Hara and Alix re: political donation tracing.
03/21/2023 Zoeth Flegenheimer                 0.70 Call with K. McArthur, W. Wagener, J. Rosenfeld, D.
                                                   O’Hara and Alix re: political donation tracing.
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03/21/2023 Meaghan Kerin                     1.70 Correspondence with N. Friedlander, Fried Frank,
                                                  A&M, Alix and Sygnia re: list of attendees during
                                                  March 20 interview of former employee (.20);
                                                  formalize notes from former employee interview (1.2);
                                                  correspondence with A. Lewis, Landis and Sygnia re:
                                                  Relevant Third Parties’ data and productions (.10);
                                                  review materials produced by relevant third party
                                                  (.10); review TRM and Sygnia updates re: asset
                                                  tracing (.10).
03/21/2023 Jared Rosenfeld                   4.20 Research and draft political donations presentation
                                                  (2.7); correspondence with internal team re: same
                                                  (.50); call with J. Croke, A. Holland and Alix re:
                                                  debtors’ assets held by a relevant third party (.30 -
                                                  partial attendance); call with K. McArthur, W.
                                                  Wagener, Z. Flegenheimer, D. O’Hara and Alix re:
                                                  political donation tracing (.70).
03/21/2023 Alexander Holland                 3.00 Call with J. Croke, J. Rosenfeld and Alix re: debtors’
                                                  assets held by a relevant third party (.70); draft
                                                  correspondence with J. Croke re: multiple third party
                                                  exchanges (1.2); review KYC materials re: a relevant
                                                  third party (.40); call with A&M re: third party
                                                  exchange assets (.30); review documents re: same
                                                  (.20); attention to team communication re: forensic
                                                  investigation (.20).
03/21/2023 Daniel O'Hara                     0.70 Call with K. McArthur, W. Wagener, J. Rosenfeld, Z.
                                                  Flegenheimer and Alix re: political donation tracing.
03/21/2023 Samantha Rosenthal                3.80 Revise response to FTI Second RFI (2.9); review
                                                  logs re: relevant third party (.30); correspondences
                                                  with A. Lewis and Sygnia re: same (.20);
                                                  correspondences with Sygnia, TRM and A&M re:
                                                  asset tracing (.20); review relevant third party
                                                  responses to follow-up questions (.20).
03/21/2023 Natalie Hills                     0.20 Revise summaries re: Bahamas properties project.
03/21/2023 Tatum Millet                      6.60 Review documents re: political donations documents
                                                  (2.5); search online database for additional charitable
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Date        Name                             Hours Description

                                                    contributions documents (3.7); meeting with L. Ross
                                                    re: identifying charitable donations documents (.10);
                                                    draft correspondence with J. Rosenfeld re: progress
                                                    on charitable contributions document (.30).
03/21/2023 Luke Ross                          0.90 Meeting with T. Millet re: identifying charitable
                                                   donations documents (.10); revise charitable
                                                   documents chronology (.80).
03/21/2023 Hannah Zhukovsky                   0.10 Archive and record Sygnia call notes.
03/22/2023 Brian Glueckstein                  1.20 Finalize relevant third party settlement motion and
                                                   supporting papers (.90); correspondence with internal
                                                   team re: potential asset recoveries (.30).
03/22/2023 Jacob Croke                        3.00 Review and analyze issues re: asset recovery plan,
                                                   including implications for venture book (.80),
                                                   correspondence with M. Wu re: same (.30);
                                                   correspondence with counsel for former employee re:
                                                   potential asset return (.30); analyze issues re: airdrop
                                                   claim and potential issues re: related fund investment
                                                   (.30); correspondence with S. Yeargan re: same (.10);
                                                   analyze issues re: third party exchanges and recoveries
                                                   (1.0); revise letters to exchanges re: same (.10);
                                                   correspondence with S. Yeargan re: same (.10).
03/22/2023 Evan Simpson                       1.20 Revise documents re: return of assets.
03/22/2023 Anthony Lewis                      0.80 Call with S. Rosenthal and Sygnia re: FTI Second
                                                   RFI, relevant third party follow-up items, forensic
                                                   investigation report and case strategy (.60);
                                                   correspondence with S&C and FTX teams re:
                                                   forensic investigation (.10); correspondence with
                                                   S&C, A&M and Sygnia teams re: asset transfers and
                                                   tracing (.10).
03/22/2023 Colin Lloyd                        0.50 Consider margin and guaranty fund structure for
                                                   reboot.
03/22/2023 Bradley Harsch                     0.70 Review and revise letter to regulator re: FTX Turkey
                                                   (.60); correspondence with A&M re: relevant third
                                                   party recovery and Turkish counsel questions (.10).
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Date        Name                            Hours Description
03/22/2023 William Wagener                   0.20 Attention to correspondence with J. Rosenfeld and
                                                  internal team re: political donations workstream.
03/22/2023 Shane Yeargan                     0.70 Review Offchain warrant exercise notice and
                                                  agreement (.50); correspondence with A&M re:
                                                  Offchain warrant exercise (.20).
03/22/2023 Julie Kapoor                      0.50 Call with K. Ramanathan (A&M) re: third party
                                                  agreement (.10); review re: same (.40).
03/22/2023 Meaghan Kerin                     0.70 Analyze data-related questions for former employee
                                                  (.20); correspondence with A. Lewis and A&M re:
                                                  same (.10); review work plan re: forensic investigation
                                                  (.10); correspondence with S. Rosenthal re: same
                                                  (.10); correspondence with S. Rosenthal re: relevant
                                                  third party productions (.10); correspondence with
                                                  A&M and Sygnia re: asset recovery issues (.10).
03/22/2023 Jared Rosenfeld                   1.60 Research re: asset tracing for relevant third party
                                                  (.80); research and draft political donations
                                                  presentation (.70); correspondence with internal team
                                                  re: same (.10).
03/22/2023 Alexander Holland                 1.00 Draft correspondences with J. Croke re: asset
                                                  recovery from a relevant third party (.80); attention to
                                                  communication re: recovery from third party
                                                  exchanges (.20).
03/22/2023 Daniel O'Hara                     0.40 Draft letter re: return of estate funds.
03/22/2023 Samantha Rosenthal                1.80 Call with A. Lewis and Sygnia re: FTI Second RFI,
                                                  relevant third party follow-up items, forensic
                                                  investigation report and case strategy (.60); revise
                                                  notes re: same (.30); revise S&C action list re:
                                                  forensic investigation (.70); correspondence with FTI
                                                  re: database access (.10); correspondence with H.
                                                  Zhukovsky re: former FTX employees (.10).
03/22/2023 Medina Sadat                      2.70 Revise summaries re: Bahamas properties project.
03/22/2023 Natalie Hills                     1.90 Revise summaries re: Bahamas properties project.
03/22/2023 Tatum Millet                      4.00 Search for charitable contribution documents tracing
                                                  donation funds (3.4); compile documents and excel
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Date        Name                             Hours Description

                                                    spreadsheets re: same (.60).
03/23/2023 Brian Glueckstein                  1.10 Correspondence with IB re: FTX Europe accounts
                                                   (.30); review and analyze documents re: asset
                                                   recoveries (.80).
03/23/2023 Nicole Friedlander                 1.90 Correspondence with Sygnia re: tech audit calls (.20);
                                                   review and comment on draft talking points for SDNY
                                                   meeting re: political contributions (.60);
                                                   correspondence with J. Rosenthal re: Sygnia report
                                                   review (.10); correspondence with DOJ re: counsel
                                                   and witness interviews (.20); review documents from
                                                   P. Lavin re: cold storage (.50); correspondence with
                                                   Sygnia re: cold storage materials (.30).
03/23/2023 Evan Simpson                       1.50 Revise negotiations re: return of asset documentation
                                                   (1.3); circulate with internal team re: same (.20).
03/23/2023 Anthony Lewis                      1.00 Call with M. Kerin, A. Holland, S. Rosenthal and
                                                   Sygnia re: forensic investigation status and interim
                                                   report (.30); correspondence with S&C, Sygnia and
                                                   A&M teams re: forensic investigation (.10);
                                                   correspondence with A&M, S&C and PH teams re:
                                                   vendor assistance re: staking (.20); correspondence
                                                   with S&C, Chainalysis, A&M and Sygnia teams re:
                                                   asset transfers and tracing (.40).
03/23/2023 Bradley Harsch                     0.50 Review A&M responses to queries re: relevant third
                                                   party stablecoin transfer (.10); review and comment
                                                   on correspondence re: outreach from FTX Turkey
                                                   personnel (.10); review correspondence with S.
                                                   Ehrenberg re: comments on letter to regulator re: FTX
                                                   Turkey assets (.30).
03/23/2023 Meaghan Kerin                      4.50 Call with A. Lewis, A. Holland, S. Rosenthal and
                                                   Sygnia re: forensic investigation status and interim
                                                   report (.30); formalize notes from former employee
                                                   interview (2.3); correspondence with N. Friedlander,
                                                   A. Lewis, S. Rosenthal and A. Holland re: same,
                                                   review of auditor presentations, forensic investigation
                                                   workplan (.30); revise data-related questions for
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Date        Name                            Hours Description

                                                   former employee (.40); correspondence with A.
                                                   Lewis and Sygnia re: same (.20); correspondence with
                                                   A. Holland re: personnel employment status (.10);
                                                   review Chainalysis asset tracing memo (.20);
                                                   correspondence with A. Lewis and H. Zhukovsky re:
                                                   asset tracing updates (.10); correspondence with S.
                                                   Rosenthal and Sygnia re FTI requests (.10); revise
                                                   work plan, action list re: forensic investigation (.40);
                                                   correspondence with N. Friedlander re: DOJ request
                                                   (.10).
03/23/2023 Jared Rosenfeld                   3.90 Correspondence with internal team re: charitable
                                                  donations, audit recording workstreams (1.2);
                                                  research and draft political donations presentation
                                                  (2.4); correspondence with internal team re: same
                                                  (.30).
03/23/2023 Andrew Thompson                   2.10 Database and public source review for factual
                                                  development re: relevant third party bridge.
03/23/2023 Alexander Holland                 0.50 Call with A. Lewis, M. Kerin, S. Rosenthal and
                                                  Sygnia re: forensic investigation status and interim
                                                  report (.30); review employment logs (.20).
03/23/2023 Daniel O'Hara                     0.60 Revise demand letter (.50); correspondence with
                                                  internal team re: same (.10).
03/23/2023 Samantha Rosenthal                2.70 Call with A. Lewis, M. Kerin, A. Holland and Sygnia
                                                  re: forensic investigation status and interim report
                                                  (.30); revise notes re: same (.20); revise S&C action
                                                  list re: forensic investigation (.80); correspondences
                                                  with A. Lewis and M. Kerin re: asset questions (.20);
                                                  correspondences with A. Lewis re: TRM asset tracing
                                                  (.20); correspondences with K. Ramanathan (A&M)
                                                  re: same (.20); review TRM reports re: asset tracing
                                                  (.50); review former employee witness interview notes
                                                  (.30).
03/23/2023 M. Devin Hisarli                  0.30 Review letter to Turkish regulator (.20);
                                                  correspondence with S. Ehrenberg, B. Harsch, F.
                                                  Weinberg Crocco and E. Downing re: same (.10).
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Date        Name                            Hours Description
03/23/2023 Tatum Millet                      0.50 Summarize documents re: charitable contributions.
03/23/2023 Hannah Zhukovsky                  0.40 Compare previous and recent tables of addresses.
03/24/2023 Brian Glueckstein                 1.30 Correspondence with internal team re: potential asset
                                                  recoveries and related matters (.30); call with J.
                                                  Croke re: token reissuance and related matters (.30)
                                                  review and comment on letter to loan counterparty re:
                                                  loan payoff and related issues (.50); correspondence
                                                  with A. Kranzley re: loan payoff letter (.20).
03/24/2023 Christopher Dunne                 0.70 Call with N. Friedlander, Z. Flegenheimer and J.
                                                  Rosenfeld re: political donations presentation to
                                                  SDNY.
03/24/2023 Jacob Croke                       2.30 Analyze issues re: potential consensual turnover by
                                                  third party exchange (.30); correspondence with
                                                  counsel and B. Glueckstein re: same (.30); call with B.
                                                  Glueckstein re: token reissuance and related matters
                                                  (.30); analyze issues re: relevant third party tokens
                                                  (.30); analyze issues re: potential third party exploits
                                                  and sources of recoveries (.60); correspondence with
                                                  K. Ramanathan (A&M) re: same (.10); analyze DeFi
                                                  positions and strategy for recovery (.30);
                                                  correspondence with Sygnia re: same (.10).
03/24/2023 Nicole Friedlander                0.50 Call with Z. Flegenheimer, J. Rosenfeld and C. Dunne
                                                  re: political donations presentation to SDNY (partial
                                                  attendance).
03/24/2023 Evan Simpson                      1.00 Call with Canadian counsel re: asset recovery matters
                                                  (.30); review of documentation re: potential claim
                                                  matter (.70).
03/24/2023 Anthony Lewis                     0.70 Correspondence with A&M and relevant third party
                                                  teams re: relevant third party issues (.10);
                                                  correspondence with S&C and STB teams re: vendor
                                                  assistance re: staking (.10); correspondence with
                                                  S&C and Sygnia teams re: forensic investigation (.40);
                                                  correspondence with S&C, TRM and A&M teams re:
                                                  asset tracing (.10).
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Date        Name                             Hours Description
03/24/2023 Bradley Harsch                     0.90 Review regulator audit filings and related email from
                                                   FTX Turkey personnel (.20); correspondence with
                                                   Turkish counsel and, A&M re: relevant third party
                                                   asset recovery (.20); revise and circulate draft letter to
                                                   regulator re: FTX Turkey and SNG assets (.50).
03/24/2023 Kathleen Donnelly                  1.80 Call with D. O’Hara re: charitable donations tracking
                                                   (.40); review documents and conduct searches re:
                                                   donations and gifts (1.2); call with J. Rosenfeld re:
                                                   charitable donations and gifts (.20).
03/24/2023 Zoeth Flegenheimer                 4.30 Call with J. Rosenfeld and Alix re: political donations
                                                   presentation to SDNY (.70); meeting with J.
                                                   Rosenfeld re: draft political donations presentation to
                                                   SDNY (2.8); call with N. Friedlander, C. Dunne and
                                                   J. Rosenfeld re: political donations presentation to
                                                   SDNY (.70); coordinate with E. Downing re: revise
                                                   SDNY presentation (.10).
03/24/2023 Meaghan Kerin                      1.10 Review Sygnia updates re: FTI RFI (.30);
                                                   correspondence with S. Rosenthal re: same (.10);
                                                   correspondence with A. Lewis, A. Holland and K.
                                                   Schultea (RLKS) re: employment status of certain
                                                   personnel (.20); review Sygnia updates re: forensic
                                                   investigation (.20); correspondence with A. Lewis re:
                                                   same (.10); correspondence with A. Lewis, A&M
                                                   and S. Rosenthal re: asset tracing issues (.10);
                                                   correspondence with H. Zhukovsky re: records
                                                   management (.10).
03/24/2023 Jared Rosenfeld                    6.80 Call with K. Donnelly re: charitable donations and gifts
                                                   (.20); call with Z. Flegenheimer and Alix re:
                                                   presentation to SDNY re: political donations (.70);
                                                   meeting with Z. Flegenheimer re: draft political
                                                   donations presentation to SDNY (2.8); call with N.
                                                   Friedlander, C. Dunne and Z. Flegenheimer re:
                                                   political donations presentation to SDNY (.70);
                                                   research, draft and correspondence with internal team
                                                   re: political donations presentation (2.4).
03/24/2023 Andrew Thompson                    1.10 Review database and public source for factual
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                                                   development re: relevant third party bridge.
03/24/2023 Alexander Holland                 1.70 Draft correspondences with K. McArthur, J. Croke,
                                                  Alix and Sygnia re: asset recovery from a relevant
                                                  third party (1.3); draft correspondence with A. Lewis
                                                  re: former Alameda employee (.40).
03/24/2023 Daniel O'Hara                     0.60 Review correspondence re: demand letter (.20); call
                                                  with K. Donnelly re: charitable donations tracking
                                                  (.40)
03/24/2023 Samantha Rosenthal                3.20 Correspondence with Sygnia re: comments on FTI
                                                  Second RFI (.20); review re: same (.40); revise
                                                  responses to FTI Second RFI (2.2); correspondence
                                                  with N. Friedlander, A. Lewis re: same (.20); attention
                                                  to correspondence with N. Friedlander re: cold
                                                  wallets (.10); attention to correspondences with A.
                                                  Lewis, M. Kerin and A. Holland re: former FTX
                                                  employees (.10).
03/24/2023 Emma Downing                      0.90 Revise stipulation for third party return of funds (.80);
                                                  draft correspondence re: same (.10).
03/24/2023 Hannah Zhukovsky                  0.20 Archive and record Sygnia materials (.10); archive
                                                  and record DOJ correspondence (.10).
03/26/2023 Stephanie Wheeler                 1.80 Final review of summaries re: Bahamian properties
                                                  project.
03/26/2023 Anthony Lewis                     0.20 Correspondences with S&C and A&M teams re:
                                                  vendor assistance re: staking.
03/26/2023 Meaghan Kerin                     0.10 Correspondence with N. Friedlander and Sygnia re:
                                                  technical data requests.
03/26/2023 Jared Rosenfeld                   1.70 Research and revise political donations talking points
                                                  and presentation (1.2); correspondence with internal
                                                  team re: same (.50).
03/27/2023 Stephanie Wheeler                 2.00 Revise summaries re: Bahamas properties project.
03/27/2023 Christopher Dunne                 3.30 Correspondence with S&C team re: political
                                                  donations presentation (.30); review re: same (3.0)
03/27/2023 Jacob Croke                       1.70 Analyze issues re: recovery of pre-petition crypto
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                                                    withdrawals and consensual turnover (.20);
                                                    correspondence with S. Yeargan re: same (.10);
                                                    review and analyze materials re: consensual exchange
                                                    asset turnover motion (.80); correspondence with
                                                    counsel for third party, exchange counsel and B.
                                                    Glueckstein re: same (.60).
03/27/2023 Nicole Friedlander                 0.50 Call with A. Lewis, M. Kerin, A. Holland, S.
                                                   Rosenthal and Sygnia re: draft interim report and
                                                   forensic investigation updates.
03/27/2023 Anthony Lewis                      0.90 Call with N. Friedlander, M. Kerin, A. Holland, S.
                                                   Rosenthal and Sygnia re: draft interim report and
                                                   forensic investigation updates (.50); review revisions
                                                   to vendor agreement re: staking (.10); correspondence
                                                   with A&M and relevant third party teams re: relevant
                                                   third party issues (.10); correspondence with S&C
                                                   and STB teams re: vendor assistance re: staking (.20).
03/27/2023 Bradley Harsch                     0.90 Review Turkish counsel edits to letter to regulator re:
                                                   FTX Turkey asset recovery (.10); revise and circulate
                                                   letter to regulator re: FTX Turkey asset recovery
                                                   (.30); review correspondence re: wind-down of FTX
                                                   Turkey (.10); review F. Weinberg correspondence re:
                                                   review of regulator letter (.10); review
                                                   correspondence re: liquidation of FTX Turkey (.10);
                                                   correspondence with internal team re: FTX Turkey
                                                   wind-down and items for Turkish director (.10);
                                                   review D. Hisarli correspondence re: letter to regulator
                                                   (.10).
03/27/2023 Michele Materni                    0.40 Revise talking points for political donations
                                                   presentation to SDNY.
03/27/2023 Kathleen Donnelly                  0.20 Correspondence with internal team re: Bahamas
                                                   properties project.
03/27/2023 Meaghan Kerin                      0.90 Call with N. Friedlander, A. Lewis, A. Holland, S.
                                                   Rosenthal and Sygnia re: draft interim report and
                                                   forensic investigation updates (.50); review workplan
                                                   re: forensic investigation (.10); correspondence with S.
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                                                  Rosenthal re: ongoing case management (.10);
                                                  correspondence with Sygnia re: forensic investigation
                                                  updates (.10); correspondence with S. Rosenthal and
                                                  Sygnia re: relevant third party productions (.10).
03/27/2023 Jared Rosenfeld                  3.40 Research, revise, and correspondence with internal
                                                 team re: political donations talking points and
                                                 presentation.
03/27/2023 Alexander Holland                2.80 Call with N. Friedlander, A. Lewis, M. Kerin, S.
                                                 Rosenthal and Sygnia re: draft interim report and
                                                 forensic investigation updates (.40 - partial
                                                 attendance); revise motion to recover assets from a
                                                 relevant third party (1.7); correspondence with J.
                                                 Croke and S. Yeargan re multiple third party
                                                 exchanges (.50); attention to team communication re:
                                                 forensic investigation (.20).
03/27/2023 Samantha Rosenthal               2.00 Call with N. Friedlander, A. Lewis, M. Kerin, A.
                                                 Holland and Sygnia re: draft interim report and
                                                 forensic investigation updates (.50); revise notes re:
                                                 same (.40); revise S&C action list re: forensic
                                                 investigation (1.1).
03/27/2023 Matthew Strand                   2.10 Review comments from S. Wheeler re: Bahamas
                                                 properties project.
03/27/2023 Phoebe Lavin                     3.00 Review documents re: suspicious withdrawals from
                                                 FTX.com.
03/27/2023 Tatum Millet                     4.50 Review information re: withdrawals from FTX.com
                                                 (.50); research suspicious withdrawals to confirm
                                                 amount to be returned to the estate (.90); draft
                                                 summary of findings for J. Croke (.70); research
                                                 charitable donations from FTX Digital Markets bank
                                                 accounts to provide to Alix (1.7); research receipt of
                                                 purchase by FTX Digital Markets (.80); compile
                                                 documents and draft e-mail of findings for J. Rosenfeld
                                                 (.50); review charitable contribution documents for J.
                                                 Rosenfeld to be shared with Alix in connection with
                                                 asset tracing (.30); correspondence re: same (.10).
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Date        Name                            Hours Description
03/28/2023 Stephanie Wheeler                 0.40 Call with N. Kutler (Covington) and Beckett & Lee
                                                  LLP re: outstanding debt (.30); call with J. Rosenfeld
                                                  re: political contributions presentation (.10).
03/28/2023 Brian Glueckstein                 0.90 Correspondence with J. Croke re: asset recovery
                                                  issues (.30); follow-up review re: relevant third parties'
                                                  asset recovery issues (.20); call with J. Croke re: third
                                                  party exchange issues (.20); call with third party
                                                  exchange counsel and J. Croke re: turnover assets
                                                  (.20).
03/28/2023 Christopher Dunne                 3.30 Work on political donations presentation.
03/28/2023 Jacob Croke                       7.00 Review and revise materials re: consensual exchange
                                                  turnover motion (1.8); call with B. Glueckstein re: third
                                                  party exchange issues (.20); call with third party
                                                  exchange counsel and B. Glueckstein re: turnover
                                                  assets (.20); correspondences with B. Glueckstein,
                                                  exchange counsel, third party counsel and SDNY re:
                                                  same (.80); analyze issue re: exchange exploit and
                                                  potential action (.30); correspondence with Sygnia re:
                                                  same (.20); analysis re: potential new assets to recover
                                                  (.30); correspondence with A. Cohen re: same (.10);
                                                  call with counsel for third party token issuer re:
                                                  potential asset proposal (.40); correspondence with S.
                                                  Levin re: asset recovery and SDNY coordination
                                                  strategy (.40); analyze issues re: third party exchange
                                                  assets and outstanding requests (1.4); correspondence
                                                  with exchanges re: same (.40); correspondence with
                                                  candidate re: return of donations (.10); analyze
                                                  donations and recovery next steps (.40).
03/28/2023 Evan Simpson                      1.10 Negotiate documentation for return of loan assets.
03/28/2023 Sharon Levin                      0.40 Correspondence with J. Croke re: Forfeiture/Asset
                                                  Recovery.
03/28/2023 Anthony Lewis                     0.40 Correspondence with A&M and relevant third party
                                                  teams re: relevant third party asset issues (.20);
                                                  correspondence with S&C and DOJ teams re:
                                                  forensic investigation (.20).
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03/28/2023 Bradley Harsch                     0.70 Review correspondence with Turkish counsel re: call
                                                   on relevant third party (.10); correspondence with
                                                   A&M re: call on relevant third party (.10); research re:
                                                   recovery of relevant third party stablecoin for FTX
                                                   (.20); correspondence with A&M re: same (.10);
                                                   review correspondence with F. Weinberg re: regulator
                                                   letter and FTX Turkey wind down (.10); review
                                                   correspondence with Turkish counsel re: regulator fine
                                                   on FTX Turkey (.10).
03/28/2023 Michele Materni                    3.20 Revise talking points and deck re: political donations
                                                   presentation.
03/28/2023 Kathleen Donnelly                  0.10 Correspondence with internal team re: Bahamas
                                                   properties project.
03/28/2023 Meaghan Kerin                      1.30 Analyze Sygnia updates re: forensic investigation (.40);
                                                   draft summary for DOJ re: forensic investigation
                                                   updates (.60); correspondence with A. Lewis re: same
                                                   (.10); correspondence with A&M re: technical
                                                   questions for former employee (.10); correspondence
                                                   with Landis re: relevant third party productions (.10).
03/28/2023 Jared Rosenfeld                    0.10 Call with S. Wheeler re: political contributions
                                                   presentation.
03/28/2023 Andrew Thompson                    1.20 Call with T. Millet re: edits to relevant third party
                                                   bridge research memo for J. Croke (.50); review and
                                                   provide comments on relevant third party bridge
                                                   research memo (.70).
03/28/2023 Alexander Holland                  1.00 Correspondence with J. Croke and K. McArthur re:
                                                   recovery from a relevant third party (.10);
                                                   correspondence with J. Croke and A&M re: asset
                                                   recovery from third party exchanges and Alameda
                                                   trading data (.90).
03/28/2023 Samantha Rosenthal                 0.50 Correspondences with A. Lewis, M. Kerin and A.
                                                   Holland re: insurance questions (.10); review re:
                                                   relevant third party supplemental responses (.20);
                                                   correspondences with A. Lewis and Sygnia re: same
                                                   (.20).
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03/28/2023 Medina Sadat                     1.40 Review and revise cover letters re: Bahamian
                                                 properties project,
03/28/2023 M. Devin Hisarli                 0.20 Draft correspondence with J. Ray (FTX) re: letter to
                                                 Turkish regulators for recovery of local assets.
03/28/2023 Phoebe Lavin                     0.30 Research re: suspicious withdrawals from FTX.com.
03/28/2023 Tatum Millet                     4.40 Correspondence with FTI in connection with review
                                                 of suspicious withdrawals from FTX.com (.40); call
                                                 with A. Thompson re: edits to relevant third party
                                                 bridge research memo for J. Croke (.50); review
                                                 documents re: charitable donation from FTX Digital
                                                 Markets (.90); review documents re: purchase and
                                                 additional Bahamas-based charitable donations from
                                                 FTX Digital Markets bank accounts (1.8); draft
                                                 correspondence with S. Wheeler and J. Croke re:
                                                 same (.80).
03/29/2023 Stephanie Wheeler                0.20 Call with C. Dunne re: political donations presentation.
03/29/2023 Stephen Ehrenberg                0.50 Call with B. Harsch, A&M and Turkish counsel re:
                                                 recovery of relevant third party assets.
03/29/2023 Brian Glueckstein                0.50 Call with J. Croke, S. Yeargan, A. Holland and
                                                 relevant third party counsel re: asset recovery from a
                                                 third party exchange (.30); follow up call with J.
                                                 Croke re: same (.20).
03/29/2023 Christopher Dunne                2.80 Review re: political donations presentation (2.6); call
                                                 with C. Dunne re: political donations presentation
                                                 (.20).
03/29/2023 Jacob Croke                      3.90 Call with B. Gluckstein, S. Yeargen, A. Holland and
                                                 relevant third party counsel re: asset recovery from a
                                                 third party exchange (.30); call with S. Yeargan, A.
                                                 Holland and relevant third party counsel re: asset
                                                 recovery from a third party exchange (.10); analysis
                                                 re: additional third party exchange recoveries of
                                                 Alameda assets (.70); correspondence with exchanges
                                                 re: same (.50); meeting with D. Nardello (Nardello)
                                                 and H. Master (Nardello) re: investigative
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                            Project: 00010 - ASSET ANALYSIS AND RECOVERY

Date        Name                             Hours Description

                                                    workstreams for potential asset recoveries (1.2);
                                                    analysis re: additional crypto wallets and platforms and
                                                    related potential sources of recovery (.70);
                                                    correspondence with Sygnia and K. Ramanathan
                                                    (A&M) re: same; analysis re: Bank recovery of loan
                                                    (.30); correspondence with S. Wheeler re: same (.10).
03/29/2023 Evan Simpson                       5.80 Draft and negotiation re: asset recovery matter (5.4);
                                                   call with A. Lewis re: relevant third party issues (.40).
03/29/2023 Anthony Lewis                      2.10 Call with M. Kerin, A. Holland, S. Rosenthal and
                                                   Sygnia re: draft interim report and forensic
                                                   investigation updates (.40); call with E. Simpson re:
                                                   relevant third party issues (.40); review
                                                   correspondence with relevant third party counsel
                                                   (.10); correspondence with relevant third party
                                                   counsel, S&C, A&M and PWP teams re: relevant
                                                   third party issues (.40); review materials re: forensic
                                                   investigation (.30); correspondence with DOJ, S&C
                                                   and Sygnia teams re: forensic investigation (.20);
                                                   correspondence with S&C, Bitgo, Sygnia, A&M and
                                                   TRM teams re: asset transfers and tracing (.30).
03/29/2023 Bradley Harsch                     1.70 Prep for call re: relevant third party assets (.10); call
                                                   with S. Ehrenberg, A&M and Turkish counsel re:
                                                   recovery of relevant third party assets (.50); review
                                                   and correspondence re: agreements governing relevant
                                                   third party on FTX exchange (.50); review summary
                                                   of meeting with FTX Turkey and attorneys (.20);
                                                   correspondence with EY re: EY tax inspection on
                                                   FTX Turkey (.20); correspondence with EY re: tax
                                                   inspection at FTX Turkey (.10); correspondence re:
                                                   update on FTX Turkey wind up (.10).
03/29/2023 Nirav Mehta                        0.30 Call with third party exchange re: Alameda assets
                                                   (.10); correspondence with third party exchange re:
                                                   Alameda assets (.20).
03/29/2023 Shane Yeargan                      0.90 Call with B. Glueckstein, J. Croke, A. Holland and
                                                   relevant third party counsel re: asset recovery from a
                                                   third party exchange (.30); call with J. Croke, A.
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Date        Name                            Hours Description

                                                   Holland and relevant third party counsel re: asset
                                                   recovery from a third party exchange (.10); revise
                                                   correspondence with third party exchange re: asset
                                                   recovery (.50).
03/29/2023 Michele Materni                   1.30 Review and revise SNDY presentation re: assert
                                                  forfeiture (.60); correspondence with A. Mazumdar
                                                  re: revisions to asset forfeiture presentation deck (.20);
                                                  review new version of political donations presentation
                                                  to SDNY (.50).
03/29/2023 Kathleen Donnelly                 1.80 Revise summaries re: Bahamas properties project
                                                  (1.5); correspondence with internal team re: Bahamas
                                                  properties project (.30).
03/29/2023 Meaghan Kerin                     0.70 Call with A. Lewis, A. Holland, S. Rosenthal and
                                                  Sygnia re: draft interim report and forensic
                                                  investigation updates (.40); correspondence with A.
                                                  Lewis, A. Holland, S. Rosenthal and H. Zhukovsky
                                                  re: DOJ requests (.10); correspondence with A&M
                                                  re: technical accounting and financial-related questions
                                                  for former employee (.10); correspondence with A.
                                                  Holland re: personnel employment status (.10).
03/29/2023 Jared Rosenfeld                   2.80 Research and revise political donations talking points
                                                  and presentation (2.5); correspondence with internal
                                                  team re: same (.30).
03/29/2023 Alexander Holland                 5.80 Call with B. Glueckstein, J. Croke, S. Yeargan and
                                                  relevant third party counsel re: asset recovery from a
                                                  third party exchange (.30); call re: asset recovery from
                                                  a third party exchange attended by J. Croke, S.
                                                  Yeargan and relevant third party counsel (.10); call
                                                  with A. Lewis, M. Kerin, S. Rosenthal and Sygnia re:
                                                  draft interim report and forensic investigation updates
                                                  (.40); correspondence with J. Croke and K.
                                                  McArthur re: assets at a relevant third party (.40);
                                                  review documents and correspondence with S&C,
                                                  Alix and Sygnia re: assets at a relevant third party
                                                  (3.4); attention to team communication re forensic
                                                  investigation (.20); correspondence with J. Croke and
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Date        Name                            Hours Description

                                                   S. Yeargan re: assets at third party exchanges (1.0).
03/29/2023 Daniel O'Hara                     0.50 Revise customer balance spreadsheets.
03/29/2023 Samantha Rosenthal                2.60 Call with A. Lewis, M. Kerin, A. Holland and Sygnia
                                                  re: draft interim report and forensic investigation
                                                  updates (.40); revise notes re: same (.50); revise S&C
                                                  action list re: forensic investigation (.90); attention to
                                                  correspondences with M. Kerin re: technical questions
                                                  for former FTX employee (.10); correspondences
                                                  with M. Kerin, A. Holland and Sygnia re: forensic
                                                  incident (.20); correspondences with N. Friedlander,
                                                  A. Lewis, M. Kerin and A. Holland re: former FTX
                                                  employee devices (.40); attention to correspondences
                                                  with M. Kerin re: DOJ Requests (.10).
03/29/2023 Phoebe Lavin                      0.50 Review documents re: asset recovery workstream.
03/29/2023 Keila Mayberry                    1.10 Correspondence with K. Donnelly re: comments on
                                                  Bahamas properties project (.20); review summaries
                                                  re: Bahamas properties project (.90).
03/29/2023 Aneesa Mazumdar                   1.30 Revise presentation re: asset forfeiture.
03/29/2023 Tatum Millet                      4.20 Review comments from A. Thompson on draft of
                                                  relevant third party bridge research memo for J.
                                                  Croke (.50); review relevant third party bridge-related
                                                  documents in connection with revise memo re: same
                                                  (2.9); revise memo re: same (.80).
03/29/2023 Hannah Zhukovsky                  0.50 Archive and record DOJ correspondence (.30);
                                                  archive and record Sygnia call notes (.10); archive and
                                                  record materials provided by Sygnia (.10).
03/30/2023 Christopher Dunne                 3.30 Review re: political donations presentation.
03/30/2023 Jacob Croke                       7.50 Asset recovery transfer call with A. Holland, Sygnia
                                                  and A&M (1.4); analyze issues re: asset recovery and
                                                  forfeiture coordination, including responses to SDNY
                                                  questions (.50); correspondence with S. Levin re:
                                                  same (.30); analysis re: assets held on third party
                                                  platforms and potential additional materials re:
                                                  identifying accounts (1.5); correspondence with K.
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Date        Name                             Hours Description

                                                    Ramanathan (A&M), A. Holland and exchanges re:
                                                    same (1.2); analysis re: proposal from third party
                                                    token issuer (.40); correspondence with B.
                                                    Glueckstein re: same (.30); analyze issues re:
                                                    donations and potential recoveries (.30); analyze
                                                    issues re: relevant third party tokens and potential
                                                    recoveries and claims (.30); analyze issues re: potential
                                                    additional investigative workstreams for Nardello re:
                                                    asset recoveries (1.0); correspondence with D.
                                                    Nardello re: same (.30).
03/30/2023 Anthony Lewis                      1.50 Call with M. Kerin, A. Holland, S. Rosenthal and
                                                   Sygnia re: forensic investigation updates (.30);
                                                   correspondence with DOJ, S&C and Sygnia teams re:
                                                   forensic investigation (.60); review slack
                                                   communications re: forensic investigation (.20);
                                                   correspondence with S&C, A&M and relevant third
                                                   party teams re: relevant third party issues (.10);
                                                   correspondence with A&M, Sygnia, S&C and
                                                   Chainalysis teams re: asset tracing and transfers (.20);
                                                   correspondence with S&C and STB teams re: vendor
                                                   assistance re: staking (.10).
03/30/2023 Bradley Harsch                     0.40 Correspondence with Turkish counsel re: EY tax
                                                   inquiry (.20); correspondence re: unpaid salary for
                                                   FTX Turkey director (.20).
03/30/2023 Nirav Mehta                        0.80 Call with third party exchange representatives re:
                                                   Alameda third party exchange accounts (.50);
                                                   correspondence with J. Croke, S. Yeargan, A.
                                                   Holland and S. Xiang re: same (.30).
03/30/2023 Shane Yeargan                      0.70 Correspondence with N. Mehta re: third party
                                                   exchange and third party exchange discussions (.30);
                                                   review third party exchange account materials (.40).
03/30/2023 Kathleen Donnelly                  1.40 Review summaries re: Bahamas properties project
                                                   (1.1); correspondence with internal team re: Bahamas
                                                   properties project (.30).
03/30/2023 Zoeth Flegenheimer                 0.20 Meeting with J. Rosenfeld and L. Ross re: edits for
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Date        Name                            Hours Description

                                                   political donations presentation to SDNY.
03/30/2023 Meaghan Kerin                     2.20 Call with A. Lewis, A. Holland, S. Rosenthal and
                                                  Sygnia re: forensic investigation updates (.30); review
                                                  DOJ requests (.20); correspondence with N.
                                                  Friedlander, A. Lewis, A. Holland and Sygnia re same
                                                  (.10); correspondence with A. Lewis, A. Holland, J.
                                                  Croke and Sygnia re: historical potential forensic
                                                  incidents, auditor issues (.20); review interview
                                                  memoranda re: historical potential forensic incidents
                                                  (.40); review documents re: same (.20); draft technical
                                                  questions for former employee (.70); correspondence
                                                  with A. Lewis re: same (.10).
03/30/2023 Jared Rosenfeld                   2.80 Meeting with Z. Flegenheimer and L. Ross re: edits for
                                                  political donations presentation to SDNY (.20); call
                                                  with internal team re: ongoing investigations
                                                  workstreams (.50); research and revise
                                                  correspondence re: political donations talking points
                                                  and presentation (2.1).
03/30/2023 Andrew Thompson                   0.90 Review revised draft of relevant third party bridge
                                                  research memo.
03/30/2023 Alexander Holland                 2.50 Asset recovery transfer call with J. Croke, Sygnia and
                                                  A&M (1.4); call with A. Lewis, M. Kerin, S.
                                                  Rosenthal and Sygnia re: forensic investigation updates
                                                  (.30); review documents and correspondence with
                                                  S&C, Alix and Sygnia re: assets at a relevant third
                                                  party (.70); correspondence with J. Croke and S.
                                                  Yeargan re: assets at third party exchanges (.10).
03/30/2023 Daniel O'Hara                     0.20 Review and respond to correspondence re: demand
                                                  letter.
03/30/2023 Samantha Rosenthal                0.90 Call with A. Lewis, M. Kerin, A. Holland and Sygnia
                                                  re: forensic investigation updates (.10 - partial
                                                  attendance); attention to correspondences with N.
                                                  Friedlander re: codebase availability (.10); revise
                                                  S&C action list re: forensic investigation (.70).
03/30/2023 Phoebe Lavin                      2.30 Research re: suspicious withdrawals from FTX.com.
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Date        Name                           Hours Description

03/30/2023 Keila Mayberry                   0.30 Correspondence with internal team re: Bahamas
                                                 properties project.
03/30/2023 Tatum Millet                     0.90 Finalize relevant third party bridge research memo to
                                                 send to J. Croke (.80); correspondence with A.
                                                 Thompson re: same (.10).
03/30/2023 Luke Ross                        3.20 Revise cover sheets of presentation to SDNY re:
                                                 political contributions (3.0); meeting with J. Rosenfeld
                                                 and Z. Flegenheimer re: edits for political donations
                                                 presentation to SDNY (.20).
03/30/2023 Hannah Zhukovsky                 0.60 Archive and record Sygnia call notes (.10); compare
                                                 previous and recent tables of addresses (.50).
03/31/2023 Brian Glueckstein                0.90 Call with J. Croke re: relevant third party proposal
                                                 and asset recovery issues and follow-up (.50);
                                                 correspondence and follow-up with S&C team re:
                                                 asset recovery issues (.40).
03/31/2023 Christopher Dunne                2.50 Review re: political donations presentation.
03/31/2023 Jacob Croke                      5.20 Call with K. Ramanathan (A&M), Sygnia and Venture
                                                 team re: token issuer proposal re: reissuance (.50);
                                                 analysis re: same (.60); correspondence with K.
                                                 Ramanathan (A&M) re: same (.20); call with Sygnia
                                                 re: asset recovery from DeFi platform (.20); analysis
                                                 re: third party exchange accounts and proposed
                                                 recovery plans (.60); correspondences with exchanges
                                                 and A. Holland re: same (.40); analysis re: crypto
                                                 recovery issue and potential claims (.40);
                                                 correspondence with A. Holland re: same (.10);
                                                 analysis re: investment fund recovery plan (.20);
                                                 correspondence with N. Friedlander re: same (.10);
                                                 analyze issues re: insider asset transfers and potential
                                                 recovery strategies (.40); analysis re: Alameda lending
                                                 changes over time and potential claims re: insider
                                                 activities (1.2); correspondences with S. Wheeler and
                                                 K. McArthur re: same (.30).
03/31/2023 Evan Simpson                     1.30 Call with counterparty counsel re: asset return
                                                 documentation (.30); review of contracts and
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Date        Name                             Hours Description

                                                    calculations re: return of loan assets (1.0)
03/31/2023 Anthony Lewis                      0.60 Correspondence with DOJ, S&C and Sygnia teams
                                                   re: forensic investigation (.20); correspondence with
                                                   S&C, Alix and Sygnia teams re: asset tracing and
                                                   transfers (.30); correspondence with S&C and A&M
                                                   teams re: relevant third party issues (.10).
03/31/2023 Bradley Harsch                     0.40 Review follow up correspondences re: comments on
                                                   letter to regulator re: FTX Turkey assets (.10);
                                                   correspondence with EY re: tax inquiry on FTX
                                                   Turkey (.10); correspondence with K. Shultea re:
                                                   FTX Turkey director non-payment of salary and EY
                                                   tax info (.10); correspondence with Turkish counsel
                                                   re: status of talks with J. Ray (FTX) re: payment of
                                                   FTX Turkey director (.10).
03/31/2023 Nirav Mehta                        0.40 Correspondences with third party exchange, J. Croke,
                                                   S. Yeargan, A. Holland and S. Xiang re: Alameda
                                                   Research KK account (.20); correspondences with
                                                   third party exchange, J. Croke, S. Yeargan, A.
                                                   Holland and S. Xiang re: Alameda Research KK
                                                   account (.20).
03/31/2023 Shane Yeargan                      1.30 Review materials re: assets impacted by possible
                                                   security breaches.
03/31/2023 Meaghan Kerin                      0.70 Correspondence with A. Lewis, Sygnia, Stradley,
                                                   Cahill and A&M re: technical questions for former
                                                   employee (.20); review records re: same (.30);
                                                   correspondence with DOJ re: scheduling call (.10);
                                                   correspondence with J. Croke, A. Holland and Alix
                                                   re: potential historical forensic incident, asset recovery
                                                   (.10).
03/31/2023 Jared Rosenfeld                    4.70 Research and revise political donations talking points
                                                   and presentation (4.2); correspondence with internal
                                                   team re: same (.50).
03/31/2023 Alexander Holland                  1.00 Review correspondence with Alix and draft email to
                                                   S&C re: assets held by a relevant third party.
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Date        Name                           Hours Description
03/31/2023 Samantha Rosenthal                0.30 Correspondences with M. Kerin, A. Holland and H.
                                                  Zhukovksy re: DOJ questions and productions (.10);
                                                  attention to correspondences with Sygnia and M.
                                                  Kerin re: technical questions for former FTX
                                                  employee (.10); attention to correspondence with J.
                                                  Croke and Sygnia re: forensic incident (.10).
03/31/2023 Phoebe Lavin                      1.70 Research re: suspicious withdrawals from FTX.com.
03/31/2023 Tatum Millet                      2.20 Review updated information from FTI re: withdrawals
                                                  by non-Bahamians from FTX.com (.80);
                                                  correspondence with P. Lavin re: same (.50); draft
                                                  summary for J. Croke re: same (.90).

Total                                    1,084.10
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Date        Name                          Hours Description

03/01/2023 Mitchell Eitel                   0.20 Email correspondence with D. Handelsman re: sales
                                                 processes (.10); email correspondence with J. Ray
                                                 (FTX) re: same (.10).
03/01/2023 Stephanie Wheeler                4.60 Email correspondence with Z. Dexter (LedgerX), J.
                                                 McDonald and A. Cohen re: prepare for call with
                                                 LedgerX bidder counsel (.30); call with A. Cohen, J.
                                                 McDonald, M. Wu, M. Friedman, PWP,
                                                 WilmerHale, potential bidder and counsel re: LedgerX
                                                 diligence matters (1.1); revise talking points for
                                                 LedgerPrime call with CFTC (.60); revise summaries
                                                 of Bahamian property purchases (2.4); call with H.
                                                 Rosenblat (Morrison Cohen) re: LedgerPrime (.10);
                                                 email correspondence with A. Dietderich and B.
                                                 Glueckstein re: same (.10).
03/01/2023 Audra Cohen                      7.80 Call with S. Wheeler, J. McDonald, M. Wu, M.
                                                 Friedman, PWP, WilmerHale, potential bidder and
                                                 counsel re: LedgerX diligence matters (.60 - partial
                                                 attendance); correspondence with various teams re:
                                                 investment sale agreement and Issues (1.6);
                                                 correspondence with various teams re: investments
                                                 (1.3); correspondence with various teams re: LedgerX
                                                 sale process and bids (3.2); correspondence with
                                                 various teams re: approval process for sales (.60);
                                                 correspondence with various teams re: regulatory
                                                 matters re: sale (.30); correspondence with A.
                                                 Kranzley and M. Wu re: bid process (.20).
03/01/2023 Eric Kadel Jr.                   0.20 Call with R. O’Neill re: potential regulatory approval
                                                 of venture sales.
03/01/2023 Keiji Hatano                     0.70 Review response re: assets (.40); email
                                                 correspondence with various teams re: same (.30).
03/01/2023 Rita-Anne O'Neill                4.00 Call with PWP, A&M, M. Wu and J. MacDonald re:
                                                 venture sales process (.50); call with potential bidder,
                                                 bidder counsel, PWP and J. MacDonald re: sales
                                                 process (.50); review materials and documents re:
                                                 venture sales (2.8); call with E. Kadel re: potential
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Date         Name                              Hours Description

                                                       regulatory approval of venture sales (.20).
03/01/2023 Mehdi Ansari                          0.20 Email correspondence with internal team re: Japan IP
                                                      issues.
03/01/2023 James McDonald                        2.00 Review materials re: possible LedgerX disposition and
                                                      correspondence with various teams re: same (.60);
                                                      correspondence with client re: disclosures to potential
                                                      bidders (.40); call with S. Wheeler, A. Cohen, M.
                                                      Wu, M. Friedman, PWP, WilmerHale, potential
                                                      bidder and counsel re: LedgerX diligence matters (1.0
                                                      - partial attendance).
03/01/2023 Oderisio de Vito Piscicelli           0.80 Correspondence with internal team re: EU sale (.30);
                                                      review emails from PWP and S&C re: same (.20); call
                                                      with T. Hill, PWP and FTX EU management re: sale
                                                      process (.30).
03/01/2023 Jameson Lloyd                         0.50 Email correspondence with various teams re:
                                                      transaction agreements and review re: same.
03/01/2023 Alexa Kranzley                        0.90 Review and revise Sequoia documents and
                                                      correspondence with internal team re: same.
03/01/2023 Bradley Harsch                        0.20 Draft email re: debtor entity documents and
                                                      confidential language.
03/01/2023 Sarah Long                            0.10 Review bid drafts.
03/01/2023 Shihui Xiang                          0.50 Correspondence with S&C team re: process for bid
                                                      process of FTX Japan.
03/01/2023 Mimi Wu                               7.10 Call with M. Friedman re: LedgerX bid deadline (.40);
                                                      call with PWP, A&M, R. O’Neill and J. MacDonald
                                                      re: venture sales process (.50); review sale motion and
                                                      purchase agreement for potential fund interest sale
                                                      (3.0); review LedgerX sale process (2.1); call with S.
                                                      Wheeler, A. Cohen, J. McDonald, M. Friedman,
                                                      PWP, WilmerHale, potential bidder and counsel re:
                                                      LedgerX diligence matters (1.1).
03/01/2023 Tyler Hill                            0.30 Call with O. de Vito Piscicelli, PWP and FTX EU
                                                      management re: sale process.
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Date         Name                         Hours Description
03/01/2023 Aaron Levine                     0.80 Review bids for LedgerX.
03/01/2023 Jeffrey MacDonald               14.40 Review diligence materials re: venture companies
                                                 (.90); prepare sales documentation for venture
                                                 portfolio sale (12.5); call with PWP, A&M, R.
                                                 O’Neill and M. Wu re: venture sales process (.50);
                                                 call with potential bidder, bidder counsel, PWP and R.
                                                 O'Neill re: sales process (.50).
03/01/2023 Mitchell Friedman                6.30 Call with S. Wheeler, A. Cohen, J. McDonald, M.
                                                 Wu, PWP, WilmerHale, potential bidder and counsel
                                                 re: LedgerX diligence matters (1.1); call with M. Wu
                                                 re: LedgerX bid deadline (.40); call with J. Ljustina re:
                                                 LedgerX sale process (.30); email correspondence
                                                 with LedgerX bidders and counsel re: sale process
                                                 and diligence (.70); email correspondence with internal
                                                 team re: LedgerX sale process (.60); review bidder
                                                 purchase agreement markups and bid packages and
                                                 prepare bid comparison chart (3.2).
03/01/2023 Dylan Handelsman                 0.50 Review Embed emails.
03/01/2023 KJ Lim                           1.00 Review LedgerX bid drafts.
03/01/2023 Alexander Capogna                1.70 Prepare issues list for LedgerX bids (1.6); call with J.
                                                 Ljustina re: LedgerX sale process (.10).
03/01/2023 HyunKyu Kim                      3.90 Review Sequoia purchase agreement and issues list
                                                 (.90); review transfer agreement (1.0); meeting with J.
                                                 Patton re: Sequoia bid issues list (.40); review
                                                 LedgerX sale documents (1.3); call with J. Patton re:
                                                 bidder interest purchase agreement markup (.30).
03/01/2023 Gabrielle Pacia                  0.10 Review correspondence re: Embed sale.
03/01/2023 Jessica Ljustina                 7.90 Call with M. Friedman re: LedgerX sale process
                                                 (.30); call with A. Capogna re: LedgerX sale process
                                                 (.10); correspondence with LedgerX team re: contract
                                                 counterparty (.10); correspondence with C. Jensen re:
                                                 same (.10); correspondence with M. Friedman re:
                                                 diligence requests (.10); review and finalize escrow
                                                 agreement (.20); correspondence with M. Friedman
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                                                  re: same (.10); correspondence with M. Cilia (FTX)
                                                  and K. Schultea (FTX) re: same (.30);
                                                  correspondence with escrow agent team re: same
                                                  (.40); correspondence with G. Posess (PWP) re:
                                                  escrow arrangement (.10); review and summarize
                                                  LedgerX bids (5.6); correspondence with M. Wu and
                                                  M. Friedman re: same (.10); correspondence with M.
                                                  Ansari, K. Lim, E. Levin, S. Long, A. Capogna, C.
                                                  Lloyd, A. Levine, D. Hariton, J. Lloyd, H. Kim and J.
                                                  Patton re: same (.40).
03/01/2023 James Patton                     5.00 Implement changes to Sequoia bid issues list (3.3);
                                                 meeting with H. Kim re: Sequoia bid issues list (.40);
                                                 call with H. Kim re: bidder interest purchase
                                                 agreement markup (.30); implement changes to
                                                 LedgerX bid comparison chart (1.0).
03/01/2023 Andrew Brod                      4.80 Review and propose next steps for venture sale
                                                 diligence questions (2.8); revise redemption agreement
                                                 (2.0).
03/01/2023 Dominick Gambino                 1.20 Draft board and shareholder consents re: LedgerX
                                                 sale process.
03/01/2023 Corey Stern                      1.20 Review marketing materials re: sale of relevant third
                                                 party (.40); review and summarize Nardello report re:
                                                 potential asset bidder (.60); analyze Embed VDR for
                                                 diligence information (.20).
03/01/2023 Naiquan Zhang                    5.30 Implement comments to two bidder drafts of purchase
                                                 agreement (3.1); draft fund provision waiver (2.0);
                                                 prepare execution version of NDA (.20).
03/02/2023 Stephanie Wheeler                1.50 Email correspondence with various teams re:
                                                 LedgerPrime (.30); revise Bahamas property
                                                 summaries (.80); email correspondence with K.
                                                 Donnelly, U. Eze, K. Mayberry and M. Sadat re:
                                                 revisions to same (.20); review template for Bahamas
                                                 properties summaries (.20).
03/02/2023 Audra Cohen                      8.10 Correspondence with various teams re: LedgerX sale
                                                 process and bids (2.3); correspondence with various
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Date        Name                          Hours Description

                                                  teams re: investment sale process (1.4); call with
                                                  venture company counsel, PWP, R O’Neill, M. Wu
                                                  and J. MacDonald re: sales process (.50);
                                                  correspondence with R. O’Neill, A. Kranzley and M.
                                                  Wu re: investment sale process (.50); review private
                                                  sale motion (1.2); correspondence with various teams
                                                  re: board review process (.50); correspondence with
                                                  various teams re: bidder diligence (1.2); call with
                                                  Jefferies, PWP, R. O’Neill, M. Wu and J.
                                                  MacDonald re: update on ventures sale process (.50).
03/02/2023 Rita-Anne O'Neill                6.20 Call with bidder counsel, bidder, PWP, M. Wu and J.
                                                 MacDonald re: sale documentation (1.0); call with
                                                 venture company counsel, PWP, A. Cohen, M. Wu
                                                 and J. MacDonald re: sale process (.50); call with
                                                 Jefferies, PWP, A. Cohen, M. Wu and J. MacDonald
                                                 re: update on ventures sale process (.50); review
                                                 materials and documents re: venture sales (4.2).
03/02/2023 Mehdi Ansari                     2.50 Review third party markup of LedgerX purchase
                                                 agreement (.50); review bidder markup of LedgerX
                                                 purchase agreement (.90); review issues list re:
                                                 LedgerX purchase agreement markups (.40); meeting
                                                 with K. Lim and E. Levin re: IPT additions to
                                                 LedgerX bidder comparison chart (.40); email
                                                 correspondence with S&C team re: FTX Japan issues
                                                 (.30).
03/02/2023 James McDonald                   0.50 Email correspondence with various teams re: LedgerX
                                                 bidders and review materials re: same.
03/02/2023 Colin Lloyd                      0.50 Correspondence with A. Levine re: LedgerX bids.
03/02/2023 Jameson Lloyd                    0.80 Review re: transaction agreements.
03/02/2023 Alexa Kranzley                   2.20 Review and revise Sequoia order and motion (1.4);
                                                 correspondence with internal team re: same (.40);
                                                 correspondence with internal team re: sales processes
                                                 and related issues (.40).
03/02/2023 Bradley Harsch                   0.30 Call with WilmerHale re: confidentiality language (.20);
                                                 review email re: bank issues (.10).
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03/02/2023 Sarah Long                       0.40 Review bid comparison chart.
03/02/2023 Mimi Wu                          6.70 Call with bidder counsel, bidder PWP, R. O’Neill and
                                                 J. MacDonald re: sale documentation (1.0); call with
                                                 venture company counsel, PWP, A. Cohen, R.
                                                 O’Neill and J. MacDonald re: sale process (.50); call
                                                 with Jefferies, PWP, A. Cohen, R. O’Neill and J.
                                                 MacDonald re: update on ventures sale process (.50);
                                                 review documentation for potential fund sale (2.0);
                                                 review LedgerX sales process (2.7).
03/02/2023 James Simpson                    3.40 Review de minimis sales order (.30); review sales
                                                 motion (.30); review and comment on form of sales
                                                 resolutions (2.8).
03/02/2023 Aaron Levine                     2.90 Review third party diligence requests (.50); review
                                                 third party bid documents (2.4).
03/02/2023 Jeffrey MacDonald               13.90 Review diligence materials re: venture companies
                                                 (.40); prepare sales documentation for venture
                                                 portfolio sale (11.5); call with bidder counsel, bidder,
                                                 PWP, R. O’Neill and M. Wu re: sale documentation
                                                 (1.0); call with venture company counsel, PWP, R.
                                                 O’Neill and M. Wu re: sale process (.50); call with
                                                 Jefferies, PWP, A. Cohen, R. O’Neill and M. Wu re:
                                                 update on ventures sale process (.50).
03/02/2023 Mitchell Friedman                5.20 Review and revise LedgerX bid comparison chart and
                                                 review bidder packages (3.6); email correspondence
                                                 with various teams re: LedgerX sale process (1.6).
03/02/2023 KJ Lim                           0.40 Meeting with M. Ansari and E. Levin re: IPT additions
                                                 to LedgerX bidder comparison chart.
03/02/2023 Alexander Capogna                0.30 Prepare issues list for LedgerX bids.
03/02/2023 Linda Chen                       0.30 Review NDA markups from venture investments
                                                 workstream.
03/02/2023 HyunKyu Kim                      3.70 Review re: LedgerX 2021 letter (.20); review
                                                 LedgerX issues list and correspondence with internal
                                                 team re: same (1.2); review re: Sequoia documents
                                                 (2.3).
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03/02/2023 Elizabeth Levin                  2.70 IPT review of LedgerX bidders' drafts and additions
                                                 to bidder comparison chart (1.6); meeting with K.
                                                 Rogosch re: IPT issues in LedgerX bidder drafts
                                                 (.70); meeting with M. Ansari and K. Lim re: IPT
                                                 additions to LedgerX bidder comparison chart (.40).
03/02/2023 Gabrielle Pacia                  0.20 Review correspondence re: Embed sale.
03/02/2023 Jessica Ljustina                 6.10 Review and summarize LedgerX bids (4.5);
                                                 correspondence with M. Friedman re: same (.10);
                                                 correspondence with D. Gambino re: same (.10);
                                                 correspondence with A. Capogna and E. Levin re:
                                                 same (.10); correspondence with M. Wu and A.
                                                 Cohen re: same (.10); review and respond to
                                                 LedgerX diligence requests (.30); correspondence
                                                 with M. Friedman and D. Gambino re: same (.10);
                                                 correspondence with PWP team re: same (.10);
                                                 correspondence with D. Gambino re: escrow
                                                 agreement (.10); work on LedgerX consents (.30);
                                                 correspondence with D. Gambino re: same (.10);
                                                 review LedgerX matters (.20).
03/02/2023 James Patton                     3.20 Correspondence with J. Lloyd and H. Kim re:
                                                 Sequoia agreements and LedgerX agreements (.50);
                                                 review and revise LedgerX bid comparison chart
                                                 (.60); review and revise Sequoia transfer agreement
                                                 (.70); review and revise ADIC Sequoia agreement
                                                 (1.4).
03/02/2023 Andrew Brod                      1.30 Update legal due diligence tracker re: venture sale
                                                 (.60); prepare bidder information packet (.70).
03/02/2023 Dominick Gambino                 2.20 Compile executed version of escrow agreement re:
                                                 sale of the FTX businesses (.60); draft LedgerX
                                                 board consents (.10); package VDR documents
                                                 requested by potential bidder to be shared with limited
                                                 partner (1.1); review and organize bid documents
                                                 received for LedgerX (.40).
03/02/2023 Katharina Rogosch                0.70 Meeting with E. Levin re: IPT issues in LedgerX
                                                 bidder drafts.
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03/02/2023 Corey Stern                      3.50 Draft purchase agreement re: private sale of venture
                                                 investment (3.0); review marketing materials for sale
                                                 of relevant third party (.50).
03/02/2023 Naiquan Zhang                    8.10 Incorporate comments into sale motion and order.
03/03/2023 Mitchell Eitel                   0.50 Correspondence with CFTC, A. Cohen, C. Lloyd
                                                 and M. Wu re: LedgerX.
03/03/2023 Stephanie Wheeler                0.60 Correspondence with J. McDonald, N. Menillo and
                                                 S. Peikin re: LedgerX sale (.30); call with J.
                                                 McDonald, S. Peikin and A. Cohen re: LedgerX sale
                                                 (.30).
03/03/2023 Audra Cohen                      9.40 Correspondence with C. Lloyd, M. Wu and CFTC
                                                 re: asset disposition workstreams (.30);
                                                 correspondence with various teams re: LedgerX sale
                                                 agreements and issues (2.6); correspondence with
                                                 various teams re: investment sale and sale agreement
                                                 (1.8); correspondence with various teams re: private
                                                 sale motion and investment sale process (1.4);
                                                 correspondence with various teams re: approval
                                                 process (.40); correspondence with various teams re:
                                                 investments (1.3); correspondence with various teams
                                                 re: sale processes and timing (.90); call with J.
                                                 McDonald, S. Peikin and S. Wheeler re: LedgerX
                                                 sale (.30); correspondence with M. Wu re: sales
                                                 processes (.40).
03/03/2023 Steven Peikin                    0.30 Call with S. Wheeler, A. Cohen and J. McDonald re:
                                                 LedgerX sale.
03/03/2023 Brian Glueckstein                1.20 Call with A. Kranzley re: M&A process issues (.50);
                                                 review and analyze documents re: venture assets sales
                                                 and correspondence with internal team re: same (.70).
03/03/2023 Rita-Anne O'Neill                2.10 Review documents re: venture sales.
03/03/2023 Mehdi Ansari                     0.20 Email correspondence with A&M re: IP issues re:
                                                 FTX Japan.
03/03/2023 James McDonald                   0.60 Call with A. Cohen, S. Peikin and S. Wheeler re:
                                                 LedgerX sale (.30); correspondence with internal
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                                                  team re: same (.30).
03/03/2023 Colin Lloyd                      0.20 Correspondence with CFTC re: LedgerX.
03/03/2023 Alexa Kranzley                   1.90 Review Sequoia motion (.90); correspondence with
                                                 internal team re: same (.20); correspondence with
                                                 internal team re: sale processes and related issues
                                                 (.30); call with B. Glueckstein re: M&A process
                                                 issues (.50).
03/03/2023 Christian Jensen                 0.20 Correspondence with S&C team and vendor counsel
                                                 re: IT contract for potential assignment.
03/03/2023 Mimi Wu                          5.50 Review LedgerX sales process and bids (4.0); review
                                                 venture sales matters (1.5).
03/03/2023 Jeffrey MacDonald               12.50 Review diligence materials re: venture companies
                                                 (.50); prepare sales documentation for venture
                                                 portfolio sale (12.0).
03/03/2023 Mitchell Friedman                2.20 Correspondence with M. Wu re: LedgerX sale
                                                 process (.40); call with J. Ljustina re: LedgerX sale
                                                 process (.30); revise LedgerX bid comparison (.80);
                                                 email correspondence with internal team re: sale
                                                 processes (.70).
03/03/2023 Linda Chen                       4.10 Review and update form of sale order and sale motion
                                                 for private sale (2.8); review and update form of PWP
                                                 declaration for private sale (1.3).
03/03/2023 HyunKyu Kim                      0.70 Review documents re: Sequoia sale (.50); review
                                                 research re: LedgerX sale (.20).
03/03/2023 Jessica Ljustina                 4.50 Call with M. Friedman re: LedgerX sale process
                                                 (.30); review and summarize LedgerX bids (2.0);
                                                 correspondence with M. Friedman re: same (.10);
                                                 correspondence with J. Ray (FTX) re: same (.40);
                                                 review dataroom re: subsidiary (.20); correspondence
                                                 with M. Wu re: same (.10); correspondence with
                                                 PWP and ABNR teams re: same (.10); review
                                                 escrow arrangement (.20); correspondence with D.
                                                 Gambino re: same (.10); correspondence with M.
                                                 Friedman and M. Wu re: same (.30); correspondence
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                                                  with escrow agent team re: same (.10); call with
                                                  escrow agent team re: same (.20); correspondence
                                                  with C. Jensen re: contract counterparty (.10);
                                                  correspondence with LedgerX team re: same (.10);
                                                  review sale processes (.10); correspondence with M.
                                                  Wu and M. Friedman re: same (.10).
03/03/2023 Dominick Gambino                 4.50 Draft LedgerX consents.
03/03/2023 Corey Stern                      2.70 Update notice for sale timeline extension (1.1); draft
                                                 purchase agreement for private sale of venture
                                                 investment (1.0); research re: sale motion (.60).
03/03/2023 Naiquan Zhang                    2.90 Revise sale motion and order (2.5); research re: sale
                                                 motion and order (.40).
03/04/2023 Audra Cohen                      1.80 Correspondence with various teams re: investment
                                                 sale and private sale motion (.90); correspondence
                                                 with various teams re: LedgerX sale process and
                                                 issues (.60); correspondence with various teams re:
                                                 sale process timing (.30).
03/04/2023 Mehdi Ansari                     0.20 Review revised bidder issues list for LedgerX bid.
03/04/2023 James Bromley                    0.20 Email correspondence with A. Cohen and A.
                                                 Dietderich re: LedgerX issues.
03/04/2023 Colin Lloyd                      0.20 Correspondence with J. Ljustina re: LedgerX sale.
03/04/2023 Alexa Kranzley                   0.60 Review Sequoia motion and order (.50);
                                                 correspondence with internal team re: same (.10).
03/04/2023 Sarah Long                       0.10 Review LedgerX bid issues list.
03/04/2023 Mimi Wu                          1.00 Review potential fund interest sale.
03/04/2023 Aaron Levine                     0.50 Review bidder bid issues list.
03/04/2023 Jeffrey MacDonald                5.10 Review diligence materials re: venture companies
                                                 (.10); prepare filings for venture company sale (5.0).
03/04/2023 Mitchell Friedman                1.10 Review and revise LedgerX bid issues lists (.90);
                                                 review and comment on notice re: bid deadlines (.20).
03/04/2023 KJ Lim                           0.30 Review and comment on bid.
03/04/2023 Alexander Capogna                0.30 Update issues list for LedgerX bids.
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03/04/2023 Linda Chen                       1.20 Review and update form of PWP declaration for
                                                 private sales.
03/04/2023 HyunKyu Kim                      0.30 Review re: LedgerX and Embed tax issues.
03/04/2023 Elizabeth Levin                  0.20 Incorporate IPT comments to bidder bid issues list.
03/04/2023 Jessica Ljustina                 5.20 Review and respond to LedgerX bids (3.6);
                                                 correspondence with M. Friedman and M. Wu re:
                                                 same (.60); correspondence with C. Lloyd, A. Levine,
                                                 A. Capogna and E. Levin re: same (.40);
                                                 correspondence with A. Cohen, A. Dietderich, J.
                                                 Bromley, B. Glueckstein, A. Kranzley, S. Wheeler
                                                 and M. Eitel re: same (.40); correspondence with
                                                 PWP team re: same (.20).
03/04/2023 Corey Stern                      0.50 Update notice of revised dates for FTX sales.
03/04/2023 Naiquan Zhang                    5.30 Revise sale motion and order per comments.
03/05/2023 Audra Cohen                      4.90 Correspondence with various teams re: due diligence
                                                 (.90); correspondence with various teams re: private
                                                 sale (1.8); correspondence with various teams re: sale
                                                 extensions (.60); correspondence with various teams
                                                 re: LedgerX sale agreements (1.6).
03/05/2023 Rita-Anne O'Neill                1.20 Review materials re: venture sales.
03/05/2023 Alexa Kranzley                   0.20 Correspondence with internal team re: Sequoia
                                                 documentation.
03/05/2023 Mimi Wu                          1.50 Review LedgerX sale process and bids.
03/05/2023 Aaron Levine                     0.40 Review third party exchange issues list.
03/05/2023 Jeffrey MacDonald                6.30 Review diligence materials re: venture companies
                                                 (.10); prepare filings for venture company sale (5.0);
                                                 prepare sales documentation re: venture portfolio sale
                                                 (1.2).
03/05/2023 Mitchell Friedman                1.80 Review and revise issue list re: LedgerX bid (1.4);
                                                 review and comment on notice of revised sale dates
                                                 (.40).
03/05/2023 Linda Chen                       0.70 Review and update form of PWP declaration for
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                                                  private sales.
03/05/2023 HyunKyu Kim                      0.40 Review Sequoia PA.
03/05/2023 Jessica Ljustina                 3.40 Review and respond to LedgerX bids (2.6);
                                                 correspondence with M. Friedman and M. Wu re:
                                                 same (.20); correspondence with C. Lloyd and A.
                                                 Levine re: same (.10); correspondence with A. Cohen
                                                 re: same (.10); correspondence with PWP team re:
                                                 same (.10); review diligence requests (.10);
                                                 correspondence with G. Posess (PWP) re: same
                                                 (.10); review sale processes (.10).
03/05/2023 James Patton                     0.20 Review tax changes to Sequoia purchase agreement.
03/05/2023 Corey Stern                      1.60 Update notice of revised dates re: FTX sales (.50);
                                                 review documentation of WRS acquisition of Embed
                                                 (1.1).
03/05/2023 Naiquan Zhang                    0.70 Confirm descriptions of certain ventures in slides
                                                 prepared by financial advisor.
03/06/2023 Stephanie Wheeler                0.60 Email correspondence with N. Friedlander, K. Shields
                                                 and A. Thompson re: J. Ray (FTX) question re:
                                                 LedgerX (.10); revise summaries of Bahamas
                                                 property purchases (.50).
03/06/2023 Audra Cohen                      8.00 Correspondence with various teams re: sales process
                                                 and timing (2.6); correspondence with A. Dietderich
                                                 re: sales process timing (.20); correspondence with
                                                 various teams re: fund investment sale (2.3);
                                                 correspondence with various teams re: investments
                                                 (1.1); call with E. Simpson and O. de Vito Piscicelli
                                                 re: potential Europe sale (.20); call with M. Wu, M.
                                                 Friedman, G. Pacia, J. Ljustina and C. Stern re:
                                                 LedgerX and Embed sale timelines (.30); call with
                                                 Paul Hastings, R. O’Neill, M. Wu and J. MacDonald
                                                 re: current venture investment sales process (.50); call
                                                 with FTX board members, PWP, A&M, R. O’Neill,
                                                 M. Wu and J. MacDonald re: update and
                                                 recommendations on venture sales process (.80).
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03/06/2023 Keiji Hatano                          1.00 Email correspondence with various teams re: sale of
                                                      FTX Japan.
03/06/2023 Rita-Anne O'Neill                     4.00 Call with Paul Hastings, A. Cohen, M. Wu and J.
                                                      MacDonald re: current venture investment sales
                                                      process (.50); call with FTX board members, PWP,
                                                      A&M, A. Cohen, M. Wu and J. MacDonald re:
                                                      update and recommendations on venture sales process
                                                      (.80); review documents re: venture sales (2.7).
03/06/2023 Evan Simpson                          0.70 Call with A. Cohen and O. de Vito Piscicelli re:
                                                      potential Europe sale (.20); draft summary of issues
                                                      for potential foreign debtor sales process (.50).
03/06/2023 Oderisio de Vito Piscicelli           0.40 Email correspondence with PWP re: additional
                                                      interested party in ventures sale process (.20); call
                                                      with A. Cohen and E. Simpson re: potential Europe
                                                      sale (.20).
03/06/2023 Jameson Lloyd                         0.40 Review re: transaction agreements.
03/06/2023 Alexa Kranzley                        0.80 Correspondence with internal team re: private sale
                                                      processes and related issues (.50); review related
                                                      notices (.30).
03/06/2023 Mimi Wu                               5.90 Call with A. Cohen, M. Friedman, G. Pacia, J.
                                                      Ljustina and C. Stern re: LedgerX and Embed sale
                                                      timelines (.30); call with Paul Hastings, A. Cohen, R.
                                                      O’Neill and J. MacDonald re: current venture
                                                      investment sales process (.50); call with FTX board
                                                      members, PWP, A&M, A. Cohen, R. O’Neill and J.
                                                      MacDonald re: update and recommendations on
                                                      venture sales process (.80); review sale of potential
                                                      fund asset (3.2); review LedgerX sales process and
                                                      bids (1.1).
03/06/2023 Jeffrey MacDonald                    12.80 Review diligence materials re: venture companies
                                                      (1.0); prepare sale agreement re: sale of venture
                                                      interest (10.5); call with Paul Hastings, A. Cohen, R.
                                                      O’Neill and M. Wu re: current venture investment
                                                      sales process (.50); call with FTX board members,
                                                      PWP, A&M, A. Cohen, R. O’Neill and M. Wu re:
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                                                  update and recommendations on venture sales process
                                                  (.80).
03/06/2023 Mitchell Friedman                6.70 Call with H. Kim re: LedgerX tax questions (.10); call
                                                 with A. Cohen, M. Wu, G. Pacia, J. Ljustina and C.
                                                 Stern re: LedgerX and Embed sale timelines (.30);
                                                 review and comment on PWP fee statement for
                                                 confidentiality review (.70); email correspondence
                                                 with internal team re: sales processes (2.1); review
                                                 and comment on revised LedgerX bidder issues list
                                                 (1.2); compile LedgerX materials for S&C team (.90);
                                                 review and address UST comments to LedgerX
                                                 purchase agreement (.90); comment on revised sale
                                                 timeline notice (.50).
03/06/2023 Linda Chen                       3.10 Review and update certain ancillary documents re:
                                                 Sequoia sale.
03/06/2023 HyunKyu Kim                      3.80 Review research re: 1502-6 (.40); review Sequoia
                                                 sale documents (2.3); review LedgerX documents
                                                 (.90); call with M. Friedman re: LedgerX tax
                                                 questions (.10); correspondence with J. Patton re: tax
                                                 changes to Sequoia purchase agreement (.10).
03/06/2023 Gabrielle Pacia                  0.80 Call with A. Cohen, M. Wu, M. Friedman, J. Ljustina
                                                 and C. Stern re: LedgerX and Embed sale timelines
                                                 (.30); correspondence with internal team re:
                                                 transaction timeline (.50).
03/06/2023 Jessica Ljustina                 4.40 Call with A. Cohen, M. Wu, M. Friedman, G. Pacia
                                                 and C. Stern re: LedgerX and Embed sale timelines
                                                 (.30); review limited objection and reservation of
                                                 rights to sale (.20); correspondence with M. Friedman
                                                 re: same (.10); review sale processes (.70); review
                                                 and revise notice of revised dates (.90);
                                                 correspondence with C. Stern, M. Friedman and M.
                                                 Wu re: same (.20); correspondence with PWP team
                                                 re: same (.20); correspondence with LRC team re:
                                                 same (.20); correspondence with Paul Hastings team
                                                 re: same (.30); review and revise LedgerX bid issues
                                                 lists (.90); correspondence with A. Cohen, M.
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                                                  Friedman and M. Wu re: sale processes (.20);
                                                  correspondence with M. Friedman and D. Gambino
                                                  re: escrow agreement (.10); correspondence with M.
                                                  Friedman and D. Gambino re: LedgerX purchase
                                                  agreement (.10).
03/06/2023 Dominick Gambino                 0.50 Compile and review executed version of escrow
                                                 agreement.
03/06/2023 Corey Stern                      4.10 Update notice of revised dates for FTX sales for filing
                                                 (1.9); call with A. Cohen, M. Wu, M. Friedman, G.
                                                 Pacia and J. Ljustina re: LedgerX and Embed sale
                                                 timelines (.30); update purchase agreement for sale of
                                                 de minimis asset (1.2); draft summary of relationship
                                                 with investee entity and buyback proposal (.70).
03/06/2023 Naiquan Zhang                    3.50 Compile NDAs (.70); draft ancillary documents re:
                                                 sale (2.6); revised form of sale motion and order
                                                 (.20).
03/07/2023 David Gilberg                    0.50 Call with S. Wheeler, A. Cohen, C. Lloyd and R.
                                                 Simmons re: LedgerX options.
03/07/2023 Rebecca Simmons                  0.70 Email correspondence with internal team re: LedgerX
                                                 (.20); call with A. Cohen, D. Gilberg, C. Lloyd and S.
                                                 Wheeler re: LedgerX options (.50).
03/07/2023 Stephanie Wheeler                4.10 Correspondence with J. McDonald and A. Cohen re:
                                                 LedgerX options (.50); correspondence with J. Ray
                                                 (FTX), J. McDonald and A. Cohen re: LedgerX
                                                 options (.50); call with D. Gilberg, C. Lloyd, R.
                                                 Simmons and A. Cohen re: LedgerX options (.50);
                                                 review Bahamas property summaries (.50);
                                                 correspondence with C. Dunne re: conflicts check for
                                                 Embed (.20); revise Bahamas property summaries
                                                 (1.8); email correspondence with S. Holley, K.
                                                 Shields, B. Harsch and A. Thompson re: LedgerX
                                                 issues (.10).
03/07/2023 Audra Cohen                      7.20 Correspondence with various teams re: investment
                                                 sale and related agreement (1.1); correspondence with
                                                 various teams re: private sale motion (1.3);
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                                                  correspondence with various teams re: investments
                                                  (1.1); call with bidder, bidder counsel, PWP, R.
                                                  O’Neill, M. Wu and J. MacDonald re: comments to
                                                  agreement (1.3); correspondence with various teams
                                                  re: sales process and timing (.70); call with R. O’Neill
                                                  re: investments sales (.30); correspondence with R.
                                                  O’Neill and J. MacDonald re: investment sales (.40);
                                                  call with S. Wheeler, D. Gilberg, C. Lloyd and R.
                                                  Simmons re: LedgerX options (.50); call with venture
                                                  counsel, PWP, E. Simpson and M. Wu re: potential
                                                  sale of venture interest (.50).
03/07/2023 Rita-Anne O'Neill                4.60 Call with bidder, bidder counsel, PWP, A. Cohen, M.
                                                 Wu and J. MacDonald re: comments to agreement
                                                 (1.3); call with FTX board members, PWP, A&M,
                                                 QE, and S&C team re: update and approvals on
                                                 venture sales process (.70); call with bidder, bidder
                                                 counsel, PWP, M. Wu and J. MacDonald re:
                                                 comments to agreement (.50); review documents re:
                                                 venture sales (2.1).
03/07/2023 Jacob Croke                      0.30 Analyze venture portfolio and potential additional
                                                 areas of inquiry re: asset disposition.
03/07/2023 Evan Simpson                     0.50 Call with venture counsel, PWP, A. Cohen and M.
                                                 Wu re: potential sale of venture interest.
03/07/2023 Colin Lloyd                      0.50 Call with A. Cohen, D. Gilberg, S. Wheeler and R.
                                                 Simmons re: LedgerX options.
03/07/2023 Jameson Lloyd                    1.30 Review re: transaction documents.
03/07/2023 Alexa Kranzley                   0.90 Review and revise Sequoia sale documents (.60);
                                                 correspondence with internal team re: same and
                                                 related issues (.30).
03/07/2023 Sarah Long                       0.10 Review re: sale processes.
03/07/2023 Rita Carrier                     0.60 Correspondence with E. Levin and B. Nguyen re:
                                                 certain debtor entities (.30); meeting with B. Nguyen
                                                 re: same (.30).
03/07/2023 Shihui Xiang                     0.60 Review and comment on FTX Japan notice re: annual
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                                                  transaction statement.
03/07/2023 Mimi Wu                          7.10 Call with venture counsel, PWP, A. Cohen and M.
                                                 Wu re: potential sale of venture interest (.50); call with
                                                 bidder, bidder counsel, PWP, A. Cohen, R. O’Neill
                                                 and J. MacDonald re: comments to agreement (1.3);
                                                 call with bidder, bidder counsel, PWP, R. O’Neill and
                                                 J. MacDonald re: comments to agreement (.50);
                                                 review and finalize documents re: potential fund
                                                 interest sale (2.2); review potential non-ventures sale
                                                 processes (2.6).
03/07/2023 James Simpson                    0.40 Review and comment on form of transaction approval
                                                 resolutions (.40).
03/07/2023 Aaron Levine                     0.10 Review emails re: LedgerX and Embed bid processes
                                                 and deadlines.
03/07/2023 Jeffrey MacDonald               16.30 Review diligence materials re: venture companies
                                                 (.50); prepare sale agreement for sale of venture
                                                 interest (13.6); call with bidder, bidder counsel, PWP,
                                                 A. Cohen, R. O’Neill and M. Wu re: comments to
                                                 agreement (1.0 - partial attendance); call with FTX
                                                 board members, PWP, A&M, QE and S&C team re:
                                                 update and approvals on venture sales process (.70);
                                                 call with bidder, bidder counsel, PWP, R. O’Neill and
                                                 M. Wu re: comments to agreement (.50).
03/07/2023 Mitchell Friedman                2.50 Call with G. Posess (PWP) re: LedgerX sale (.20);
                                                 email correspondence with internal team and PWP re:
                                                 sale processes (1.2); review and comment on
                                                 schedules and backup re: same (1.1).
03/07/2023 Dylan Handelsman                 0.50 Call with internal team re: Embed transaction.
03/07/2023 Linda Chen                       0.50 Review and update certain documents re: Sequoia
                                                 sale.
03/07/2023 HyunKyu Kim                      2.60 Call with J. Patton and C. Dickinson (ADIC) re:
                                                 Sequoia purchase agreement tax covenant (.30);
                                                 review Sequoia tax matters (1.9); review re: LedgerX
                                                 process (.20); call with J. Patton re: changes to
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                                                 Sequoia purchase agreement tax covenant (.20).
03/07/2023 Elizabeth Levin                 0.40 Review IPT trademark oppositions schedule.
03/07/2023 Daniel O'Hara                   1.60 Draft and revise escrow agreement.
03/07/2023 Gabrielle Pacia                 1.30 Call with internal team re: Embed transaction (.50);
                                                review UCC comments re: sale order (.60);
                                                correspondence with internal team re: updated sale
                                                timeline (.20).
03/07/2023 Jessica Ljustina                4.00 Correspondence with M. Wu re: fund investments
                                                (.30); work on motion re: venture investments (1.9);
                                                correspondence with C. Stern and N. Zhang re: same
                                                (.30); correspondence with M. Wu re: same (.10);
                                                review and revise responses to LedgerX bids (.50);
                                                correspondence with LedgerX bidder advisors (.30);
                                                correspondence with A. Cohen, M. Wu and M.
                                                Friedman re: LedgerX sale process (.20);
                                                correspondence with M. Ansari, K. Lim, E. Levin, K.
                                                Rogosch, C. Lloyd, A. Levine, S. Long, A. Capogna,
                                                J. Lloyd, H. Kim and J. Patton re: sale processes
                                                (.10); correspondence with M. Friedman re: LedgerX
                                                board consents (.10); correspondence with D.
                                                Gambino re: same (.10); correspondence with G.
                                                Pacia re: Embed sale process (.10).
03/07/2023 James Patton                    1.30 Review changes to Sequoia purchase agreement (.80);
                                                call with H. Kim and C. Dickinson (ADIC) re:
                                                Sequoia purchase agreement tax covenant (.30); call
                                                with H. Kim re: changes to Sequoia purchase
                                                agreement tax covenant (.20).
03/07/2023 Corey Stern                     5.90 Draft summary of relationship with investee entity and
                                                buyback proposal (1.9); summarize documentation re:
                                                WRS acquisition of Embed (2.9); research re: venture
                                                investments (1.1).
03/07/2023 Naiquan Zhang                   7.10 Incorporate comments into sale motion, order and
                                                declaration (4.2); respond to research inquiry (.20);
                                                review and mark up NDA (.20); compile and circulate
                                                NDAs (.50); review values in claim schedule (2.0).
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03/07/2023 Bach-Yen Nguyen                  3.80 Correspondence with E. Levin and R. Carrier re:
                                                 certain debtor entities (.30); meeting with R. Carrier
                                                 re: same (.30); check for trademark proceedings and
                                                 correspondence with vendor re: same (3.2).
03/08/2023 David Gilberg                    0.90 Review re: LedgerX clearing agreement (.20); call
                                                 with A&M and S&C teams re: debtor entity wind
                                                 down analysis (.50); email correspondence with
                                                 internal team re: LedgerX clearing agreement (.20).
03/08/2023 Rebecca Simmons                  1.20 Review materials from C. Arnett (A&M) re: debtor
                                                 entity wind down analysis (.20); call with A&M and
                                                 S&C teams re: debtor entity wind down analysis
                                                 (1.0).
03/08/2023 Stephanie Wheeler                1.70 Email correspondence with J. Ray (FTX) re: relevant
                                                 third party loan update (.10); email correspondence
                                                 with various teams re: payoff document (.20); email
                                                 correspondence with various teams re: LedgerPrime
                                                 funds (.10); review revisions to payoff agreement,
                                                 assignment agreement and relevant third party
                                                 statement of facts (.80); call with A&M and S&C
                                                 teams re: debtor entity wind down analysis (.50).
03/08/2023 Audra Cohen                      5.50 Call with E. Simpson, O. de Vito Piscicelli, M. Wu,
                                                 PWP and FTX Europe management re: sale process
                                                 (.10); correspondence with various teams re: finalize
                                                 investment sale documents (1.4); correspondence with
                                                 various teams re: investments and sale process (1.2);
                                                 correspondence with various teams re: private sale
                                                 motion (.90); correspondence with various teams re:
                                                 business sale processes (1.4); call with PWP, A&M,
                                                 R. O’Neill, M. Wu and J. MacDonald re: venture
                                                 sales process (.50).
03/08/2023 Rita-Anne O'Neill                2.00 Call with PWP, A&M, A. Cohen, M. Wu and J.
                                                 MacDonald re: venture sales process (.50); review
                                                 documents re: venture sales (1.5).
03/08/2023 Evan Simpson                     2.10 Call with A. Cohen, O. de Vito Piscicelli, M. Wu,
                                                 PWP and FTX Europe management re: sale process
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                                                       (.10); draft relevant third party statement of facts,
                                                       assignment agreement and payoff agreements (1.1);
                                                       review related motion and order for recovery of
                                                       foreign assets (.40); correspondence with internal
                                                       team re: certain foreign non-debtor entities and
                                                       identification of control persons (.50).
03/08/2023 James McDonald                        1.20 Review materials and discussions re: possibilities re:
                                                      dispositions re: LedgerX.
03/08/2023 Oderisio de Vito Piscicelli           0.10 Call with A. Cohen, E. Simpson, M. Wu, PWP and
                                                      FTX Europe management re: sale process.
03/08/2023 Colin Lloyd                           0.70 Call with A&M and S&C teams re: debtor entity wind
                                                      down analysis (.50); review subsidiary agreements
                                                      (.20).
03/08/2023 Alexa Kranzley                        1.20 Review and revise Sequoia motion, order and
                                                      declaration (.50); correspondence with internal team
                                                      re: same (.40); coordinate filing and service of the
                                                      same (.10); correspondence with internal team re:
                                                      private sales (.20).
03/08/2023 Shihui Xiang                          0.40 Review and comment on notice on annual transaction
                                                      statements.
03/08/2023 Mimi Wu                               3.10 Call with M. Friedman, J. Ljustina and bidder’s
                                                      counsel re: LedgerX bid (.60); meeting with M.
                                                      Friedman re: LedgerX bidder discussion and proposal
                                                      (.20); call with A. Levine and M. Friedman re:
                                                      LedgerX licenses (.20); call with A. Cohen, E.
                                                      Simpson, O. de Vito Piscicelli, PWP and FTX Europe
                                                      management re: sale process (.10); call with PWP,
                                                      A&M, A. Cohen, R. O’Neill and J. MacDonald re:
                                                      venture sales process (.50); review filing of potential
                                                      fund interest sale (1.5).
03/08/2023 Aaron Levine                          0.20 Call with M. Wu and M. Friedman re: LedgerX
                                                      licenses.
03/08/2023 Jeffrey MacDonald                    14.00 Review diligence materials re: venture companies
                                                      (.10); prepare sale agreement for sale of venture
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                                                  interest (13.4); call with PWP, A&M, R. O’Neill and
                                                  M. Wu re: venture sales process (.50).
03/08/2023 Mitchell Friedman                3.70 Call with M. Wu and A. Levine re: LedgerX licenses
                                                 (.20); call with M. Wu, J. Ljustina and bidder’s
                                                 counsel re: LedgerX bid (.60); meeting with M. Wu
                                                 re: LedgerX bidder discussion and proposal (.20);
                                                 email correspondence with various teams with UCC
                                                 advisors re: LedgerX and sale processes (.70); email
                                                 correspondence with S&C team re: sale processes
                                                 (1.4); correspondence with counterparty re: potential
                                                 assignment of contracts (.40); email correspondence
                                                 with various teams re: escrow process for LedgerX
                                                 and Embed sales (.20).
03/08/2023 Linda Chen                       0.50 Review and comment on NDA markups from
                                                 potential bidders.
03/08/2023 Gabrielle Pacia                  0.30 Review correspondence re: Embed bidders.
03/08/2023 Jessica Ljustina                 4.00 Call with M. Wu, M. Friedman and bidder’s counsel
                                                 re: LedgerX bid (.60); work on motion re: venture
                                                 investments (1.3); correspondence with M. Wu, C.
                                                 Stern and N. Zhang re: same (.40); correspondence
                                                 with J. MacDonald re: Sequoia sale order (.10);
                                                 correspondence with internal team re: escrow
                                                 arrangement (.20); review escrow agreement (.20);
                                                 review debtor contract issues (.10); correspondence
                                                 with M. Friedman re: same (.10); correspondence
                                                 with counsel to Debtor contract counterparty (.20);
                                                 review sale processes (.10); correspondence with M.
                                                 Wu, J. MacDonald and M. Friedman re: same (.10);
                                                 correspondence with J. Petiford and N. Luu re: sale
                                                 processes (.10); review LedgerX bids (.20); review
                                                 LedgerX agreements (.30).
03/08/2023 Corey Stern                      2.50 Research re: funding capital calls in bankruptcy (1.4);
                                                 review of Embed diligence materials in connection with
                                                 sale process (1.1).
03/08/2023 Naiquan Zhang                    3.40 Summarize restrictions re: transferring ownership
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                                                  interests (1.5); incorporate comments into form of
                                                  purchase agreement (1.6); review transaction
                                                  documents (.30).
03/08/2023 Bach-Yen Nguyen                  1.20 Review trademark proceedings re: entities of interest.
03/09/2023 Audra Cohen                      6.40 Correspondence with various teams re: business sales
                                                 processes (1.1); correspondence with various teams
                                                 re: presentation materials (.90); correspondence with
                                                 various teams re: investments sales and documents
                                                 (2.3); correspondence with various teams re: NDAs
                                                 and bidders (.70); call with FTX board members,
                                                 PWP, R. O’Neill, M. Wu, J. MacDonald re: update
                                                 on ventures sale process (1.0); correspondence with
                                                 various teams re: UCC updates and diligence (.40)
03/09/2023 Rita-Anne O'Neill                2.30 Call with FTX board members, PWP, A. Cohen, M.
                                                 Wu and J. MacDonald re: update on ventures sale
                                                 process (1.0); review documents re: venture sales
                                                 (1.3).
03/09/2023 Jacob Croke                      1.00 Call with J. Ray (FTX) re: venture portfolio and
                                                 disposition strategies (.60); correspondence with M.
                                                 Wu re: same (.10); analyze potential bidders for
                                                 venture asset (.20); correspondence with L. Chen re:
                                                 same (.10).
03/09/2023 James McDonald                   0.50 Email correspondence with internal team re: LedgerX
                                                 options.
03/09/2023 Alexa Kranzley                   0.80 Correspondence with internal team re: private sales
                                                 and related issues (.40); review related materials (.40).
03/09/2023 Rita Carrier                     0.60 Review correspondences from B. Nguyen re: searches
                                                 in certain jurisdictions for trademark proceedings in
                                                 which certain debtor entities are involved (.30); emails
                                                 with B. Nguyen re: same (.30).
03/09/2023 Shihui Xiang                     0.60 Correspondence with internal team re: FTX Japan
                                                 issues.
03/09/2023 Mimi Wu                          4.70 Call with FTX board members, PWP, A. Cohen, R.
                                                 O’Neill, M. Wu, J. MacDonald re: update on ventures
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                                                      sale process (1.0); review various venture sales
                                                      matters (2.2); review LedgerX sale analysis (1.5).
03/09/2023 Jeffrey MacDonald                   12.10 Review diligence materials re: venture companies
                                                     (.30); prepare sale agreement for sale of venture
                                                     interest (10.3); call with FTX board members, PWP,
                                                     A. Cohen, R. O’Neill and M. Wu re: update on
                                                     ventures sale process (1.0); call with A&M and PWP
                                                     re: subsidiary unwinding process documentation (.50).
03/09/2023 Fabio Weinberg Crocco                0.30 Correspondence with J. MacDonald re: LedgerPrime.
03/09/2023 Mitchell Friedman                    5.50 Review and comment on board presentation re:
                                                     LedgerX and sale processes (1.8); review LedgerX
                                                     material contracts and summarize provisions re: same
                                                     (1.6); email correspondence with S&C and PWP
                                                     teams re: sale processes (1.3); review FTX subsidiary
                                                     valuation materials (.80).
03/09/2023 Linda Chen                           1.50 Review and comment on potential bidder NDAs.
03/09/2023 HyunKyu Kim                          0.40 Review documents re: LedgerX and Embed bids.
03/09/2023 Daniel O'Hara                        0.20 Review and revise draft escrow agreement.
03/09/2023 Gabrielle Pacia                      0.40 Review bidder's proposal.
03/09/2023 Jessica Ljustina                     2.20 Work on motion re: venture investments (.10);
                                                     correspondence with C. Stern re: same (.20); review
                                                     and summarize debtor contracts (.80);
                                                     correspondence with C. Stern and M. Friedman re:
                                                     same (.20); correspondence with A. Kranzley re:
                                                     same (.20); review overview of LedgerX alternatives
                                                     (.10); correspondence with D. Gambino and M.
                                                     Friedman re: responses to UST (.10); review
                                                     redaction issue (.10); correspondence with M.
                                                     Friedman, C. Stern and A. Kranzley re: same (.10);
                                                     review LedgerX sale process (.10); correspondence
                                                     with M. Friedman re: same (.10); correspondence
                                                     with J. MacDonald re: LedgerPrime (.10).
03/09/2023 Andrew Brod                          1.50 Review redemption agreement markup and
                                                     corresponding LP agreement.
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03/09/2023 Arthur Courroy                   0.70 Call with FTX Europe personnel re: asset disposition
                                                 workstreams, update bank letter re: call with FTX
                                                 Europe personnel per comments, and correspondence
                                                 with Swiss bank re: same.
03/09/2023 Corey Stern                      1.40 Review A&M spreadsheet against list of LedgerX and
                                                 Embed contracts to be assigned (.40); draft motion re:
                                                 venture investments (1.0).
03/09/2023 Naiquan Zhang                    5.50 Circulate NDAs (.30); review investment schedules
                                                 (2.9); incorporate comments into redemption
                                                 agreement and form of purchase agreement (2.3).
03/10/2023 David Gilberg                    0.50 Call with A. Cohen, C. Lloyd, J. McDonald, M. Wu,
                                                 M. Friedman, R. Simmons, J. Ljustina re: LedgerX.
03/10/2023 Rebecca Simmons                  0.20 Call with A. Cohen, D. Gilberg, C. Lloyd, J.
                                                 McDonald, M. Wu, M. Friedman, J. Ljustina re:
                                                 LedgerX (.20 - partial attendance).
03/10/2023 Stephanie Wheeler                0.50 Call with J. McDonald re: LedgerX documents.
03/10/2023 Audra Cohen                      5.50 Correspondence with various teams re: investment
                                                 sales and documentation (1.5); correspondence with
                                                 various teams re: business sales (1.5); call with C.
                                                 Lloyd, D. Gilberg, J. McDonald, M. Wu, M.
                                                 Friedman, R. Simmons, J. Ljustina re: LedgerX (.50);
                                                 call with PWP, A&M, M. Wu, M. Friedman and J.
                                                 Ljustina re: LedgerX (.50); correspondence with
                                                 various teams re: NDAs (.30); correspondence with
                                                 various teams re: bidders and diligence (.80);
                                                 correspondence with various teams re: regulatory
                                                 matters (.40).
03/10/2023 Brian Glueckstein                0.40 Review and revise letter to investment counterparty re:
                                                 sale process.
03/10/2023 Rita-Anne O'Neill                2.80 Call with N. Zhang re: non-reliance letter (.30); review
                                                 documents re: venture sales (2.5).
03/10/2023 James McDonald                   1.60 Correspondence with internal team re: LedgerX
                                                 information sharing (.60); call with A. Cohen, D.
                                                 Gilberg, C. Lloyd, R. Simmons, M. Wu, F. Friedman
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                                                  and J. Ljustina re: LedgerX (.50); call with S. Wheeler
                                                  re: LedgerX documents (.50).
03/10/2023 Colin Lloyd                      0.50 Call with D. Gilberg, A. Cohen, J. McDonald, R.
                                                 Simmons, M. Wu, M. Friedman and J. Ljustina re:
                                                 LedgerX.
03/10/2023 Shihui Xiang                     0.30 Update business suspension orders status with S&C
                                                 team.
03/10/2023 Christian Jensen                 0.20 Correspondence with A. Cohen and M. Wu re:
                                                 LedgerX bank accounts.
03/10/2023 Mimi Wu                          3.40 Call with PWP, A&M, A. Cohen, M. Friedman and
                                                 J. Ljustina re: LedgerX (.50); call with D. Gilberg, A.
                                                 Cohen, J. McDonald, C. Lloyd, R. Simmons, M.
                                                 Friedman and J. Ljustina re: LedgerX (.50); review
                                                 various venture sales matters (1.5); correspondence
                                                 with PWP re: LedgerX cash management (.90).
03/10/2023 Aaron Levine                     0.10 Review subsidiary wind down analysis.
03/10/2023 Jeffrey MacDonald                8.20 Review diligence materials re: venture companies
                                                 (.40); prepare sale agreement for sale of venture
                                                 interest (7.8).
03/10/2023 Mitchell Friedman                3.80 Call with D. Gilberg, A. Cohen, J. McDonald, C.
                                                 Lloyd, R. Simmons, M. Wu and J. Ljustina re:
                                                 LedgerX (.50); call with PWP, A&M, A. Cohen, M.
                                                 Wu and J. Ljustina re: LedgerX (.50); call with J.
                                                 Ljustina re: LedgerX (.10); review and summarize
                                                 relevant provisions of LedgerX commercial
                                                 arrangements (1.2); review A&M LedgerX analysis
                                                 (.80); email correspondence with S&C and PWP
                                                 teams re: sale process (.70).
03/10/2023 Linda Chen                       0.20 Review and comment on bidder NDAs.
03/10/2023 Elizabeth Levin                  0.90 Email correspondence with various teams re:
                                                 trademark transition workstream (.10);
                                                 correspondence with M. Ansari re: trademark
                                                 proceedings analysis (.30); draft list of pending
                                                 trademark disputes for bankruptcy court proceedings
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                                                 submission (.30); review emails re: LedgerPrime (.20).
03/10/2023 Gabrielle Pacia                 0.30 Review Embed bid.
03/10/2023 Jessica Ljustina                6.10 Call with D. Gilberg, A. Cohen, J. McDonald, C.
                                                Lloyd, R. Simmons, M. Wu and M. Friedman re:
                                                LedgerX (.50); call with PWP, A&M, A. Cohen, M.
                                                Wu and M. Friedman re: LedgerX (.50); call with M.
                                                Friedman re: LedgerX (.10); correspondence with
                                                escrow agent team re: escrow agreement (.10); review
                                                and summarize LedgerX agreements (3.2);
                                                correspondence with M. Friedman re: same (.10);
                                                correspondence with A. Cohen, M. Wu, D. Gilberg,
                                                R. Simmons, S. Wheeler, J. McDonald and C. Lloyd
                                                re: same (.10); work on motion re: venture investments
                                                (.90); correspondence with C. Stern re: same (.10);
                                                correspondence with M. Wu and M. Friedman re:
                                                LedgerX (.10); correspondence with J. Petiford and
                                                C. Jensen re: LedgerX (.10); review and respond to
                                                LedgerX diligence requests (.20); correspondence
                                                with M. Wu and M. Friedman re: same (.10).
03/10/2023 Andrew Brod                     3.10 Draft venture repurchase agreement (2.8); prepare
                                                executed NDA (.30).
03/10/2023 Yasmin Masoudi                  1.40 Review and revise list of IP-related disputes.
03/10/2023 Corey Stern                     5.00 Draft motion re: venture investments (4.0); update
                                                purchase agreement for sale of fund asset per
                                                comments (1.0).
03/10/2023 Naiquan Zhang                   7.00 Call with R. O'Neill re: non-reliance letter (.30);
                                                convert redemption agreement into purchase
                                                agreement (3.6); edit, compile and circulate NDAs
                                                (.50); draft non-reliance letter (2.6).
03/11/2023 Audra Cohen                     1.90 Correspondence with various teams re: asset
                                                disposition workstreams (.20); correspondence with
                                                various teams re: sales processes (.40);
                                                correspondence with various teams re: investment
                                                sales and documentation (1.3).
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03/11/2023 Rita-Anne O'Neill                3.10 Review documents re: venture sales.
03/11/2023 James McDonald                   0.50 Email correspondence with various teams re:
                                                 LedgerX.
03/11/2023 Nirav Mehta                      0.20 Email correspondence with S. Yeargan and S. Xiang
                                                 re: Alameda Japan assets.
03/11/2023 Mimi Wu                          0.40 Correspondence with internal team re: venture sales
                                                 matters.
03/11/2023 Jeffrey MacDonald                2.10 Prepare sale agreement for sale of venture interest.
03/11/2023 Mitchell Friedman                0.30 Email correspondence with internal team re: sale
                                                 processes and potential bidders.
03/11/2023 Jessica Ljustina                 3.70 Correspondence with LedgerX team re: diligence
                                                 requests (.20); correspondence with D. Gambino re:
                                                 response to UST (.10); work on motion re: venture
                                                 investments (3.3); correspondence with M. Wu re:
                                                 same (.10).
03/11/2023 Andrew Brod                      3.00 Draft venture repurchase agreement.
03/11/2023 Naiquan Zhang                    0.80 Revise non-reliance letter.
03/12/2023 Audra Cohen                      3.70 Correspondence with various teams re: investment
                                                 sales and agreements (1.6); correspondence with
                                                 various teams re: UCC and investment sales (1.2);
                                                 correspondence with various teams re: sales processes
                                                 (.90)
03/12/2023 Rita-Anne O'Neill                0.50 Review documents re: venture sales.
03/12/2023 James McDonald                   0.40 Email correspondence with various teams re: bank and
                                                 public statements and discussions re: same.
03/12/2023 Colin Lloyd                      0.30 Correspondence with J. Ray (FTX) re: LedgerX.
03/12/2023 Shihui Xiang                     0.30 Correspondence with internal team re: FTX Japan
                                                 voluntary business suspension notice filing.
03/12/2023 Christian Jensen                 0.20 Correspondence with J. Ljustina re: escrow account.
03/12/2023 Mimi Wu                          0.40 Correspondence with PWP and internal teams re:
                                                 sales processes.
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03/12/2023 Jeffrey MacDonald                0.80 Prepare sale agreement for sale of venture interest.
03/12/2023 Mitchell Friedman                0.30 Email correspondence with S&C team and PWP team
                                                 re: escrowed funds for sale processes.
03/12/2023 Gabrielle Pacia                  0.10 Review correspondence re: Embed sale.
03/12/2023 Jessica Ljustina                 0.80 Review escrow arrangements (.30); correspondence
                                                 with M. Wu and M. Friedman re: same (.10);
                                                 correspondence with A. Kranzley, J. Petiford and C.
                                                 Jensen re: same (.20); correspondence with bidder
                                                 counsel re: same (.20).
03/12/2023 Andrew Brod                      2.00 Draft venture repurchase agreement.
03/12/2023 Naiquan Zhang                    1.70 Incorporate comments into sale agreement and form
                                                 of sale agreement (.80); revise non-reliance letter
                                                 (.90).
03/13/2023 David Gilberg                    0.90 Email correspondence with working group re:
                                                 LedgerX issues (.40); review presentation re:
                                                 LedgerX alternatives (.50).
03/13/2023 Stephanie Wheeler                0.80 Review presentation of LedgerX overview of
                                                 alternatives (.30); call with A. Cohen, G. Pacia and
                                                 A&M re: Embed strategy (.50).
03/13/2023 Audra Cohen                      8.00 Correspondence with various teams re: investment
                                                 sales (1.4); correspondence with various teams re:
                                                 LedgerX sale (2.1); correspondence with various
                                                 teams re: Embed sale (1.3); call with S. Wheeler, A.
                                                 Cohen, G. Pacia and A&M re: Embed strategy (.50);
                                                 call with R. O’Neill, M. Wu, J. MacDonald, H.
                                                 Beard, C. Stern and N. Zhang re: venture sale
                                                 agreements and process (.50 - partial attendance);
                                                 meeting with M. Wu and M. Friedman re: LedgerX
                                                 sale process (.20); call with A. Kranzley and M. Wu
                                                 re: sales processes (.50); call with R. O’Neill, M. Wu,
                                                 J. MacDonald and H. Beard re: venture sale
                                                 agreements and process (1.0); call with Paul Hastings,
                                                 R. O’Neill, M. Wu, J. MacDonald and H. Beard re:
                                                 current venture investment sales process (.50).
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03/13/2023 Rita-Anne O'Neill                5.00 Call with A. Cohen, M. Wu, J. MacDonald and H.
                                                 Beard re: venture sale agreements and process (1.0);
                                                 call with venture company, venture company counsel,
                                                 PWP and J. MacDonald re: current venture
                                                 investment sales process (.50); call with A. Cohen, M.
                                                 Wu, J. MacDonald, H. Beard, C. Stern and N. Zhang
                                                 re: venture sale agreements and process (1.0); call
                                                 with Paul Hastings, A. Cohen, M. Wu, J. MacDonald
                                                 and H. Beard re: current venture investment sales
                                                 process (.50); review documents re: venture sales
                                                 (1.7); review securities law analyses for venture sales
                                                 (.30).
03/13/2023 Colin Lloyd                      0.20 Correspondence with A. Levine re: Embed.
03/13/2023 Alexa Kranzley                   0.50 Call with A. Cohen and M. Wu re: sales processes.
03/13/2023 Sarah Long                       0.10 Correspondence with internal team re: Embed
                                                 obligations.
03/13/2023 Mimi Wu                          6.20 Call with A. Cohen, R. O’Neill, J. MacDonald, H.
                                                 Beard, C. Stern and N. Zhang re: venture sale
                                                 agreements and process (1.0); call with A. Cohen and
                                                 A. Kranzley re: sales processes (.50); meeting with A.
                                                 Cohen and M. Friedman re: LedgerX sale process
                                                 (.20); call with A. Cohen, R. O’Neill, J. MacDonald
                                                 and H. Beard re: venture sale agreements and process
                                                 (1.0); call with Paul Hastings, A. Cohen, R. O’Neill, J.
                                                 MacDonald and H. Beard re: current venture
                                                 investment sales process (.50); call with H. Beard re:
                                                 venture sales process (.30); work on private ventures
                                                 sales (1.8); review LedgerX sales process (.90).
03/13/2023 Aaron Levine                     1.80 Email correspondence with various teams re: Embed
                                                 (.30); research re: Embed regulatory questions (1.3);
                                                 review LedgerX and bidder diligence questions (.20).
03/13/2023 Jeffrey MacDonald                9.70 Review diligence materials re: venture companies
                                                 (.40); prepare sale agreement for sale of venture
                                                 interest (5.4); call with A. Cohen, R. O’Neill, M. Wu
                                                 and H. Beard re: venture sale agreements and process
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                                                      (1.0); call with venture company, venture company
                                                      counsel, PWP and R. O’Neill re: current venture
                                                      investment sales process (.50); call with A. Cohen, R.
                                                      O’Neill, M. Wu, H. Beard, C. Stern and N. Zhang re:
                                                      venture sale agreements and process (1.0); call with
                                                      Paul Hastings, A. Cohen, R. O’Neill, M. Wu and H.
                                                      Beard re: current venture investment sales process
                                                      (.50); call with N. Zhang re: sale agreement key
                                                      provisions (.90).
03/13/2023 Fabio Weinberg Crocco                0.30 Correspondence with C. Jensen re: trademark
                                                     strategy.
03/13/2023 Mitchell Friedman                    3.50 Meeting with A. Cohen and M. Wu re: LedgerX sale
                                                     process (.20); review and comment on proposed
                                                     board presentation re: LedgerX (1.6); review and
                                                     comment on fund process letter (.30); email
                                                     correspondence with S&C and PWP teams re:
                                                     LedgerX process and bidder diligence (1.4).
03/13/2023 Hannah Beard                         3.60 Call with A. Cohen, R. O’Neill, M. Wu and J.
                                                     MacDonald re: venture sale agreements and process
                                                     (1.0); call with A. Cohen, R. O’Neill, M. Wu, J.
                                                     MacDonald, C. Stern and N. Zhang re: venture sale
                                                     agreements and process (1.0); call with Paul Hastings,
                                                     A. Cohen, R. O’Neill, M. Wu and J. MacDonald re:
                                                     current venture investment sales process (.50); call
                                                     with M. Wu re: venture sales process (.30); review
                                                     venture sales materials and emails (.50); revise funds
                                                     process letter (.30).
03/13/2023 Linda Chen                           1.50 Review and update bidder NDAs.
03/13/2023 HyunKyu Kim                          1.20 Review new sales documents (1.1); meeting with J.
                                                     Patton re: review new purchase agreements from
                                                     corporate team (.10).
03/13/2023 Gabrielle Pacia                      1.20 Call with S. Wheeler, A. Cohen and A&M re: Embed
                                                     strategy (.50); review Embed materials (.70).
03/13/2023 Jessica Ljustina                     6.70 Review and comment on LedgerX alternatives
                                                     presentation (3.3); correspondence with M. Friedman
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                                                 re: same (.20); correspondence with A. Cohen, M.
                                                 Wu and M. Friedman re: same (.10); correspondence
                                                 with D. Gilberg re: same (.10); correspondence with
                                                 PWP team re: same (.10); research re: sale processes
                                                 (.30); correspondence with C. Jensen and M. Wu re:
                                                 same (.10); correspondence with M. Wu and M.
                                                 Friedman re: LedgerX sale process (.10); review
                                                 escrow arrangement (.10); review and respond to
                                                 LedgerX diligence requests (1.7); correspondence
                                                 with M. Friedman re: same (.20); correspondence
                                                 with D. Gambino re: same (.10); correspondence with
                                                 A. Levine re: same (.20); review redactions to court
                                                 filings (.10).
03/13/2023 James Patton                    0.80 Review new purchase agreements from corporate
                                                team (.70); meeting with H. Kim re: review of new
                                                purchase agreements from corporate team (.10).
03/13/2023 Andrew Brod                     1.00 Track new NDA (.30); prepare bidder info packet
                                                (.70).
03/13/2023 Dominick Gambino                1.80 Review and redact LedgerX douments in response to
                                                due diligence requests.
03/13/2023 Patrick Lee                     1.50 Review bidder NDA markup (1.1); update bidder
                                                NDA tracker (.40).
03/13/2023 Corey Stern                     3.90 Update purchase agreement per comments (2.3); call
                                                with A. Cohen, R. O’Neill, M. Wu, J. MacDonald, H.
                                                Beard and N. Zhang re: venture sale agreements and
                                                process (1.0); review Embed VDR for bank
                                                information (.60).
03/13/2023 Naiquan Zhang                   7.40 Call with A. Cohen, R. O’Neill, M. Wu, J.
                                                MacDonald, H. Beard and C. Stern re: venture sale
                                                agreements and process (1.0); call with J. MacDonald
                                                re: sale agreement key provisions (.90); revise
                                                purchase agreement (2.8); revise non-reliance letter
                                                (2.7).
03/14/2023 David Gilberg                   0.30 Email correspondence with C. Lloyd and M.
                                                Friedman re: LedgerX.
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03/14/2023 Stephanie Wheeler                0.30 Correspondence with M. Wu re: call with A.
                                                 Dietderich re: Embed (.10); correspondence with S.
                                                 Holley re: same (.10); correspondence with C. Dunne
                                                 re: same (.10).
03/14/2023 Audra Cohen                      7.00 Correspondence with various teams re: investments
                                                 (1.1); correspondence with various teams re: sales
                                                 processes and bidders (1.5); meeting with M. Wu, M.
                                                 Friedman and J. Ljustina re: FTX sales processes
                                                 (.80); call with PWP, Mayer Brown, R. O’Neill, M.
                                                 Wu, J. MacDonald and H. Beard re: current venture
                                                 investment sales process (.50); correspondence with
                                                 various teams re: UCC and diligence (1.1);
                                                 correspondence with various teams re: venture
                                                 investment sale agreement and terms (1.7);
                                                 correspondence with R. O’Neill re: investment sales
                                                 (.30).
03/14/2023 Rita-Anne O'Neill                4.60 Call with PWP, Mayer Brown, A. Cohen, M. Wu, J.
                                                 MacDonald and H. Beard re: current venture
                                                 investment sales process (.50); call with potential
                                                 bidder, PWP, M. Wu and J. MacDonald re: current
                                                 venture investment sales process (.50); call with
                                                 venture company, PWP, J. MacDonald and H. Beard
                                                 re: venture investment sales process (.50); review
                                                 documents re: venture sales (3.1); review analysis re:
                                                 qualification of potential venture bidders.
03/14/2023 Evan Simpson                     0.80 Prepare revised versions of transactional and court
                                                 documentation for loan proceeds matter.
03/14/2023 Colin Lloyd                      0.20 Correspondence with M. Friedman and D. Gilberg re:
                                                 LedgerX.
03/14/2023 Jameson Lloyd                    1.40 Review re: sales agreements.
03/14/2023 Bradley Harsch                   0.20 Email correspondence with S. Wheeler re: LedgerX.
03/14/2023 Mimi Wu                          6.50 Call with M. Friedman, PWP and potential service
                                                 provider re: LedgerX (.10); meeting with A. Cohen,
                                                 M. Friedman and J. Ljustina re: FTX sales processes
                                                 (.80); call with PWP, Mayer Brown, A. Cohen, R.
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                                                  O’Neill, J. MacDonald and H. Beard re: current
                                                  venture investment sales process (.50); call with
                                                  potential bidder, PWP, R. O’Neill and J. MacDonald
                                                  re: current venture investment sales process (.30 -
                                                  partial attendance); work on various ventures sales
                                                  processes (2.8); review LedgerX sales process (2.0).
03/14/2023 Aaron Levine                     1.00 Respond to LedgerX and bidder diligence questions
                                                 (.80); review LedgerX board presentation (.10);
                                                 review Embed regulatory presentation (.10).
03/14/2023 Jeffrey MacDonald                9.10 Review diligence materials re: venture companies
                                                 (7.4); meeting with H. Beard re: venture sales process
                                                 (.20); call with PWP, Mayer Brown, A. Cohen, R.
                                                 O’Neill, M. Wu and H. Beard re: current venture
                                                 investment sales process (.50); call with potential
                                                 bidder, PWP, R. O’Neill and M. Wu re: current
                                                 venture investment sales process (.50); call with
                                                 venture company, PWP. R. O’Neill and H. Beard re:
                                                 venture investment sales process (.50).
03/14/2023 Mitchell Friedman                5.10 Call with M. Wu, PWP and potential service provider
                                                 re: LedgerX (.10); meeting with A. Cohen, M. Wu
                                                 and J. Ljustina re: FTX sales processes (.80); call with
                                                 PWP re: LedgerX (.20); call with J. Ljustina re:
                                                 LedgerX (.30); email correspondence with S&C and
                                                 PWP members re: sale process (1.3); review and
                                                 comment on LedgerPrime materials (.40); review
                                                 inbound indication letter for venture investment (.30);
                                                 correspondence with internal team re: board materials
                                                 re: LedgerX (.60); review and comment on bidder
                                                 NDA and letter (.70); review Embed analysis (.40).
03/14/2023 Hannah Beard                     4.80 Call with PWP, Mayer Brown, A. Cohen, R. O’Neill,
                                                 M. Wu and J. MacDonald re: current venture
                                                 investment sales process (.50); call with venture
                                                 company, PWP, R. O’Neill and J. MacDonald re:
                                                 venture investment sales process (.50); meeting with
                                                 L. Chen re: private venture sales and NDAs
                                                 workstreams (.40); review venture sales materials and
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                                                 emails (3.2); meeting with J. MacDonald re: venture
                                                 sales process (.20).
03/14/2023 Linda Chen                      1.90 Meeting with H. Beard re: private venture sales and
                                                NDA workstreams (.40); review and update bidder
                                                NDAs (1.5).
03/14/2023 HyunKyu Kim                     2.70 Review new sales documents (2.0); meeting with J.
                                                Patton re: tax comments to purchase agreements
                                                (.30); meeting with J. Patton re: tax comments to
                                                purchase agreements (.40).
03/14/2023 Gabrielle Pacia                 0.20 Review Embed bid chart.
03/14/2023 Jessica Ljustina                7.00 Meeting with A. Cohen, M. Wu and M. Friedman re:
                                                FTX sales processes (.80); call with M. Friedman re:
                                                LedgerX (.30); review and respond to LedgerX
                                                diligence requests (.70); correspondence with M.
                                                Friedman re: same (.10); correspondence with A.
                                                Levine re: same (.10); call with G. Posess (PWP) re:
                                                LedgerX (.20); review LedgerX alternatives
                                                presentation (.10); correspondence with A. Kranzley
                                                and J. Ljustina re: escrow accounts (.10); call with
                                                bidder counsel re: escrow account (.10);
                                                correspondence with M. Wu and M. Friedman re:
                                                same (.10); correspondence with M. Cilia (FTX) and
                                                A. Kranzley re: same (.20); correspondence with
                                                bidder counsel re: same (.10); correspondence with
                                                PWP team re: same (.10); review LedgerX sale
                                                process (.40); correspondence with M. Wu and M.
                                                Friedman re: same (.10); review Ledger Holdings Inc.
                                                agreement renewal (.10); correspondence with A.
                                                Kranzley, M. Wu and M. Friedman re: same (.10);
                                                correspondence with M. Pierce (LRC) re: same (.10);
                                                correspondence with M. Wu and J. MacDonald re:
                                                contract issues (.20); review and revise LedgerX
                                                bidder NDA (1.2); correspondence with L. Chen and
                                                M. Friedman re: same (.20); draft documentation for
                                                LedgerX sale process (1.5); correspondence with M.
                                                Friedman re: same (.10).
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03/14/2023 James Patton                     3.30 Revise tax changes to new purchase agreements from
                                                 corporate team (2.5); meeting with H. Kim re: tax
                                                 comments to new purchase agreements (.40); meeting
                                                 with H. Kim re: tax comments to purchase agreements
                                                 (.30); correspondence with H. Kim re: withholding
                                                 language (.10).
03/14/2023 Andrew Brod                      3.50 Prepare execution version of NDA (.30); incorporate
                                                 comments into purchase agreement (2.7); review
                                                 status of venture capital purchase agreements (.50).
03/14/2023 Jinny Lee                        2.50 Review and mark up NDAs.
03/14/2023 Patrick Lee                      1.10 Draft bullets and bidder information packet (.70); draft
                                                 execution NDA (.30); update bidder NDA tracker
                                                 (.10).
03/14/2023 Corey Stern                      2.10 Update purchase agreement for sale of fund assets per
                                                 comments.
03/14/2023 Naiquan Zhang                    1.20 Revise form of private sale motion.
03/15/2023 David Gilberg                    0.30 Review presentation re: LedgerX alternatives.
03/15/2023 Stephanie Wheeler                0.70 Call with A. Cohen and M. Wu re: Embed and
                                                 LedgerX options.
03/15/2023 Audra Cohen                      7.80 Correspondence with various teams re: investments
                                                 and process (.30); meeting with M. Friedman re:
                                                 LedgerX sale process (.20); call with A&M, PWP, R.
                                                 O’Neill, M. Wu and J. MacDonald re: venture
                                                 investments (.50); correspondence with various teams
                                                 re: sales processes (1.2); call with J. Ray (FTX) re:
                                                 sales processes (.80); review investment sale
                                                 agreements (1.6); correspondence with various teams
                                                 re: UCC and diligence (.70); correspondence with
                                                 various teams re: UST comments (1.1); call with N.
                                                 Nussbaum (PWP) re: sales processes (.70); call with
                                                 S. Wheeler and M. Wu re: Embed and LedgerX
                                                 options (.70).
03/15/2023 Rita-Anne O'Neill                2.50 Call with PWP, A&M, A. Cohen, M. Wu and J.
                                                 MacDonald re: venture sales process (.50); review
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                                                  documents re: venture sales (1.5); call with venture
                                                  company, venture company counsel, PWP and J.
                                                  MacDonald re: current venture investment sales
                                                  process (.50).
03/15/2023 Evan Simpson                     0.80 Mark up and circulate loan proceeds contracts to
                                                 proposed counterparties.
03/15/2023 Alexa Kranzley                   0.40 Correspondence with internal team re: private sales
                                                 and related issues.
03/15/2023 Sarah Long                       0.10 Review instructions re: LedgerX bid markup.
03/15/2023 Mimi Wu                          2.30 Call with PWP, A&M, A. Cohen, R. O’Neill and J.
                                                 MacDonald re: venture sales process (.50); work on
                                                 potential venture sale (1.1); call with A. Cohen and S.
                                                 Wheeler re: Embed and LedgerX options (.70).
03/15/2023 Aaron Levine                     0.20 Review LedgerX alternatives presentation.
03/15/2023 Jeffrey MacDonald                9.30 Review diligence materials re: venture companies
                                                 (7.9); call with PWP, A&M, A. Cohen, R. O’Neill
                                                 and M. Wu re: venture sales process (.50); call with
                                                 venture company, venture company counsel, PWP
                                                 and R. O’Neill re: current venture investment sales
                                                 process (.50); call with L. Chen, J. Lee and bidder re:
                                                 NDA and interested party form (.40).
03/15/2023 Mitchell Friedman                6.70 Meeting with J. Ljustina and D. Gambino re: LedgerX
                                                 sale process (.80); meeting with A. Cohen re:
                                                 LedgerX sale process (.20); meeting with J. Ljustina
                                                 re: LedgerX sale process (.20); review and comment
                                                 on bidder NDA and letter (1.3); review venture
                                                 agreement re: sale processes (.40); revise board
                                                 presentation (.50); review and revise bidder purchase
                                                 agreement and ancillaries (3.3).
03/15/2023 KJ Lim                           0.30 Review and revise interest purchase agreement.
03/15/2023 Hannah Beard                     7.40 Review and revise venture sale agreements and
                                                 process and correspondence with internal team re:
                                                 same (6.2); meeting with C. Stern and N. Zhang re:
                                                 ventures sales background and workstreams (.90);
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                                                  call with N. Zhang re: revisions to venture sales
                                                  agreement (.30).
03/15/2023 Alexander Capogna                0.60 Prepare markup of LedgerX bid.
03/15/2023 Linda Chen                       3.80 Review and update bidder NDAs (3.4); call with J.
                                                 MacDonald, J. Lee and bidder re: NDA and
                                                 interested party form (.40).
03/15/2023 HyunKyu Kim                      1.60 Review de minimis sale purchase agreements (1.4);
                                                 review LedgerX purchase agreements (.20).
03/15/2023 Elizabeth Levin                  0.20 IPT review of bidder bid markups.
03/15/2023 Gabrielle Pacia                  0.30 Correspondence with potential bidder re: sale
                                                 process.
03/15/2023 Jessica Ljustina                 5.10 Meeting with M. Friedman and D. Gambino re:
                                                 LedgerX sale process (.80); meeting with M.
                                                 Friedman re: LedgerX sale process (.20); review
                                                 LedgerX sale process (.40); correspondence with M.
                                                 Wu, M. Friedman and D. Gambino re: same (.10);
                                                 review ventures sale process (.30); review and revise
                                                 responses to UST comments re: LedgerX purchase
                                                 agreement (.40); correspondence with M. Friedman
                                                 and D. Gambino re: same (.10); review and revise
                                                 NDA (.60); correspondence with M. Friedman and L.
                                                 Chen re: same (.10); review and revise documentation
                                                 for LedgerX sale (.70); correspondence with M.
                                                 Friedman re: same (.10); correspondence with A.
                                                 Cohen and M. Wu re: same (.10); review and
                                                 respond to LedgerX diligence requests (.70);
                                                 correspondence with bidder counsel re: same (.20);
                                                 correspondence with E. Levin, M. Ansari, K. Lim, K.
                                                 Rogosch, C. Lloyd, A. Levine, A. Capogna, S. Long,
                                                 J. Patton, D. Hariton, J. Lloyd and H. Kim re:
                                                 LedgerX sale documentation (.30).
03/15/2023 James Patton                     0.50 Implement tax changes to new purchase agreements
                                                 from corporate team (.30); implement changes to
                                                 LedgerX bid (.20).
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03/15/2023 Andrew Brod                     6.80 Revise venture purchase agreements.
03/15/2023 Dominick Gambino                2.00 Meeting with M. Friedman and J. Ljustina re:
                                                LedgerX sale process (.80); propose potential
                                                responses to the UST comments re: LedgerX
                                                purchase agreement (1.2).
03/15/2023 Jinny Lee                       1.50 Call with J. MacDonald, L. Chen and bidder re: NDA
                                                and interested party form (.40); mark up NDAs and
                                                send back to bidders (1.1).
03/15/2023 Corey Stern                     3.30 Revise purchase agreement for sale of de minimis
                                                asset per comments (2.7); meeting with H. Beard and
                                                N. Zhang re: ventures sales background and
                                                workstreams (.60 - partial attendance).
03/15/2023 Naiquan Zhang                   6.10 Draft document management instructions email (.50);
                                                revise sale agreement (2.9); draft scope of work
                                                exhibit to non-reliance letter (1.2); mark up NDA
                                                (.30); meeting with H. Beard and C. Stern re: ventures
                                                sales background and workstreams (.90); call with H.
                                                Beard re: revisions to venture sales agreement (.30).
03/16/2023 Audra Cohen                     7.90 Correspondence with various teams re: investments
                                                (1.1); correspondence with various teams re:
                                                investment process and securities law matters (.90);
                                                correspondence with various teams re: investment sale
                                                agreements (1.2); correspondence with various teams
                                                re: Investment sale approval process (.60);
                                                correspondence with various teams re: sales processes
                                                and timing (1.1); call with S&C, PWP and A&M re:
                                                sales processes (.50); call with J. Ray (FTX), S&C,
                                                PWP and A&M re: sales processes (.60); meeting
                                                with M. Wu and M. Friedman re: sales processes
                                                (.20); call with PWP, S&C, investment company and
                                                counsel re: sale process (.50); call with A&M, PWP,
                                                FTX management, board members, R. O’Neill, M.
                                                Wu, J. MacDonald and H. Beard re: update and
                                                recommendations on venture sales process (.50);
                                                correspondence with various teams re: regulatory
                                                (.20); call with M. Wu and PWP re: Embed and
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                                                       LedgerX sale processes (.50).
03/16/2023 Andrew Dietderich                     0.20 Email correspondence with A&M re: auction timing
                                                      for LedgerX.
03/16/2023 Zena Tamler                           0.30 Review and revise escrow agreement.
03/16/2023 Rita-Anne O'Neill                     4.50 Call with A&M, PWP, FTX management, board
                                                      members, A. Cohen, M. Wu, J. MacDonald and H.
                                                      Beard re: update and recommendations on venture
                                                      sales process (.50); call with venture company
                                                      counsel, M. Wu, J. MacDonald and H. Beard re:
                                                      confidentiality considerations for venture investment
                                                      sale (.20); call with venture company, PWP, J.
                                                      MacDonald and H. Beard re: confidentiality
                                                      considerations and venture sales process (.50); call
                                                      with venture company, venture company counsel,
                                                      PWP, M. Wu and J. MacDonald re: current venture
                                                      investment sales process (.50); review documents re:
                                                      venture sales (2.8).
03/16/2023 Joseph Hearn                          0.30 Email correspondence with M. Wu and R. Downes re:
                                                      40 Act considerations in sales of venture capital fund
                                                      investments.
03/16/2023 Oderisio de Vito Piscicelli           0.20 Review emails re: private placement and email
                                                      correspondence with E. Simpson re: same.
03/16/2023 Jameson Lloyd                         1.30 Review re: LedgerX transaction agreements.
03/16/2023 Alexa Kranzley                        1.50 Meeting with internal team re: LedgerPrime (.50);
                                                      review materials re: same (.70); correspondence with
                                                      internal team re: same (.30).
03/16/2023 Mimi Wu                               4.60 Call with M. Friedman, J. Ray (FTX), PWP and
                                                      A&M re: LedgerX and Embed sale processes (.70);
                                                      meeting with A. Cohen, M. Friedman re: sales
                                                      processes (.20); correspondence with A. Cohen, M.
                                                      Friedman and PWP re: LedgerX and Embed sale
                                                      processes (.10 - partial attendance); call with A&M,
                                                      PWP, FTX management, board members, A. Cohen,
                                                      R. O’Neill, J. MacDonald and H. Beard re: update
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                                                      and recommendations on venture sales process (.50);
                                                      call with H. Beard re: venture sales process (.20); call
                                                      with venture company counsel, R. O’Neill, J.
                                                      MacDonald and H. Beard re: confidentiality
                                                      considerations for venture investment sale (.10 -
                                                      partial attendance); call with venture company, venture
                                                      company counsel, PWP, R. O’Neill and J.
                                                      MacDonald re: current venture investment sales
                                                      process (.50); review LedgerX and Embed sales
                                                      processes (.50); call with A. Cohen and PWP re:
                                                      Embed and LedgerX sale processes (.50); review
                                                      venture sales process (1.3).
03/16/2023 Aaron Levine                         2.50 Mark up bidder bid documents.
03/16/2023 Jeffrey MacDonald                   10.70 Review diligence materials re: venture companies
                                                     (8.2); call with A&M, PWP, FTX management,
                                                     board members, A. Cohen, R. O’Neill, M. Wu and
                                                     H. Beard re: update and recommendations on venture
                                                     sales process (.50); call with venture company
                                                     counsel, R. O’Neill, M. Wu and H. Beard re:
                                                     confidentiality considerations for venture investment
                                                     sale (.20); call with venture company, PWP, R.
                                                     O’Neill and H. Beard re: confidentiality considerations
                                                     and venture sales process (.50); call with H. Beard re:
                                                     venture sales agreements and process (.80); call with
                                                     venture company, venture company counsel, PWP, R.
                                                     O’Neill and M. Wu re: current venture investment
                                                     sales process (.50).
03/16/2023 Fabio Weinberg Crocco                1.00 Review information re: matters relating to Cayman
                                                     debtor (.50); correspondence with B. Glueckstein and
                                                     A. Kranzley re: same (.50).
03/16/2023 Mitchell Friedman                    7.70 Call with M. Wu, J. Ray (FTX), PWP and A&M re:
                                                     LedgerX and Embed sale processes (.70); meeting
                                                     with A. Cohen and M. Wu re: sales processes (.20);
                                                     correspondence with A. Cohen, M. Wu and PWP re:
                                                     LedgerX and Embed sale processes (.30); call with
                                                     bidder's counsel re: LedgerX sale process (.20);
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                                                  meeting with J. Ljustina re: LedgerX sale process
                                                  (.10); review and revise bidder purchase agreement
                                                  and ancillaries (4.9); review and comment on
                                                  proposed form of LedgerX sale order (.70); email
                                                  correspondence with S&C team re: sale processes
                                                  (.60).
03/16/2023 KJ Lim                           1.70 Review and revise purchase agreement.
03/16/2023 Hannah Beard                     7.30 Correspondence with various teams re: venture sale
                                                 agreements and process and draft documents re: same
                                                 (4.7); call with A&M, PWP, FTX management,
                                                 board members, A. Cohen, R. O’Neill, M. Wu and J.
                                                 MacDonald re: update and recommendations on
                                                 venture sales process (.50); call with M. Wu re:
                                                 venture sales process (.20); call with venture company
                                                 counsel, R. O’Neill, M. Wu and J. MacDonald re:
                                                 confidentiality considerations for venture investment
                                                 sale (.20); call with venture company, PWP, R.
                                                 O’Neill and J. MacDonald re: confidentiality
                                                 considerations and venture sales process (.50); call
                                                 with J. MacDonald re: venture sales agreements and
                                                 process (.80); call with N. Zhang re: non-reliance
                                                 letter (.40).
03/16/2023 Alexander Capogna                2.20 Prepare markup of bidder bid.
03/16/2023 Linda Chen                       0.90 Review and update bidder NDAs.
03/16/2023 HyunKyu Kim                      1.10 Review LedgerX purchase agreement (.90); call with
                                                 J. Patton re: LedgerX purchase agreement (.20).
03/16/2023 Elizabeth Levin                  3.10 Incorporate IPT comments to LedgerX purchase
                                                 agreement and IP assignment agreements.
03/16/2023 Daniel O'Hara                    0.20 Revise escrow agreement.
03/16/2023 Gabrielle Pacia                  0.90 Respond to potential bidder's inquiry (.30); research
                                                 re: Embed structure (.60).
03/16/2023 Jessica Ljustina                 3.10 Meeting with M. Friedman re: LedgerX sale process
                                                 (.10); review LedgerX purchase agreement (.20);
                                                 correspondence with E. Levin re: same (.10);
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                                                    correspondence with M. Friedman re: same (.10);
                                                    review Ledger Holdings Inc. schedules and statements
                                                    (.10); review LedgerX sale process (.10);
                                                    correspondence with M. Friedman, D. Gambino and
                                                    L. Chen re: same (.10); review and revise LedgerX
                                                    sale order (2.1); correspondence with M. Friedman
                                                    re: same (.10); correspondence with C. Stern re:
                                                    notice of extension (.10).
03/16/2023 James Patton                       3.50 Revide bidder's LedgerX bid (3.3); call with H. Kim
                                                   re: LedgerX purchase agreement (.20).
03/16/2023 Andrew Brod                        7.20 Incorporate comments into venture purchase
                                                   agreement (5.2); revise venture purchase agreement
                                                   (1.0); draft responses to comments by R. O'Neill re:
                                                   purchase agreements (1.0).
03/16/2023 Jinny Lee                          1.60 Draft bidder information summary (1.0); prepare and
                                                   circulate fully executed NDA (.20); mark up NDA
                                                   and send to bidder (.40).
03/16/2023 Katharina Rogosch                  3.50 Review LedgerX purchase agreement bid for IP
                                                   issues.
03/16/2023 Corey Stern                        1.70 Update purchase agreement for sale of fund asset per
                                                   comments.
03/16/2023 Naiquan Zhang                      8.30 Revise sale agreement (2.8); circulate form of NDA
                                                   (.30); revise non-reliance letter (1.2); revise form of
                                                   sale order (3.6); call with H. Beard re: non-reliance
                                                   letter (.40).
03/16/2023 Benjamin Zonenshayn                1.50 Correspondence with B. Glueckstein, A. Kranzley, F.
                                                   Weinberg Crocco, FTX team and A&M team re:
                                                   matters concerning Cayman debtor (.50); research
                                                   issues re: Cayman debtor organizational documents
                                                   (.80); correspondence with Cayman counsel, F.
                                                   Weinberg Crocco and A&M re: same (.20).
03/16/2023 Hannah Zhukovsky                   0.60 Update list of debtor entity employees.
03/17/2023 Audra Cohen                        4.20 Correspondence with various teams re: investments
                                                   (.70); correspondence with various teams re: sale
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                                                      processes and timing (.90); call with PWP re: asset
                                                      disposition workstreams (.20); call with C. Lloyd, M.
                                                      Wu and CFTC re: LedgerX sale process (.20);
                                                      review investment sale agreements (1.3);
                                                      correspondence with various teams re: sale approvals
                                                      (.40); call with M. Wu re: sales processes (.50).
03/17/2023 Rita-Anne O'Neill                    2.50 Review documents re: venture sales.
03/17/2023 Mehdi Ansari                         3.00 Review revised LedgerX purchase agreement (2.2);
                                                     email correspondence with K. Lim and E. Levin re:
                                                     same (.40); review revised IP assignments (.40).
03/17/2023 Colin Lloyd                          0.60 Call with A. Cohen, M. Wu and CFTC re: LedgerX
                                                     sale process (.20); comment on bidder markup re:
                                                     LedgerX (.20); call with bidder's counsel re: LedgerX
                                                     (.20).
03/17/2023 Alexa Kranzley                       0.30 Call with M. Wu re: status of sales.
03/17/2023 Sarah Long                           0.70 Comment on LedgerX purchase agreement.
03/17/2023 Mimi Wu                              2.50 Call with A. Cohen, C. Lloyd and CFTC re: LedgerX
                                                     sale process (.20); meeting with M. Friedman, J.
                                                     Ljustina, PWP, bidder and bidder advisors re:
                                                     LedgerX sale process (.40); review LedgerX sales
                                                     process (.70); internal correspondence re: venture
                                                     sales (.40); call with A. Cohen re: sales process (.50);
                                                     call with A. Kranzley re: status of sales (.30).
03/17/2023 James Simpson                        1.30 Internal correspondence re: director changes required
                                                     for Mysten transaction approval (.60); review trackers
                                                     and prior advice re: director changes to Hong Kong
                                                     entities (.70).
03/17/2023 Aaron Levine                         0.40 Review emails re: subsidiary liquidation analysis (.10);
                                                     markup documents re: LedgerX bidder (.30).
03/17/2023 Jeffrey MacDonald                   12.20 Draft venture company purchase documents (11.6);
                                                     call with H. Beard re: venture sale agreements and
                                                     process (.20); meeting with S&C team re: standard
                                                     form venture sales agreement and process (.40).
03/17/2023 Fabio Weinberg Crocco                2.00 Call with B. Zonenshayn and A. Toobin re: updates on
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                                                  LPMF (.60); call with A. Titus (A&M) and R. Bell
                                                  (Walkers) re: same (.50); correspondence with A&M,
                                                  LedgerPrime and Walkers re: same (.50); review
                                                  letter re: Cayman debtor (.40).
03/17/2023 Mitchell Friedman                5.40 Meeting with M. Wu, J. Ljustina, PWP, bidder and
                                                 bidder advisors re: LedgerX sale process (.40);
                                                 meeting with J. Ljustina re: LedgerX sale process
                                                 (.20); email correspondence with S&C and PWP
                                                 teams re: sale process (1.2); review and revise bidder
                                                 purchase agreement and schedules (3.6).
03/17/2023 KJ Lim                           6.00 Review and revise Interest purchase agreement draft
                                                 (5.0); review and revise ancillary agreement (1.0).
03/17/2023 Hannah Beard                     7.90 Correspondence with various teams and draft re:
                                                 venture sale agreements and process (7.0); call with J.
                                                 MacDonald re: venture sale agreements and process
                                                 (.20); meeting with S&C team re: standard form
                                                 venture sales agreement and process (.40); call with
                                                 A. Brod re: venture sale agreement (.10); call with N.
                                                 Zhang re: venture sale agreement (.10); call with C.
                                                 Stern re: standard form venture sales agreement and
                                                 process (.10).
03/17/2023 Alexander Capogna                0.50 Prepare markup of bidder bid.
03/17/2023 Linda Chen                       0.90 Review and update bidder NDAs.
03/17/2023 HyunKyu Kim                      0.30 Review LedgerX purchase agreement.
03/17/2023 Elizabeth Levin                  2.00 Revise bidder markup of LedgerX form of IP
                                                 assignment agreement (.20); incorporate IPT
                                                 comments to bidder markup of LedgerX purchase
                                                 agreement (.90); meeting with K. Rogosch re:
                                                 LedgerX purchase agreement bid (.70); revise bidder
                                                 short form IP assignment agreements (.20).
03/17/2023 Daniel O'Hara                    0.30 Revise escrow agreement (.20); call with internal team
                                                 re: draft escrow agreement (.10).
03/17/2023 Gabrielle Pacia                  0.20 Review Embed value analysis.
03/17/2023 Jessica Ljustina                 5.30 Meeting with M. Friedman re: LedgerX sale process
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                                                 (.20); meeting with M. Wu, M. Friedman, PWP,
                                                 bidder and bidder advisors re: LedgerX sale process
                                                 (.40); review and respond to LedgerX diligence
                                                 requests (.90); correspondence with UCC advisors re:
                                                 same (.20); correspondence with A. Cohen re: same
                                                 (.10); correspondence with LedgerX team re: same
                                                 (.30); correspondence with M. Friedman re: same
                                                 (.10); correspondence with bidder counsel re: same
                                                 (.20); correspondence with A&M team re: schedules
                                                 and statements (.20); review and revise responses to
                                                 UST comments on purchase agreement (.20);
                                                 correspondence with A. Kranzley and A. Cohen re:
                                                 same (.10); draft notice of revised dates (.40);
                                                 correspondence with M. Wu and M. Friedman re:
                                                 same (.10); review LedgerX sale documentation (.20);
                                                 correspondence with J. Patton, A. Capogna and M.
                                                 Friedman re: same (.10); review LedgerX sale
                                                 process (.20); correspondence with M. Friedman and
                                                 M. Wu re: same (.20); review LedgerX bid (.20);
                                                 review and revise LedgerX sale order (1.0).
03/17/2023 James Patton                    0.40 Review changes to LedgerX bid.
03/17/2023 Andrew Brod                     6.10 Update venture purchase agreement (2.8); call with H.
                                                Beard re: venture sale agreement (.10); meeting with
                                                S&C team re: standard form venture sales agreement
                                                and process (.40); revise venture purchase agreement
                                                (2.8).
03/17/2023 Arthur Courroy                  0.70 Implement comments to document request and
                                                correspondence with Swiss counsel re: same (.40);
                                                prepare documents to review relevant third party loan
                                                documentation circulated by relevant third party
                                                counsel (.30).
03/17/2023 Dominick Gambino                2.80 Meeting with S&C team re: standard form venture
                                                sales agreement and process (.40); draft purchase and
                                                sale agreement re: debtors' sale of interests (2.4).
03/17/2023 Jinny Lee                       1.40 Meeting with S&C team re: standard form venture
                                                sales agreement and process (.40); draft purchase and
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                                                    sale agreement re: de minimis sale (1.0).
03/17/2023 Patrick Lee                        7.10 Meeting with S&C team re: standard form venture
                                                   sales agreement and process (.40); review bidder
                                                   NDA markup and draft revised NDA (.80); draft
                                                   bidder information packet and bullets for internal S&C
                                                   and J. Ray (FTX) review (.80); facilitate bidder NDA
                                                   process (.80); draft purchase and sale agreement for
                                                   FTX venture asset (4.3).
03/17/2023 Katharina Rogosch                  2.20 Call with E. Levin re: LedgerX purchase agreement
                                                   bid (.70); update short form agreements per
                                                   instructions (.60); correspondence with E. Levin re:
                                                   updated short form agreements (.10); circulate
                                                   updated IP assignment agreement and short form
                                                   agreements to K. Lim and E. Levin (.10); implement
                                                   comments on IP assignment agreement and short form
                                                   agreements (.60); send IP assignment agreement and
                                                   short form agreements to corporate and IP teams
                                                   (.10).
03/17/2023 Corey Stern                        4.50 Draft sale motion and sale order for sale of fund asset
                                                   (4.4); call with H. Beard re: standard form venture
                                                   sales agreement and process (.10).
03/17/2023 Adam Toobin                        0.90 Review notes re: LPMF matter (.20); call with F.
                                                   Weinberg Crocco and B. Zonenshayn re: updates on
                                                   LPMF (.60); organize follow up to LPMF call (.10).
03/17/2023 Naiquan Zhang                      6.80 Mark up NDAs (1.4); revise non-reliance letter (1.6);
                                                   revise sale agreement (1.3); revise form sale
                                                   agreement (2.4); call with H. Beard re: venture sale
                                                   agreement (.10).
03/17/2023 Lilian Zhao                        1.50 Meeting with S&C team re: standard form venture
                                                   sales agreement and process (.40); draft sale
                                                   agreement (1.1).
03/17/2023 Benjamin Zonenshayn                2.10 Review and summarize Cayman debtor materials
                                                   (1.5); call with F. Weinberg Crocco and A. Toobin re:
                                                   updates on LPMF (.60).
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Date         Name                             Hours Description
03/18/2023 Audra Cohen                          3.60 Correspondence with various teams re: sales
                                                     processes (.60); correspondence with various teams
                                                     re: investment sale agreements (.80); correspondence
                                                     with various teams re: investment sale process (.40);
                                                     correspondence with various teams re: sale approval
                                                     process (.60); correspondence with various teams re:
                                                     draft motions and filings (1.2).
03/18/2023 Rita-Anne O'Neill                    2.20 Review documents re: venture sales.
03/18/2023 Joseph Hearn                         0.20 Correspondence with M. Wu and R. Downes re: sales
                                                     of venture capital fund investments.
03/18/2023 Alexa Kranzley                       0.90 Review Mysten draft motion and order (.50);
                                                     correspondence with internal team re: same (.20);
                                                     review sale notice and correspondence with internal
                                                     team re: same (.20).
03/18/2023 Mimi Wu                              1.50 Revise sale order motion, sale order and purchase
                                                     agreement for potential ventures sale (1.0); review
                                                     funds sale process (.50).
03/18/2023 Jeffrey MacDonald                    8.10 Prepare venture company sale documentation (7.8);
                                                     call with H. Beard re: venture sales agreements (.30).
03/18/2023 Fabio Weinberg Crocco                0.30 Correspondence with LedgerPrime re: Cayman
                                                     debtor.
03/18/2023 Mitchell Friedman                    2.50 Email correspondence with S&C and PWP teams re:
                                                     sale processes (.40); review and revise bidder markup
                                                     of purchase agreement (2.1).
03/18/2023 Hannah Beard                        10.70 Correspondence with various teams and draft re:
                                                     venture sale agreements (10.4); call with J.
                                                     MacDonald re: venture sales agreements (.30).
03/18/2023 Gabrielle Pacia                      0.10 Correspondence with potential bidder re: bid.
03/18/2023 Jessica Ljustina                     4.20 Review and revise LedgerX sale order (3.2);
                                                     correspondence with M. Friedman re: same (.10);
                                                     correspondence with M. Wu and M. Friedman re:
                                                     LedgerX sale process (.10); review and revise notice
                                                     of revised LedgerX dates (.20); correspondence with
                                                     A. Kranzley re: same (.10); correspondence with
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                                                      LRC team re: same (.10); correspondence with bidder
                                                      advisors re: same (.20); review potential de minimis
                                                      sale (.10); correspondence with J. Petiford, M. Wu, J.
                                                      MacDonald and H. Beard re: same (.10).
03/18/2023 Andrew Brod                          2.80 Update standard form venture purchase agreement.
03/18/2023 Dominick Gambino                     2.30 Draft purchase and sale agreement re: debtors sale of
                                                     interests.
03/18/2023 Jinny Lee                            8.00 Draft sale and purchase agreement re: de minimis sale.
03/18/2023 Patrick Lee                          1.50 Draft venture investment sales agreement.
03/18/2023 Corey Stern                          1.60 Update sale motion and sale order for sale of fund
                                                     asset per comments.
03/18/2023 Lilian Zhao                          3.60 Draft purchase sale agreement.
03/19/2023 Audra Cohen                          5.00 Correspondence with various teams re: various
                                                     investment sale agreements (3.4); correspondence
                                                     with various teams re: sales processes (.30); call with
                                                     R. O’Neill re: investment sale agreements (1.0); call
                                                     with R. O'Neill and PWP re: investment sale (.30).
03/19/2023 Rita-Anne O'Neill                    6.10 Call with A. Cohen re: investment sale agreements
                                                     (1.0); call with A. Cohen and PWP re: investment sale
                                                     (.30); review documents re: venture sales (4.8).
03/19/2023 Joseph Hearn                         1.00 Analyze possible 33 and 40 Act issue for venture
                                                     capital fund investments and related correspondence.
03/19/2023 Jameson Lloyd                        0.70 Review re: transaction agreements.
03/19/2023 Mimi Wu                              1.00 Review potential ventures sale documents.
03/19/2023 Jeffrey MacDonald                   10.60 Prepare venture company sale documentation.
03/19/2023 Fabio Weinberg Crocco                1.60 Call with B. Zonenshayn re: Cayman debtor (.30); call
                                                     with A. Titus (A&M) re: same (.30); review
                                                     background documents provided by LedgerPrime
                                                     team (.40); correspondence with LedgerPrime and
                                                     A&M re: same (.60).
03/19/2023 Mitchell Friedman                    0.90 Review and comment on revised form of sale order
                                                     and related LedgerX sale documents.
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03/19/2023 Hannah Beard                       5.40 Prepare sale documentation for venture sales and
                                                   related correspondence.
03/19/2023 HyunKyu Kim                        2.00 Review re: purchase agreement (.20); review re:
                                                   Mysten purchase agreement (.70); review re: de
                                                   minimis asset sale (1.1).
03/19/2023 Jessica Ljustina                   0.30 Review LedgerX sale order (.20); correspondence
                                                   with M. Friedman re: same (.10).
03/19/2023 James Patton                       1.60 Review purchase agreement (.20); revise Mysten
                                                   purchase agreement (1.4).
03/19/2023 Andrew Brod                        5.60 Revise standard form of venture purchase agreement
                                                   (.80); update venture purchase agreement per
                                                   comments (4.8).
03/19/2023 Dominick Gambino                   1.10 Revise purchase and sale agreement for debtors' sale
                                                   of interests per comments.
03/19/2023 Patrick Lee                        2.10 Revise venture sale agreement per edits to form and
                                                   comments.
03/19/2023 Corey Stern                        5.70 Update sale motion for sale of fund asset (2.2); draft
                                                   board resolutions re: same (1.6); draft PWP
                                                   declaration re: same (1.1); update purchase and sale
                                                   agreement re: same (.80).
03/19/2023 Naiquan Zhang                      1.00 Mark up NDAs.
03/19/2023 Benjamin Zonenshayn                2.00 Review and summarize internal financial statements of
                                                   Cayman debtor (1.4); call with F. Weinberg Crocco
                                                   re: Cayman debtor (.30); email correspondence with
                                                   A. Titus (A&M) and F. Weinberg Crocco re: same
                                                   (.30).
03/20/2023 Audra Cohen                        9.60 Correspondence with various teams re: investment
                                                   sale agreements (1.6); correspondence with various
                                                   teams re: Embed sales processes (.80);
                                                   correspondence with various teams re: private sale
                                                   motions (1.8); correspondence with various teams re:
                                                   investments (.80); correspondence with various teams
                                                   re: UCC and diligence (1.1); review motions,
                                                   agreements and correspondence with various teams
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                                                       re: LedgerX sale process and agreement (2.3); call
                                                       with Paul Hastings, R. O’Neill, M. Wu and J.
                                                       MacDonald re: current venture investment sales
                                                       process (.50); call with R. O’Neill, M. Wu and J.
                                                       MacDonald re: sales documentation (.70).
03/20/2023 Brian Glueckstein                     0.30 Review and advise on LedgerX contract language.
03/20/2023 Rita-Anne O'Neill                     4.50 Call with Paul Hastings, A. Cohen, M. Wu and J.
                                                      MacDonald re: current venture investment sales
                                                      process (.50); call with venture company counsel, M.
                                                      Wu and J. MacDonald re: sales documentation (.50);
                                                      call with A. Cohen, M. Wu and J. MacDonald re:
                                                      sales documentation (.70); review documents re:
                                                      venture sales (2.8).
03/20/2023 Mehdi Ansari                          0.30 Email correspondence with internal team re: bidder
                                                      purchase agreement.
03/20/2023 Oderisio de Vito Piscicelli           2.90 Email correspondence with PWP and banks strategic
                                                      investments re: venture assets (.40); review contracts
                                                      with relevant third party and lawyers’ letter and
                                                      correspondence with internal team re: preparation for
                                                      meeting with counterparty (1.8); prepare for call with
                                                      Paul Hastings including several internal emails (.40);
                                                      follow up correspondence re: presentation to UCC
                                                      and considering slides (.30).
03/20/2023 Colin Lloyd                           0.10 Comment on LedgerX sale agreement.
03/20/2023 Jameson Lloyd                         0.90 Review re: transaction agreements (.70); call with H.
                                                      Kim and J. Patton re: de minimis asset purchase
                                                      agreement (.20).
03/20/2023 Alexa Kranzley                        0.40 Review Mysten Labs sale and related issues.
03/20/2023 Mimi Wu                               8.40 Call with venture company, Orrick, PWP, J.
                                                      MacDonald and H. Beard re: venture sales process
                                                      (.80); call with J. Simpson, S. Mishkin and H. Beard
                                                      re: corporate approvals for venture sales (.30 - partial
                                                      attendance); call with M. Friedman re: LedgerX
                                                      purchase agreement (.40); call with A&M, PWP,
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                                                      FTX management and board members, J. MacDonald
                                                      and H. Beard re: update and recommendations on
                                                      venture sales process (.50); call with Paul Hastings, A.
                                                      Cohen, R. O'Neill and J. MacDonald re: current
                                                      venture investment sales process (.50); review
                                                      LedgerX purchase agreement (1.8); review ventures
                                                      sales documents (3.4); call with A. Cohen, R. O'Neill
                                                      and J. MacDonald re: sales documentation (.70).
03/20/2023 James Simpson                        5.10 Review correspondence re: HK board changes (.30);
                                                     internal S&C correspondence re: process for
                                                     executing HK and BVI board changes (2.0);
                                                     correspondence with FTX re: governance process for
                                                     approving Mysten transaction (1.1); review fiduciary
                                                     considerations presentations for K. Knipp (FTX)
                                                     board service (.40); review transaction approval and
                                                     director change resolutions (.90); call with M. Wu, S.
                                                     Mishkin and H. Beard re: corporate approvals for
                                                     venture sales (.40).
03/20/2023 Aaron Levine                         1.00 Mark up LedgerX bid (.90); call with M. Friedman re:
                                                     LedgerX purchase agreement (.10).
03/20/2023 Jeffrey MacDonald                   14.70 Prepare sales documentation for venture company sale
                                                     (11.7); call with A&M, PWP, FTX management and
                                                     board members, M. Wu and H. Beard re: update and
                                                     recommendations on venture sales process (.50); call
                                                     with Paul Hastings, A. Cohen, R. O’Neill and M. Wu
                                                     re: current venture investment sales process (.50); call
                                                     with venture company counsel, R. O’Neill and M. Wu
                                                     re: sales documentation (.50); call with A. Cohen, R.
                                                     O'Neill and M. Wu re: sales documentation (.70); call
                                                     with venture company, Orrick, PWP, M. Wu and H.
                                                     Beard re: venture sales process (.80).
03/20/2023 Fabio Weinberg Crocco                1.00 Correspondence with A. Kranzley and A. Toobin re:
                                                     updates on LPMF (.30); review materials re: LMPF
                                                     (.50); correspondence with current LedgerPrime
                                                     personnel re: same (.20).
03/20/2023 Mitchell Friedman                    7.60 Call with M. Wu re: LedgerX purchase agreement
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                                                (.40); call with PWP re: LedgerX sale process (.20);
                                                call with A. Levine re: LedgerX purchase agreement
                                                (.10); meeting with J. Ljustina re: LedgerX sale
                                                process (.20); call with J. Ljustina re: LedgerX sale
                                                process (.10); review and revise bidder purchase
                                                agreement and schedules (4.6); email correspondence
                                                with various teams re: venture portfolio (.30); review
                                                and update sale process documents per UST
                                                feedback (.60); review and comment on LedgerX FY
                                                2022 financial statements (1.1).
03/20/2023 Sarah Mishkin                  0.70 Call with M. Wu, J. Simpson and H. Beard re:
                                               corporate approvals for venture sales (.40);
                                               correspondence with M. Cilia (RLKS) and S&C team
                                               re: corporate approval and incumbency certificates
                                               (.30).
03/20/2023 Hannah Beard                   7.80 Prepare sale documentation for venture sales and
                                               related correspondence (5.9); call with venture
                                               company, Orrick, PWP, M. Wu and J. MacDonald
                                               re: venture sales process (.60 - partial attendance);
                                               call with C. Stern re: corporate approvals for venture
                                               sale transaction (.30); call with M. Wu, J. Simpson
                                               and S. Mishkin re: corporate approvals for venture
                                               sales (.40); call with A&M, PWP, FTX management
                                               and board members, M. Wu and J. MacDonald re:
                                               update and recommendations on venture sales process
                                               (.50); call with H. Kim re: tax implications re: venture
                                               sale (.10).
03/20/2023 Linda Chen                     0.20 Review NDA markups from potential bidders.
03/20/2023 HyunKyu Kim                    1.10 Review re: de minimis asset purchase (.70); meeting
                                               with J. Lloyd and J. Patton re: de minimis asset
                                               purchase agreement (.20); review re: LedgerX (.10);
                                               call with H. Beard re: tax implications re: venture sale
                                               (.10).
03/20/2023 Gabrielle Pacia                0.30 Review bidder deadlines in response to bidder
                                               questions.
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Date         Name                        Hours Description
03/20/2023 Jessica Ljustina                6.50 Meeting with M. Friedman re: LedgerX sale process
                                                (.20); call with M. Friedman re: LedgerX sale process
                                                (.10); review and revise LedgerX purchase agreement
                                                (1.5); correspondence with PWP team re: same (.20);
                                                correspondence with A&M team re: same (.20);
                                                review and revise LedgerX sale order (3.2);
                                                correspondence with M. Friedman re: LedgerX
                                                purchase agreement and sale order (.20); review and
                                                revise responses to UST comments on LedgerX
                                                purchase agreement (.30); correspondence with M.
                                                Friedman, M. Wu, A. Kranzley and A. Cohen re:
                                                response to UST comments on LedgerX sale
                                                documentation (.30); correspondence with D.
                                                Gambino re: LedgerX consents (.10); respond to UST
                                                request re: FTX sales processes (.20).
03/20/2023 James Patton                    1.00 Review de minimis asset purchase agreement (.60);
                                                meeting with J. Lloyd and H. Kim re: de minimis asset
                                                purchase agreement (.20); correspondence with H.
                                                Kim re: corporate question re: Cottonwood Grove
                                                director (.10); review corporate questions re: bidder
                                                bid draft (.10).
03/20/2023 Andrew Brod                     2.50 Revise purchase agreement.
03/20/2023 Arthur Courroy                  0.40 Save and prepare documents to review drafts re:
                                                relevant third party matters.
03/20/2023 Dominick Gambino                2.20 Draft board and shareholder consents re: LedgerX
                                                sale process.
03/20/2023 Jinny Lee                       0.40 Update S&C comments on NDA and send back to
                                                bidder.
03/20/2023 Corey Stern                     4.10 Update sale motion for sale of fund asset (1.8); draft
                                                corporate approvals re: same (1.2); update PWP
                                                declaration re: same (.80); call with H. Beard re:
                                                corporate approvals for venture sale transaction (.30).
03/20/2023 Naiquan Zhang                   1.30 Mark up and circulate NDAs (.80); incorporate
                                                comments into non-reliance letter (.50).
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Date         Name                              Hours Description
03/20/2023 Lilian Zhao                           5.80 Prepare wire instruction documents (1.0); revise de
                                                      minimis asset sale agreement (4.8).
03/21/2023 Audra Cohen                           6.50 Correspondence with various teams re: investment
                                                      sale (2.2); call with S&C, A&M, J. Ray (FTX),
                                                      PWP, Paul Hastings, Jefferies and FTI re: sale
                                                      process updates (1.0); call with S&C team re: same
                                                      (.50); call with venture company counsel, R. O’Neill,
                                                      M. Wu and J. MacDonald re: sales documentation
                                                      (.50); correspondence with various teams re:
                                                      investments and sale process (.90); correspondence
                                                      with various teams re: LedgerX sale process (1.1);
                                                      correspondence with various teams re: other sales
                                                      processes (.30).
03/21/2023 Rita-Anne O'Neill                     3.00 Call with venture company counsel, A. Cohen, M. Wu
                                                      and J. MacDonald re: sales documentation (.50);
                                                      review documents re: venture sales (2.5).
03/21/2023 Evan Simpson                          1.50 Call with S&C, A&M, J. Ray (FTX), PWP, Paul
                                                      Hastings, Jefferies and FTI re: sale process updates
                                                      (1.0); prepare for call with UCC advisors re: FTX
                                                      Europe and related topics (.50).
03/21/2023 Oderisio de Vito Piscicelli           0.50 Call with Swiss counsel re: relevant third party and
                                                      reporting internally re: Swiss advice.
03/21/2023 Jameson Lloyd                         0.10 Review re: fund summary packet.
03/21/2023 Alexa Kranzley                        0.90 Review and revise Mysten Labs motion, order and
                                                      declaration.
03/21/2023 Mimi Wu                               7.70 Call with S&C, A&M, J. Ray (FTX), PWP, Paul
                                                      Hastings, Jefferies and FTI re: sale process updates
                                                      (1.0); call with venture company counsel, A. Cohen,
                                                      R. O’Neill and J. MacDonald re: sales documentation
                                                      (.50); attend board meeting re: sales (1.0); review
                                                      finalizing sale documents for potential venture sale
                                                      (4.0); review LedgerX sale (1.2).
03/21/2023 James Simpson                         4.80 Review Mysten transaction approval and related
                                                      director change documentation (2.8); correspondence
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                                                      with various teams re: Hong Kong director change
                                                      process (.80); coordinate director change process
                                                      (1.2)
03/21/2023 Jeffrey MacDonald                   10.20 Prepare sale documentation for venture company sale
                                                     (9.7); call with venture company counsel, A. Cohen,
                                                     R. O’Neill and M. Wu re: sales documentation (.50).
03/21/2023 Fabio Weinberg Crocco                2.10 Call with R. Bell (A&M), A. Titus (A&M) and A.
                                                     Toobin re: LPMF records and process (1.0);
                                                     correspondence with A. Kranzley re: same (.50);
                                                     review background documents (.30); correspondence
                                                     with current LedgerPrime personnel re: same (.30).
03/21/2023 Mitchell Friedman                    7.30 Call with S&C, A&M, J. Ray (FTX), PWP, Paul
                                                     Hastings, Jefferies and FTI re: sale process updates
                                                     (1.0); call with J. Ljustina re: LedgerX sale order
                                                     (.40); review and comment on LedgerX FY 2022
                                                     financial statements and related emails (1.8); review
                                                     and revise bidder purchase agreement markup and
                                                     ancillaries (1.7); review and revise form of sale order
                                                     per ongoing feedback (1.3); review and comment on
                                                     non-reliance letter (.30); email correspondence with
                                                     S&C and PWP teams re: sale processes (.80).
03/21/2023 Hannah Beard                         4.20 Prepare sale documentation for venture sales and
                                                     related correspondence.
03/21/2023 Linda Chen                           1.00 Review NDA markups from potential bidders.
03/21/2023 D. Wil Gould                         5.60 Correspondence with R. Simmons re: research re:
                                                     trust company (.20); research re: winding down
                                                     process (2.2); draft of memo re: same (3.0);
                                                     correspondence with R. Simmons re: outline (.20)
03/21/2023 HyunKyu Kim                          0.30 Review Mysten purchase agreement.
03/21/2023 Jessica Ljustina                     4.70 Review and revise LedgerX purchase agreement
                                                     (.30); correspondence with M. Friedman re: same
                                                     (.10); correspondence with PWP team re: same (.20);
                                                     call with M. Friedman re: LedgerX sale order (.40);
                                                     review and revise sale order (2.7); draft response to
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Date        Name                         Hours Description

                                                 UST comments on LedgerX sale documentation (.20);
                                                 correspondence with A. Kranzley re: same (.20);
                                                 correspondence with M. Friedman and D. Gambino
                                                 re: same (.20); correspondence with M. Wu, M.
                                                 Friedman, J. MacDonald, H. Beard and C. Stern re:
                                                 interested parties list (.10); review motion re: venture
                                                 investments (.20); correspondence with M. Wu re:
                                                 same (.10).
03/21/2023 Andrew Brod                     1.60 Revise purchase agreement.
03/21/2023 Arthur Courroy                  0.60 Prepare documents to review relevant third party
                                                agreements.
03/21/2023 Dominick Gambino                3.00 Research and summarize sale orders in response to
                                                comments to LedgerX sale order (2.7); review internal
                                                LedgerX VDR to respond to bidder's due diligence
                                                requests (.30).
03/21/2023 Jinny Lee                       2.00 Prepare bidder information summary and execution
                                                versions of NDA.
03/21/2023 Corey Stern                     4.70 Update sale motion for sale of venture asset (3.7);
                                                update sale order re: same (1.0).
03/21/2023 Adam Toobin                     1.00 Call with R. Bell (A&M), A. Titus (A&M) and F.
                                                Weinberg Crocco re: LPMF records and process.
03/21/2023 Naiquan Zhang                   0.60 Revise non-reliance letter.
03/21/2023 Lilian Zhao                     0.60 Revise de minimis asset sale agreement.
03/22/2023 Audra Cohen                     7.30 Call with M. Wu, M. Friedman, D. Handelsman, G.
                                                Pacia and PWP re: status of Embed and LedgerX
                                                (.30); correspondence with various teams re: finalize
                                                investment sale agreement (2.8); correspondence with
                                                various teams re: private sale motion matters (1.2);
                                                correspondence with R. O’Neill re: investment sale
                                                (.70); correspondence with various teams re:
                                                investments (.80); correspondence with various teams
                                                re: LedgerX sales process and agreement (.90); call
                                                with counsel to investment company re: sale process
                                                (.60).
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Date         Name                              Hours Description
03/22/2023 Brian Glueckstein                     2.20 Review and comment on Mysten Labs motion and
                                                      supporting documents (.40); call with E. Simpson re:
                                                      claims in relation to escrow deposit (.30); follow-up
                                                      analysis re: same (.50); review and analyze documents
                                                      re: relevant third party escrow deposit dispute (1.0).
03/22/2023 Rita-Anne O'Neill                     3.10 Call with PWP, A&M, M. Wu, J. MacDonald and H.
                                                      Beard re: venture sales process (.30); call with PWP
                                                      re: venture sales process (.30); review documents re:
                                                      venture sales (2.1); call with venture company, PWP,
                                                      E. Simpson, O. de Vito Piscicelli, M. Wu, J.
                                                      MacDonald and H. Beard re: sale process (.40).
03/22/2023 Evan Simpson                          0.70 Call with venture company, PWP, O. de Vito
                                                      Piscicelli, R. O’Neill, M. Wu, J. MacDonald and H.
                                                      Beard re: sale process (.40); call with B. Glueckstein
                                                      re: claims in relation to escrow deposit (.30).
03/22/2023 Jeannette Bander                      0.20 Analyze questions from M. Wu re: relevant third party.
03/22/2023 James McDonald                        0.60 Call with LedgerX counsel re: sale process and
                                                      correspondence with S&C team re: same.
03/22/2023 Oderisio de Vito Piscicelli           1.30 Call with venture company, PWP, R. O’Neill, E.
                                                      Simpson, M. Wu, J. MacDonald and H. Beard re:
                                                      sale process (.40); prepare for call with relevant third
                                                      party, Swiss counsel and send note to S&C M&A
                                                      team with re: same (.90).
03/22/2023 Alexa Kranzley                        2.00 Review and revise Mysten Labs sale motion, order
                                                      and declaration (1.2); correspondence with internal
                                                      team re: same and related issues (.50);
                                                      correspondence with LRC team re: filing and service
                                                      of same (.30).
03/22/2023 Mimi Wu                               7.60 Call with A. Cohen, M. Friedman, D. Handelsman, G.
                                                      Pacia and PWP re: status of Embed and LedgerX
                                                      (.30); call with venture company, PWP, O. de Vito
                                                      Piscicelli, R. O’Neill, E. Simpson, J. MacDonald and
                                                      H. Beard re: sale process (.40); call with PWP,
                                                      A&M, R. O’Neill, J. MacDonald and H. Beard re:
                                                      venture sales process (.30); review, finalize and
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Date        Name                              Hours Description

                                                      execute venture sale documents (5.0); review
                                                      LedgerX sales process (1.6).
03/22/2023 James Simpson                        7.50 Coordinate director change and transaction approval
                                                     process re: Mysten transaction (3.8); review approval
                                                     documents and send instructions re: same (3.6); call
                                                     with H. Beard re: corporate approval for venture sale
                                                     (.10).
03/22/2023 Jeffrey MacDonald                   14.20 Prepare sales documentation for venture company sale
                                                     (13.5); call with PWP, A&M, R. O’Neill, M. Wu and
                                                     H. Beard re: venture sales process (.30); call with
                                                     venture company, PWP, O. de Vito Piscicelli, R.
                                                     O'Neill, E. Simpson, M. Wu and H. Beard re: sale
                                                     process (.40).
03/22/2023 Fabio Weinberg Crocco                0.40 Correspondence with A. Kranzley re: Cayman debtor.
03/22/2023 Mitchell Friedman                    2.70 Call with D. Handelsman re: sale process updates
                                                     (.10); call with A. Cohen, M. Wu, D. Handelsman, G.
                                                     Pacia and PWP re: status of Embed and LedgerX
                                                     (.30); call with J. Ljustina re: sale processes (.10);
                                                     revise bidder purchase agreement (.60); compile
                                                     interested parties list (.40); email correspondence with
                                                     S&C and PWP teams re: sale process (1.2).
03/22/2023 Dylan Handelsman                     0.80 Call with A. Cohen, M. Wu, M. Friedman, G. Pacia
                                                     and PWP re: status of Embed and LedgerX (.30); call
                                                     with M. Friedman re: sale process updates (.10); list
                                                     each Embed interested party for filing (.40).
03/22/2023 Hannah Beard                         4.30 Prepare sale documentation for venture sales and
                                                     related correspondence (3.6); call with J. Simpson re:
                                                     corporate approval for venture sale (.10); call with
                                                     venture company, PWP, O. de Vito Piscicelli, R.
                                                     O’Neill, E. Simpson, M. Wu and J. MacDonald re:
                                                     sale process (.30 - partial attendance); call with PWP,
                                                     A&M, R. O’Neill, M. Wu and J. MacDonald re:
                                                     venture sales process (.30).
03/22/2023 HyunKyu Kim                          0.70 Review Mysten documents (.20); review sale process
                                                     (.50).
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03/22/2023 Elizabeth Levin                  0.20 Review LedgerPrime materials.
03/22/2023 Daniel O'Hara                    0.30 Revise escrow agreement.
03/22/2023 Gabrielle Pacia                  0.50 Call with A. Cohen, M. Wu, M. Friedman, D.
                                                 Handelsman, G. Pacia and PWP re: status of Embed
                                                 and LedgerX (.30); review new bidders (.20).
03/22/2023 Jessica Ljustina                 2.00 Call with M. Friedman re: sale processes (.10); review
                                                 LedgerX sale process (.20); correspondence with M.
                                                 Friedman re: same (.20); summarize interested parties
                                                 (.60); correspondence with C. Stern, M. Friedman,
                                                 M. Wu, J. MacDonald, D. Handelsman and H. Beard
                                                 re: same (.30); correspondence with A. Kranzley re:
                                                 same (.20); correspondence with PWP team re: same
                                                 (.20); review LedgerX sale order (.10);
                                                 correspondence with M. Friedman, J. MacDonald, H.
                                                 Beard, C. Stern and N. Zhang re: same (.10).
03/22/2023 James Patton                     0.50 Implement changes to Mysten purchase agreement.
03/22/2023 Arthur Courroy                   7.30 Coordinate with local counsel re: execution version of
                                                 resolutions for Hong Kong and BVI entities re: sale
                                                 transaction, coordinate internally with J. Simpson,
                                                 review drafts and comments from local counsel,
                                                 prepare execution versions, signature pages and
                                                 signing instructions for directors (6.5); review
                                                 comments to relevant third party documents and
                                                 implement and prepare documents (.80).
03/22/2023 Corey Stern                      2.70 Update sale motion and order for sale of venture asset
                                                 (1.9); update declaration re: same (.60); compile list of
                                                 interested parties in Embed for filing (.20).
03/22/2023 Adam Toobin                      0.90 Review cash management order and LPMF
                                                 background (.40); draft note re: authorization to make
                                                 certain transfers (.50).
03/22/2023 Naiquan Zhang                    1.10 Circulate NDA and update tracker (.20); mark up
                                                 NDA (.40); revise Mysten sale motion and order
                                                 (.50).
03/23/2023 Stephanie Wheeler                0.10 Meeting with D. Handelsman re: Embed.
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Date         Name                              Hours Description

03/23/2023 Audra Cohen                           2.50 Correspondence with various teams re: investments
                                                      (.70); correspondence with various teams re: sales
                                                      processes (.80); correspondence with various teams
                                                      re: investment sale (.50); call with FTX board
                                                      members, PWP, R. O'Neill, E. Simpson, M. Wu, J.
                                                      MacDonald and H. Beard re: update on ventures sale
                                                      process (.50 - partial attendance).
03/23/2023 Rita-Anne O'Neill                     2.60 Call with FTX board members, PWP, A. Cohen, E.
                                                      Simpson, M. Wu, J. MacDonald and H. Beard re:
                                                      update on ventures sale process (1.5); call with A&M,
                                                      QE, PWP, M. Wu and J. MacDonald re: update on
                                                      ventures sale process (.50); review documents re:
                                                      venture sales (.60).
03/23/2023 Mehdi Ansari                          0.40 Email correspondence with M. Wu and L. Levin re:
                                                      LedgerPrime.
03/23/2023 Evan Simpson                          2.00 Call with FTX board members, PWP, A. Cohen, R.
                                                      O'Neill, M. Wu, J. MacDonald and H. Beard re:
                                                      update on ventures sale process (1.5); draft board
                                                      minutes and resolutions (.50).
03/23/2023 James McDonald                        0.30 Correspondence to S&C team re: LedgerX.
03/23/2023 Oderisio de Vito Piscicelli           0.40 Correspondence with interested party re: venture
                                                      assets.
03/23/2023 Alexa Kranzley                        0.20 Correspondence with internal team re: sale issues.
03/23/2023 Sarah Long                            0.10 Update re: Embed bid process.
03/23/2023 Mimi Wu                               8.60 Call with A. Titus (A&M), S. Glustein (A&M), J.
                                                      MacDonald and F. Weinberg Crocco re:
                                                      LedgerPrime (.50); call with FTX board members,
                                                      PWP, A. Cohen, R. O’Neill, J. MacDonald and H.
                                                      Beard re: update on ventures sale process (1.5); call
                                                      with A&M, QE, PWP, R. O'Neill and J. MacDonald
                                                      re: update on ventures sale process (.50); review
                                                      LedgerPrime matters (.50); review ventures sales and
                                                      fund sale processes (2.0); review LedgerX and
                                                      Embed sale processes and correspondence with PWP
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                                                      re: same (3.6).
03/23/2023 Aaron Levine                         0.20 Review emails re: Embed bids (.10); email
                                                     correspondence with various teams re: LedgerX bid
                                                     (.10).
03/23/2023 Jeffrey MacDonald                    8.00 Prepare venture company sale documentation (5.5);
                                                     call with FTX board members, PWP, A. Cohen, R.
                                                     O'Neill, E. Simpson, M. Wu and H. Beard re: update
                                                     on ventures sale process (1.5); call with A&M, QE,
                                                     PWP, R. O'Neill and M. Wu re: update on ventures
                                                     sale process (.50); call with A. Titus (A&M), S.
                                                     Glustein (A&M), M. Wu and F. Weinberg Crocco re:
                                                     LedgerPrime (.50).
03/23/2023 Fabio Weinberg Crocco                0.50 Call with A. Titus (A&M), S. Glustein (A&M), M.
                                                     Wu and J. MacDonald re: LedgerPrime.
03/23/2023 Mitchell Friedman                    3.70 Email correspondence with S&C and PWP teams re:
                                                     sale process (2.2); review and revise bidder markups
                                                     to purchase agreement (1.1); review bid materials for
                                                     Embed (.40).
03/23/2023 Dylan Handelsman                     2.90 Email correspondence with various teams re: bidders
                                                     and NDAs (.50); review Embed-related filings in
                                                     preparation for incoming bid (.70); review Embed Bid
                                                     and prepare summary bullets (1.6); meeting with S.
                                                     Wheeler re: Embed (.10).
03/23/2023 KJ Lim                               0.30 Review and respond to questions re: LedgerPrime.
03/23/2023 Hannah Beard                         4.10 Prepare sale documentation re: venture sales and
                                                     related correspondence (2.6); call with FTX board
                                                     members, PWP, A. Cohen, R. O'Neill, E. Simpson,
                                                     M. Wu and J. MacDonald re: update on ventures sale
                                                     process (1.5).
03/23/2023 Alexander Capogna                    0.10 Review Embed bid.
03/23/2023 Linda Chen                           0.80 Review NDA markups from potential bidders.
03/23/2023 HyunKyu Kim                          0.80 Review Embed offer letter (.70); review current
                                                     transactions (.10).
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Date         Name                         Hours Description
03/23/2023 Elizabeth Levin                  0.20 Analyze LedgerPrime considerations and email
                                                 overview of IP points.
03/23/2023 Daniel O'Hara                    0.30 Revise escrow agreement.
03/23/2023 Gabrielle Pacia                  0.50 Review Embed bid.
03/23/2023 Jessica Ljustina                 6.40 Review LedgerX sale process (.20); correspondence
                                                 with M. Wu and M. Friedman re: same (.10); review
                                                 and revise LedgerX disclosure schedules and
                                                 purchase agreement (4.0); correspondence with M.
                                                 Friedman and D. Gambino re: same (.30); review
                                                 affidavit of service for initial assignment notice (.10);
                                                 correspondence with A&M team re: same (.10);
                                                 review and revise interested parties list (1.0);
                                                 correspondence with PWP team re: same (.10);
                                                 correspondence with M. Wu, J. MacDonald, M.
                                                 Friedman and H. Beard re: same (.10); review and
                                                 respond to LedgerX diligence requests (.10);
                                                 correspondence with M. Friedman re: same (.10);
                                                 correspondence with PWP team re: same (.10);
                                                 review FTX sales processes (.10).
03/23/2023 James Patton                     0.30 Create list of assets sold.
03/23/2023 Arthur Courroy                   1.30 Review correspondence from Hong Kong local
                                                 counsel re: execution instructions, coordinate with J.
                                                 Simpson re: same, review signature pages, and
                                                 prepare revised packet (.70); update relevant third
                                                 party documents and prepare documents for review
                                                 by counterparts (.60).
03/23/2023 Naiquan Zhang                    6.60 Mark up NDA and circulate comments (1.2); draft
                                                 supplemental declaration in support (2.4); draft
                                                 bankruptcy research tips (.40); revise Sequoia private
                                                 sale order (.80); summarize transfer restrictions and
                                                 consent rights re: certain investments (1.8).
03/23/2023 Lilian Zhao                      0.30 Research re: sale power.
03/24/2023 Steven Holley                    0.50 Review information re: bid for Embed.
03/24/2023 Stephanie Wheeler                0.40 Email correspondence with D. Gambino re: LedgerX
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Date         Name                              Hours Description

                                                       updates (.10); email correspondence with M.
                                                       Friedman and M. Strand re: LedgerX employee
                                                       matters (.20); call with M. Friedman re: LedgerX sale
                                                       issues (.10).
03/24/2023 Audra Cohen                           7.60 Call with M. Wu and M. Friedman re: LedgerX
                                                      purchase agreement (.80); correspondence with
                                                      various teams re: investment sales and court
                                                      documents (1.4); review and correspondence with
                                                      various teams re: LedgerX revised agreement (3.5);
                                                      correspondence with various teams re: sales processes
                                                      and bidders (1.6); correspondence with various teams
                                                      re: regulatory (.30).
03/24/2023 Rita-Anne O'Neill                     0.20 Review correspondence re: venture sales.
03/24/2023 Mehdi Ansari                          0.30 Review letter correspondence with contract
                                                      counterparty re: termination of services.
03/24/2023 Oderisio de Vito Piscicelli           0.40 Provide details of interested party and related
                                                      background to PWP.
03/24/2023 Alexa Kranzley                        0.40 Review declarations in support of Sequoia sale (.20);
                                                      correspondence with UST re: same (.20).
03/24/2023 Bradley Harsch                        0.10 Email correspondence with J. McDonald re:
                                                      background on debtor entity.
03/24/2023 Mimi Wu                               5.20 Call with M. Friedman re: LedgerX purchase
                                                      agreement (.50); call with A. Cohen and M. Friedman
                                                      re: LedgerX purchase agreement (.80); review
                                                      LedgerX purchase agreement (1.2); call with N.
                                                      Nussbaum (PWP) re: LedgerX and Embed (.40);
                                                      review venture sales matters (2.3).
03/24/2023 James Simpson                         1.90 Draft form of liquidator NDA (1.7); coordinate
                                                      liquidator process (.20).
03/24/2023 Aaron Levine                          0.40 Revise bidder documents.
03/24/2023 Jeffrey MacDonald                     7.50 Prepare venture company sales documentation (7.3);
                                                      call with H. Kim and H. Beard re: venture sales
                                                      agreement (.20).
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Date         Name                         Hours Description
03/24/2023 Mitchell Friedman               10.30 Call with J. Ljustina and D. Gambino re: revisions to
                                                 LedgerX disclosure schedules (.50); call with S.
                                                 Wheeler re: LedgerX sale issues (.10); call with M.
                                                 Wu re: LedgerX purchase agreement (.50); call with
                                                 A. Cohen and M. Wu re: LedgerX purchase
                                                 agreement (.80); call with PWP re: LedgerX net
                                                 working capital (.50); email correspondence with
                                                 various teams re: sale process (.80); review and revise
                                                 bidder purchase agreement and ancillaries and review
                                                 related emails (7.1).
03/24/2023 Dylan Handelsman                 0.40 Review NDA bullets.
03/24/2023 Hannah Beard                     3.30 Prepare sale documentation for venture sales and
                                                 related correspondence (3.1); call with J. MacDonald
                                                 and H. Kim re: venture sales agreement (.20).
03/24/2023 D. Wil Gould                     0.10 Correspondence with R. Simmons re: wind down
                                                 process.
03/24/2023 HyunKyu Kim                      0.60 Review re: LedgerX (.10); call with J. MacDonald
                                                 and H. Beard re: venture sales agreement (.20);
                                                 review of asset purchase documents (.30).
03/24/2023 Jessica Ljustina                 7.70 Call with M. Friedman and D. Gambino re: revisions
                                                 to LedgerX disclosure schedules (.50); call with D.
                                                 Gambino re: coordinate revisions to LedgerX
                                                 disclosure schedules (.20); draft and revise profiles of
                                                 LedgerX interested parties (1.2); correspondence with
                                                 M. Friedman, L. Chen and D. Handelsman re:
                                                 interested parties (.20); correspondence with PWP
                                                 team re: same (.20); review and revise NDA for
                                                 interested party (.30); correspondence with interested
                                                 party re: NDA (.20); respond to LedgerX diligence
                                                 requests (.20); correspondence with PWP team, M.
                                                 Friedman and M. Wu re: same (.10); review and
                                                 revise LedgerX disclosure schedules and purchase
                                                 agreement (3.0); correspondence with M. Friedman
                                                 and D. Gambino re: same (.20); correspondence with
                                                 PWP team re: LedgerX purchase agreement (.10);
                                                 correspondence with LedgerX team re: disclosure
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Date        Name                          Hours Description

                                                  schedules (.70); review LedgerX sale documentation
                                                  (.20); correspondence with A. Kranzley re: interested
                                                  parties list (.10); review LedgerX sale process (.30).
03/24/2023 James Patton                     1.40 Create list of assets sold (1.0); review corporate team
                                                 question re: LedgerX tax representatives (.10); review
                                                 de minimis asset purchase agreement comments (.30).
03/24/2023 Andrew Brod                      0.30 Prepare informational bullets re: bidder.
03/24/2023 Arthur Courroy                   0.20 Prepare documents to circulate to counsel re: relevant
                                                 third party.
03/24/2023 Dominick Gambino                 2.00 Call with M. Friedman and J. Ljustina re: revisions to
                                                 LedgerX disclosure schedules (.50); call with J.
                                                 Ljustina re: coordinate revisions to LedgerX disclosure
                                                 schedules (.20); revise disclosure schedules (1.3).
03/24/2023 Naiquan Zhang                    1.40 Revise supplemental declaration for Sequoia sale
                                                 motion (1.1); mark up NDA (.30).
03/24/2023 Lilian Zhao                      3.10 Research re: sale power.
03/25/2023 Stephanie Wheeler                0.30 Email correspondence with M. Friedman and S.
                                                 Holley re: bidder requests.
03/25/2023 Audra Cohen                      2.10 Correspondence with various teams re: business sale
                                                 purchase agreements (.70); correspondence with
                                                 various teams re: investments (.80); correspondence
                                                 with various teams re: investment sales agreements
                                                 (.40); correspondence with various teams re: UCC
                                                 diligence (.20).
03/25/2023 Rita-Anne O'Neill                2.20 Review documents re: venture sales.
03/25/2023 Mimi Wu                          1.40 Revise LedgerX purchase agreement (.70);
                                                 correspondence with PWP and internal team re:
                                                 venture sales (.70).
03/25/2023 Aaron Levine                     0.10 Review emails re: bidder documents.
03/25/2023 Jeffrey MacDonald                1.00 Prepare venture company sales documentation.
03/25/2023 Mitchell Friedman                2.10 Review and revise purchase agreement from potential
                                                 LedgerX bidder.
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Date         Name                         Hours Description
03/25/2023 Hannah Beard                     3.30 Prepare sale documentation for venture sales and
                                                 related correspondence.
03/25/2023 HyunKyu Kim                      0.20 Review re: bidder documents.
03/25/2023 Jessica Ljustina                 3.00 Review and revise motion re: venture investments
                                                 (2.7); review LedgerX purchase agreement (.10);
                                                 correspondence with M. Friedman re: same (.10);
                                                 review LedgerX sale process (.10).
03/26/2023 Audra Cohen                      0.80 Correspondence with various teams re: investment
                                                 sale approvals (.30); correspondence with various
                                                 teams re: venture sales (.50)
03/26/2023 Rita-Anne O'Neill                0.90 Review documents re: venture sales.
03/26/2023 Alexa Kranzley                   0.30 Correspondence with internal team re: sale matters
                                                 and related issues.
03/26/2023 Mimi Wu                          0.30 Correspondence with PWP re: venture sales.
03/26/2023 Jeffrey MacDonald                1.00 Prepare venture company sales documentation.
03/26/2023 Mitchell Friedman                0.30 Email correspondence with S&C and PWP teams re:
                                                 sale process.
03/26/2023 HyunKyu Kim                      0.60 Review re: bidder documents.
03/26/2023 Jessica Ljustina                 0.80 Work on motion re: venture investments (.40);
                                                 correspondence with M. Wu re: same (.10); review
                                                 and revise LedgerX disclosure schedules (.30).
03/26/2023 James Patton                     1.20 Review bidder purchase agreement.
03/26/2023 Andrew Brod                      0.50 Prepare resolution for purchase agreement.
03/26/2023 Naiquan Zhang                    1.50 Draft board resolution approving sale of limited
                                                 partner interests.
03/26/2023 Lilian Zhao                      4.50 Draft board resolution (.60); research re: sale power
                                                 (3.9).
03/27/2023 Stephanie Wheeler                0.40 Correspondence with M. Wu re: Embed (.10);
                                                 correspondence with W. Scheffer re: same (.10);
                                                 correspondence with S. Holley re: same (.10); email
                                                 correspondence with relevant third party re: Embed
                                                 (.10).
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03/27/2023 Audra Cohen                      6.20 Call with R. O’Neill, M. Wu, J. MacDonald and H.
                                                 Beard re: venture sales documentation and process
                                                 (1.1); call with C. Dunne, M. Wu and D. Handelsman
                                                 re: Embed (.40); call with Paul Hastings, R. O’Neill,
                                                 M. Wu and J. MacDonald re: current venture
                                                 investment sales process (.50); correspondence with
                                                 various teams re: investments (.60); correspondence
                                                 with various teams re: LedgerX and Embed sales
                                                 processes (2.3); correspondence with various teams
                                                 re: UCC diligence (.20); correspondence with various
                                                 teams re: motions (.30); call with M. Wu and M.
                                                 Friednamn re: LedgerX purchase agrement (.80).
03/27/2023 Rita-Anne O'Neill                3.20 Call with A. Cohen, M. Wu, J. MacDonald and H.
                                                 Beard re: venture sales documentation and process
                                                 (1.0 - partial attendance); call with Paul Hastings, A.
                                                 Cohen, M. Wu and J. MacDonald re: current venture
                                                 investment sales process (.50); review documents re:
                                                 venture sales (1.7).
03/27/2023 Christopher Dunne                0.40 Call with A. Cohen, M. Wu and D. Handelsman re:
                                                 Embed.
03/27/2023 Mehdi Ansari                     0.20 Email correspondence with S&C team re: regulatory
                                                 analysis for IP license.
03/27/2023 Jameson Lloyd                    0.90 Review re: transaction agreements.
03/27/2023 Alexa Kranzley                   1.00 Review and revise supplemental declaration for
                                                 Sequoia sale (.40); correspondence with internal team
                                                 re: same (.20); correspondence with J. Ray (FTX) re:
                                                 same (.20); correspondence with UST re: same (.20).
03/27/2023 Bradley Harsch                   0.10 Review email re: status of review of Embed materials.
03/27/2023 Sarah Long                       0.10 Review question re: employee arrangements.
03/27/2023 Mimi Wu                          5.70 Call with M. Friedman re: LedgerX purchase
                                                 agreement (.50); call with A. Cohen and M. Friedman
                                                 re: LedgerX purchase agreement (.80); call with A.
                                                 Cohen, R. O’Neill, J. MacDonald and H. Beard re:
                                                 venture sales documentation and process (1.1); call
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Date        Name                              Hours Description

                                                      with A. Cohen, C. Dunne and D. Handelsman re:
                                                      Embed (.40); call with Paul Hastings, A. Cohen, R.
                                                      O’Neill and J. MacDonald re: current venture
                                                      investment sales process (.50); review LedgerX sale
                                                      agreement and process (2.0); correspondence with
                                                      internal team re: venture sales (.40).
03/27/2023 Jeffrey MacDonald                    9.40 Review diligence materials re: venture companies
                                                     (7.6); call with A. Cohen, R. O’Neill, M. Wu and H.
                                                     Beard re: venture sales documentation and process
                                                     (1.1); call with venture company counsel, L. Chen and
                                                     N. Zhang re: current confidentiality agreement (.20);
                                                     call with Paul Hastings, A. Cohen, R. O'Neill and M.
                                                     Wu re: current venture investment sales process (.50).
03/27/2023 Fabio Weinberg Crocco                1.10 Meeting with B. Zonenshayn re: issues relating to
                                                     Cayman debtor (.20); call with B. Zonenshayn and K.
                                                     Kearney (A&M) re: same (.10); call with B.
                                                     Zonenshayn and A. Titus (A&M) re: same (.10);
                                                     meeting with B. Zonenshayn re: issues relating to
                                                     Cayman debtor (.40); correspondence with current
                                                     LedgerPrime personnel re: same (.30).
03/27/2023 Mitchell Friedman                    3.10 Review and comment on LedgerX revised disclosure
                                                     schedules (.60); conduct bidder due diligence and
                                                     review related emails (.50); revise bidder purchase
                                                     agreement and UCC correspondence re: same (.70);
                                                     call with A. Cohen and M. Wu re: LedgerX purchase
                                                     agreement (.80); call with M. Wu re: LedgerX
                                                     purchase agreement (.50).
03/27/2023 Dylan Handelsman                     1.40 Call with A. Cohen, C. Dunne and M. Wu re: Embed
                                                     (.40); prepare for call re: same (.30); draft and revise
                                                     email to J. Ray (FTX) re: Embed (.70).
03/27/2023 Hannah Beard                         6.90 Prepare sale documentation for venture sales and
                                                     related correspondence (5.8); call with A. Cohen, R.
                                                     O’Neill, M. Wu and J. MacDonald re: venture sales
                                                     documentation and process (1.1).
03/27/2023 Linda Chen                           0.70 Review NDA markups from potential bidders (.50);
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Date         Name                        Hours Description

                                                 call with venture company counsel, J. MacDonald and
                                                 N. Zhang re: current confidentiality agreement (.20).
03/27/2023 HyunKyu Kim                     0.50 Review de minimis sale documents.
03/27/2023 Gabrielle Pacia                 0.90 Review updated sale notice (.30); review bidder
                                                summaries (.60).
03/27/2023 Jessica Ljustina                6.40 Review and revise LedgerX sale documentation (1.5);
                                                correspondence with D. Gambino re: same (.10);
                                                correspondence with M. Friedman re: same (.20);
                                                review and revise LedgerX disclosure schedules (1.6);
                                                correspondence with M. Friedman re: same (.30);
                                                correspondence with M. Wu, S. Long and A.
                                                Capogna re: same (.10); correspondence with
                                                LedgerX team re: same (.30); review LedgerX
                                                purchase agreement (.70); correspondence with M.
                                                Friedman and M. Wu re: same (.10); correspondence
                                                with Paul Hastings team re: same (.10); draft notice of
                                                revised dates for Embed sale (.50); correspondence
                                                with D. Handelsman and M. Wu re: same (.20);
                                                correspondence with A. Kranzley and A. Cohen re:
                                                same (.10); review and revise motion re: venture
                                                investments (.20); correspondence with M. Wu re:
                                                same (.10); correspondence with A. Kranzley and A.
                                                Cohen re: same (.20); review LedgerX sale process
                                                (.10).
03/27/2023 James Patton                    0.30 Review bidder purchase agreement.
03/27/2023 Arthur Courroy                  0.30 Implement comments to relevant third party and
                                                former FTX personnel documents and motions
                                                received from outside counsel, prepare documents
                                                necessary for review.
03/27/2023 Dominick Gambino                2.30 Revise draft of purchase and sale agreement per
                                                comments (1.2); review and comment on form of
                                                assumption and assignment received from bidder re:
                                                LedgerX sale process (.80); coordinate with J.
                                                MacDonald re: potential updates to LedgerX
                                                disclosure schedules (.30).
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Date        Name                            Hours Description
03/27/2023 Adam Toobin                        0.20 Call with B. Zonenshayn re: LPMF updates.
03/27/2023 Naiquan Zhang                      4.30 Update internal tracker for sale transactions (1.0);
                                                   revise J. Ray (FTX) declaration supporting Sequoia
                                                   sale (1.3); mark up NDAs and incorporate comments
                                                   (1.8); call with venture company counsel, J.
                                                   MacDonald and L. Chen re: current confidentiality
                                                   agreement (.20).
03/27/2023 Lilian Zhao                        3.60 Research re: sale power (2.1); draft board resolution
                                                   (1.5).
03/27/2023 Benjamin Zonenshayn                3.70 Compare Cayman debtor trade counterparty
                                                   documentation (.10); correspondence with F.
                                                   Weinberg Crocco and A. Kranzley re: same (.20);
                                                   meeting with F. Weinberg Crocco re: issues relating to
                                                   Cayman debtor (.20); call with F. Weinberg Crocco
                                                   and K. Kearney (A&M) re: same (.10); call with F.
                                                   Weinberg Crocco and A. Titus (A&M) re: same
                                                   (.10); meeting with F. Weinberg Crocco re: issues
                                                   relating to Cayman debtor (.40); call with A. Toobin
                                                   re: LPMF updates (.20); work on talking points for
                                                   LPMF (1.8); correspondence with F. Weinberg
                                                   Crocco re: same (.60).
03/28/2023 Audra Cohen                        3.80 Correspondence with various teams re: investments
                                                   (.80); correspondence with various teams re: Embed
                                                   (.60); correspondence with various teams re: LedgerX
                                                   (1.2); meeting with M. Wu and M. Friedman re:
                                                   LedgerX sale process (.50); call with PWP, M. Wu,
                                                   M. Friedman and J. Ljustina re: LedgerX sale process
                                                   (.50); correspondence with various teams re: sales
                                                   processes (.20).
03/28/2023 Rita-Anne O'Neill                  2.20 Review documents re: venture sales.
03/28/2023 Jameson Lloyd                      1.70 Tax review re: transaction documents.
03/28/2023 Alexa Kranzley                     0.90 Send updated sale order to UST and SEC (.30);
                                                   finalize order and declarations for filing (.40);
                                                   coordinate for filing and service of same with LRC
                                                   (.20).
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03/28/2023 Mimi Wu                              4.20 Meeting with A. Cohen and M. Friedman re: LedgerX
                                                     sale process (.50); call with PWP, A. Cohen, M.
                                                     Friedman and J. Ljustina re: LedgerX sale process
                                                     (.50); call with M. Friedman re: LedgerX disclosure
                                                     schedules (.10); review venture sales process and
                                                     purchase agreements (1.2); review LedgerX sale
                                                     matters (1.9).
03/28/2023 Jeffrey MacDonald                    8.40 Prepare venture company sale documentation (8.1);
                                                     meeting with H. Beard re: venture sales agreements
                                                     and process (.30).
03/28/2023 Fabio Weinberg Crocco                1.00 Call with B. Zonenshayn, A. Titus (A&M), S. Glustein
                                                     (A&M), R. Bell (Walkers) and current LedgerPrime
                                                     personnel re: Cayman debtor (.60); meeting with B.
                                                     Zonenshayn re: same (.10); call with B. Zonenshayn,
                                                     A. Titus (A&M) and current LedgerPrime personnel
                                                     re: outstanding LPMF trades (.20); call with B.
                                                     Zonenshayn and A. Titus (A&M) re: same (.10).
03/28/2023 Mitchell Friedman                    5.60 Meeting with J. Ljustina and D. Gambino re: LedgerX
                                                     sale process (.80); meeting with D. Handelsman re:
                                                     NDAs (.20); meeting with A. Cohen and M. Wu re:
                                                     LedgerX sale process (.50); call with PWP, A.
                                                     Cohen, M. Wu and J. Ljustina re: LedgerX sale
                                                     process (.50); call with M. Wu re: LedgerX disclosure
                                                     schedules (.10); call with J. Ljustina re: LedgerX sale
                                                     process (.30); email correspondence with S&C and
                                                     PWP teams re: sales processes (1.4); review and
                                                     revise ancillaries for LedgerX process (1.2); email
                                                     correspondence with various teams re: auction
                                                     process and logistics (.60).
03/28/2023 Dylan Handelsman                     0.80 Meeting with M. Friedman re: NDAs (.20); review
                                                     and respond to emails re: bidders and review bidder
                                                     bullets (.60).
03/28/2023 KJ Lim                               0.10 Review and revise LedgerX purchase agreement.
03/28/2023 Hannah Beard                         6.70 Prepare sale documentation for venture sales and
                                                     related correspondence.
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Date         Name                        Hours Description
03/28/2023 Linda Chen                      0.40 Review NDA markups from potential bidders.
03/28/2023 D. Wil Gould                    1.00 Revise re: wind down outline (.80); correspondence
                                                with R. Simmons re: same (.20).
03/28/2023 HyunKyu Kim                     0.60 Review venture sales documents.
03/28/2023 Gabrielle Pacia                 0.10 Correspondence with internal team re: sales timeline.
03/28/2023 Jessica Ljustina                6.20 Meeting with M. Friedman and D. Gambino re:
                                                LedgerX sale process (.80); meeting with D. Gambino
                                                re: LedgerX work streams (.20); call with PWP, A.
                                                Cohen, M. Wu and M. Friedman re: LedgerX sale
                                                process (.50); call with M. Friedman re: LedgerX sale
                                                process (.30); finalize notice of revised dates for
                                                Embed sale (.10); correspondence with A. Kranzley
                                                and M. Wu re: same (.10); correspondence with LRC
                                                team re: same (.10); review and revise LedgerX sale
                                                documentation (2.8); review LedgerX sale process
                                                (.60); correspondence with M. Friedman and D.
                                                Gambino re: LedgerX sale (.50); correspondence with
                                                LedgerX team re: disclosure schedules (.10); review
                                                initial assignment notice (.10).
03/28/2023 James Patton                    0.80 Review new purchase agreements.
03/28/2023 Andrew Brod                     0.70 Prepare bidder information packets.
03/28/2023 Arthur Courroy                  0.80 Implement comments from E. Simpson re: relevant
                                                third party documents and prepare execution versions.
03/28/2023 Dominick Gambino                7.40 Meeting with M. Friedman and J. Ljustina re:
                                                LedgerX sale process (.80); meeting with J. Ljustina
                                                re: LedgerX work streams (.20); update LedgerX
                                                signing checklist (.30); review LedgerX ancillary
                                                documents re: intellectual property assignment and
                                                incorporate comments (.80); review and redact
                                                LedgerX documents (.30); update disclosure
                                                schedules (2.3); revise board and shareholder
                                                consents re: LedgerX sale process (1.0); research re:
                                                auction procedures (.40); finalize revised disclosure
                                                schedules and ancillary documentation and send to
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Date        Name                            Hours Description

                                                    bidder (.80); review UST comments to other FTX
                                                    sale orders (.50).
03/28/2023 Jinny Lee                          0.70 Revise purchase and sale agreement.
03/28/2023 Naiquan Zhang                      1.80 Draft assumption and assignment agreement for
                                                   Sequoia sale (.50); compile closing certificates for
                                                   Sequoia sale (.60); revise form of private sale motion
                                                   (.30); revise form of private sale order (.40).
03/28/2023 Lilian Zhao                        3.00 Revise FTX transfer document (1.4); research re: sale
                                                   power (1.6).
03/28/2023 Benjamin Zonenshayn                1.00 Call with F. Weinberg Crocco, A. Titus (A&M), S.
                                                   Glustein (A&M), R. Bell (Walkers) and current
                                                   LedgerPrime personnel re: Cayman debtor (.60);
                                                   meeting with F. Weinberg Crocco re: same (.10); call
                                                   with F. Weinberg Crocco, A. Titus (A&M) and
                                                   current LedgerPrime personnel re: outstanding LPMF
                                                   trades (.20); call with F. Weinberg Crocco and A.
                                                   Titus (A&M) re: same (.10).
03/28/2023 Sophia Chen                        1.30 Coordinate selection of court reporter for potential
                                                   auction per M. Wu (.50); correspondence with
                                                   internal team re: same (.80).
03/29/2023 David Gilberg                      0.30 Email correspondence with B. Zonenshayn re:
                                                   LedgerPrime CFTC registrations and de-registration.
03/29/2023 Audra Cohen                        7.00 Call with M. Wu and M. Friedman re: LedgerX sale
                                                   process (.40); call with PWP, A&M, R. O’Neill, M.
                                                   Wu, J. MacDonald and H. Beard re: venture sales
                                                   process (.10 - partial attendance); call with PWP, M.
                                                   Wu, M. Friedman and J. Ljustina re: LedgerX sale
                                                   process (.20); correspondence with various teams re:
                                                   LedgerX sale (2.2); correspondence with various
                                                   teams re: investment sale agreements and closing
                                                   documents (3.1); correspondence with various teams
                                                   re: other sale processes (.60); correspondence with
                                                   various teams re: order and motion comments (.40).
03/29/2023 Rita-Anne O'Neill                  3.70 Call with PWP, A&M, A. Cohen, M. Wu, J.
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                                                       MacDonald and H. Beard re: venture sales process
                                                       (.30); call with M. Wu, A&M and venture
                                                       counterparty re: updates to venture company status
                                                       (.20); review documents re: venture sales (3.2).
03/29/2023 Oderisio de Vito Piscicelli           0.20 Call with PWP and FTX Europe management re: FTX
                                                      Europe M&A update.
03/29/2023 Alexa Kranzley                        0.80 Review and revise capital commitments motion and
                                                      correspondence with internal team re: same.
03/29/2023 Mimi Wu                               4.30 Call with PWP, A&M, A. Cohen, R. O’Neill, J.
                                                      MacDonald and H. Beard re: venture sales process
                                                      (.30); call with A. Cohen and M. Friedman re:
                                                      LedgerX sale process (.40); call with M. Friedman
                                                      and bidder’s counsel re: LedgerX sale process (.10);
                                                      call with PWP, A. Cohen, M. Friedman and J.
                                                      Ljustina re: LedgerX sale process (.20); call with R.
                                                      O’Neill, A&M and venture counterparty re: updates
                                                      to venture company status (.20); review LedgerX
                                                      process and sale documents (2.5); internal
                                                      correspondence re: venture sales process (.60).
03/29/2023 Jeffrey MacDonald                     6.20 Prepare venture company sales documentation (5.6);
                                                      call with PWP, A&M, A. Cohen, R. O’Neill, M. Wu
                                                      and H. Beard re: venture sales process (.30); call with
                                                      venture company counsel and N. Zhang re: current
                                                      confidentiality agreement (.30).
03/29/2023 Fabio Weinberg Crocco                 1.40 Meeting with B. Zonenshayn, A. Titus (A&M), S.
                                                      Glustein (A&M) and R. Bell (Walkers) re: issues
                                                      relating to Cayman debtor (.50); meeting with B.
                                                      Zonenshayn re: same (.20); review summary report re:
                                                      same (.70).
03/29/2023 Mitchell Friedman                     4.10 Call with A. Cohen and M. Wu re: LedgerX sale
                                                      process (.40); call with M. Wu and bidder’s counsel
                                                      re: LedgerX sale process (.10); call with PWP, A.
                                                      Cohen, M. Wu and J. Ljustina re: LedgerX sale
                                                      process (.20); meeting with J. Ljustina re: LedgerX
                                                      sale process (.10); email correspondence with S&C
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                                                 team re: sale processes (.90); review and comment on
                                                 LedgerX ancillary agreement revisions and board
                                                 consents (1.8); facilitate agreement revisions with
                                                 UCC counsel (.60).
03/29/2023 Hannah Beard                    6.90 Prepare sale documentation for venture sales and
                                                related correspondence (6.5); call with PWP, A&M,
                                                A. Cohen, R. O’Neill, M. Wu and J. MacDonald re:
                                                venture sales process (.30); call with L. Zhao re:
                                                venture sale closing (.10).
03/29/2023 HyunKyu Kim                     0.80 Review venture sale agreements.
03/29/2023 Gabrielle Pacia                 0.30 Create list of Embed bidders.
03/29/2023 Jessica Ljustina                8.10 Call with PWP, A. Cohen, M. Wu and M. Friedman
                                                re: LedgerX sale process (.20); meeting with D.
                                                Gambino re: revisions to board and stockholder
                                                consents re: LedgerX sale process (.20); meeting with
                                                M. Friedman re: LedgerX sale process (.10); review
                                                and revise interested parties list (.30); correspondence
                                                with A. Kranzley, M. Wu, J. MacDonald, D.
                                                Handelsman, H. Beard, G. Pacia and C. Stern re:
                                                same (.10); review LedgerX disclosure schedules
                                                (.10); review and comment on LedgerX consents
                                                (2.5); review and revise LedgerX sale order (3.3);
                                                correspondence with M. Friedman and M. Wu re:
                                                same (.10); review contract issue (.10);
                                                correspondence with M. Friedman and A. Kranzley
                                                re: same (.10); review and revise motion re: venture
                                                investments (.20); review LedgerX purchase
                                                agreement (.30); review LedgerX sale process (.10);
                                                correspondence with M. Friedman and D. Gambino
                                                re: LedgerX sale (.40).
03/29/2023 James Patton                    0.80 Review de minimis asset purchase agreement.
03/29/2023 Arthur Courroy                  0.10 Updating relevant third party motion to reflect outside
                                                counsel comments.
03/29/2023 Dominick Gambino                5.70 Meeting with J. Ljustina re: revisions to the board and
                                                stockholder consents re: LedgerX sale process (.20);
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                                                    revise board and stockholder consents per comments
                                                    (5.5).
03/29/2023 Jinny Lee                          0.70 Review and incorporate comments into purchase and
                                                   sale agreement.
03/29/2023 Patrick Lee                        1.30 Draft final version of venture purchase agreement per
                                                   comments (.50); revise venture purchase agreement
                                                   per feedback (.80).
03/29/2023 Naiquan Zhang                      2.80 Call with venture company counsel and J. MacDonald
                                                   re: current confidentiality agreement (.30); send
                                                   information re: fund default remedies to PWP (.20);
                                                   compile closing documents and signature packet for
                                                   sale transaction (.80); mark up and send confidentiality
                                                   agreements (1.3); send documents requested by UST
                                                   (.20).
03/29/2023 Lilian Zhao                        2.00 Prepare execution version and signature packet (.50);
                                                   research re: sale power (1.4); call with H. Beard re:
                                                   venture sale closing (.10).
03/29/2023 Benjamin Zonenshayn                1.80 Meeting with F. Weinberg Crocco, A. Titus (A&M),
                                                   S. Glustein (A&M) and R. Bell (Walkers) re: issues
                                                   relating Cayman debtor (.50); meeting with F.
                                                   Weinberg Crocco re: same (.20); draft summary of
                                                   claims and issues re: Cayman debtor (1.1).
03/29/2023 Sophia Chen                        0.50 Correspondence with M. Wu and relevant third party
                                                   re: court reporter for auction.
03/30/2023 David Gilberg                      1.40 Call with A. Cohen, M. Wu, A. Levine, M. Friedman
                                                   and J. Ljustina re: LedgerX alternatives (.50); call with
                                                   B. Zonenshayn and F. Weinberg Crocco re:
                                                   LedgerPrime (.40); email correspondence with S&C
                                                   team re: LedgerX (.30); review emails and records re:
                                                   asset disposition workstreams (.20).
03/30/2023 Audra Cohen                        9.00 Call with R. O’Neill, M. Wu, J. MacDonald, H.
                                                   Beard and N. Zhang re: ventures sale documentation
                                                   and process (1.6); call with A. Dietderich, M. Wu and
                                                   M. Friedman re: LedgerX sale process (.20); meeting
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                                                       with M. Wu and M. Friedman re: LedgerX sale
                                                       process (.40); call with B. Glueckstein, R. O’Neill, M.
                                                       Wu, J. MacDonald and H. Beard re: venture
                                                       investment considerations (.20 - partial attendance);
                                                       call with PWP, M. Wu, M. Friedman and J. Ljustina
                                                       re: LedgerX sale process (.50); call with D. Gilberg,
                                                       M. Wu, A. Levine, M. Friedman and J. Ljustina re:
                                                       LedgerX alternatives (.50); call with M. Wu, M.
                                                       Friedman and J. Ljustina re: LedgerX sale process
                                                       (.30); call with A. Dietderich re: LedgerX sale process
                                                       (.50); call with M. Wu, M. Friedman and J. Ljustina
                                                       re: LedgerX sale process (.90); correspondence with
                                                       various teams re: LedgerX and Embed sales process
                                                       (2.1); correspondence with various teams re:
                                                       investments (1.2); correspondence with various teams
                                                       re: sale orders and motions (.50); correspondence
                                                       with various teams re: other sales processes (.10).
03/30/2023 Andrew Dietderich                     0.90 Call with J. Ray (FTX) re: LedgerX (.20); call with A.
                                                      Cohen, M. Wu and M. Friedman re: LedgerX sale
                                                      process (.20); call with A. Cohen re: LedgerX sale
                                                      process (.50).
03/30/2023 Brian Glueckstein                     0.50 Call with A. Cohen, R. O’Neill, M. Wu, J.
                                                      MacDonald and H. Beard re: venture investment
                                                      considerations (.30); review documents and
                                                      correspondence with internal team re: same (.20).
03/30/2023 Rita-Anne O'Neill                     3.10 Call with A. Cohen, M. Wu, J. MacDonald, H. Beard
                                                      and N. Zhang re: ventures sale documentation and
                                                      process (1.6); call with A. Cohen, B. Glueckstein, M.
                                                      Wu, J. MacDonald and H. Beard re: venture
                                                      investment considerations (.30); review materials and
                                                      documents re: venture sales (1.2).
03/30/2023 Oderisio de Vito Piscicelli           0.40 Correspondence with PWP and internal team re:
                                                      ventures workstream.
03/30/2023 Colin Lloyd                           0.20 Correspondence with D. Gilberg and M. Friedman re:
                                                      LedgerX.
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Date        Name                          Hours Description
03/30/2023 Jameson Lloyd                    1.00 Review transaction documents (.80); call with H. Kim
                                                 and J. Patton re: venture investment purchase
                                                 agreement (.20).
03/30/2023 Bradley Harsch                   0.10 Review correspondence from S&C team re: response
                                                 on LedgerX query.
03/30/2023 Mimi Wu                          6.20 Call with A. Cohen, R. O’Neill, J. MacDonald, H.
                                                 Beard and N. Zhang re: ventures sale documentation
                                                 and process (1.6); call with A. Dietderich, A. Cohen
                                                 and M. Friedman re: LedgerX sale process (.20);
                                                 meeting with A. Cohen and M. Friedman re: LedgerX
                                                 sale process (.40); call with A. Cohen, B. Glueckstein,
                                                 R. O’Neill, J. MacDonald and H. Beard re: venture
                                                 investment considerations (.30); call with PWP, A.
                                                 Cohen, M. Friedman and J. Ljustina re: LedgerX sale
                                                 process (.50); call with D. Gilberg, A. Cohen, A.
                                                 Levine, M. Friedman and J. Ljustina re: LedgerX
                                                 alternatives (.50); review LedgerX sales process
                                                 (1.3); correspondence with internal team re: venture
                                                 matters (.20); call with A. Cohen, M. Friedman and J.
                                                 Ljustina re: LedgerX sale process (.30); call with A.
                                                 Cohen, M. Friedman and J. Ljustina re: LedgerX sale
                                                 process (.90).
03/30/2023 James Simpson                    5.90 Review and de minimis transaction approval
                                                 documentation (.60); coordinate local counsel review
                                                 of the same (1.4); revise the same for local counsel
                                                 feedback (.80); coordinate director approval of the
                                                 same (.50); review advice of Indonesian counsel re:
                                                 legal considerations for strategic options (1.4);
                                                 correspondence with A&M re: strategic options for
                                                 Indonesian entity (.50); prepare M&A transaction
                                                 approval tracker (.70).
03/30/2023 Aaron Levine                     1.10 Prepare for call re: LedgerX alternatives (.60); call
                                                 with D. Gilberg, A. Cohen, M. Wu, M. Friedman and
                                                 J. Ljustina re: LedgerX alternatives (.50).
03/30/2023 Jeffrey MacDonald                8.00 Prepare sales documentation for venture company
                                                 (6.1); call with A. Cohen, B. Glueckstein, R. O’Neill,
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Date        Name                              Hours Description

                                                      M. Wu and H. Beard re: venture investment
                                                      considerations (.30); call with A. Cohen, R. O’Neill,
                                                      M. Wu, H. Beard and N. Zhang re: ventures sale
                                                      documentation and process (1.6).
03/30/2023 Fabio Weinberg Crocco                1.00 Meeting with D. Gilberg and B. Zonenshayn re:
                                                     matters concerning Cayman debtor (.50); call with B.
                                                     Zonenshayn, A. Titus (A&M) and S. Glustein (A&M)
                                                     re: same (.50).
03/30/2023 Mitchell Friedman                    9.90 Call with A. Dietderich, A. Cohen and M. Wu re:
                                                     LedgerX sale process (.20); meeting with A. Cohen
                                                     and M. Wu re: LedgerX sale process (.40); call with
                                                     PWP, A. Cohen, M. Wu and J. Ljustina re: LedgerX
                                                     sale process (.50); call with D. Gilberg, A. Cohen, M.
                                                     Wu, A. Levine and J. Ljustina re: LedgerX alternatives
                                                     (.50); call with A. Cohen, M. Wu and J. Ljustina re:
                                                     LedgerX sale process (.30); call with A. Cohen, M.
                                                     Wu and J. Ljustina re: LedgerX sale process (.90);
                                                     meeting with J. Ljustina re: LedgerX sale process
                                                     (.10); update LedgerX agreement in advance of
                                                     auction (4.5); revise LedgerX ancillary agreements per
                                                     feedback (1.2); email correspondence with S&C and
                                                     PWP teams re: various sale matters (1.3).
03/30/2023 Hannah Beard                         7.60 Prepare sale documentation for venture sales and
                                                     related correspondence (5.7); call with A. Cohen, R.
                                                     O’Neill, M. Wu, J. MacDonald and N. Zhang re:
                                                     ventures sale documentation and process (1.6); call
                                                     with A. Cohen, B. Glueckstein, R. O’Neill, M. Wu
                                                     and J. MacDonald re: venture investment
                                                     considerations (.30).
03/30/2023 Linda Chen                           0.30 Review NDA markups from potential bidders.
03/30/2023 D. Wil Gould                         1.30 Research re: SD law related to trust company wind
                                                     down (.20); revisions to wind down outline (.50);
                                                     correspondence with R. Simmons re: foregoing (.20);
                                                     correspondence with R. Simmons re: wind down
                                                     process (.30); correspondence with A&M re: wind
                                                     down outline (.10)
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Date         Name                        Hours Description

03/30/2023 HyunKyu Kim                     2.10 Review re: venture investment (1.1); review re: venture
                                                investment (.80); call with J. Lloyd and J. Patton re:
                                                venture investment purchase agreement (.20).
03/30/2023 Jessica Ljustina                8.00 Call with PWP, A. Cohen, M. Wu and M. Friedman
                                                re: LedgerX sale process (.50); call with D. Gilberg,
                                                A. Cohen, M. Wu, A. Levine and M. Friedman re:
                                                LedgerX alternatives (.50); call with A. Cohen, M.
                                                Wu and M. Friedman re: LedgerX sale process (.30);
                                                call with A. Cohen, M. Wu and M. Friedman re:
                                                LedgerX sale process (.90); correspondence with D.
                                                Gambino re: LedgerX auction notices (.20); meeting
                                                with M. Friedman re: LedgerX sale process (.10);
                                                review and revise LedgerX sale order (.40);
                                                correspondence with M. Friedman and M. Wu re:
                                                same (.10); review LedgerX documents (.10); review
                                                motion re: venture investments (.10); correspondence
                                                with M. Wu re: same (.10); review LedgerX sale
                                                process and prepare for auction (.40);
                                                correspondence with A. Cohen, M. Wu, M.
                                                Friedman, D. Gilberg, C. Lloyd and A. Levine re:
                                                LedgerX sale process (.30); correspondence with A.
                                                Dietderich re: same (.30); correspondence with D.
                                                Gambino re: same (.10); correspondence with S.
                                                Chen re: LedgerX auction (.10); correspondence with
                                                conference services re: LedgerX auction (.10); review
                                                LedgerX liquidation analysis (.50); review and
                                                comment on LedgerX consents (2.3); correspondence
                                                with D. Gambino and M. Friedman re: same (.10);
                                                draft and revise notices of auction (.50).
03/30/2023 James Patton                    1.40 Implement changes to venture investment purchase
                                                agreement (.30); correspondence with H. Kim re:
                                                comments to same (.20); implement changes to
                                                venture investment purchase agreement (.70); call with
                                                J. Lloyd and H. Kim re: venture investment purchase
                                                agreement (.20).
03/30/2023 Andrew Brod                     1.30 Review purchase agreement markup from opposing
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Date        Name                            Hours Description

                                                    counsel and propose changes.
03/30/2023 Dominick Gambino                   5.80 Review and redact new documents and coordinate
                                                   with PWP to post to LedgerX data room (.50); revise
                                                   board and stockholder consents per comments (1.6);
                                                   draft notices of auction to send to bidders and other
                                                   permitted attendees (1.4); research notice of auction
                                                   filings for upcoming LedgerX filing (1.8); draft punch
                                                   list of outstanding work streams and deliverables re:
                                                   LedgerX sale process (.50).
03/30/2023 Naiquan Zhang                      6.60 Call with A. Cohen, R. O’Neill, M. Wu, J.
                                                   MacDonald and H. Beard re: ventures sale
                                                   documentation and process (1.6); incorporate
                                                   comments into sale agreement (4.1); draft general
                                                   partner consent agreement (.90).
03/30/2023 Benjamin Zonenshayn                1.60 Meeting with D. Gilberg and F. Weinberg Crocco re:
                                                   deregistration issues relating to Cayman debtor (.50);
                                                   meeting with F. Weinberg Crocco and A. Titus
                                                   (A&M) re: issues relating to Cayman debtor (.50);
                                                   follow up correspondence with internal team re: same
                                                   (.40); research re: secured claims against Cayman
                                                   debtor (.20).
03/30/2023 Sophia Chen                        0.50 Arrange court reporter for potential auction per J.
                                                   Ljustina.
03/31/2023 David Gilberg                      1.10 Call with Cleary and A. Levine re: bidder regulatory
                                                   diligence requests (.30); call with A. Levine re: bidder
                                                   regulatory diligence requests (.20); call with F.
                                                   Weinberg Crocco, B. Zonenshayn, A&M and
                                                   LedgerPrime re: LedgerPrime (.60 - partial
                                                   attendance).
03/31/2023 Audra Cohen                        6.70 Call with M. Wu, M. Friedman and Paul Hastings re:
                                                   LedgerX sale process (.40); correspondence with
                                                   various teams re: LedgerX sale process (3.4);
                                                   correspondence with various teams re: draft
                                                   agreement (2.1); correspondence with various teams
                                                   re: investments (.60); correspondence with A.
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Date         Name                              Hours Description

                                                       Dietderich re: asset disposition workstreams (.20).
03/31/2023 Rita-Anne O'Neill                     0.90 Review materials and documents re: venture sales.
03/31/2023 Mehdi Ansari                          1.30 Review LedgerX purchase agreement (.90); call with
                                                      E. Levin re: IPT comments to markup of auction draft
                                                      for LedgerX sale (.40).
03/31/2023 Oderisio de Vito Piscicelli           0.40 Correspondence with PWP re: categories of
                                                      interested purchasers for ventures and review available
                                                      information.
03/31/2023 Colin Lloyd                           0.20 Correspondence with M. Friedman re: LedgerX.
03/31/2023 Jameson Lloyd                         0.60 Call with H. Kim and J. Patton re: LedgerX purchase
                                                      agreement (40); review re: LedgerX purchase
                                                      agreement (.20).
03/31/2023 Sarah Long                            0.40 Review LedgerX markup.
03/31/2023 Mimi Wu                               4.00 Call with H. Kim, J. Patton, J. Ljustina and D.
                                                      Gambino re: tax matters re: LedgerX purchase
                                                      agreement (.30); call with M. Friedman, J. Ljustina
                                                      and D. Gambino re: LedgerX auction process (.30);
                                                      call with A. Cohen, M. Friedman and Paul Hastings
                                                      re: LedgerX sale process (.40); review LedgerX sales
                                                      process (3.0).
03/31/2023 James Simpson                         0.50 Coordinate director approvals of de minimis
                                                      transaction framework.
03/31/2023 Aaron Levine                          2.10 Call with D. Gilberg re: bidder regulatory diligence
                                                      requests (.20); call with Cleary and D. Gilberg re:
                                                      bidder regulatory diligence requests (.30); review
                                                      bidder deal documents (1.2); correspondence with
                                                      various teams re: same (.40).
03/31/2023 Jeffrey MacDonald                     6.80 Prepare venture company sale documentation.
03/31/2023 Fabio Weinberg Crocco                 3.60 Call with D. Gilberg, B. Zonenshayn, A&M and
                                                      current LedgerPrime personnel re: matters concerning
                                                      Cayman debtor (.70); follow-up call with A. Titus
                                                      (A&M) and B. Zonenshayn re: same (.30); follow-up
                                                      call with B. Zonenshayn re: same (.20); review memo
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Date         Name                         Hours Description

                                                  re: same (1.2); review memo re: settlement of claims
                                                  involving foreign debtor (1.2).
03/31/2023 Mitchell Friedman                5.90 Call with M. Wu, J. Ljustina and D. Gambino re:
                                                 LedgerX auction process (.30); call with A. Cohen,
                                                 M. Wu and Paul Hastings re: LedgerX sale process
                                                 (.40); revise LedgerX bid agreement (3.2); comment
                                                 on notice of auction (.30); email correspondence with
                                                 S&C and PWP teams re: sale processes (1.7).
03/31/2023 KJ Lim                           1.30 Review and revise LedgerX purchase agreement.
03/31/2023 Hannah Beard                     1.80 Prepare sale documentation for venture sales and
                                                 related correspondence.
03/31/2023 Alexander Capogna                1.10 Mark up LedgerX bid.
03/31/2023 Linda Chen                       0.40 Review NDA markups from potential bidders.
03/31/2023 HyunKyu Kim                      2.20 Call with J. Lloyd and J. Patton re: LedgerX purchase
                                                 agreement (.40); review re: LedgerX (.90); call with J.
                                                 Patton, M. Wu, J. Ljustina and D. Gambino re: tax
                                                 matters re: LedgerX purchase agreement (.30); review
                                                 re: withholding question (.40); call with J. Patton re:
                                                 venture investment withholding issue (.10).
03/31/2023 Elizabeth Levin                  2.00 IPT review of revised bidder markup for LedgerX
                                                 sale (1.6); call with M. Ansari re: IPT comments to
                                                 markup of auction draft for LedgerX sale (.40).
03/31/2023 Jessica Ljustina                11.70 Call with H. Kim, J. Patton, M. Wu and D. Gambino
                                                 re: tax matters re: LedgerX purchase agreement (.30);
                                                 call with D. Gambino re: LedgerX disclosure
                                                 schedules (.20); call with M. Wu, M. Friedman and
                                                 D. Gambino re: LedgerX auction process (.30); draft
                                                 and revise notices of LedgerX auction (1.4);
                                                 correspondence with M. Wu, M. Friedman and D.
                                                 Gambino re: same (.10); correspondence with A.
                                                 Cohen, A. Dietderich and A. Kranzley re: same (.20);
                                                 correspondence with LRC team re: same (.20); call
                                                 with N. Jenner (LRC) and J. Ljustina re: notice of
                                                 auction (.10); correspondence with bidders, bidder
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                                                 advisors and UCC advisors re: LedgerX auction
                                                 (.40); review LedgerX sale process (2.9);
                                                 correspondence with M. Wu, M. Friedman and D.
                                                 Gambino re: same (.40); correspondence with S.
                                                 Chen re: LedgerX auction (.10); correspondence with
                                                 conference services re: same (.10); review and revise
                                                 LedgerX purchase agreement (2.3); correspondence
                                                 with A. Cohen, M. Wu and M. Friedman re: same
                                                 (.10); correspondence with S. Long and A. Capogna
                                                 re: same (.20); review and revise LedgerX auction
                                                 procedures (1.9); correspondence with D. Gambino,
                                                 M. Friedman and M. Wu re: same (.10); review
                                                 LedgerX disclosure schedules (.30); correspondence
                                                 with N. Luu re: FTX sale processes (.10).
03/31/2023 James Patton                    2.80 Review LedgerX agreement (1.4); call with J. Lloyd
                                                and H. Kim re: LedgerX purchase agreement (.40);
                                                call with H. Kim, M. Wu, J. Ljustina and D. Gambino
                                                re: tax matters re: LedgerX purchase agreement (.30);
                                                research withholding question re: venture investment
                                                (.60); call with H. Kim re: venture investment
                                                withholding issue (.10).
03/31/2023 Andrew Brod                     0.30 Review email re: repurchase agreement.
03/31/2023 Dominick Gambino                5.10 Call with H. Kim, J. Patton, M. Wu and J. Ljustina re:
                                                tax matters re: LedgerX purchase agreement (.30);
                                                draft auction procedures and materials for LedgerX
                                                auction (3.1); call with J. Ljustina re: LedgerX
                                                disclosure schedules (.20); call with M. Wu, M.
                                                Friedman and J. Ljustina re: LedgerX auction process
                                                (.30); coordinate review of LedgerX disclosure
                                                schedules with J. McDonald (.90); revise disclosure
                                                schedules for starting bid purchase agreement (.30).
03/31/2023 Jinny Lee                       4.00 Draft purchase and sale agreement.
03/31/2023 Patrick Lee                     1.60 Draft purchase agreement for de minimis venture sale
                                                transaction.
03/31/2023 Naiquan Zhang                   4.10 Compile execution versions of sale agreements (.80);
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                                                     obtain venture company operating documents (.20);
                                                     mark up, compile and circulate NDAs (1.0); revise
                                                     sale agreement and general partner consent agreement
                                                     (2.1).
03/31/2023 Benjamin Zonenshayn                1.60 Call with D. Gilberg, F. Weinberg Crocco, A&M and
                                                   current LedgerPrime personnel re: matters concerning
                                                   Cayman debtor (.70); follow-up call with A. Titus
                                                   (A&M) and F. Weinberg Crocco re: same (.30);
                                                   follow-up call with F. Weinberg Crocco re: same
                                                   (.20); call with R. Esposito (A&M) re: claims of
                                                   Cayman debtor (.20); incorporate comments from F.
                                                   Weinberg Crocco into talking points re: Cayman
                                                   debtor (.20).

Total                                     1,811.20
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           Project: 00012 - ASSUMPTION AND REJECTION OF LEASES AND CONTRACTS

Date        Name                      Hours Description

03/02/2023 Christian Jensen             0.20 Correspondence with A. Kranzley re: contract
                                             rejection motion.
03/07/2023 Jeannette Bander             0.30 Analyze question re: contract rejection from A.
                                             Kranzley.
03/07/2023 Christian Jensen             1.90 Call with D. Hisarli, R. Perubhatla (RLKS), C. Arnett
                                             (A&M), H. Trent (A&M) and N. Simoneaux (A&M)
                                             re: contract rejections (1.4); review contracts and
                                             analysis re: same (.50).
03/07/2023 M. Devin Hisarli             1.40 Call with C. Jensen, R. Perubhatla (RLKS), C. Arnett
                                             (A&M), H. Trent (A&M) and N. Simoneaux (A&M)
                                             re: contract rejections.
03/08/2023 Christian Jensen             0.20 Correspondence with A. Kranzley re: 3rd omnibus
                                             contract rejection motion.
03/08/2023 M. Devin Hisarli             0.50 Research bankruptcy re: contract rejection issues.
03/15/2023 M. Devin Hisarli             1.60 Create summaries for contract to be included in third
                                             omnibus contract rejection and sent summary to J.
                                             Petiford.
03/17/2023 Julie Kapoor                 0.10 Correspondence with S&C team re: contract rejection
                                             motion.
03/17/2023 M. Devin Hisarli             0.60 Correspondence with R. Perubhatla (FTX), C. Arnett
                                             (A&M), C. Jensen and J. Petiford re: contract
                                             rejection.
03/24/2023 Julie Kapoor                 0.60 Call with D. Hisarli, K. Montague (A&M), B. Tenney
                                             (A&M) re: contract rejections (.40); follow up
                                             correspondence with S&C team re: same (.20).
03/24/2023 M. Devin Hisarli             3.00 Review slide deck re: vendor contracts for rejection
                                             (.30); correspondence with J. Petiford re: same (.20);
                                             correspondence with R. Perubhatla (FTX), A&M
                                             team and A. Kranzley re: same (.30); review deck of
                                             contracts rejections (.50); call with J. Petiford, K.
                                             Montague (A&M), B. Tenney (A&M) re: vendor
                                             contract rejections (.40); review of contracts (.50);
                                             communicate with K. Montague (A&M) and J.
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           Project: 00012 - ASSUMPTION AND REJECTION OF LEASES AND CONTRACTS

Date        Name                      Hours Description

                                               Petiford re: certain contract terminations (.50);
                                               communicate with wider A&M team re: same (.20);
                                               update A. Kranzley re: same (.10)
03/28/2023 Julie Kapoor                 0.20 Review contracts.
03/30/2023 Christian Jensen             0.20 Correspondence with J. Petiford re: contracts for
                                             rejection.
03/30/2023 M. Devin Hisarli             0.50 Search for and review certain IT vendor agreements
                                             to be rejected.
03/31/2023 Julie Kapoor                 1.40 Call with R. Perubhatla (RLKS) and D. Hisarli re:
                                             contract rejections (.80); follow up re: same (.20); call
                                             with Landis and counsel to relevant third party re:
                                             rejected contract (.30); follow up re: same (.10).
03/31/2023 M. Devin Hisarli             5.90 Review vendor contracts (2.5); create summary re:
                                             same and sent to J. Petiford (2.3); call with R.
                                             Perubhatla (RLKS) and J. Petiford re: contract
                                             rejections (.80); draft summary email re: same (.30).
03/31/2023 Benjamin Zonenshayn          0.80 Draft lease stipulation.

Total                                  19.40
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Date        Name                             Hours Description

03/01/2023 Andrew Dietderich                  1.60 Review memos and follow up questions on subjects of
                                                   potential avoidance actions.
03/01/2023 Christopher Dunne                  1.50 Review and revise draft settlement agreement with
                                                   relevant third party (.80); correspondence with S&C
                                                   team re: same (.70).
03/01/2023 Kathleen McArthur                  0.10 E-mails re coordination of potential avoidance actions.
03/01/2023 Jacob Croke                        2.80 Analyze issues re: token issuer proposal (.50);
                                                   correspondence with B. Glueckstein re: same (.10);
                                                   revise draft settlement agreement re: fund investment
                                                   (1.1); correspondence with J. Rosenfeld and C.
                                                   Dunne re: same (.20); analyze issues re: third-party
                                                   loan and potential related entities (.20);
                                                   correspondence with M. Strand and B. Glueckstein
                                                   re: same (.20); analyze report re: relevant third party
                                                   and potential theories for recovery (.40);
                                                   correspondence with J. Bromley re: same (.10).
03/01/2023 Anthony Lewis                      0.10 Correspondence with S&C team re: relevant third
                                                   party issues.
03/01/2023 Hilary Williams                    0.40 Review email from J. Croke re: Nardello
                                                   developments re Relevant Third-Party matter (.10);
                                                   emails re: Nardello developments (.10); review emails
                                                   from J. Croke re: KYC information (.20).
03/01/2023 Bradley Harsch                     1.70 Email re: status of relevant third party memo (.10);
                                                   review materials re: relevant third party avoidance
                                                   action memo (.50); review and comment on relevant
                                                   third party memo (.50); review revisions to relevant
                                                   third party memo sent to S. Wheeler and S. Holley
                                                   (.10); review and comment on relevant third party
                                                   memo and email (.50).
03/01/2023 William Wagener                    0.80 Review and comment on draft letter to debtor entity
                                                   re: potential avoidance claims (.60); emails Alix team
                                                   re: relevant third party (.20).
03/01/2023 Kathleen Donnelly                  0.70 Correspondence with team concerning avoidance
                                                   action workstreams.
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Date        Name                              Hours Description
03/01/2023 Zoeth Flegenheimer                  0.20 Coordinate with A. Holland re: drafting memorandum
                                                    on transactions involving Relevant Third Parties to
                                                    address potential avoidance actions (.20).
03/01/2023 Jared Rosenfeld                     5.00 S&C team meeting re: ongoing avoidance actions
                                                    workstreams (.60); research and draft presentation
                                                    and correspondence on potential avoidance action
                                                    against Relevant Third Party (3.4); review edits to
                                                    relevant third party settlement agreement (1.0).
03/01/2023 Andrew Thompson                     3.80 Revise draft avoidance action memo (3.4); prepare
                                                    summary of relevant third party's involvement in
                                                    post-merger valuation (.40).
03/01/2023 Daniel O'Hara                       8.00 Draft and revise memorandum re: potential adversary
                                                    actions against relevant third party.
03/01/2023 Ugonna Eze                          0.60 S&C team meeting re: ongoing avoidance actions
                                                    workstreams.
03/01/2023 Jason Gallant                       0.20 Edit report re: valuation of relevant third party.
03/01/2023 Emma Downing                        1.30 Draft outline of memorandum re: issue related to
                                                    avoidance actions (.80); call with W. Scheffer re:
                                                    same (.50).
03/01/2023 Natalie Hills                       5.80 Complete draft of debtor entity slide outline and send
                                                    to M. Wu and J. Rosenfeld by email (2.1); compile
                                                    debtor entity documents and send to M. Wu and J.
                                                    Rosenfeld by email (.40); incorporate debtor slide
                                                    outline into slide deck and send to M. Wu and J.
                                                    Rosenfeld by email (3.3).
03/01/2023 Phoebe Lavin                        0.60 S&C team meeting re: ongoing avoidance actions
                                                    workstreams.
03/01/2023 Aneesa Mazumdar                     2.10 Review relevant third party account data.
03/01/2023 Tatum Millet                        1.50 Summarize key documents from search of
                                                    correspondence re: valuation report (1.2); pull
                                                    documents that correspond to the summary (.30).
03/01/2023 William Scheffer                    3.40 Research and draft memorandum re: issue related to
                                                    avoidance actions (.90); call with E. Downing re:
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                                                   security same (.80); summarize findings regarding
                                                   valuations of relevant third party (1.7).
03/02/2023 Steven Holley                     1.40 Review revised draft of memorandum concerning
                                                  potential avoidance actions relating to acquisition of
                                                  relevant third party (1.2); email exchange with S.
                                                  Wheeler re: revise draft of memo regarding subject of
                                                  potential avoidance action (.10); email exchange with
                                                  A. Thompson re: same (.10).
03/02/2023 Andrew Dietderich                 1.00 Call with SDNY and Investigation team on avoidance
                                                  actions and jurisdictional matters (1.0).
03/02/2023 Stephen Ehrenberg                 0.90 S&C team meeting re: ongoing avoidance actions
                                                  workstreams (.60); review avoidance action memo re:
                                                  relevant third party (.30).
03/02/2023 Jacob Croke                       4.40 Analysis re: potential additional avoidance actions and
                                                  recovery workstreams (1.4); correspondence with. C.
                                                  Dunne and J. Rosenfeld re: same (.30); analysis re:
                                                  recovery from fund and potential settlement proposal
                                                  (.40); correspondence with B. Glueckstein re: same
                                                  (.20); analysis re: related party entities and undisclosed
                                                  relationships and control (1.3); correspondence with
                                                  A. Kranzley re: same (.20); analysis re: transfers to
                                                  relevant third parties and potential recovery strategies
                                                  (.60).
03/02/2023 James Bromley                     1.30 Correspondence with J. Ray (FTX) and A&M on
                                                  avoidance issues (.30); review materials on avoidance
                                                  issues (1.0).
03/02/2023 Anthony Lewis                     0.90 Review materials re: relevant third party auction (.60);
                                                  correspondence with S&C and Sygnia teams re:
                                                  relevant third party issues (.30).
03/02/2023 Bradley Harsch                    1.40 Review relevant third party report re: R. Arora and
                                                  email re: connection to relevant third party (.30); S&C
                                                  team meeting re: ongoing avoidance actions
                                                  workstreams (.60); review Z. Flegenheimer comments
                                                  on relevant third party memo (.20); review and email
                                                  re: relevant third party report on connected entities
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                                                     (.10); review S. Wheeler, S. Holley emails re: relevant
                                                     third party memo (.10); review email to bankruptcy
                                                     team of Relevant Third Party memo (.10).
03/02/2023 William Wagener                     1.00 S&C team meeting re: ongoing avoidance actions
                                                    workstreams (.60); emails with J. Croke & J.
                                                    Rosenfeld re: inquiry into potentially Third Party
                                                    Exchange accounts (.40).
03/02/2023 Jonathan Sedlak                     0.60 S&C team meeting re: ongoing avoidance actions
                                                    workstreams
03/02/2023 Christian Jensen                    3.20 Revise draft motion re: relevant third party avoidance
                                                    actions (2.8); correspondence with S&C team re:
                                                    same (.40).
03/02/2023 Michele Materni                     0.60 S&C team meeting re: ongoing avoidance actions
                                                    workstreams.
03/02/2023 Mark Bennett                        0.90 S&C team meeting re: ongoing avoidance actions
                                                    workstreams (.60); correspondence with K.
                                                    McArthur and paralegal team re: e-binders of
                                                    documents re: avoidance action for partner review
                                                    (.30).
03/02/2023 Kathleen Donnelly                   2.10 Meeting with E. Downing and W. Scheffer re:
                                                    memorandum re: avoidance action issue (.60); review
                                                    and analyze memorandum re: avoidance action issue
                                                    (1.0); S&C team meeting re: ongoing avoidance
                                                    actions workstreams (.50 - partial attendance).
03/02/2023 Zoeth Flegenheimer                  2.60 S&C team meeting re: ongoing avoidance actions
                                                    workstreams (.60); review and revise memo re:
                                                    potential avoidance actions involving relevant third
                                                    party (1.5); coordinate with P. Lavin re: reviewing
                                                    relevant third party transaction documents (.20);
                                                    correspondence with A. Lewis re: valuation of relevant
                                                    third party (.30).
03/02/2023 Jared Rosenfeld                     0.90 S&C team meeting re: ongoing avoidance actions
                                                    workstreams (.60); correspond with S&C team re:
                                                    memorandum re: subject if potential avoidance (.30).
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Date        Name                              Hours Description
03/02/2023 Andrew Thompson                     0.60 S&C team meeting re: ongoing avoidance actions
                                                    workstreams.
03/02/2023 Alexander Holland                   0.80 S&C team meeting re: ongoing avoidance actions
                                                    workstreams (.60); communicate with A. Lewis and
                                                    Z. Flegenheimer re potential avoidance action (.20).
03/02/2023 Daniel O'Hara                       2.10 Draft and revise adversary action memo re: relevant
                                                    third party.
03/02/2023 Matthew Strand                      0.60 S&C team meeting re: ongoing avoidance actions
                                                    workstreams.
03/02/2023 Ugonna Eze                          0.60 S&C team meeting re: ongoing avoidance actions
                                                    workstreams.
03/02/2023 Jason Gallant                       0.60 S&C team meeting re: ongoing avoidance actions
                                                    workstreams.
03/02/2023 Emma Downing                        2.00 S&C team meeting re: ongoing avoidance actions
                                                    workstreams (.60); meeting with K. Donnelly and W.
                                                    Scheffer re: memorandum re: avoidance action issue
                                                    (.60); draft outline for memorandum re: avoidance
                                                    action issue (.80).
03/02/2023 Natalie Hills                       0.60 S&C team meeting re: ongoing avoidance actions
                                                    workstreams.
03/02/2023 Phoebe Lavin                        0.60 S&C team meeting re: ongoing avoidance actions
                                                    workstreams.
03/02/2023 Keila Mayberry                      0.50 S&C team meeting re: ongoing avoidance actions
                                                    workstreams (.50 - partial attendance).
03/02/2023 Aneesa Mazumdar                     0.60 S&C team meeting re: ongoing avoidance actions
                                                    workstreams.
03/02/2023 Luke Ross                           2.30 Review of documents for potential avoidance analysis.
03/02/2023 William Scheffer                    2.00 Coordinate research re: memorandum re: avoidance
                                                    action issue (.30); edit avoidance action memo and
                                                    circulated revised version (.50); meeting with K.
                                                    Donnelly and E. Downing re: memorandum re:
                                                    avoidance action issue (.60); S&C team meeting re:
                                                    ongoing avoidance actions workstreams (.60);
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Date        Name                             Hours Description

03/03/2023 Jacob Croke                        2.20 Meeting between B. Harsch, Z. Flegenheimer, D.
                                                   O’Hara, M. Strand and U. Eze re: status of
                                                   investigation into relevant third party for potential
                                                   avoidance action (.50 - partial attendance); analyze
                                                   issues re: potential avoidance actions (.20); analysis re:
                                                   potential settlement agreement with relevant
                                                   third-party (.50), call with B. Glueckstein re: same
                                                   (.20); correspondence with D. Schwartz (Alix) re:
                                                   same (.40); correspondence with. H. Williams re:
                                                   potential avoidance action against relevant third party
                                                   and related individuals (.40).
03/03/2023 James Bromley                      1.10 Review of avoidance memo re: certain transactions
                                                   (.80); correspondence with on avoidance issues with
                                                   A. Kranzley (.30).
03/03/2023 Hilary Williams                    0.30 Call with J. Croke re: relevant third party complaint.
03/03/2023 Bradley Harsch                     1.30 Review updated Nardello connected entities list (.10);
                                                   prepare for call re: relevant third party (.30); meeting
                                                   between J. Croke, Z. Flegenheimer, D. O’Hara, M.
                                                   Strand and U. Eze re: status of investigation into
                                                   relevant third party for potential avoidance action
                                                   (.70); review D. O’Hara emails re: status of share
                                                   ownership in relevant third party (.20).
03/03/2023 Zoeth Flegenheimer                 0.90 Meeting between J. Croke, B. Harsch, D. O’Hara,
                                                   M. Strand and U. Eze re: status of investigation into
                                                   relevant third party for potential avoidance action
                                                   (.70); coordinate with D. O'Hara re: drafting relevant
                                                   third party avoidance action memo (.10); call with A.
                                                   Holland re: potential avoidance action against a
                                                   Relevant Third Party (.10).
03/03/2023 Alexander Holland                  0.30 Call with Z. Flegenheimer re potential avoidance
                                                   action against a relevant third party (.10);
                                                   correspondence with A. Lewis re: potential avoidance
                                                   action (.20).
03/03/2023 Daniel O'Hara                      3.40 Draft and revise adversary action memo re: relevant
                                                   third party (2.7); meeting between J. Croke, B.
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                                                   Harsch, Z. Flegenheimer, M. Strand and U. Eze re:
                                                   status of investigation into relevant third party for
                                                   potential avoidance action (.70).
03/03/2023 Matthew Strand                    0.70 Meeting between J. Croke, B. Harsch, Z.
                                                  Flegenheimer, D. O’Hara and U. Eze re: status of
                                                  investigation into relevant third party for potential
                                                  avoidance action.
03/03/2023 Ugonna Eze                        0.70 Meeting between J. Croke, B. Harsch, Z.
                                                  Flegenheimer, D. O’Hara and M. Strand re: status of
                                                  investigation into relevant third party for potential
                                                  avoidance action.
03/03/2023 Phoebe Lavin                      0.30 Reviewed documents in connection to potential
                                                  avoidance action workstream.
03/04/2023 Mitchell Eitel                    0.20 Correspondence with S. Wheeler re: relevant third
                                                  party memo (.10); review avoidance action memo
                                                  (.10).
03/04/2023 Andrew Dietderich                 3.60 Review case law and develop specific issues lists for
                                                  avoidance action workstreams (3.2); correspondence
                                                  with team re: analysis re: subject of potential
                                                  avoidance action (.40).
03/04/2023 Brian Glueckstein                 1.30 Review and analyze information and correspondence
                                                  from S&C team re: avoidance claims.
03/04/2023 Christopher Dunne                 0.30 Correspondence with M. Ansari and J. Croke re: IP
                                                  considerations in relevant third party settlement.
03/04/2023 Jacob Croke                       1.60 Analyze issues re: potential settlement with third-party
                                                  fund, including IP and release issues (.80);
                                                  correspondence with M. Ansari re: same (.10);
                                                  analyze issues re: transfers to relevant third parties
                                                  (.60); correspondence K. Ramanathan (A&M) re:
                                                  same (.10).
03/04/2023 James Bromley                     0.30 Correspondence with A. Dietderich, W. Scheffer and
                                                  S. Wheeler re: avoidance issues
03/04/2023 Anthony Lewis                     0.10 Correspondence with S&C team re: potential claims.
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Date        Name                              Hours Description
03/04/2023 Hilary Williams                     0.20 Emails with internal team re: schematics for complaint
                                                    and review same.
03/04/2023 Alexander Holland                   0.10 Attention to team communication re: potential
                                                    avoidance action against a relevant third party.
03/04/2023 William Scheffer                    1.50 Search for documents related to funding for subject of
                                                    avoidance action and summarized findings (.90);
                                                    research case law re: avoidance action (.30); search
                                                    for documents related to previous ownership interests
                                                    in subject of avoidance action (.30).
03/05/2023 Steven Holley                       1.30 Internal S&C call re: avoidance actions status and
                                                    related issues (.60); review latest draft of relevant third
                                                    party memos (.50); call with M. Porpora re:
                                                    avoidance actions and next steps (.20).
03/05/2023 Audra Cohen                         0.60 Correspondence re: various potential avoidance
                                                    actions.
03/05/2023 Andrew Dietderich                   3.50 Email exchange with S. Rand (QE) to coordinate
                                                    format advice (.20); emails to S&C litigation team on
                                                    issues for collection of precedent (.70); call with Alix
                                                    team, C. Jensen and C. Hodges re: relevant third party
                                                    preference claim (1.3); follow up process emails to
                                                    investigations and litigation teams (.40); follow up
                                                    process emails to J. Ray (FTX) (.30); internal S&C
                                                    call regarding avoidance actions status and related
                                                    issues (.60).
03/05/2023 Brian Glueckstein                   1.80 Internal S&C team call re: avoidance actions status
                                                    and related issues (.60); correspondence with A.
                                                    Dietderich and follow-up re: avoidance actions
                                                    strategy and related matters (1.2).
03/05/2023 Christopher Dunne                   0.60 Communications with S&C team re: avoidance actions
                                                    memos (.30); communications with S&C team and
                                                    Yossi Torati (Sygnia) re: relevant third party issue
                                                    (.30).
03/05/2023 Kathleen McArthur                   0.10 Correspondence with A Dietderich re: avoidance
                                                    action memos and next steps (.10)
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03/05/2023 Matthew Porpora                     0.90 Internal S&C call regarding avoidance actions status
                                                    and related issues (.60); call with S. Holley re:
                                                    avoidance actions and next steps (.20); email with A.
                                                    Dietderich re: same (.10).
03/05/2023 Jacob Croke                         1.50 Analyze issues re: transfers to relevant third parties
                                                    including exchange transactions (.90); correspondence
                                                    with K. Ramanathan (A&M) and R. Esposito re: same
                                                    (.60).
03/05/2023 James Bromley                       1.00 Correspondence with A. Dietderich, J. Ray (FTX), B.
                                                    Glueckstein and A. Kranzley re: avoidance issues
                                                    (.60); review materials re: same (.40).
03/05/2023 Anthony Lewis                       1.20 Correspondence with S&C team re: claims
                                                    assessments (.10); calls with N. Friedlander re:
                                                    forensic investigation, relevant third party issues (.20);
                                                    review materials re: relevant third party (.20);
                                                    correspondence with S&C and Sygnia teams re:
                                                    relevant third party issues (.70).
03/05/2023 Alexa Kranzley                      1.40 Internal S&C call re: avoidance actions status and
                                                    related issues (.60); call with Alix and S&C team
                                                    regarding third party avoidance action (.80 - partial
                                                    attendance).
03/05/2023 Benjamin Beller                     1.00 Correspondence with A. Toobin re: avoidance action
                                                    research and related review.
03/05/2023 Christian Jensen                    0.90 Call with Alix team, A. Dietderich and C. Hodges re:
                                                    relevant third party preference claim (.70 - partial
                                                    attendance); correspondence with A. Dietderich and
                                                    C. Hodges re: same (.20).
03/05/2023 Kathleen Donnelly                   0.10 Correspondence with team concerning potential
                                                    avoidance action research (.10).
03/05/2023 Alexander Holland                   0.20 Attention to team communication re: potential
                                                    avoidance action against a relevant third party.
03/05/2023 Jason Gallant                       0.20 Read email re: avoidance action complaint.
03/05/2023 Natalie Hills                       0.10 Read email from A. Dietderich re: avoidance actions.
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03/05/2023 Christian Hodges                    1.30 Call with Alix team, A. Dietderich and C. Jensen re:
                                                    relevant third party preference claim.
03/05/2023 Keila Mayberry                      0.10 Review of email from A. Dietderich re: avoidance
                                                    actions.
03/05/2023 William Scheffer                    1.30 Review correspondence re: avoidance action memo
                                                    (.50); propose potential revisions to avoidance action
                                                    memo (.80).
03/05/2023 Adam Toobin                         1.60 Exchange messages with B. Glueckstein (.70); draft
                                                    response to A. Dietderich on legal research for
                                                    preference analysis (.90).
03/06/2023 Steven Holley                       3.30 Email exchanges with M. Tomaino, S. Ehrenberg, and
                                                    C. Dunne re: potential avoidance actions involving
                                                    Relevant Third Parties (.60); review correspondence
                                                    re: relevant assets (.10); review memoranda analyzing
                                                    potential avoidance claims involving Relevant Third
                                                    Parties (1.8); email exchange with A. Dietderich re:
                                                    potential avoidance actions involving Relevant Third
                                                    Parties (.20); call with S. Wheeler re: actions against
                                                    relevant third parties (.20); review chart of payments
                                                    from Alameda to relevant third parties (.40).
03/06/2023 Stephanie Wheeler                   0.20 Call with S. Holley re: actions against relevant third
                                                    parties.
03/06/2023 Andrew Dietderich                   1.90 Review internal correspondence on litigation staffing
                                                    (.30); call with A. Cohen re: relationship between
                                                    avoidance actions and M&A transactions (.60); call
                                                    with J. Ray (FTX) re: same (.40); review and
                                                    comment on memorandum re: subject of potential
                                                    avoidance action (.60).
03/06/2023 Steven Peikin                       1.30 Review memos re: potential avoidance actions.
03/06/2023 Stephen Ehrenberg                   0.20 Correspondence with E. Simpson and O. de Vito
                                                    Piscicelli re: FTX avoidance actions.
03/06/2023 Brian Glueckstein                   1.60 Correspondence with A. Dietderich re: avoidance
                                                    action strategy issues (.30); meeting with A. Dietderich
                                                    re: avoidance actions (.40); review and analysis re:
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                                                  preference claims and related issues (.50);
                                                  correspondence with A. Dietderich re: avoidance
                                                  strategy and follow-up (.40).
03/06/2023 Christopher Dunne                3.90 Communications with S&C team re: relisting of
                                                 brownstone (.40); call with A. Lewis, Z.
                                                 Flegenheimer, A. Holland, P. Lavin, and Y. Torati
                                                 (Sygnia) re: potential avoidance action against a
                                                 Relevant Third Party (.50); call with J. Croke re:
                                                 potential avoidance actions. (.40); communications
                                                 between S&C team re: potentional avoidance actions
                                                 in relation to token issue (1.2); review materials and
                                                 research issues re: potential avoidance action claims
                                                 (1.4).
03/06/2023 Kathleen McArthur                0.60 E-mails re potential avoidance actions (.20); meeting
                                                 between W. Wagener, Z. Flegenheimer, J. Rosenfeld,
                                                 and U. Eze to discuss litigation strategy concerning
                                                 potential avoidance action (.40)
03/06/2023 Matthew Porpora                  0.80 Emails with S. Holley re: potential avoidance action
                                                 (.40); review draft memo on relevant third party (.40).
03/06/2023 Jacob Croke                      3.90 Call with C. Dunne re: potential avoidance actions
                                                 (.40); analysis re: strategy for potential avoidance
                                                 actions including identification of additional
                                                 claims/areas of recovery (1.5), correspondence with J.
                                                 McDonald re: same (.30); correspondence with Quinn
                                                 Emanuel and team re: avoidance action and
                                                 investigative workstreams (.50); analyze bank
                                                 transfers and potential recovery strategies (.60);
                                                 correspondence with C. Dunne re: recovery of
                                                 donations (.20); correspondence with F. Crocco re:
                                                 asset return and avoidance actions (.20);
                                                 correspondence with counsel re: former employee re:
                                                 potential avoidance action (.20).
03/06/2023 Anthony Lewis                    0.50 Call with C. Dunne, Z. Flegenheimer, A. Holland, P.
                                                 Lavin, and Y. Torati (Sygnia) re: potential avoidance
                                                 action against relevant third party.
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03/06/2023 Alexa Kranzley                      0.30 Correspondences with internal team re: avoidance
                                                    action memos.
03/06/2023 Bradley Harsch                      2.60 Review emails re: relevant third party escrow hold
                                                    backs (.40); review A. Dietderich feedback on memo
                                                    re: avoidance action and precedent related to same
                                                    (.20); review A. Dietderich comments on avoidance
                                                    action memos generally (.20); email re: retention of
                                                    relevant third party data (.20); draft email re: relevant
                                                    third party next steps for avoidance action (.40);
                                                    review emails re: J. Ray (FTX) query on Relevant
                                                    Third Party escrow fund (.20); review documents and
                                                    draft email re: next steps on relevant third party inquiry
                                                    (.40); review email re: A. Dietderich comments memo
                                                    re: potential avoidance memo (.20); email re: Alix
                                                    report on relevant third party (.10); review email re:
                                                    ownership of relevant third party (.10); review and
                                                    comment on responses to relevant third party next
                                                    steps (.20).
03/06/2023 William Wagener                     0.70 Meeting between K. McArthur, Z. Flegenheimer, J.
                                                    Rosenfeld and U. Eze to discuss litigation strategy
                                                    concerning relevant third party avoidance action (.40);
                                                    emails w/ J. Croke, B. Glueckstein, and J. Rosenfeld
                                                    re: draft relevant third party settlement agreement
                                                    (.30).
03/06/2023 Christian Jensen                    0.90 Review comments on motion re: avoidance actions vs
                                                    relevant third party (.40); correspondence with A.
                                                    Dietderich and C. Hodges re: same (.50).
03/06/2023 Mark Bennett                        3.00 Research re: case law re: fraudulent transfer in
                                                    connection with avoidance action against relevant third
                                                    party (.80); revise draft of memorandum re: avoidance
                                                    action against relevant third party (1.1);
                                                    correspondence with K. McArthur and H. Williams
                                                    re: same (1.1).
03/06/2023 Fabio Weinberg Crocco               1.20 Meeting with A. Dietderich re: matters relating to
                                                    avoidance actions (.30); review of memo re: same
                                                    (.70); correspondence to S&C team re: same (.20).
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Date        Name                             Hours Description

03/06/2023 Kathleen Donnelly                  0.20 Correspondence with team re: avoidance actions
                                                   research.
03/06/2023 Zoeth Flegenheimer                 1.40 Meeting with C. Dunne, A. Lewis, A. Holland, P.
                                                   Lavin, and Y. Torati (Sygnia) re: potential avoidance
                                                   action against a relevant third party (.50); coordinate
                                                   with P. Lavin and A. Holland re: factual development
                                                   of relevant third party transactions (.20); review A.
                                                   Dietderich's comments on memo re: potential
                                                   avoidance action (.10); meeting between K.
                                                   McArthur, W. Wagener, J. Rosenfeld, and U. Eze to
                                                   discuss litigation strategy concerning relevant third
                                                   party avoidance action (.40); review correspondence
                                                   with relevant third party counsel re: reissuing relevant
                                                   third party(.10); review summary on tokenization
                                                   process of Relevant Third Party (.10).
03/06/2023 Jared Rosenfeld                    0.40 Meeting between K. McArthur, W. Wagener, Z.
                                                   Flegenheimer and U. Eze re: litigation strategy
                                                   concerning potential avoidance action.
03/06/2023 Andrew Thompson                    1.80 Call with T. Millet to discuss next steps re: relevant
                                                   third party avoidance action (.20); additional database
                                                   and financial document review to develop additional
                                                   facts for relevant third party avoidance complaint and
                                                   action (1.6).
03/06/2023 Alexander Holland                  3.70 Meeting with C. Dunne, A. Lewis, Z. Flegenheimer,
                                                   P. Lavin, and Y. Torati (Sygnia) re: potential
                                                   avoidance action against a relevant third party (.50);
                                                   draft chronology re: same (3.2).
03/06/2023 Daniel O'Hara                      3.40 Research and draft adversary complaint re: relevant
                                                   third party.
03/06/2023 Ugonna Eze                         0.40 Meeting between K. McArthur, W. Wagener, Z.
                                                   Flegenheimer and J. Rosenfeld to discuss asset
                                                   recovery workstream.
03/06/2023 Jason Gallant                      2.20 Review relevant third party avoidance action memo
                                                   (.40); research re: prejudgment interest (1.3); emails
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                                                     re: avoidance action next steps and research (.50).
03/06/2023 Christian Hodges                    4.90 Liaise with C. Jensen regarding open items re:
                                                    avoidance actions (.20); research preference
                                                    jurisdiction question per C. Jensen (4.7).
03/06/2023 Phoebe Lavin                        1.50 Review documents related to potential avoidance
                                                    action work stream (1.2); research case law on
                                                    bankruptcy automatic stays (.30).
03/06/2023 Tatum Millet                        1.50 Call with A. Thompson to discuss next steps re:
                                                    relevant third party avoidance action (.20); call with J.
                                                    Gallant to discuss next steps re: relevant third party
                                                    avoidance action (.20); revise and supplement
                                                    chronology relevant third party valuation (1.1).
03/06/2023 William Scheffer                    0.20 Summarize research on bankruptcy avoidance actions.
03/06/2023 Robert Schutt                       2.70 Research drafting memo re: avoidance actions (2.4);
                                                    call with B. Zonenshayn and A. Toobin re: avoidance
                                                    action legal research summary (.30).
03/06/2023 Adam Toobin                         0.60 Review email on legal research (.30); call with B.
                                                    Zonenshayn and R. Schutt re: avoidance action legal
                                                    research summary (.30).
03/06/2023 Benjamin Zonenshayn                 0.30 Call with A. Toobin and R. Schutt re: avoidance
                                                    action legal research summary.
03/07/2023 Steven Holley                       2.20 Analysis of potential avoidance claims involving
                                                    Relevant Third Parties (1.9); meeting with M.
                                                    Tomaino, S. Ehrenberg, M. Porpora and C. Dunne re:
                                                    potential avoidance claims (.30)
03/07/2023 Stephanie Wheeler                   0.40 Meeting with S. Holley and M. Porpora re: avoidance
                                                    complaints (.30); call with H. Williams re: relevant
                                                    third party complaint (.10).
03/07/2023 Audra Cohen                         0.60 Call with A. Dietderich re: relationship between
                                                    avoidance actions and M&A transactions.
03/07/2023 Stephen Ehrenberg                   3.30 Meeting with S. Holley, M. Tomaino, C. Dunne and
                                                    M. Porpora re: drafting of potential avoidance action
                                                    complaints (.70); meeting with J. Rosenfeld, and A.
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                                                  Mazumdar re: potential avoidance action (.30); S&C
                                                  team meeting re: ongoing avoidance actions
                                                  workstreams (.40); review Grayscale complaint (.50);
                                                  review memorandum re: potential avoidance action to
                                                  prepare for meeting with S. Holley (.50); email
                                                  correspondence with RLKS re: employment
                                                  agreements for certain personnel (.60); meeting with
                                                  C. Dunne, M. Porpora and S. Holley re: avoidance
                                                  actions (.30).
03/07/2023 Brian Glueckstein                1.20 Call with C. Dunne, A. Lewis, A. Holland, Mayer
                                                 Brown, and counsel for relevant third party re:
                                                 Alameda assets at a relevant third party (.40); calls
                                                 with Relevant Third Party counsel and follow-up re:
                                                 token reissuance (.80).
03/07/2023 Christopher Dunne                8.10 Review Grayscale complaint (.40); review relevant
                                                 third party settlement agreement (.60); meeting with S.
                                                 Holley, M. Tomaino, S. Ehrenberg and M. Porpora
                                                 re: drafting of potential avoidance action complaints
                                                 (.70); meeting with M. Tomaino re: potential
                                                 avoidance actions (.40); review memo re: potential
                                                 avoidance action and consider complaint strategy
                                                 (2.7); extensive communications with S&C team re:
                                                 avoidance action preparation and claims (2.1); call
                                                 with C. Dunne re: avoidance actions (.20); call with B.
                                                 Glueckstein, A. Lewis, A. Holland, Mayer Brown,
                                                 and counsel for relevant third party re: Alameda assets
                                                 at a Relevant Third Party (.40); call with B
                                                 Glueckstein and A Lewis re: relevant third party
                                                 reissuance strategy (.60).
03/07/2023 Kathleen McArthur                0.10 Read Nardello report re potential avoidance action.
03/07/2023 Matthew Porpora                  0.80 Call with J. Gallant re: relevant third party avoidance
                                                 action complaint (.10); meeting with S. Holley, M.
                                                 Tomaino, S. Ehrenberg and C. Dunne re: drafting of
                                                 potential avoidance action complaints (.70).
03/07/2023 Jacob Croke                      4.40 Analyze and revise draft settlement agreement and
                                                 related issues (1.9); correspondence with Alix re:
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                                                   same (.50); follow-up calls B. Glueckstein re: same
                                                   (.60); analyze issues re: relevant third party and trading
                                                   activity for potential avoidance action (.40);
                                                   correspondence with Z. Flegenheimer re: same (.10);
                                                   analysis re: potential additional avoidance
                                                   actions/areas of inquiry for asset recovery, strategy re:
                                                   further claims (.60); correspondence with C. Dunne
                                                   re: same (.30).
03/07/2023 James Bromley                     1.20 Correspondence with A&M, S&C teams re:
                                                  avoidance analysis (.50); review materials re: same
                                                  (.70).
03/07/2023 Anthony Lewis                     2.30 Correspondence with S&C, Mayer Brown, Nardello
                                                  and Sygnia teams re: relevant third party issues (1.0);
                                                  call with B. Glueckstein, C. Dunne, A. Holland,
                                                  Mayer Brown team and counsel for Relevant Third
                                                  Party re: Alameda assets at a Relevant Third Party
                                                  (.40); review and revise letter to relevant third party
                                                  (.90).
03/07/2023 Michael Tomaino Jr.               2.10 Meeting with S. Holley, S. Ehrenberg, C. Dunne, M.
                                                  Porpora re: drafting of potential avoidance action
                                                  complaints (.70); meeting with C. Dunne re: potential
                                                  avoidance actions (.40); call with C. Dunne re:
                                                  avoidance actions (.20); review work product re:
                                                  relevant third party loans and consider issues for
                                                  avoidance actions (.40); review research re: elements
                                                  of and defenses to avoidance actions (.40).
03/07/2023 Bradley Harsch                    1.40 Review F. Weinberg email to AMT re: issue related to
                                                  potential avoidance action (.10); review email to
                                                  relevant third party re: status of relevant third party
                                                  report (.10); review email re: relevant third parties
                                                  connection to other relevant third party and FTX
                                                  (.10); review relevant third party report re: relevant
                                                  third parties connection to other Relevant Third Party
                                                  and FTX (.30); call with C. Dunne re: relevant third
                                                  party avoidance action (.10); email U. Eze, D. O’Hara
                                                  re: status of relevant third party memo (.10); email re:
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                                                     status of answer to J. Ray question re: relevant third
                                                     party (.10); review and comment on summary of
                                                     relevant third party escrow payment analysis (.20);
                                                     review and email re: relevant third party data for
                                                     production (.30).
03/07/2023 William Wagener                     0.80 Call with M. Porpora re: potential avoidance action
                                                    involving relevant third party (.30); reread memo
                                                    summarizing relevant third party transaction (.50).
03/07/2023 Jonathan Sedlak                     0.40 S&C team meeting re: ongoing avoidance actions
                                                    workstreams
03/07/2023 Christian Jensen                    3.20 Correspondence with C. Hodges and A. Toobin re:
                                                    motion to lift stay re: relevant third party avoidance
                                                    actions (.40); review and revise same (2.8).
03/07/2023 Michele Materni                     0.40 S&C team meeting re: ongoing avoidance actions
                                                    workstreams.
03/07/2023 Mark Bennett                        0.70 S&C team meeting re: ongoing avoidance actions
                                                    workstreams (.40);
                                                    Review Alix report re: subject of potential avoidance
                                                    action (.30).
03/07/2023 Fabio Weinberg Crocco               0.80 Emails to AMT team re: potential avoidance actions.
03/07/2023 Kathleen Donnelly                   0.40 S&C team meeting re: ongoing avoidance actions
                                                    workstreams.
03/07/2023 Zoeth Flegenheimer                  2.00 Correspondence with D. O'Hara re: organizing
                                                    Relevant Third Party work product (.20);
                                                    correspondence with P. Lavin re: organizing Relevant
                                                    Third Party work product (.10); correspondence with
                                                    C. Dunne re: avoidance actions against relevant third
                                                    parties (.10); correspondence with M. Materni re:
                                                    same (.20); review analysis on application of
                                                    automatic stay in connection with potential Relevant
                                                    Third Party action (.10); correspondence with
                                                    Relevant Third Party re: research on incorporation of
                                                    Relevant Third Party (.10); correspondence with A.
                                                    Holland re: Relevant Third Party (.10); review notes of
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                                                    call with Relevant Third Party (.20); S&C team
                                                    meeting re: ongoing avoidance actions workstreams
                                                    (.40); call with A. Holland re: workstreams regarding
                                                    a potential avoidance action against a Relevant Third
                                                    Party (.10); correspondence with Relevant Third Party
                                                    team re: updated background research from Relevant
                                                    Third Party (.20); call with A. Holland regarding
                                                    Alameda assets at a Relevant Third Party (.20).
03/07/2023 Mitchell Friedman                  1.80 Meeting with A. Thompson, J. Gallant and T. Millet to
                                                   discuss Relevant Third Party closing documents and
                                                   escrow payments in connection with Relevant Third
                                                   Party avoidance action (.60); compile documents re:
                                                   Relevant Third Party for S&C team (1.2).
03/07/2023 Jared Rosenfeld                    0.70 S&C team meeting re: ongoing avoidance actions
                                                   workstreams (.40); meeting with S. Ehrenberg, J.
                                                   Rosenfeld, and A. Mazumdar re: avoidance action
                                                   (.30).
03/07/2023 Andrew Thompson                    4.90 S&C team meeting re: ongoing avoidance actions
                                                   workstreams (.40); meeting with M. Friedman, J.
                                                   Gallant and T. Millet to discuss Relevant Third Party
                                                   closing documents and escrow payments in connection
                                                   with Relevant Third Party avoidance action (.60);
                                                   additional database and financial document review to
                                                   develop additional facts for Relevant Third Party
                                                   avoidance complaint and action (3.1); draft summary
                                                   re: escrow disbursement, in response to question from
                                                   J. Ray (FTX) (.80).
03/07/2023 Alexander Holland                  2.00 S&C team meeting re: ongoing avoidance actions
                                                   workstreams (.40); call with B. Glueckstein, C.
                                                   Dunne, A. Lewis, Mayer Brown, and counsel for
                                                   Relevant Third Party re: Alameda assets at a Relevant
                                                   Third Party (.40); call with Z. Flegenheimer re:
                                                   workstreams regarding a potential avoidance action
                                                   against a Relevant Third Party (.10); call with Z.
                                                   Flegenheimer re: Alameda assets at a Relevant Third
                                                   Party (.20); draft chronology re: same (.90).
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Date        Name                            Hours Description
03/07/2023 Daniel O'Hara                     1.50 Draft and revise adversary complaint memo.
03/07/2023 Medina Sadat                      0.90 S&C team meeting re: ongoing avoidance actions
                                                  workstreams (.40); review of emails re various
                                                  workstreams (.50)
03/07/2023 Ugonna Eze                        0.40 S&C team meeting re: ongoing avoidance actions
                                                  workstreams.
03/07/2023 Jason Gallant                     1.00 S&C team meeting re: ongoing avoidance actions
                                                  workstreams (.40); call with M. Porpora re: Relevant
                                                  Third Party avoidance action complaint (.10); meeting
                                                  with M. Friedman, A. Thompson and T. Millet to
                                                  discuss Relevant Third Party closing documents and
                                                  escrow payments in connection with Relevant Third
                                                  Party avoidance action (.50 - partial attendance).
03/07/2023 Natalie Hills                     0.40 S&C team meeting re: ongoing avoidance actions
                                                  workstreams.
03/07/2023 Phoebe Lavin                      4.70 Research case law on bankruptcy automatic stays
                                                  (4.3); S&C team meeting re: ongoing avoidance
                                                  actions workstreams (.40).
03/07/2023 Keila Mayberry                    0.40 S&C team meeting re: ongoing avoidance actions
                                                  workstreams.
03/07/2023 Aneesa Mazumdar                   0.70 S&C team meeting re: ongoing avoidance actions
                                                  workstreams (.40); meeting with S. Ehrenberg and J.
                                                  Rosenfeld re: avoidance action (.30).
03/07/2023 Tatum Millet                      7.40 Call with M. Porpora to discuss upcoming work on
                                                  Relevant Third Party complaint (.10); review
                                                  communications re: Relevant Third Party valuation
                                                  (2.8); draft chronology of events re: same (2.5); S&C
                                                  team meeting re: ongoing avoidance actions
                                                  workstreams (.40); draft e-mail transmitting Relevant
                                                  Third Party chronologies and summary from A.
                                                  Thompson re: call with M. Friedman to S. Holley, M.
                                                  Porpora, and B. Wagener (.40); correspondence with
                                                  A. Thompson re: same (.10); meeting with M.
                                                  Friedman, A. Thompson and J. Gallant to discuss
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Date        Name                              Hours Description

                                                     Relevant Third Party closing documents and escrow
                                                     payments in connection with Relevant Third Party
                                                     avoidance action (.60); edit notes from call re: same
                                                     (.50).
03/07/2023 William Scheffer                    0.80 S&C team meeting re: ongoing avoidance actions
                                                    workstreams (.40); correspondence re: avoidance
                                                    action (.10); correspondence with M&A team re:
                                                    subject of potential avoidance action (.30).
03/07/2023 Robert Schutt                       2.00 Research and memo drafting re: avoidance actions.
03/08/2023 Steven Holley                       2.30 Correspondence with S&C team re: potential
                                                    avoidance actions against Relevant Third Parties (.30);
                                                    analysis of potential avoidance action against Relevant
                                                    Third Party (1.7); internal call re: valuation of Relevant
                                                    Third Party (.30).
03/08/2023 Christopher Dunne                   2.20 Review and revise letter to Relevant Third Party (1.1);
                                                    communications with S&C and Sygnia teams (1.1).
03/08/2023 Matthew Porpora                     1.50 Emails with J. Gallant re: Relevant Third Party
                                                    avoidance action complaint (.10);
                                                    meeting with S. Holley, W. Wagener, A. Thompson,
                                                    J. Gallant and T. Millet to discuss strategy and first
                                                    steps re: Relevant Third Party complaint (.50); review
                                                    materials in advance of meeting re: Relevant Third
                                                    Party complaint (.90).
03/08/2023 Jacob Croke                         2.50 Review and revise draft settlement agreement with
                                                    Relevant Third Party (.50); correspondence with
                                                    UCC and Alix re: same (.40); analysis re: additional
                                                    avoidance actions and investigative workstreams
                                                    (1.0); correspondence with M. Evans (Alix) re: same
                                                    (.20).
03/08/2023 Anthony Lewis                       1.20 Call with S. Holley and C. Dunne re: Relevant Third
                                                    Party status (.30); review and revise letter to Relevant
                                                    Third Party (.40); review Relevant Third Party
                                                    materials (.10); correspondence with S&C, Nardello
                                                    teams re: Relevant Third Party issues (.40).
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Date        Name                              Hours Description
03/08/2023 Bradley Harsch                      0.80 Review memo on Relevant Third Party potential
                                                    avoidance actions (.30); review A. Cohen emails re:
                                                    Relevant Third Party escrow funding (.10); review
                                                    Alix chronology for Relevant Third Party transaction
                                                    (.20); emails with C. Dunne and W. Scheffer re: next
                                                    steps on Relevant Third Party action (.20).
03/08/2023 William Wagener                     0.50 Meeting with S. Holley, M. Porpora, A. Thompson, J.
                                                    Gallant, and T. Millet to discuss strategy and first steps
                                                    re: Relevant Third Party complaint.
03/08/2023 Christian Jensen                    0.90 Meeting with C. Hodges re: Relevant Third Party
                                                    capital structure (.40); review and comment on
                                                    summary re: same (.50).
03/08/2023 Mark Bennett                        0.50 Correspondence with C. Dunne, J. Croke, U. Eze, A.
                                                    Mazumdra re: potential avoidance action.
03/08/2023 Aaron Levine                        0.30 Email correspondence with various teams re: memo re:
                                                    subject of potential avoidance action.
03/08/2023 Kathleen Donnelly                   0.60 Review and revise avoidance action research (.40);
                                                    correspondence with team concerning avoidance
                                                    actions (.20).
03/08/2023 Zoeth Flegenheimer                  0.80 Review and revise letter to Relevant Third Party re:
                                                    proposed reissuing of Relevant Third Party (.40);
                                                    research purchase price of Relevant Third Party at
                                                    auction (.40).
03/08/2023 Andrew Thompson                     1.20 Meeting with S. Holley, M. Porpora, W. Wagener, J.
                                                    Gallant, and T. Millet to discuss strategy and first steps
                                                    re: Relevant Third Party complaint (.50); prepare and
                                                    circulate precedent for draft factual allegations section
                                                    of avoidance action complaint (.70).
03/08/2023 Alexander Holland                   2.50 Revise letter to Relevant Third Party re: Alameda
                                                    assets.
03/08/2023 Jason Gallant                       1.50 Research into prejudgment interest standard (1.0);
                                                    meeting with S. Holley, M. Porpora, W. Wagener, A.
                                                    Thompson and T. Millet to discuss strategy and first
                                                    steps re: Relevant Third Party complaint (.50).
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03/08/2023 Christian Hodges                    0.90 Meeting with C. Jensen re: Relevant Third Party
                                                    capital structure (.40); review Relevant Third Party
                                                    capital structure (.30); draft email to C. Jensen re:
                                                    Relevant Third Party strategy (.20).
03/08/2023 Phoebe Lavin                        0.50 Draft binder of documents to assist with potential
                                                    avoidance action work stream.
03/08/2023 Tatum Millet                        0.90 Meeting with S. Holley, M. Porpora, W. Wagener, A.
                                                    Thompson and J. Gallant to discuss strategy and first
                                                    steps re: Relevant Third Party complaint (.50); edit
                                                    notes on call re: same (.40).
03/08/2023 William Scheffer                    4.20 Correspondence with S&C M&A team re: FTX
                                                    auction (.70); incorporate new factual findings into
                                                    avoidance action memo (2.0); prepare presentation to
                                                    FTX board of directors re: avoidance action (1.5)
03/08/2023 Robert Schutt                       0.60 Research and update memo re: avoidance actions.
03/08/2023 Adam Toobin                         3.20 Draft provisions of preference case law summary.
03/08/2023 Benjamin Zonenshayn                 3.00 Research re: avoidance issues.
03/09/2023 Steven Holley                       2.40 Emails with A. Dietderich re: potential avoidance claim
                                                    involving Relevant Third Party (.20); analysis of
                                                    potential avoidance claim against Relevant Third Party
                                                    (1.2); call with M. Popora re: potential avoidance
                                                    claim against Relevant Third Party (.20); call with S.
                                                    Wheller, A. Cohen, M. Porpora, M. Wu, M.
                                                    Freidman and A&M re: potential avoidance actions
                                                    (.30); call with A&M team re: potential avoidance
                                                    claim against Relevant Third Party (.50).
03/09/2023 Stephanie Wheeler                   0.30 Call with S. Holley, A. Cohen, M. Porpora, M. Wu,
                                                    M. Friedman and A&M re: potential avoidance
                                                    actions.
03/09/2023 Audra Cohen                         0.60 Call with S. Holley, S. Wheeler, M. Porpora, M. Wu,
                                                    M. Friedman and A&M re: potential avoidance
                                                    actions (.30); emails with internal team re: same (.30).
03/09/2023 Andrew Dietderich                   0.30 Emails with litigation team re: avoidance action.
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03/09/2023 Brian Glueckstein                0.80 Meeting with J. Croke and C. Dunne re: additional
                                                 potential avoidance actions and investigative
                                                 workstreams.
03/09/2023 Christopher Dunne                3.50 Extensive communications with S&C team real
                                                 Relevant Third Party avoidance action and arguments
                                                 re: same (1.5); call with M. Tomaino, B. Harsch, K.
                                                 Donnelly, E. Downing and W. Scheffer to discuss
                                                 drafting complaint (.90); meeting with W. Scheffer to
                                                 discuss drafting complaint (.20); meeting with B.
                                                 Harsch and W. Scheffer to discuss drafting complaint
                                                 (.20); meeting with W. Scheffer re: avoidance action
                                                 presentation to FTX board (.30); calls with A. Lewis
                                                 re: Relevant Third process (.40).
03/09/2023 Kathleen McArthur                0.10 Read e-mails from J. Croke re: potential avoidance
                                                 actions.
03/09/2023 Matthew Porpora                  1.20 Emails between S&C team re: avoidance action claims
                                                 and sale processes (.70); call with S. Holley, A.
                                                 Cohen, S. Wheeler, M. Wu, M. Friedman and A&M
                                                 re: potential avoidance actions (.30); call with S.
                                                 Wheeler re: potential avoidance claims against
                                                 Relevant Third Party (.20).
03/09/2023 Mehdi Ansari                     3.50 Review avoidance action memo (1.1); review
                                                 underlying documents re: avoidance actions memo
                                                 (2.4).
03/09/2023 Jacob Croke                      4.20 Review and revise materials re: potential settlement
                                                 agreement (.30); correspondence with B. Glueckstein
                                                 and Alix re: same (.50); follow-up correspondence
                                                 with B. Glueckstein re: same (.20); analysis re:
                                                 potential claims against third-party token issuer (.80);
                                                 correspondence with A. Lewis re: same (.30); analysis
                                                 re: potential claims against Fund/co-manager (.20);
                                                 correspondence with J. MacDonald re: same (.10);
                                                 analysis re: additional potential avoidance actions and
                                                 investigative workstreams (.50); correspondence with.
                                                 S. Holley re: same (.20); call with B. Glueckstein and
                                                 C. Dunne re: same (.60); review and revise materials
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                                                     re: potential consent motion for Relevant Third Party
                                                     assets (.40); correspondence re: same (.10).
03/09/2023 Anthony Lewis                       1.10 Calls with C. Dunne re: Relevant Third Party process
                                                    (.40); correspondence with S&C, Mayer Brown
                                                    teams re: Relevant Third Party issues (.70).
03/09/2023 Michael Tomaino Jr.                 0.90 Call with C. Dunne, B. Harsch, K. Donnelly, E.
                                                    Downing and W. Scheffer to discuss drafting
                                                    complaint.
03/09/2023 Bradley Harsch                      1.50 Correspondence with C. Dunne re: actions against
                                                    relevant third parties (.10); review and comment on
                                                    board deck re: subject of potential avoidance action
                                                    (.40); meeting with C. Dunne and W. Scheffer to
                                                    discuss drafting complaint (.20); meeting with W.
                                                    Scheffer to discuss drafting complaint (.20); call with
                                                    M. Tomaino, C. Dunne, K. Donnelly, E. Downing and
                                                    W. Scheffer to discuss drafting complaint (.50);
                                                    correspondence with S&C team re: status of memo on
                                                    Relevant Third Party (.10).
03/09/2023 Christian Jensen                    2.40 Review Relevant Third Party filings re: case status and
                                                    preference claim (.80); correspondence with A.
                                                    Dietderich re: same (.50); meetings with C. Hodges re:
                                                    Relevant Third Party capital structure debt chart (.80);
                                                    correspondence with C. Hodges and A. Toobin re:
                                                    same (.30).
03/09/2023 Mimi Wu                             0.30 Call with S. Holley, S. Wheeler, A. Cohen, M.
                                                    Porpora, M. Friedman and A&M re: potential
                                                    avoidance actions.
03/09/2023 Aaron Levine                        0.10 Email correspondence with various teams re: memo re:
                                                    subject of potential avoidance action.
03/09/2023 Kathleen Donnelly                   1.00 Review draft slides re: subject of potential avoidance
                                                    action (.10); call with M. Tomaino, C. Dunne, B.
                                                    Harsch, E. Downing and W. Scheffer to discuss
                                                    drafting complaint (.90)
03/09/2023 Zoeth Flegenheimer                  0.40 Coordinate with A. Lewis, A. Holland and P. Lavin
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                                                  re: asserting personal jurisdiction over Relevant Third
                                                  Party (.20); review and revise chart assessing personal
                                                  jurisdiction across various Relevant Third Party
                                                  contracts (.20).
03/09/2023 Mitchell Friedman                0.30 Call with S. Holley, S. Wheeler, A. Cohen, M.
                                                 Porpora, M. Wu and A&M re: potential avoidance
                                                 actions.
03/09/2023 Andrew Thompson                  4.50 Draft avoidance action complaint re: acquisition
                                                 against selling shareholders of Relevant Third Party.
03/09/2023 Alexander Holland                0.20 Correspondence with P. Lavin and Z. Flegenheimer
                                                 re: Alameda assets at Relevant Third Party.
03/09/2023 Daniel O'Hara                    1.00 Revise adversary complaint re: Relevant Third Party
                                                 (.20); meeting with S&C team re: ongoing avoidance
                                                 actions workstreams (.80).
03/09/2023 Ugonna Eze                       1.00 Research and draft internal memo re: Relevant Third
                                                 Party.
03/09/2023 Jason Gallant                    2.40 Meeting with T. Millet to discuss first steps re: drafting
                                                 Relevant Third Party complaint (.20); draft Relevant
                                                 Third Party factual background memo section (2.2).
03/09/2023 Emma Downing                     3.50 Call with M. Tomaino, C. Dunne, B. Harsch, K.
                                                 Donnelly and W. Scheffer to discuss drafting
                                                 complaint (.90); calls with W. Scheffer re: same (.50);
                                                 draft complaint against relevant third party (2.1).
03/09/2023 Christian Hodges                 6.60 Meetings with C. Jensen regarding Relevant Third
                                                 Party capital structure debt chart (.80); revise
                                                 Relevant Third Party capital structure debt chart based
                                                 on rounds of feedback from C. Jensen (5.8).
03/09/2023 Phoebe Lavin                     2.10 Revise binder of documents to assist with potential
                                                 avoidance action workstream (.50); draft comparison
                                                 chart of relevant agreements related to potential
                                                 avoidance action workstream (1.6).
03/09/2023 Tatum Millet                     3.10 Meeting between J. Gallant to discuss first steps re:
                                                 drafting relevant third party complaint (.20); draft fact
                                                 section of Relevant Third Party complaint based on
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                                                     Relevant Third Party memo (1.8); incorporate edits
                                                     from J. Gallant re: same (.20); draft additional portion
                                                     of the fact section (.90).
03/09/2023 Luke Ross                           3.20 Review of Alix analysis and other relevant documents
                                                    for avoidance action relating to relevant third party.
03/09/2023 William Scheffer                    4.90 Prepare presentation to FTX board of directors
                                                    regarding avoidance action (2.1); prepare for meeting
                                                    re: drafting avoidance action complaint (.70); call with
                                                    M. Tomaino, C. Dunne, B. Harsch, K. Donnelly and
                                                    E. Downing to discuss drafting complaint (.90);
                                                    meeting with C. Dunne and B. Harsch to discuss
                                                    drafting complaint (.20); meeting with B. Harsch to
                                                    discuss drafting complaint (.20); calls with E. Downing
                                                    to discuss drafting complaint (.50); meeting with C.
                                                    Dunne re: avoidance action presentation to FTX
                                                    board (.30)
03/09/2023 Adam Toobin                         4.10 Complete research and drafting for outline of
                                                    preference law.
03/10/2023 Steven Holley                       2.70 Review disbursement schedule for Relevant Third
                                                    Party acquisition (.50); legal research re: treatment of
                                                    escrow accounts in preference actions (.60); research
                                                    re: acquisition related to potential avoidance action
                                                    (.60); call with A&M team re: Relevant Third Party
                                                    avoidance claim (.20); correspondence with A.
                                                    Dietderich re: acquisition related to potential
                                                    avoidance action (.10); review escrow agreement
                                                    from acquisition related to potential avoidance action
                                                    (.50); call with B. Glueckstein re: Relevant Third Party
                                                    avoidance claims (.20).
03/10/2023 Audra Cohen                         0.40 Various correspondence re: potential avoidance
                                                    actions.
03/10/2023 Andrew Dietderich                   0.10 Email exchange with S&C team re: relevant third
                                                    party.
03/10/2023 Stephen Ehrenberg                   1.90 Review investigative reports re: subjects of avoidance
                                                    action.
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03/10/2023 Brian Glueckstein                   0.60 Call with S. Holley re: Relevant Third Party avoidance
                                                    claims (.20); review documents and analysis re: same
                                                    (.40).
03/10/2023 Christopher Dunne                   1.60 Call with B. Harsch, Z. Flegenheimer and D. O’Hara
                                                    to discuss potential adversary complaint against
                                                    relevant third parties (.40); communications with S&C
                                                    team re: avoidance action (1.2).
03/10/2023 Jacob Croke                         1.80 Analyze issues re: potential settlement agreement with
                                                    fund (.20); correspondence with B. Glueckstein and
                                                    Alix re: same (.10); analysis re: potential claims against
                                                    another relevant third party (.40); analysis re: potential
                                                    claims against third-party platform (.20);
                                                    correspondence platform re: same (.10); analysis re:
                                                    additional potential avoidance actions and investigative
                                                    workstreams (.40); correspondence with Alix, counsel
                                                    for former employee re: same (.40).
03/10/2023 Anthony Lewis                       0.20 Correspondence with S&C, Sygnia teams re: Relevant
                                                    Third Party issues.
03/10/2023 Bradley Harsch                      2.80 Correspondence with W. Scheffer re: defense to
                                                    avoidance actions (.30); review and email U. Eze re:
                                                    draft background section of Relevant Third Party
                                                    (.50); call with C. Dunne, Z. Flegenheimer, and D.
                                                    O’Hara to discuss potential adversary complaint
                                                    against relevant third parties (.40); call with Z.
                                                    Flegenheimer and D. O’Hara to discuss adversary
                                                    complaints (.30); review N. Singh plea transcript and
                                                    email re: avoidance actions (.30); correspondence
                                                    with W. Scheffer re: board deck for Relevant Third
                                                    Party transaction (1.0).
03/10/2023 William Wagener                     0.40 Read N. Singh plea transcript (.20); email team
                                                    thoughts re: use of same in avoidance complaints
                                                    (.20).
03/10/2023 Benjamin Beller                     1.00 Review potential avoidance actions and background
                                                    documents.
03/10/2023 Christian Jensen                    0.30 Correspondence with C. Hodges and B. Beller re:
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                                                     Relevant Third Party preference claim.
03/10/2023 Zoeth Flegenheimer                  0.80 Call with B. Harsch and D. O’Hara to discuss
                                                    adversary complaints (.30); call with C. Dunne, B.
                                                    Harsch and D. O’Hara to discuss potential adversary
                                                    complaint against former FTX management (.40);
                                                    coordinate with Alix re: preparing analysis to assist
                                                    with actions against relevant third parties (.10).
03/10/2023 Andrew Thompson                     5.50 Draft avoidance action complaint re: acquisition
                                                    against selling shareholders of Relevant Third Party
                                                    (3.7); prepare draft slide deck for board of directors
                                                    re: analysis of avoidance action against selling
                                                    shareholders of Relevant Third Party (1.8).
03/10/2023 Alexander Holland                   0.10 Correspondence with A. Lewis, P. Lavin, and Z.
                                                    Flegenheimer re: Alameda assets at Relevant Third
                                                    Party.
03/10/2023 Daniel O'Hara                       1.10 Revise adversary complaint re: Relevant Third Party
                                                    (.40); call with B. Harsch and Z. Flegenheimer to
                                                    discuss adversary complaints (.30); call with C.
                                                    Dunne, B. Harsch, and Z. Flegenheimer to discuss
                                                    potential adversary complaint against former FTX
                                                    management (.40)
03/10/2023 William Scheffer                    2.90 Prepare presentation to FTX board of directors re:
                                                    avoidance action (1.7); prepare avoidance action
                                                    complaint (1.2)
03/10/2023 Adam Toobin                         1.20 Updated preference memo.
03/11/2023 William Wagener                     0.30 Call with A. Thompson re: legal issues relating to draft
                                                    avoidance complaint relating to Relevant Third Party.
03/11/2023 Andrew Thompson                     0.50 Call with W. Wagener re: legal issues relating to draft
                                                    avoidance complaint relating to Relevant Third Party
                                                    (.30); correspondence with team re: same (.20).
03/12/2023 Jacob Croke                         2.40 Review and revise motion for potential fund settlement
                                                    (1.3); correspondence with B. Glueckstein re: same
                                                    (.30); analysis re: potential additional investigative
                                                    workstreams and asset recovery strategies (.70);
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                                                  correspondence with D. O’Hara re: seeking donations
                                                  (.10).
03/12/2023 Robert Schutt                    0.80 Research for legal memo outline re: avoidance actions
03/13/2023 Steven Holley                    1.30 Read information concerning latest Relevant Third
                                                 Party actions (.10); email exchanges with B.
                                                 Glueckstein, C. Dunne and T. Lewis re: potential
                                                 claims against Relevant Third Party (.30); review latest
                                                 draft of Relevant Third Party settlement agreement
                                                 (.10); conference call with A&M to discuss avoidance
                                                 action (.30); call between C. Dunne, S. Wheeler, A.
                                                 Cohen and A&M to discuss strategy re: subject of
                                                 potential avoidance action (.50)
03/13/2023 Audra Cohen                      0.50 Call between C. Dunne, S. Holley, S. Wheeler and
                                                 A&M to discuss strategy re: subject of potential
                                                 avoidance action.
03/13/2023 Stephen Ehrenberg                0.20 Correspondence with J. Rosenfeld and A. Mazumdar
                                                 re: avoidance action research.
03/13/2023 Brian Glueckstein                0.20 Correspondence with S&C team re: Relevant Third
                                                 Party token issues.
03/13/2023 Christopher Dunne                4.40 Call with M. Tomaino re: avoidance action re: subject
                                                 of potential avoidance action (.40); call between S.
                                                 Holley, S. Wheeler, A. Cohen and A&M to discuss
                                                 strategy re: subject of potential avoidance action (.50);
                                                 call with M. Tomaino, B. Harsch, E. Downing and W.
                                                 Scheffer re: potential avoidance action (1.0); meeting
                                                 with B. Harsch, Z. Flegenheimer, D. O’Hara, E.
                                                 Downing, and Alix team re: potential avoidance action
                                                 workstream (.50); correspondence with S&C team re:
                                                 Relevant Third Party settlement (.50); correspondence
                                                 with S&C team re: Relevant Third Pary (.40);
                                                 correspondence re: transfer of assets in Relevant Third
                                                 Party accounts (.40); review materials re: subject of
                                                 potential avoidance action (.60); call with B. Harsch
                                                 re: avoidance action (.10).
03/13/2023 Jacob Croke                      2.40 Analysis re: potential action against relevant third party
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                                                     (.20); correspondence with J. Rosenfeld re: same
                                                     (.10); revise materials re: potential settlement with fund
                                                     (1.1); correspondence with J. Ray (FTX) and B.
                                                     Glueckstein re: same (.30); correspondence with B.
                                                     Glueckstein re: same (.20); analysis re: potential claims
                                                     against relevant third party (.40); correspondence with
                                                     C. Dunne re: same (.10).
03/13/2023 Anthony Lewis                       0.60 Review Relevant Third Party issues (.20);
                                                    correspondence with S&C, Sygnia teams re: same
                                                    (.40).
03/13/2023 Michael Tomaino Jr.                 1.70 Call with C. Dunne re: avoidance action re: subject of
                                                    potential avoidance action (.40); call with C. Dunne,
                                                    B. Harsch, K. Donnelly, E. Downing, W. Scheffer and
                                                    Alix Team re: potential avoidance action (.50 - partial
                                                    attendance); review and analyze e-mails with team re:
                                                    potential avoidance claims (.30); review and analyze
                                                    M. Giles retention agreement and note potential issues
                                                    for avoidance claims (.50).
03/13/2023 Bradley Harsch                      2.30 Meeting with W. Scheffer to discuss loans (.20); call
                                                    with M. Tomaino, C. Dunne, E. Downing and W.
                                                    Scheffer re: potential avoidance action (1.0); review
                                                    M. Giles retention agreement (.10); review agreement
                                                    related to Relevant Third Party transaction (.10);
                                                    review background materials on Relevant Third Party
                                                    transaction (.30); call with C. Dunne re: Relevant
                                                    Third Party avoidance action (.10); meeting with C.
                                                    Dunne, Z. Flegenheimer, D. O’Hara, E. Downing, and
                                                    Alix team re: potential avoidance action workstream
                                                    (.50).
03/13/2023 Benjamin Beller                     2.50 Correspondence with B. Glueckstein re: potential
                                                    avoidance actions (1.0); review background materials
                                                    re: same (1.0); meeting with C. Hodges re: Relevant
                                                    Third Party preference status (.50).
03/13/2023 Christian Jensen                    0.50 Meeting with B. Beller and C. Hodges re: Relevant
                                                    Third Party preference status.
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Date        Name                              Hours Description
03/13/2023 Mark Bennett                        0.10 Correspondence with H. Williams re: avoidance action
                                                    complaint.
03/13/2023 Zoeth Flegenheimer                  0.50 Meeting with C. Dunne, B. Harsch, D. O’Hara, E.
                                                    Downing, and Alix team re: potential avoidance action
                                                    workstream.
03/13/2023 Andrew Thompson                     2.60 Draft avoidance action complaint against third party
                                                    (1.1); review slides from M&A team, for use in
                                                    connection with avoidance action complaints (.60);
                                                    factual development re: acquisition relevant to potential
                                                    avoidance action (.90).
03/13/2023 Daniel O'Hara                       0.50 Meeting with C. Dunne, B. Harsch, Z. Flegenheimer,
                                                    E. Downing, and Alix team re: potential avoidance
                                                    action workstream.
03/13/2023 Emma Downing                        4.80 Draft summary of potential preference claim (2.0);
                                                    revise deck for potential avoidance action (1.1);
                                                    meeting with C. Dunne, B. Harsch, Z. Flegenheimer,
                                                    D. O’Hara and Alix team re: potential avoidance
                                                    action workstream (.50); call with M. Tomaino, C.
                                                    Dunne, B. Harsch and W. Scheffer re: potential
                                                    avoidance action (1.0).
                                                    Call with K. Mayberry re: Nardello re: subject of
                                                    potential avoidance action (.20).
03/13/2023 Christian Hodges                    2.10 Meeting with A. Toobin re: preference workstreams
                                                    (1.3); meeting with B. Beller re: Relevant Third Party
                                                    preference status (.50); send materials to team re:
                                                    status (.30).
03/13/2023 Keila Mayberry                      0.30 Correspondence with A. Thompson re: Relevant Third
                                                    Party avoidance memo (.10); call with E. Downing re:
                                                    Nardello memo re: subject of potential avoidance
                                                    action (.20).
03/13/2023 William Scheffer                    3.50 Prepare presentation to FTX board of directors
                                                    regarding avoidance action (.60); meeting with B.
                                                    Harsch to discuss loans (.20); analyze merger
                                                    agreement and other deal documents (.80); call with
                                                    M. Tomaino, C. Dunne, B. Harsch and E. Downing
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                                                  re: potential avoidance action (1.0); analyze investment
                                                  interests subject to avoidance (.50); analyze
                                                  contractual terms re: avoidance (.40)
03/13/2023 Robert Schutt                    3.30 Research and drafting avoidance action legal summary
                                                 memo.
03/13/2023 Adam Toobin                      4.70 Legal research re: preference memo (1.4); review
                                                 Relevant Third Party preference materials (1.3); legal
                                                 research re: avoidance memo (.70); meeting with C.
                                                 Hodges re: preference workstreams (1.3).
03/13/2023 Benjamin Zonenshayn              1.20 Continue research and drafting avoidance action
                                                 memo for A. Kranzley (.60); incorporate various edits
                                                 to the same (.60).
03/14/2023 Steven Holley                    0.60 Review markup of Relevant Third Party settlement
                                                 agreement from Relevant Third Pary counsel.
03/14/2023 Stephanie Wheeler                0.50 Call between S. Holley, A. Cohen and A&M to
                                                 discuss strategy re: subject of potential avoidance
                                                 action.
03/14/2023 Andrew Dietderich                0.80 Meeting with B. Beller, M. Cyr, S. Liu, C. Hodges &
                                                 A. Toobin re: relevant third party preference analysis.
03/14/2023 Christopher Dunne                1.90 Review precedents and slide deck, related documents
                                                 re: potential avoidance action.
03/14/2023 Jacob Croke                      3.80 Analysis re: potential action against relevant third
                                                 party, including asset tracing (.80); correspondence
                                                 with Z. Flegenheimer re: same (.10); revise materials
                                                 re: potential settlement with fund (.90); calls with fund
                                                 counsel re: same (.80); analysis re: potential claims
                                                 against third-party platform (.60); correspondence
                                                 with B. Glueckstein re: potential action against
                                                 borrower entity (.30); analysis re: potential consensual
                                                 turnover and issues for exchange (.30).
03/14/2023 Anthony Lewis                    0.50 Correspondence with S&C team re: Relevant Third
                                                 Party issues (.30); correspondence with S&C, A&M,
                                                 1121 Law teams re: cryptocurrency issues (.20).
03/14/2023 Michael Tomaino Jr.              2.20 Review and analyze draft slides re: acquisition and
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                                                    potential avoidance claims re: same and note revisions
                                                    and questions for team (.80); review and analyze work
                                                    product (chronology, fact memo) re: acquisition and
                                                    funding and note questions for team re: potential
                                                    avoidance claims and potential defendants in
                                                    avoidance actions (1.2); e-mails with team re: funds
                                                    flow, draft slides (.20).
03/14/2023 Bradley Harsch                     1.10 Email W. Wagener re: relevant third party avoidance
                                                   action (.30); review relevant third party conflicts check
                                                   (.10); review revised relevant third party board decks
                                                   (.20); review relevant third party disposition deck
                                                   (.20); review draft memo on Relevant Third Party
                                                   (.30).
03/14/2023 Benjamin Beller                    2.90 Meeting with C. Jensen, and C. Hodges re: Relevant
                                                   Third Party preference status (.50); meeting with M.
                                                   Cyr, S. Liu, C. Hodges & A. Toobin re: Relevant
                                                   Third Party preference updates (.60); meeting with A.
                                                   Dietderich, M. Cyr, S. Liu, C. Hodges & A. Toobin
                                                   re: Relevant Third Party preference analysis (.80);
                                                   follow up emails and review of documents (1.0).
03/14/2023 Marc-André Cyr                     1.50 Correspondence with A. Toobin re: Relevant Third
                                                   Party preference analysis (.10); meeting with B. Beller,
                                                   S. Liu, C. Hodges & A. Toobin re: Relevant Third
                                                   Party preference updates (.60); meeting with Alix
                                                   Team, A. Dietderich, B. Beller, S. Liu, C. Hodges &
                                                   A. Toobin re: Relevant Third Party preference analysis
                                                   (.80).
03/14/2023 Kathleen Donnelly                  0.50 Call with E. Downing re: potential avoidance action.
03/14/2023 Zoeth Flegenheimer                 2.70 Review documents re: reissuance of tokens at issue in
                                                   potential avoidance action (.40); review and revise
                                                   2004 requests in connection with potential avoidance
                                                   action (2.1); correspondence with J. Croke re:
                                                   document review in connection with potential
                                                   avoidance action (.20).
03/14/2023 Jared Rosenfeld                    1.70 Call with A. Mazumdar re: personal jurisdiction (.20);
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                                                     research jurisdiction issue for avoidance action claims
                                                     (1.5).
03/14/2023 Andrew Thompson                     1.60 Draft avoidance action complaint against third party.
03/14/2023 Alexander Holland                   2.60 Draft email to S&C team re: press reports on a
                                                    Relevant Third Party (.80); revise 2004 requests to a
                                                    Relevant Third Party (1.8).
03/14/2023 Sienna Liu                          1.40 Meeting with B. Beller, M. Cyr, C. Hodges & A.
                                                    Toobin re: Relevant Third Party preference updates
                                                    (.60); meeting with Alix Team, A. Dietderich, B.
                                                    Beller, M. Cyr, C. Hodges & A. Toobin re: Relevant
                                                    Third Party preference analysis (.80).
03/14/2023 Daniel O'Hara                       0.80 Research and draft memo re: potential adversary
                                                    complaint (.70); call with E. Downing re: bankruptcy
                                                    code question (.10).
03/14/2023 Emma Downing                        5.90 Revise summary of potential preference claim (.60);
                                                    revise powerpoint of potential avoidance action (.90);
                                                    meetings with W. Scheffer re: potential preference
                                                    claim (1.1); draft complaint (2.7); call with D. O'Hara
                                                    re: bankruptcy code question (.10); call with K.
                                                    Donnelly re: potential avoidance action (.50).
03/14/2023 Christian Hodges                    2.00 Meeting with B. Beller, M. Cyr, S. Liu & A. Toobin
                                                    re: Relevant Third Party preference updates (.60);
                                                    meeting with Alix Team, A. Dietderich, B. Beller, M.
                                                    Cyr, S. Liu & A. Toobin re: Relevant Third Party
                                                    preference analysis (.80); prepare for meeting with
                                                    Alix (.60).
03/14/2023 Aneesa Mazumdar                     5.00 Research re: personal jurisdiction (4.8); call with J.
                                                    Rosenfeld re: personal jurisdiction (.20).
03/14/2023 William Scheffer                    6.50 Correspondence re: avoidance action (.20); factual
                                                    research regarding merger (1.0); review Alix memo
                                                    (.50); meetings with E. Downing to discuss avoidance
                                                    action workstreams (1.1); correspondence with Alix
                                                    and A&M re: potential avoidance actions (.30); draft
                                                    avoidance action complaint (3.4).
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03/14/2023 Robert Schutt                    1.80 Research and drafting avoidance action legal summary
                                                 memo.
03/14/2023 Adam Toobin                      1.40 Meeting with B. Beller, M. Cyr, S. Liu and C. Hodges
                                                 re: Relevant Third Party preference updates (.60);
                                                 meeting with Alix team, A. Dietderich, B. Beller, M.
                                                 Cyr, S. Liu and C. Hodges re: Relevant Third Party
                                                 preference analysis (.50 - partial attendance); review
                                                 avoidance action memo (.30).
03/14/2023 Benjamin Zonenshayn              0.20 Edit avoidance action memo.
03/15/2023 Steven Holley                    0.70 Discussion between C. Dunne, S. Wheeler, A.
                                                 Dietderich, A. Cohen, M. Porpora and M. Wu re:
                                                 avoidance action claims and sale processes.
03/15/2023 Stephanie Wheeler                0.70 Discussion between S. Holley, A. Dietderich, C.
                                                 Dunne, M. Popara and M. Wu re: avoidance action
                                                 claims and sale processes.
03/15/2023 Audra Cohen                      1.20 Discussion between S. Holley, S. Wheeler, A.
                                                 Dietderich, A. Cohen, C. Dunne, M. Porpora and M.
                                                 Wu re: avoidance action claims and sale processes
                                                 (.70); various emails re avoidance actions and
                                                 information (.50)
03/15/2023 Andrew Dietderich                2.10 Discussion between S. Holley, S. Wheeler, A. Cohen,
                                                 C. Dunne, M. Porpora and M. Wu re: avoidance
                                                 action claims and sale processes (.70); follow up
                                                 correspondence with A. Cohen and J. Ray (FTX)
                                                 (.60); meeting with Alix Team, B. Beller, S. Liu, C.
                                                 Hodges, M. Cyr & A. Toobin re: Relevant Third
                                                 Party preference analysis. (.80).
03/15/2023 Stephen Ehrenberg                0.90 Email correspondence with internal team re: potential
                                                 avoidance actions (.20); meeting with C. Dunne, J.
                                                 Rosenfeld, and A. Mazumdar re: avoidance action
                                                 (.70).
03/15/2023 Christopher Dunne                3.50 Discussion between S. Holley, S. Wheeler, A.
                                                 Dietderich, A. Cohen, M. Porpora and M. Wu re:
                                                 avoidance action claims and sale processes (.70); call
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                                                    with M. Tomaino, B. Harsch, K. Donnelly, E.
                                                    Downing and W. Scheffer of S&C and AlixPartners
                                                    re: avoidance action flow of funds (.80 - partial
                                                    attendance); meeting with S. Ehrenberg, J. Rosenfeld,
                                                    and A. Mazumdar re: avoidance action (.70); review
                                                    materials and correspondence with S&C team re:
                                                    Relevant Third Party (1.3).
03/15/2023 Matthew Porpora                    0.70 Discussion between S. Holley, S. Wheeler, A.
                                                   Dietderich, C. Dunne and M. Wu re: avoidance action
                                                   claims and sale processes (.70).
03/15/2023 Jacob Croke                        1.40 Analysis re: potential action against relevant third party
                                                   (.50); analysis re: potential claims against relevant third
                                                   party (.20); correspondence with J. MacDonald re:
                                                   same (.10); analysis re: potential claims against
                                                   relevant third party (.30); analysis re: potential action
                                                   against relevant third party (.30).
03/15/2023 Anthony Lewis                      0.90 Review and revise Relevant Third Party Rule 2004
                                                   request (.50); review notes from Relevant Third Party
                                                   call (.10); correspondence with S&C, Sygnia teams
                                                   re: Relevant Third Party (.30).
03/15/2023 Hilary Williams                    2.00 Revise schematics for Relevant Third Party complaint
                                                   (.40); draft Relevant Third Party complaint (1.2);
                                                   review updated Nardello memo re: Relevant Third
                                                   Party (.30); email to M. Benett re: status of Relevant
                                                   Third Party complaint (.10).
03/15/2023 Michael Tomaino Jr.                1.90 Call with C. Dunne, B. Harsch, K. Donnelly, E.
                                                   Downing, W. Scheffer and Alix team re: avoidance
                                                   action flow of funds.
03/15/2023 Bradley Harsch                     1.50 Call with C. Dunne, M. Tomaino, K. Donnelly, E.
                                                   Downing, W. Scheffer and Alix team re: avoidance
                                                   action flow of funds (1.1); call with D. O'Hara to
                                                   discuss potential adversary action re: Relevant Third
                                                   Party (.20); call with W. Scheffer re: avoidance action
                                                   complaint (.20).
03/15/2023 William Wagener                    0.20 Correspondence with M. Porpora and A. Thompson
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Date        Name                             Hours Description

                                                    re: status of draft avoidance action complaint.
03/15/2023 Benjamin Beller                    1.50 Call with Alix team re: analysis (.70); follow up re:
                                                   same (.80).
03/15/2023 Marc-André Cyr                     1.50 Review Relevant Third Party agreements and term
                                                   sheets (.30); revise a brief re: equitable subordination
                                                   (.80); review notes of an internal meeting re:
                                                   preference updates (.20); correspondence with S. Liu
                                                   re: equitable subordination (.20).
03/15/2023 Mimi Wu                            0.70 Discussion between S. Holley, S. Wheeler, A.
                                                   Dietderich, A. Cohen, C. Dunne and M. Porpora re:
                                                   avoidance action claims and sale processes.
03/15/2023 Michele Materni                    0.30 Review avoidance action presentation.
03/15/2023 Mark Bennett                       0.10 Correspondence with H. Williams re: avoidance action
                                                   complaint.
03/15/2023 Kathleen Donnelly                  4.20 Call with M. Tomaino, C. Dunne, B. Harsch, E.
                                                   Downing and W. Scheffer of S&C and Alix re:
                                                   avoidance action flow of funds (1.1); call with E.
                                                   Downing re: draft avoidance action complaint (.20);
                                                   call with B. Harsch, E. Downing, and W. Scheffer re:
                                                   edits to draft complaint (.20); read current memo re:
                                                   avoidance action (.90); review draft avoidance action
                                                   complaint (1.8).
03/15/2023 Zoeth Flegenheimer                 0.20 Review draft 2004 request in connection with potential
                                                   avoidance action.
03/15/2023 Jared Rosenfeld                    3.40 Call with A. Holland re list of creditors (.20); call with
                                                   J. Rosenfeld and A. Mazumdar re: avoidance action
                                                   (.40); meeting with S. Ehrenberg, C. Dunne, and A.
                                                   Mazumdar re: avoidance action (.70); meeting with
                                                   Alix Team, A. Dietderich, B. Beller, S. Liu, C.
                                                   Hodges & A. Toobin re: Relevant Third Party
                                                   preference analysis (.80); correspondence and
                                                   research potential claims against Relevant Third Party
                                                   (1.3).
03/15/2023 Andrew Thompson                    5.20 Call between M. Porpora and S. Holley re: avoidance
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Date        Name                           Hours Description

                                                  complaint against third party (.40); meeting between J.
                                                  Gallant and T. Millet to discuss next steps re:
                                                  complaint analysis and presentation deck re: relevant
                                                  third party (.20); review legal research re: preference
                                                  claims related to escrow payments in connection with
                                                  complaint against third party (.90); complete draft of
                                                  avoidance action complaint against relevant third party
                                                  (3.7).
03/15/2023 Alexander Holland                2.30 Revise notes from call with a Relevant Third Party
                                                 (.30); draft email to S&C team re: press reports on a
                                                 Relevant Third Party (1.80); correspondence with J.
                                                 Rosenfeld re: list of creditors (.20).
03/15/2023 Daniel O'Hara                    1.10 Draft and revise memo re: potential adversary
                                                 complaint (.90); call with B. Harsch to discuss
                                                 potential adversary action re: Relevant Third Party
                                                 (.20).
03/15/2023 Jason Gallant                    2.60 Meeting between A. Thompson and T. Millet to
                                                 discuss next steps re: relevant third party Complaint
                                                 analysis and presentation deck (.20); research into
                                                 escrow payments in preference actions (2.4).
03/15/2023 Emma Downing                     4.90 Revise draft complaint (3.1); call with M. Tomaino, C.
                                                 Dunne, B. Harsch, K. Donnelly, W. Scheffer and Alix
                                                 re: avoidance action flow of funds (1.1); calls with W.
                                                 Scheffer re: avoidance action complaint (.30); call with
                                                 K. Donnelly re: draft avoidance action complaint
                                                 (.20); call with B. Harsch, K. Donnelly and W.
                                                 Scheffer re: edits to draft complaint (.20).
03/15/2023 Christian Hodges                 1.60 Call with A. Toobin re: Relevant Third Party
                                                 preference analysis (.40); listen to hearing re: Relevant
                                                 Third Party (.80); prepare notes summarizing same
                                                 (.40).
03/15/2023 Aneesa Mazumdar                  5.80 Research re: avoidance action (4.7); call with J.
                                                 Rosenfeld re: avoidance action (.40); meeting with S.
                                                 Ehrenberg, C. Dunne and J. Rosenfeld re: avoidance
                                                 action (.70).
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Date        Name                              Hours Description
03/15/2023 Tatum Millet                        2.50 Meeting between A. Thompson and J. Gallant to
                                                    discuss next steps re: relevant third party Complaint
                                                    analysis and presentation deck (.20); confirm relevant
                                                    third party deck to draft relevant third party action
                                                    presentation (1.1); prepare table to calculate the ROI
                                                    for relevant third party investors in connection with
                                                    avoidance action (1.2).
03/15/2023 William Scheffer                    6.10 Call with M. Tomaino, C. Dunne, B. Harsch, K.
                                                    Donnelly, E. Downing and Alix re: avoidance action
                                                    flow of funds (1.1); call with B. Harsch re: avoidance
                                                    action complaint (.20); draft avoidance action
                                                    complaint (4.3); calls E. Downing re: avoidance action
                                                    complaint (.30); call with B. Harsch, K. Donnelly and
                                                    E. Downing re: edits to draft complaint (.20).
03/15/2023 Adam Toobin                         2.60 Meeting with B. Beller, M. Cyr, S. Liu & A. Toobin
                                                    re: Relevant Third Party preference updates (.60);
                                                    meeting with Alix Team, A. Dietderich, B. Beller, M.
                                                    Cyr, S. Liu & A. Toobin re: Relevant Third Party
                                                    preference analysis (.80); notes on meeting re: same
                                                    (1.2).
03/16/2023 Steven Holley                       1.80 Review latest version of relevant third party settlement
                                                    agreement (.40); review draft motion seeking approval
                                                    of relevant third party settlement (.30); review
                                                    documents relating to relevant third party avoidance
                                                    action (1.1).
03/16/2023 Brian Glueckstein                   2.70 Call with A&M, B. Beller, C. Hodges & A. Toobin
                                                    re: relevant third party preference analysis (1.0);
                                                    follow-up discussion with B. Beller and C. Hodges re:
                                                    same (.30); review and analyze information re: relevant
                                                    third party claims and related issues (.80);
                                                    correspondence with A. Kranzley re: debtor entity
                                                    issues (.30); follow-up re: same (.30).
03/16/2023 Christopher Dunne                   1.50 Communications with S&C team and review of
                                                    materials re: potential recovery of relevant third party
                                                    funds (.70); communications with S&C team re:
                                                    potential avoidance action relating to purchase of
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                                                    company (.80).
03/16/2023 Jacob Croke                        3.50 Revise draft settlement agreement materials (.70);
                                                   correspondence with B. Glueckstein re: same (.20);
                                                   analysis re: potential additional avoidance actions and
                                                   related workstreams (.50); correspondence with S.
                                                   Wheeler re: same (.20); analysis re: potential claims
                                                   against donation recipients (.40); revise materials for
                                                   potential consensual turnover action re: exchange
                                                   assets (.50); correspondence with S. Wheeler re:
                                                   same (.10); analyze potential claims against third-party
                                                   issuer and objection to motion to lift stay (.20);
                                                   correspondence with B. Glueckstein re: same (.10);
                                                   analysis of issues related to avoidance action (.40),
                                                   correspondence with S. Wheeler re: same (.20).
03/16/2023 Hilary Williams                    0.90 Revise potential avoidance complaint.
03/16/2023 Bradley Harsch                     3.80 Review and comment on revised draft avoidance
                                                   action complaint.
03/16/2023 William Wagener                    2.50 Review and comment on draft avoidance complaint
                                                   relating to debtor entity.
03/16/2023 Benjamin Beller                    1.80 Call with A&M, B. Glueckstein, C. Hodges & A.
                                                   Toobin re: relevant third party preference analysis
                                                   (1.0); follow up re: same (.70).
03/16/2023 Marc-André Cyr                     0.50 Attention to internal correspondence re: developing
                                                   arguments to respond to requests re: bankruptcy issue
                                                   (.10); review S. Liu's edits to a brief re: bankruptcy
                                                   issues (.20); correspondence with S. Liu re: drafting a
                                                   complaint to avoid and recover preferential transfers
                                                   (.20).
03/16/2023 Zoeth Flegenheimer                 2.50 Call with Alix team re: analysis of funds flow for
                                                   potential avoidance action (.20); review and revise
                                                   2004 requests in connection with potential avoidance
                                                   action (2.1); review Alix analysis re: intracompany
                                                   loans (.20).
03/16/2023 Jared Rosenfeld                    4.30 Research re: potential avoidance action claims in
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                                                     connection with a relevant third party.
03/16/2023 Andrew Thompson                     5.50 Revise avoidance action complaint against third party
                                                    (4.7); review shareholder return-on-investment
                                                    estimations, for incorporation into third party
                                                    avoidance action complaint (.80).
03/16/2023 Alexander Holland                   0.50 Call with P. Lavin re: discussion of document search in
                                                    connection with potential avoidance action work
                                                    stream (.30); attention to team communication re:
                                                    same (.20).
03/16/2023 Sienna Liu                          0.60 Revise equitable subordination analysis for preference
                                                    claims.
03/16/2023 Daniel O'Hara                       1.20 Revise memo re: adversary complaint and
                                                    correspondence re: same.
03/16/2023 Jason Gallant                       0.10 Emails re: relevant third party avoidance action
                                                    complaint.
03/16/2023 Emma Downing                        4.60 Meeting with W. Scheffer to edit avoidance action
                                                    complaint (.90); revisions to avoidance action
                                                    complaint (3.7).
03/16/2023 Christian Hodges                    1.00 Call with A&M, B. Glueckstein, B. Beller and A.
                                                    Toobin re: relevant third party preference analysis.
03/16/2023 Phoebe Lavin                        4.70 Revise draft 2004 request in connection with
                                                    avoidance action workstream (4.4); call with A.
                                                    Holland re: discussion of document search in
                                                    connection with potential avoidance action work
                                                    stream (.30).
03/16/2023 Aneesa Mazumdar                     2.10 Research re: potential avoidance action.
03/16/2023 Tatum Millet                        2.10 Finalize conformed version of debtor entity
                                                    presentation deck (1.5); cite check deck (.60).
03/16/2023 William Scheffer                    3.60 Revise avoidance action complaint (1.8);
                                                    correspondence with A&M re: avoidance action work
                                                    (.30); review A&M analysis re: same (.50); meeting
                                                    with E. Downing to edit avoidance action complaint
                                                    (.90); correspondence with M. Materni re: privilege
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                                                    (.10).
03/16/2023 Adam Toobin                        1.10 Call with A&M, B. Beller and C. Hodges re: relevant
                                                   third party preference analysis s (1.0); scheduling
                                                   follow up (.10).
03/17/2023 Brian Glueckstein                  0.30 Review documents and information re: other crypto
                                                   debtors' claims and avoidance issues.
03/17/2023 Christopher Dunne                  1.80 Correspondence with team re: relevant third party
                                                   settlement (.70); review materials re: potential
                                                   complaint and related communications (.50); call with
                                                   J. Croke to discuss borrowing limits and case theories
                                                   (.60).
03/17/2023 Jacob Croke                        4.00 Review and revise materials re: fund settlement and
                                                   accompanying motion (1.2); correspondence with J.
                                                   Ray (FTX) and B. Glueckstein re: same (.30); call
                                                   with fund counsel re: same (.30); call with C. Dunne to
                                                   discuss borrowing limits and case theories (.60);
                                                   analysis re: potential additional avoidance actions and
                                                   related workstreams for additional recoveries (.90);
                                                   correspondence with Z. Flegenheimer re: same (.20);
                                                   analysis re: issues for recovery of donations (.20);
                                                   correspondence with third-party counsel re: same
                                                   (.10).
03/17/2023 Anthony Lewis                      0.50 Review Rule 2004 request on new paradigm (.30);
                                                   correspondence with S&C team re: potential
                                                   avoidance claim issues (.20).
03/17/2023 Hilary Williams                    3.80 Review documents for potential avoidance complaint
                                                   (1.8); draft potential avoidance complaint (2.0).
03/17/2023 Bradley Harsch                     7.00 Review and comment on revised draft complaint for
                                                   transaction (5.5); review and email re: interview memo
                                                   in connection with same (.40); call with W. Scheffer
                                                   and E. Downing re: edits to draft avoidance action
                                                   complaint (1.0); review and email re: revised Alix fund
                                                   analysis re: same (.10).
03/17/2023 William Wagener                    0.30 Call with A. Thompson re: potential avoidance action
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                                                    complaint.
03/17/2023 Benjamin Beller                    1.00 Review analyses of avoidance actions and related
                                                   documents.
03/17/2023 Zoeth Flegenheimer                 2.50 Review and revise 2004 requests and cover letter in
                                                   connection with potential avoidance action (1.6);
                                                   coordinate with P. Lavin re: revising 2004 requests
                                                   (.10); coordinate with D. O'Hara and E. Downing re:
                                                   loan analysis in connection with potential avoidance
                                                   actions (.20); review Alix analysis of loan fund flows
                                                   (.20); coordinate with J. Croke re: loan analysis in
                                                   connection with potential avoidance actions (.20);
                                                   coordinate with A. Lewis re: valuation of token
                                                   warrants in connection with potential avoidance action
                                                   (.20).
03/17/2023 Andrew Thompson                    0.30 Call with T. Millet to discuss ROI calculation in
                                                   connection with potential avoidance action.
03/17/2023 Alexander Holland                  0.40 Attention to team communication re: a relevant third
                                                   party.
03/17/2023 Daniel O'Hara                      0.80 Revise draft memo re: adversary action.
03/17/2023 Matthew Strand                     3.70 Review documents related to potential avoidance
                                                   actions (1.5); prepare summaries of interesting
                                                   documents (2.2).
03/17/2023 Emma Downing                       4.60 Draft talking points for avoidance action presentation
                                                   (1.1); revise avoidance action memo (1.2); meetings
                                                   with W. Scheffer re: edits to draft avoidance action
                                                   complaint (.80); call with B. Harsch and W. Scheffer
                                                   re: edits to draft avoidance action complaint (1.0);
                                                   research re: public reporting on potential avoidance
                                                   action (.20); coordinate with research staff re: same
                                                   (.10); review deck for potential avoidance action
                                                   (.20).
03/17/2023 Phoebe Lavin                       4.00 Revise draft 2004 request in connection with
                                                   avoidance action workstream.
03/17/2023 Tatum Millet                       1.20 Complete debtor entity presentation deck to send to
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                                                     A. Thompson (.90); call with A. Thompson to discuss
                                                     ROI calculation in connection with potential avoidance
                                                     action (.30).
03/17/2023 William Scheffer                    5.70 Revise avoidance action complaint (3.7); call with B.
                                                    Harsch and E. Downing re: edits to draft avoidance
                                                    action complaint (1.0); correspondence with A&M re:
                                                    analysis re: avoidance action (.50); meetings with E.
                                                    Downing re: edits to draft avoidance action complaint
                                                    (.50)
03/18/2023 Kathleen McArthur                   0.10 Correspondence re: upcoming settlement of avoidance
                                                    action.
03/18/2023 Jacob Croke                         0.80 Finalize and execute settlement agreement with
                                                    third-party fund (.50); correspondence with B.
                                                    Glueckstein and J. Ray (FTX) re: same (.20).
03/18/2023 Anthony Lewis                       0.10 Correspondence with S&C and Sygnia teams re:
                                                    relevant third party
03/18/2023 Hilary Williams                     5.00 Draft avoidance complaint.
03/19/2023 Anthony Lewis                       0.10 Correspondence with S&C team re: relevant third
                                                    party issues.
03/19/2023 Hilary Williams                     7.20 Draft potential avoidance complaint (6.0); review
                                                    source documents for potential avoidance complaint
                                                    (1.2).
03/19/2023 Alexander Holland                   0.10 Attention to team communication re: a relevant third
                                                    party
03/19/2023 Tatum Millet                        0.90 Update ROI calculation table in relation to potential
                                                    avoidance actions.
03/19/2023 William Scheffer                    0.20 Review revised Alix memo re: asset tracing.
03/20/2023 Andrew Dietderich                   0.40 Emails to B. Glueckstein and K. McArthur re: relevant
                                                    third party mediation (.20); review and comment on
                                                    relevant third party papers (.20).
03/20/2023 Steven Peikin                       0.70 Weekly call with QE and John Ray (FTX) re:
                                                    avoidance actions.
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03/20/2023 Stephen Ehrenberg                  0.20 Review email from Alix regarding asset tracing analysis
                                                   for avoidance action.
03/20/2023 Brian Glueckstein                  1.10 Call with Alix, B. Beller & A. Toobin re: updated
                                                   relevant third party preference analysis (.60); call with
                                                   J. Ray (FTX), QE and S&C re: avoidance
                                                   workstreams and strategy issues (.50).
03/20/2023 Christopher Dunne                  1.10 Meeting with Z. Flegenheimer, D. O’Hara, M. Strand,
                                                   and E. Downing re: potential avoidance action
                                                   complaint (.30); meeting with B. Harsch, Z.
                                                   Flegenheimer, D. O’Hara, M. Strand, E. Downing,
                                                   and the Alix team re: potential avoidance action (.80).
03/20/2023 Jacob Croke                        3.20 Review and revise materials re: relevant third party
                                                   settlement agreement (.90); correspondence with B.
                                                   Glueckstein and Alix re: same (.20); weekly call with
                                                   J. Ray (FTX) re: investigative progress and potential
                                                   avoidance actions (.50); review and analyze potential
                                                   additional avoidance actions and investigative
                                                   workstreams including charitable donations (.60);
                                                   correspondence with Alix re: same (.10); review and
                                                   analyze issue re: potential claims against third party
                                                   entity associated with former employee (.80);
                                                   correspondence with Alix re: same (.10).
03/20/2023 Nicole Friedlander                 0.50 Call with J. Ray (FTX), B. Glueckstein, J. Croke, S.
                                                   Peikin and S. Williamson (QE) re: avoidance
                                                   workstreams and strategy issues.
03/20/2023 Anthony Lewis                      0.40 Correspondence with S&C and Mayer Brown teams
                                                   re: potential claims (.30); correspondence with S&C
                                                   and Sygnia teams re: relevant third party transfers
                                                   (.10).
03/20/2023 Hilary Williams                    7.40 Review research memo re: counts for potential
                                                   avoidance action (.40); review Nardello memo re:
                                                   potential avoidance action (.50); revise schematics for
                                                   potential avoidance action (.70); draft potential
                                                   avoidance action (5.5); emails with M. Bennett re:
                                                   allegations in connection with potential avoidance
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                                                   complaint (.30).
03/20/2023 Michael Tomaino Jr.               0.50 Review and analyze e-mails with team and FTI and
                                                  related work product re: transfers in connection with
                                                  acquisition transaction.
03/20/2023 Bradley Harsch                    7.10 Review F. Weinberg email re: memo re: avoidance
                                                  action (.10); review email re: recovery from relevant
                                                  third party (.10); review Nardello email re: status of
                                                  research on relevant third party social media (.10);
                                                  review emails re: debtor entity escrow (.20); review
                                                  documents and draft memo re: relevant third party
                                                  connections (2.7); review W. Scheffler inquiry re:
                                                  transfers re: relevant third party (.10); compile and
                                                  email re: key documents for relevant third party memo
                                                  (.30); review and email re: Alix schedule of loans
                                                  (.30); review and email re: Alix email re: relevant third
                                                  acquisition transaction (.30); email Nardello re: status
                                                  of research into account relevant to potential
                                                  avoidance action (.20); review revised Alix
                                                  chronology for acquisition transaction (.10); review
                                                  W. Scheffler email re: RLA bank statement (.10);
                                                  research and email re: Nardello memo on relevant
                                                  third party (.20); review A. Holland email re: research
                                                  into relevant third party deposits and relevant third
                                                  party (.10); review Nardello memo re: customer
                                                  account (.30); revise and incorporate revisions into
                                                  memo for Alix analysis of account relevant to potential
                                                  avoidance action (.50); meeting with C. Dunne, Z.
                                                  Flegenheimer, D. O’Hara, M. Strand, E. Downing,
                                                  and the Alix team re: potential avoidance action (.80);
                                                  circulate revised version of relevant third party memo
                                                  (.20); review revised complaint (.20); review Alix
                                                  explanation of e-money and online transfers for
                                                  complaint (.10); call with F. Weinberg re: status of
                                                  memo re: potential avoidance action (.10).
03/20/2023 William Wagener                   0.20 Emails with A. Thompson and W. Scheffer re: draft
                                                  avoidance action complaints.
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03/20/2023 Benjamin Beller                    0.60 Call with Alix, B. Glueckstein & A. Toobin re:
                                                   updated relevant third party preference analysis.
03/20/2023 Marc-André Cyr                     0.50 Revise memo re: bankruptcy issues (.40);
                                                   correspondence with S. Liu re: comments on memo
                                                   re: bankruptcy issues (.10).
03/20/2023 Michele Materni                    0.30 Correspondence with J. Croke, M. Bennett, and Z.
                                                   Flegenheimer re: additional avoidance actions
                                                   workstreams.
03/20/2023 Mark Bennett                       0.50 Correspondence with H. Williams re: draft avoidance
                                                   action complaint against relevant third parties.
03/20/2023 Fabio Weinberg Crocco              0.20 Call with B. Harsch re: status of memo re: potential
                                                   avoidance action (.10); follow-up with AMT team re:
                                                   same (.10).
03/20/2023 Zoeth Flegenheimer                 3.90 Review Alix analysis of loan fund flows (.30);
                                                   coordinate with Alix in connection with potential
                                                   avoidance actions (.40); meeting with C. Dunne, D.
                                                   O’Hara, M. Strand, and E. Downing re: potential
                                                   avoidance action complaint (.30); meeting with D.
                                                   O’Hara, M. Strand, and E. Downing re: potential
                                                   avoidance action complaint (.20); coordinate with E.
                                                   Downing re: reviewing documents for potential
                                                   avoidance action (.10); coordinate with M. Materni re:
                                                   potential avoidance action (.10); coordinate with M.
                                                   Bennett re: investigating potential avoidance action
                                                   (.80); coordinate with J. Croke re: reviewing
                                                   documents for potential avoidance action (.10);
                                                   coordinate with B. Harsch re: funds tracing in
                                                   connection with avoidance action (.10); coordinate
                                                   with J. Rosenfeld re: funds tracing in connection with
                                                   avoidance action (.10); review account records in
                                                   connection with avoidance action (.60); meeting with
                                                   C. Dunne, B. Harsch, D. O’Hara, M. Strand, E.
                                                   Downing, and the Alix team re: potential avoidance
                                                   action (.80).
03/20/2023 Jared Rosenfeld                    2.20 Call with M. Materni re: outstanding SDNY
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                                                   workstreams and requests. (.30); call with K.
                                                   McArthur re: research into withdrawals from relevant
                                                   third party (.20); meeting with Z. Flegenheimer re:
                                                   preparing presentation to SDNY on political
                                                   contribution funds (.40); call with M. Materni re:
                                                   political contributions presentation (.10); call with A.
                                                   Mazumdar re: foreign service of process (.10);
                                                   research asset tracing for claims against Relevant Third
                                                   Party (.50); research foreign service of process (.60).
03/20/2023 Andrew Thompson                   0.70 Review updated shareholder return-on-investment
                                                  estimates, for inclusion in next draft of third party
                                                  avoidance action complaint.
03/20/2023 Alexander Holland                 0.40 Draft email to C. Dunne and A. Lewis re: a relevant
                                                  third party.
03/20/2023 Sienna Liu                        4.00 Further research on equitable subordination analysis
                                                  for preference claims (1.3); review relevant third party
                                                  draft motion to lift stay (.40); draft relevant third party
                                                  preference complaint (2.3).
03/20/2023 Daniel O'Hara                     1.60 Review and revise draft memo re: adversary complaint
                                                  (.30); meeting with C. Dunne, Z. Flegenheimer, M.
                                                  Strand, and E. Downing re: potential avoidance action
                                                  complaint (.30); meeting with Z. Flegenheimer, M.
                                                  Strand, and E. Downing re: potential avoidance action
                                                  complaint (.20); meeting with C. Dunne, B. Harsch, Z.
                                                  Flegenheimer, M. Strand, E. Downing, and the Alix
                                                  team re: potential avoidance action (.80).
03/20/2023 Matthew Strand                    3.60 Meeting with C. Dunne, Z. Flegenheimer, D. O’Hara
                                                  and E. Downing re: potential avoidance action
                                                  complaint (.30); meeting with Z. Flegenheimer, D.
                                                  O’Hara and E. Downing re: potential avoidance action
                                                  complaint (.20); meeting with C. Dunne, B. Harsch, Z.
                                                  Flegenheimer, D. O’Hara, E. Downing, and the Alix
                                                  team re: potential avoidance action (.80); review
                                                  documents related to potential avoidance actions
                                                  (2.3).
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Date        Name                              Hours Description
03/20/2023 Ugonna Eze                          1.00 Draft section of memo on potential Third Party
                                                    Avoidance action.
03/20/2023 Emma Downing                        6.00 Revise draft complaint for avoidance actions (4.1);
                                                    meetings with W. Scheffer re: edits to draft avoidance
                                                    action complaint (.60); meeting with C. Dunne, Z.
                                                    Flegenheimer, D. O’Hara and M. Strand re: potential
                                                    avoidance action complaint (.30); meeting with Z.
                                                    Flegenheimer, D. O’Hara and M. Strand re: potential
                                                    avoidance action complaint (.20); meeting with C.
                                                    Dunne, B. Harsch, Z. Flegenheimer, D. O’Hara, M.
                                                    Strand and the Alix team re: potential avoidance action
                                                    (.80).
03/20/2023 Aneesa Mazumdar                     2.10 Research re: third party service of process (2.0); call
                                                    with J. Rosenfeld re: foreign service of process (.10).
03/20/2023 Luke Ross                           5.80 Review of documents and drafting of summaries
                                                    related to relevant third party for potential avoidance
                                                    action.
03/20/2023 William Scheffer                    6.20 Search for bank records relevant to avoidance action
                                                    (1.0); correspondence with B. Harsch re: the same
                                                    (.20); revise avoidance action complaint (4.7);
                                                    meetings with E. Downing re: edits to avoidance action
                                                    complaint (.30).
03/20/2023 Adam Toobin                         1.50 Call with Alix, B. Glueckstein and B. Beller re:
                                                    updated relevant third party preference analysis (.60);
                                                    send follow up messages to relevant third parties
                                                    (.90).
03/21/2023 Brian Glueckstein                   1.20 Meeting with B. Beller re: relevant third party and
                                                    related avoidance analysis (.30); correspondence with
                                                    Alix team re: avoidance analysis and follow-up (.40);
                                                    correspondence and follow-up re: relevant third party
                                                    and dispute issues (.50).
03/21/2023 Christopher Dunne                   1.30 Correspondence with team re: relevant third party
                                                    (.30); call with M. Tomaino re: avoidance action
                                                    complaint (.20); communications with team and review
                                                    of relevant third party (.40); call with M. Tomaino re:
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Date        Name                             Hours Description

                                                    potential avoidance action theories on venture
                                                    investment (.40).
03/21/2023 Jacob Croke                        2.50 Call with H. Williams re: potential avoidance action
                                                   complaint against relevant third party (.50); review and
                                                   analyze additional potential avoidance actions and
                                                   investigative workstreams for asset recoveries (1.5);
                                                   correspondence with C. Dunne re: same (.10);
                                                   analysis re: arguments for claims against third-party
                                                   fund (.40).
03/21/2023 Anthony Lewis                      0.20 Correspondence with S&C, Mayer Brown teams re:
                                                   potential claims.
03/21/2023 Hilary Williams                    8.70 Call with M. Bennett re: potential avoidance action
                                                   complaint (.10); email to M. Bennett re: allegations in
                                                   potential avoidance complaint (.10); emails with M.
                                                   Bennett re: Nardello memo (.10); review Nardello
                                                   memo and underlying calculations (.60); email to H.
                                                   Master (Nardello) re: questions on memo (.10); call
                                                   with H. Master (Nardello) re: calculations in memo
                                                   (.30); call with J. Croke re potential avoidance actions
                                                   (.50); continue drafting potential avoidance action
                                                   (6.6); emails with J. Croke re: Nardello response re
                                                   calculations in memo (.20); review Nardello response
                                                   re: calculations in memo (.10).
03/21/2023 Michael Tomaino Jr.                1.30 Call with C. Dunne re: potential avoidance action
                                                   theories on venture investment (.40); call with C.
                                                   Dunne re: avoidance action complaint (.20); e-mails
                                                   with team and FTI re: documents related to relevant
                                                   third party (.10); e-mails with team re: draft avoidance
                                                   action complaint (.10); review draft avoidance action
                                                   complaint (.50).
03/21/2023 Bradley Harsch                     5.00 Call with E. Downing re: edits to draft avoidance
                                                   action complaint (.10); review and revise draft
                                                   complaint re: acquisition transaction (3.4); call with Z.
                                                   Flegenheimer and D. O’Hara to discuss potential
                                                   adversary action (.50); review W. Scheffer, F.
                                                   Weinberg email re: outreach to relevant third party for
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Date        Name                              Hours Description

                                                     bank statement (.10); emails with W. Scheffer re:
                                                     account statement (.10); review email to Alix re:
                                                     account statement (.10); review email re: status of
                                                     Slack data collection (.10); review email and deck re:
                                                     relevant third party flow of funds (.20); review revised
                                                     complaint (.20); review revised relevant third party
                                                     memo (.10); email C. Dunne re: status of complaint
                                                     (.10).
03/21/2023 William Wagener                     0.40 Review and comment on draft motion to approve
                                                    relevant third party settlement.
03/21/2023 Benjamin Beller                     0.50 Call with Alix re: avoidance action matters.
03/21/2023 Mark Bennett                        2.70 Call with H. Williams re: potential avoidance action
                                                    complaint (.10); research debtor entity corporate
                                                    structure to support allegations in potential avoidance
                                                    action complaint and correspondence with H.
                                                    Williams, M. Materni re: same (1.6); correspondence
                                                    with W. Scheffer re: debtor entity financial issue
                                                    related to potential avoidance action (.20); review
                                                    A&M analysis re: customer transactions relevant to
                                                    potential avoidance action (.80).
03/21/2023 Zoeth Flegenheimer                  0.60 Coordinate with M. Bennett re: investigating potential
                                                    avoidance action (.10); call with B. Harsch and D.
                                                    O’Hara to discuss potential adversary action (.50).
03/21/2023 Alexander Holland                   0.20 Draft email to C. Dunne and A. Lewis re: relevant
                                                    third party.
03/21/2023 Daniel O'Hara                       4.80 Draft and revise adversary complaint memo (4.3); call
                                                    with B. Harsch and Z. Flegenheimer to discuss
                                                    potential adversary action (.50).
03/21/2023 Emma Downing                        2.60 Revise draft complaint for avoidance action (2.2); call
                                                    with B. Harsch re: edits to draft avoidance action
                                                    complaint (.10); calls with W. Scheffer re: edits to
                                                    draft avoidance action complaint (.30).
03/21/2023 Aneesa Mazumdar                     4.30 Research re: third party service of process.
03/21/2023 William Scheffer                    4.40 Revise avoidance action complaint (3.2);
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                                                    correspondence with avoidance action team re:
                                                    complaint revisions (.30); correspondence with C.
                                                    Dunne, B. Harsch, Alix and A&M re: bank records
                                                    (.60); calls with E. Downing re: edits to draft
                                                    avoidance action complaint (.30).
03/22/2023 Brian Glueckstein                  3.50 Call with A&M, B. Beller & A. Toobin re: relevant
                                                   third party preference analysis (.90); follow-up
                                                   meeting with B. Beller and A. Toobin re: same (.30);
                                                   review and analyze revised relevant third party
                                                   avoidance analysis (1.2); meeting with B. Beller re:
                                                   relevant third party analysis and related issues (.30);
                                                   review and analyze documents re: potential relevant
                                                   third party avoidance issues (.80).
03/22/2023 Christopher Dunne                  3.40 Correspondence with M. Tomaino re: potential
                                                   avoidance action theories on venture investment (.40);
                                                   communications with relevant third party re: real estate
                                                   issue (.20); review avoidance action draft complaint
                                                   (2.5); correspondence with M. Tomaino re: avoidance
                                                   action complaint (.20); call with E. Downing re: draft
                                                   avoidance action complaint (.10).
03/22/2023 Jacob Croke                        2.10 Review and analyze memo re: interview of cooperator
                                                   (.40); analyze potential avoidance actions and
                                                   correspondence with C. Dunne re: same (.20); review
                                                   and finalize materials re: relevant third party filing (.40);
                                                   correspondence with B. Glueckstein re: same (.30);
                                                   review and analyze draft complaint re: third party fund
                                                   and related issues re: potential filing (.80).
03/22/2023 Hilary Williams                    3.90 Draft potential avoidance complaint (3.2); review legal
                                                   analysis of potential claims for avoidance complaint
                                                   (.30); email correspondence with H. Master
                                                   (Nardello) re: memo regarding potential avoidance
                                                   action (.20); correspondence with M. Bennett re: legal
                                                   issues for potential avoidance action complaint (.20).
03/22/2023 Michael Tomaino Jr.                0.70 Correspondence with FTI and team re: acquisition
                                                   transaction (.10); review team's proposed edits and
                                                   comments on draft complaint (.40); e-mails with S&C
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                                                    team re: draft complaint and document review re:
                                                    same (.20).
03/22/2023 Bradley Harsch                     3.50 Review updated Nardello report re: relevant third
                                                   party (.70); meeting with Alix, Z. Flegenheimer, D.
                                                   O’Hara, M. Strand, and U. Eze re: potential third
                                                   party avoidance action (.30); review and comment on
                                                   deck for relevant third party loan actions (.80); review
                                                   C. Dunne comments on avoidance action complaint
                                                   (.20); emails re: access to documents relevant to
                                                   subject of potential avoidance action (.10); review
                                                   revisions to avoidance action complaint (.20); review
                                                   A&M email re: Alameda funding of bank account for
                                                   acquisition transaction (.10); review Alix email re:
                                                   bank accounts (.20); revise relevant third party memo
                                                   in light of updated Nardello information (.60); review
                                                   email from A&M to Nardello re: relevant third party
                                                   flow of funds (.10); review revised relevant third party
                                                   memo (.20).
03/22/2023 Benjamin Beller                    2.00 Meeting with Alix, M-A. Cyr & S. Liu re: relevant
                                                   third party preference analysis (.30 - partial
                                                   attendance); call with A&M, B. Glueckstein & A.
                                                   Toobin re: relevant third party preference analysis
                                                   (.90). meeting with B. Glueckstein and A. Toobin re:
                                                   relevant third party preference analysis (.30); meeting
                                                   with A. Toobin re: relevant third party preference
                                                   analysis (.30); call with A&M, A. Toobin re: relevant
                                                   third party preference analysis (.30); call with A.
                                                   Toobin re: relevant third party preference analysis
                                                   (.10); call with Alix re: avoidance analysis (.10).
03/22/2023 Marc-André Cyr                     0.40 Meeting with Alix, B. Beller & S. Liu. re: relevant third
                                                   party preference analysis.
03/22/2023 Mark Bennett                       4.60 Review A&M analysis responsive to SDNY priority
                                                   request (.30); research customer data and prepare
                                                   analysis re: same in connection with preparation of
                                                   avoidance action (3.6); correspondence with E.
                                                   Downing re: same (.20); correspondence with H.
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                                                   Master (A&M) and H. Williams re: draft of complaint
                                                   for potential avoidance action (.50).
03/22/2023 Zoeth Flegenheimer                5.00 Review and revise Rule 2004 requests in connection
                                                  with potential avoidance action (1.0); coordinate with
                                                  A. Holland re: revising 2004 requests (.10); research
                                                  service of process in connection with potential
                                                  avoidance action (.30); prepare presentation in
                                                  connection with potential avoidance action (3.3);
                                                  meeting with Alix, B. Harsch, D. O’Hara, M. Strand,
                                                  and U. Eze regarding potential third party avoidance
                                                  action (.30).
03/22/2023 Mitchell Friedman                 0.40 Call with A. Thompson and T. Millet re: calculating an
                                                  ROI for debtor entity shareholders (.40 - partial
                                                  attendance).
03/22/2023 Andrew Thompson                   0.50 Call with M. Friedman and T. Millet re: calculating an
                                                  ROI for debtor entity shareholders.
03/22/2023 Alexander Holland                 2.40 Revise 2004 Request to a relevant third party.
03/22/2023 Sienna Liu                        0.40 Meeting with Alix, B. Beller and M-A. Cyr re:
                                                  relevant third party preference analysis.
03/22/2023 Daniel O'Hara                     1.20 Revise memo re: potential adversary complaint (.90);
                                                  meeting with Alix, B. Harsch, Z. Flegenheimer, M.
                                                  Strand, and U. Eze regarding potential third party
                                                  avoidance action (.30).
03/22/2023 Matthew Strand                    0.30 Meeting with Alix and B. Harsch, Z. Flegenheimer, D.
                                                  O’Hara and U. Eze re: potential third party avoidance
                                                  action.
03/22/2023 Ugonna Eze                        0.30 Meeting with Alix and B. Harsch, Z. Flegenheimer, D.
                                                  O’Hara and M. Strand re: potential third party
                                                  avoidance action.
03/22/2023 Emma Downing                      2.10 Meetings with W. Scheffer to discuss avoidance
                                                  action workstreams (1.3); review edits to draft
                                                  complaint (.40); draft response re: same (.40).
03/22/2023 Aneesa Mazumdar                   1.40 Research re: third party service of process.
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Date        Name                              Hours Description
03/22/2023 Tatum Millet                        0.50 Call between M. Friedman and A. Thompson re:
                                                    calculating an ROI for debtor entity shareholders.
03/22/2023 William Scheffer                    6.40 Correspondence with C. Dunne, B. Harsch, Alix and
                                                    A&M re: bank records (.40); review documents
                                                    related to avoidance action (2.8); meetings with E.
                                                    Downing to discuss avoidance action workstreams
                                                    (1.3); revise avoidance action memo (1.7); review
                                                    comments re: avoidance action complaint (.20).
03/22/2023 Adam Toobin                         2.40 Call with A&M, B. Glueckstein and B. Beller re:
                                                    relevant third party preference analysis (.90); meeting
                                                    re: relevant third party preference analysis with B.
                                                    Glueckstein and B. Beller (.30); meeting re: relevant
                                                    third party preference analysis with B. Beller (.30); call
                                                    re: relevant third party preference analysis with A&M
                                                    and B. Beller (.30); call re: relevant third party
                                                    preference analysis with B. Beller (.10); review notes
                                                    on relevant third party preference analysis (.50).
03/23/2023 Steven Holley                       2.50 Review emails concerning status of sale of real estate
                                                    issue (.30); telcon with C. Dunne re: draft avoidance
                                                    action complaint (.30); telcon with M. Porpora re:
                                                    draft debtor entity complaint (.20): review initial draft
                                                    of debtor entity complaint (1.7).
03/23/2023 Brian Frawley                       1.20 Correspondence with B. Harsch, C. Dunne, W.
                                                    Scheffer, M. Tomaino re: privilege issue related to
                                                    avoidance action (.30); email correspondence B.
                                                    Harsch re: interpretation of terms in merger agreement
                                                    (.20); research privilege issue re: avoidance action
                                                    (.70).
03/23/2023 Brian Glueckstein                   1.00 Meeting with Alix, Paul Hastings, FTI, M. Cyr, B.
                                                    Beller, and U. Eze re: potential third party avoidance
                                                    action (.80); follow-up re: same (.20).
03/23/2023 Christopher Dunne                   3.50 Call with M. Tomaino, B. Harsch, K. Donnelly, E.
                                                    Downing, and W. Scheffer re: potential avoidance
                                                    action (.90); review avoidance action complaint and
                                                    communications re: same (2.6).
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Date        Name                             Hours Description
03/23/2023 Jacob Croke                        1.20 Correspondence with G. Walia (A&M) re: Alameda
                                                   history (.20); analysis re: third-party lender and
                                                   potential claims (.20); correspondence with C. Dunne
                                                   re: same (.10); analyze issues re: potential claim
                                                   against relevant third party (.20); analyze issues re:
                                                   relevant third party (.20); correspondence with B.
                                                   Glueckstein re: same (.10); analyze issues re:
                                                   proposed resolution from third party entity (.20).
03/23/2023 Anthony Lewis                      0.10 Call with C. Dunne re: potential claims.
03/23/2023 Hilary Williams                    2.80 Continue revising potential avoidance complaint (1.5);
                                                   call with J. Croke re: potential avoidance complaint
                                                   (.50); review additional source materials for new
                                                   allegations in potential avoidance complaint (.80).
03/23/2023 Michael Tomaino Jr.                1.60 Review and analyze e-mails re additional points for
                                                   avoidance action complaint (.30); review and analyze
                                                   emails re: privilege issue relevant to avoidance action
                                                   (.40); call with C. Dunne, B. Harsch, K. Donnelly, E.
                                                   Downing, and W. Scheffer re: potential avoidance
                                                   action (.90).
03/23/2023 Bradley Harsch                     1.90 Review email re: complaint questions and fact
                                                   development (.10); prep for call on complaint (.10);
                                                   call with M. Tomaino, C. Dunne, K. Donnelly, E.
                                                   Downing, and W. Scheffer re: potential avoidance
                                                   action (.90); call with W. Scheffer to discuss revisions
                                                   to avoidance action complaint (.10); review email re:
                                                   visual for relevant third party flow of funds (.10);
                                                   review and email re: privilege issue relevant to
                                                   avoidance action (.40); review and email re: B.
                                                   Frawley comments on same (.20).
03/23/2023 William Wagener                    0.10 Correspondence with J. Rosenfeld re: Rule 2004
                                                   request strategy.
03/23/2023 Benjamin Beller                    1.80 Call with A&M and A. Toobin re: relevant third party
                                                   preference analysis (.60); calls with A. Toobin re:
                                                   preference analysis (.40); meeting with Alix, Paul
                                                   Hastings, FTI, B. Glueckstein, M. Cyr and U. Eze
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                                                    regarding potential relevant third party avoidance
                                                    action (.80).
03/23/2023 Marc-André Cyr                     1.10 Review the relevant third party Preference Analysis
                                                   generated by Alix (.30); meeting with Alix, Paul
                                                   Hastings, FTI , B. Glueckstein, B. Beller, and U. Eze
                                                   re: potential relevant third party avoidance action
                                                   (.80).
03/23/2023 Marc-André Cyr                     0.10 Attention to internal correspondence re: amended
                                                   preference complaint.
03/23/2023 Mark Bennett                       2.80 Review and revise associate analysis of transactions
                                                   by FTX customers to confirm basis for potential
                                                   avoidance action (2.1); correspondence with T. Millet,
                                                   E. Downing, M. Strand re: same (.40);
                                                   correspondence with J. Croke re: coordination with
                                                   Alix re: FTX customer data (.30).
03/23/2023 Kathleen Donnelly                  0.90 Call with M. Tomaino, C. Dunne, B. Harsch, E.
                                                   Downing, and W. Scheffer re: potential avoidance
                                                   action.
03/23/2023 Zoeth Flegenheimer                 1.50 Review and revise 2004 requests in connection with
                                                   potential avoidance action (.10); prepare presentation
                                                   in connection with potential avoidance action (.20);
                                                   review updated memo addressing claims for potential
                                                   avoidance action (1.1); coordinate with A. Holland re:
                                                   investigating value of shares in connection with
                                                   potential avoidance action (.10).
03/23/2023 Dylan Handelsman                   0.30 Meeting with W. Scheffer to discuss avoidance action.
03/23/2023 Jared Rosenfeld                    3.00 Call with M. Kober re: avoidance action research into
                                                   relevant third party. (.60); research in rem and foreign
                                                   service memoranda (2.4).
03/23/2023 Alexander Holland                  0.70 Revise 2004 Request to a relevant third party
03/23/2023 Daniel O'Hara                      1.70 Research and revise draft memo re: potential
                                                   adversary action.
03/23/2023 Ugonna Eze                         2.80 Draft section memo on potential third party avoidance
                                                   action (2.0); meeting with Alix, Paul Hastings, FTI B.
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                                                     Glueckstein, M. Cyr and B. Beller regarding potential
                                                     third party avoidance action (.80).
03/23/2023 Max Kober                           1.20 Call with J. Rosenfeld re: avoidance action research
                                                    into relevant third party (.60); initial research into
                                                    avoidance action jurisdictional issues (.60).
03/23/2023 Emma Downing                        2.70 Meetings with W. Scheffer to discuss avoidance
                                                    action review (1.2); call with M. Tomaino, C. Dunne,
                                                    B. Harsch, K. Donnelly and W. Scheffer re: potential
                                                    avoidance action (.90); research regarding privilege
                                                    question (.60).
03/23/2023 William Scheffer                    6.90 Prepare materials for avoidance action team meeting
                                                    (1.5); call with M. Tomaino, C. Dunne, B. Harsch, K.
                                                    Donnelly and E. Downing re: potential avoidance
                                                    action (.90); meetings with E. Downing to discuss
                                                    avoidance action review (1.2); meeting with D.
                                                    Handelsman to discuss avoidance action (.30); call
                                                    with B. Harsch to discuss revisions to avoidance
                                                    action complaint (.10); review privilege issue relevant
                                                    to avoidance action (1.9); review documents re:
                                                    avoidance action (1.0).
03/23/2023 Robert Schutt                       0.20 Review and send avoidance action summary memo to
                                                    B. Glueckstein and A. Dietderich for review.
03/23/2023 Adam Toobin                         1.20 Call with A&M and B. Beller re: relevant third party
                                                    preference analysis (.60); review relevant third party
                                                    claims (.20); calls with B. Beller re: preference analysis
                                                    (.40).
03/24/2023 Brian Frawley                       0.80 Correspondence with B. Harsch, W. Scheffer, C.
                                                    Dunne, M. Tomaino Jr., E. Downing re: privilege issue
                                                    related to avoidance action (.30); review acquisition
                                                    agreement relevant to avoidance action (.50).
03/24/2023 Kathleen McArthur                   0.40 Attention to e-mails from A. Holland re: assessment of
                                                    potential avoidance action claims.
03/24/2023 Jacob Croke                         1.80 Analyze potential issues re: token issuer claim and next
                                                    steps (.30); correspondence with B. Glueckstein re:
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                                                    same (.20); analyze potential additional areas of
                                                    inquiry for avoidance actions (.30); correspondence
                                                    with Alix re: same (.10); analyze issues re: potential
                                                    action re: employee-related entity, including asset
                                                    tracing (.70), correspondence with Alix and M.
                                                    Bennett re: same (.20).
03/24/2023 Hilary Williams                    4.50 Finish drafting new allegations for potential avoidance
                                                   complaint (2.4); finish revising potential avoidance
                                                   complaint (2.0); email to team re: draft potential
                                                   avoidance complaint (.10).
03/24/2023 Bradley Harsch                     0.50 Call with W. Scheffer re: merger agreement privilege
                                                   waiver (.20); email C. Dunne, M. Tomaino, B.
                                                   Frawley, others re: privilege issue related to potential
                                                   avoidance action (.20); review, revise and email re:
                                                   revised relevant third party memo (.10).
03/24/2023 William Wagener                    1.40 Meeting with J. Rosenfeld, M. Kober, and A.
                                                   Mazumdar re: Rule 2004 requests (.80); review
                                                   binder of materials re: prior investigation into potential
                                                   target of 2004 requests (.60).
03/24/2023 Mark Bennett                       2.60 Correspondence with J. Croke re: review of customer
                                                   data relevant to potential avoidance action (.80);
                                                   correspondence with Alix re: same (.50); review draft
                                                   avoidance action complaint (1.3).
03/24/2023 Kathleen Donnelly                  0.50 Correspondence with team concerning potential
                                                   avoidance action (.30); review data in connection with
                                                   potential avoidance action (.20).
03/24/2023 Zoeth Flegenheimer                 0.10 Coordinate with A. Holland re: investigating value of
                                                   shares in connection with potential avoidance action.
03/24/2023 Jared Rosenfeld                    1.20 Meeting with W. Wagener, M. Kober and A.
                                                   Mazumdar re: Rule 2004 requests (.80); research,
                                                   revise 2004 requests (.40).
03/24/2023 Alexander Holland                  1.20 Draft email to A. Lewis re: agreements with a relevant
                                                   third party.
03/24/2023 Sienna Liu                         1.50 Continue to draft relevant third party preference
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                                                     complaint (1.5).
03/24/2023 Daniel O'Hara                       0.10 Review draft memo re: potential adversary complaint.
03/24/2023 Max Kober                           5.90 Collect cases and draft memo re: avoidance action
                                                    research into relevant third party (4.6); review factual
                                                    background materials (.50); meeting with W.
                                                    Wagener, J. Rosenfeld, and A. Mazumdar re: Rule
                                                    2004 requests (.80).
03/24/2023 Emma Downing                        0.20 Correspondence with W. Scheffer re: avoidance
                                                    action complaint.
03/24/2023 Aneesa Mazumdar                     6.40 Research re: third party service of process (5.6);
                                                    meeting with W. Wagener, J. Rosenfeld and M.
                                                    Kober re: Rule 2004 requests (.80).
03/24/2023 Tatum Millet                        1.30 Complete ROI calculations for top investors in
                                                    connection with avoidance action against third party.
03/24/2023 William Scheffer                    1.20 Analyze privilege issue relevant to potential avoidance
                                                    action (.50); call with B. Harsch re: merger agreement
                                                    privilege waiver (.20); correspondence with S.
                                                    Wheeler re: avoidance action complaint (.20);
                                                    correspondence with E. Downing re: avoidance action
                                                    complaint (.30).
03/25/2023 Jacob Croke                         0.60 Analyze valuation and litigation issues re: third-party
                                                    token issuer (.40); correspondence with A. Holland
                                                    re: same (.20).
03/25/2023 Anthony Lewis                       0.30 Review materials re: potential avoidance claims (.10);
                                                    correspondence with S&C team re: potential
                                                    avoidance claims (.20).
03/25/2023 Bradley Harsch                      0.20 Correspondence with W. Scheffer re: status of
                                                    revisions to complaint (.10); review S. Wheeler email
                                                    re: same (.10).
03/25/2023 Marc-André Cyr                      0.50 Review motion related to automatic stay (.20);
                                                    correspondence with B. Beller re: same (.20);
                                                    attention to correspondence with Alix re: relevant third
                                                    party(.10).
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03/25/2023 Kathleen Donnelly                   0.40 Review data in connection with a potential avoidance
                                                    action.
03/25/2023 Alexander Holland                   1.70 Draft emails to A. Lewis and J. Croke re: agreements
                                                    with a relevant third party.
03/25/2023 Aneesa Mazumdar                     1.60 Research re: third party service of process (1.2); draft
                                                    Rule 2004 requests (.40).
03/25/2023 William Scheffer                    2.30 Revise avoidance action complaint.
03/26/2023 Jacob Croke                         1.40 Analyze potential avoidance action re: third party fund
                                                    (.20); analyze potential claims re: suspicious activity
                                                    and manipulative trading (1.2).
03/26/2023 Bradley Harsch                      0.10 Correspondence with U. Eze re: legal research for
                                                    relevant third party memo.
03/26/2023 Dylan Handelsman                    0.30 Meeting with W. Scheffer re: potential avoidance
                                                    actions.
03/26/2023 Jared Rosenfeld                     1.40 Revise in rem jurisdiction memorandum.
03/26/2023 Emma Downing                        1.60 Revise draft avoidance action complaint.
03/26/2023 William Scheffer                    2.20 Revise avoidance action complaint (1.9); meeting with
                                                    D. Handelsman re: potential avoidance actions (.30).
03/27/2023 Steven Holley                       4.40 Review latest draft of potential avoidance action
                                                    complaint (1.8); review latest draft of relevant third
                                                    party complaint (1.9); discussion with partners
                                                    handling various avoidance actions about timing (.40);
                                                    email exchanges with M&A team concerning impact
                                                    of avoidance actions on auction processes (.30).
03/27/2023 Stephanie Wheeler                   0.10 Meeting with E. Downing re: privilege question.
03/27/2023 Christopher Dunne                   2.60 Calls with E. Downing re: edits to draft complaint
                                                    (.10); calls with C. Dunne re: privilege issue for
                                                    potential avoidance action (.30); review draft
                                                    complaint and consider additions and edits (2.2).
03/27/2023 Kathleen McArthur                   0.10 Attention to draft complaint re: potential avoidance
                                                    action and correspondence to S&C team re: same.
03/27/2023 Matthew Porpora                     0.40 Emails with S. Holley re: relevant third party complaint
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                                                    and related issues.
03/27/2023 Matthew Porpora                    3.20 Review draft complaint against relevant third party
                                                   (2.0); circulate new draft to A. Thompson and team
                                                   along with other precedents and instructions on next
                                                   steps (1.2).
03/27/2023 Jacob Croke                        1.50 Analyze draft complaint re: fund investment (.30);
                                                   analyze issues re: potential additional avoidance action
                                                   workstreams and strategy for filings (1.1);
                                                   correspondence with M. Wu re: same (.10).
03/27/2023 Anthony Lewis                      0.10 Correspondence with S&C team re: evaluation of
                                                   potential claims.
03/27/2023 Hilary Williams                    3.00 Create schematic for transaction in potential avoidance
                                                   action (1.7); review W. Wagener comments on draft
                                                   complaint (.20); email to H. Master (Nardello) re:
                                                   outstanding issues for draft complaint (.20); review
                                                   draft schematics from Nardello for draft complaint
                                                   (.10); revise complaint per W. Wagener comments
                                                   (.80).
03/27/2023 Michael Tomaino Jr.                0.60 Review new draft avoidance complaint and propose
                                                   edits (.50); e-mails with team re: timing of avoidance
                                                   actions (.10).
03/27/2023 Bradley Harsch                     2.40 Correspondence with U. Eze re: legal research and
                                                   meeting on relevant third party memo (.10); review
                                                   and comment on revised memo re: subject of potential
                                                   avoidance action (.50); review and email re: S. Holley
                                                   comments complaint (.30); email E. Downing and W.
                                                   Scheffer re: review of documents related to subject of
                                                   potential avoidance action (.10); prepare for call on
                                                   relevant third party memo (.20); review email re:
                                                   relevant third party research (.10); correspondence
                                                   with F. Weinberg re: memo related to subject of
                                                   potential avoidance action (.10); review chronology of
                                                   transaction related to potential avoidance action (.20);
                                                   email W. Scheffer and E. Downing re: potential
                                                   avoidance action (.10); meeting between Z.
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                                                    Flegenheimer, D. O’Hara, M. Strand, and U. Eze re:
                                                    legal research for potential relevant third party
                                                    avoidance action (.40); call with W. Scheffer re:
                                                    avoidance action complaint (.20); call with Z.
                                                    Flegenheimer re: avoidance action complaint (.10).
03/27/2023 William Wagener                    2.50 Review and comment on draft avoidance complaint
                                                   (2.0); e-mails with H. Williams re: same (.50).
03/27/2023 Marc-André Cyr                     0.40 Review the latest draft motion related to automatic
                                                   stay (.20); attention to correspondence with Alix re:
                                                   relevant third party (.20).
03/27/2023 Michele Materni                    2.90 Call with J. Gallant re: relevant third party (.10);
                                                   review draft avoidance action complaint (2.8).
03/27/2023 Mark Bennett                       4.90 Review and revise draft avoidance action complaint
                                                   against relevant third party (2.0); correspondence with
                                                   T. Millet re: research re: subject of potential avoidance
                                                   action (.10); prepare chronology re: potential subject
                                                   of avoidance action complaint (2.8).
03/27/2023 Fabio Weinberg Crocco              0.20 Email to AMT team re: potential avoidance actions.
03/27/2023 Kathleen Donnelly                  0.20 Correspondence with team concerning potential
                                                   avoidance action.
03/27/2023 Zoeth Flegenheimer                 0.40 Meeting between B. Harsch, D. O’Hara, M. Strand
                                                   and U. Eze re: legal research for potential Third Party
                                                   avoidance action.
03/27/2023 Andrew Thompson                    0.90 Revise third party avoidance action complaint, in
                                                   response to comments from M. Porpora.
03/27/2023 Alexander Holland                  1.00 Draft email to J. Croke re: value of debtor assets in a
                                                   relevant third party.
03/27/2023 Daniel O'Hara                      0.40 Revise draft memo re: potential adversary complaint.
03/27/2023 Matthew Strand                     0.40 Meeting between B. Harsch, Z. Flegenheimer, D.
                                                   O’Hara and U. Eze regarding legal research for
                                                   potential third party avoidance action.
03/27/2023 Ugonna Eze                         0.40 Meeting between B. Harsch, Z. Flegenheimer, D.
                                                   O’Hara, and M. Strand regarding legal research for
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                                                     potential third party avoidance action.
03/27/2023 Jason Gallant                       0.20 Call with M. Materni re: relevant third party (.10);
                                                    emails re: relevant third party work product (.10).
03/27/2023 Max Kober                           1.00 Review background materials re: 2004 Requests
                                                    (.50); begin drafting 2004 Requests (.50).
03/27/2023 Emma Downing                        4.00 Calls with W. Scheffer re: avoidance action complaint
                                                    (1.9); revise draft complaint (.50); review merger
                                                    agreement (.30); calls with C. Dunne re: privilege issue
                                                    for potential avoidance action (.30); calls with C.
                                                    Dunne re: edits to draft complaint (.10); meeting with
                                                    S. Wheeler re: privilege question (.10); review
                                                    documents for avoidance action complaint (.80).
03/27/2023 Natalie Hills                       0.10 Search for document relevant to avoidance action.
03/27/2023 Christian Hodges                    0.70 Meetings with A. Toobin re: updates on preference
                                                    analysis.
03/27/2023 Keila Mayberry                      0.90 Writeup of debtor entity factual background.
03/27/2023 Aneesa Mazumdar                     4.00 Revise service of process memo.
03/27/2023 William Scheffer                    3.30 Calls with E. Downing re: avoidance action complaint
                                                    (1.9); revise avoidance action complaint (1.2); call
                                                    with B. Harsch re: complaint (.20).
03/27/2023 Adam Toobin                         1.00 Meetings with C. Hodges re: updates on preference
                                                    analysis (.70); coordinate follow up on preference
                                                    analysis (.30).
03/28/2023 Steven Holley                       1.20 Review of draft relevant third party complaint.
03/28/2023 Kathleen McArthur                   0.20 Review files from Alix re: suspicious activity.
03/28/2023 Matthew Porpora                     1.20 Emails with team re: next steps on relevant third party
                                                    complaint (.30); review draft relevant third party
                                                    complaint (.90).
03/28/2023 Jacob Croke                         0.80 Analysis re: potential actions involving affiliated
                                                    creditors (.60); analyze issues re: token issuer
                                                    response (.20).
03/28/2023 Anthony Lewis                       0.10 Correspondence with S&C team re: evaluation of
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                                                    avoidance claims.
03/28/2023 Bradley Harsch                     0.80 Review Alix email re: additional flow of funds info on
                                                   relevant third party (.10); review Alix chart on loans
                                                   (.10); review email re research on legal research for
                                                   relevant third party (.10); review email re: potential
                                                   avoidance actions (.10); review revised complaint re:
                                                   avoidance action (.20); review legal research re:
                                                   relevant third party memo (.10); call with W. Wagener
                                                   re: relevant third party avoidance action (.10).
03/28/2023 William Wagener                    0.80 Review and comment on draft avoidance complaint
                                                   (.60); emails with A. Thompson re: same (.20).
03/28/2023 Marc-André Cyr                     0.70 Attention to internal correspondence re: internal
                                                   meeting to discuss complaint and motion re: stay (.10);
                                                   proofs of claim (.10); attention to correspondence
                                                   with Alix re: updated analyses (.10); review the
                                                   following documents as background to revise the draft
                                                   preference complaint against a relevant third party
                                                   (.40).
03/28/2023 Mark Bennett                       3.80 Revise chronology re: subject of potential avoidance
                                                   action.
03/28/2023 Kathleen Donnelly                  0.60 Call with M. Sadat, K. Baker (A&M) and J. Chan
                                                   (A&M) re: data relevant to potential avoidance action
                                                   (.40); call with M. Sadat re: same (.20).
03/28/2023 Zoeth Flegenheimer                 0.10 Coordinate with A. Holland re: investigating value of
                                                   shares in connection with potential avoidance action.
03/28/2023 Jared Rosenfeld                    4.40 Revise Rule 2004 requests.
03/28/2023 Andrew Thompson                    4.30 Complete revisions to third party avoidance action
                                                   complaint, in response to comments from M. Porpora.
03/28/2023 Daniel O'Hara                      0.80 Review and revise draft memo re: potential adversary
                                                   action.
03/28/2023 Medina Sadat                       0.60 Call with K. Donnelly, K. Baker (A&M) and Jon
                                                   Chan (A&M) re: data relevant to potential avoidance
                                                   action (.40); call with K. Donnelly re: same (.20).
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03/28/2023 Ugonna Eze                          3.00 Conduct research re: to potential third party avoidance
                                                    action (1.5); draft memo re: same (1.5).
03/28/2023 Jason Gallant                       0.10 Emails re: debtor entity avoidance action complaint.
03/28/2023 Max Kober                           1.50 Complete initial 2004 Request drafts and send to J.
                                                    Rosenfeld.
03/28/2023 Emma Downing                        5.40 Calls with W. Scheffer re: edits to draft complaint
                                                    (2.5); revise draft complaint (1.0); review documents
                                                    for potential avoidance action (1.9).
03/28/2023 Aneesa Mazumdar                     3.80 Draft Rule 2004 requests (3.5); review documents re:
                                                    relevant third party (.30).
03/28/2023 William Scheffer                    5.90 Calls with E. Downing re: edits to draft avoidance
                                                    action complaint (2.5); revise draft complaint (2.3);
                                                    correspondence w/ EDLS, FTI and E. Downing re:
                                                    review of documents relevant to avoidance action
                                                    (.20); review documents re: the same (.70);
                                                    correspondence w/ C. Dunne and E. Downing re:
                                                    same (.20).
03/29/2023 Steven Holley                       2.30 Review of and revisions to draft relevant third party
                                                    (2.2); email exchange with team concerning draft
                                                    relevant third party complaint (.10).
03/29/2023 Stephanie Wheeler                   0.30 Emails with W. Scheffer re: potential avoidance action
                                                    (.10); correspondence to S. Holley, J. Croke, N.
                                                    Friedlander, J. Ray (FTX) re: adversary complaints
                                                    (.20).
03/29/2023 Andrew Dietderich                   0.30 Correspondence with J. Ray (FTX) and S&C team
                                                    re: potential actions against relevant third party.
03/29/2023 Stephen Ehrenberg                   0.20 Review materials identified in connection with potential
                                                    avoidance actions.
03/29/2023 Brian Glueckstein                   0.60 Discussion with A. Dietderich re: avoidance actions
                                                    (.30); correspondence with S. Holley and follow-up
                                                    re: claims (.30).
03/29/2023 Kathleen McArthur                   0.10 Correspondence to S&C team re: potential avoidance
                                                    actions.
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03/29/2023 Matthew Porpora                    1.40 Review and revise draft complaint against debtor
                                                   entity (.70); circulate changes to team (.70).
03/29/2023 Jacob Croke                        3.50 Analysis re: potential new avoidance actions and asset
                                                   recovery workstreams (2.2); correspondence with A.
                                                   Holland and C. Dunne re: same (.20); call with C.
                                                   Dunne re: FTX report and potential new avoidance
                                                   actions (.50); revise materials for third party fund in
                                                   connection with potential negotiations (.40);
                                                   correspondence with A. Cohen re: same (.20).
03/29/2023 Nicole Friedlander                 2.10 Correspondence with J. Ray (FTX), A. Dietderich, S.
                                                   Wheeler, S. Holley, C. Dunne and J. Croke re:
                                                   avoidance action against relevant third party (.60);
                                                   correspondence with A. Dietderich and S. Levin re:
                                                   potential avoidance action (.40); analyze summary
                                                   from A. Thompson re: relevant third party escrow
                                                   (.40) email to A. Thompson re: same (.70).
03/29/2023 Hilary Williams                    1.50 Review S. Holley comments on potential avoidance
                                                   action complaint (.20); revise avoidance action
                                                   complaint based on S. Holley comments (1.0); draft
                                                   email to S. Holley re: revised complaint and comments
                                                   on same (.30).
03/29/2023 Bradley Harsch                     0.40 Review email re: collection of documents relevant to
                                                   potential avoidance action (.10); review draft relevant
                                                   third party memo and flow of funds (.30).
03/29/2023 Mark Bennett                       4.30 Revise draft of complaint against target of potential
                                                   avoidance action in response to S. Peikin edits (.50);
                                                   review documents re: subjects of potential avoidance
                                                   action and revise summary re: same (3.6);
                                                   correspondence with M. Sunkara (A&M), E.
                                                   Downing re: same (.20).
03/29/2023 Mitchell Friedman                  0.20 Correspondence with D. Handelsman re: third party
                                                   beneficiaries.
03/29/2023 Dylan Handelsman                   1.80 Call with E. Downing and W. Scheffer re:
                                                   non-disclosure agreement and merger agreement
                                                   (.50); review acquisition transaction agreement for
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                                                     confidentiality provision and related analysis (.80).
                                                     correspondence with M. Friedman re: third party
                                                     beneficiaries (.20); correspondence with W. Scheffer
                                                     regarding confidentiality provisions (.30).
03/29/2023 Andrew Thompson                     2.70 Revise third party avoidance action complaint, in
                                                    response to additional comments from M. Porpora
                                                    (.60); review debtor entity financial documents, in
                                                    connection with potential avoidance actions (1.4);
                                                    research case law relevant to potential avoidance
                                                    actions (.70).
03/29/2023 Daniel O'Hara                       0.30 Revise draft adversary complaint.
03/29/2023 Ugonna Eze                          2.00 Conduct research re: related to potential third party
                                                    avoidance action (1.0); draft memo re: same (1.0).
03/29/2023 Max Kober                           3.40 Turn edits from J. Rosenfeld and W. Wagner to 2004
                                                    Requests (.60); call with J. Rosenfeld re: fact research
                                                    into relevant third parties (.10); conduct fact research
                                                    into relevant third parties and prepare summary for J.
                                                    Rosenfeld (1.1); finish turning edits to jurisdictional
                                                    research memo from J. Rosenfeld and recirculate
                                                    (1.6).
03/29/2023 Emma Downing                        4.40 Revise memo re: potential avoidance action (.30); doc
                                                    review re: same (3.2); review of third-party agreement
                                                    re: confidentiality concerns (.40); call with D.
                                                    Handelsman and W. Scheffer re: non-disclosure
                                                    agreement and merger agreement (.50).
03/29/2023 William Scheffer                    7.50 Review documents related to avoidance action (5.3);
                                                    correspondence with C. Dunne and E. Downing re:
                                                    avoidance action complaint (.30); correspondence
                                                    with W. Wagener and U. Eze re: avoidance action
                                                    case law (.20); call with D. Handelsman and E.
                                                    Downing re: nondisclosure agreement and merger
                                                    agreement (.50); review nondisclosure agreement and
                                                    merger agreement (.90); correspondence with FTI re:
                                                    document collection (.30).
03/30/2023 Steven Holley                       0.90 Correspondence with W. Wagener re: proper
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                                                    plaintiffs and defendants in avoidance actions (.10);
                                                    call with A. Dietderich and B. Glueckstein re: potential
                                                    avoidance actions (.60); read emails concerning
                                                    various draft complaints in avoidance actions (.20).
03/30/2023 Stephanie Wheeler                  0.60 Call with E. Downing and W. Scheffer re: Slack
                                                   collection (.10); emails with W. Scheffer re: subject of
                                                   potential avoidance action (.10); emails with J. Ray
                                                   (FTX) re: subject of potential avoidance action (.10);
                                                   call with K. Lemire (QE) re: coordination of actions
                                                   and interviews (.20); correspondence with N.
                                                   Friedlander re: call with QE re: coordination (.10).
03/30/2023 Andrew Dietderich                  1.10 Review related emails (.30); call with S. Holley and B.
                                                   Glueckstein re: potential actions against relevant third
                                                   party (.80).
03/30/2023 Matthew Porpora                    0.20 Emails with S. Holley and W. Wagener re: relevant
                                                   third party complaint and next steps on related
                                                   complaints.
03/30/2023 Jacob Croke                        1.30 Analyze issues re: potential avoidance actions against
                                                   third-party exchanges platforms (.60);
                                                   correspondence B. Glueckstein and K. Ramanathan
                                                   re: same (.30); analyze potential additional avoidance
                                                   actions re: investments and related asset transfers
                                                   (.40).
03/30/2023 Hilary Williams                    0.60 Further revisions to potential avoidance complaint
                                                   (.30); review email from Alix re: accounting entries
                                                   relevant to avoidance complaint (.10);
                                                   correspondence with W. Wagener re: accounting
                                                   entries (.10); further revisions to potential avoidance
                                                   complaint (.10).
03/30/2023 Bradley Harsch                     1.40 Review email re: update on status of document
                                                   collection re: subject of potential avoidance action
                                                   (.20); call with E. Downing re: status of avoidance
                                                   action complaint and document collection re: same
                                                   (.20); call with W. Scheffer re: status of document
                                                   collection re: subject of potential avoidance action
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                                                    (.10); review filing re: relevant third party (.30); email
                                                    re: potential turnover action re: relevant third party
                                                    (.10); review email re: status of document collection
                                                    relevant to potential avoidance action (.10); review
                                                    and email re: next steps on document collection
                                                    relevant to potential avoidance action and review
                                                    (.10); review and email re: summary of document
                                                    review related to potential avoidance action (.20);
                                                    correspondence with J. Gallant re: avoidance action
                                                    meeting (.10).
03/30/2023 William Wagener                    0.30 Emails with S. Holley, M. Porpora re: coordination of
                                                   avoidance complaints.
03/30/2023 Michele Materni                    0.10 Meeting with Z. Flegenheimer re: status of avoidance
                                                   action investigations against third parties.
03/30/2023 Mark Bennett                       1.00 Revise summary re: potential subject of avoidance
                                                   action.
03/30/2023 Zoeth Flegenheimer                 0.10 Meeting with M. Materni re: status of avoidance
                                                   action investigations against third parties.
03/30/2023 Jared Rosenfeld                    4.90 Draft 2004 Requests for relevant third party.
03/30/2023 Andrew Thompson                    0.70 Correspond with S. Holley re: third party avoidance
                                                   action complaint draft (.30); assist coordinating
                                                   scheduling of avoidance actions teams call, to discuss
                                                   updated guidance (.40).
03/30/2023 Daniel O'Hara                      0.60 Review draft memo re: potential adversary action.
03/30/2023 Jason Gallant                      0.50 Organize logistics for avoidance action team meeting.
03/30/2023 Emma Downing                       5.70 Document review (3.6); calls with W. Scheffer re:
                                                   avoidance action complaint (.90); calls with W.
                                                   Scheffer re: avoidance action document review (.60);
                                                   draft summary of interesting docs for inclusion in
                                                   avoidance action complaint (.50); call with C. Dunne
                                                   re: avoidance action (.10).
03/30/2023 Christian Hodges                   4.00 Attend relevant third party omnibus hearing (3.6);
                                                   prepare summary of hearing events for internal team
                                                   (.40).
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03/30/2023 Aneesa Mazumdar                     5.40 Research re: Rule 2004 requests (2.8); revise draft
                                                    Rule 2004 requests (.40); review documents re:
                                                    relevant third party (2.2).
03/30/2023 William Scheffer                    5.00 Review documents related to avoidance action (2.8);
                                                    calls with E. Downing re: avoidance action document
                                                    review (.60); call with B. Harsch re: status of
                                                    document collection relevant to potential avoidance
                                                    action (.10); correspondence with S. Wheeler re:
                                                    same (.30); call with E. Downing re: avoidance action
                                                    complaint (.90); correspondence with E. Shehada re:
                                                    potential avoidance actions (.30).
03/30/2023 Emile Shehada                       0.30 Correspondence with W. Scheffer re: potential
                                                    avoidance actions.
03/31/2023 Steven Holley                       1.40 Review draft of relevant third party complaint (1.2);
                                                    call with M. Porpora re: draft relevant third party
                                                    complaint (.20).
03/31/2023 Stephanie Wheeler                   0.30 Emails with J. Ray (FTX) and W. Scheffer re:
                                                    documents related to subject of potential avoidance
                                                    action (.10); correspondence with B. Glueckstein re:
                                                    avoidance actions (.10); call with K. Lemire (QE) re:
                                                    avoidance actions (.10).
03/31/2023 Brian Glueckstein                   0.60 Call with A. Dietderich and S. Holley re: potential
                                                    avoidance actions.
03/31/2023 Matthew Porpora                     0.20 Call with S. Holley re: relevant third party complaint.
03/31/2023 Bradley Harsch                      1.50 Review W. Scheffer email re: status of Slack
                                                    documents related to subject of potential avoidance
                                                    action (.10); draft email to J. Miller (L&W) re:
                                                    privilege issue relevant to potential avoidance action
                                                    (.50); review revisions to avoidance action complaint
                                                    (.10); review C. Dunne comments on avoidance
                                                    action complaint (.10); email re: review of Slack
                                                    channels for privilege (.10); review communications
                                                    related to subject of potential avoidance action are
                                                    purchase price (.10); revise and circulate email to J.
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                                                       Miller (L&W) re: privilege issue relevant to potential
                                                       avoidance action (.20); call with E. Downing and W.
                                                       Scheffer re: privilege questions (.20); review revisions
                                                       and notes to avoidance action complaint (.10).
03/31/2023 Mark Bennett                         1.00 Review revised draft of complaint against target of
                                                     potential avoidance action.
03/31/2023 Kathleen Donnelly                    0.20 Review data in connection with potential avoidance
                                                     action.
03/31/2023 Dylan Handelsman                     0.40 Call with W. Scheffer re: avoidance action.
03/31/2023 Jared Rosenfeld                      2.60 Revised memoranda re: jurisdiction over and serving
                                                     relevant third parties.
03/31/2023 Emma Downing                         0.80 Revise complaint (.20); call with B. Harsch and W.
                                                     Scheffer re: privilege questions (.20); call with W.
                                                     Scheffer re: draft complaint (.40).
03/31/2023 Aneesa Mazumdar                      0.40 Revise service of process memo.
03/31/2023 William Scheffer                     6.50 Respond to comments re: avoidance action complaint
                                                     (1.5); revise avoidance action complaint (1.7); review
                                                     documents in virtual data room (1.5); call with D.
                                                     Handelsman re: avoidance action (.40);
                                                     correspondence with B. Harsch re: avoidance action
                                                     (.30); call with E. Downing re: draft complaint (.40);
                                                     call with B. Harsch, E. Downing re: privilege questions
                                                     (.20); correspondence with E. Shehada re: promissory
                                                     note terms (.50).
03/31/2023 Emile Shehada                        0.50 Correspondence with W. Scheffer re: promissory note
                                                     terms.

Total                                       1,047.80
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03/01/2023 Stephanie Wheeler                 0.30 Correspondence to Z. Dexter (LedgerX) and Katz
                                                  Banks team re: employee settlement.
03/01/2023 Andrew Dietderich                 0.30 Correspondence with J. Ray (FTX) re: data access
                                                  issues.
03/01/2023 Mehdi Ansari                      2.40 Correspondence with S&C team re: trademark
                                                  portfolio (.40); review reports re: customers (.30);
                                                  review overview of FTX trademark portfolio (1.2);
                                                  call with C. Jensen and E. Levin re: IP strategy (.30);
                                                  call with E. Levin re: key IP jurisdictions (.20).
03/01/2023 Alexa Kranzley                    0.60 Correspondences with internal team re: third party
                                                  agreement and related issues.
03/01/2023 Christian Jensen                  7.40 Call with A&M team, M. Cilia (RLKS) and
                                                  third-party bank compliance team re: account
                                                  statement request (.50); call with R. Perubhatla
                                                  (RLKS) and D. Hisarli re: certain vendor contracts
                                                  (.70); correspondence with K. Ramanathan (A&M)
                                                  and Cleary team re: services agreement (.70); revise
                                                  agreement re: same (.30); call with M. Ansari and E.
                                                  Levin re: IP strategy (.30); review materials and
                                                  internal correspondence re: same (.80);
                                                  correspondence with M. Cilia (RLKS) and S. Kim re:
                                                  invoices (.20); call with R. Schutt, M. Cilia (RLKS)
                                                  and A&M team re: bank statement requests (1.0);
                                                  follow-up meeting with R. Schutt re: same (.20);
                                                  correspondence with S&C, A&M teams, M. Cilia
                                                  (RLKS) and bank counsel re: same (1.1); review and
                                                  comment on tracker re: same (.30); call with Relevant
                                                  Third Party counsel re: lease (.10); correspondence
                                                  with M. Heidelbaugh (C&W) and S. Coverick
                                                  (A&M) re: same (.30); call with W. Walker (A&M)
                                                  re: custodial agreement (.30); review and
                                                  correspondence with J. Petiford re: same (.60).
03/01/2023 Julie Kapoor                      0.40 Call with W. Walker (A&M) re: Relevant Third Party
                                                  agreement.
03/01/2023 Elizabeth Levin                   1.20 Draft overview of IP matters for M. Ansari and K.
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                                                    Lim (.40); edits to proposed list of key IP jurisdictions
                                                    (.30); call with M. Ansari and C. Jensen re: IP
                                                    strategy (.30); call with M. Ansari re: key IP
                                                    jurisdictions (.20).
03/01/2023 M. Devin Hisarli                   0.70 Call with R. Perubhatla (RLKS) and C. Jensen re:
                                                   vendor contracts.
03/01/2023 Robert Schutt                      3.30 Correspondence re: bank statement request
                                                   follow-ups (1.4); update bank letter tracker (.70); call
                                                   with C. Jensen, M. Cilia (RLKS) and A&M team re:
                                                   bank statement requests (1.0); follow-up meeting with
                                                   C. Jensen re: same (.20).
03/02/2023 Alexa Kranzley                     0.10 Correspondence with internal team re: third party
                                                   agreements.
03/02/2023 Christian Jensen                   0.70 Correspondence with M. Cilia (RLKS), S&C, A&M
                                                   team and bank counsel re: account statement requests.
03/02/2023 Julie Kapoor                       0.60 Call with Relevant Third Party counsel re: Relevant
                                                   Third Party agreement (.10); call with K. Ramanathan
                                                   (A&M) re: same (.10); review and revise same (.40).
03/02/2023 KJ Lim                             0.30 Meeting with E. Levin re: FTX relationship with
                                                   Relevant Third Party.
03/02/2023 Elizabeth Levin                    0.50 Meeting with K. Lim re: FTX relationship with
                                                   Relevant Third Party (.30); email overview of IP
                                                   considerations re: same (.20).
03/02/2023 Robert Schutt                      0.30 Correspondence re: bank letter information request
                                                   follow-ups.
03/03/2023 Samuel Woodall III                 0.30 Correspondence with outside law firm re: LDA/FEC
                                                   engagement.
03/03/2023 Mehdi Ansari                       0.20 Correspondence with C. Ellerback (Fenwick) and K.
                                                   Fritz (Fenwick) re: trademark portfolio.
03/03/2023 Anthony Lewis                      0.20 Correspondence with S&C team re: vendor billing
                                                   (.10); correspondence with S&C and A&M teams re:
                                                   vendor engagement (.10).
03/03/2023 Alexa Kranzley                     0.30 Correspondences with internal team re: vendor
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                                                    agreements and related issues.
03/03/2023 Julie Kapoor                       0.40 Review and revise Relevant Third Party agreement
                                                   (.30); call with Relevant Third Party counsel re: same
                                                   (.10).
03/03/2023 Robert Schutt                      0.90 Correspondence re: bank letter data request
                                                   follow-ups (.80); update bank letter tracker (.10).
03/04/2023 Mehdi Ansari                       0.20 Correspondence with A. Kranzley re: fees for local IP
                                                   counsel.
03/04/2023 James Bromley                      0.30 Correspondence with A. Dietderich, A&M team and
                                                   J. Ray (FTX) re: bank issues.
03/04/2023 Alexa Kranzley                     0.20 Correspondences with internal team re: vendor
                                                   agreements and related issues.
03/06/2023 Nicole Friedlander                 0.10 Correspondence with S. Coverick (A&M) re: former
                                                   FTX personnel expense question.
03/06/2023 Anthony Lewis                      0.30 Call with C. Jensen, K. Ramanathan (A&M), services
                                                   provider, M. Torkin (STB) and A. Gherlone (STB) re:
                                                   services agreement.
03/06/2023 Christian Jensen                   0.90 Call with A. Lewis, K. Ramanathan (A&M), services
                                                   provider, M. Torkin (STB) and A. Gherlone (STB) re:
                                                   services agreement (.30); correspondence with K.
                                                   Ramanathan (A&M) re: advisory services EL (.20);
                                                   correspondence with bank counsel re: accounts
                                                   statement requests (.40).
03/06/2023 Elizabeth Levin                    0.90 Draft IPT comments re: settlement agreement.
03/06/2023 Robert Schutt                      0.50 Correspondence re: bank letter data request
                                                   follow-ups (.20); update bank letter tracker (.30).
03/07/2023 Mehdi Ansari                       0.40 Correspondence with E. Levin re: trademark
                                                   oppositions.
03/07/2023 Alexa Kranzley                     0.20 Correspondences with S&C team re: third party
                                                   vendor agreements and related issues.
03/07/2023 Rita Carrier                       0.20 Correspondence with E. Levin re: IP matters (.10);
                                                   correspondence with B. Nguyen re: same (.10).
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03/07/2023 Fabio Weinberg Crocco            0.20 Correspondences with S&C team re: audit request
                                                 relating to investment in FTX.
03/07/2023 Robert Schutt                    0.40 Correspondence with banks re: bank letter data
                                                 request follow-ups.
03/07/2023 Bach-Yen Nguyen                  0.60 Correspondence with R. Carrier re: IP matters.
03/08/2023 Mehdi Ansari                     0.40 Correspondence with C. Jensen and E. Levin re: IP
                                                 portfolio.
03/08/2023 Alexa Kranzley                   0.30 Correspondences with S&C team re: third party
                                                 agreements and related issues.
03/08/2023 Christian Jensen                 0.80 Correspondence with M. Ansari, E. Levin and K. Lim
                                                 re: IP strategy (.30); correspondence with A&M team
                                                 and bank counsel re: account statement requests (.50).
03/08/2023 Robert Schutt                    0.70 Correspondence with banks re: bank letter data
                                                 request follow-ups.
03/08/2023 Bach-Yen Nguyen                  2.80 Perform trademark searches for R. Carrier re: locating
                                                 the local counsel of record.
03/09/2023 Alexa Kranzley                   0.80 Review third party agreements and related issues
                                                 (.40); correspondences with internal team re: same
                                                 (.20); correspondences with RLKS re: vendor and
                                                 related issues (.20).
03/09/2023 Rita Carrier                     0.70 Correspondence with B. Nguyen re: local counsel re:
                                                 IP Matters (.60); correspondence to E. Levin re: same
                                                 (.10).
03/09/2023 Christian Jensen                 2.50 Call with R. Schutt, B. Zonenshayn, M. Cilia (RLKS)
                                                 and A&M team re: bank account requests (.80); call
                                                 with J. Wilson (bank counsel) re: same (.10);
                                                 correspondence with S&C, A&M team, M. Cilia
                                                 (RLKS) and bank counsel re: same (.60); call with K.
                                                 Ramanathan, services provider and M. Torkin (STB)
                                                 re: services agreement (.60); correspondence with A.
                                                 Lewis and K. Ramanathan (A&M) re: same (.40).
03/09/2023 Julie Kapoor                     0.60 Correspondence re: Relevant Third Party agreement.
03/09/2023 Robert Schutt                    2.80 Correspondence re: bank letter data request
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                                                  follow-ups (1.8); update and circulate bank letter
                                                  tracker (.20); call with C. Jensen, B. Zonenshayn, M.
                                                  Cilia (RLKS) and A&M team re: bank account
                                                  requests (.80).
03/09/2023 Benjamin Zonenshayn              0.80 Call with R. Schutt, C. Jensen, M. Cilia (RLKS) and
                                                 A&M team re: bank account requests.
03/09/2023 Bach-Yen Nguyen                  2.70 Perform IP searches for R. Carrier (2.0); finalize local
                                                 counsel chart (.70).
03/10/2023 Rebecca Simmons                  0.10 Reviewed correspondence from H. Trent (A&M), M.
                                                 Friedman, S. Wheeler re: LedgerX.
03/10/2023 Robert Schlein                   0.20 Correspondence re: sublease.
03/10/2023 Mehdi Ansari                     0.50 Correspondence with S&C team re: searches of IP
                                                 proceedings (.30); call with E. Levin re: IP
                                                 proceedings analysis (.20).
03/10/2023 Christian Jensen                 1.70 Call with bank counsel re: account statement request
                                                 (.10); correspondence with S&C team re: same (.30).
                                                 call with J. Petiford, K. Ramanathan (A&M), PH and
                                                 FTI teams re: custodial and advisory services
                                                 agreement (.50); correspondence with K. Ramanathan
                                                 (A&M) and J. Petiford re: same (.30);
                                                 correspondence with Relevant Third Party and K.
                                                 Montague re: shutoff (.20); review lease proposal
                                                 (.10); correspondence with S. Coverick (A&M) and
                                                 R. Schlien re: same (.20).
03/10/2023 Julie Kapoor                     1.20 Call with K. Ramanathan (A&M) re: Relevant Third
                                                 Party agreement (.40); call with Relevant Third Party
                                                 counsel re: same (.10); follow up correspondence re:
                                                 same (.70).
03/10/2023 KJ Lim                           0.30 Review re: trademark opposition matter summary.
03/10/2023 M. Devin Hisarli                 2.30 Review and summary re: certain vendor contracts.
03/10/2023 Robert Schutt                    1.00 Correspondence with banks and A&M team re: bank
                                                 letter data request follow-ups (.80); update bank letter
                                                 tracker (.20).
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03/11/2023 Julie Kapoor                       0.30 Review and revise re: vendor agreement.
03/11/2023 Robert Schutt                      0.60 Update bank letter tracker.
03/12/2023 Nicole Friedlander                 0.40 Emails and calls with N. Menillo and O. Wortman
                                                   (Sygnia) re: insurance underwriting.
03/12/2023 Christian Jensen                   0.20 Revise services agreement (.10); correspondence with
                                                   A. Lewis and K. Ramanathan (A&M) re: same (.10).
03/12/2023 Robert Schutt                      0.20 Update bank letter tracker.
03/13/2023 Nicole Friedlander                 0.30 Correspondence with counsel to Relevant Third Party,
                                                   R. Perubhatla, and K. Schultea re: electronic devices
                                                   (.20); correspondence with N. Menillo and O.
                                                   Wortman re: insurance coverage call (.10).
03/13/2023 Anthony Lewis                      0.10 Correspondence with S&C re: vendor payments.
03/13/2023 Alexa Kranzley                     0.80 Calls with M. Cilia (RLKS) re: cash and bank account
                                                   issues (.50); review re: same (.30).
03/13/2023 Christian Jensen                   0.70 Call with F. Weinberg re: IP strategy (.30);
                                                   correspondence with S&C team re: same (.20);
                                                   correspondence with A. Lewis and K. Ramanathan
                                                   (A&M) re: services agreement (.10); correspondence
                                                   with R. Perubhatla (RLKS) re: cloud contracts (.10).
03/13/2023 Elizabeth Levin                    0.60 Summary re: ongoing IP matters.
03/13/2023 M. Devin Hisarli                   3.40 Review and summarize IT vendor contracts.
03/13/2023 Robert Schutt                      0.40 Update bank letter tracker.
03/13/2023 Adam Toobin                        0.50 Draft correspondence to B. Glueckstein re: motion re:
                                                   Celsius (.20); review bank statement work stream
                                                   (.30).
03/14/2023 Alexa Kranzley                     2.40 Call with J. Ljustina re: escrow accounts (.10); calls
                                                   with M. Cilia (RLKS) re: bank accounts and related
                                                   issues (.90); calls with A&M team re: same (.70);
                                                   review re: bank account and related issues (.40); work
                                                   on markup of payoff letter (.30).
03/14/2023 Elizabeth Levin                    0.50 Drafted of IP matters for team transition (0.50)
03/14/2023 M. Devin Hisarli                   3.50 Review IT vendor contracts and updated outstanding
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                                                  items list (3.0); search re: customer base (.40);
                                                  correspondence to E. Downing re: same (.10).
03/15/2023 Alexa Kranzley                   1.10 Calls with A&M team re: bank accounts and related
                                                 issues (.40); calls with RLKS re: same (.40); review
                                                 re: related issues (.30).
03/15/2023 Christian Jensen                 0.90 Meeting with F. Weinberg, R. Schutt & A. Toobin re:
                                                 bank statements work stream (.70); correspondence
                                                 with S&C and A&M teams and M. Cilia (RLKS) re:
                                                 same (.20).
03/15/2023 Fabio Weinberg Crocco            1.50 Meeting with C. Jensen, R. Schutt & A. Toobin re:
                                                 bank statements work stream (.70); calls with
                                                 Relevant Third Party, R. Schutt and A. Toobin re:
                                                 bank statements (.30); review correspondence to
                                                 Relevant Third Party re: same (.20); correspondence
                                                 to S&C team re: same (.30).
03/15/2023 Robert Schutt                    2.00 Correspondence re: bank data request follow-ups
                                                 (.70); update bank letter tracker (.30); calls with
                                                 Relevant Third Party, F. Weinberg and A. Toobin re:
                                                 bank statements (.30); meeting with C. Jensen, F.
                                                 Weinberg and A. Toobin re: bank statements work
                                                 stream (.70).
03/15/2023 Adam Toobin                      3.30 Review re: surety bond information to respond to
                                                 A&M request (.40); sent bonds to A&M (.30); draft
                                                 updated responses to the UCC (1.0); call with
                                                 relevant third party, F. Weinberg and R. Schutt re:
                                                 bank statements (.30); review re: bank statement
                                                 tracker (.50); meeting with C. Jensen, F. Weinberg
                                                 and R. Schutt re: bank statements work stream (.70);
                                                 review re: bank statement tracker (.10).
03/16/2023 Alexa Kranzley                   1.40 Call with A&M and RLKS teams re: sureties (.50);
                                                 review re: same (.40); correspondence with A&M
                                                 and RLKS re: bank issues (.50).
03/16/2023 Ryan Logan                       0.30 Correspondence with K. Lim re: privacy issues.
03/16/2023 Christian Jensen                 0.20 Correspondence with R. Perhubhatla (RLKS) and M.
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                                                  Gearin (IT vendor counsel) re: IT agreements.
03/16/2023 Julie Kapoor                     0.30 Call with A. Kranzley and A&M team re: surety
                                                 bonds.
03/16/2023 Fabio Weinberg Crocco            2.60 Meeting with Mary Cilia (RLKS), A&M and A.
                                                 Toobin re: bank statement workstream (.80); review
                                                 and update re: tracker for bank statement workstream
                                                 (.50); correspondence re: same (.60); review of
                                                 correspondences to bank (.20); correspondences with
                                                 A. Kranzley and A. Toobin re: access to bank
                                                 accounts (.50).
03/16/2023 M. Devin Hisarli                 3.30 Research re: assignment matters (2.0); draft memo re:
                                                 same (1.3).
03/16/2023 Robert Schutt                    0.20 Update re: bank letter tracker.
03/16/2023 Adam Toobin                      3.30 Correspondence with A&M re: Far Eastern follow up
                                                 (.30); follow up correspondence with banks (.60);
                                                 meeting with Mary Cilia (RLKS), A&M and F.
                                                 Weinberg re: bank statement work stream (.80);
                                                 follow up correspondence re: weekly bank statement
                                                 meeting (.90); draft response re: Relevant Third Party
                                                 accounts (.70).
03/17/2023 Alexa Kranzley                   0.60 Call with J. Petiford re: third party inbound for IP sale
                                                 (.20); calls and correspondences with A&M re: bank
                                                 account and related issues (.40).
03/17/2023 Fabio Weinberg Crocco            0.30 Correspondences re: banking information requests.
03/17/2023 Robert Schutt                    0.20 Review correspondence with banks re: historical data
                                                 requests.
03/17/2023 Adam Toobin                      0.90 Correspondence to relevant third party re: follow up
                                                 (.20); draft re: plan of action on relevant third party
                                                 (.70).
03/18/2023 Alexa Kranzley                   0.30 Correspondences with internal team re: third party
                                                 inbound IP inquiries.
03/18/2023 Bradley Harsch                   0.20 Review and correspondence re: A&M inquiry on state
                                                 law enforcement search (.10); review and
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                                                  correspondence re: A&M inquiry on KYC and re:
                                                  balance data (.10).
03/20/2023 Rebecca Simmons                  0.50 Call with H. Trent (A&M) and C. Arnett (A&M) re:
                                                 FTX Vault.
03/20/2023 Alexa Kranzley                   3.00 Meeting with F. Weinberg and A. Toobin re: updates
                                                 on LPMF and bank statements (.50); call with J.
                                                 Petiford, S. Williams (Manier & Herod) and M. Lee
                                                 (Manier & Herod) re: surety bonds (.50); follow up
                                                 call with J. Petiford re: same (.10); call with A&M and
                                                 RLKS teams re: same (.60); review re: bank issues
                                                 (.50); correspondences with RLKS and A&M teams
                                                 re: same (.30); review re: customer inquiries and
                                                 related issues (.50).
03/20/2023 Julie Kapoor                     0.70 Call with A. Kranzley, S. Williams (Manier & Herod)
                                                 and M. Lee (Manier & Herod) re: surety bonds (.50);
                                                 follow up call with A. Kranzley re: same (.10); follow
                                                 up internal correspondence re: same (.10).
03/20/2023 Fabio Weinberg Crocco            1.70 Meeting with A. Kranzley and A. Toobin re: updates
                                                 on LPMF and bank statements (.50); call with E.
                                                 Levin re: local trademark counsel matters (.10); call
                                                 with A. Toobin re: updates to bank statement work
                                                 stream (.60); review of correspondences to bank re:
                                                 information requests (.50).
03/20/2023 KJ Lim                           0.10 Call with E. Levin re: local trademark counsel matters.
03/20/2023 Elizabeth Levin                  1.00 Call with F. Weinberg Crocco re: local trademark
                                                 counsel matters (.10); call with K. Lim re: same
                                                 (0.10); draft re: overview of ongoing IP matters for IP
                                                 team (.80).
03/20/2023 Joshua Hardin                    2.10 Draft of payoff letter.
03/20/2023 Adam Toobin                      1.80 Call with F. Weinberg re: updates to bank statement
                                                 work stream (.60); meeting with A. Kranzley and F.
                                                 Weinberg re: updates on LPMF and bank statements
                                                 (.50); review re: Kroll proposed response on
                                                 schedules and statements (.30); scheduled meeting
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                                                  with Relevant Third Party (.40).
03/21/2023 Rebecca Simmons                  0.60 Email correspondence with H. Trent (A&M), C.
                                                 Arnett (A&M), N. Simoneaux (A&M) and M. Wu re:
                                                 FTX Vault wind down analyses. (.10);
                                                 correspondence with S&C team re: research re: trust
                                                 company (.10); internal correspondence with M. Wu,
                                                 R. Simmons, A. Kranzley; A. Cohen and C. Lloyd re:
                                                 wind-down plan. (.10); correspondence with C. Lloyd
                                                 and A. Kranzley re: wind-down plan (.30).
03/21/2023 Alexa Kranzley                   1.40 Review re: investing in treasuries issues (.40);
                                                 correspondences with RLKS and A&M teams re:
                                                 same (.40); review re: contract issues (.40);
                                                 correspondences with internal team re: same (.20).
03/21/2023 Fabio Weinberg Crocco            2.70 Call with A. Toobin re: information and access
                                                 requests made to Relevant Third Party (.60); call with
                                                 Relevant Third Party, A&M and A. Toobin re: funds
                                                 transfer and account statements (.60); correspondence
                                                 to relevant bank re: information request (.30);
                                                 correspondence to A&M team re: same (.20); review
                                                 re: correspondences to relevant banks (.50);
                                                 correspondences with B. Glueckstein re: information
                                                 requests (.20); correspondences with A. Kranzley re:
                                                 open trades (.30).
03/21/2023 Adam Toobin                      2.70 Correspondence re: bank statement follow up
                                                 requests (1.3); review correspondence re: same (.20);
                                                 call with F. Weinberg re: information and access
                                                 requests made to Relevant Third Party (.60); call with
                                                 F. Weinberg re: information and access requests made
                                                 to Relevant Third Party (.60).
03/22/2023 Alexa Kranzley                   1.50 Review re: surety issues (.30); review re: treasuries
                                                 (.70); correspondences with internal team re: same
                                                 (.40); correspondences with A&M re: same (.10).
03/22/2023 Fabio Weinberg Crocco            0.80 Call with A. Toobin re: bank information requests
                                                 (.50); review of tracker re: same (.30).
03/22/2023 KJ Lim                           0.20 Correspondence re: licensing of code.
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03/22/2023 Elizabeth Levin                  0.50 Meeting with K. Lim re: IP team transition and
                                                 ongoing IP matters.
03/22/2023 Joshua Hardin                    3.80 Research re: treasury investments.
03/22/2023 William Scheffer                 0.20 Correspondence with A. Toobin re: bank statements.
03/22/2023 Adam Toobin                      2.80 Update informal bank statement tracker (.20); update
                                                 bank statement tracker and sent to A. Kranzley and
                                                 B. Glueckstein (1.1); draft re: correspondence to Alix
                                                 (.60); correspondence re: bank letter follow ups (.40);
                                                 correspondence with F. Weinberg-Crocco re: bank
                                                 statement workstream (.50).
03/23/2023 Rebecca Simmons                  0.20 Correspondence with A. Kranzley re: FTX - Random
                                                 Question on Treasuries.
03/23/2023 Mehdi Ansari                     1.40 Review re: settlement proposal from Relevant Third
                                                 Party (.40); correspondence with E. Levin re: same
                                                 (.10); correspondence with E. Levin re: outreach to
                                                 trademark local counsel (.40); call with K. Lim and E.
                                                 Levin re: trademark local counsel management (.50).
03/23/2023 Alexa Kranzley                   2.40 Call with RLKS, A&M and internal team re: surety
                                                 bonds and related issues (.70); follow up work reL
                                                 related issues (.40); calls and correspondences with
                                                 RLKS and internal team re: banking and related issues
                                                 (.80); work re: vendor and related issues (.50).
03/23/2023 Fabio Weinberg Crocco            2.70 Call with M. Cilia (RLKS), A&M, and A. Toobin re:
                                                 updates on bank statements work stream (.60);
                                                 review re: updated tracker (.50); correspondences to
                                                 relevant banks (.50); draft re: letter to IP law firms re:
                                                 IP matters (.40); correspondence to A. Kranzley re:
                                                 matters concerning Debtor entity (.50);
                                                 correspondence to former FTX personnel re: same
                                                 (.20).
03/23/2023 KJ Lim                           0.50 Call with M. Ansari and E. Levin re: trademark local
                                                 counsel management.
03/23/2023 Elizabeth Levin                  0.80 Correspondence re: local trademark counsel transition
                                                 plan (.20); call with M. Ansari and K. Lim re:
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                                                   trademark local counsel management (0.50);
                                                   correspondence with internal team re: trademark
                                                   dispute (.10).
03/23/2023 Robert Schutt                     0.10 Correspondence with A. Toobin re: historical bank
                                                  data requests.
03/23/2023 Adam Toobin                       2.70 Draft re: correspondence to banks (.50); review re:
                                                  correspondence information requests (.60) draft re:
                                                  outreach re: same (.30); updated bank letter tracker
                                                  (.40); review re: surety bond messages (.10); draft re:
                                                  correspondence to B. Glueckstein (.20); call with
                                                  Mary Cilia (RLKS), A&M and F. Weinberg re:
                                                  updates on bank statements work stream (.60).
03/24/2023 Alexa Kranzley                    0.40 Review re: bank account and related issues (.30);
                                                  correspondences with RLKS and internal team re:
                                                  same (.10).
03/24/2023 Fabio Weinberg Crocco             0.60 Correspondences re: bank statements.
03/24/2023 Joshua Hardin                     0.40 Revise payoff letter.
03/24/2023 Adam Toobin                       1.50 Correspondence re: bank letter follow ups.
03/26/2023 Adam Toobin                       0.60 Correspondence re: bank records follow up.
03/27/2023 Brian Glueckstein                 1.00 Call with J. Ray (FTX), E. Mosley (A&M), K.
                                                  Ramanthan (A&M), F. Risler (FTI), E. Gilad (Paul
                                                  Hastings), M. Cilia (RLKS), J. Croke, A. Kranzley
                                                  and A. Toobin re: Debtors’ investment strategy (.50);
                                                  calls with A. Kranzley and E. Mosley (A&M) re:
                                                  same (.50).
03/27/2023 Jacob Croke                       0.50 Call with J. Ray (FTX), E. Mosley (A&M), K.
                                                  Ramanthan (A&M), F. Risler (FTI), E. Gilad (Paul
                                                  Hastings), M. Cilia (RLKS), B. Glueckstein, A.
                                                  Kranzley and A. Toobin re: Debtors’ investment
                                                  strategy.
03/27/2023 Alexa Kranzley                    1.30 Call with J. Ray (FTX), E. Mosley (A&M), K.
                                                  Ramanthan (A&M), F. Risler (FTI), E. Gilad (Paul
                                                  Hastings), M. Cilia (RLKS), J. Croke, B. Glueckstein
                                                  and A. Toobin re: Debtors’ investment strategy (.50);
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Date        Name                           Hours Description

                                                   correspondence with E. Mosley (A&M) and B.
                                                   Glueckstein re: same (.40); review re: banking and
                                                   related issues (.30); correspondences with RLKS and
                                                   A&M re: same (.10).
03/27/2023 Christian Jensen                  0.20 Revise re: token services agreement.
03/27/2023 Fabio Weinberg Crocco             1.80 Meeting with A. Toobin re: status of information
                                                  requests to banks (.40); review re: correspondence to
                                                  banks (.90); draft re: template letter to law firms re: IP
                                                  work (.50).
03/27/2023 Elizabeth Levin                   0.20 Meeting with K. Rogosch re: FTX trademarks.
03/27/2023 M. Devin Hisarli                  1.00 Draft re: vendor contract (.50); correspondence with
                                                  J. Petiford and K. Montague (A&M) re: same (.50).
03/27/2023 Katharina Rogosch                 1.00 Meeting with E. Levin re: trademark matters (.20);
                                                  correspondence to local counsels re: trademark
                                                  maintenance and prosecution activities (.70);
                                                  correspondence with E. Levin re: same (.10).
03/27/2023 Adam Toobin                       2.90 Call with J. Ray (FTX), E. Mosley (A&M), K.
                                                  Ramanthan (A&M), F. Risler (FTI), E. Gilad (Paul
                                                  Hastings), M. Cilia (RLKS), J. Croke, A. Kranzley
                                                  and B. Glueckstein re: Debtors’ investment strategy
                                                  (.50); correspondence re: investment strategy meeting
                                                  follow up (.20); correspondence re: bank letters
                                                  follow up (1.5); meeting with F. Weinberg re: status of
                                                  information requests to banks (.40).; draft
                                                  correspondence to J. Trust (.30).
03/28/2023 Rebecca Simmons                   0.60 Review re: wind down timeline (.40); correspondence
                                                  with S&C team re: comments on wind down timeline
                                                  (.10); correspondence with M. Wu re: SD Trust
                                                  Board Resignation and remaining board members
                                                  (.10).
03/28/2023 Jacob Croke                       2.00 Weekly PMO meeting with Debtors' advisors' team
                                                  (1.0); board meeting re: pending litigations and asset
                                                  recovery strategies (1.0).
03/28/2023 Anthony Lewis                     0.20 Review re: vendor terms of service.
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Date        Name                           Hours Description
03/28/2023 Alexa Kranzley                    1.40 Call with J. Petiford, S. Williams (Manier) and M. Lee
                                                  (Manier) re: surety bonds (.30); follow up
                                                  correspondences re: same (.30); review re: treasury
                                                  issues (.40); correspondences with RLKS and A&M
                                                  re: same (.40).
03/28/2023 Julie Kapoor                      0.80 Call with A. Kranzley, S. Williams (Manier) and M.
                                                  Lee (Manier) re: surety bonds (.30); review re:
                                                  agreement with potential vendor (.50).
03/28/2023 Fabio Weinberg Crocco             0.70 Call with A&M and A. Toobin re: updates on
                                                  outstanding bank records requests.
03/28/2023 KJ Lim                            1.50 Draft and revise form letter to local counsel re:
                                                  trademark portfolio management.
03/28/2023 Elizabeth Levin                   1.00 Draft re: form letter re: local counsel trademark
                                                  prosecution and maintenance activities.
03/28/2023 M. Devin Hisarli                  4.60 Review re: proposed vendor agreement (2.0); draft an
                                                  issues list re: same for F. Weinberg Crocco (.90);
                                                  correspondence with K. Montague (A&M), A.
                                                  Kranzley and J. Petiford re: contract terminations
                                                  (.40); revise re: termination notice re: vendor contract
                                                  for A. Kranzley (.90); incorporated J. Petiford's
                                                  comments re: same (.20); circulated the termination
                                                  notice for signature by K. Schultea (RLKS) (.20).
03/28/2023 Katharina Rogosch                 0.60 Updating draft form email as per E. Levin's comments
                                                  (0.4). Correspondence with E. Levin (0.1).
                                                  Correspondence with M.Ansari and KJ.Lim (0.1).
03/28/2023 Adam Toobin                       3.10 Bank statement updates (.50); research re: process for
                                                  recovering funds from Relevant Third Party (.50);
                                                  communicated with Relevant Third Party about
                                                  Signature account (.60); additional follow up related to
                                                  Relevant Third Party (.30); call re updates on
                                                  outstanding bank records requests with A&M, F.
                                                  Weinberg & A. Toobin (.70); bank statement follow
                                                  up emails (.50).
03/29/2023 Anthony Lewis                     0.10 Correspondence with S&C, A&M teams re: vendor
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Date        Name                            Hours Description

                                                    assistance.
03/29/2023 Alexa Kranzley                     1.90 Coordinate re return of funds from retainer (.30);
                                                   correspondences with internal team re creditor
                                                   inbounds (.30); correspondences with internal team re
                                                   LedgerPrime and related issues and work on related
                                                   issues (.60); work on contract issues and
                                                   correspondences with RLKS and A&M re the same
                                                   (.40); work on crypto related issues (.30).
03/29/2023 Fabio Weinberg Crocco              2.60 Call re: transfer of funds with Relevant Third Party and
                                                   A. Toobin (.60); review of summary re: same (.50);
                                                   follow-up correspondence re: same (.10); call with M.
                                                   Shanahan (A&M) re: banks information workstream
                                                   (.10); review of contract with service provider (1.0);
                                                   draft of issues list (.30).
03/29/2023 Jason Gallant                      0.10 Call with M. West re: account balances spreadsheet
                                                   assignment.
03/29/2023 M. Devin Hisarli                   0.40 Drafted cover email re: certain vendor contracts (.20);
                                                   incorporated feedback re: same and sent to vendor
                                                   (.20)
03/29/2023 Adam Toobin                        4.90 Sent messages re: Relevant Third Party account (.90);
                                                   additional bank statement follow ups (1.7); drafted
                                                   summary email on Relevant Third Party meeting (.40);
                                                   call re transfer of funds with Relevant Third Party, F.
                                                   Weinberg and A. Toobin (.60); follow up
                                                   correspondence re: Relevant Third Party meeting
                                                   (.60); call re: bank statements updates with F.
                                                   Weinberg (.30); drafted email on Relevant Third Party
                                                   to A&M (.40).
03/29/2023 Molly West                         0.10 Call with J. Gallant re: account balances spreadsheet
                                                   assignment.
03/30/2023 Rebecca Simmons                    0.60 Review and revise draft outline of wind down
                                                   procedure (.50); correspondence with S&C team re:
                                                   questions and comments (.10).
03/30/2023 Nicole Friedlander                 0.30 Emails with K. Ramanathan (A&M) and A. Lewis re:
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                              Project: 00014 - BUSINESS OPERATIONS

Date        Name                          Hours Description

                                                   FTX EU issue.
03/30/2023 Colin Lloyd                      0.10 Correspondence with B. Zonershayn re: LedgerPrime.
03/30/2023 Fabio Weinberg Crocco            1.70 Call with A&M, Mary Cilia (RLKS), and A. Toobin
                                                 re: historical bank information requests (.50). Call re:
                                                 funds transfer from RelevantThird Party with Mary
                                                 Cilia (RLKS) and A. Toobin (.20); meetings re bank
                                                 transfer requests with A. Toobin (.30); review of
                                                 tracker re: information requests (.50); call with K.
                                                 Ramanathan re: funds transfer from Relevant Third
                                                 Party (.20).
03/30/2023 M. Devin Hisarli                 0.70 Correspondence with R. Perubhatla re: certain vendor
                                                 contracts (.40); reviewed agreements re: KYC
                                                 services sent by R. Perubhatla (.30)
03/30/2023 Robert Schutt                    0.20 Correspondence with A&M re: bank document
                                                 sharing (.10); provide access to shared drive internally
                                                 (.10).
03/30/2023 Adam Toobin                      3.20 Bank statement follow ups (1.9); call with A&M,
                                                 Mary Cilia (RLKS) and F. Weinberg re: historical
                                                 bank information requests (.50); call with Mary Cilia
                                                 (RLKS) and F. Weinberg re: Relevant Third Party
                                                 funds transfer (.20); meetings re bank transfer requests
                                                 with F. Weinberg and A. Toobin (.30); drafted email
                                                 to A&M on Quinn (.30).
03/31/2023 Fabio Weinberg Crocco            1.00 Call with Mary Cilia (RLKS), Kumanan Ramanathan
                                                 (A&M) and A. Toobin re: Relevant Third Party funds
                                                 transfer (.20); email to relevant third party re: release
                                                 of funds (.20); review of emails re: bank information
                                                 requests (.60).
03/31/2023 Adam Toobin                      0.60 Call with Mary Cilia (RLKS), Kumanan Ramanathan
                                                 (A&M) and F. Weinberg re: Relevant Third Party
                                                 funds transfer (.20); correspondence with internal
                                                 team re: bank statement (.40).

Total                                     175.10
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                               Project: 00015 - CASE ADMINISTRATION

Date        Name                           Hours Description

03/01/2023 Brian Glueckstein                 0.30 Call with A. Landis re: status and open issues.
03/01/2023 James Bromley                     0.30 Correspondence with A. Dietderich, J. Ray (FTX)
                                                  and A&M team re: press release.
03/02/2023 Steven Holley                     0.20 Correspondence with S. Wheeler re: staffing and
                                                  preparation of interim report.
03/02/2023 James Bromley                     1.00 Correspondence with A&M team, J. Ray (FTX), A.
                                                  Kranzley, A. Dietderich and B. Glueckstein re: case
                                                  updates (.50); correspondence with A&M team, J.
                                                  Ray (FTX) and A. Dietderich re: press release (.50).
03/02/2023 Alexa Kranzley                    0.10 Review and revise re: PMO materials.
03/02/2023 Benjamin Zonenshayn               0.70 Draft ordinary course professional supplemental
                                                  declaration for J. Petiford.
03/03/2023 Mitchell Eitel                    0.80 Meeting with S. Wheeler and R. Giuffra re: case
                                                  management (.50); correspondence with A. Dietderich
                                                  re: press coverage (.30).
03/03/2023 James Bromley                     0.30 Correspondence with A. Dietderich, A. Kranzley, B.
                                                  Glueckstein, A&M team, J. Ray (FTX) re: case
                                                  issues.
03/04/2023 James McDonald                    0.70 Review of materials re: matter strategy and report.
03/05/2023 Andrew Dietderich                 0.30 Draft workstream strategy.
03/05/2023 James Bromley                     0.60 Correspondence with A. Dietderich, J. Ray (FTX)
                                                  and A. Kranzley re: case matters.
03/06/2023 Anthony Lewis                     0.10 Correspondence with S&C team re: bankruptcy
                                                  filings.
03/06/2023 Alexa Kranzley                    0.10 Review agenda for hearing.
03/07/2023 Steven Holley                     0.50 Senior steering call re: status of various matters and
                                                  upcoming tasks.
03/07/2023 Mitchell Eitel                    0.30 Attend PMO meeting (partial attendance).
03/07/2023 Audra Cohen                       0.60 Attend PMO meeting (partial attendance).
03/07/2023 Andrew Dietderich                 0.90 Senior steering call re: status of various matters and
                                                  upcoming tasks (.50) attend PMO meeting (.40 -
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                                Project: 00015 - CASE ADMINISTRATION

Date        Name                            Hours Description

                                                    partial attendance).
03/07/2023 Brian Glueckstein                  0.50 Senior steering call re: status of various matters and
                                                   upcoming tasks.
03/07/2023 Nicole Friedlander                 0.50 Senior steering call re: status of various matters and
                                                   upcoming tasks.
03/07/2023 James Bromley                      1.90 Correspondence with A. Dietderich, B. Glueckstein,
                                                   A. Kranzley and J. Ray (FTX) re: case matters (.60);
                                                   senior steering call re: status of various matters and
                                                   upcoming tasks (.50); attend PMO meeting (.80).
03/07/2023 Alexa Kranzley                     1.00 Attend PMO meeting (.60 - partial attendance); call
                                                   with J. Petiford re: case update (.30); follow up
                                                   correspondence re: hearing agenda with LRC (.10).
03/07/2023 Julie Kapoor                       0.30 Call with A. Kranzley re: case update.
03/07/2023 Benjamin Zonenshayn                2.00 Research for A. Kranzley re: prejudgment interest.
03/08/2023 James Bromley                      0.80 Correspondence with A. Kranzley, B. Glueckstein
                                                   and A. Dietderich re: matter issues.
03/08/2023 Alexa Kranzley                     0.10 Update PMO legal slide.
03/09/2023 Steven Holley                      0.50 Senior steering call re: status of various matters and
                                                   upcoming tasks.
03/09/2023 Andrew Dietderich                  0.60 Correspondence with Alix re: work allocation (.20)
                                                   correspondence with A&M team re: same (.10)
                                                   correspondence with J. Ray (FTX) re: same (.30).
03/09/2023 James Bromley                      0.80 Correspondence with A. Dietderich, A. Kranzley, B.
                                                   Glueckstein, J. Ray (FTX) A&M team re: case
                                                   matters.
03/09/2023 Alexa Kranzley                     0.10 Correspondences with A&M team re: PMO.
03/12/2023 Robert Schutt                      0.10 Review upcoming deadlines.
03/13/2023 Steven Holley                      1.00 Meeting with internal team re: status of various
                                                   projects and upcoming tasks.
03/13/2023 Mitchell Eitel                     0.50 Meeting with internal team re: status of various
                                                   projects and upcoming tasks (partial attendance).
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                                Project: 00015 - CASE ADMINISTRATION

Date        Name                            Hours Description
03/13/2023 Alexa Kranzley                     0.60 Update regarding filings for the week (.30); coordinate
                                                   with LRC and internal team re: same (.30).
03/13/2023 Christian Jensen                   0.70 Meeting with A. Kranzley and J. Petiford re: case
                                                   workstreams and staffing allocations (partial
                                                   attendance).
03/13/2023 Julie Kapoor                       1.00 Meeting with A. Kranzley and C. Jensen re: case
                                                   workstreams and staffing allocations.
03/14/2023 Audra Cohen                        0.70 Attend PMO meeting (partial attendance).
03/14/2023 Andrew Dietderich                  1.40 Senior steering call re: status of various matters and
                                                   upcoming tasks (.50); attend PMO meeting (.90).
03/14/2023 Nicole Friedlander                 0.50 Senior steering call re: status of various matters and
                                                   upcoming tasks.
03/14/2023 James Bromley                      1.50 Senior steering call re: status of various matters and
                                                   upcoming tasks (.50); attend PMO meeting (1.0).
03/14/2023 Alexa Kranzley                     0.80 Attend PMO meeting (partial attendance).
03/16/2023 Steven Holley                      0.40 Correspondence with internal team re: ongoing
                                                   investigations workstreams.
03/16/2023 Robert Schutt                      0.20 Review correspondence with A&M re: creditor
                                                   accounts.
03/17/2023 Brian Glueckstein                  0.80 Correspondence with A. Kranzley re: workstreams
                                                   and strategy issues.
03/20/2023 Mitchell Eitel                     0.50 S&C team meeting re: ongoing investigations
                                                   workstreams.
03/20/2023 Brian Glueckstein                  0.80 Correspondence with A. Kranzley re: workstreams
                                                   updates and strategy issues.
03/20/2023 Sharon Levin                       0.60 S&C team meeting re: ongoing investigations
                                                   workstreams.
03/21/2023 Audra Cohen                        0.50 Weekly PMO meeting with Debtors' advisors' team.
03/21/2023 Andrew Dietderich                  0.80 Review re: case updates (.30); steering committee
                                                   strategy call (.50).
03/21/2023 Brian Glueckstein                  2.40 Call with S. Fulton, I. Foote, N. Luu, and E. Shehada
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                               Project: 00015 - CASE ADMINISTRATION

Date        Name                           Hours Description

                                                   re: active bankruptcy litigation work streams (.60);
                                                   steering committee strategy call (.50); weekly PMO
                                                   meeting with Debtors' advisors' team (.50);
                                                   correspondence with A. Kranzley re: workstream and
                                                   open issues resolution (.80).
03/21/2023 Alexa Kranzley                    0.50 Weekly PMO meeting with Debtors' advisors' team.
03/21/2023 Sean Fulton                       0.60 Call with B. Glueckstein, I. Foote, N. Luu and E.
                                                  Shehada re: active bankruptcy litigation work streams.
03/21/2023 Isaac Foote                       0.60 Call with B. Glueckstein, S. Fulton, N. Luu and E.
                                                  Shehada re: active bankruptcy litigation work streams.
03/21/2023 Nam Luu                           0.60 Call with B. Glueckstein, S. Fulton, I. Foote and E.
                                                  Shehada re: active bankruptcy litigation work streams.
03/21/2023 Emile Shehada                     0.60 Call with B. Glueckstein, S. Fulton, I. Foote and N.
                                                  Luu re: active bankruptcy litigation work streams.
03/22/2023 Brian Glueckstein                 0.70 Correspondence with A. Kranzley re: open
                                                  workstream issues.
03/23/2023 Brian Glueckstein                 1.20 Correspondence with A. Kranzley re: open
                                                  workstreams and issues (.50); correspondence with J.
                                                  Bromley re: status updates (.50); correspondence with
                                                  A. Dietderich re: strategy issues (.20).
03/24/2023 Alexa Kranzley                    0.20 Revise PMO slide for legal update.
03/25/2023 Andrew Dietderich                 0.30 Draft organizational list for S&C workstreams.
03/27/2023 Steven Holley                     0.80 Internal meeting re: status of various projects and
                                                  upcoming tasks.
03/27/2023 Brian Glueckstein                 1.00 Review re: litigation workstreams issues (.30);
                                                  correspondence with S&C re: open issues (.30); call
                                                  with J. Ray (FTX), S&C and QE re: investigation
                                                  strategy issues (.40).
03/27/2023 James Bromley                     0.40 Correspondence with A. Dietderich, J. Ray (FTX), B.
                                                  Glueckstein and A. Kranzley re: case matters.
03/28/2023 Audra Cohen                       1.20 Weekly PMO meeting with Debtors' advisors' team.
03/28/2023 Andrew Dietderich                 0.10 Correspondence with UST re: case updates.
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                                Project: 00015 - CASE ADMINISTRATION

Date        Name                            Hours Description
03/28/2023 Andrew Dietderich                  1.80 Draft outline of plan path (.30); senior steering
                                                   committee meeting (.60 - partial attendance); weekly
                                                   PMO meeting with Debtors' advisors' team (.90).
03/28/2023 Brian Glueckstein                  1.60 Senior steering committee meeting (.70); weekly
                                                   PMO meeting with Debtors' advisors' team (.90).
03/28/2023 Nicole Friedlander                 0.60 Senior steering committee meeting.
03/28/2023 James Bromley                      1.20 steering committee call (.50); PMO call (.70);
03/28/2023 Alexa Kranzley                     1.20 Weekly PMO meeting with Debtors' advisors' team.
03/28/2023 Robert Schutt                      0.80 Correspondence with A&M re: third-party creditor
                                                   requests.
03/28/2023 Benjamin Zonenshayn                0.50 Compiled list of motions to be heard on April 12
                                                   hearing for A. Kranzley.
03/29/2023 Brian Glueckstein                  0.30 Call with S. Fulton, I. Foote, N. Luu and E. Shehada
                                                   re: active FTX litigation projects.
03/29/2023 Alexa Kranzley                     0.10 Update PMO legal slide.
03/29/2023 Sean Fulton                        0.30 Call with B. Glueckstein, I. Foote, N. Luu and E.
                                                   Shehada re: active FTX litigation projects.
03/29/2023 Fabio Weinberg Crocco              0.20 Meeting with R. Schutt re: creditor claims.
03/29/2023 Isaac Foote                        0.30 Call with B. Glueckstein, S. Fulton, N. Luu and E.
                                                   Shehada re: active FTX litigation projects.
03/29/2023 Nam Luu                            0.30 Call with B. Glueckstein, S. Fulton, I. Foote and E.
                                                   Shehada re: active FTX litigation projects.
03/29/2023 Robert Schutt                      0.80 Review and summarize A&M data (.30); draft
                                                   proposed re: third-party creditor requests (.30);
                                                   meeting with F. Weinberg Crocco re: creditor claims
                                                   (.20).
03/29/2023 Emile Shehada                      0.30 Call with B. Glueckstein, S. Fulton, I. Foote and N.
                                                   Luu re: active FTX litigation projects.
03/30/2023 Andrew Dietderich                  1.00 Call with J. Ray (FTX) re: open matters and conflict
                                                   issues (.80); call E. Mosley (A&M) re: conflict matters
                                                   (.20).
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                               Project: 00015 - CASE ADMINISTRATION

Date        Name                           Hours Description
03/31/2023 Brian Glueckstein                 0.70 Call with S. Fulton, I. Foote, N. Luu and E. Shehada
                                                  re: active bankruptcy litigation work streams.
03/31/2023 Sean Fulton                       0.70 Call with B. Glueckstein, I. Foote, N. Luu and E.
                                                  Shehada re: active bankruptcy litigation work streams.
03/31/2023 Isaac Foote                       0.70 Call with B. Glueckstein, S. Fulton, N. Luu and E.
                                                  Shehada re: active bankruptcy litigation work streams.
03/31/2023 Nam Luu                           0.70 Call with B. Glueckstein, S. Fulton, I. Foote and E.
                                                  Shehada re: active bankruptcy litigation work streams.
03/31/2023 Emile Shehada                     0.70 Call with B. Glueckstein, S. Fulton, I. Foote and N.
                                                  Luu re: active bankruptcy litigation work streams.

Total                                       56.30
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                   Project: 00016 - CLAIMS ADMINISTRATION AND OBJECTIONS

Date        Name                        Hours Description

03/01/2023 Alexa Kranzley                 0.50 Call with A&M re: claims bar date and related issues.
03/02/2023 Andrew Dietderich              0.30 Correspondence with B. Glueckstein re: claims
                                               procedure issues (.20); correspondence with J. Ray
                                               (FTX) re: same (.10).
03/02/2023 Anthony Lewis                  0.40 Review potential claims memorandum.
03/03/2023 Brian Glueckstein              1.60 Call with J. Ray (FTX) and A. Kranzley re: claims
                                               issues.
03/03/2023 Alexa Kranzley                 0.70 Call with B. Glueckstein and J. Ray (FTX) re: claim
                                               issues (.70 - partial attendance).
03/06/2023 Alexa Kranzley                 1.20 Call with J. Petiford re: bar date and related issues
                                               (.40); meetings with A&M team re: bar date and
                                               related issues (.80).
03/06/2023 Julie Kapoor                   0.70 Call with A. Kranzley re: bar date and related issues
                                               (.40); meeting with B. Zonenshayn and G. Barnes re:
                                               bar date research (.30).
03/06/2023 Fabio Weinberg Crocco          0.30 Review email re: information request from party in
                                               interest.
03/06/2023 Grier Barnes                   2.70 Research re: customer claims (2.4); meeting with B.
                                               Zonenshayn, and J. Petiford re: bar date research
                                               (.30).
03/06/2023 Benjamin Zonenshayn            0.30 Meeting between G. Barnes, and J. Petiford re: bar
                                               date research (.30)
03/07/2023 Alexa Kranzley                 1.90 Call with J. Petiford, J. Ray (FTX) and RLKS, Kroll
                                               and A&M teams re: bar date and claims process
                                               (.90); follow up discussions with A&M team re: the
                                               same (.60); work on related issues (.40).
03/07/2023 Julie Kapoor                   0.90 Call with A. Kranzley, J. Ray (FTX) and RLKS, Kroll
                                               and A&M teams re: bar date and claims process.
03/07/2023 Grier Barnes                   0.50 Research re: customer claims re: proof of claim matter.
03/07/2023 Robert Schutt                  0.40 Review correspondence re: information request from
                                               third-party creditor.
03/08/2023 Grier Barnes                   3.30 Research and summarize case law re: claims
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                   Project: 00016 - CLAIMS ADMINISTRATION AND OBJECTIONS

Date        Name                        Hours Description

                                                administration issue.
03/08/2023 Benjamin Zonenshayn            4.10 Research re: bar date (2.6); further research re: bar
                                               date (1.5).
03/09/2023 Benjamin Zonenshayn            2.50 Revise presentation re: bar date.
03/14/2023 Julie Kapoor                   0.30 Review research re: bar date.
03/14/2023 Grier Barnes                   0.20 Call with B. Zonenshayn re: claims administration
                                               issue.
03/14/2023 Benjamin Zonenshayn            0.50 Call with G. Barnes re: claims administration issue
                                               (.20); revise bar date deck for J. Petiford (.30).
03/15/2023 M. Devin Hisarli               2.10 Research re: bankruptcy claims.
03/15/2023 Benjamin Zonenshayn            1.50 Review re: customer verification (1.20);
                                               correspondence with J. Petiford re: same (.30).
03/16/2023 Fabio Weinberg Crocco          0.50 Review of information request made by relevant third
                                               party (.20); correspondences with A&M re: same
                                               (.30).
03/21/2023 Alexa Kranzley                 0.30 Review bar date related research.
03/23/2023 Julie Kapoor                   0.40 Call with M. Pierce (Landis), R. Esposito (A&M) and
                                               D. Lewandowski (A&M) re: claims information (.30);
                                               follow up re: same (.10).
03/24/2023 Alexa Kranzley                 0.50 Review materials and work on bar date construct and
                                               related issues.
03/27/2023 Alexa Kranzley                 1.40 Meeting with J. Petiford, B. Zonenshayn and A&M
                                               team re: bar date processes (1.0); follow up work
                                               regarding the same (.40).
03/27/2023 Julie Kapoor                   1.00 Meeting with A. Kranzley, B. Zonenshayn and A&M
                                               team re: bar date processes.
03/27/2023 Benjamin Zonenshayn            1.00 Meeting with A. Kranzley and J. Petiford and A&M
                                               team re: bar date processes.
03/28/2023 Andrew Dietderich              0.40 Correspondence to A. Kranzley re: bar date issues.
03/28/2023 Alexa Kranzley                 1.50 Call with J. Petiford and A&M and Kroll teams re:
                                               claims portal (.80); follow up call with B. Steele
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                   Project: 00016 - CLAIMS ADMINISTRATION AND OBJECTIONS

Date        Name                        Hours Description

                                                 (Kroll) re: the same (.30); follow up review of related
                                                 materials and correspondences with A&M re: the
                                                 same (.40).
03/28/2023 Julie Kapoor                   0.80 Call with A. Kranzley and A&M and Kroll teams re:
                                               claims portal.
03/29/2023 Alexa Kranzley                 0.90 Call with J. Petiford and B. Zonenshayn re: bar date
                                               motion.
03/29/2023 Julie Kapoor                   1.00 Call with A. Kranzley and B. Zonenshayn re: bar date
                                               motion (.90); follow up to team re: same (.10).
03/29/2023 Grier Barnes                   2.00 Meeting between B. Zonenshayn re: bar dates motion
                                               (.60); research past cryptocurrency practices with
                                               respect to bar date practice (1.4).
03/29/2023 Benjamin Zonenshayn            2.60 Meeting with G. Barnes re: bar dates motion (.60);
                                               follow up correspondence re: same (.60); call with A.
                                               Kranzley and J. Petiford re: bar date motion (.90);
                                               consolidation of workstreams and email to J. Petiford
                                               re: same (.50).
03/30/2023 Fabio Weinberg Crocco          0.40 Correspondences with S&C team re: customer
                                               inquiry.
03/30/2023 Sophia Chen                    0.30 Research re: hearing transcripts for claims
                                               administration matters per G. Barnes.
03/31/2023 Grier Barnes                   1.10 Research with respect to bar date administration
                                               matters.

Total                                    43.00
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                Project: 00017 - CORPORATE GOVERNANCE AND BOARD MATTERS

Date        Name                      Hours Description

03/02/2023 Nicholas Menillo             0.10 Correspondence to B. Glueckstein re: insurance
                                             issues.
03/02/2023 Arthur Courroy               2.50 Review comments from J. Simpson to open queries on
                                             directorship agreement (.30); update comments to
                                             agreement (.20); correspondence with local counsel
                                             re: capital gains (.30); review corporate records to
                                             assess ability of shareholders to replace board
                                             members of various non-US entities (1.1);
                                             correspondence with local counsel re: change of
                                             directors and relevant corporate records (.60).
03/02/2023 Ting Ruan                    0.30 Read and reply to project emails re template
                                             resolutions for entity sale.
03/03/2023 Stephanie Wheeler            0.50 Call with J. Ray (FTX), J. McDonald, and N. Menillo
                                             re: indemnification demand (.30 - partial attendance);
                                             call with J. McDonald, and N. Menillo re:
                                             indemnification demand (.20).
03/03/2023 Anthony Lewis                0.10 Correspondence with S&C team re: insurance issues.
03/03/2023 Nicholas Menillo             3.80 Review and analyze insurance demand (.50); research
                                             re: obligations (1.5); email correspondence with S&C
                                             team re: insurance issues (.20); email with B.
                                             Glueckstein re: request for relief from stay (.10); email
                                             correspondence with relevant counsel re:
                                             indemnification issues (.20); call with S. Wheeler, J.
                                             McDonald re: indemnification demand (.20); call
                                             among J. Ray (FTX), S. Wheeler, and J. McDonald
                                             re: same (.40); call with relevant counsel re: same
                                             (.20); call with relevant counsel re: indemnification
                                             demand (.30); email to relevant counsel re:
                                             indemnification demand follow ups (.20).
03/03/2023 Christian Jensen             0.20 Correspondence with M. Wu re: share register.
03/03/2023 Marie-Ève Plamondon          0.60 Draft an email to N. Menillo re: draft notice of
                                             circumstances to insurers (.30); draft an email to H.
                                             Purcell re: required updates to reference documents
                                             for internal use (.30).
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                Project: 00017 - CORPORATE GOVERNANCE AND BOARD MATTERS

Date        Name                      Hours Description
03/03/2023 Ting Ruan                    1.00 Revise form board resolutions for selling entities.
03/05/2023 Stephanie Wheeler            0.20 Read A. Dietderich emails re: presentations to Board
                                             on Embed, debtor entity, and FTX Japan.
03/05/2023 Andrew Dietderich            0.20 Outline board agenda for next two weeks.
03/05/2023 Michael Haase                0.60 Research re: Germany assets.
03/06/2023 Evan Simpson                 1.30 Attending Ventures Silo board meeting (1.0); draft
                                             minutes for Ventures Silo board meeting (.30).
03/06/2023 Nicholas Menillo             2.10 Call with Syngia and FTX re: forensic investigation
                                             insurance (1.0); emails with S&C team re:
                                             indemnification (.10); review and comment on letter re:
                                             indemnification demand (.10); review coverage
                                             position letter from media insurer and emails with J.
                                             Ray (FTX) re: same (.30); emails with insurer re:
                                             forensic insurance (.10); emails with M. Plamondon re:
                                             insurer responses (.10); emails with S&C team re:
                                             insurance claims (.20); email to R. Perubhatla (RLKS)
                                             re: request to joint provisional liquidators re: insurance
                                             (.20).
03/06/2023 Arthur Courroy               2.30 Coordinate internally to gather documentation
                                             requested by M. Cilia (RLKS) (.80); conduct search
                                             of Austrian public registry (.80); coordinate with local
                                             counsels to confirm shareholding of various entities
                                             and drafting summary table (.70).
03/07/2023 Audra Cohen                  0.70 Attend FTX Board meeting (.70 - partial attendance).
03/07/2023 Andrew Dietderich            0.60 Attend FTX board meeting (.60 - partial attendance).
03/07/2023 Brian Glueckstein            0.80 Attend FTX board meeting.
03/07/2023 Evan Simpson                 0.70 Draft template resolutions for potential sales approval
                                             process.
03/07/2023 James McDonald               0.90 Review of materials re: Board meeting.
03/07/2023 Nicholas Menillo             2.10 Meeting to discuss responses to various insurer
                                             requests with M. Plamondon (.80); draft letter to
                                             insurer re: insurance coverage positions (1.0); work on
                                             response to insurer (.30).
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                Project: 00017 - CORPORATE GOVERNANCE AND BOARD MATTERS

Date        Name                      Hours Description

03/07/2023 Christian Jensen             0.20 Correspondence with A. Kranzley and S. Mishkin re:
                                             KYC certification.
03/07/2023 James Simpson                0.50 Correspondence with A. Kranzley re: corporate status
                                             of debtor entities.
03/07/2023 Michael Haase                0.20 Coordinate call with Lenz re: board appointments.
03/07/2023 Frederic Wünsche             0.50 Consider email from Lenz re: board composition of
                                             FTX Europe (.20); draft answer email and liaise on
                                             answer with M. Birke and M. Haase (.30)
03/07/2023 Marie-Ève Plamondon          2.30 Review outstanding responses to insurers in
                                             preparation for upcoming meeting (.30); meeting with
                                             N. Menillo to discuss responses to various insurer
                                             requests (.80); revise a draft response to an insurer's
                                             letter (.30); correspondence to insurer re: same (.40);
                                             draft correspondence to insurer (.50).
03/07/2023 Arthur Courroy               0.40 Review feedback from local counsel regarding change
                                             of directors and manage corporate records.
03/07/2023 Ting Ruan                    0.40 Revise form board resolutions for selling entities.
03/08/2023 Evan Simpson                 0.50 Review of draft board minutes for Silo Meeting.
03/08/2023 Nicholas Menillo             1.50 Call with Sygnia, relevant insurer, and FTX re:
                                             preparing for forensic underwriting call (1.0); email
                                             with S&C team re: letter to insurer relevant counsel
                                             (.20); emails with M. Plamondon re: responses to
                                             insurer requests (.30).
03/08/2023 Christian Jensen             0.50 Coordinate certification of officer KYC materials.
03/08/2023 Sarah Mishkin                0.20 Review of KYC requests.
03/08/2023 Marie-Ève Plamondon          4.00 Draft response letter to insurer (3.6); correspondence
                                             to K. Mayberry, Z. Flegenheimer and E. Shehada to
                                             obtain updated list of claims (.30); correspondence to
                                             V. Shahnazary re: update of reference documents for
                                             internal use (.10).
03/08/2023 Arthur Courroy               1.30 Review correspondence and drafting bank letter to
                                             foreign bank (.90); review feedback from Swiss
                                             counsel and management regarding ownership and
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                Project: 00017 - CORPORATE GOVERNANCE AND BOARD MATTERS

Date        Name                      Hours Description

                                              updating summary table to M. Cilia (RLKS) (.40).
03/09/2023 James Simpson                0.30 Correspondence re: corporate status of debtor
                                             entities.
03/09/2023 Marie-Ève Plamondon          1.90 Draft response letter to insurer (1.9).
03/10/2023 Anthony Lewis                0.10 Correspondence with S&C team re: insurance issues.
03/10/2023 Nicholas Menillo             1.10 Call with individual counsel re: indemnification (.20);
                                             review transcript for relevance to insurance coverage
                                             issues (.20); underwriting preparation call with Sygnia
                                             and FTX (.70).
03/10/2023 Michael Haase                1.30 Assess German litigation and action recommendation.
03/10/2023 Arthur Courroy               0.60 Review answer from Vietnamese counsel regarding
                                             capital gains (.30); draft summary of key points and
                                             main issues (.30)
03/11/2023 Christian Jensen             0.80 Correspondence with M. Cilia (RLKS) and S&C
                                             team re: KYC document requests.
03/11/2023 Sarah Mishkin                0.50 Correspondence with M. Cilia (RLKS) re: KYC.
03/11/2023 Arthur Courroy               0.80 Review corporate records sent by M. Cilia to
                                             determine missing records and draft summary (.60);
                                             coordinate with S. Mishkin re: same (.20).
03/11/2023 Sophia Chen                  0.30 Compile and circulate resolutions appointing new
                                             directors per C. Jensen.
03/12/2023 Anthony Lewis                0.10 Correspondence with S&C, Sygnia teams re:
                                             insurance issues.
03/12/2023 Nicholas Menillo             0.30 Emails with N. Friedlander re: forensic investigation
                                             underwriting prep call.
03/13/2023 Nicholas Menillo             1.40 Call with underwriters re: forensic insurance (1.0);
                                             email correspondence with QE re: report (.10); call
                                             with relevant counsel re: insurance coverage (.20);
                                             email with FTX re same (.10).
03/14/2023 Audra Cohen                  0.80 Attend FTX Board meeting (.80 - partial attendance).
03/14/2023 Evan Simpson                 2.50 Attend FTX board meeting (1.0); draft silo board
                                             meeting minutes (.50); draft sales related resolutions
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                Project: 00017 - CORPORATE GOVERNANCE AND BOARD MATTERS

Date        Name                      Hours Description

                                              for anticipated transaction (1.0).
03/14/2023 Anthony Lewis                0.20 Correspondence with S&C, Sygnia teams re:
                                             insurance issues.
03/14/2023 Arthur Courroy               0.20 Correspondence re: change of directors in Australia,
                                             Singapore and BVI (.20).
03/15/2023 Kathleen McArthur            0.10 Email correspondence re: AlixPartners presentation to
                                             S&C internal team.
03/15/2023 Evan Simpson                 1.00 Further review of minutes and internal governance
                                             approval process.
03/15/2023 William Wagener              0.10 Read draft Alix Board presentation.
03/15/2023 Sarah Mishkin                0.30 Correspondence with K. Knipp (Independent
                                             Director) re: Japan board matters (.30)
03/15/2023 Arthur Courroy               0.10 Update omnibus tracker.
03/16/2023 Brian Glueckstein            0.60 Meeting with Ventures Board and advisors re:
                                             Venture investment questions.
03/16/2023 Kathleen McArthur            1.00 Call with AlixPartners re: Board presentation (.50);
                                             review draft AP presentation to Board (.20); meeting
                                             with A. Holland and U. Eze with Alix Partners on
                                             status of AP board meeting presentation (.30).
03/16/2023 Evan Simpson                 1.00 Attend Board call with J. Ray (FTX), S&C, QE,
                                             PWP, A&M and Board members (.50);
                                             correspondence to S&C internal team on framework
                                             for governance process for sales matters (.50).
03/16/2023 Nicholas Menillo             2.70 Email correspondence with L. Wilson re: employee
                                             information for insurers (.20); comment on letters to
                                             insurers (2.0); email correspondence with M.
                                             Plamondon re: same (.50).
03/16/2023 Zoeth Flegenheimer           0.30 Meeting with K. McArthur, U. Eze and Alix re: status
                                             of Alix board meeting presentation.
03/16/2023 Sarah Mishkin                1.00 Call with BVI counsel and A. Courroy re: BVI
                                             registered agents (.50); internal correspondence and
                                             follow up research re: same (.50)
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Date        Name                      Hours Description
03/16/2023 Marie-Ève Plamondon          0.40 Review draft response to insurer requests (.20); draft
                                             an email to N. Menillo re: documentation to gather to
                                             accompany response to insurer requests (.20).
03/16/2023 Alexander Holland            0.30 Meeting with K. McArthur, U. Eze and Alix re: status
                                             of AP board meeting presentation.
03/16/2023 Ugonna Eze                   0.30 Meeting with K. McArthur, A. Holland and Alix re:
                                             status of AP board meeting presentation.
03/16/2023 Arthur Courroy               0.90 Call with S. Mishkin and BVI counsel re: BVI
                                             registered agents (.50); review Indian directorship
                                             agreement (.40).
03/16/2023 Scott Kim                    0.50 Correspondence to S. Mishkin and J. Welch (CSC)
                                             re: good standing for Alameda Research LLC from
                                             Delaware (.20); review good standing for Alameda
                                             Research LLC received from Delaware (.10); check
                                             registered agent and franchise tax info for Clifton Bay
                                             Investments LLC and Alameda Research Holdings
                                             Inc. in Delaware (.20).
03/17/2023 Evan Simpson                 1.50 Draft description of governance processes for court
                                             motion.
03/17/2023 Nicholas Menillo             2.80 Further revise response letter to insurer (2.5); email
                                             correspondence to counsel for individuals re: response
                                             to insurer (.30).
03/17/2023 Zoeth Flegenheimer           0.10 Coordinate with M. Plamondon re: updated list of
                                             claims against FTX executives in connection with
                                             insurance claims.
03/17/2023 Marie-Ève Plamondon          3.10 Call with K. Mayberry to discuss preparation of
                                             materials for insurers (.30); coordinate the preparation
                                             of materials requested by insurers (.90); revise
                                             response letter to insurer (1.9).
03/17/2023 Alexander Holland            0.30 Meeting with K. McArthur, Z. Flegenheimer, U. Eze
                                             and Alix re: status of AP board meeting presentation.
03/17/2023 Arthur Courroy               0.30 Draft overview of corporate governance information
                                             relating to BVI entities for M. Cilia.
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                Project: 00017 - CORPORATE GOVERNANCE AND BOARD MATTERS

Date        Name                      Hours Description
03/17/2023 Keila Mayberry               1.10 Call with M. Plamondon to discuss preparation of
                                             materials for insurers (.30); correspondence with M.
                                             Plamondon re: regulatory requests for purposes of
                                             D&O insurance, and follow-up re: the same (.80).
03/17/2023 Ting Ruan                    0.20 Prepare resolutions for FTX sale transactions
03/18/2023 Andrew Dietderich            0.20 Email correspondence to J. Ray (FTX) re: S&C
                                             workstreams and reporting (.20).
03/19/2023 Andrew Dietderich            0.30 Prepare agenda for Tuesday board meeting (.10) and
                                             discuss same with J. Ray (FTX) (.20).
03/19/2023 Kathleen McArthur            0.30 Email correspondence with J Ray (FTX) and A.
                                             Dietderich re: Alix update for Board.
03/20/2023 Kathleen McArthur            0.50 Meeting with Alix re: board presentation (.40); email
                                             correspondence to A. Dietderich and B. Glueckstein
                                             re: same (.10)
03/20/2023 Evan Simpson                 1.80 Attend Ventures meeting of directors for minutes
                                             purposes (.50); draft minutes for Ventures meeting
                                             (.30); review and comment on director appointment
                                             matters at various subsidiaries and related resolutions
                                             and other documentation (1.0)
03/20/2023 James Bromley                1.20 Review board materials for meeting tomorrow (.70);
                                             email correspondence on same with A. Dietderich and
                                             J. Ray (FTX) (.50).
03/20/2023 Anthony Lewis                0.10 Review correspondence with insurer.
03/20/2023 Nicholas Menillo             0.70 Email correspondence with J. Linder (Mayer Brown)
                                             re: insurer requests (.10); email with K&L Gates re:
                                             insurer requests (.10); revise slide for Hong Kong
                                             presentation (.50).
03/20/2023 Michael Haase                0.30 Advise on execution of German agreement for FTX
                                             Europe personnel.
03/20/2023 Andrew Thompson              1.50 Call with E. Downing re: government requests for
                                             insurance binder (.20); review proposed list of new
                                             government to share with insurers, for privilege and
                                             other confidentiality issues (1.3).
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                Project: 00017 - CORPORATE GOVERNANCE AND BOARD MATTERS

Date        Name                      Hours Description
03/20/2023 Marie-Ève Plamondon          1.20 Coordinate the preparation of materials requested by
                                             insurers (1.2).
03/20/2023 Arthur Courroy               3.50 Draft resolutions appointing new director in BVI (.80);
                                             implement comments from S. Mishkin and
                                             correspondence with local counsel (.40); draft
                                             corporate approvals relating to director appointment in
                                             Hong Kong, (1.3); implement comments (.70) and
                                             correspondence with local counsel (.30).
03/20/2023 Emma Downing                 1.10 Review spreadsheet for insurance binder (.90); call
                                             with A. Thompson re: government requests for
                                             insurance binder (.20).
03/20/2023 Keila Mayberry               0.20 Correspondence with E. Downing re: disclosures for
                                             D&O insurance purposes.
03/20/2023 Ting Ruan                    1.70 Prepare director liabilities slides for new director at
                                             FTX Hong Kong and BVI entities (1.4); search for
                                             bylaws and a certificate of incorporation for FTX
                                             entities (.30).
03/21/2023 Audra Cohen                  1.00 Attend Board call with J. Ray (FTX), S&C, QE,
                                             PWP, A&M and Board members.
03/21/2023 Brian Glueckstein            1.40 Prepare for Board meeting (.40); attend Board call
                                             with J. Ray (FTX), S&C, QE, PWP, A&M and
                                             Board members (1.0).
03/21/2023 Evan Simpson                 2.00 Attend Board call with J. Ray (FTX), S&C, QE,
                                             PWP, A&M and Board members (1.0); work on
                                             minutes and resolutions for governance matters (1.0)
03/21/2023 Anthony Lewis                0.10 Correspondence with S&C team re: insurance
                                             requests.
03/21/2023 Nicholas Menillo             0.20 Email correspondence with J. Linder (Mayer Brown)
                                             re: D&O insurance.
03/21/2023 Bradley Harsch               0.30 Call with E. Downing re: confidentiality questions
                                             (.20); review and comment on LEO requests for
                                             insurance submission (.10).
03/21/2023 Benjamin Beller              1.50 Attend Board call with J. Ray (FTX), S&C, QE,
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                Project: 00017 - CORPORATE GOVERNANCE AND BOARD MATTERS

Date        Name                      Hours Description

                                              PWP, A&M and Board members. (1.0); review
                                              materials in advance (.50).
03/21/2023 Meaghan Kerin                0.40 Call with E. Downing re: confidentiality questions for
                                             insurance binder (.10); correspondence with E.
                                             Downing, A. Lewis re: confidentiality questions for
                                             insurance binder (.30).
03/21/2023 Marie-Ève Plamondon          0.40 Draft an email to N. Menillo re: confidentiality
                                             standards applicable to communications with insurers.
03/21/2023 Arthur Courroy               8.20 Draft BVI and Hong Kong shareholder/board
                                             resolutions and other corporate formalities re:
                                             appointment of new director and approval of
                                             transactions, implementing comments from J. Simpson
                                             (5.5); update signing agenda (1.0); correspondence
                                             with Hong Kong local counsel (.40); provide
                                             documentation on shareholder entity to Hong Kong
                                             counsel (.40); internal correspondence re: BVI
                                             resolutions (.20); prepare signature pages (.20); draft
                                             signing agenda for Hong Kong and BVI resolutions
                                             (.50).
03/21/2023 Emma Downing                 4.40 Work on insurance claims project (3.9);
                                             correspondence with M. Plamondon re: same (.20);
                                             call with B. Harsch re: confidentiality questions (.20);
                                             correspondence to C. Kerin re: confidentiality
                                             questions for insurance binder (.10)
03/21/2023 Keila Mayberry               0.10 Correspondence with E. Downing re: CSI disclosures
                                             for D&O insurance purposes.
03/22/2023 Stephanie Wheeler            0.10 Email E. Downing re: list of interviews for insurers
                                             (.10).
03/22/2023 Nicholas Menillo             0.20 Call with M. Mazur (Dechert) re: insurance issues
                                             (.10); email correspondence with same re: same (.10).
03/22/2023 Marie-Ève Plamondon          4.80 Revise response letters to various insurers and prepare
                                             attachments thereto (4.8).
03/22/2023 Emma Downing                 1.90 Compile list of 2004 recipients for insurance purposes
                                             (.90); compile list of interviews re: same (.30); review
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                Project: 00017 - CORPORATE GOVERNANCE AND BOARD MATTERS

Date        Name                      Hours Description

                                              insurance binder (.70).
03/22/2023 Ting Ruan                    2.50 Prepare KYC materials re: venture sales.
03/23/2023 Stephanie Wheeler            0.10 Meeting with E. Downing re: claims for insurance
                                             binder.
03/23/2023 Nicholas Menillo             0.40 Call with K&L Gates to discuss correspondence with
                                             insurers with N. Menillo and M. Plamondon (.30);
                                             email to Hiscox Insurance re: D&O claims (.10).
03/23/2023 Meaghan Kerin                0.30 Call with E. Downing re: insurance binder (.10);
                                             correspondence to. E. Downing re: insurance binder
                                             (.20).
03/23/2023 Marie-Ève Plamondon          1.30 Call with K&L Gates to discuss correspondence with
                                             insurers with N. Menillo and M. Plamondon (.30); call
                                             between N. Menillo and M. Plamondon to discuss
                                             response letters to insurers’ requests (.50); review
                                             attachments to response letter to insurers' requests
                                             (.30); draft an email to E. Downing addressing
                                             question re: requests in scope (.20).
03/23/2023 Emma Downing                 1.90 Meeting with S. Wheeler re: claims for insurance
                                             binder (.10); correspondence with C. Kerin re:
                                             insurance binder (.10); review insurance binder (1.7).
03/24/2023 Anthony Lewis                0.10 Correspondence with S&C team re: insurance issues.
03/24/2023 Nicholas Menillo             0.30 Review coverages to analyze potential insurance
                                             requirements for future operations.
03/24/2023 Meaghan Kerin                0.40 Review updated insurance binder (.30);
                                             correspondence to A. Lewis, E. Downing re: same
                                             (.10).
03/24/2023 Emma Downing                 1.60 Revise insurance binder.
03/25/2023 Stephanie Wheeler            0.40 Review binder of regulatory requests and pleadings for
                                             insurers (.30); email to E. Downing re: same (.10).
03/25/2023 Anthony Lewis                0.10 Correspondence with S&C team re: insurance issues.
03/25/2023 Nicholas Menillo             0.30 Email correspondence with individuals’ counsel and
                                             internally re: insurer response letter.
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Date        Name                      Hours Description
03/25/2023 Meaghan Kerin                0.60 Call with M. Plamondon and E. Downing re: FTX
                                             insurance binder (.30); correspondence to A. Lewis,
                                             E. Downing, M. Plamondon re: FTX insurance binder
                                             (.30).
03/25/2023 Marie-Ève Plamondon          2.10 Schedule a call with C. Kerin, M. Plamondon, and E.
                                             Downing re: FTX insurance binder (.10); call with C.
                                             Kerin and E. Downing re: FTX insurance binder (.30);
                                             draft emails to N. Menillo re: contents of the FTX
                                             insurance binder (1.1); review FTX insurance binder
                                             (.40); draft an email to E. Downing re: contents of the
                                             FTX insurance binder (.20).
03/25/2023 Emma Downing                 1.80 Call with C. Kerin and M. Plamondon re: FTX
                                             insurance binder (.30); pull documents re: same (.50);
                                             revise interview binder (.80); correspondence with S.
                                             Wheeler re: same (.20)
03/25/2023 Ting Ruan                    0.50 Check shareholder information on FTX Lend Inc. and
                                             WRSS Inc.
03/26/2023 Anthony Lewis                0.10 Correspondence with S&C team re: insurance issues.
03/26/2023 James Simpson                0.30 Internal S&C correspondence re: Delaware annual
                                             reports.
03/26/2023 Meaghan Kerin                0.30 Review updated FTX insurance binder (.20);
                                             correspondence to A. Lewis, E. Downing, M.
                                             Plamondon re: same (.10).
03/26/2023 Emma Downing                 1.40 Revise FTX insurance binder.
03/27/2023 Stephanie Wheeler            0.20 Meeting with E. Downing re: insurance binder.
03/27/2023 James Bromley                0.30 Correspondence to J. Ray (FTX) and board members
                                             on incentive questions (.30);
03/27/2023 Anthony Lewis                0.30 Call with N. Menillo re: forensic investigation
                                             insurance coverage issues (.20); correspondence with
                                             S&C re: insurance issues (.10).
03/27/2023 Nicholas Menillo             1.80 Call with T. Lewis re: insurance notice and insurer
                                             requests (.20); correspondence to S. Wheeler re:
                                             insurance notice (.10); revise insurance notices (1.5).
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                Project: 00017 - CORPORATE GOVERNANCE AND BOARD MATTERS

Date        Name                      Hours Description
03/27/2023 Christian Jensen             0.20 Correspondence with H. Trent (A&M) re: authorized
                                             signatories (.20).
03/27/2023 Meaghan Kerin                0.10 Correspondence to A. Lewis, E. Downing, M.
                                             Plamondon re: insurance binder (.10).
03/27/2023 Marie-Ève Plamondon          5.40 Call with E. Downing re: insurance binder revisions
                                             (.10); revise response letter to insurer and attachments
                                             thereto (5.0); send response letter to insurer and
                                             attachments thereto (.30).
03/27/2023 Emma Downing                 1.20 Meeting with S. Wheeler re: insurance binder (.20);
                                             call with M. Plamondon re: insurance binder revisions
                                             (.10); review insurance binder (.90).
03/27/2023 Ting Ruan                    0.60 Update legal entity tracker re: changes in FTX HK
                                             entities.
03/28/2023 Brian Glueckstein            1.00 Attend Board call with J. Ray (FTX), S&C, QE,
                                             PWP, A&M and Board members.
03/28/2023 Nicole Friedlander           1.00 Attend Board call with J. Ray (FTX), S&C, QE,
                                             PWP, A&M and Board members.
03/28/2023 James Bromley                1.70 Attend Board call with J. Ray (FTX), S&C, QE,
                                             PWP, A&M and Board members (1.0); review
                                             materials re: same (.20); email correspondence on
                                             case matters with A. Dietderich and B. Glueckstein, J.
                                             Ray (FTX), A&M (.50).
03/28/2023 Christian Jensen             0.20 Correspondence with A&M team re: Debtor
                                             directors.
03/28/2023 Christopher Weldon           0.20 Attention to emails re: response to motion re: D&O
                                             insurance (.10); review superseding indictment (.10).
03/28/2023 Sarah Mishkin                0.10 Call with A. Courroy re: BVI resolutions relating to
                                             director change and registered agents.
03/28/2023 Marie-Ève Plamondon          0.60 Draft an email to N. Menillo copies of insurer
                                             correspondence to be sent to insurers' counsel (.20);
                                             send response letter and attachments thereto to
                                             insurers.
03/28/2023 Arthur Courroy               1.40 Review executed resolutions in BVI and update
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                Project: 00017 - CORPORATE GOVERNANCE AND BOARD MATTERS

Date        Name                      Hours Description

                                              tracker to reflect outstanding steps re: registered agent
                                              and change of directors (.60); review corporate
                                              records from non-debtor Antigua entities and
                                              reflecting updates in tracker (.70); call with S. Mishkin
                                              re: BVI resolutions relating to director change and
                                              registered agents (.10).
03/28/2023 Emma Downing                 0.30 Call with K. Mayberry re: coordinating insurance
                                             binder workstream.
03/28/2023 Keila Mayberry               0.30 Call with E. Downing re: coordinating insurance binder
                                             workstream.
03/28/2023 Ting Ruan                    1.60 Update legal entity tracker re: changes in FTX BVI
                                             entities (.20); prepare FTX HK entities KYC
                                             materials (.10); revise organizational chart for
                                             Cottonwood Grove Ltd. (.50); draft simplified org
                                             chart for FTX entity (.80).
03/28/2023 Scott Kim                    0.20 Double-check registered agent and franchise tax
                                             information for Clifton Bay Investments LLC and
                                             Alameda Research Holdings Inc in Delaware.
03/29/2023 Nicholas Menillo             1.20 Review letter from counsel for insurer and emails with
                                             S&C team re: same (.40); email correspondence with
                                             S&C team re: requests from counsel for individuals
                                             (.20); email to counsel for individuals re: insurance
                                             matters (.20); email correspondence to insurer re:
                                             notice of claim (.20); email to relevant counsel re:
                                             request to share documents with insurer (.20).
03/29/2023 James Simpson                0.30 Email correspondence with internal S&C team and
                                             A&M re: corporate governance and approvals.
03/29/2023 Marie-Ève Plamondon          1.00 Draft an email to N. Menillo re: response letter to
                                             insurer (.20); send response letter and attachments
                                             thereto to insurers (.20); review correspondence from
                                             insurer (.30); respond to insurer's counsel request for
                                             attachments (.30).
03/29/2023 Ting Ruan                    0.30 Revise organizational chart for Cottonwood Grove
                                             Ltd. and FTX entity.
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                 Project: 00017 - CORPORATE GOVERNANCE AND BOARD MATTERS

Date         Name                             Hours Description
03/30/2023 Evan Simpson                         0.70 Meeting with S. Mishkin, J. Simpson, and O. de Vito
                                                     Piscicelli re: workstream status.
03/30/2023 Oderisio de Vito Piscicelli          0.70 Meeting with E. Simpson, S. Mishkin and J. Simpson
                                                     re: workstream statuses.
03/30/2023 James Simpson                        1.10 Meeting with O. de Vito Piscicelli, S. Mishkin and E.
                                                     Simpson re: workstream status (.70); correspondence
                                                     with A&M re: governance of Gibraltar entity (.40).
03/30/2023 Sarah Mishkin                        1.00 Meeting with E. Simpson, J. Simpson and O. de Vito
                                                     Piscicelli re: workstream statuses (.70); review of BVI
                                                     appointments (.30)
03/30/2023 Ting Ruan                            2.40 Update legal entity tracker re: changes in FTX HK
                                                     entities (.10); revise resolutions for non-US entity re:
                                                     authorization of de minimis sale transactions and
                                                     coordinate BVI counsel review (1.2); prepare
                                                     resolutions for additional entities re: authorization of de
                                                     minimis sale transactions (1.1).
03/31/2023 Nicholas Menillo                     0.10 Email correspondence re: article re: lift stay motion.
03/31/2023 Ting Ruan                            0.30 Check list of entities organized in Antigua re:
                                                     corporation tax filing extension.

Total                                         153.50
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                          Project: 00018 - EMPLOYEE BENEFITS AND PENSIONS

Date        Name                            Hours Description

03/01/2023 Julia Paranyuk                    0.50 Correspondence with J. Bander re: employment
                                                  matters and KERP (.20); correspondence with A&M
                                                  team re: employment matters and officers (.20);
                                                  correspondence with S&C team re: officers (.10).
03/02/2023 Alexa Kranzley                    0.10 Follow up correspondence with S&C team re: KERP
                                                  motion.
03/02/2023 Julia Paranyuk                    0.20 Correspondence with J. Bander re: officers and
                                                  employee matters (.10); correspondence with A&M
                                                  team re: same (.10).
03/03/2023 Brian Glueckstein                 2.40 Review and revise KERP motion and supporting
                                                  documents (2.2); correspondence with S&C team re:
                                                  same (.20).
03/03/2023 James Bromley                     0.80 Review KERP materials (.60); correspondence with
                                                  A. Kranzley and E. Mosley re: same (.20).
03/03/2023 Jeannette Bander                  0.70 Revise J. Paranyuk draft approach to KERP
                                                  declarations (.30); revise KERP declarations (.40).
03/03/2023 Alexa Kranzley                    0.60 Correspondence with S&C team re: KERP motion
                                                  and related issues (.20); correspondence with J. Ray
                                                  (FTX) and A&M team re: same (.20);
                                                  correspondence with Paul Hastings team re: same
                                                  (.20).
03/03/2023 Julie Kapoor                      0.10 Call with J. Paranyuk re: officers/directors and
                                                  employee titles questions.
03/03/2023 Julia Paranyuk                    3.70 Correspondence with A&M team re: KERP
                                                  declarations and other wages matters (.40);
                                                  correspondence with S&C team re: same (.20);
                                                  correspondence with J. Bander re: KERP and
                                                  declarations (.20); call with H. Trent (A&M) re:
                                                  KERP (.20); call with H. Trent (A&M) re: list of
                                                  terminated employees (.10); call with J. Petiford re:
                                                  officers/directors and employee titles questions (.10);
                                                  update and revise KERP motion (.90); update and
                                                  revise Cumberland declaration (.90); update and
                                                  revise Mosley declaration (.40); research re:
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                           Project: 00018 - EMPLOYEE BENEFITS AND PENSIONS

Date        Name                             Hours Description

                                                    Cumberland declaration (.30).
03/04/2023 Julia Paranyuk                     0.30 Correspondence with A&M team re: severance
                                                   questions (.20); correspondence with S&C team re:
                                                   employee issues (.10).
03/06/2023 Jeannette Bander                   0.50 Analyze A&M updates to KERP declarations (.40);
                                                   analyze approach for KERP deck (.10).
03/06/2023 Alexa Kranzley                     0.20 Correspondence with S&C team re: KERP motion
                                                   and related issues.
03/06/2023 Julia Paranyuk                     2.70 Correspondence with J. Bander re: KERP and
                                                   employee matters (.20); correspondence with A&M
                                                   team re: KERP (.20); correspondence with S&C
                                                   team re: KERP (.10); call with C. Arnett (A&M) re:
                                                   KERP declarations and KERP motion (.20); update
                                                   and revise KERP motion (1.5); update and revise
                                                   KERP declarations (.50).
03/06/2023 Nicole Miller                      1.40 Incorporate J. Paranyuk comments into employee
                                                   benefits motion.
03/07/2023 Brian Glueckstein                  0.70 Review and comment on draft KERP declarations.
03/07/2023 Jeannette Bander                   0.40 Analyze question from J. Paranyuk re: KERP
                                                   declarations (.10); analyze Paul Hastings KERP
                                                   motion comments (.30).
03/07/2023 Alexa Kranzley                     0.10 Follow up correspondence with S&C team re: KERP
                                                   motion and related issues.
03/07/2023 Julia Paranyuk                     2.30 Correspondence with J. Bander re: KERP (.20);
                                                   correspondence with A&M team re: KERP (.30);
                                                   correspondence with S&C team re: KERP (.10);
                                                   update and revise KERP motion (.70); update and
                                                   revise KERP declarations (.50); review employee
                                                   agreement (.30); review list of current vs. former
                                                   employees (.20).
03/07/2023 Nicole Miller                      2.40 Revise KERP motion (.60); revise Cumberland
                                                   declaration (.80); revise Mosley declaration (1.0).
03/08/2023 James Bromley                      0.50 Review KERP materials (.20); review employee
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                           Project: 00018 - EMPLOYEE BENEFITS AND PENSIONS

Date        Name                             Hours Description

                                                    benefit motion materials (.30).
03/08/2023 Jeannette Bander                   1.00 Analyze KERP declaration comments from Paul
                                                   Hastings team (.10); consider 1099 question from J.
                                                   Paranyuk (.10); analyze A&M updates to KERP
                                                   (.40); revise KERP motion (.30); revise KERP
                                                   declaration (.10).
03/08/2023 Alexa Kranzley                     1.10 Review and revise KERP motion (.60);
                                                   correspondence with S&C team re: same (.40);
                                                   coordinate and prepare final versions for filing and
                                                   service (.10).
03/08/2023 Julia Paranyuk                     2.60 Correspondence with J. Bander re: employee matters
                                                   (.20); correspondence with A&M team re: employee
                                                   matters (.20); correspondence with S&C team re:
                                                   KERP (.10); call with H. Trent (A&M) re: KERP
                                                   (.20); call with C. Arnett (A&M) re: KERP (.30);
                                                   update and revise draft of KERP motion (1.1); update
                                                   and revise draft of declarations for KERP motion
                                                   (.50).
03/08/2023 Nicole Miller                      3.10 Revise KERP motion (1.1); revise Mosley declaration
                                                   (1.0); revise Cumberland declaration (1.0).
03/09/2023 Nicole Friedlander                 1.20 Review documents re: employee termination (.50);
                                                   correspondence with M. Bennett re: same (.20);
                                                   correspondence with S. Wheeler re: same (.20);
                                                   correspondence to J. Ray (FTX) re: same (.30).
03/09/2023 Jeannette Bander                   0.20 Analyze employee bonus question.
03/09/2023 Alexa Kranzley                     0.20 Correspondence with A&M and S&C teams re: UST
                                                   requests for backup information.
03/09/2023 Julia Paranyuk                     1.00 Correspondence with J. Bander re: KERP and
                                                   employee matters (.20); correspondence with A&M
                                                   team re: KERP (.10); correspondence with S&C
                                                   team re: KERP (.10); call with H. Trent (A&M) re:
                                                   KERP (.20); call with H. Trent (A&M) re: KERP
                                                   declarations (.10); update and revise employee
                                                   benefits motion (.30).
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                           Project: 00018 - EMPLOYEE BENEFITS AND PENSIONS

Date        Name                             Hours Description
03/10/2023 Julia Paranyuk                     0.50 Correspondence with J. Bander re: employment
                                                   contracts (.10); correspondence with A&M team re:
                                                   employment contracts (.10); review employment
                                                   contracts (.30).
03/11/2023 Julia Paranyuk                     0.10 Correspondence with A&M team re: employee
                                                   matters.
03/13/2023 Jeannette Bander                   0.10 Analyze 401(k) question from K. Schultea (RLKS).
03/13/2023 Alexa Kranzley                     0.10 Follow up correspondence with UST team re: KERP
                                                   order.
03/13/2023 Julia Paranyuk                     0.90 Correspondence with J. Bander re: employee matters
                                                   (.20); correspondence with A&M team re: same
                                                   (.20); review employment contracts (.50).
03/14/2023 Jeannette Bander                   0.10 Analyze A&M updates to response to UST KERP
                                                   request.
03/14/2023 Alexa Kranzley                     0.30 Correspondence with S&C team re: KERP and
                                                   related issues.
03/14/2023 Julia Paranyuk                     0.90 Correspondence with J. Bander re: employee issues
                                                   and KERP (.10); correspondence with A&M team re:
                                                   benefits and employment matters (.10);
                                                   correspondence with S&C team re: employment
                                                   matters (.10); review employee withdrawals (.30);
                                                   review KERP summary (.30).
03/14/2023 Nicole Miller                      0.90 Review employee benefit agreements and provide
                                                   summary to J. Paranyuk.
03/15/2023 Jeannette Bander                   0.30 Analyze approach to retention arrangements.
03/15/2023 Julia Paranyuk                     0.80 Correspondence with J. Bander re: employment
                                                   matters (.20); correspondence with S&C team re:
                                                   same (.60).
03/15/2023 Nicole Miller                      0.40 Correspondence to J. Paranyuk re: employee benefit
                                                   agreements.
03/16/2023 Jeannette Bander                   0.50 Analyze response from J. Paranyuk to question from
                                                   A. Kranzley re: contract rejection (.20); draft
                                                   correspondence to S&C team re: questions in
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                           Project: 00018 - EMPLOYEE BENEFITS AND PENSIONS

Date        Name                             Hours Description

                                                    employee benefits timeline (.30).
03/16/2023 Julia Paranyuk                     0.80 Correspondence with J. Bander re: employee benefits
                                                   and data (.20); correspondence with A&M team re:
                                                   employee benefits motion data (.30); correspondence
                                                   with S&C team re: employee benefits and data (.10);
                                                   review employee benefits terms (.20).
03/17/2023 Jeannette Bander                   0.90 Call with J. Paranyuk re: employee benefit motion
                                                   (.50); analyze employee benefit motion approach
                                                   (.30); review employee benefit motion terms (.10).
03/17/2023 Julia Paranyuk                     4.80 Correspondence with J. Bander and N. Miller re:
                                                   employee benefits motion (.30); correspondence with
                                                   A&M team re: employee benefits (.10);
                                                   correspondence with S&C team re: employee benefits
                                                   (.10); call with J. Bander re: employee benefit motion
                                                   (.50); call with H. Trent (A&M) re: employee benefits
                                                   (.30); update and revise employee benefits motion
                                                   (3.2); research re: same (.30).
03/18/2023 Jeannette Bander                   2.10 Review employee benefits motion.
03/18/2023 Michele Materni                    0.40 Correspondence with S&C team re: employment
                                                   agreements.
03/18/2023 Julia Paranyuk                     0.50 Correspondence with J. Bander and N. Miller re:
                                                   employee benefits (.20); update and revise employee
                                                   benefits motion (.30),
03/18/2023 Nicole Miller                      1.10 Draft Mosley declaration re: employee benefits motion
                                                   (.50); draft Cumberland declaration re: employee
                                                   benefits motion (.60).
03/19/2023 Jeannette Bander                   0.70 Update employee benefits motion (.40); draft
                                                   response to J. Paranyuk re: issues in employee
                                                   benefits motion (.10); analyze approach to
                                                   declarations for employee benefits motion (.20).
03/19/2023 Julia Paranyuk                     2.30 Correspondence with J. Bander re: employee benefits
                                                   (.10); draft and revise employee benefits motion (2.2).
03/19/2023 Nicole Miller                      2.80 Draft Cumberland declaration re: employee benefits
                                                   motion (1.2); draft Mosley declaration re: employee
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                           Project: 00018 - EMPLOYEE BENEFITS AND PENSIONS

Date        Name                             Hours Description

                                                    benefits motion (1.6).
03/20/2023 Julia Paranyuk                     0.20 Correspondence with J. Bander re: KERP (.10);
                                                   correspondence with A&M team re: KERP (.10).
03/21/2023 Brian Glueckstein                  0.20 Respond to UST comments re: KERP motion.
03/21/2023 Jeannette Bander                   0.20 Draft response to A. Kranzley question re: employee
                                                   benefits motion (.10); analyze declaration approach
                                                   for employee benefits motion (.10).
03/21/2023 Alexa Kranzley                     0.30 Correspondence with UST and S&C teams re: KERP
                                                   motion.
03/21/2023 Nicole Miller                      0.60 Revise Mosley declaration re: employee benefits
                                                   motion (.30); revise Cumberland declaration re:
                                                   employee benefits motion (.30).
03/22/2023 Jeannette Bander                   1.00 Analyze data re: employee benefits from H. Trent
                                                   (A&M) (.20); analyze UST comments to KERP
                                                   (.50); draft correspondence to A. Kranzley re: KERP
                                                   (.10); revise draft KERP order (.10); call with J.
                                                   Paranyuk re: KERP supplemental declaration (.10).
03/22/2023 Alexa Kranzley                     0.50 Review UST comments to KERP order and related
                                                   issues (.30); correspondence with S&C team and
                                                   A&M re: same (.20).
03/22/2023 Julia Paranyuk                     2.70 Correspondence with J. Bander re: KERP (.20);
                                                   correspondence with A&M team re: KERP (.30); call
                                                   with H. Trent (A&M) re: KERP (.10);
                                                   correspondence with S&C team re: KERP (.10); call
                                                   with J. Bander re: KERP supplemental declaration
                                                   (.10); update KERP supplemental declaration (1.3);
                                                   update KERP order (.60).
03/22/2023 Nicole Miller                      1.20 Revise Mosley declaration re: employee benefits
                                                   motion (.60); revise Cumberland declaration re:
                                                   employee benefits motion (.60).
03/22/2023 Luke Ross                          1.80 Review employment rosters.
03/23/2023 Jeannette Bander                   1.30 Revise supplemental KERP declaration (.40); draft
                                                   response to J. Paranyuk re: questions re: KERP
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                           Project: 00018 - EMPLOYEE BENEFITS AND PENSIONS

Date        Name                             Hours Description

                                                    declaration (.10); review employee benefits terms
                                                    deck (.60); revise KERP declaration per J. Ray
                                                    (FTX) (.20).
03/23/2023 Alexa Kranzley                     1.20 Correspondence with S&C and A&M teams re: UST
                                                   changes to KERP order and declarations (.70);
                                                   review drafts of revised KERP order and
                                                   supplemental declaration re: same (.50).
03/23/2023 Julia Paranyuk                     1.50 Correspondence with J. Bander re: KERP (.20);
                                                   correspondence with A&M team re: KERP (.20);
                                                   correspondence with S&C team re: KERP (.20);
                                                   review UST comments (.20); update and revise
                                                   KERP order based on UST comments (.40); update
                                                   KERP declarations (.30).
03/23/2023 Nicole Miller                      1.50 Revise Mosley declaration re: employee benefits
                                                   motion (.70); revise Cumberland declaration re:
                                                   employee benefits motion (.80).
03/24/2023 Brian Glueckstein                  1.90 Respond to UST questions re: KERP motion and
                                                   related issues (.60); correspondence with S&C team
                                                   re: KERP order and motion issues (.90);
                                                   correspondence with A. Kranzley re: KERP motion
                                                   support (.40).
03/24/2023 Jeannette Bander                   0.50 Call with J. Paranyuk re: KERP motion research
                                                   (.10); analyze approach to KERP order (.40).
03/24/2023 Alexa Kranzley                     3.50 Review and revise KERP order (.90); revise KERP
                                                   supplemental declaration (.40); correspondence with
                                                   J. Ray (FTX) and A&M team re: same (.70);
                                                   correspondence with S&C team re: same (.60); calls
                                                   with A&M and UST teams re: same (.90).
03/24/2023 Julia Paranyuk                     0.40 Research re: KERP motion (.30); call with J. Bander
                                                   re: KERP motion research (.10).
03/27/2023 Jeannette Bander                   0.40 Analyze A&M updates to employee benefits motion
                                                   (.30); draft question to A. Kranzley re: compensation
                                                   question (.10).
03/27/2023 Alexa Kranzley                     0.20 Coordinate for filing of KERP materials.
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                           Project: 00018 - EMPLOYEE BENEFITS AND PENSIONS

Date        Name                             Hours Description
03/27/2023 Julia Paranyuk                     0.70 Correspondence with J. Bander re: KERP (.10);
                                                   correspondence with A&M team re: employee
                                                   benefits (.10); update and revise employee benefits
                                                   motion declarations (.50).
03/28/2023 Julia Paranyuk                     0.90 Correspondence with J. Bander re: employee benefits
                                                   (.10); update and revise employee benefits motion
                                                   (.80).
03/28/2023 Nicole Miller                      3.50 Draft Mosley declaration re: employee benefits
                                                   motion.
03/29/2023 Jeannette Bander                   0.70 Call with J. Paranyuk re: employee benefits motion
                                                   (.10); revise employee benefits motion (.60).
03/29/2023 Julia Paranyuk                     2.90 Correspondence with J. Bander re: employee benefits
                                                   (.20); correspondence with A&M team re: employee
                                                   benefits (.20); correspondence with S&C team re:
                                                   employee benefits (.10); call with J. Bander re:
                                                   employee benefits motion (.10); update and revise
                                                   employee benefits motion (2.3).
03/30/2023 Julia Paranyuk                     0.20 Correspondence with J. Bander and S&C team re:
                                                   employee issues (.10); correspondence with A&M
                                                   team re: same (.10).

Total                                        83.30
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                   Project: 00019 - EMPLOYMENT AND FEE APPLICATIONS (S&C)

Date        Name                         Hours Description

03/01/2023 Alexa Kranzley                 1.00 Review fee examiner order and related issues (.40);
                                               correspondences with S&C team re: interim fee
                                               application and related issues (.40); correspondence
                                               with Landis team re: fee examiner and related issues
                                               (.20).
03/01/2023 Christian Jensen               0.30 Correspondence with S&C team re: confidentiality
                                               review of January time entries.
03/01/2023 Mark Bennett                   0.40 Confidentiality review of January time entries (.30);
                                               correspondence with S. Zhong re: same (.10).
03/01/2023 Julie Kapoor                   0.20 Revise form of interim fee application.
03/01/2023 Alexander Holland              0.10 Confidentiality review of January time entries.
03/01/2023 Harrison Schlossberg           1.00 Work on January fee statement per A. Kranzley.
03/02/2023 Alexa Kranzley                 2.90 Confidentiality review of January time entries (2.3);
                                               correspondence with S&C team re: same (.60).
03/02/2023 Christian Jensen               0.30 Correspondence with S&C team re: confidentiality
                                               review of January time entries.
03/02/2023 Mark Bennett                   1.60 Confidentiality review of January time entries.
03/02/2023 Julie Kapoor                   0.70 Revise S&C January fee statement.
03/02/2023 Alexander Holland              0.10 Confidentiality review of January time entries.
03/02/2023 Harrison Schlossberg           0.40 Revise S&C January fee statement per A. Kranzley.
03/03/2023 Alexa Kranzley                 0.30 Correspondence with S&C team re: January fee
                                               statement.
03/03/2023 Christian Jensen               0.90 Correspondence with S&C team re: confidentiality
                                               review of January time entries.
03/03/2023 Mark Bennett                   0.30 Confidentiality review of January time entries (.20);
                                               correspondence with S. Zhong re: same (.10).
03/03/2023 Julie Kapoor                   0.10 Revise form of interim fee application.
03/03/2023 Sarah Mishkin                  0.30 Confidentiality review of January time entries.
03/03/2023 Alexander Holland              0.60 Confidentiality review of January time entries.
03/03/2023 Harrison Schlossberg           0.20 Revise form of interim fee application per J. Petiford.
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                   Project: 00019 - EMPLOYMENT AND FEE APPLICATIONS (S&C)

Date        Name                         Hours Description
03/04/2023 Alexa Kranzley                 0.60 Work on January fee statement (.30); correspondence
                                               with S&C team re: same (.30).
03/04/2023 Samantha Rosenthal             0.10 Correspondence with S. Chen re: confidentiality
                                               review of January time entries.
03/05/2023 Alexa Kranzley                 0.50 Work on January fee statement and related issues
                                               (.30); correspondence with S&C team re: same (.20).
03/06/2023 Alexa Kranzley                 2.10 Call with J. Petiford re: January fee statement (.20);
                                               correspondence with S&C team re: January fee
                                               statement (.40); review, revise and finalize same (.50);
                                               correspondence with S&C team re: same (.60);
                                               coordinate for filing and service of the same (.40).
03/06/2023 Julie Kapoor                   0.70 Call with A. Kranzley re: January fee statement (.20);
                                               finalize January fee statement for filing (.50).
03/06/2023 Harrison Schlossberg           1.10 Revise January fee statement per A. Kranzley.
03/07/2023 Alexa Kranzley                 0.20 Correspondence with Landis team re: fee examiner
                                               and related issues.
03/07/2023 Grier Barnes                   0.30 Update professional fee tracker for S&C fee
                                               application.
03/08/2023 Alexa Kranzley                 0.20 Follow up correspondence with Landis team re: fee
                                               examiner order changes and related issues.
03/08/2023 Julie Kapoor                   0.10 Review and comment on first interim fee application.
03/08/2023 Harrison Schlossberg           1.70 Work on S&C first interim fee application for A.
                                               Kranzley.
03/09/2023 Mark Bennett                   0.20 Correspondence with H. Schlossberg re: time entry
                                               confidentiality review.
03/09/2023 Julie Kapoor                   0.90 Review and revise first interim fee application.
03/09/2023 Sophia Chen                    1.70 Update S&C first interim fee application per A.
                                               Kranzley.
03/09/2023 Harrison Schlossberg           1.60 Work on S&C first interim fee application for A.
                                               Kranzley.
03/10/2023 Mark Bennett                   0.70 Confidentiality review of February time entries.
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                   Project: 00019 - EMPLOYMENT AND FEE APPLICATIONS (S&C)

Date        Name                         Hours Description
03/10/2023 Sophia Chen                    0.50 Draft correspondence to S&C team re: confidentiality
                                               review of February time entries.
03/11/2023 Julie Kapoor                   1.00 Confidentiality review of February time entries.
03/12/2023 Julie Kapoor                   0.20 Confidentiality review of February time entries.
03/13/2023 Alexa Kranzley                 0.10 Coordinate with S&C team re: interim fee application.
03/13/2023 Julie Kapoor                   1.20 Confidentiality review of February time entries.
03/13/2023 Mitchell Friedman              2.20 Confidentiality review of February time entries.
03/14/2023 Mark Bennett                   2.60 Confidentiality review of February time entries.
03/14/2023 Julie Kapoor                   0.20 Review and revise interim fee application.
03/14/2023 Mitchell Friedman              2.40 Confidentiality review of February time entries.
03/14/2023 Sarah Mishkin                  0.70 Confidentiality review of February time entries.
03/14/2023 Sophia Chen                    0.70 Update first S&C interim fee application per A.
                                               Kranzley.
03/14/2023 Harrison Schlossberg           1.80 Revise S&C first interim fee application per J.
                                               Petiford.
03/15/2023 Mark Bennett                   2.50 Confidentiality review of February time entries (2.3);
                                               correspondence with S&C team re: same (.20).
03/15/2023 Julie Kapoor                   0.50 Review and revise interim fee application.
03/15/2023 Fabio Weinberg Crocco          1.00 Confidentiality review of February time entries.
03/15/2023 Sophia Chen                    0.30 Review first S&C first interim fee application per J.
                                               Petiford.
03/15/2023 Harrison Schlossberg           2.70 Revise S&C first interim fee application per J.
                                               Petiford.
03/16/2023 Alexa Kranzley                 1.00 Review and revise S&C interim fee application and
                                               correspondence with S&C team re: same.
03/16/2023 Mark Bennett                   1.30 Confidentiality review of February time entries (1.0);
                                               correspondence with S&C team re: same (.10);
                                               review correspondence from S. Ehrenberg and A.
                                               Kranzley re: same (.20).
03/16/2023 Fabio Weinberg Crocco          1.60 Confidentiality review of February time entries.
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                   Project: 00019 - EMPLOYMENT AND FEE APPLICATIONS (S&C)

Date        Name                         Hours Description
03/16/2023 Alexander Holland              0.10 Confidentiality review of February time entries.
03/16/2023 Sophia Chen                    0.50 Correspondence to S&C team re: confidentiality
                                               review of February time entries (.40); correspondence
                                               with H. Schlossberg re: S&C interim fee application
                                               (.10).
03/16/2023 Harrison Schlossberg           3.90 Revise S&C interim fee application per J. Petiford.
03/17/2023 Brian Glueckstein              0.20 Review and advise on S&C interim fee application
                                               issues.
03/17/2023 Alexa Kranzley                 1.60 Review and revise S&C interim application (.80);
                                               correspondence with J. Ray (FTX) and S&C team re:
                                               same (.60); finalize and coordinate filing and service of
                                               same (.20).
03/17/2023 Mark Bennett                   0.40 Correspondence with S&C team re: confidentiality
                                               review of February time entries.
03/17/2023 Julie Kapoor                   2.10 Confidentiality review of February time entries.
03/17/2023 Fabio Weinberg Crocco          2.00 Confidentiality review of February time entries.
03/17/2023 Harrison Schlossberg           1.80 Revise S&C interim fee application per A. Kranzley.
03/18/2023 Julie Kapoor                   0.20 Confidentiality review of February time entries.
03/18/2023 Mitchell Friedman              0.60 Confidentiality review of February time entries.
03/19/2023 Mitchell Friedman              1.60 Confidentiality review of February time entries.
03/20/2023 Alexa Kranzley                 0.20 Correspondence with S&C team re: February fee
                                               statement.
03/20/2023 Mark Bennett                   2.90 Confidentiality review of February time entries (2.6);
                                               correspondence with U. Eze, E. Downing and S&C
                                               team re: same (.30).
03/20/2023 Fabio Weinberg Crocco          1.00 Confidentiality review of February time entries.
03/20/2023 Sarah Mishkin                  0.60 Confidentiality review of February time entries.
03/20/2023 Alexander Holland              2.50 Confidentiality review of February time entries.
03/21/2023 Alexa Kranzley                 0.10 Correspondences with S&C team re: status of
                                               February fee statement.
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                   Project: 00019 - EMPLOYMENT AND FEE APPLICATIONS (S&C)

Date        Name                         Hours Description
03/21/2023 Fabio Weinberg Crocco          1.80 Confidentiality review of February time entries.
03/21/2023 Alexander Holland              0.10 Confidentiality review of February time entries.
03/22/2023 Mark Bennett                   0.10 Correspondence with S. Zhong and H. Schlossberg
                                               re: confidentiality review of February time entries.
03/22/2023 Fabio Weinberg Crocco          1.20 Confidentiality review of February time entries.
03/23/2023 Alexander Holland              0.10 Confidentiality review of February time entries.
03/23/2023 Samantha Rosenthal             0.50 Correspondence with A. Holland and S. Chen re:
                                               confidentiality review of February time entries (.20);
                                               correspondence with N. Friedlander, A. Lewis and A.
                                               Holland re: same (.20); correspondence with S. Chen
                                               re: same (.10).
03/23/2023 Harrison Schlossberg           1.00 Work on S&C February fee statement per A.
                                               Kranzley.
03/24/2023 Alexa Kranzley                 0.30 Confidentiality review of February time entries.
03/27/2023 Alexa Kranzley                 0.70 Confidentiality review of February time entries.
03/27/2023 Alexander Holland              0.10 Confidentiality review of February time entries.
03/28/2023 Alexa Kranzley                 2.50 Confidentiality review of February time entries (1.8);
                                               correspondence with S&C team re: same (.70).
03/28/2023 Mark Bennett                   4.80 Confidentiality review of February time entries (4.5);
                                               correspondence with S&C team re: same (.30).
03/28/2023 Alexander Holland              0.60 Confidentiality review of February time entries.
03/28/2023 Samantha Rosenthal             0.40 Review A. Kranzley comments on February bill (.20);
                                               correspondence with M. Bennett and A. Holland re:
                                               confidentiality review of February time entries (.20).
03/29/2023 Alexa Kranzley                 0.20 Correspondence with S&C team re: February fee
                                               statement.
03/29/2023 Mark Bennett                   0.40 Correspondence with S&C team re: confidentiality
                                               review of February time entries.
03/29/2023 Fabio Weinberg Crocco          0.80 Confidentiality review of February time entries.
03/29/2023 Sarah Mishkin                  1.40 Confidentiality review of February time entries.
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                   Project: 00019 - EMPLOYMENT AND FEE APPLICATIONS (S&C)

Date        Name                         Hours Description
03/29/2023 Alexander Holland              0.30 Confidentiality review of February time entries.
03/30/2023 Mark Bennett                   0.10 Correspondence with S&C team re: confidentiality
                                               review of February time entries.
03/30/2023 Julie Kapoor                   0.30 Confidentiality review of February time entries.
03/30/2023 Alexander Holland              0.20 Confidentiality review of February time entries.
03/30/2023 Sophia Chen                    0.70 Correspondence with S&C team re: confidentiality
                                               review of February time entries.
03/31/2023 Samantha Rosenthal             0.60 Confidentiality review of February time entries (.40);
                                               correspondence with B. Grant re: same (.20).

Total                                    90.40
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                Project: 00020 - EMPLOYMENT AND FEE APPLICATIONS (OTHERS)

Date        Name                       Hours Description

03/01/2023 Alexa Kranzley               0.20 Correspondence with S&C team re: OCP issues.
03/01/2023 Julie Kapoor                 2.40 Work on OCP issues (2.0); call with K. Brown
                                             (Landis) and M. Pierce (Landis) re: same (.40).
03/01/2023 Robert Schutt                0.40 Review and revise Owl Hill compensation and staffing
                                             reports.
03/02/2023 James Bromley                0.30 Call with A. Kranzley, J. Petiford and Maynard team
                                             re: OCP retention.
03/02/2023 Alexa Kranzley               1.20 Call with J. Petiford re: OCPs and related issues (.30);
                                             call with J. Bromley, J. Petiford and Maynard team re:
                                             OCP retention (.30); follow up correspondence with
                                             J. Petiford re: same (.10); review and work on OCP
                                             issues (.50).
03/02/2023 William Wagener              4.50 Privilege and confidentiality review of Alix time entries.
03/02/2023 James Simpson                0.20 Call with J. Petiford re: OCP issues (.10); review list
                                             of professionals (.10).
03/02/2023 Julie Kapoor                 3.30 Work on OCP issues (.70); calls with E. Taraba
                                             (A&M) re: same (.50); call with K. Brown (Landis)
                                             and M. Pierce (Landis) re: same (.40); follow up
                                             correspondence with S&C team re: same (.30);
                                             review and revise OCP quarterly report (.20); follow
                                             up re: same (.30); prepare for call with Maynard team
                                             re: OCP declaration (.10); call with J. Bromley, A.
                                             Kranzley and Maynard team re: OCP retention (.30);
                                             follow up correspondence with A. Kranzley re: same
                                             (.10); call with J. Simpson re: OCP issues (.10); call
                                             with A. Kranzley re: OCPs and related issues (.30).
03/02/2023 Robert Schutt                2.40 Review and revise Owl Hill compensation and staffing
                                             reports (1.0); review and prepare responses to UST
                                             questions re: Owl Hill compensation and staffing
                                             reports (.70); review and prepare responses to UST
                                             questions re: RLKS compensation and staffing reports
                                             (.70).
03/02/2023 Sophia Chen                  0.90 Draft first quarterly OCP statement per J. Petiford.
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                 Project: 00020 - EMPLOYMENT AND FEE APPLICATIONS (OTHERS)

Date        Name                        Hours Description
03/03/2023 Stephanie Wheeler              0.30 Correspondence with R. Perubhatla (RLKS), S.
                                               Ehrenberg and Z. Flegenheimer re: retention of
                                               vendor.
03/03/2023 Alexa Kranzley                 1.60 Review OCP issues (.30); correspondence with S&C
                                               team re: same (.30); review A&M January fee
                                               statement (.40); correspondence with A&M re: same
                                               (.20); correspondence with EY team re: fee statement
                                               (.20); correspondence with S&C team re: same (.20).
03/03/2023 Julie Kapoor                   1.20 Revise supplemental OCP declaration from Maynard
                                               (.50); work on OCP issues (.40); call with A.
                                               Devlin-Brown (Covington) re: responses to UST
                                               questions on OCP declaration (.10); call with H.
                                               Schlossberg re: OCP orders research (.20).
03/03/2023 Fabio Weinberg Crocco          0.20 Correspondence with N. Mehta re: OCP process for
                                               FTX Japan.
03/03/2023 Robert Schutt                  4.20 Review and revise Owl Hill compensation and staffing
                                               reports (3.6); revise responses to UST questions re:
                                               Owl Hill compensation and staffing reports (.30);
                                               revise responses to UST questions re: RLKS
                                               compensation and staffing reports (.30).
03/03/2023 Harrison Schlossberg           1.40 Call with J. Petiford re: OCP orders research (.20);
                                               research re: OCP orders (1.2).
03/04/2023 Alexa Kranzley                 0.10 Correspondence with debtor professionals re: interim
                                               fee application.
03/04/2023 Christian Jensen               2.60 Confidentiality review of EY time entries (2.2);
                                               correspondence with EY team and D. Hariton re:
                                               same (.40).
03/05/2023 Alexa Kranzley                 0.10 Correspondence with debtor professionals re: January
                                               fee statements.
03/05/2023 Julie Kapoor                   0.50 Draft and revise supplemental Covington declaration
                                               (.30); work on related OCP issues (.20).
03/06/2023 Stephanie Wheeler              0.20 Review letter re: reimbursement of fees.
03/06/2023 Alexa Kranzley                 2.40 Call with J. Petiford, A. Landis (Landis), K. Brown
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                 Project: 00020 - EMPLOYMENT AND FEE APPLICATIONS (OTHERS)

Date         Name                       Hours Description

                                               (Landis) and M. Pierce (Landis) re: OCP issues (.50);
                                               review and revise A&M January fee statement (.40);
                                               correspondence with A&M team re: same (.40); work
                                               on OCP issues (.70).
03/06/2023 Julie Kapoor                  0.80 Call with A. Kranzley, A. Landis (Landis), K. Brown
                                              (Landis) and M. Pierce (Landis) re: OCP issues (.50);
                                              follow up correspondence with A. Kranzley re: same
                                              (.20); call with M. Taber (Harneys) re: OCP issue
                                              (.10).
03/06/2023 Jessica Ljustina              0.10 Correspondence with M. Friedman re: PWP time
                                              entries.
03/06/2023 Robert Schutt                 1.00 Review and revise Owl Hill compensation and staffing
                                              reports (.50); review and prepare responses to UST
                                              questions re: Owl Hill compensation and staffing
                                              reports (.50).
03/07/2023 Alexa Kranzley                0.30 Correspondence with S&C team re: OCP and related
                                              issues.
03/07/2023 Julie Kapoor                  0.60 Work on OCP issues (.50); meeting with G. Barnes
                                              re: supplemental declaration for OCPs prohibited from
                                              filing disclosures under foreign law (.10).
03/07/2023 Grier Barnes                  1.30 Revise professional fee tracker with up-to-date
                                              monthly fee applications (.20); meeting with J. Petiford
                                              re: supplemental declaration for OCPs prohibited from
                                              filing disclosures under foreign law (.10); prepare
                                              supplemental declaration for OCPs prohibited from
                                              filing certain disclosures under foreign law (1.0).
03/08/2023 Stephanie Wheeler             0.20 Review motion to seal Covington declaration.
03/08/2023 Alexa Kranzley                0.20 Correspondence with debtor professionals re: interim
                                              fee applications.
03/08/2023 Christian Jensen              1.30 Confidentiality review of EY fee statement (.90);
                                              correspondence with S&C and EY teams re: same
                                              (.40).
03/08/2023 Julie Kapoor                  2.10 Call with M. Pierce (Landis) re: motion to seal
                                              Covington supplemental OCP declaration (.10);
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                 Project: 00020 - EMPLOYMENT AND FEE APPLICATIONS (OTHERS)

Date        Name                        Hours Description

                                                review and revise same (1.2); draft supplemental
                                                declaration for OCPs prohibited from making
                                                disclosures under foreign law (.80).
03/08/2023 Robert Schutt                  5.50 Review and revise RLKS compensation and staffing
                                               reports.
03/09/2023 Alexa Kranzley                 0.30 Correspondence with S&C team re: OCP issues.
03/09/2023 Christian Jensen               0.80 Correspondence with S&C and EY teams re: EY fee
                                               statement (.20); review and comment on RLKS
                                               compensation and staffing report (.40);
                                               correspondence with R. Schutt re: same (.20).
03/09/2023 Julie Kapoor                   0.20 Work on OCP issues.
03/09/2023 Robert Schutt                  3.00 Review and revise RLKS staffing and compensation
                                               reports.
03/10/2023 Alexa Kranzley                 0.10 Correspondence with debtor professionals re: interim
                                               fee applications.
03/10/2023 Christian Jensen               0.90 Review and comment on EY fee statement (.40);
                                               revise same for filing (.20); correspondence with EY
                                               and Landis teams re: same (.30).
03/10/2023 Julie Kapoor                   1.30 Review and revise motion to seal Covington
                                               supplemental OCP declaration.
03/10/2023 Robert Schutt                  1.10 Correspondence re: RLKS staffing and compensation
                                               report comments (.20); prepare and submit RLKS
                                               staffing and compensation report for filing (.90).
03/11/2023 Robert Schutt                  0.10 Correspondence with K. Schultea (RLKS) re: filed
                                               RLKS staffing and compensation report.
03/13/2023 Julie Kapoor                   0.70 Call with N. Mehta, F. Weinberg Crocco, S. Xiang,
                                               D. Hisarli, FTX Japan and Quoine personnel re:
                                               professionals retained by foreign debtors (.40);
                                               correspondence with S&C and Landis teams re:
                                               OCPs (.30).
03/13/2023 Fabio Weinberg Crocco          0.40 Call with N. Mehta, J. Petiford, S. Xiang, D. Hisarli,
                                               FTX Japan and Quoine personnel re: professionals
                                               retained by foreign debtors.
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Date        Name                        Hours Description

03/13/2023 M. Devin Hisarli              0.40 Call with N. Mehta, J. Petiford, F. Weinberg Crocco,
                                              S. Xiang, FTX Japan and Quoine personnel re:
                                              professionals retained by foreign debtors.
03/14/2023 Stephanie Wheeler             0.10 Correspondence with A. Kranzley and J. Petiford re:
                                              Covington retention issues.
03/14/2023 Alexa Kranzley                0.80 Work on OCP issues (.30); correspondence with
                                              S&C team re: same (.30); correspondence with
                                              professionals re: interim fee application (.20).
03/14/2023 Nirav Mehta                   0.40 Call with J. Petiford, F. Weinberg Crocco, S. Xiang,
                                              D. Hisarli, FTX Japan and Quoine personnel re:
                                              professionals retained by foreign debtors.
03/14/2023 Shihui Xiang                  0.40 Call with N. Mehta, J. Petiford, F. Weinberg Crocco,
                                              D. Hisarli, FTX Japan and Quoine personnel re:
                                              professionals retained by foreign debtors.
03/14/2023 Julie Kapoor                  0.90 Correspondence to debtor professionals re: interim fee
                                              applications (.20); review CNOs for PWP monthly
                                              fee statements (.10); call with A. Devlin-Brown
                                              (Covington) re: OCP issues (.20); follow up
                                              correspondence with S&C team re: same (.40).
03/14/2023 Robert Schutt                 0.30 Correspondence with K. Schultea (RLKS) re: RLKS
                                              compensation and staffing report revisions.
03/15/2023 Stephanie Wheeler             0.10 Correspondence with J. McDonald and S. Peikin re:
                                              Covington retention issues.
03/15/2023 Julie Kapoor                  0.50 Review PWP interim fee application.
03/16/2023 Alexa Kranzley                0.10 Follow up with debtor advisors re: interim fee
                                              application.
03/16/2023 William Wagener               0.10 Correspondence with A. Kranzley and Alix team re:
                                              draft Alix interim fee application.
03/16/2023 Julie Kapoor                  0.80 Review and comment on Alix interim fee application
                                              (.70); review PWP interim fee application (.10).
03/17/2023 Alexa Kranzley                1.10 Correspondence with S&C team re: OCP and related
                                              issues (.20); correspondence with UST team re: same
                                              (.20); work on interim fee application issues with
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                Project: 00020 - EMPLOYMENT AND FEE APPLICATIONS (OTHERS)

Date        Name                       Hours Description

                                              debtor professionals and related issues (.70).
03/17/2023 Julie Kapoor                 1.80 Coordinate re: debtor professional interim fee
                                             applications (.70); review and comment on PWP
                                             interim fee application (.10); coordinate with FTX
                                             Japan re: OCPs (.10); revise OCP supplemental
                                             declaration (.10); correspondence with S&C team re:
                                             OCP issues (.80).
03/20/2023 Alexa Kranzley               0.30 Work on OCP and related issues.
03/20/2023 Julie Kapoor                 0.30 Correspondence with S&C team re: OCP issues
                                             (.10); correspondence with OCPs re: supplemental
                                             declarations (.20).
03/20/2023 Robert Schutt                0.60 Review and revise RLKS compensation and staffing
                                             report.
03/21/2023 Alexa Kranzley               0.50 Review OCP issues and correspondence with S&C
                                             team re: same.
03/21/2023 Julie Kapoor                 0.60 Work on OCP issues.
03/21/2023 Robert Schutt                0.30 Revise RLKS compensation and staffing report.
03/22/2023 Alexa Kranzley               0.30 Correspondence with debtor professionals re:
                                             February fee statements.
03/22/2023 Julie Kapoor                 0.20 Work on OCP issues.
03/22/2023 Robert Schutt                4.10 Review and revise RLKS compensation and staffing
                                             report.
03/23/2023 Julie Kapoor                 0.90 Work on OCP issues (.70); call with R. Bell
                                             (Walkers) and new OCP re: retention (.20 – partial
                                             attendance).
03/23/2023 Robert Schutt                0.40 Correspondence with K. Schultea (RLKS) re:
                                             compensation and staffing report (.10); revise RLKS
                                             compensation and staffing report (.30).
03/24/2023 Alexa Kranzley               0.50 Call with J. Petiford re: OCPs (.30); review OCP
                                             declarations and related issues (.20).
03/24/2023 Julie Kapoor                 1.40 Call with K. Brown (Landis) and M. Pierce (Landis)
                                             re: OCPs (.40); follow up correspondence re: same
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                Project: 00020 - EMPLOYMENT AND FEE APPLICATIONS (OTHERS)

Date        Name                       Hours Description

                                                (.30); work on OCP issues (.40); call with A.
                                                Kranzley re: OCPs (.30).
03/24/2023 Robert Schutt                 1.90 Revise and finalize RLKS compensation and staffing
                                              report for filing.
03/28/2023 Alexa Kranzley                0.30 Call with J. Petiford re: OCP issues.
03/28/2023 Julie Kapoor                  0.80 Call with A. Kranzley re: OCP issues (.30); follow up
                                              correspondence re: same (.50).
03/29/2023 Mehdi Ansari                  0.30 Correspondence with S&C team re: new OCP.
03/29/2023 Alexa Kranzley                0.20 Call with J. Petiford re: OCP issues (.10); review
                                              related issues (.10).
03/29/2023 Nirav Mehta                   0.70 Correspondence to J. Petiford re FTX Japan (.50);
                                              call with FTX Japan re: OCPs (.20).
03/29/2023 Julie Kapoor                  2.10 Call with M. Pierce (Landis) re: OCP issues (.20);
                                              follow up correspondence re: same (.50); review
                                              OCP supplemental declarations (1.3); call with A.
                                              Kranzley re: OCP issues (.10).
03/30/2023 Stephanie Wheeler             0.30 Correspondence with J. Petiford re: list of debtor
                                              vendors for QE (.20); correspondence with K. Lemire
                                              (QE) re: OCP list (.10).
03/30/2023 Nirav Mehta                   0.20 Correspondence to J. Petiford re: Japan OCPs.
03/30/2023 Julie Kapoor                  0.80 Review OCP supplemental declarations (.60); draft
                                              and revise amended OCP list (.20).
03/31/2023 William Wagener               1.00 Confidentiality review of Alix time entries.
03/31/2023 Julie Kapoor                  1.80 Call with K. Brown (Landis) re: OCPs (.20);
                                              correspondence with OCPs re: OCP process (1.5);
                                              review CNO re: EY fee application (.10).

Total                                   81.50
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                  Project: 00021 - FINANCING, CASH COLLATERAL, MAKE WHOLE

Date        Name                        Hours Description

03/03/2023 Christian Jensen              0.20 Correspondence with J. Cooper (A&M) and
                                              shareholder groups re: monthly cash flow reporting.
03/10/2023 Christian Jensen              0.20 Correspondence with J. Penn (Perkins) re: L/C
                                              reimbursement and collateral account.
03/12/2023 Christian Jensen              0.20 Correspondence with Paul Hastings team re: L/C
                                              reimbursement and collateral account.
03/14/2023 Christian Jensen              0.20 Call with G. Sasson (Paul Hastings) re: L/C and cash
                                              collateral account (.10); correspondence with Paul
                                              Hastings team, bank counsel and M. Cilia (RLKS) re:
                                              same (.10).
03/28/2023 Bradley Harsch                0.10 Review correspondence with relevant third party re:
                                              account balance data (.10).

Total                                    0.90
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Date        Name                          Hours Description

03/01/2023 Stephen Ehrenberg               2.20 Meeting with E. Downing, T. Millet and Selendy Gay
                                                re: meet and confer (.50); prepare for meet and
                                                confer, including review of work product and analysis
                                                of objections and emails (1.0); correspondence to E.
                                                Downing re: same (.50); review correspondence re:
                                                sponsorship litigation (.10); email correspondence to
                                                B. Newton re: same (.10).
03/01/2023 Brian Glueckstein               2.00 Meeting with J. Bromley re: property rights litigation
                                                (.50); correspondence to A. Dietderich re: property
                                                rights litigation and other strategy issues and follow-up
                                                (.80); call with relevant counsel re: motion to dismiss
                                                and related matters (.50); correspondence to J.
                                                Petiford re: litigation issues (.20).
03/01/2023 James Bromley                   1.70 Meeting with B. Glueckstein re: property rights
                                                litigation (.50); review materials on potential experts
                                                (1.0); correspondence re: same with A. Dietderich
                                                and B. Glueckstein (.20);
03/01/2023 Beth Newton                     3.20 Correspondence with opposing counsel re:
                                                sponsorship litigation subpoenas (1.6);
                                                correspondence with E. Shehada re: sponsorship
                                                litigation subpoenas and fees issues (.30); work on
                                                notices to court re: sponsorship litigation subpoenas
                                                (.70); internal correspondence re: sponsorship
                                                litigation subpoenas (.60).
03/01/2023 Andrew Kaufman                  1.40 Review research memo concerning claims issues (1.4).
03/01/2023 Zachary Ingber                  2.90 Prepare notices of Plaintiffs' default (2.7); call with E.
                                                Shehada (.20) related to sponsorship litigation.
03/01/2023 Emma Downing                    3.20 Examine costs with respect to subpoena (.40); call
                                                with vendor re: same (.10); research issue re:
                                                subpoena (1.8); revise draft summary re: same (.20);
                                                meeting with S. Ehrenberg, T. Millet and Selendy Gay
                                                re: meet and confer (.50); call with S. Ehrenberg re:
                                                cost of responding to subpoena (.20).
03/01/2023 Isaac Foote                     6.10 Correspondence to E. Loh and team re: litigation
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                               Project: 00022 - OTHER LITIGATION

Date        Name                          Hours Description

                                                 issues (.30); review email from M. Devlin re: next
                                                 steps in analysis re: same (.20); review order re:
                                                 motion to extend time in ad hoc proceeding and
                                                 association team communications (.20); draft
                                                 memorandum re: same (5.4).
03/01/2023 Esther Loh                      3.10 Review FTX documents re: property rights litigation
                                                (.40); research re: same (2.7).
03/01/2023 Nam Luu                         2.50 Review case law on property and draft case summary
                                                (2.1); correspondence with S&C team re: research
                                                tasks for S&C memo re: property rights litigation
                                                (.40).
03/01/2023 Tatum Millet                    2.90 Meeting with E. Downing, S. Ehrenberg and Selendy
                                                Gay re: meet and confer (.50); correspondence with
                                                S. Ehrenberg and E. Downing to prepare for the meet
                                                and confer (.20); research re: Rule 45 (2.2).
03/01/2023 Emile Shehada                   4.80 Research and draft email memorandum re: litigation
                                                subpoena (1.9); draft notices re: federal motion and
                                                state petition (1.2); call with Z. Ingber to discuss
                                                sponsorship litigation (.20); research issues re: motions
                                                to quash (1.5).
03/02/2023 Stephanie Wheeler               0.30 Email correspondence to R. Schutt re: turnover motion
                                                (.10); email correspondence to Z. Dexter (LedgerX),
                                                A&M, A. Kranzley, B. Glueckstein, J. Bromley, A.
                                                Dietderich re: bankruptcy filings (.20).
03/02/2023 Stephen Ehrenberg               1.30 Email correspondence with E. Shehada, B. Newton,
                                                M. Devlin, Z. Ingber regarding research for motion for
                                                protective order against subpoenas (.10); email
                                                correspondence with B. Newton, M. Devlin regarding
                                                draft correspondence to plaintiffs in sponsorship
                                                litigation (1.0); email correspondence with E.
                                                Downing, T. Millet re: research on nonparty subpoena
                                                (.20).
03/02/2023 Beth Newton                     7.70 Correspondence with M. Devlin and case team re:
                                                notice of default (.80); work on papers related to
                                                sponsorship litigation subpoenas (5.0);
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Date        Name                          Hours Description

                                                 correspondence with S. Ehrenberg re: opposing
                                                 counsel correspondence and sponsorship litigation
                                                 subpoenas (.40); correspondence with S. Nelles re:
                                                 sponsorship litigation subpoenas (.70); review
                                                 research re: sponsorship litigation subpoenas (.80).
03/02/2023 Andrew Kaufman                  3.80 Review and revise research memo concerning
                                                entitlement issues (3.8).
03/02/2023 Zachary Ingber                  7.10 Research issues related to subpoenas (6.6); call with
                                                E. Shehada related to notices of plaintiff's default in
                                                sponsorship litigation (.50).
03/02/2023 Isaac Foote                     8.50 Implement edits from E. Loh on memorandum
                                                discussing re: property questions (.80); revise
                                                memorandum re: property questions (3.6); implement
                                                comments from A. Kaufman on memorandum re:
                                                property questions (3.7); call with A. Kaufman re:
                                                memorandum re: property questions (.40).
03/02/2023 Esther Loh                      2.60 Research re: property issues (2.4); correspondence to
                                                N. Luu re: case law (.20).
03/02/2023 Nam Luu                         0.40 Correspondence to E. Loh to discuss case law on
                                                tracing and pro rata distribution (.20); review case law
                                                re: same (.20).
03/02/2023 Emile Shehada                   3.20 Call with Z. Ingber to discuss S&C’s notices of
                                                plaintiff’s default in sponsorship litigation (.50);
                                                conduct supplemental research re: procedural default
                                                on pending motions to quash (1.6); revise notices re:
                                                subpoena (1.1).
03/02/2023 Adam Toobin                     0.90 Research declaratory relief against equitable
                                                subordination claim (.50); review and read through
                                                amended complaint (.40).
03/03/2023 Andrew Dietderich               1.90 Review materials on tracing and advice re: same
                                                relating to ad hoc committee complaint (1.9).
03/03/2023 Stephen Ehrenberg               1.50 Email correspondence with J. McDonald and N.
                                                Menillo re: potential litigation (.30); email
                                                correspondence with B. Newton, Z. Ingber, M.
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Date        Name                       Hours Description

                                              Devlin, E. Shehada re: response to plaintiffs'
                                              correspondence and next steps in motions (1.2).
03/03/2023 James Bromley                1.20 Review expert materials (1.0); correspondence to J.
                                             Ray (FTX) and B. Glueckstein re: same (.20).
03/03/2023 Beth Newton                  4.20 Reviewed order on service motion re: sponsorship
                                             litigation subpoenas (.20); review and comment on
                                             draft notices re: sponsorship litigation subpoenas (.70);
                                             correspondence with S. Ehrenberg re: sponsorship
                                             litigation subpoenas (.10); correspondence with
                                             opposing counsel re: sponsorship litigation subpoenas
                                             (2.2); correspondence with S. Nelles re: litigation
                                             subpoenas (.50); review draft notice of entry (.20);
                                             correspondence with case team re: sponsorship
                                             litigation subpoenas (.30).
03/03/2023 Michael Devlin               0.50 Revise research re: property interests litigation (.50).
03/03/2023 Zachary Ingber               3.50 Prepare notice of entry related to sponsorship litigation
                                             (.80) prepare notices re: sponsorship litigation (2.7).
03/03/2023 Emma Downing                 1.50 Research re: discovery limitations for subpoena (.90);
                                             summarize research re: same (.60).
03/03/2023 Isaac Foote                  0.30 Implement edits from A. Kaufman to memorandum re:
                                             property rights.
03/03/2023 Esther Loh                   1.40 Research re: property issues (1.3); correspondence to
                                             internal team re: same (.10).
03/03/2023 Nam Luu                      0.30 Correspondence with S&C team re: property rights
                                             litigation.
03/03/2023 Tatum Millet                 3.10 Draft updated analysis re: litigation subpoena (1.2);
                                             correspondence with E. Downing re: follow-up
                                             request (.50); draft response to S. Ehrenberg with E.
                                             Downing re: same (.80); additional research re:
                                             litigation subpoena (.60).
03/03/2023 Emile Shehada                4.30 Revise and cite-check FTX's third-party exchange
                                             turnover motion, proposed order, and supporting
                                             declaration (2.3); draft and file notice of entry of order
                                             (.90); revise notices re: subpoenas (.80); prepare
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                                                 supporting exhibit for same (.30).
03/04/2023 Beth Newton                     1.90 Review and revise draft notices re: motions to quash
                                                sponsorship litigation subpoenas.
03/04/2023 Nam Luu                         1.00 Update memo re: ad hoc group litigation.
03/05/2023 Beth Newton                     1.70 Work on notices and associated filings re: sponsorship
                                                litigation subpoenas (1.5); correspondence with case
                                                team re: notice re: sponsorship litigation subpoenas
                                                (.20).
03/05/2023 Michael Devlin                  0.80 Review and comment on research memo re: property
                                                rights litigation (.80);
03/05/2023 Esther Loh                      2.10 Research re: bankruptcy issues (1.1); revise memo re:
                                                same (1.0).
03/05/2023 Nam Luu                         0.20 Correspondence with S&C team re: property rights
                                                litigation.
03/06/2023 Rebecca Simmons                 0.50 Review memo re: property rights litigation (.20);
                                                correspondence with A. Dietderich re: research
                                                regarding same (.30).
03/06/2023 Stephanie Wheeler               1.30 Revise payoff documents for relevant third-party loan
                                                (1.0); review declaratory judgment complaint re: FTX
                                                (.30).
03/06/2023 Andrew Dietderich               2.20 Research on US bailment arguments and related
                                                notes.
03/06/2023 Stephen Ehrenberg               0.30 Revise notice re: subpoenas (.20); email
                                                correspondence to S. Nelles, B. Newton and E.
                                                Shehada re: same (.10).
03/06/2023 Jacob Croke                     1.30 Correspondence with J. McDonald re: Greyscale
                                                action (.20); revise materials re: proposed settlement
                                                agreement (.80); correspondence with B. Glueckstein
                                                re: same (.30).
03/06/2023 Beth Newton                     0.40 Correspondence with case team re: notices re:
                                                motions to quash sponsorship litigation subpoenas
                                                (.30); correspondence with team re: service of order
                                                in state action to quash sponsorship litigation subpoena
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Date        Name                          Hours Description

                                                 (.10).
03/06/2023 Anthony Lewis                   0.30 Review Grayscale complaint.
03/06/2023 Michael Devlin                  5.80 Research related to property rights litigation (4.5);
                                                review research related to bailments under California
                                                law (1.3).
03/06/2023 Sean Fulton                     4.00 Revise motion re: third party exchange (3.4);
                                                correspondence with Z. Flegenheimer re: outline for
                                                declaratory judgment complaint (.20); correspondence
                                                with E. Shehada re: draft of motion re: third party
                                                exchange (.40).
03/06/2023 Zachary Ingber                  0.40 Communication with team related to effecting service
                                                of court's order regarding alternative service (.40).
03/06/2023 Isaac Foote                     3.50 Implement comments from M. Devlin and follow up
                                                legal research re: property rights litigation (3.0); follow
                                                up correspondence to A. Dietderich (.50).
03/06/2023 Esther Loh                      0.70 Revise memo on property issues (.50);
                                                correspondence with M. Devlin re: same (.20).
03/06/2023 Nam Luu                         1.00 Incorporate edits and revise internal memo re:
                                                property rights litigation (.70); correspondence with
                                                S&C team re: same and other research questions
                                                (.30).
03/06/2023 Emile Shehada                   4.20 Research cases re: standards and jurisdiction of
                                                bankruptcy court (2.3); revised FTX's motion for
                                                turnover (1.1); revise S&C's notices re: subpoena
                                                (.80).
03/07/2023 Andrew Dietderich               4.30 Research re: choice of law and US bailments (3.5);
                                                prepare outline of organization of open issues for
                                                further inquiry by team (.80).
03/07/2023 Michael Devlin                  1.20 Review research related to property rights litigation
                                                and draft summary email (1.2).
03/07/2023 Shane Yeargan                   2.10 Call with E. Shehada to discuss third party exchange
                                                turnover motion (.10); email with B. Gluckstein
                                                regarding third-party exchange motion (.20); revise
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Date        Name                          Hours Description

                                                 third party exchange turnover motion (1.3);
                                                 correspondence to J. Croke re: third party exchange
                                                 turnover process (.10); review third party exchange
                                                 account records (.40).
03/07/2023 Andrew Kaufman                  2.00 Research equitable subordination of claims (2.0).
03/07/2023 Daniel O'Hara                   4.70 Draft and revise motion to compel.
03/07/2023 Isaac Foote                     1.10 Legal research re: FTX documents re: property rights
                                                litigation.
03/07/2023 Esther Loh                      1.30 Review FTX documents re: property rights litigation
                                                (.30); research re: same (.50); correspondence with
                                                M. Devlin, N. Luu and I. Foote re: same (.30); review
                                                proposed arguments for litigation (.20).
03/07/2023 Nam Luu                         1.50 Review FTX documents and provide summary related
                                                to provisions relevant to property rights litigation (1.0);
                                                correspondence with S&C team re: property rights
                                                litigation (.50).
03/07/2023 Emile Shehada                   2.30 Call with S. Yeargan to discuss third party exchange
                                                turnover motion (.10); revise third party exchange
                                                turnover motion (1.2); search for documents clarifying
                                                role of corporate entities implicated in third party
                                                exchange turnover motion (1.0).
03/08/2023 Rebecca Simmons                 0.10 Correspondence with A. Dietderich re: property rights
                                                research.
03/08/2023 Andrew Dietderich               0.30 Review and comment on motion to extend exclusivity
                                                period (.30).
03/08/2023 Stephen Ehrenberg               0.90 Revise draft notices re: quash subpoenas in
                                                sponsorship litigation (.50); email correspondence with
                                                S. Nelles, E. Shehada, B. Glueckstein, B. Newton,
                                                M. Devlin re: same (.40).
03/08/2023 James Bromley                   1.50 Call with potential expert (1.0); review materials re:
                                                same (.50).
03/08/2023 Beth Newton                     1.50 Correspondence with E. Shehada and team re: notices
                                                re: sponsorship litigation subpoenas (.50);
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Date        Name                       Hours Description

                                              correspondence with opposing counsel re: motions to
                                              quash sponsorship litigation subpoenas (.10); review
                                              filed notices re: sponsorship litigation subpoenas (.10);
                                              review revised notices and comments re: sponsorship
                                              litigation subpoenas (.50); correspondence with S.
                                              Nelles and S. Ehrenberg re: notices re: sponsorship
                                              litigation subpoenas (.30).
03/08/2023 Anthony Lewis                0.10 Review materials re: relevant third party.
03/08/2023 Michael Devlin               0.30 Review research related to property litigation.
03/08/2023 Marc-André Cyr               0.20 Attention to correspondence re: service of the
                                             amended complaint (.10); attention to internal
                                             correspondence re: stipulation to extension of deadline
                                             to respond to the amended complaint (.10).
03/08/2023 Andrew Kaufman               2.80 Research equitable subordination issues (2.8).
03/08/2023 Mark Bennett                 0.20 Review relevant docket filings re: bail conditions (.20).
03/08/2023 Zachary Ingber               2.10 Review notices re: motions to quash related to
                                             sponsorship litigation.
03/08/2023 Daniel O'Hara                1.60 Draft and revise discovery motion (1.5); call with M.
                                             Strand re: motion (.10).
03/08/2023 Emile Shehada                3.50 Review documentation re: motion to third party
                                             exchange (.50); review and summarize select civil
                                             proceedings in connection with inquiry from
                                             investigations team (.80); summarize procedural
                                             posture of case for partner review (.40); revise and
                                             proofread S&C's notices (1.0); file S&C's notices
                                             (.80).
03/09/2023 James Bromley                2.00 Review expert materials (1.0); call re: same with
                                             candidate (1.0);
03/09/2023 Beth Newton                  0.70 Review court order in action to quash sponsorship
                                             litigation subpoena (.10); review of notices and
                                             correspondence with opposing counsel re:
                                             sponsorship litigation subpoenas (.60).
03/09/2023 Michael Devlin               0.80 Research related to property rights litigation.
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Date        Name                          Hours Description
03/09/2023 Nam Luu                         1.20 Review memo re: property rights (1.0);
                                                correspondence with S&C team re: same (.20).
03/09/2023 Emile Shehada                   1.70 Review relevant filings (.50); conduct additional
                                                research for subsequent transferee memorandum
                                                (1.2).
03/10/2023 Stephen Ehrenberg               3.10 Review research from E. Downing regarding nonparty
                                                subpoenas and related email correspondence with E.
                                                Downing, T. Millet regarding response; email
                                                correspondence with relevant counsel re: subpoena
                                                (.10); call with E. Greenfield (Debevoise), and T.
                                                Millet to discuss correspondence re: non-party
                                                subpoena (.50); review meet and confer
                                                correspondence from subpoena plaintiffs and consider
                                                possible responses (1.0); email with internal team
                                                regarding legal issues (.90); email correspondence to
                                                T. Weinstein and S. Meyer regarding research on
                                                scope of discovery for nonparty subpoena (.10);
                                                prepare for call with defense counsel in litigation
                                                regarding nonparty subpoena (.30); email
                                                correspondence to S. Meyer and T. Weinstein
                                                regarding research for response to plaintiff subpoena
                                                (.10).
03/10/2023 Beth Newton                     0.30 Review press re: motions to quash sponsorship
                                                litigation subpoenas (.20); correspondence with S&C
                                                team re: motions to quash sponsorship litigation
                                                subpoenas (.10).
03/10/2023 Tatum Millet                    3.80 Search for 2d Cir. caselaw defining the standard of
                                                relevance under Rule 26(b)(1) to respond to e-mail re:
                                                subpoena (1.8); draft e-mail to S. Ehrenberg re: same
                                                (.30); search for cases citing relevant issues (1.5);
                                                draft e-mail to S. Ehrenberg re: same (.30);
                                                correspondence re: document hit count analyses for S.
                                                Ehrenberg (.40); call with S. Ehrenberg, E. Greenfield
                                                (Debevoise) to discuss correspondence re: the
                                                relevance of documents sought in non-party subpoena
                                                (.50).
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Date        Name                          Hours Description
03/10/2023 Adam Toobin                     2.40 Legal research re: preference action defenses.
03/12/2023 Brian Glueckstein               3.10 Draft and revise opposition to motion to strike MTD
                                                opposition (2.9); correspondence to team re:
                                                settlement issues (.20).
03/13/2023 Stephanie Wheeler               0.20 Send email to relevant counsel re: third party exchange
                                                motion.
03/13/2023 Beth Newton                     0.10 Review order re: motions to quash re: sponsorship
                                                litigation subpoenas.
03/13/2023 Emile Shehada                   1.50 Summarize compliance with court order since issuance
                                                (.50); add additional research to subsequent transferee
                                                research memo (1.0).
03/15/2023 Nicholas Menillo                1.50 Draft section of corporate governance report on
                                                insurance issues.
03/15/2023 Isaac Foote                     0.60 Review memorandum from S&C London office re:
                                                property rights determinations (.30); review re: recent
                                                disclosure filings by ad hoc creditors committee and
                                                applicability to ongoing class action proceedings (.30).
03/16/2023 Nam Luu                         0.50 Correspondence to associate team re: ad hoc
                                                committee membership (.20); review choice of law
                                                analysis (.30).
03/21/2023 Brian Glueckstein               0.30 Correspondence with S&C team re: stay relief motion
                                                and related issues.
03/22/2023 Stephen Ehrenberg               0.90 Email correspondence with Selendy Gay re: Alameda
                                                response to meet and confer (.20): related email
                                                correspondence to internal S&C team re: same (.10);
                                                review correspondence from plaintiffs in relevant
                                                third-party litigation and email correspondence with
                                                team re: same (.10); email correspondence with E.
                                                Downing, T. Millet re: responses and objections to
                                                subpoena (.50).
03/22/2023 Emma Downing                    1.90 Correspondence to S. Ehrenberg re: summary for
                                                response to third-party subpoena (.10); review
                                                documents for third party subpoena (1.5); revise
                                                summary for response to third party subpoena (.30).
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03/22/2023 Tatum Millet                    1.30 Research re: Rule 45 in connection with relevant third
                                                party subpoena (.60); correspondence with S.
                                                Ehrenberg and E. Downing to discuss drafting
                                                response re: same (.40); draft responses to S.
                                                Ehrenberg's requests with E. Downing (.30).
03/23/2023 Stephen Ehrenberg               1.80 Revise draft response to relevant third-party plaintiffs
                                                (1.4); related email correspondence with E. Downing
                                                and T. Millet re: same (.40).
03/23/2023 Sean Fulton                     0.20 Correspondence with team re: research related to
                                                potential relevant third-party litigation (.20).
03/23/2023 Sienna Liu                      0.50 Draft relevant third party preference complaint.
03/23/2023 Emma Downing                    2.20 Revise draft response to third party subpoena (1.6);
                                                cite check re: same (.60).
03/23/2023 Isaac Foote                     0.40 Review background materials on relevant third party
                                                matter.
03/23/2023 Nam Luu                         0.40 Correspondence with S&C team re: research tasks
                                                related to relevant third party litigation.
03/23/2023 Tatum Millet                    4.70 Draft response to Selendy re: third-party subpoena in
                                                connection with relevant third party litigation (3.4);
                                                correspondence with E. Downing re: edits to draft of
                                                same (.20); draft responses in connection with draft
                                                e-mail to Selendy relevant third party subpoena (.80);
                                                correspondence with E. Downing to edit and finalize
                                                same (.30).
03/24/2023 Stephen Ehrenberg               3.90 Revise draft response to relevant third party plaintiffs
                                                (3.5); email correspondence with E. Downing and T.
                                                Millet re: same (.40).
03/24/2023 Brian Glueckstein               0.40 Correspondence with Canada counsel and E.
                                                Simpson re: escrow dispute and follow-up.
03/24/2023 Michael Devlin                  2.80 Review motion for summary judgment and declaration
                                                in property rights litigation.
03/24/2023 Matthew Strand                  0.70 Review relevant agreement to determine disclosure
                                                standard (.70).
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03/24/2023 Emma Downing                    4.40 Revise response for third party subpoena (1.5);
                                                citecheck re: same (1.0); proofread re: same (.30);
                                                draft summary of documents re: same (1.6).
03/24/2023 Esther Loh                      0.20 Correspondence re: summary judgment motion in ad
                                                hoc litigation.
03/24/2023 Nam Luu                         0.40 Email correspondence with S&C team re: documents
                                                related to motion by ad hoc committee.
03/24/2023 Tatum Millet                    1.70 Review and summarize documents potentially
                                                responsive to third party subpoena (1.5);
                                                correspondence with E. Downing re: same (.20).
03/25/2023 James Bromley                   0.30 Correspondence with A. Dietderich and B.
                                                Glueckstein re: summary judgment motion on
                                                complaint.
03/25/2023 Michele Materni                 0.30 Review correspondence with Selendy & Gay re:
                                                relevant third party.
03/25/2023 Nam Luu                         2.10 Review and summarize case law re: third party
                                                subpoena.
03/26/2023 Esther Loh                      1.50 Research for brief in support of motion for summary
                                                judgment (1.0); summarize cases for M. Devlin (.50).
03/26/2023 Nam Luu                         2.60 Review and summarize cases re: relevant third party's
                                                legal positions (2.5); review summary of cases cited in
                                                ad hoc committee's motion re: property rights (.10).
03/27/2023 Brian Glueckstein               0.70 Work on ad hoc litigation response strategy and
                                                related issues.
03/27/2023 Isaac Foote                     0.20 Review case law re: relevant third-party demand.
03/27/2023 Nam Luu                         2.80 Review and summarize cases re: relevant third party's
                                                legal positions (1.6); review background documents
                                                re: relevant third party (1.1); correspondence with
                                                S&C team re: cases cited by ad hoc committee re:
                                                property rights (.10).
03/27/2023 Emile Shehada                   0.50 Revise turnover motion to third party exchange.
03/28/2023 Andrew Dietderich               0.70 Correspondence re: ad hoc litigation with B.
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                                                 Glueckstein (.40); review notes re: same (.30).
03/28/2023 Marc-André Cyr                  0.10 Attention to correspondence with co-counsel re:
                                                extension stipulation.
03/28/2023 Isaac Foote                     1.60 Research and draft chart of cases regarding relevant
                                                third party demand (1.6).
03/28/2023 Esther Loh                      0.10 Correspondence to M. Devlin re: answers to ad hoc
                                                litigation.
03/29/2023 Steven Holley                   0.20 Email exchanges with A. Dietderich re: legal fees.
03/29/2023 Andrew Dietderich               0.70 Correspondence with S&C team re: litigation matter
                                                (.30); review ad hoc group pleading re: property
                                                claims (.40).
03/29/2023 Brian Glueckstein               1.10 Correspondence to E. Simpson re: escrow dispute
                                                (.20); review and analyze documents re: escrow
                                                dispute (.40); correspondence to S&C team re:
                                                property rights litigation and response (.50).
03/29/2023 Sean Fulton                     4.70 Review summary of cases cited in letter from Davis
                                                Polk re: relevant third party (4.4); correspondence to
                                                S. Fulton, I. Foote, and N. Luu to discuss research
                                                project re: relevant third party demand (.30).
03/29/2023 Andrew Kaufman                  0.50 Correspondence with B. Glueckstein re: property
                                                rights litigation.
03/29/2023 Isaac Foote                     1.80 Research case law re: third party demand (1.2);
                                                correspondence to E. Loh, I. Foote, and N. Luu to
                                                discuss research related to ad hoc committee litigation
                                                (.60).
03/29/2023 Esther Loh                      0.40 Correspondence re: drafting response to ad hoc
                                                committee complaint in property rights litigation (.20);
                                                call with E. Loh, I. Foote, and N. Luu re: research re:
                                                ad hoc committee litigation (.20).
03/29/2023 Nam Luu                         3.90 Review re: case law (.30); correspondence with S&C
                                                team re: same (.60); call with S. Fulton and I. Foote
                                                re: research re: demand (.30); correspondence with
                                                S&C team re: ad hoc committee litigation tasks (.30);
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                                Project: 00022 - OTHER LITIGATION

Date        Name                           Hours Description

                                                   review motion by ad hoc committee (.80);
                                                   correspondence with E. Loh and I. Foote re: research
                                                   related to ad hoc committee litigation (.20); legal
                                                   research re: staying ad hoc committee litigation (1.4).
03/29/2023 Emile Shehada                    1.30 Review case law cited by relevant third party to assess
                                                 strength of potential claims.
03/30/2023 Stephen Ehrenberg                0.10 Review email from E. Downing regarding document
                                                 requests in relevant litigation.
03/30/2023 Julie Kapoor                     0.30 Meeting with N. Luu re: injunction against ad hoc
                                                 committee litigation.
03/30/2023 Christopher Weldon               0.70 Review ad hoc committee motion to file under seal.
03/30/2023 Esther Loh                       0.60 Review motion to seal filed by ad hoc committee.
03/30/2023 Nam Luu                          2.00 Meeting with J. Petiford re: injunction against ad hoc
                                                 committee litigation (.30); research re: standard for
                                                 injunction against ad hoc committee litigation (1.6);
                                                 email correspondence with S&C team re: same (.10).
03/31/2023 Andrew Dietderich                0.60 Review litigation with ad hoc committee.
03/31/2023 Brian Glueckstein                1.70 Call with A. Dietderich and ad hoc committee counsel
                                                 re: litigation and case issues (.80); draft letter re:
                                                 escrow dispute and related issues (.90).
03/31/2023 Andrew Kaufman                   1.80 Review research on injunctions in bankruptcy
                                                 proceedings.
03/31/2023 Esther Loh                       0.80 Research re: matters relating to ad hoc litigation (.60);
                                                 draft summary of research to B. Glueckstein and M.
                                                 Devlin re: same (.20).

Total                                     254.00
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              Project: 00023 - MEETINGS AND COMMUNICATIONS WITH CREDITORS

Date        Name                      Hours Description

03/01/2023 Andrew Dietderich            2.70 Finalize customer shortfall presentation (1.2); prepare
                                             press release (.80); correspondence with internal team
                                             re: same (.70).
03/01/2023 Brian Glueckstein            0.50 Call with S&C and Paul Hastings teams re: weekly
                                             coordination and workstreams call (.50).
03/01/2023 Nicole Friedlander           4.60 Call with Paul Hastings, FTI, Jefferies, S&C, A&M,
                                             PWP and J. Ray (FTX) re: customer shortfall
                                             presentation (1.2); correspondence with K.
                                             Ramanathan (A&M) re: same (.60); comments re:
                                             same (.70); correspondence with A. Lewis re:
                                             response to FTI requests (.30); revisions to draft
                                             press release (1.0); correspondence with A. Lewis, A.
                                             Dietderich and J. Ray (FTX) re: same (.30); review re:
                                             draft customer shortfall presentation (.40);
                                             correspondence to K. Ramanathan (A&M) re: edit to
                                             same (.10).
03/01/2023 James Bromley                1.20 Call with S&C and Paul Hastings teams re: weekly
                                             coordination and workstreams call (.50); follow up re:
                                             same (.30); review materials re: presentation to UCC
                                             on customer shortfall (.30); correspondence with J.
                                             Ray and A. Mosley re: same (.10).
03/01/2023 Anthony Lewis                0.70 Review materials re: forensic investigation for UCC
                                             (.30); correspondence with S&C, FTI, Paul Hastings
                                             and Sygnia teams re: same (.40).
03/01/2023 Alexa Kranzley               1.20 Call with Paul Hastings, FTI, Jefferies, S&C, A&M,
                                             PWP and J. Ray (FTX) re: customer shortfall
                                             presentation.
03/02/2023 Andrew Dietderich            2.50 Revisions to UCC materials (.70); call with Debtors
                                             advisors, UCC advisors and UCC re: exchange
                                             shortfall and follow-up (1.5); follow up revisions re:
                                             presentation for press release (.10); correspondence
                                             with K. Hansen (Paul Hastings) re: same (.20).
03/02/2023 Brian Glueckstein            2.10 Call with Debtors advisors, UCC advisors and UCC
                                             re: exchange shortfall and follow-up (1.5); review and
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              Project: 00023 - MEETINGS AND COMMUNICATIONS WITH CREDITORS

Date        Name                      Hours Description

                                              consider updated exchange shortfall materials for
                                              UCC and follow-up (.60).
03/02/2023 Nicole Friedlander           1.90 Call with Debtors advisors, UCC advisors and UCC
                                             re: exchange shortfall and follow-up (1.5); review and
                                             comment on press release of UCC meeting (.40).
03/02/2023 James Bromley                1.90 Call with Debtors advisors, UCC advisors and UCC
                                             re: exchange shortfall and follow-up (1.5); review of
                                             materials re: same (.40).
03/02/2023 Anthony Lewis                0.80 Review and revise materials for UCC re: forensic
                                             investigation (.60); correspondence with S&C team
                                             re: same (.20).
03/02/2023 Alexa Kranzley               0.50 Correspondence with Paul Hastings re: outstanding
                                             issues and requests (.30); correspondence with A&M
                                             re: posting materials for UCC (.20).
03/03/2023 Andrew Dietderich            0.50 Call with customer ad hoc counsel re: update on
                                             entitlements presentation (.50).
03/03/2023 Anthony Lewis                0.70 Review materials re: forensic investigation for UCC
                                             (.20); correspondence with S&C team re: same (.10);
                                             correspondence with S&C, Sygnia and UCC teams
                                             re: forensic investigation (.40).
03/03/2023 Alexa Kranzley               0.20 Correspondences with A&M re: information for
                                             UCC.
03/04/2023 Anthony Lewis                0.10 Correspondence with S&C team re: materials for
                                             UCC re: forensic investigation.
03/07/2023 Brian Glueckstein            0.30 Review and revise letter response to creditor inquiry.
03/07/2023 James Bromley                0.30 Correspondence with M. Shapiro (Shearman &
                                             Sterling) re: creditor and investor inquiry.
03/07/2023 Alexa Kranzley               0.10 Correspondence with Kroll re: creditor inquiries.
03/08/2023 Andrew Dietderich            1.20 Call with K. Hansen (Paul Hastings) re: case updates
                                             (.30); call with Paul Hastings and S&C teams re:
                                             coordination and work streams updates and strategy
                                             (.90 - partial attendance).
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              Project: 00023 - MEETINGS AND COMMUNICATIONS WITH CREDITORS

Date        Name                      Hours Description
03/08/2023 Brian Glueckstein            1.00 Call with Paul Hastings and S&C teams re:
                                             coordination and workstreams updates and strategy.
03/08/2023 James Bromley                1.00 Call with Paul Hastings and S&C teams re:
                                             coordination and workstreams updates and strategy.
03/08/2023 Anthony Lewis                0.30 Correspondence with S&C and Sygnia teams re:
                                             materials for UCC and FTI re: forensic investigation.
03/08/2023 Alexa Kranzley               1.40 Call with Paul Hastings and S&C teams. re:
                                             coordination and work streams updates and strategies
                                             (1.0); follow up re: same (.40).
03/09/2023 Anthony Lewis                0.30 Review materials for UCC re: forensic investigation
                                             (.20); correspondence with S&C team re: same (.10).
03/09/2023 Alexa Kranzley               0.40 Follow up correspondence with Paul Hastings re:
                                             sureties, schedules and related issues.
03/10/2023 Stephanie Wheeler            0.40 Review common interest agreement with UCC.
03/10/2023 Brian Glueckstein            1.00 Call with Paul Hastings team, J. Bromley and A.
                                             Dietderich re: Bahamas strategy issues (.50);
                                             follow-up meeting with A. Dietderich re: same (.50).
03/10/2023 Anthony Lewis                0.30 Review UCC common interest agreement (.20);
                                             correspondence with S&C team re: same (.10).
03/10/2023 Julie Kapoor                 0.70 Call with C. Jensen, K. Ramanthan (A&M) and FTI
                                             and Paul Hastings teams re: custodial agreement (.50);
                                             follow up re: same (.20).
03/10/2023 Luke Ross                    1.80 Review of documents re: transfers by certain FTX
                                             customers prior to bankruptcy petition.
03/13/2023 Brian Glueckstein            1.60 Call with FTX and UCC advisors re: third party
                                             exchanges issues (1.1); review and analyze documents
                                             and materials re: third party exchanges (.50).
03/13/2023 Jacob Croke                  1.30 Call with FTX and UCC advisors re: third-party
                                             exchange issues (1.1); correspondence with K.
                                             Ramanathan (A&M) re: same (.20).
03/14/2023 Benjamin Zonenshayn          0.20 Correspondence with Kroll and A. Kranzley re:
                                             communication with creditor.
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              Project: 00023 - MEETINGS AND COMMUNICATIONS WITH CREDITORS

Date        Name                      Hours Description
03/15/2023 Brian Glueckstein            1.90 Call with S&C and Paul Hastings teams re:
                                             coordination and workstreams issues (1.4); follow-up
                                             on UCC issues and questions (.50).
03/15/2023 Anthony Lewis                0.40 Review RFI from UCC (.20); correspondence with
                                             FTI, Paul Hastings and S&C teams re: materials for
                                             UCC for forensic investigation (.20).
03/15/2023 Alexa Kranzley               1.20 Call with S&C and Paul Hastings teams re:
                                             coordination and workstreams issues (partial
                                             attendance).
03/15/2023 Adam Toobin                  2.30 Draft responses for A. Kranzley re: creditor inquiries
                                             (.30); draft updated responses to the UCC (1.7);
                                             correspondence to A&M team re: FTI questions
                                             (.30).
03/16/2023 Stephanie Wheeler            0.20 Correspondence with B. Glueckstein re: interview
                                             memos for UCC.
03/16/2023 Anthony Lewis                0.20 Correspondence with S&C team re: materials for
                                             UCC re: forensic investigation.
03/16/2023 Alexa Kranzley               0.40 Follow up correspondences with Paul Hastings re:
                                             schedules and related issues.
03/16/2023 Jennifer Sutton              0.30 Review re: questions from UCC on sureties (.20);
                                             related correspondence to S&C team (.10).
03/16/2023 Julie Kapoor                 0.40 Respond to UCC inquiries re: sureties (.20); review
                                             and provide responses to creditor inquiries (.20).
03/17/2023 Brian Glueckstein            1.00 Call with A. Kranzley, J. Petiford and Paul Hastings
                                             team re: redaction motion.
03/17/2023 Anthony Lewis                0.10 Correspondence with S&C team re: materials for
                                             UCC re: forensic investigation.
03/17/2023 Alexa Kranzley               2.00 Call with B. Glueckstein, J. Petiford and Paul Hastings
                                             team re: redaction motion (1.0); call with S. Martin
                                             (Paul Hastings) re: PII list (.20); follow up
                                             correspondence with A&M and S&C team re: same
                                             (.30); call with G. Sasson (Paul Hastings) re: claim
                                             issues (.30); follow up correspondence with internal
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              Project: 00023 - MEETINGS AND COMMUNICATIONS WITH CREDITORS

Date        Name                      Hours Description

                                              team and RLKS re: same (.20).
03/17/2023 Julie Kapoor                 1.00 Call with B. Glueckstein, A. Kranzley and Paul
                                             Hastings team re: redaction motion.
03/20/2023 Anthony Lewis                0.60 Review materials for UCC re: forensic investigation
                                             (.40); correspondence with S&C, Paul Hastings, FTI
                                             teams re: materials for UCC re: forensic investigation
                                             (.20).
03/20/2023 Alexa Kranzley               0.40 Follow up correspondences with Paul Hastings re:
                                             outstanding requests (.20); review materials to be
                                             posted for Paul Hastings (.20).
03/21/2023 Brian Glueckstein            1.00 Call with UCC and S&C advisors re: M&A
                                             workstreams and strategy.
03/21/2023 Evan Simpson                 0.20 Draft content for UCC slides on return of loaned
                                             amounts.
03/21/2023 Anthony Lewis                0.10 Correspondence with S&C and Sygnia teams re:
                                             materials for UCC re: forensic investigation.
03/21/2023 Alexa Kranzley               0.20 Correspondences with Paul Hastings re: case issues.
03/22/2023 Andrew Dietderich            0.30 Correspondence with UCC re: concerns and potential
                                             meeting to address.
03/22/2023 Brian Glueckstein            1.50 Call with A. Kranzley and Paul Hastings team re: open
                                             issues and workstreams strategy.
03/22/2023 Alexa Kranzley               2.30 Call with B. Glueckstein and Paul Hastings team re:
                                             open issues and workstreams strategy (1.5); follow up
                                             correspondence with A&M and S&C teams re:
                                             outstanding issues (.60); correspondences with Paul
                                             Hastings re: same (.20).
03/22/2023 Julie Kapoor                 0.50 Review and respond to creditor inquiries.
03/22/2023 Adam Toobin                  0.20 Review re: creditor inquire and propose response.
03/23/2023 Adam Toobin                  0.50 Review responses to credit inquiries (.20); draft
                                             update for internal team (.30).
03/23/2023 Adam Toobin                  0.40 Review re: creditor inquiries (.20); draft responses
                                             (.20).
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              Project: 00023 - MEETINGS AND COMMUNICATIONS WITH CREDITORS

Date        Name                      Hours Description
03/24/2023 Anthony Lewis                0.10 Correspondence with S&C and Sygnia teams re:
                                             information re: forensic investigation for UCC.
03/24/2023 Alexa Kranzley               0.10 Correspondences with Paul Hastings re: outstanding
                                             questions.
03/24/2023 Adam Toobin                  0.10 Correspondence to Kroll re: creditor inquiries and
                                             responses.
03/25/2023 Andrew Dietderich            0.60 Draft response to UST re: customer queries (.40);
                                             correspondence with UCC re: agenda and attendance
                                             for UCC meeting (.20).
03/25/2023 James Bromley                0.60 Correspondence with J. Ray (FTX) re: UCC
                                             questions (.20); correspondence with J. Ray (FTX),
                                             K. Cofsky (PWP) and A. Dietderich re: UCC meeting
                                             (.20); correspondence with A. Dietderich, B.
                                             Glueckstein and A. Kranzley re: UST questions about
                                             creditor inquiries (.20).
03/26/2023 Brian Glueckstein            0.50 Correspondence with A. Dietderich re: UCC status
                                             and related matters follow-up.
03/27/2023 Andrew Dietderich            1.30 Correspondence with J. Sarkessian (UST) re:
                                             customer queries (.30); correspondence with J. Ray
                                             (FTX) and B. Glueckstein re: UCC concerns (.20);
                                             call with K. Hansen (Paul Hastings) re: same (.80).
03/27/2023 Brian Glueckstein            0.70 Correspondence with internal team re: J. Ray (FTX)
                                             meeting with UCC and follow-up (.40); review re:
                                             materials for UCC re: case issues (.30).
03/27/2023 Alexa Kranzley               0.20 Review re: materials for posting to Paul Hastings (.10);
                                             correspondences with A&M re: same (.10).
03/27/2023 Adam Toobin                  0.20 Review and prepared responses to creditor inquiries.
03/28/2023 Andrew Dietderich            2.00 Correspondence with UCC professionals re: case
                                             updates (.10); correspondence with UST re: case
                                             updates (.10); call with UCC professionals, debtor
                                             professionals and J. Ray (FTX) re: meeting with UCC
                                             members and strategy issues (1.8).
03/28/2023 Brian Glueckstein            1.70 Call with UCC professionals, debtor professionals and
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              Project: 00023 - MEETINGS AND COMMUNICATIONS WITH CREDITORS

Date        Name                      Hours Description

                                              J. Ray (FTX) re: meeting with UCC members and
                                              strategy issues (partial attendance).
03/28/2023 Kathleen McArthur            0.10 Review correspondence from N. Friedlander re:
                                             materials for UCC.
03/28/2023 Nicole Friedlander           0.20 Correspondence with K. Ramanathan (A&M) re:
                                             issues list for UCC.
03/28/2023 Alexa Kranzley               2.00 Call with J. Kapoor and L. Ritchie (Osler Hoskin) re:
                                             creditor status (.10); correspondences with Paul
                                             Hastings re: outstanding issues (.10); call with UCC
                                             professionals, debtor professionals and J. Ray (FTX)
                                             re: meeting with UCC members and strategy issues
                                             (1.8).
03/28/2023 Julie Kapoor                 0.10 Call with A. Kranzley and L. Ritchie (Osler Hoskin)
                                             re: creditor status (.10).
03/29/2023 Andrew Dietderich            2.70 Prepare for meeting with J. Ray (FTX) (1.0); meeting
                                             with Paul Hastings and B. Glueckstein re:
                                             workstreams and strategy issues (.90 – partial
                                             attendance) (1.7); call with J. Bromley and Paul
                                             Hastings re: case updates (.80).
03/29/2023 Brian Glueckstein            1.30 Meeting with Paul Hastings and A. Dietderich re:
                                             workstreams and strategy issues (1.0); follow-up
                                             correspondence re: UCC requests (.30).
03/29/2023 James Bromley                1.30 Call with A. Dietderich and Paul Hastings re: case
                                             updates (.80); review re: materials for meeting with
                                             UCC (.50).
03/29/2023 Alexa Kranzley               0.20 Correspondences with Paul Hastings re: case status
                                             and related questions.
03/29/2023 Julie Kapoor                 0.20 Review and revise responses to creditor inquiries.
03/29/2023 Adam Toobin                  0.90 Draft responses to creditors inquiries.
03/30/2023 Andrew Dietderich            2.20 Meeting with UCC members, J. Ray (FTX), UCC,
                                             professionals and FTX professionals (1.7); follow up
                                             correspondence to Paul Hastings team (.20); discuss
                                             exclusivity motion with E. Gilad (Paul Hastings) (.20);
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              Project: 00023 - MEETINGS AND COMMUNICATIONS WITH CREDITORS

Date        Name                      Hours Description

                                               correspondence with internal team re: exclusivity
                                               motion (.10).
03/30/2023 Brian Glueckstein            2.30 Meeting with UCC members, J. Ray (FTX), UCC
                                             professionals and FTX professionals (1.7); follow-up
                                             correspondence with A. Dietderich (.20);
                                             correspondence with S&C and A&M teams re: UCC
                                             information requests (.40).
03/30/2023 James Bromley                1.20 Meeting with UCC members, J. Ray (FTX), UCC
                                             professionals and FTX professionals (partial
                                             attendance).
03/30/2023 Julie Kapoor                 1.60 Call between S&C, A&M, FTI, Paul Hastings and
                                             UCC teams.
03/30/2023 Robert Schutt                0.90 Review account details from A&M re: inquiries re:
                                             third-party creditor.
03/31/2023 Nicole Friedlander           0.50 Call with L. Tsao (Paul Hastings) re: UCC questions
                                             (.20); correspondence with J. Croke, S. Levin and S.
                                             Holley re: same (.30).

Total                                  81.10
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                               Project: 00024 - NON-WORKING TRAVEL

Date        Name                           Hours Description

03/06/2023 Alexa Kranzley                   4.00 Travel to Dallas.
03/07/2023 Alexa Kranzley                   2.50 Travel from Dallas.
03/14/2023 Brian Glueckstein                1.40 Travel from Delaware for Emergent hearing.
03/15/2023 Julie Kapoor                     4.50 Travel from New York for FTX matters.

Total                                      12.40
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                          Project: 00025 - PLAN AND DISCLOSURE STATEMENT

Date        Name                            Hours Description

03/01/2023 Andrew Dietderich                 0.40 Call with G. Barnes re: researching plan compromises
                                                  that involve disputed property rights (.20); follow-up
                                                  research re: same (.20).
03/01/2023 Julie Kapoor                      0.50 Review and revise motion to extend exclusivity.
03/01/2023 Grier Barnes                      1.90 Call with A. Dietderich re: researching plan
                                                  compromises that involve disputed property rights
                                                  (.20); revise motion to extend exclusivity (1.7).
03/03/2023 Alexa Kranzley                    0.10 Correspondences with internal team re: motion to
                                                  extend exclusivity.
03/03/2023 Grier Barnes                      0.50 Research plan compromises that involve disputed
                                                  property rights.
03/04/2023 Alexa Kranzley                    0.20 Correspondences with internal team re: motion to
                                                  extend exclusivity.
03/08/2023 Brian Glueckstein                 3.50 Draft and revise motion to extend exclusivity (3.1);
                                                  correspondence with A. Dietderich re: issues re: same
                                                  (.40).
03/08/2023 Grier Barnes                      0.50 Review and revise motion to extend exclusivity.
03/09/2023 Grier Barnes                      1.30 Revise motion to extend exclusivity (1.2);
                                                  correspondence with S&C team re: same (.10).
03/10/2023 Brian Glueckstein                 0.40 Respond to questions re: motion to extend exclusivity.
03/10/2023 Julie Kapoor                      1.60 Review and revise motion to extend exclusivity (.80);
                                                  finalize same for filing (.30); coordinate motion of
                                                  withdrawal re: same (.10); amend and re-finalize same
                                                  for filing (.40).
03/10/2023 Grier Barnes                      0.10 Review motion to extend exclusivity.
03/16/2023 Colin Lloyd                       0.50 Correspondence with A&M and PWP teams re: plan
                                                  of reorganization.
03/25/2023 Brian Glueckstein                 0.60 Correspondence with A. Dietderich, D. Hariton and
                                                  A. Kranzley re: exclusivity motion issues and UST
                                                  questions.
03/25/2023 Alexa Kranzley                    0.30 Correspondence with internal team re: plan and
                                                  exclusivity issues.
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                        Project: 00025 - PLAN AND DISCLOSURE STATEMENT

Date        Name                          Hours Description

03/27/2023 Andrew Dietderich               0.20 Notes on plan issues.
03/27/2023 Brian Glueckstein               0.90 Correspondence with A. Kranzley re: UST exclusivity
                                                issues and follow-up (.60); correspondence with A.
                                                Dietderich re: exclusivity questions (.30).
03/29/2023 Andrew Dietderich               0.40 Notes for J. Ray (FTX) on plan timetable.

Total                                     13.90
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                Project: 00026 - RELIEF FROM STAY AND ADEQUATE PROTECTION

Date        Name                       Hours Description

03/02/2023 Brian Glueckstein            0.60 Call with M. McGuire (LRC) and C. Dunne re: SBF
                                             request for insurance stay relief (.30); follow-up
                                             correspondence re: SBF request (.30).
03/07/2023 Adam Toobin                  0.70 Review notes on motions to lift the stay (.60);
                                             correspondence with C. Jensen re: question on motion
                                             to lift the stay (.10).
03/09/2023 Esther Loh                   0.20 Review research re: conflicts of law.
03/10/2023 Christian Hodges             1.00 Prepare list of questions for Alix regarding open items
                                             for Relevant Third Party lift stay motion (1.0).
03/13/2023 Esther Loh                   0.40 Cite check draft complaint.
03/15/2023 Nicholas Menillo             0.80 Review motion for relief from automatic stay filed by
                                             former director (.60); correspondence with S&C team
                                             re: same (.20).
03/24/2023 Marc-André Cyr               0.10 Internal correspondence re: motion to lift stay.
03/24/2023 Sienna Liu                   5.30 Review re: Relevant Third Party draft motion to lift
                                             stay (4.0); draft Relevant Third Party notice of motion
                                             to lift stay (1.3).
03/24/2023 Esther Loh                   0.30 Review draft response re: motion for relief from stay
                                             (.30); correspondence re: summary judgment motion
                                             filed by Ad Hoc Committee in customer property
                                             rights litigation (.20).
03/25/2023 Nicholas Menillo             3.50 Review and revise re: response to motion for relief
                                             from automatic stay.
03/26/2023 Nicholas Menillo             0.50 Review and comment re: response to motion for relief
                                             from stay.
03/27/2023 Brian Glueckstein            1.30 Draft and revise response re: stay relief motion and
                                             follow-up.
03/27/2023 Nicholas Menillo             0.50 Revisions re: response to motion for relief from
                                             automatic stay.
03/28/2023 Brian Glueckstein            0.90 Call with N. Menillo re: UCC draft opposition to
                                             motion to lift way re: D&O proceeds (.10); revisions
                                             and follow-up re: response to SBF stay relief motion
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                Project: 00026 - RELIEF FROM STAY AND ADEQUATE PROTECTION

Date        Name                       Hours Description

                                                (.80).
03/28/2023 Nicholas Menillo              1.60 Review UCC draft objection to motion from relief
                                              from stay (.80); call with B. Glueckstein re: UCC draft
                                              opposition to motion to lift way re: D&O proceeds
                                              (.10); call with Paul Hastings re: opposition to motion
                                              to lift automatic stay (.10); correspondence to PH re:
                                              opposition to lift stay motion (.30); correspondence to
                                              Steptoe re: insurance communications (.10);
                                              correspondence re: R. Arora (FTX) request re:
                                              insurance matters (.20).
03/29/2023 Brian Glueckstein             1.00 Revise and finalize response re: stay relief motion and
                                              related.
03/29/2023 Nicholas Menillo              0.10 Correspondence with Paul Hastings re: lift stay
                                              motion.
03/30/2023 Esther Loh                    0.80 Review motion to seal filed by Ad Hoc Committee of
                                              non-US customers of FTX.com for draft response
                                              (.60); research re: motion to stay (.20).

Total                                   19.60
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Date        Name                       Hours Description

03/01/2023 David Hariton                5.00 Review FTI tracker and analyze relevant tax items
                                             (1.80); correspondence with UCC counsel and
                                             advisors re: coordination (.50); research re: employee
                                             withholding, claims trading and inherited claims (2.20);
                                             review re: debtor entity correspondence, exchanges
                                             and requests from buyers (.50).
03/02/2023 David Hariton                9.50 Review and analysis re: bid package (1.3); review and
                                             analyze re: materials from EY (2.7); review and
                                             analyze relevant authorities and analysis received from
                                             both EY and S. Profeta (2.2); call with counsel to
                                             UCC re: introductions (.50); prep and follow up for
                                             call (1.3); meeting with UCC re: coordination and
                                             dealings (1.5).
03/02/2023 Christian Jensen             0.20 Correspondence with D. Hariton re: information for
                                             DE tax return.
03/02/2023 Stephen Profeta              3.30 Call with K. Lowery (EY) re: 1099 reporting analysis
                                             (.20); research re: 1099 reporting requirements (3.1).
03/03/2023 David Hariton                8.10 Review and analysis re: 1099 reporting (2.2); call with
                                             EY team (.50); prepare for audit of Relevant Third
                                             Party (.30); further coordination re: same (.40);
                                             correspondence re: coordination with the UCC
                                             (1.50); review re: issues outline to prepare for call with
                                             UCC (1.20); tax analysis (.80); review re: tax issues
                                             (.90); call with A. Kranzley re: tax matters relating to
                                             PMO meeting (.30).
03/04/2023 David Hariton                4.80 Analysis re: coordination with the UCC on tax issues
                                             (1.50); outline of issues re: same (1.80); call with A.
                                             Dietderich re: same (.50); coordination and
                                             administration re: billing entries (.50); call with C.
                                             Jensen re: same (.20); correspondence with J. Scott
                                             (.30).
03/05/2023 David Hariton                0.50 Call with C. Howe (A&M) re: UCC issues.
03/06/2023 David Hariton                3.00 Review re: structure issues re: preparation for call with
                                             UCC (2.1); call with S. Joffe (FTI), G. Silber (PH),
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Date        Name                       Hours Description

                                              Chris Howe (A&M) and H. Kim re: tax issues and
                                              framing (.90).
03/06/2023 Jameson Lloyd                0.10 Call with H. Kim and J. Patton re: update on tax
                                             issues.
03/06/2023 HyunKyu Kim                  3.50 Call with S. Joffe (FTI), G. Silber (PH), Chris Howe
                                             (A&M) and D. Hariton re: tax issues and framing
                                             (0.9); review re: tax return documents re: taxable
                                             income (2.5); call with J. Lloyd and J. Patton re:
                                             update on tax issues (.10).
03/06/2023 James Patton                 0.60 Review changes re: purchase agreement with Relevant
                                             Third Party (.10); call with J. Lloyd and H. Kim re:
                                             update on tax issues (.10); reviewing correspondence
                                             re: Clifton Bay Research LLC (.10); research re: tax
                                             (.30).
03/07/2023 David Hariton                3.10 Call with S. Profeta, A&M team and EY team re:
                                             Alameda tax considerations (.80); review re: relevant
                                             entries (1.20); preparation re: same (.60); follow up
                                             correspondence re: same (.20); coordination on
                                             Relevant Third Party (.30).
03/07/2023 HyunKyu Kim                  0.30 Review re: debtor entity sale (.20); review re: EY
                                             audit process (.10).
03/07/2023 Stephen Profeta              1.20 Call with D. Hariton, A&M team and EY team re:
                                             Alameda tax considerations (.80); draft summary
                                             correspondence for D. Hariton (.20); correspondence
                                             re: debtor entity sale (.20).
03/08/2023 David Hariton                2.30 Coordination re: Relevant Third Party (.40); review
                                             and analysis re: 1099 questions and materials (1.0);
                                             correspondence with T. Shea (EY) re: Relevant Third
                                             Party (.30); correspondence with internal team re:
                                             same (.60).
03/08/2023 HyunKyu Kim                  0.20 Filing of tax form.
03/09/2023 David Hariton                2.20 Preparation re: tax reporting issues (.50); call with EY
                                             team re: same (.50); review re: reporting issues and
                                             authority (1.20).
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Date        Name                       Hours Description
03/09/2023 HyunKyu Kim                  0.20 Review re: the structure chart (.10); review re: tax
                                             form (.10).
03/10/2023 David Hariton                0.90 Call with EY team (.50); analysis re: mark-to-market
                                             election and issues (.40).
03/15/2023 David Hariton                2.10 Meeting with B. Seaway (A&M), K. Jacobs (A&M)
                                             and H. Kim re: tax issues (.20); analysis re: same
                                             (.80); meeting with UCC re: reporting issues (.70);
                                             correspondence with internal team (.40).
03/16/2023 David Hariton                1.20 Coordination of call with UCC re: reporting (.50);
                                             correspondence with J. Croke and A. Kranzley re:
                                             foundation representation (.70).
03/17/2023 David Hariton                3.30 Review re: 1099 materials (1.0); correspondence re:
                                             issues re: reporting website postings from Paul
                                             Hastings (.60); discussion with K. Lowery (EY) re:
                                             1099 and related disclosure (.20); internal
                                             correspondence re: same (.20); review re: IDR and
                                             audit issues (.50); review re: 475 mark to market
                                             issues and numbers (.80).
03/20/2023 David Hariton                3.20 Review re: call with UCC re: website posting on
                                             employee and customer claims and withholding (.50);
                                             discussion with S. Joffe (FTI), G. Silber (Paul
                                             Hastings), C. Howe (A&M), K. Lowery (EY), T.
                                             Ferris (EY), J. DeVincenzo (EY), K. Wrenn (EY) and
                                             H. Kim re: 1099 and related disclosure (.50);
                                             discussion with K. Lowery (EY) re: 1099 and related
                                             disclosure. (.20); review and analyze re: asset
                                             schedule and filings (2.0).
03/20/2023 HyunKyu Kim                  1.60 Review re: FTX asset schedule (.70); discussion with
                                             S. Joffe (FTI), G. Silber (Paul Hastings), C. Howe
                                             (A&M), K. Lowery (EY), T. Ferris (EY), J.
                                             DeVincenzo (EY), K. Wrenn (EY) and D. Hariton re:
                                             1099 and related disclosure. (.50); discussion with K.
                                             Lowery (EY) and D. Hariton re: 1099 and related
                                             disclosure. (.20); meeting with S. Profeta re: wage
                                             claim guidance (.20).
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Date        Name                       Hours Description
03/20/2023 Stephen Profeta              0.60 Review re: schedule of debtor assets and liabilities
                                             (.40); meeting with H. Kim re: wage claim guidance
                                             (.20).
03/21/2023 David Hariton                3.60 Prepare for discussion re: customer claims, including
                                             review of materials (.50); discussion with T. Shea
                                             (EY) re: audit staffing (.30); follow up analysis of audit
                                             procedure (1.30); call with EY re: website postings
                                             and UCC (.40); review and revise correspondence to
                                             J. Ray (FTX) re: website postings (.40); review re:
                                             Alameda tax positions (.70).
03/21/2023 HyunKyu Kim                  0.10 Review re: tax disclosure language.
03/22/2023 David Hariton                2.00 Coordination with T. Shea (EY) re: audit (.40);
                                             coordination with UCC re: tax matters (.50);
                                             coordination with T. Ferris (EY) re: audit (.40); follow
                                             up UCC coordination with A. Kranzley and EY re:
                                             reporting and web site postings (.70).
03/22/2023 Jameson Lloyd                0.50 Review re: markup of transaction documents.
03/22/2023 HyunKyu Kim                  0.50 Research re: the tax attributes.
03/22/2023 James Patton                 0.90 Research re: tax attributes.
03/23/2023 David Hariton                1.60 Coordination re: 1099 and websites (.50); call with
                                             EY re: same (.20); call with G. Silber (Paul Hastings)
                                             re: same (.20); other follow up coordination and
                                             review (.70).
03/23/2023 Jameson Lloyd                0.10 Review re: Embed.
03/24/2023 David Hariton                5.20 Review re: 1099 quotes and analysis for posting (1.0);
                                             research re: customer claims (1.40); draft re: internal
                                             and external bullets and discussion points for teams
                                             (.70); draft email to EY re: same (.50); call with T.
                                             Shea (EY) re: same (.50); analysis re: new Alameda
                                             issues (1.10).
03/24/2023 Jameson Lloyd                0.20 Correspondence re: tax reps, purchase price
                                             allocation.
03/24/2023 HyunKyu Kim                  1.40 Review re: assets and tax classification of entities.
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03/25/2023 David Hariton                3.90 Discussion with internal team re: customer tax filings
                                             and claims, including 1099s (.80); draft
                                             correspondence to A. Dietderich re: same (.30); call
                                             with EY re: same (.30); correspondence with A&M
                                             re: reporting, website postings and third party claims
                                             (2.50).
03/25/2023 Andrew Dietderich            0.70 Correspondence with D. Hariton re: tax issues for
                                             customers.
03/26/2023 HyunKyu Kim                  0.80 Review re: entities regarding the asset and tax data.
03/27/2023 David Hariton                1.00 Coordination and analysis for customer withholding
                                             (.50); review and comment re: 1099 responses from
                                             EY (.50).
03/27/2023 Christian Jensen             0.20 Correspondence with EY team re: Debtor information
                                             for tax returns.
03/28/2023 David Hariton                0.80 Correspondence with internal team re: website and tax
                                             information (.50); follow up correspondence for D.
                                             Hammon (EY) (.30).
03/29/2023 David Hariton                0.30 Internal correspondence re: case updates.
03/30/2023 David Hariton                2.70 Correspondence and analysis on Japanese tax issue
                                             (1.5); call with T. Shea (EY) re: same (.30);
                                             correspondence with internal team re: drafting (.50);
                                             correspondence with T. Shea (EY) and FTX team re:
                                             same (.40).
03/31/2023 David Hariton                5.40 Coordination, email review, discussion and
                                             correspondence in connection with the Antigua tax
                                             filings and audits (1.2); coordination and discussion,
                                             including with T. Shea (EY) and internal team, on
                                             Japanese issue (.70); debtor entity correspondence
                                             and document review (.60); correspondence with EY
                                             (.50); preparation for Dallas meeting re: tax matters
                                             (.80); correspondence re: tax matters (1.0);
                                             coordination on website posting of tax information
                                             (.60).

Total                                  92.90
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Date        Name                        Hours Description

03/01/2023 Stephanie Wheeler              1.50 Revise production letter to SDNY re: relevant third
                                               party spreadsheets (.20); correspondences with J.
                                               Croke and A. Holland re: production of spreadsheets
                                               to SDNY (.20); meeting with B. Harsch and M.
                                               Strand re: federal regulator document requests re:
                                               debtor entities (.30); revise SDNY production letter
                                               (.10); correspondence with R. Perubhatla (RLKS), J.
                                               Ray (FTX) and A. Dietderich re: document collection
                                               (.10); correspondence with T. Russell re: document
                                               collection (.20); correspondence with R. Perubhatla
                                               (RLKS) and A. Dietderich, N. Friedlander and B.
                                               Glueckstein re: request to reactivate FTX email
                                               account (.20); review new requests from state law
                                               enforcement (.10); correspondence with team re:
                                               same (.10).
03/01/2023 Brian Glueckstein              1.40 Review Rule 2004 requests and response from former
                                               FTX personnel (.80); correspondence with S&C team
                                               and third party recipients re: discovery matters (.60).
03/01/2023 Christopher Dunne              2.60 Review and revise Rule 2004 motions re: relevant
                                               third parties.
03/01/2023 Anthony Lewis                  0.10 Correspondence with S&C team re: Rule 2004
                                               discovery requests.
03/01/2023 Bradley Harsch                 5.70 Review and email with S&C team re: production for
                                               state law enforcement(.70); prepare production and
                                               cover emails for state law enforcement (1.2); review
                                               M. Beville (WilmerHale) correspondence and email
                                               FTI and S&C e-discovery team re: status of materials
                                               for debtor entity personnel (.30); meeting with S.
                                               Wheeler and M. Strand re: federal regulator request
                                               re: debtor entities (.30); prepare production and cover
                                               letters for state law enforcement (.70); draft notes for
                                               call with FTX counsel (.20); review and email S&C
                                               team re: documents for production to state law
                                               enforcement(.30); review FTI correspondence with
                                               S&C team re: provision of FTX data to
                                               WilmerHale(.10); email FTI re: status of debtor entity
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Date        Name                        Hours Description

                                                Slack production for federal regulator(.10); review
                                                and comment on revise talking points for CFTC re:
                                                debtor entity production(0.4); review email re:
                                                demand for information from state law
                                                enforcement(.10); email M. Strand re: transaction
                                                materials for debtor entity production (.10); email
                                                S&C team re: Bates stamps for state law enforcement
                                                production and prior subpoena (.10); prepare letter
                                                for FOIA and cover email for production to CFTC re:
                                                debtor entity transfers (.30); email M. Strand re: final
                                                documents for debtor entity production (.10); review
                                                documents for CFTC production and revise
                                                production letter (.30); email M. Strand re: documents
                                                for debtor entity production (.20); revise CFTC
                                                production letter (.20).
03/01/2023 Michele Materni                0.10 Meeting with Z. Flegenheimer re: privilege issues.
03/01/2023 Mark Bennett                   2.60 Review and revise draft privilege log prepared by
                                               litigation analysts (2.0); correspondence with M.
                                               McMahon and A. Thompson re: same (.60).
03/01/2023 Kathleen Donnelly              1.00 Correspondence with S&C team re: responses to
                                               regulators (.30); revise production letter (.40);
                                               correspondence with S&C team re::production (.30).
03/01/2023 Zoeth Flegenheimer             2.70 Coordinate with M. McMahon re: document review
                                               (.40); coordinate with M. Materni re: document
                                               review (.30); coordinate with current FTX US
                                               personnel re: device collection (.10); coordinate with
                                               FTX personnel re: device collection (.20); coordinate
                                               with associate team re: document review (.20);
                                               coordinate with FTI re: document review and
                                               preparing searches (.40); review documents in
                                               response to SDNY requests (.30); call between J.
                                               Gilday, E. Newman, C. Fanning, M. McMahon, N.
                                               Wolowski and FTI (various) re: document collection
                                               and processing (.70); meeting with M. Materni re:
                                               privilege issues (.10).
03/01/2023 Meaghan Kerin                  0.30 Correspondence with Sygnia and CDS re: data
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                                                 production (.20); correspondence with A. Holland, A.
                                                 Lewis and S. Rosenthal re: relevant third party
                                                 preservation and Rule 2004 requests, related
                                                 productions and follow-up questions (.10).
03/01/2023 Jared Rosenfeld                 1.70 Research and correspond with S&C team re:
                                                production to HFSC.
03/01/2023 Alexander Holland               3.80 Draft response to SDNY request for documents (3.0);
                                                call with J. Zatz (A&M) re: same (.80).
03/01/2023 Daniel O'Hara                   2.60 Draft and revise Rule 2004 requests for examination
                                                (.60); draft and revise production letters (1.5);
                                                correspondence with S&C team re: same (.20); revise
                                                motion seeking issuance of Rule 2004 requests (.30).
03/01/2023 Samantha Rosenthal              0.50 Draft follow-up questions to relevant third party re:
                                                Rule 2004 request response.
03/01/2023 Matthew Strand                  2.90 Meeting with S. Wheeler and B. Harsch re: debtor
                                                entity and federal regulator document requests (.30);
                                                coordinate with S&C e-discovery team and FTI re:
                                                various production matters (2.6).
03/01/2023 Jason Gallant                   2.70 Coordinate production letters for weekly production
                                                (1.3); answer questions escalated from first-level
                                                reviewers (.10); coordinate production to states (.20);
                                                review documents escalated from first-level reviewers
                                                (1.1).
03/01/2023 Emma Downing                    0.70 Research re: Rule 2004 information for parties to a
                                                transaction.
03/01/2023 Natalie Hills                   3.50 Review documents re: transaction of interest.
03/01/2023 Phoebe Lavin                    6.40 Review document batches assigned to associate
                                                review for responsiveness, privilege and other issues
                                                (2.0); gather and review documents re: HFSC request
                                                (4.4).
03/01/2023 Keila Mayberry                  1.10 Draft documents summaries for batches assigned to
                                                associate review for responsiveness, privilege and
                                                other issues (.80); review of documents re: SDNY
                                                priority request (.30).
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Date        Name                        Hours Description

03/01/2023 Aneesa Mazumdar                5.30 Review document batches assigned to associate
                                               review for responsiveness, privilege and other issues
                                               (2.6); review documents for SDNY request (2.7).
03/01/2023 Luke Ross                      1.40 Review documents for SDNY request re: transaction
                                               of interest.
03/01/2023 William Scheffer               1.40 Review documents re: SDNY request.
03/01/2023 Bonifacio Abad                 7.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/01/2023 Fareed Ahmed                  11.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/01/2023 Ehi Arebamen                   9.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/01/2023 Jenna Dilone                   5.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/01/2023 LaToya Edwards                 9.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/01/2023 Camille Flynn                 10.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/01/2023 Joshua Hazard                  9.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues (8.3);
                                               correspondence with S&C team re: regulatory
                                               compliance issues review (.30); conference call with
                                               D. Samuel re: regulatory compliance issues review
                                               (.60).
03/01/2023 Sally Hewitson                 7.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/01/2023 Nicole Isacoff                 4.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/01/2023 Sherry Johnson                 7.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/01/2023 Frank Jordan                  13.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
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Date        Name                        Hours Description
03/01/2023 Serge Koveshnikoff            12.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/01/2023 Robin Perry                    4.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/01/2023 Robert Providence              6.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/01/2023 Nicolette Ragnanan             5.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/01/2023 Dawn Samuel                    5.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues (4.5);
                                               conference call with J. Hazard re: regulatory
                                               compliance issues review (.60).
03/01/2023 Mary McMahon                   5.20 Call with Z. Flegenheimer, J. Gilday, E. Newman, C.
                                               Fanning, N. Wolowski and FTI (various) re:
                                               document collection and processing (.70);
                                               correspondence re: review with FTI and the case team
                                               (2.0); review of the metric reports (.50);
                                               correspondence with FTI and the case team re:
                                               production updates (2.0).
03/01/2023 Carrie Fanning                 0.70 Call with Z. Flegenheimer, J. Gilday, E. Newman, M.
                                               McMahon, N. Wolowski and FTI (various) re:
                                               document collection and processing.
03/01/2023 Joseph Gilday                  3.40 Call with Z. Flegenheimer, E. Newman, C. Fanning,
                                               M. McMahon, N. Wolowski and FTI (various) re:
                                               document collection and processing (.70); attention to
                                               quality check of production volumes (.80); email with
                                               J. Gallant re: population of production volume (.10);
                                               attention to transfer of selected documents (.10);
                                               attention to processing of data for production volumes
                                               (.90); update S&C e-discovery team chain of custody
                                               records (.50); email with M. Strand and FTI re:
                                               database search request (.10); review correspondence
                                               re: document collections and searches (.20).
03/01/2023 Eric Newman                    2.00 Call with Z. Flegenheimer, J. Gilday, C. Fanning, M.
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                                                McMahon, N. Wolowski and FTI (various) re:
                                                document collection and processing (.70);
                                                correspondence with internal team and FTI re: federal
                                                law enforcement subpoena (.20); correspondence
                                                with case team re: debtor entity collection (.30);
                                                update internal project playbook documentation (.80).
03/01/2023 Nicholas Wolowski              0.70 Call with Z. Flegenheimer, J. Gilday, E. Newman, C.
                                               Fanning, M. McMahon and FTI (various) re:
                                               document collection and processing.
03/01/2023 Eileen Yim                     0.10 Retrieve production volume from FTI file transfer
                                               server.
03/02/2023 Stephanie Wheeler              1.10 Call with D. O'Hara re: SDNY production letter (.10);
                                               correspondence with J. Sime (Embed) re: FTI data
                                               protection addendum (.30); further revise talking
                                               points for call with CFTC re: document production
                                               (.60); meeting with Z. Flegenheimer re: device and
                                               signal data collection (.10).
03/02/2023 Brian Glueckstein              0.50 Consider Rule 2004 request and other discovery
                                               matters and follow-up with S&C team.
03/02/2023 Christopher Howard             0.60 Review third party requests for documents.
03/02/2023 Christopher Dunne              2.50 Prepare for calls with Landis, B. Glueckstein, and
                                               counsel for former FTX personnel re: Rule 2004
                                               requests (1.4); review Rule 2004 requests status and
                                               outreach to various request recipients (.40); internal
                                               correspondence re: same (.30); call with D. O’Hara,
                                               M. Levin and J. Weinstein re: Rule 2004 requests and
                                               asset recovery (.40).
03/02/2023 Anthony Lewis                  0.80 Review Rule 2004 discovery materials (.40);
                                               correspondence with S&C, Landis and relevant third
                                               parties re: Rule 2004 discovery requests (.40).
03/02/2023 Bradley Harsch                 0.90 Circulate production and FOIA letters for debtor
                                               entity production (.10); review S. Wheeler comments
                                               on talking points for CFTC call (.40); review S.
                                               Wheeler email to CFTC re: call re: requests (.10);
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                                                email S&C team re: inquiry for state law enforcement
                                                (.10); review and email S&C team re: revise talking
                                                points for CFTC call on debtor entity requests (.10);
                                                email state law enforcement re: query on subpoena
                                                response (.10).
03/02/2023 William Wagener                0.50 Call with J. Rosenfeld, U. Eze and P. Lavin re:
                                               response to HFSC request.
03/02/2023 Michele Materni                0.20 Meeting with Z. Flegenheimer re: responding to
                                               SDNY requests.
03/02/2023 Mark Bennett                   1.60 Revise draft logs of documents withheld from and
                                               produced with redactions.
03/02/2023 Kathleen Donnelly              3.20 Correspondence with S&C team and review
                                               documents re: draft production letters (1.0);
                                               correspondence with S&C team and review
                                               documents re: response to states (2.2).
03/02/2023 Zoeth Flegenheimer             4.70 Coordinate with FTX personnel re: device collection
                                               (.40); coordinate with S. Wheeler re: device collection
                                               (.10); review documents in response to SDNY
                                               requests (2.1); coordinate with S&C e-discovery
                                               team re: managing user access to document database
                                               (.10); coordinate with J. Sedlak re: managing user
                                               access to document database and collecting FTX data
                                               (.50); review documents escalated from first-level
                                               reviewers (.20); review and respond to analyst
                                               questions re: document review (.30); coordinate with
                                               M. Materni re: responding to SDNY requests (.20);
                                               meeting with S. Wheeler re: device and signal data
                                               collection (.10); meeting with M. Materni re:
                                               responding to SDNY requests (.20); coordinate with
                                               FTI re: preparing searches, device collection, and
                                               Slack data collection (.30); coordinate with E.
                                               Downing re: document review (.20).
03/02/2023 Jared Rosenfeld                2.70 Research and correspond with S&C team re:
                                               production to HFSC (2.2); call with U. Eze, W.
                                               Wagener and P. Lavin re: response to HFSC request
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                                                (.50).
03/02/2023 Alexander Holland              3.40 Draft response to SDNY request for documents.
03/02/2023 Daniel O'Hara                  3.30 Revise motion seeking issuance of Rule 2004 request
                                               (2.2); draft and revise production letters (.50);
                                               summarize status of Rule 2004 requests for
                                               examination (.50); call with S. Wheeler re: SDNY
                                               production letter (.10).
03/02/2023 Matthew Strand                 5.30 Coordinate productions and document access with
                                               S&C e-discovery team and FTI (.90); review prior
                                               productions for documents related to Relevant Third
                                               Party (1.3); review documents for privilege and
                                               responsiveness (3.1).
03/02/2023 Ugonna Eze                     0.50 Call with J. Rosenfeld, W. Wagener and P. Lavin re:
                                               response to HFSC request.
03/02/2023 Jason Gallant                  2.80 Review document batches assigned to associate
                                               review for responsiveness, privilege and other issues.
03/02/2023 Emma Downing                   1.10 Revise Rule 2004 motion.
03/02/2023 Phoebe Lavin                   2.10 Call with W. Wagener, J. Rosenfeld and U. Eze re:
                                               response to HFSC request (.50); gather and review
                                               documents re: HFSC request (1.6).
03/02/2023 Aneesa Mazumdar                3.70 Review quality check batches assigned to associate
                                               review for responsiveness, privilege and other issues.
03/02/2023 Bonifacio Abad                 5.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/02/2023 Fareed Ahmed                  11.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/02/2023 Ehi Arebamen                   9.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/02/2023 Jenna Dilone                   6.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/02/2023 LaToya Edwards                 8.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
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Date        Name                        Hours Description
03/02/2023 Camille Flynn                 10.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/02/2023 Joshua Hazard                  4.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues (4.5);
                                               correspondence with S&C team re: regulatory
                                               compliance issues review (.10).
03/02/2023 Nicole Isacoff                 6.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/02/2023 Sherry Johnson                 4.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/02/2023 Frank Jordan                  12.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/02/2023 Serge Koveshnikoff            11.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/02/2023 Robin Perry                    8.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/02/2023 Robert Providence             10.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/02/2023 Dawn Samuel                    6.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/02/2023 Mary McMahon                   5.00 Correspondence with FTI on data collection and
                                               processing (2.0); correspondence with the case team
                                               on review pace, ad hoc productions and linear review
                                               (2.0); correspondence with the case team on privilege
                                               review (1.0).
03/02/2023 Joseph Gilday                  3.00 Call with F. Sheikh, E. Newman, N. Wolowski,
                                               A&M (various) and FTI (various) re: update on
                                               A&M’s data collection (.50); attention to quality
                                               check of production volume (.40); email with K.
                                               Donnelly and FTI re: Slack metadata issue (.20);
                                               attention to regulator access to production volume
                                               (.70); update S&C e-discovery team chain of custody
                                               records (.30); review email re: document collections
                                               and searches (.10); email with E. Newman and M.
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Date        Name                        Hours Description

                                                McMahon re: deduplication of email threads (.10);
                                                email with K. Donnelly re: finding Bates numbers of
                                                selected documents (.10); update production log
                                                (.30); transfer matter data to physical media (.30).
03/02/2023 Eric Newman                    3.10 Call with F. Sheikh, N. Wolowski, J. Gilday, A&M
                                               (various) and FTI (various) re: update on A&M’s data
                                               collection (.50); update internal project playbook
                                               documentation (1.4); correspondence with internal
                                               team re: email threading (.20); correspondence with
                                               internal team re: security controls over all database
                                               users (.40); review project reports from FTI re:
                                               collection, processing and production (.60).
03/02/2023 Faisal Sheikh                  0.50 Call with E. Newman, N. Wolowski, J. Gilday, A&M
                                               (various) and FTI (various) re: update on A&M data
                                               collection.
03/02/2023 Wayne Walther                  1.20 Run technical quality check on production volume
                                               (1.0); correspondence with J. Gilday re: findings of
                                               outgoing production, metadata summary and
                                               production reports (.20).
03/02/2023 Nicholas Wolowski              0.40 Call with F. Sheikh, E. Newman, J. Gilday, A&M
                                               (various) and FTI (various) re: update on A&M’s data
                                               collection.
03/02/2023 Eileen Yim                     0.40 Create production copies of production volumes
                                               (.30); coordinate with S&C team to assist with
                                               production media of production volumes (.10).
03/03/2023 Stephanie Wheeler              0.20 Correspondence with Z. Flegenheimer re: database
                                               access (.10); review email to state law enforcement re:
                                               productions and requesting a call (.10).
03/03/2023 Christopher Dunne              0.80 Call with D. O’Hara, M. Summers (Ballard Spahr),
                                               D. Arellano (Herrera Arellano) and D. Fox (Herrera
                                               Arellano) re: real estate issues (.40); separate
                                               correspondence with S. Wheeler and J. Croke re: real
                                               estate issues (0.4).
03/03/2023 Jacob Croke                    0.40 Analyze issues re: SDNY priority requests and
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                                                potential materials for production (.30),
                                                correspondence to S. Wheeler re: same (.10).
03/03/2023 Bradley Harsch                 2.00 Review J. McDonald comments on talking points for
                                               CFTC call (.20); review and revise talking points for
                                               CFTC call (.10); review email re: CFTC request on
                                               relevant third party database (.10); email M. Beville
                                               (WilmerHale) re: confidentiality language for debtor
                                               entity documents (.20); email J. Peck (DOJ) re:
                                               contact information for law enforcement office
                                               requests (.10); review and email re: production for
                                               federal law enforcement (.30); finalize and circulate
                                               federal law enforcement production letters (.30);
                                               finalize and circulate state law enforcement production
                                               letters and FOIA letters (.40); review J. Gallant email
                                               re: federal law enforcement email address (.10); email
                                               S. Cohen Levin re: call with state law enforcement
                                               (.10); email A. Lewis re: outreach from DOJ on law
                                               enforcement office contact (.10).
03/03/2023 Jonathan Sedlak                0.30 Call between Z. Flegenheimer, S. Dooley, J. Gilday,
                                               C. Fanning, N. Wolowski and FTI re: document
                                               collection and processing.
03/03/2023 Mark Bennett                   2.50 Revise draft log of withheld and redacted documents
                                               (.60); research re: common interest privilege (.80);
                                               meeting with A. Thompson, M. McMahon, S.
                                               Hewitson, R. Perry, N. Isacoff, P. Baskerville re:
                                               privilege review (.70); correspondence with J. Sedlak,
                                               A. Thompson, M. McMahon, S. Hewitson, N.
                                               Isacoff, P. Baskerville re: same (.40).
03/03/2023 Kathleen Donnelly              3.70 Correspondence with S&C team re: productions
                                               (0.3); draft talking points and production email in
                                               response to states (3.4).
03/03/2023 Zoeth Flegenheimer             6.20 Review and respond to analyst questions re: document
                                               review (.10); coordinate with FTI re: document review
                                               and production, data processing, Slack collection and
                                               database access (.70); review documents in response
                                               to SDNY priority requests (1.4); coordinate with
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Date        Name                        Hours Description

                                                S&C e-discovery team re: database access and
                                                preserving FTX data (.70); coordinate with J. Sedlak
                                                re: preserving FTX data and Slack collection (.90);
                                                coordinate with E. Downing re: document review in
                                                response to SDNY request (.10); coordinate with H.
                                                Chambers (A&M) re: preserving FTX data (.10);
                                                coordinate with S. Ehrenberg and S. Wheeler re: data
                                                collection (.20); coordinate with M. Strand and N.
                                                Hills re: document review in response to SDNY
                                                requests (.20); coordinate with S. Wheeler re:
                                                document database access (.10);review document
                                                batches assigned to associate review for
                                                responsiveness, privilege and other issues (.10); call
                                                with J. Gilday, S. Dooley, E. Newman, R. Perubhatla
                                                (RLKS) and FTI (various) re: document collection
                                                and processing (1.3); call between S. Dooley, J.
                                                Gilday, C. Fanning, W. Walther, N. Wolowski and
                                                FTI (various) re: document collection and processing
                                                (.30).
03/03/2023 Jared Rosenfeld                1.20 Research and correspond with S&C team re:
                                               production to HFSC.
03/03/2023 Andrew Thompson                2.10 Review draft privilege log and prepare recommended
                                               revisions and guidance for future review (1.4); call
                                               with M. Bennett, M. McMahon, S. Hewitson, N.
                                               Isacoff and P. Baskerville re: privilege review (.70).
03/03/2023 Alexander Holland              1.00 Draft response to SDNY request for documents.
03/03/2023 Daniel O'Hara                  1.10 Call with E. Downing re: privilege redaction question
                                               (.20); correspondence re: status of Rule 2004
                                               requests (.20); review notes in anticipation of call re:
                                               Rule 2004 requests (.20); revise meet and confer
                                               notes (.40); review correspondence re: production
                                               questions (.10).
03/03/2023 Matthew Strand                 2.30 Revise CFTC talking points based on comments from
                                               J. McDonald (.70); further review prior productions
                                               for relevant third party documents (.70); review
                                               documents re: transaction of interest (.90).
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Date         Name                        Hours Description

03/03/2023 Jason Gallant                   1.50 Coordinate outgoing productions.
03/03/2023 Emma Downing                    2.10 Review documents escalated from first-level reviewers
                                                (1.9); call with D. O'Hara re: privilege redaction
                                                question (.20).
03/03/2023 Phoebe Lavin                    3.20 Gather and review documents re: HFSC request.
03/03/2023 Keila Mayberry                  1.30 Review Alix's draft correspondence with FTI re:
                                                relevant third party and correspondence with S&C
                                                team re: the same.
03/03/2023 Stepan Atamian                  1.50 Update various regulator production log.
03/03/2023 Fareed Ahmed                   12.10 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/03/2023 Ehi Arebamen                   10.80 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/03/2023 Phillip Baskerville             0.70 Call with M. Bennett, A. Thompson, S. Hewitson, N.
                                                Isacoff and M. McMahon re: privilege review.
03/03/2023 LaToya Edwards                  7.00 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/03/2023 Camille Flynn                  10.30 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/03/2023 Joshua Hazard                  12.50 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues (12.3);
                                                correspondence with S&C team re: regulatory
                                                compliance issues review (.10); correspondence with
                                                S&C team re: relevant third party review (.10).
03/03/2023 Sally Hewitson                  1.70 Call with M. Bennett, A. Thompson, N. Isacoff, P.
                                                Baskerville and M. McMahon re: privilege review
                                                (.70); review document batches assigned to analyst
                                                review for responsiveness, privilege and other issues
                                                (1.0).
03/03/2023 Nicole Isacoff                  6.00 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues (5.3);
                                                meeting with A. Thompson, M. McMahon, S.
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                                                Hewitson, M. Bennett and P. Baskerville re: privilege
                                                review (.70).
03/03/2023 Sherry Johnson                 1.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/03/2023 Frank Jordan                  13.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/03/2023 Serge Koveshnikoff            12.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/03/2023 Georgia Maratheftis            4.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/03/2023 Robert Providence              5.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/03/2023 Nicolette Ragnanan             3.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/03/2023 Dawn Samuel                    9.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/03/2023 Mary McMahon                   2.50 Correspondence with FTI and the case team on
                                               review and production updates (1.8); meeting with A.
                                               Thompson, M. Bennett, S. Hewitson, N. Isacoff, P.
                                               Baskerville re: privilege review (.70).
03/03/2023 Stephen Dooley                 1.60 Call with Z. Flegenheimer, J. Gilday, E. Newman, R.
                                               Perubhatla (RLKS) and FTI (various) re: document
                                               collection and processing (1.3); call with Z.
                                               Flegenheimer, J. Gilday, C. Fanning, N. Wolowski,
                                               W. Walther and FTI (various) re: document collection
                                               and processing (.30).
03/03/2023 Carrie Fanning                 0.30 Call with Z. Flegenheimer, S. Dooley, J. Gilday, N.
                                               Wolowski and FTI (various) re: document collection
                                               and processing.
03/03/2023 Joseph Gilday                  3.30 Call with Z. Flegenheimer, S. Dooley, E. Newman, R.
                                               Perubhatla (RLKS) and FTI (various) re: document
                                               collection and processing (1.3); call between J.
                                               Sedlak, Z. Flegenheimer, S. Dooley, C. Fanning, N.
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                                                Wolowski, W. Walther and FTI (various) re:
                                                document collection and processing (.30); attention to
                                                quality check of production volumes (.70); attention to
                                                processing of data for production volume (.30);
                                                update S&C e-discovery team chain of custody
                                                records (.20); review email re: document collections
                                                and searches (.10); attention to extraction of produced
                                                documents sent to P. Lavin (.20); email with J.
                                                Rosenfeld re: production of Slack channel
                                                spreadsheets (.20).
03/03/2023 Eric Newman                    4.30 Call with Z. Flegenheimer, J. Gilday, S. Dooley, R.
                                               Perubhatla (RLKS) and FTI (various) re: document
                                               collection and processing (1.3); correspondence with
                                               internal team re: Slack channels (.50); update project
                                               playbook documentation (1.8); correspondence with
                                               internal team re: FTX data (.60); correspondence with
                                               internal team and FTI re: transmittal of video files
                                               (.10).
03/03/2023 Wayne Walther                  1.20 Run technical quality check on production volume
                                               (.40); correspondence with J. Gilday re: the quality
                                               check findings, metadata summary and production
                                               reports (.10); run technical quality check on
                                               production volume (.30); correspondence with J.
                                               Gilday re: the quality check findings on volume,
                                               metadata summary and production reports (.10);
                                               conference call with Z. Flegenheimer, S. Dooley, J.
                                               Gilday, C. Fanning, N. Wolowski, and FTI (various)
                                               re: document collection and processing (.30).
03/03/2023 Nicholas Wolowski              0.30 Call with Z. Flegenheimer, S. Dooley, J. Gilday, C.
                                               Fanning, W. Walther and FTI (various) re: document
                                               collection and processing.
03/04/2023 Jared Rosenfeld                0.80 Research and correspond with S&C team re:
                                               production to HFSC.
03/04/2023 Tatum Millet                   0.50 Correspondence to S. Wheeler re: description of
                                               FTI's work.
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03/04/2023 Bonifacio Abad                  4.80 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/04/2023 LaToya Edwards                 10.20 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/04/2023 Camille Flynn                   6.90 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/04/2023 Joshua Hazard                   7.70 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/04/2023 Sally Hewitson                 13.80 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/04/2023 Sherry Johnson                  2.20 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/04/2023 Frank Jordan                   10.50 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/04/2023 Serge Koveshnikoff             12.50 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/04/2023 Georgia Maratheftis             8.00 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/04/2023 Robin Perry                     8.40 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/04/2023 Robert Providence               7.90 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/05/2023 Kathleen Donnelly               1.80 Revised talking points for call with states (1.6); review
                                                and revise production guidance document (.20).
03/05/2023 Matthew Strand                  1.30 Update and revise production checklist (1.1); prepare
                                                and send informal production materials to SDNY
                                                (.20).
03/05/2023 Natalie Hills                   4.40 Review documents re: transaction of interest (.90);
                                                production quality check review (3.5).
03/05/2023 Phoebe Lavin                    1.10 Gather and review documents re: HFSC request.
03/05/2023 Keila Mayberry                  1.60 Review document batches assigned to associate
                                                review for responsiveness, privilege and other issues
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                                               (1.4); summarize documents escalated from first-level
                                               reviewers (.20).
03/05/2023 Bonifacio Abad                 5.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/05/2023 Ehi Arebamen                   7.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/05/2023 LaToya Edwards                 8.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/05/2023 Camille Flynn                  3.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/05/2023 Joshua Hazard                  7.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/05/2023 Sally Hewitson                 1.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/05/2023 Nicole Isacoff                 3.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/05/2023 Sherry Johnson                 3.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/05/2023 Frank Jordan                   9.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/05/2023 Serge Koveshnikoff             7.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/05/2023 Robin Perry                    8.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/05/2023 Robert Providence              8.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/05/2023 Dawn Samuel                    9.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/06/2023 Stephanie Wheeler              0.40 Meeting with E. Pendleton (CFTC), A. Schrimf
                                               (CFTC), J. Patrick (CFTC), B. Harsch and M.
                                               Strand re: debtor entity productions (.40).
03/06/2023 Christopher Dunne              0.50 Call with C. Dunne, D. O’Hara, M. Summers (Ballard
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                                                Spahr), N. Botwinick (Ballard Spahr), and D.
                                                Arellano (Herrera Arellano) re: Rule 2004 requests
                                                (.30); correspondence with S&C team and counsel
                                                for former FTX personnel re: former FTX personnel
                                                productions and next steps (0.2).
03/06/2023 Nicole Friedlander             0.10 Emails with FTI team re: former FTX personnel
                                               device.
03/06/2023 Anthony Lewis                  0.10 Correspondence with S&C and Landis teams re: Rule
                                               2004 requests for discovery.
03/06/2023 Bradley Harsch                 0.90 Meeting with E. Pendleton (CFTC), A. Schrimf
                                               (CFTC), J. Patrick (CFTC), S. Wheeler and M.
                                               Strand re: debtor entities productions (.40); review
                                               and email A&M re: new summonses from federal law
                                               enforcement (.30); email J. Gallant re: production for
                                               federal law enforcement re: new summonses (.10);
                                               email J. Gallant re: federal law enforcement emails
                                               (.10).
03/06/2023 Jonathan Sedlak                0.70 Call with Z. Flegenheimer, M. McMahon, S. Dooley,
                                               J. Gilday, E. Newman, F. Sheikh, C. Fanning, N.
                                               Wolowski and FTI (various) re: document collection
                                               and processing.
03/06/2023 Mark Bennett                   0.40 Review documents re: former Alameda employee
                                               settlement agreement for production.
03/06/2023 Kathleen Donnelly              5.20 Meeting with D. O'Hara, M. Sadat, M. Strand and J.
                                               Gallant re: production team training (.60); call with E.
                                               Newman re: Slack data (.30); correspondence with
                                               S&C team re: productions (.40); review draft
                                               production letter (.70); review data and revise draft
                                               talking points to the states in connection with
                                               productions (3.2).
03/06/2023 Zoeth Flegenheimer             3.40 Call with J. Sedlak, M. McMahon, S. Dooley, J.
                                               Gilday, E. Newman, F. Sheikh, C. Fanning, N.
                                               Wolowski and FTI (various) re: document collection
                                               and processing (.70); prepare documents for
                                               production (.10); coordinate with J. Sedlak re: Slack
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                                                collection (.10); review documents in response to
                                                SDNY priority requests (.70); coordinate with A.
                                                Holland re: Slack collection (.10); coordinate with S.
                                                Wheeler re: production of records (.50); coordinate
                                                with K. Donnelly re: document productions (.10);
                                                coordinate with FTI re: user access, preparing
                                                searches and Slack autodeletion settings (.40);
                                                coordinate with associate team re: document review
                                                (.60); coordinate with N. Hills re: responding to
                                                first-level review questions (.10).
03/06/2023 Meaghan Kerin                  0.10 Correspondence with S. Rosenthal and Landis re:
                                               relevant third party Rule 2004 productions.
03/06/2023 Jared Rosenfeld                1.70 Research and correspond with S&C team re:
                                               production to HFSC.
03/06/2023 Alexander Holland              0.50 Correspond with S&C e-discovery team and FTI re:
                                               production to SDNY (.40); correspond with analyst
                                               team re: document review questions (.10).
03/06/2023 Daniel O'Hara                  3.30 Review documents for production (2.0); update Rule
                                               2004 tracker (.10); review notes in preparation for
                                               meet and confer call (.10); revise notes from meet and
                                               confer (.20); meeting with K. Donnelly, M. Sadat, M.
                                               Strand and J. Gallant re: production team training
                                               (.60); call with C. Dunne, M. Summers (Ballard
                                               Spahr), N. Botwinick (Ballard Spahr), and D.
                                               Arellano (Herrera Arellano) re: Rule 2004 requests
                                               (.30).
03/06/2023 Samantha Rosenthal             1.30 Correspondence with A. Lewis, H. Robertson
                                               (Landis), M. McGuire (Landis) re: relevant third party
                                               supplemental production (.20); revise Rule 2004
                                               request tracker (.30); review research re: third-party
                                               discovery from a foreign entity (.60); draft summary
                                               re: same (.20).
03/06/2023 Medina Sadat                   2.10 Meeting with K. Donnelly, D. O'Hara, M. Strand, and
                                               J. Gallant re: production team training (.60); review of
                                               document production protocol (.30); conduct quality
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                                                 check on document production (1.2).
03/06/2023 Matthew Strand                  1.00 Meeting with D. O'Hara, M. Sadat, K. Donnelly and
                                                J. Gallant re: production team training (.60); meeting
                                                with E. Pendleton (CFTC), A. Schrimf (CFTC), J.
                                                Patrick (CFTC), S. Wheeler and B. Harsch re: debtor
                                                entity productions (.40).
03/06/2023 Jason Gallant                   1.80 Correspondence with S&C team re: production
                                                coordination (1.2); meeting with K. Donnelly, D.
                                                O'Hara, M. Sadat and M. Strand re: production team
                                                training (.60).
03/06/2023 Natalie Hills                   0.90 Answer questions escalated from first-level reviewers
                                                (.20); review documents escalated from first-level
                                                reviewers (.70).
03/06/2023 Phoebe Lavin                    3.60 Review document batches assigned to associate
                                                review for responsiveness, privilege and other issues
                                                (2.8); compile documents re: HFSC request (.80).
03/06/2023 Keila Mayberry                  0.70 Review of documents re: transaction of interest.
03/06/2023 William Scheffer                1.00 Review document batches assigned to associate
                                                review for responsiveness, privilege and other issues.
03/06/2023 Victoria Shahnazary             0.20 Update production log with recent productions.
03/06/2023 Bonifacio Abad                  6.90 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/06/2023 Fareed Ahmed                   11.90 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/06/2023 Ehi Arebamen                   10.00 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/06/2023 LaToya Edwards                  7.50 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/06/2023 Camille Flynn                  10.70 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/06/2023 Joshua Hazard                  10.00 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues (9.9);
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Date        Name                        Hours Description

                                                correspondence with S&C team re: regulatory
                                                compliance issues review (.10).
03/06/2023 Sally Hewitson                 7.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/06/2023 Nicole Isacoff                 2.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/06/2023 Sherry Johnson                 6.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/06/2023 Frank Jordan                  13.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/06/2023 Serge Koveshnikoff            11.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/06/2023 Robin Perry                    7.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/06/2023 Robert Providence              8.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/06/2023 Nicolette Ragnanan             4.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/06/2023 Mary McMahon                   3.20 Correspondence with FTI and the case team on
                                               productions and Slack information (2.5); call with J.
                                               Sedlak, Z. Flegenheimer, S. Dooley, J. Gilday, E.
                                               Newman, F. Sheikh, C. Fanning, N. Wolowski and
                                               FTI (various) re: document collection and processing
                                               (.70).
03/06/2023 Stephen Dooley                 0.70 Call with J. Sedlak, Z. Flegenheimer, M. McMahon,
                                               J. Gilday, E. Newman, F. Sheikh, C. Fanning, N.
                                               Wolowski and FTI (various) re: document collection
                                               and processing.
03/06/2023 Carrie Fanning                 0.70 Call with J. Sedlak, Z. Flegenheimer, M. McMahon,
                                               S. Dooley, J. Gilday, E. Newman, F. Sheikh, C.
                                               Fanning, N. Wolowski and FTI (various) re:
                                               document collection and processing.
03/06/2023 Joseph Gilday                  1.50 Call with J. Sedlak, Z. Flegenheimer, M. McMahon,
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                                                S. Dooley, E. Newman, F. Sheikh, C. Fanning, N.
                                                Wolowski and FTI (various) re: document collection
                                                and processing (.70); email with A. Holland re:
                                                production volume (.10); update S&C e-discovery
                                                team chain of custody records (.20); review email re:
                                                document productions and collections (.10); attention
                                                to password protect file (.30); email with S&C
                                                e-discovery team re: production volume for states
                                                (.10).
03/06/2023 Eric Newman                    3.20 Call with J. Sedlak, Z. Flegenheimer, M. McMahon,
                                               S. Dooley, J. Gilday, F. Sheikh, C. Fanning, N.
                                               Wolowski and FTI (various) re: document collection
                                               and processing (.70); call with K. Donnelly re: Slack
                                               data (.30); correspondence with internal team and FTI
                                               re: production of Slack data (.40); correspondence
                                               with internal team and FTI re: collection and
                                               processing metrics (.50); correspondence with internal
                                               team and FTI re: transmittal of transaction records
                                               (.50); update internal audit and tracking
                                               documentation (.80).
03/06/2023 Faisal Sheikh                  0.70 Call with J. Sedlak, Z. Flegenheimer, M. McMahon,
                                               S. Dooley, J. Gilday, E. Newman, C. Fanning, N.
                                               Wolowski and FTI (various) re: document collection
                                               and processing.
03/06/2023 Nicholas Wolowski              0.70 Call with J. Sedlak, Z. Flegenheimer, M. McMahon,
                                               S. Dooley, J. Gilday, E. Newman, F. Sheikh, C.
                                               Fanning and FTI (various) re: document collection and
                                               processing.
03/07/2023 Stephanie Wheeler              0.10 Review production letter to states.
03/07/2023 Anthony Lewis                  0.10 Correspondence with S&C and Landis teams re: Rule
                                               2004 discovery requests.
03/07/2023 Bradley Harsch                 0.60 Draft production, FOIA letter and cover emails for
                                               production.
03/07/2023 Mark Bennett                   0.20 Correspondence with FTI team re: document review
                                               database modification to identify current FTX
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Date        Name                         Hours Description

                                                 personnel.
03/07/2023 Kathleen Donnelly               1.40 Call with D. O'Hara re: privilege review (.40); review
                                                and revise talking points and draft email to states
                                                (0.8); correspondence with S&C team re: productions
                                                (.20).
03/07/2023 Zoeth Flegenheimer              2.30 Review documents in response to SDNY priority
                                                requests (.70); coordinate with associate team re:
                                                document review (.10); coordinate with D. O'Hara re:
                                                privilege review (.10); coordinate with S. Wheeler re:
                                                privilege review and Slack collection (.60); coordinate
                                                with M. McMahon re: document review (.10);
                                                coordinate with M. Materni re: responding to SDNY
                                                priority requests (.30); coordinate with FTI re: Slack
                                                collection and processing (.40).
03/07/2023 Alexander Holland               0.10 Correspond with S&C e-discovery team re:
                                                production to SDNY.
03/07/2023 Daniel O'Hara                   2.80 Review documents for production (2.4); call with K.
                                                Donnelly re: privilege review (.40).
03/07/2023 Jason Gallant                   2.40 Correspondence with S&C team re: outgoing
                                                productions (1.2); draft production letters to SDNY
                                                (.50); coordinate FTI re: processing of regulator
                                                productions (.20); correspondence with S&C team re:
                                                production of documents in advance of SDNY
                                                presentation (.50).
03/07/2023 Natalie Hills                   0.10 Summarize and compile documents escalated from
                                                first-level review.
03/07/2023 Keila Mayberry                  1.50 Review document batches assigned to associate
                                                review for responsiveness, privilege and other issues.
03/07/2023 Aneesa Mazumdar                 0.80 Review document batches assigned to associate
                                                review for responsiveness, privilege and other issues.
03/07/2023 Dario Rosario                   1.30 Search for produced versions of documents in the
                                                production database.
03/07/2023 Bonifacio Abad                  6.30 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
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Date        Name                        Hours Description

03/07/2023 Fareed Ahmed                  12.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/07/2023 Ehi Arebamen                  10.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/07/2023 Jenna Dilone                   6.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/07/2023 LaToya Edwards                 9.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/07/2023 Camille Flynn                  9.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/07/2023 Joshua Hazard                  6.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/07/2023 Sally Hewitson                 0.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/07/2023 Nicole Isacoff                 3.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/07/2023 Sherry Johnson                 4.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/07/2023 Serge Koveshnikoff            12.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/07/2023 Georgia Maratheftis           11.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/07/2023 Robin Perry                    8.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/07/2023 Robert Providence              5.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/07/2023 Nicolette Ragnanan             4.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/07/2023 Dawn Samuel                    6.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/07/2023 Mary McMahon                   2.00 Correspondence with FTI and the case team on
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Date        Name                        Hours Description

                                                upcoming review and productions.
03/07/2023 Stephen Dooley                 0.50 Bi-weekly meeting with E. Yim, W. Walther, J.
                                               Gilday, N. Wolowski, and E. Newman re: status
                                               updates.
03/07/2023 Joseph Gilday                  3.00 Bi-weekly meeting with E. Yim, W. Walther, N.
                                               Wolowski, S. Dooley and E. Newman re: status
                                               updates (.30 - partial attendance); attention to
                                               processing of data for production volumes (1.1); email
                                               with J. Gallant re: production volume (.20); update
                                               S&C e-discovery team chain of custody records
                                               (.10); email with Z. Flegenheimer re: review of former
                                               FTX personnel audio and video files (.20); email with
                                               S&C e-discovery team re: production volume to be
                                               produced to states (.10); attention to quality check of
                                               production volume (.50); search database for
                                               production versions of selected documents (.50).
03/07/2023 Eric Newman                    2.30 Bi-weekly meeting with E. Yim, W. Walther, J.
                                               Gilday, N. Wolowski and S. Dooley re: status updates
                                               (.50); review of reports related to collection,
                                               processing and production (.60); correspondence with
                                               internal team re: production volume (.20);
                                               correspondence with internal team and FTI re:
                                               transmittal of incoming former FTX personnel
                                               production (.40); correspondence with internal team
                                               and FTI re: transmittal of incoming SDNY production
                                               (.40); correspondence with FTI re: preparation of
                                               production volume (.20).
03/07/2023 Wayne Walther                  1.00 Bi-weekly meeting with E. Yim, J. Gilday, N.
                                               Wolowski, S. Dooley and E. Newman re: status
                                               updates (.50); perform technical quality check on
                                               production volume (.40); correspondence with J.
                                               Gilday re: the quality check findings of volume (.10).
03/07/2023 Nicholas Wolowski              0.50 Bi-weekly meeting with E. Yim, W. Walther, J.
                                               Gilday, S. Dooley and E. Newman re: status updates.
03/07/2023 Eileen Yim                     0.50 Bi-weekly meeting with W. Walther, J. Gilday, N.
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                                                Wolowski, S. Dooley and E. Newman re: status
                                                updates.
03/08/2023 Stephanie Wheeler              0.10 Call with Z. Flegenheimer re: production of records to
                                               SDNY.
03/08/2023 Brian Glueckstein              0.70 Correspondence with C. Dunne re: Rule 2004
                                               discovery responses and related (.40); follow-up re:
                                               discovery issues (.30).
03/08/2023 Christopher Dunne              1.40 Call with G. Dick (Cohen & Gresser) re: Rule 2004
                                               request and subsequent follow up correspondence
                                               with S&C team (1.0); correspondence with Rule
                                               2004 request recipients re: protective order (0.4).
03/08/2023 Anthony Lewis                  0.20 Correspondence with S&C, Landis and Sygnia teams
                                               re: Rule 2004 requests for discovery.
03/08/2023 Bradley Harsch                 4.00 Review email re: production numbers for federal law
                                               enforcement documents (.10); review FOIA language
                                               and research for federal law enforcement production
                                               (.30); revise production and FOIA letters for federal
                                               law enforcement production (.30); email final
                                               production and FOIA letters for federal law
                                               enforcement production (.10); review A&M email re:
                                               updated balance information (.10); review email to
                                               state law enforcement re: queries (.10); review and
                                               email re: production for federal law enforcement
                                               request (.20); review and email re: federal law
                                               enforcement query on summons response (.10);
                                               review response from federal law enforcement re:
                                               subpoena production (.10); review and email A&M
                                               and law enforcement office re: subpoena (.30); review
                                               and comment on debtor entity proposed confidentiality
                                               agreement for FTX custodial data (.30); email J.
                                               McDonald and S. Wheeler re: debtor entity proposed
                                               confidentiality agreement for FTX custodial data (.10);
                                               review and email J. Gallant re: response to federal law
                                               enforcement inquiry on produced data (.10); review
                                               and email A&M and law enforcement office re:
                                               subpoena (.50); email A&M re: call on balance data
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                                                updates (.10); draft production letters and cover
                                                emails for production to federal law enforcement
                                                (.60); draft production letters and cover emails for a
                                                separate production to another federal law
                                                enforcement (.60).
03/08/2023 Jonathan Sedlak                0.80 Call with Z. Flegenheimer, M. McMahon, S. Dooley,
                                               J. Gilday, E. Newman, N. Wolowski and FTI
                                               (various) re: document collection and processing.
03/08/2023 Mark Bennett                   3.30 Draft work plan re: review of privileged documents
                                               (.70); correspondence with S. Hewitson re: privilege
                                               issues (.50); correspondence with A. Holland, D.
                                               O'Hara, H. Masters re: review of documents
                                               escalated by first-level reviewers (.20); draft workplan
                                               re: review of privilege documents (.10);
                                               correspondence with J. Croke and S. Wheeler
                                               summarizing documents re: former Alameda personnel
                                               for production (1.8).
03/08/2023 Kathleen Donnelly              0.80 Correspondence with S&C team re: productions
                                               (.20); review and revise production letter (.30); review
                                               and revise draft talking points to states (.30).
03/08/2023 Zoeth Flegenheimer             2.10 Coordinate with S. Wheeler re: Slack data requested
                                               by SDNY (.10); coordinate with S. Yeargan re:
                                               relevant third party data (.10); coordinate with Sygnia
                                               re: relevant third party data (.10); coordinate with M.
                                               Cilia (RLKS) re: documents collection (.20);
                                               coordinate with FTI re: Slack collection (.40);
                                               produce Slack data to SDNY (.20); call with S.
                                               Wheeler re: production of records to SDNY (.10);
                                               call between J. Sedlak, M. McMahon, S. Dooley, J.
                                               Gilday, E. Newman, N. Wolowski and FTI (various)
                                               re: document collection and processing (.80);
                                               coordinate with M. Strand re: producing records to
                                               SDNY (.10).
03/08/2023 Meaghan Kerin                  0.10 Correspondence with J. Gilday re: document
                                               production issues.
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Date        Name                        Hours Description
03/08/2023 Jared Rosenfeld                0.60 Research and correspond with S&C team re:
                                               production to HFSC.
03/08/2023 Alexander Holland              0.10 Correspond with S&C e-discovery team re:
                                               production to SDNY.
03/08/2023 Daniel O'Hara                  2.40 Review documents for production (2.1); review
                                               correspondence re: production (.30).
03/08/2023 Samantha Rosenthal             0.50 Review relevant third party supplemental responses to
                                               Rule 2004 request (.40); correspondence with A.
                                               Lewis re: same (.10).
03/08/2023 Matthew Strand                 4.20 Call with D. O’Hara re: motion to compel (.10);
                                               coordinate with FTI re: production volume and other
                                               logistics (1.7); draft SDNY cover letter and revise
                                               same (1.6); send informal production materials to
                                               SDNY (.10); review question from SDNY re: relevant
                                               third party data and send update to J. Croke (.70).
03/08/2023 Jason Gallant                  0.20 Check and confirm questions escalated from first-level
                                               reviewers (.10); review outgoing production letter
                                               (.10).
03/08/2023 Keila Mayberry                 0.90 Review document batches assigned to associate
                                               review for responsiveness, privilege and other issues.
03/08/2023 Aneesa Mazumdar                1.50 Review document batches assigned to associate
                                               review for responsiveness, privilege and other issues.
03/08/2023 Dario Rosario                  1.60 Search for produced versions of documents in the
                                               production database.
03/08/2023 Bonifacio Abad                 4.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/08/2023 Fareed Ahmed                   8.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/08/2023 Ehi Arebamen                   9.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/08/2023 Jenna Dilone                   8.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
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Date        Name                        Hours Description
03/08/2023 Camille Flynn                  7.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/08/2023 Joshua Hazard                  7.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/08/2023 Sally Hewitson                 4.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/08/2023 Nicole Isacoff                 4.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/08/2023 Sherry Johnson                 8.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/08/2023 Frank Jordan                  13.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/08/2023 Georgia Maratheftis           11.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/08/2023 Robin Perry                    5.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/08/2023 Nicolette Ragnanan             3.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/08/2023 Dawn Samuel                    5.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/08/2023 Mary McMahon                   4.00 Correspondence with FTI and the case team on
                                               review and production sweeps (1.7); review metric
                                               reports and reviewer statistics (1.0); revise the work
                                               plan (.50); call between Z. Flegenheimer, J. Sedlak, S.
                                               Dooley, J. Gilday, E. Newman, N. Wolowski and FTI
                                               (various) re: document collection and processing (.80).
03/08/2023 Stephen Dooley                 0.80 Call with J. Sedlak, Z. Flegenheimer, M. McMahon,
                                               J. Gilday, E. Newman, N. Wolowski and FTI
                                               (various) re: document collection and processing.
03/08/2023 Joseph Gilday                  4.10 Call with J. Sedlak, Z. Flegenheimer, M. McMahon,
                                               S. Dooley, E. Newman, N. Wolowski and FTI
                                               (various) re: document collection and processing (.80);
                                               attention to processing of data for production volumes
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                                                (.30); update S&C e-discovery team chain of custody
                                                records (.70); attention to quality check of production
                                                volume (.40); update production log (1.1); research
                                                production dates for selected volumes to update FTI
                                                (.60); review email re: document collections and
                                                productions (.20).
03/08/2023 Eric Newman                    1.80 Call with J. Sedlak, Z. Flegenheimer, M. McMahon,
                                               S. Dooley, J. Gilday, N. Wolowski and FTI (various)
                                               re: document collection and processing (.80);
                                               correspondence with FTI re: former FTX personnel
                                               production (.20); correspondence with internal team
                                               and FTI re: exception file handling (.40); review
                                               project reporting (.40).
03/08/2023 Nicholas Wolowski              0.80 Call with J. Sedlak, Z. Flegenheimer, M. McMahon,
                                               S. Dooley, J. Gilday, E. Newman and FTI (various)
                                               re: document collection and processing.
03/08/2023 Eileen Yim                     0.10 Retrieve production volume from FTI's data
                                               preservation platform.
03/09/2023 Stephanie Wheeler              0.20 Meeting with Z. Flegenheimer and W. Scheffer re:
                                               data collection.
03/09/2023 James McDonald                 0.70 Correspondence with S&C team re: outstanding
                                               government requests and state approach and review
                                               of materials re: productions.
03/09/2023 Anthony Lewis                  0.50 Correspondence with S&C, Landis and Sygnia teams
                                               re: Rule 2004 discovery requests.
03/09/2023 Bradley Harsch                 1.50 Review email from federal law enforcement re:
                                               production (.10); review and email J. Gallant re:
                                               production to SDNY (.10); review FTI
                                               correspondence with S&C team re: production to
                                               federal law enforcement (.10); email S. Yeargan re:
                                               supplemental productions of balance and data (.10);
                                               review FTI email re: access to debtor entity Slack
                                               data (.10); call with S. Yeargan and K. Baker (A&M)
                                               re: updated balance data and documentation (.40);
                                               review and email J. Gallant re: materials for production
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                                                to federal law enforcement (.30); review J. Gallant
                                                email to S&C e-discovery team re: SDNY production
                                                (.10); email S&C team re: inquiry from state law
                                                enforcement (.10); draft follow up email on proposed
                                                debtor entity confidentiality agreement (.10).
03/09/2023 Shane Yeargan                  0.40 Call with B. Harsch and K. Baker (A&M) re: updated
                                               balance data and documentation.
03/09/2023 Christian Jensen               0.40 Correspondence with B. Glueckstein, QE team and
                                               bank counsel re: Rule 2004 request.
03/09/2023 Michele Materni                0.20 Call with Z. Flegenheimer re: document review and
                                               responding to SDNY priority requests.
03/09/2023 Zoeth Flegenheimer             0.90 Call with M. Materni re: document review and
                                               responding to SDNY priority requests (.20); meeting
                                               with W. Scheffer re: data collection (.20); meeting
                                               with S. Wheeler and W. Scheffer re: data collection
                                               (.20); respond to SDNY's question re: Slack
                                               production (.10); coordinate with S. Wheeler re:
                                               document collection (.10); coordinate with FTI and
                                               relevant third party re: data collection (.10).
03/09/2023 Meaghan Kerin                  0.20 Correspondence with N. Friedlander, A. Lewis and
                                               S. Rosenthal re: UCC requests.
03/09/2023 Jared Rosenfeld                1.10 Research and correspond with S&C team re:
                                               production to HFSC (.80); attend call with Alix re:
                                               same (.30).
03/09/2023 Alexander Holland              0.10 Correspond with S&C e-discovery team re:
                                               production to SDNY.
03/09/2023 Daniel O'Hara                  0.50 Review S&C correspondence re: weekly production
                                               (.40); respond re: same (.10).
03/09/2023 Samantha Rosenthal             1.20 Review relevant third party supplemental response to
                                               Rule 2004 request (.50); correspondence with M.
                                               Kerin re: same (.20); correspondence with A. Lewis,
                                               M. Kerin re: same (.10); correspondence with Sygnia
                                               re: follow-up questions re: same (.20);
                                               correspondence with H. Middleditch and L. Su re:
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Date        Name                        Hours Description

                                                discovery issue (.20).
03/09/2023 Matthew Strand                 5.60 Review and revise SDNY production letter based on
                                               comments from S. Wheeler (.70); coordinate with FTI
                                               and S&C e-discovery team re: weekly production
                                               volume and errors in data processing (1.20); draft and
                                               finalize mirror production and FOIA letters for CFTC,
                                               SEC and UCC (1.3); review documents for privilege
                                               and responsiveness (2.4).
03/09/2023 Jason Gallant                  0.60 Coordinate outgoing productions.
03/09/2023 William Scheffer               0.90 Call with relevant third party and FTI teams re:
                                               collection of data (.40); meeting with Z. Flegenheimer
                                               re: data collection from relevant third party (.20);
                                               meeting with S. Wheeler and Z. Flegenheimer re: data
                                               collection from relevant third party (.20);
                                               correspondence with Z. Flegenheimer re: data
                                               collection from relevant third party (.10).
03/09/2023 Fareed Ahmed                   9.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/09/2023 Ehi Arebamen                  10.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/09/2023 Jenna Dilone                   7.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/09/2023 LaToya Edwards                 9.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/09/2023 Camille Flynn                 10.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues (9.8);
                                               create and distribute production review tracking
                                               spreadsheet (.40); correspondence with analyst team
                                               re: specifics of review range (.10).
03/09/2023 Dawn Harris-Cox                9.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/09/2023 Sally Hewitson                 7.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
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Date        Name                        Hours Description
03/09/2023 Nicole Isacoff                 1.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/09/2023 Sherry Johnson                 4.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/09/2023 Frank Jordan                  12.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/09/2023 Serge Koveshnikoff            12.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/09/2023 Georgia Maratheftis           11.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/09/2023 Robin Perry                    7.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/09/2023 Robert Providence             10.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/09/2023 Dawn Samuel                    6.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/09/2023 Mary McMahon                   3.00 Correspondence with FTI on review and production
                                               (1.5); correspondence with the case team on privilege
                                               review (1.5).
03/09/2023 Joseph Gilday                  3.70 Attention to S&C data tracking matter summary
                                               questionnaires (.30); attention to processing of data
                                               for production volumes (.60); update S&C
                                               e-discovery team chain of custody records (.50);
                                               attention to quality check of production volume (.40);
                                               update production log (.20); review email re:
                                               document collections (.20); attention to issues with
                                               FTI data file transfers (.20); transfer matter data to
                                               physical media (1.3).
03/09/2023 Eric Newman                    0.70 Correspondence with internal team and FTI re:
                                               production of transaction data.
03/09/2023 Wayne Walther                  1.50 Perform technical quality check on outgoing
                                               production volume (1.3); correspondence with J.
                                               Gilday re: the quality check findings on production
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Date        Name                        Hours Description

                                                volume, metadata summary and production reports
                                                (.20).
03/09/2023 Eileen Yim                     0.40 Correspondence with S&C e-discovery team re:
                                               updating production volume (.20); create copies of
                                               production volume (.20).
03/10/2023 Bradley Harsch                 3.20 Correspondence with S. Wheeler re: debtor entity
                                               data and proposed confidentiality agreement (.50); call
                                               with state law enforcement re: claims process for fraud
                                               victim (.10); email FTI re: debtor entity data (.10);
                                               email state law enforcement re: clarification of
                                               transaction data in subpoena (.20); email A&M re:
                                               request from state law enforcement (.10); email J.
                                               Gallant re: productions for federal law enforcement
                                               (.10); finalize letters and email for production for
                                               federal law enforcement (.40); finalize letters and email
                                               for a separate production for federal law enforcement
                                               (.30); call with FTI re: debtor entity data (.20); email
                                               S. Wheeler and J. McDonald re: call with FTI re:
                                               debtor entity data (.10); review current FTX US
                                               personnel email re: loading of debtor entity Slack files
                                               (.10); email federal law enforcement re: documentation
                                               (.10); draft production letter, FOIA letter and cover
                                               email for production to SDNY (.60); review, research
                                               and email re: query from A. Kranzley re: production to
                                               federal regulator (.30).
03/10/2023 Christian Jensen               0.20 Correspondence with J. Penn (Perkins) and QE team
                                               re: Rule 2004 request.
03/10/2023 Mark Bennett                   1.20 Identify documents for production to SDNY and
                                               correspondence with N. Friedlander, S. Wheeler re:
                                               same (.90); correspondence with FTI re: same (.30).
03/10/2023 Kathleen Donnelly              0.10 Correspondence with S&C team re: productions.
03/10/2023 Zoeth Flegenheimer             1.20 Coordinate with associate team re: document review
                                               (.30); coordinate with FTI re: device collection (.10);
                                               review document batches assigned to associate review
                                               for responsiveness, privilege and other issues (.20);
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Date        Name                         Hours Description

                                                 coordinate with S&C e-discovery team re: processing
                                                 documents for production (.20); call with M.
                                                 McMahon, J. Gilday, E. Newman, N. Wolowski and
                                                 FTI (various) re: document collection and processing
                                                 (.40).
03/10/2023 Daniel O'Hara                   0.40 Review and respond to correspondence re:
                                                documents for production.
03/10/2023 Samantha Rosenthal              0.20 Correspondence with N. Friedlander, A. Lewis, M.
                                                Kerin and A. Holland re: Rule 2004 request and
                                                preservation letter to relevant third party (.10);
                                                correspondence with A. Lewis, M. McGuire (Landis)
                                                re: follow-up questions re: Rule 2004 request re:
                                                relevant third party (.10).
03/10/2023 Matthew Strand                  1.40 Review document batches assigned to associate
                                                review for responsiveness, privilege and other issues.
03/10/2023 Jason Gallant                   1.80 Conduct quality check on documents in database for
                                                SDNY production (1.1); coordinate outgoing
                                                productions (.70).
03/10/2023 Natalie Hills                   1.00 Review quality check batches assigned to associate
                                                review for responsiveness, privilege and other issues.
03/10/2023 Phoebe Lavin                    0.30 Review documents for privilege and responsiveness.
03/10/2023 Bonifacio Abad                  6.20 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/10/2023 Fareed Ahmed                    9.90 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/10/2023 Ehi Arebamen                    9.10 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/10/2023 Jenna Dilone                    8.90 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/10/2023 LaToya Edwards                  9.70 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/10/2023 Dawn Harris-Cox                 4.50 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
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03/10/2023 Joshua Hazard                 10.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/10/2023 Sally Hewitson                 3.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/10/2023 Nicole Isacoff                 2.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/10/2023 Sherry Johnson                 8.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/10/2023 Frank Jordan                  13.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/10/2023 Serge Koveshnikoff            12.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/10/2023 Georgia Maratheftis           11.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/10/2023 Robin Perry                    7.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/10/2023 Robert Providence              9.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/10/2023 Nicolette Ragnanan             2.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/10/2023 Mary McMahon                   5.50 Correspondence re: collections and processing with
                                               FTI (2.1); review processing and reviewer metric
                                               reports (1.0); correspondence with FTI and the case
                                               team re: edits to the privilege log subject matter enders
                                               (2.0); call between J. Gilday, Z. Flegenheimer, E.
                                               Newman, N. Wolowski and FTI (various) re:
                                               document collection and processing (.40).
03/10/2023 Stephen Dooley                 1.00 Call with E. Newman, FTI, FTX and A&M teams re:
                                               data collections.
03/10/2023 Joseph Gilday                  3.50 Call with Z. Flegenheimer, M. McMahon, E.
                                               Newman, N. Wolowski and FTI (various) re:
                                               document collection and processing (.40); update
                                               S&C e-discovery team chain of custody records
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Date        Name                        Hours Description

                                                (.50); attention to quality check of production volumes
                                                (1.4); update production log (.20); review email re:
                                                document collections and searches (.20);
                                                correspondence with FTI, E. Newman, N. Wolowski
                                                and E. Yim re: transfer to FTI of revised production
                                                volume (.30); email with E. Yim re: delivery plans for
                                                production volumes (.20); email with J. Gallant re:
                                                regulator access to production volume (.10); attention
                                                to processing of data for production volume (.20).
03/10/2023 Eric Newman                    3.40 Update project playbook and workflow
                                               documentation (1.7); correspondence with internal
                                               team and FTI re: production volume transmittal (.30);
                                               call between Z. Flegenheimer, M. McMahon, J.
                                               Gilday, N. Wolowski and FTI (various) re: document
                                               collection and processing (.40); call with S. Dooley,
                                               FTI, FTX and A&M teams re: data collections (1.0).
03/10/2023 Wayne Walther                  0.80 Perform technical quality check on outgoing
                                               production volume (.60); correspondence with J.
                                               Gilday re: the quality check findings on production
                                               volume, metadata summary and production reports
                                               (.20).
03/10/2023 Nicholas Wolowski              0.40 Call with Z. Flegenheimer, M. McMahon, J. Gilday,
                                               E. Newman and FTI (various) re: document collection
                                               and processing.
03/10/2023 Eileen Yim                     0.20 Upload finalized version of production volume to FTI's
                                               fileshare for FTI's record as requested by E. Newman
                                               (.10); retrieve production volume from FTI's fileshare
                                               (.10).
03/11/2023 Zoeth Flegenheimer             0.10 Coordinate with A. Margulies (Covington) re: device
                                               collection.
03/11/2023 Jason Gallant                  0.10 Prepare documents for law enforcement subpoena
                                               production.
03/11/2023 Keila Mayberry                 0.60 Review document batches assigned to associate
                                               review for responsiveness, privilege and other issues.
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Date        Name                        Hours Description
03/11/2023 Bonifacio Abad                 2.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/11/2023 Ehi Arebamen                   5.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/11/2023 Jenna Dilone                   2.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/11/2023 LaToya Edwards                 9.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/11/2023 Camille Flynn                  5.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues (4.5);
                                               update review summary for associate attention (.50).
03/11/2023 Joshua Hazard                 11.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/11/2023 Sally Hewitson                 2.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/11/2023 Nicole Isacoff                 3.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/11/2023 Sherry Johnson                 7.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/11/2023 Frank Jordan                  10.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/11/2023 Serge Koveshnikoff            11.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/11/2023 Georgia Maratheftis            9.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/11/2023 Robin Perry                    8.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/11/2023 Robert Providence              8.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/11/2023 Joseph Gilday                  0.10 Attention to quality check of production volume.
03/11/2023 Wayne Walther                  1.80 Perform technical quality check on outgoing
                                               production volume (1.6); correspondence with J.
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Date        Name                        Hours Description

                                                Gilday re: the quality check findings on production
                                                volume, metadata summary and production reports
                                                (.20).
03/12/2023 Bradley Harsch                 1.00 Review and correspondence with S&C team re:
                                               documents for state law enforcement production (.10);
                                               draft production letter and cover email for state law
                                               enforcement production (.30); review and email A&M
                                               re: new request from federal law enforcement (.20);
                                               draft email to federal law enforcement re: request
                                               (.10); draft production letter for federal law
                                               enforcement re: request (.20); review email re: current
                                               FTX US personnel Slack data production (.10).
03/12/2023 Zoeth Flegenheimer             0.30 Coordinate with FTI re: document production (.20);
                                               coordinate with M. McMahon re: document
                                               production (.10).
03/12/2023 Medina Sadat                   0.40 Review document batches assigned to associate
                                               review for responsiveness, privilege and other issues.
03/12/2023 Jason Gallant                  1.30 Review document batches assigned to associate
                                               review for responsiveness, privilege and other issues
                                               (.10); conduct quality check on documents for weekly
                                               SDNY production (.40); review documents for
                                               privilege (.80).
03/12/2023 Phoebe Lavin                   2.40 Review document batches assigned to associate
                                               review for responsiveness, privilege and other issues.
03/12/2023 Keila Mayberry                 0.60 Review document batches assigned to associate
                                               review for responsiveness, privilege and other issues.
03/12/2023 Aneesa Mazumdar                3.20 Review quality check batches assigned to associate
                                               review for responsiveness, privilege and other issues.
03/12/2023 Bonifacio Abad                 7.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/12/2023 LaToya Edwards                 6.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/12/2023 Dawn Harris-Cox                8.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
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Date        Name                        Hours Description

03/12/2023 Joshua Hazard                  4.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/12/2023 Nicole Isacoff                 4.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/12/2023 Sherry Johnson                 5.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/12/2023 Serge Koveshnikoff            12.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/12/2023 Georgia Maratheftis            5.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/12/2023 Robin Perry                    7.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/12/2023 Robert Providence              4.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/12/2023 Dawn Samuel                    8.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/13/2023 Stephanie Wheeler              0.50 Correspondence with S. Yeargan re: states request for
                                               debtor entity data (.10); email J. McDonald re: status
                                               of states requests and former FTX personnel (.10);
                                               correspondence with B. Harsch re: federal regulator
                                               subpoena (.10); correspondence with Mayer Brown,
                                               M. Strand, D. O'Hara re: former FTX personnel
                                               documents for redaction (.20).
03/13/2023 Christopher Dunne              0.60 Call with D. O’Hara, M. Summers (Ballard Spahr),
                                               N. Botwinick (Ballard Spahr), and D. Arellano
                                               (Herrera Arellano) re: document production issues
                                               (.30); call with D. O’Hara and G. Dick (Cohen &
                                               Gresser) re: Rule 2004 request (.30).
03/13/2023 Anthony Lewis                  0.20 Correspondence with S&C and Sygnia teams re: Rule
                                               2004 discovery requests.
03/13/2023 Kamil Shields                  2.10 Review materials re: commingling for production to
                                               HFSC (2.0); correspondence with J. Rosenfeld re:
                                               same (.10).
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Date        Name                        Hours Description

03/13/2023 Bradley Harsch                 1.60 Email A&M re: new request from federal law
                                               enforcement (.10); review J. Gallant email re: federal
                                               law enforcement contact (.10); draft FOIA letter and
                                               cover email for production to federal law enforcement
                                               (.60); email S. Wheeler re: federal regulator subpoena
                                               (.10); email FTI re: WilmerHale access to debtor
                                               entity data (.30); email federal law enforcement re:
                                               subpoena response (.10); email S. Wheeler, J.
                                               McDonald re: WilmerHale access to debtor entity
                                               data (.10); draft production and FOIA letters for
                                               federal law enforcement production (.20).
03/13/2023 Jonathan Sedlak                0.30 Call with Z. Flegenheimer, S. Dooley, J. Gilday, E.
                                               Newman, C. Fanning N. Wolowski and FTI (various)
                                               re: document collection and processing (partial
                                               attendance).
03/13/2023 Michele Materni                0.70 Meeting with Z. Flegenheimer re: responding to
                                               SDNY priority requests (.30); correspondence with J.
                                               Sedlak, S. Yeargan, M. Bennett, J. Rosenfeld, T.
                                               Millet, and A. Holland re: SDNY priority request
                                               status (.40).
03/13/2023 Mark Bennett                   0.60 Review documents for production and
                                               correspondence with M. Buttivant (FTI) re: same
                                               (.50); correspondence with M. Strand re: documents
                                               for production (.10).
03/13/2023 Zoeth Flegenheimer             2.90 Meeting with M. Materni re: responding to SDNY
                                               priority requests (.30); call with J. Sedlak, S. Dooley,
                                               J. Gilday, E. Newman, C. Fanning N. Wolowski and
                                               FTI (various) re: document collection and processing
                                               (.40); coordinate with associate team re: document
                                               review (.20); coordinate with M. McMahon re:
                                               document review and production (.10); coordinate
                                               with FTX personnel re: device collection (.30);
                                               prepare documents for production (.40); coordinate
                                               with M. Sadat re: document production (.10);
                                               coordinate with FTI re: preparing standardized
                                               workspace creation form (.20); coordinate with S.
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Date        Name                         Hours Description

                                                 Wheeler re: status of productions to SDNY (.20);
                                                 update SDNY request response tracker (.70).
03/13/2023 Jared Rosenfeld                 0.80 Correspondence with K. Shields re: potential
                                                production to HFSC (.20); research and correspond
                                                with S&C team re: production to HFSC (.60).
03/13/2023 Alexander Holland               1.40 Quality check documents to be produced to SDNY.
03/13/2023 Daniel O'Hara                   1.90 Review documents for production (.70); review and
                                                revise notes from call re: subpoena (.40); prepare for
                                                call re: subpoena (.20); call with C. Dunne, M.
                                                Summers (Ballard Spahr), N. Botwinick (Ballard
                                                Spahr), and D. Arellano (Herrera Arellano) re:
                                                document production issues (.30); call with C. Dunne,
                                                D. O’Hara and G. Dick (Cohen & Gresser) re: Rule
                                                2004 request (.30).
03/13/2023 Samantha Rosenthal              0.60 Correspondence with A. Lewis and Sygnia re: Rule
                                                2004 request follow-up questions re: relevant third
                                                party (.20); draft follow-up questions re: supplemental
                                                Rule 2004 request re: for relevant third party (.30);
                                                correspondences with A. Lewis and M. McGuire
                                                (Landis) re: same (.10).
03/13/2023 Medina Sadat                    2.50 Conduct quality check on document production (1.2);
                                                draft state production letter and correspondence with
                                                S&C team re: same (1.3).
03/13/2023 Matthew Strand                  1.30 Review documents for responsiveness and privilege.
03/13/2023 Ugonna Eze                      3.50 Conduct quality control of various documents for
                                                production.
03/13/2023 Jason Gallant                   1.50 Coordinate outgoing productions (1.0); review
                                                documents for privilege issues (.50).
03/13/2023 Natalie Hills                   5.90 Review documents for production quality check (3.6);
                                                review document batches assigned to associate review
                                                for responsiveness, privilege and other issues (2.3).
03/13/2023 Phoebe Lavin                    2.30 Review document batches assigned to associate
                                                review for responsiveness, privilege and other issues.
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Date        Name                        Hours Description
03/13/2023 Aneesa Mazumdar                3.90 Review quality check batches assigned to associate
                                               review for responsiveness, privilege and other issues.
03/13/2023 Luke Ross                      2.20 Review documents for privilege issues re: SDNY
                                               request (1.4); review documents of potential FTX
                                               employees for DOJ request (.80).
03/13/2023 Victoria Shahnazary            0.30 Update law enforcement production tracker.
03/13/2023 Bonifacio Abad                 7.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/13/2023 Ehi Arebamen                   9.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/13/2023 Jenna Dilone                   9.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/13/2023 LaToya Edwards                 8.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/13/2023 Camille Flynn                 10.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/13/2023 Dawn Harris-Cox               10.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/13/2023 Joshua Hazard                  9.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/13/2023 Sally Hewitson                 1.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/13/2023 Nicole Isacoff                 0.50 Correspondence to C. Rowe (FTI) and S&C
                                               e-discovery team re: S&C and FTI work status
                                               update.
03/13/2023 Sherry Johnson                 8.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/13/2023 Frank Jordan                  12.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/13/2023 Serge Koveshnikoff            12.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/13/2023 Georgia Maratheftis           11.50 Review document batches assigned to analyst review
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Date        Name                        Hours Description

                                                for responsiveness, privilege and other issues.
03/13/2023 Robin Perry                    5.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/13/2023 Robert Providence              9.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/13/2023 Nicolette Ragnanan             6.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/13/2023 Mary McMahon                   2.50 Correspondence with FTI and the case team on
                                               review, collection and production (2.0); review and
                                               edit the privilege layout and work with FTI on updates
                                               (.50).
03/13/2023 Stephen Dooley                 0.40 Call with J. Sedlak, Z. Flegenheimer, J. Gilday, E.
                                               Newman, C. Fanning N. Wolowski and FTI (various)
                                               re: document collection and processing.
03/13/2023 Carrie Fanning                 0.40 Call with J. Sedlak, Z. Flegenheimer, S. Dooley, J.
                                               Gilday, E. Newman, N. Wolowski and FTI (various)
                                               re: document collection and processing.
03/13/2023 Joseph Gilday                  3.20 Call with J. Sedlak, Z. Flegenheimer, S. Dooley, E.
                                               Newman, C. Fanning, N. Wolowski and FTI
                                               (various) re: document collection and processing (.40);
                                               update S&C e-discovery team chain of custody
                                               records (.50); attention to quality check of production
                                               volumes (.90); update production log (.20); review
                                               email re: document collections (.10); attention to
                                               production to be produced to states (.20); attention to
                                               processing of data for production volume (.30);
                                               coordinate with J. Ybanez re: transfer of matter data
                                               to physical media (.20); attention to processing of
                                               former FTX personnel Signal data for privilege review
                                               (.40).
03/13/2023 Evan Masurka                   1.20 Conduct quality check on production volumes for
                                               federal law enforcement (.70); email to E. Yim: re:
                                               metrics, meta data report, and detailed summary of
                                               items identified during quality check re: same (.30);
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Date        Name                        Hours Description

                                                prepare corrected encrypted production deliverable
                                                including quality check re: same (.20).
03/13/2023 Eric Newman                    1.30 Call with J. Sedlak, Z. Flegenheimer, S. Dooley, J.
                                               Gilday, C. Fanning N. Wolowski and FTI (various) re:
                                               document collection and processing (.40);
                                               correspondence with internal team re: transmittal of
                                               production volume (.20); correspondence with internal
                                               team and FTI re: debtor entity collection (.20); review
                                               project reporting for audit tracking purposes (.30);
                                               updates project playbook (.20).
03/13/2023 Nicholas Wolowski              0.40 Call with J. Sedlak, Z. Flegenheimer, S. Dooley, J.
                                               Gilday, E. Newman, C. Fanning N. Wolowski and
                                               FTI (various) re: document collection and processing.
03/13/2023 Eileen Yim                     0.70 Prepare copy of production volume for states (.10);
                                               retrieve production volume from FTI's fileshare (.60).
03/14/2023 Stephanie Wheeler              0.50 Correspondence to M. Strand re: redacting signal
                                               messages (.30); review production letter to states
                                               (.20).
03/14/2023 Anthony Lewis                  0.10 Correspondence with S&C team re: Rule 2004
                                               discovery requests.
03/14/2023 Kamil Shields                  1.50 Review documents re: commingling for production to
                                               HFSC (1.0); prepare notes re: the same (.20); call
                                               with J. Rosenfeld and P. Lavin re: documents
                                               responsive to requests from HFSC (.30).
03/14/2023 Bradley Harsch                 1.30 Review J. Gallant and FTI emails re: state law
                                               enforcement production (.10); finalize and circulate
                                               FOIA letters and cover emails for production to
                                               federal law enforcement (.30); draft cover emails for a
                                               separate production to federal law enforcement (.20);
                                               email A&M re: provision of data for debtor entity
                                               request (.10); review and email S&C team re: relevant
                                               third party data for federal law enforcement
                                               production (.20); review and email S&C team re:
                                               subpoena from state law enforcement (.20); email
                                               S&C team re: inquiry from debtor entity counsel re:
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Date        Name                        Hours Description

                                                database (.20).
03/14/2023 Shane Yeargan                  0.90 Review SDNY correspondence re: data productions
                                               (.70); review data export for customer accounts (.20).
03/14/2023 Christian Jensen               0.10 Call with K. Pasquale (Paul Hastings) re: Rule 2004
                                               meet and confer.
03/14/2023 Mark Bennett                   0.20 Correspondence with S&C team re: ad hoc
                                               production to SDNY.
03/14/2023 Kathleen Donnelly              2.50 Call with E. Newman re: privilege review (.30); call
                                               with FTI, D. O’Hara, M. Strand and E. Newman re:
                                               privilege redactions (.30); call with M. Strand and D.
                                               O’Hara re: privilege issues (.50); correspondence with
                                               S&C team re: productions and privilege redactions
                                               (1.4).
03/14/2023 Zoeth Flegenheimer             5.90 Review documents re: privilege issues at SDNY's
                                               request (4.2); coordinate with M. Sadat re: drafting
                                               production letter (.20); coordinate with J. Rosenfeld
                                               re: reviewing documents (.30); coordinate with S&C
                                               e-discovery team re: document production (.10);
                                               coordinate with M. Materni re: status of responses to
                                               SDNY document requests (.20); coordinate with FTI
                                               re: document review and production and Slack
                                               processing (.40); coordinate with S. Yeargan re:
                                               collecting account records (.10); coordinate with
                                               A&M re: collecting account records (.20); coordinate
                                               with S. Wheeler re: status of productions to SDNY
                                               (.10); coordinate with A. Margulies (Covington) re:
                                               device collection (.10).
03/14/2023 Jared Rosenfeld                0.30 Call with K. Shields and P. Lavin re: documents
                                               responsive to requests from HFSC.
03/14/2023 Daniel O'Hara                  3.60 Review documents for production (2.2); review
                                               correspondence re: production and correspondence
                                               with team re: same (.30); call with K. Donnelly, M.
                                               Strand re: privilege redactions (.50); call with FTI
                                               team, K. Donnelly, M. Strand and E. Newman re:
                                               privilege redactions (.30); correspondence to K.
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                                                Donnelly and M. Strand re: same (.30).
03/14/2023 Medina Sadat                   2.80 Review documents for productions to states (2.1);
                                               draft letter for SDNY production (.70).
03/14/2023 Matthew Strand                 4.00 Call with K. Donnelly and D. O’Hara re: privilege
                                               redactions (.50); review privilege redaction documents
                                               (1.9); call with FTI, K. Donnelly, D. O’Hara, M.
                                               Strand and E. Newman re: privilege redactions (.30);
                                               review state production letter (.20); coordinate with
                                               FTI re: technical issues re: documents requesting
                                               privilege review (1.1).
03/14/2023 Jason Gallant                  0.40 Coordinate outgoing productions.
03/14/2023 Emma Downing                   0.20 Meeting with P. Lavin re: draft Rule 2004 request.
03/14/2023 Phoebe Lavin                   6.10 Meeting with E. Downing re: draft Rule 2004 request
                                               (.20); draft Rule 2004 request. (4.9); review
                                               documents for privilege and responsiveness (.70); call
                                               with K. Shields and J. Rosenfeld re: documents
                                               responsive to requests from HFSC (.30).
03/14/2023 William Scheffer               0.20 Correspondence with FTI re: data transfer.
03/14/2023 Bonifacio Abad                 6.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/14/2023 Fareed Ahmed                   4.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/14/2023 Ehi Arebamen                   8.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/14/2023 Jenna Dilone                   6.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/14/2023 LaToya Edwards                 9.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/14/2023 Camille Flynn                  8.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/14/2023 Dawn Harris-Cox                2.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
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Date        Name                        Hours Description
03/14/2023 Joshua Hazard                  6.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/14/2023 Sally Hewitson                 2.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/14/2023 Sherry Johnson                 5.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/14/2023 Frank Jordan                  13.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/14/2023 Serge Koveshnikoff            12.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/14/2023 Georgia Maratheftis            9.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/14/2023 Robin Perry                    4.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/14/2023 Robert Providence              9.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/14/2023 Nicolette Ragnanan             4.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/14/2023 Carrie Fanning                 0.30 Call with E. Newman, N. Wolowski, J. Gilday, A&M
                                               (various) and FTI (various) re: A&M document
                                               collection and processing.
03/14/2023 Joseph Gilday                  2.00 Call with E. Newman, C. Fanning, N. Wolowski,
                                               A&M (various) and FTI (various) re: A&M document
                                               collection and processing (.30); update S&C
                                               e-discovery team chain of custody records (.30);
                                               attention to quality check of production volume (.30);
                                               update production log (.10); review email re:
                                               document collections and searches (.20); attention to
                                               processing of real estate holdings data (.30); email
                                               with E. Yim and FTI re: delivery of production volume
                                               (.40); email with M. Sadat re: production to states
                                               (.10).
03/14/2023 Eric Newman                    3.00 Call with K. Donnelly re: privilege review (.30); call
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                                                with FTI, K. Donnelly, D. O’Hara and M. Strand re:
                                                privilege redactions (.30); call with C. Fanning, N.
                                                Wolowski, J. Gilday, A&M (various) and FTI
                                                (various) re: A&M document collection and
                                                processing (.30); update internal audit and tracking
                                                documentation (1.2); correspondence with internal
                                                team and FTI re: handling of incoming data from
                                                SDNY (.40); correspondence with internal team re:
                                                production of ad hoc document (.50).
03/14/2023 Nicholas Wolowski              0.30 Call with E. Newman, C. Fanning, J. Gilday, A&M
                                               (various) and FTI (various) re: A&M document
                                               collection and processing.
03/14/2023 Eileen Yim                     1.70 Conduct quality check on production volume (1.4);
                                               prepare final deliverable zip of production volume
                                               (.30).
03/15/2023 Steven Holley                  0.20 Review information re: response from former FTX
                                               personnel counsel to Rule 2004 requests.
03/15/2023 Stephanie Wheeler              3.60 Call with B. Harsch re: WilmerHale database access
                                               (.10); review state law enforcement subpoena (.20);
                                               call with B. Harsch re: responding to state law
                                               enforcement subpoena (.10); meeting with Z.
                                               Flegenheimer re: collection and processing of data
                                               (.10); correspondence to J. McDonald re: state law
                                               enforcement subpoena (.10); revise SDNY
                                               production letter (.10); review documents re: relevant
                                               third parties issue (.60); calls with D. O’Hara re:
                                               proposed redactions to documents received from
                                               SDNY (.70); review privilege documents (1.0);
                                               correspondence with C. Lloyd re: privilege redactions
                                               (.20); call with L. Korologos (DOJ) re: same (.10);
                                               correspondence to J. McDonald re: privilege
                                               redactions (.30).
03/15/2023 Anthony Lewis                  0.20 Correspondence with S&C and Landis teams re: Rule
                                               2004 requests for discovery.
03/15/2023 Bradley Harsch                 4.80 Call with S. Wheeler re: response to state law
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                                                enforcement subpoena (.10); correspondence to J.
                                                McDonald and S. Wheeler re: response to
                                                WilmerHale re: database access (.10); call with S.
                                                Wheeler re: WilmerHale database access (.10); email
                                                J. Gallant re: state law enforcement production (.10);
                                                email A&M re: state law enforcement subpoena (.10);
                                                review and email team re: talking points for state law
                                                enforcement subpoena (.30); finalize and circulate
                                                production letter and cover email for state law
                                                enforcement production (.30); call with K. Donnelly
                                                re: state law enforcement subpoena (.20); call with S.
                                                Yeargan, J. Gallant, J. Chan (A&M), L. Lambert
                                                (A&M), Q. Lowdermilk (A&M) and M. Sunkara
                                                (A&M) re: state law enforcement subpoena (.30);
                                                email state law enforcement re: subpoena (.10);
                                                review and email re: debtor data request (.10);
                                                correspondence to WilmerHale, FTI and S. Wheeler
                                                re: debtor entity data access (.40); call with
                                                WilmerHale re: debtor entity data access (0.2); review
                                                materials and draft talking points for call with state law
                                                enforcement re: subpoena (2.2); call with J. Sedlak, Z.
                                                Flegenheimer, J. Gilday, E. Newman, C. Fanning, N.
                                                Wolowski and FTI (various) re: document collection
                                                and processing (.20-partial attendance).
03/15/2023 Jonathan Sedlak                0.60 Call with B. Harsch, Z. Flegenheimer, J. Gilday, E.
                                               Newman, C. Fanning, N. Wolowski and FTI
                                               (various) re: document collection and processing.
03/15/2023 Shane Yeargan                  0.40 Call with B. Harsch, J. Gallant, J. Chan (A&M), L.
                                               Lambert (A&M), Q. Lowdermilk (A&M) and M.
                                               Sunkara (A&M) re: state law enforcement subpoena
                                               (.30); correspondence to B. Harsch re: state law
                                               enforcement subpoena (.10).
03/15/2023 Michele Materni                0.20 Correspondence with Z. Flegenheimer re: privilege
                                               review of foreign language documents.
03/15/2023 Kathleen Donnelly              1.70 Call with B. Harsch re: state law enforcement
                                               subpoena (.20); review draft production letter (.30);
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                                                review and revise talking points for call with state law
                                                enforcement (.30) call with J. Gallant re: state law
                                                enforcement subpoena (.30); correspondence with
                                                S&C team re: productions (.60).
03/15/2023 Zoeth Flegenheimer             6.20 Coordinate with FTI re: preparing searches and
                                               document processing (.30); coordinate with associate
                                               team re: document review (.30); coordinate with M.
                                               Sadat re: drafting production letter (.30); coordinate
                                               with K. Donnelly re: drafting production letter (.10):
                                               coordinate with M. Strand re: drafting production
                                               letter (.20); review documents re: privilege issues at
                                               SDNY's request (3.7); coordinate with S. Wheeler re:
                                               privilege issues of documents (.30); coordinate with
                                               S&C team re: translation of Chinese language
                                               documents (.30); meeting with S. Wheeler re:
                                               collection and processing of data (.10); call with J.
                                               Sedlak, B. Harsch, J. Gilday, E. Newman, C.
                                               Fanning, N. Wolowski and FTI (various) re:
                                               document collection and processing (.60).
03/15/2023 Meaghan Kerin                  2.10 Correspondence with A. Lewis and H. Zhukovsky re:
                                               DOJ production.
03/15/2023 Alexander Holland              0.20 Correspond with S&C e-discovery team re:
                                               production to SDNY.
03/15/2023 Daniel O'Hara                  8.30 Correspondence re: Rule 2004 request status updates
                                               (.20); review documents for potential privilege and
                                               apply redactions to same (6.7); call with M. Strand re:
                                               privilege redactions (.70); calls with S. Wheeler re:
                                               proposed redactions to privileged documents (.70).
03/15/2023 Medina Sadat                   2.50 Prepare and draft letter for productions to SDNY.
03/15/2023 Matthew Strand                 4.20 Call with D. O'Hara re: privilege redactions (.70);
                                               review prior production letters for production volumes
                                               (.40); coordinate with FTI re: privilege redactions and
                                               review documents for privilege re: same (3.1).
03/15/2023 Jason Gallant                  1.90 Call with B. Harsch, S. Yeargan, J. Chan (A&M), L.
                                               Lambert (A&M), Q. Lowdermilk (A&M) and M.
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                                                Sunkara (A&M) re: state law enforcement subpoena
                                                (.30); coordinate outgoing productions (.20); review
                                                production letters for state law enforcement subpoena
                                                (1.1); call with K. Donnelly re: state law enforcement
                                                subpoena (.30).
03/15/2023 Phoebe Lavin                   1.00 Review document batches assigned to associate
                                               review for responsiveness, privilege and other issues;
                                               review documents responsive to requests from HFSC
                                               (.70).
03/15/2023 Bonifacio Abad                 2.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/15/2023 Fareed Ahmed                   2.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/15/2023 Ehi Arebamen                   9.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/15/2023 Camille Flynn                  2.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues (1.5);
                                               coordinate review summaries from analyst team for
                                               associate team to review (.50).
03/15/2023 Joshua Hazard                  6.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/15/2023 Sherry Johnson                 2.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/15/2023 Frank Jordan                   4.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/15/2023 Georgia Maratheftis            3.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/15/2023 Nicolette Ragnanan             0.70 Review notes from production team on findings (0.3);
                                               review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues (.40).
03/15/2023 Dawn Samuel                    3.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/15/2023 Carrie Fanning                 0.60 Call with J. Sedlak, B. Harsch, Z. Flegenheimer, J.
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                                                Gilday, E. Newman, N. Wolowski and FTI (various)
                                                re: document collection and processing.
03/15/2023 Joseph Gilday                  2.40 Call with J. Sedlak, B. Harsch, Z. Flegenheimer, E.
                                               Newman, C. Fanning, N. Wolowski and FTI
                                               (various) re: document collection and processing (.60);
                                               update S&C e-discovery team chain of custody
                                               records (.50); attention to quality check of production
                                               volume (.40); update production log (.30); review
                                               email re: document collections and searches (.10);
                                               email with K. Donnelly re: planned processing of real
                                               estate holdings data (.10); provide consolidated
                                               production metrics to K. Donnelly (.30);
                                               correspondence with FTI and A. Holland re:
                                               population of production volume (.10).
03/15/2023 Eric Newman                    2.50 Call with J. Sedlak, B. Harsch, Z. Flegenheimer, J.
                                               Gilday, C. Fanning, N. Wolowski and FTI (various)
                                               re: document collection and processing (.60);
                                               transmittal of incoming documents for production to
                                               federal law enforcement (.50); correspondence with
                                               internal team and FTI re: privilege review of SDNY
                                               materials (.50); correspondence with internal team and
                                               FTI re: quality check and transmittal of state law
                                               enforcement production (.30); correspondence with
                                               internal team re: search for produced documents (.10);
                                               update project playbook (.50).
03/15/2023 Wayne Walther                  0.60 Perform technical quality check on outgoing
                                               production volume (.50); correspondence with J.
                                               Gilday re: quality check findings for production
                                               volume, metadata summary and production reports
                                               (.10).
03/15/2023 Nicholas Wolowski              0.60 Call with J. Sedlak, B. Harsch, Z. Flegenheimer, J.
                                               Gilday, E. Newman, C. Fanning and FTI (various) re:
                                               document collection and processing.
03/15/2023 Eileen Yim                     2.00 Retrieve production volume and troubleshoot network
                                               connectivity re: same (1.0); prepare final deliverable
                                               zip of production volume (.20); prepare copies of
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                                                production volumes (.80).
03/16/2023 Stephanie Wheeler              2.00 Meeting with D. O’Hara re: SDNY redaction issues
                                               (.30); call with L. Korologos (SDNY), M. Canick
                                               (SDNY), D. O’Hara and M. Strand re: redactions
                                               and data access (.40); review privilege redactions to
                                               be provided to SDNY (.50); call with Z. Flegenheimer
                                               and SDNY re: privilege issues and document
                                               production updates (.20); review redacted documents
                                               for SDNY (.40); review and revise talking points for
                                               state law enforcement in response to subpoena (.20).
03/16/2023 Brian Glueckstein              0.70 Respond to UCC information requests and related
                                               issues.
03/16/2023 Christopher Dunne              1.70 Correspondence with S&C team re: Rule 2004 status
                                               and evaluation.
03/16/2023 Anthony Lewis                  0.30 Review Rule 2004 request for discovery (.10);
                                               correspondence with S&C team re: same (.10);
                                               correspondence with S&C team re: production and
                                               presentation to SDNY (.10).
03/16/2023 Bradley Harsch                 4.90 Finalize and circulate cover email and production letter
                                               for state law enforcement production (.20); email J.
                                               Gallant re: status of federal law enforcement
                                               production (.10); email FTI re: WilmerHale data
                                               access (.10); call with K. Donnelly re: response to
                                               state law enforcement (.10); call with S. Yeargan re:
                                               state law enforcement response (.20); research and
                                               draft talking points for call with state law enforcement
                                               re: subpoena (4.1); review S. Wheeler comments re:
                                               talking points for state law enforcement subpoena
                                               (.10).
03/16/2023 Shane Yeargan                  2.70 Review data to be produced (.70); correspondence
                                               with B. Harsch and K. Donnelly re: data production
                                               (.10); research re: initial offering (1.4);
                                               correspondence with A&M re: Alameda data (.10);
                                               call with B. Harsch re: initial offering (.20);
                                               correspondence with B. Harsch re: relevant third party
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                                                description for state law enforcement (.20).
03/16/2023 Kathleen Donnelly              1.50 Call with B. Harsch re: response to state law
                                               enforcement (.10); revise talking points to state law
                                               enforcement (.40); review documents and correspond
                                               with team re: same (.40); coordinate production (.20);
                                               correspond with team re: productions (.40).
03/16/2023 Zoeth Flegenheimer             4.10 Call with S. Wheeler and SDNY re: privilege issues
                                               and document production updates (.20); coordinate
                                               with B. Harsch re: accessibility of relevant third party
                                               database and responding to state law enforcement
                                               subpoena (.30); coordinate with associate team re:
                                               document review (.60); coordinate with S. Wheeler
                                               re: privilege issues of documents and Slack collection
                                               (.30); coordinate with J. Croke re: privilege issues of
                                               documents (.10); coordinate with J. Sedlak re: Slack
                                               collection (.30); coordinate with FTI re: collection and
                                               analysis of Slack data and preparation of searches
                                               (1.4); coordinate with S&C e-discovery team re:
                                               document production (.20); produce documents to
                                               SDNY (.10); review documents in response to
                                               SDNY requests (.60).
03/16/2023 Jared Rosenfeld                0.30 Correspondence with S&C team re: production to
                                               HFSC.
03/16/2023 Alexander Holland              0.10 Correspondence with M. Kerin re: production to
                                               SDNY.
03/16/2023 Daniel O'Hara                  5.00 Review and redact documents for potential privilege
                                               (3.4); correspondence with team re: status of Rule
                                               2004 requests (.40); revise Rule 2004 requests (.20);
                                               preparation for call re: document privilege and review
                                               (.30); call with L. Korologos (SDNY), M. Canick
                                               (SDNY), S. Wheeler and M. Strand re: privilege
                                               issues and data access (.40); meeting with S. Wheeler
                                               re: SDNY redaction issues (.30).
03/16/2023 Medina Sadat                   2.80 Production preparation for SDNY.
03/16/2023 Matthew Strand                 5.10 Call with L. Korologos (SDNY), M. Canick
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                                                (SDNY), S. Wheeler and D. O’Hara re: redactions
                                                and data access (.40); review documents and prepare
                                                summaries for documents escalated from associate
                                                review (1.8); review SDNY production letter and
                                                prepare related production letters for mirror
                                                productions (1.3); coordinate production timing with
                                                S&C e-discovery team and paralegal team (.40);
                                                review SDNY privilege documents and coordinate
                                                technical issues with D. O'Hara (1.2).
03/16/2023 Jason Gallant                  0.40 Correspondence with S&C team re: outgoing
                                               productions.
03/16/2023 Emma Downing                   1.70 Review document batches assigned to associate
                                               review for responsiveness, privilege and other issues
                                               (1.2); document summary (.50).
03/16/2023 Emma Downing                   0.30 Review proposed edits to search term list (.20); draft
                                               discovery update summary (.10).
03/16/2023 Phoebe Lavin                   1.10 Review documents re: requests from HFSC.
03/16/2023 Keila Mayberry                 0.30 Correspondence re: document review re: former
                                               Alameda personnel (.10);
                                               correspondence with K. Donnelly and B. Harsch re:
                                               federal regulator document requests (.20).
03/16/2023 Aneesa Mazumdar                3.50 Review documents for production quality check.
03/16/2023 Victoria Shahnazary            0.30 Update production log.
03/16/2023 Bonifacio Abad                 6.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/16/2023 Fareed Ahmed                   3.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/16/2023 Ehi Arebamen                   8.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/16/2023 Jenna Dilone                   6.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/16/2023 LaToya Edwards                 9.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
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03/16/2023 Camille Flynn                 10.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/16/2023 Dawn Harris-Cox                9.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/16/2023 Sally Hewitson                 7.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/16/2023 Nicole Isacoff                 0.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/16/2023 Sherry Johnson                 2.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/16/2023 Frank Jordan                  13.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/16/2023 Serge Koveshnikoff            12.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/16/2023 Georgia Maratheftis           10.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/16/2023 Robin Perry                    7.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/16/2023 Robert Providence              4.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/16/2023 Nicolette Ragnanan             1.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/16/2023 Dawn Samuel                    4.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/16/2023 Eric Newman                    1.70 Review project reporting and status updates (.80);
                                               correspondence with internal team re: transmittal of
                                               production volume (.30); correspondence with case
                                               team re: transmittal of production for state law
                                               enforcement (.30); update project tracking
                                               documentation (.30).
03/16/2023 Wayne Walther                  2.30 Perform technical quality check re: outgoing
                                               production volume (1.9); correspondence with J.
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                                                Gilday re: quality check findings for volume, metadata
                                                summary and production reports (.40).
03/16/2023 Nicholas Wolowski              0.40 Coordinate production volume follow-up quality
                                               check with FTI and copy to physical media.
03/16/2023 Eileen Yim                     1.60 Finalize production volumes (1.5); correspondence
                                               with M. Sadat re: passwords of production volumes
                                               (.10).
03/17/2023 Bradley Harsch                 2.20 Review FTI and debtor entity correspondence re:
                                               access to debtor entity data (.10); email J. Gallant re:
                                               inquiry from state law enforcement re: subpoena
                                               response (.10); revise and circulate talking points for
                                               call with state law enforcement re: subpoena (.50);
                                               finalize and circulate production and FOIA letters and
                                               cover correspondence for production to federal law
                                               enforcement (.30); review and modify spreadsheets of
                                               potentially relevant accounts for response to state law
                                               enforcement subpoena (.40); revise and circulate
                                               talking points for state law enforcement subpoena
                                               (.70); review email re: SNDY subpoena re: former
                                               FTX US personnel (.10).
03/17/2023 Jonathan Sedlak                0.40 Call with Z. Flegenheimer, E. Newman, C. Fanning
                                               and FTI (various) re: document collection and
                                               processing.
03/17/2023 Shane Yeargan                  1.20 Review documents escalated for associate review.
03/17/2023 Mark Bennett                   0.50 Correspondence from L. Konig (A&M) re: analysis
                                               prepared in response to SDNY priority requests.
03/17/2023 Zoeth Flegenheimer             2.80 Call with R. Perubhatla (RLKS), FTX personnel,
                                               A&M and FTI re: data collecting and processing
                                               (1.0); respond to associate document review
                                               questions (.30); coordinate with FTI re: document
                                               review and preparing searches (.70); call with J.
                                               Sedlak, E. Newman, C. Fanning and FTI (various) re:
                                               document collection and processing (.40); coordinate
                                               with S. Wheeler re: review of former FTX US
                                               personnel documents and device collection (.50);
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Date        Name                         Hours Description

                                                 review documents in response to SDNY requests
                                                 (.70); coordinate with A. Holland re: document
                                                 production quality check review (.10).
03/17/2023 Alexander Holland               0.50 Correspondence with M. Kerin re: production to
                                                SDNY (.20); perform quality check re: documents for
                                                production to SDNY (.30).
03/17/2023 Daniel O'Hara                   3.50 Review documents for privilege (3.0); correspondence
                                                with S&C team re: same (.50).
03/17/2023 Jason Gallant                   0.40 Coordinate outgoing productions.
03/17/2023 Emma Downing                    1.10 Revise draft Rule 2004 requests (.30); review
                                                document batches assigned to associate review for
                                                responsiveness, privilege and other issues (.80).
03/17/2023 Natalie Hills                   2.60 Perform quality check re: production volumes.
03/17/2023 Aneesa Mazumdar                 1.80 Review documents for production quality check.
03/17/2023 Fareed Ahmed                    3.60 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/17/2023 Ehi Arebamen                    9.10 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/17/2023 LaToya Edwards                  9.00 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/17/2023 Camille Flynn                   7.20 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/17/2023 Dawn Harris-Cox                 6.30 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/17/2023 Sally Hewitson                  4.70 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/17/2023 Nicole Isacoff                  1.30 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/17/2023 Sherry Johnson                  0.30 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/17/2023 Serge Koveshnikoff             11.00 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
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Date        Name                        Hours Description

03/17/2023 Georgia Maratheftis           10.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/17/2023 Robert Providence              8.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/17/2023 Dawn Samuel                   10.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/17/2023 Carrie Fanning                 0.40 Call with J. Sedlak, Z. Flegenheimer, E. Newman and
                                               FTI (various) re: document collection and processing.
03/17/2023 Eric Newman                    3.00 Call with J. Sedlak, Z. Flegenheimer, C. Fanning and
                                               FTI (various) re: document collection and processing
                                               (.40); call with FTI, A&M and S&C re: weekly status
                                               update (.50); correspondence with internal team and
                                               FTI re: review of incoming materials from SDNY for
                                               privilege review (.70); correspondence with internal
                                               team and FTI re: production of translation documents
                                               (.50); updates to internal tracking documentation for
                                               audit purposes (.40); correspondence with internal
                                               team and FTI re: production to federal law
                                               enforcement (.50).
03/18/2023 Jason Gallant                  0.50 Review documents for production quality check.
03/18/2023 Ehi Arebamen                   8.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/18/2023 LaToya Edwards                 6.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/18/2023 Camille Flynn                  7.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/18/2023 Sally Hewitson                 5.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/18/2023 Frank Jordan                  10.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/18/2023 Georgia Maratheftis            3.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
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Date        Name                        Hours Description
03/18/2023 Robin Perry                    7.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/18/2023 Robert Providence              8.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/19/2023 Samuel Woodall III             0.30 Correspondence with K. Shields and S. Peikin re:
                                               HFSC email re: document request (.10);
                                               correspondence with HFSC re: document request
                                               (.20).
03/19/2023 Zoeth Flegenheimer             0.10 Coordinate with FTX personnel re: device collection.
03/19/2023 Alexander Holland              1.30 Quality check documents for production to SDNY.
03/19/2023 William Scheffer               1.70 Review documents for quality control prior to
                                               production.
03/19/2023 Bonifacio Abad                 3.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/19/2023 Ehi Arebamen                   8.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/19/2023 LaToya Edwards                 7.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/19/2023 Camille Flynn                  4.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/19/2023 Sally Hewitson                10.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/19/2023 Nicole Isacoff                 5.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/19/2023 Georgia Maratheftis            5.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/19/2023 Robin Perry                    8.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/19/2023 Robert Providence              7.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/19/2023 Dawn Samuel                    7.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
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Date        Name                        Hours Description

03/20/2023 Stephanie Wheeler              0.70 Meeting with D. O’Hara re: privilege issues and
                                               review issues (.20); call with L. Korologos (SDNY),
                                               M. Canick (SDNY), M. Strand and D. O’Hara re:
                                               redactions and data access (.50).
03/20/2023 Christopher Dunne              0.70 Call with M. Summers (Ballard Spahr) and D. O’Hara
                                               re: document requests (.20); call with G. Dick (Cohen
                                               Gresser) and D. O’Hara re: subpoena requests for
                                               documents (.30); draft summary re: same (.20).
03/20/2023 Nicole Friedlander             0.20 Call with Z. Flegenheimer, R. Perubhatla (RLKS) and
                                               FTX personnel re: device collection.
03/20/2023 James McDonald                 0.50 Correspondence to S&C team and review of
                                               materials re: new subpoenas.
03/20/2023 Anthony Lewis                  0.10 Correspondence with S&C and Landis teams re: Rule
                                               2004 discovery request.
03/20/2023 Bradley Harsch                 1.70 Review and request relevant third party information for
                                               federal law enforcement subpoena (.50); review and
                                               email S&C team re: A&M search proposal for state
                                               law enforcement subpoena response (.20); draft
                                               production and FOIA letters and cover
                                               correspondence for new production for federal law
                                               enforcement (1.0).
03/20/2023 Michele Materni                0.20 Meeting with Z. Flegenheimer re: responding to
                                               SDNY priority requests.
03/20/2023 Mark Bennett                   2.70 Review correspondence with SDNY re: request for
                                               documents (.50); review custodial documents relevant
                                               to SDNY request for documents and prepared
                                               summary re: same (1.5); review data re: FTX.com
                                               customers re: SDNY request for documents (.70).
03/20/2023 Zoeth Flegenheimer             3.60 Coordinate with FTI re: document collection, review
                                               and search preparation (.50); coordinate with S.
                                               Wheeler re: device collection (.10); coordinate with
                                               N. Friedlander re: device collection (.10); coordinate
                                               with R. Perubhatla (RLKS) re: device collection (.10);
                                               prepare documents for production to SDNY (.50);
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Date        Name                        Hours Description

                                                coordinate with associate team re: document review
                                                (.50); coordinate with M. McMahon re: document
                                                review and production (.40); review records to
                                                determine re: device collection (.50); coordinate with
                                                FTX personnel re: device collection (.10); meeting
                                                with M. Materni re: responding to SDNY priority
                                                requests (.20); call with N. Friedlander, R. Perubhatla
                                                (RLKS) and FTX personnel re: device collection
                                                (.20); call with C. Fanning, N. Wolowski, F. Sheikh
                                                and FTI (various) re: document collection and
                                                processing (.30); coordinate with W. Scheffer re:
                                                collecting accounting records (.10).
03/20/2023 Meaghan Kerin                  0.10 Review draft production letter language.
03/20/2023 Jared Rosenfeld                2.50 Call with H. Masters re: review of audit recordings
                                               (.20); research and correspond with S&C team re:
                                               production to HFSC (2.3).
03/20/2023 Alexander Holland              0.10 Correspondence with S&C team re: document
                                               production to SDNY.
03/20/2023 Daniel O'Hara                  4.50 Review documents for production (2.5); meeting with
                                               S. Wheeler re: privilege issues and review issues (.20);
                                               correspondence with S&C team re: Rule 2004
                                               request status and updated tracker (.80); call with L.
                                               Korologos (SDNY), M. Canick (SDNY), S. Wheeler
                                               and M. Strand re: privilege issues and data access
                                               (.50); call with M. Summers (Ballard Spahr) and C.
                                               Dunne re: document requests (.20); call with G. Dick
                                               (Cohen Gresser) and C. Dunne re: subpoena requests
                                               for documents (.30).
03/20/2023 Samantha Rosenthal             0.20 Correspondences with A. Lewis and M. McGuire
                                               (Landis) re: relevant third party supplemental
                                               responses to Rule 2004 request .
03/20/2023 Medina Sadat                   1.50 Review documents for production quality check (1.2);
                                               preparation of production to state (.30).
03/20/2023 Matthew Strand                 2.00 Call with L. Korologos (SDNY), M. Canick
                                               (SDNY), S. Wheeler and D. O’Hara re: redactions
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Date        Name                         Hours Description

                                                 and data access (.50); draft states production letter
                                                 (.70); send documents to former FTX personnel
                                                 counsel via FTP (.20); coordinate with FTI re:
                                                 production (.60).
03/20/2023 Ugonna Eze                      1.50 Review document batches assigned to associate
                                                review for responsiveness, privilege and other issues.
03/20/2023 Hannah Masters                  0.50 Call with J. Rosenfeld re: review of audit recordings
                                                (.20); review of audit recordings (.30).
03/20/2023 Emma Downing                    0.80 Document review for SDNY request.
03/20/2023 Natalie Hills                   2.70 Perform quality check re: production volumes.
03/20/2023 Aneesa Mazumdar                 1.80 Review documents for production quality check.
03/20/2023 Tatum Millet                    6.30 Review documents for quality check (2.2); review of
                                                relevant third party documents (2.5); summarize
                                                relevant third party documents (1.0); compile relevant
                                                third party documents and upload to online database
                                                (.60).
03/20/2023 Bonifacio Abad                  5.40 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/20/2023 Fareed Ahmed                    2.10 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/20/2023 Ehi Arebamen                   10.40 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/20/2023 Jenna Dilone                    6.00 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/20/2023 LaToya Edwards                  7.40 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/20/2023 Camille Flynn                   9.50 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/20/2023 Joshua Hazard                  10.90 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/20/2023 Sally Hewitson                  8.30 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
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Date        Name                        Hours Description
03/20/2023 Sherry Johnson                 2.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/20/2023 Frank Jordan                   6.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/20/2023 Serge Koveshnikoff             9.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/20/2023 Georgia Maratheftis           11.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/20/2023 Robin Perry                    8.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/20/2023 Nicolette Ragnanan             1.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/20/2023 Dawn Samuel                    1.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/20/2023 Mary McMahon                   3.50 Correspondence with FTI and the case team re:
                                               review and production preparation (2.0); review and
                                               edit the privilege log layout (1.5).
03/20/2023 Carrie Fanning                 0.30 Call with Z. Flegenheimer, F. Sheikh, N. Wolowski
                                               and FTI (various) re: document collection and
                                               processing.
03/20/2023 Eric Newman                    0.30 Correspondence with case team and FTI re:
                                               production handling of translation documents.
03/20/2023 Faisal Sheikh                  0.30 Call with Z. Flegenheimer, C. Fanning, N. Wolowski
                                               and FTI (various) re: document collection and
                                               processing.
03/20/2023 Nicholas Wolowski              2.90 Retrieve incoming productions and coordinate with
                                               FTI re: loading productions to database (.40);
                                               coordinate with S&C e-discovery team, technical
                                               team and case team re: loading production volume to
                                               physical media for state productions (.20); coordinate
                                               with FTI re: technical issues (.20); coordinate with FTI
                                               and S&C e-discovery team re: format for producing
                                               documents with translations (.30); call with FTI re:
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Date        Name                        Hours Description

                                                translation production format (.10); retrieve additional
                                                documents and coordinate with FTI re: processing
                                                documents to database (.40); coordinate with
                                                paralegal team re: physical copy of production volume
                                                to state (.20); call with Z. Flegenheimer, C. Fanning,
                                                F. Sheikh and FTI (various) re: document collection
                                                and processing (.30); retrieve and stage new data for
                                                processing (.20); update processing request form and
                                                coordinate with S&C e-discovery team technical team
                                                re: processing documents into review platform (.30);
                                                quality check newly processed documents and release
                                                to case team (.30).
03/21/2023 Brian Glueckstein              0.30 Review and consider Rule 2004 requests information.
03/21/2023 Christopher Dunne              1.50 Correspondence with Rule 2004 recipients re:
                                               subpoena follow up.
03/21/2023 Anthony Lewis                  0.20 Review Rule 2004 discovery request responses (.10);
                                               correspondence with S&C, Landis teams re: Rule
                                               2004 discovery requests (.10).
03/21/2023 Bradley Harsch                 0.40 Review and email re: production for federal regulator
                                               (.20); review and email re: production for federal law
                                               enforcement (.20).
03/21/2023 Zoeth Flegenheimer             0.70 Coordinate with D. O'Hara re: managing third party
                                               productions (.20); coordinate with FTI re: document
                                               collection (.10); coordinate with W. Scheffer re:
                                               document collection (.10); respond to analysts'
                                               questions re: document review (.20); coordinate with
                                               associate team re: document review (.10).
03/21/2023 Jared Rosenfeld                1.20 Research and correspond with S&C team re:
                                               production to HFSC.
03/21/2023 Daniel O'Hara                  3.90 Correspondence re: status of Rule 2004 requests
                                               (.20); draft privilege log and correspondence re: same
                                               (.70); review documents for production (2.7); draft
                                               and revise search terms for document review (.30).
03/21/2023 Samantha Rosenthal             0.10 Correspondences with A. Lewis and M. McGuire
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Date        Name                         Hours Description

                                                 (Landis) re: relevant third party Rule 2004 request
                                                 responses and follow-up questions.
03/21/2023 Jason Gallant                   0.50 Correspondence with S&C team re: outgoing
                                                productions.
03/21/2023 Hannah Masters                  2.80 Review and log FTX audit recordings.
03/21/2023 Emma Downing                    3.10 Document review for SDNY request.
03/21/2023 Natalie Hills                   1.10 Review document batches assigned to associate
                                                review for responsiveness, privilege and other issues.
03/21/2023 William Scheffer                0.20 Correspondence with Z. Flegenheimer re: data
                                                collection.
03/21/2023 Bonifacio Abad                  3.90 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/21/2023 Fareed Ahmed                    2.40 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/21/2023 Ehi Arebamen                    9.20 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/21/2023 Jenna Dilone                    8.70 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/21/2023 LaToya Edwards                  9.60 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/21/2023 Camille Flynn                  10.30 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/21/2023 Dawn Harris-Cox                 8.30 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/21/2023 Joshua Hazard                   6.70 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/21/2023 Sally Hewitson                  6.20 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/21/2023 Nicole Isacoff                  8.00 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/21/2023 Sherry Johnson                  7.90 Review document batches assigned to analyst review
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Date        Name                        Hours Description

                                                for responsiveness, privilege and other issues.
03/21/2023 Frank Jordan                  12.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/21/2023 Serge Koveshnikoff             3.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/21/2023 Georgia Maratheftis           12.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/21/2023 Robin Perry                    7.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/21/2023 Robert Providence              5.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/21/2023 Nicolette Ragnanan             4.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/21/2023 Dawn Samuel                    7.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/21/2023 Mary McMahon                   2.50 Correspondence with the case team and FTI re:
                                               quality check at first-level review and preparation of
                                               documents for associate review.
03/21/2023 Carrie Fanning                 0.60 Call with E. Newman, N. Wolowski, A&M (various)
                                               and FTI (various) re: A&M document collection and
                                               processing.
03/21/2023 Eric Newman                    0.80 Call with C. Fanning, N. Wolowski, A&M (various)
                                               and FTI (various) re: A&M document collection and
                                               processing (.50); updates to internal project
                                               documentation and audit tracking information (.30).
03/21/2023 Nicholas Wolowski              0.60 Call with E. Newman, C. Fanning, A&M (various)
                                               and FTI (various) re: A&M document collection and
                                               processing.
03/22/2023 Samuel Woodall III             0.20 Correspondence with HFSC re: document request.
03/22/2023 Christopher Dunne              1.20 Correspondence with S&C team re: follow up re: all
                                               outstanding Rule 2004 requests.
03/22/2023 Anthony Lewis                  0.30 Review Rule 2004 discovery request (.10);
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                                                correspondence with S&C team and relevant third
                                                parties re: Rule 2004 requests for discovery (.20).
03/22/2023 Kamil Shields                  2.10 Review first production to HFSC (1.6);
                                               correspondence re: same with team (.50).
03/22/2023 Bradley Harsch                 0.70 Call with S. Yeargan and A&M re: production of data
                                               (.40); call with FTI re: debtor entity Slack channels
                                               (.10); email J. Gallant re: production to federal law
                                               enforcement (.10); email FTI re: debtor entity Slack
                                               data (.10).
03/22/2023 Jonathan Sedlak                0.70 Weekly standing call with S&C and FTI re: document
                                               processing and production.
03/22/2023 Shane Yeargan                  0.40 Call with B. Harsch and A&M re: production of data.
03/22/2023 Zoeth Flegenheimer             1.10 Coordinate with FTX personnel re: device collection
                                               (.10); coordinate with N. Friedlander re: device
                                               collection (.10); coordinate with FTI re: device
                                               collection (.10); coordinate with W. Scheffer re:
                                               document review (.10); weekly standing call with
                                               S&C and FTI re: document processing and
                                               production (.70).
03/22/2023 Jared Rosenfeld                0.80 Coordinate production to HFSC.
03/22/2023 Daniel O'Hara                  6.80 Review documents for privilege and apply redactions
                                               to same (5.1); correspondence with S&C team re:
                                               status of Rule 2004 requests (.80); review
                                               correspondence re: weekly production (.20); weekly
                                               standing call with S&C and FTI re: document
                                               processing and production (.70).
03/22/2023 Samantha Rosenthal             0.50 Correspondences with M. Plamondon re: Rule 2004
                                               meeting (.20); correspondence with relevant third
                                               parties re: Rule 2004 request follow-up questions
                                               (.20); correspondence with Sygnia re: same (.10).
03/22/2023 Jason Gallant                  0.20 Correspondence with S&C team re: outgoing
                                               productions.
03/22/2023 Hannah Masters                 0.90 Correspondence re: FTX audit recordings (.40);
                                               correspondence re: production letter (.50).
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03/22/2023 Emma Downing                    2.80 Review documents for SDNY request (2.0); draft
                                                summary re: same (.80).
03/22/2023 Natalie Hills                   4.30 Perform quality check re: production volumes.
03/22/2023 Aneesa Mazumdar                 2.80 Review documents for production quality check.
03/22/2023 William Scheffer                0.50 Correspondence re: production to HFSC (.30);
                                                correspondence re: collection of data (.20).
03/22/2023 Dario Rosario                   1.30 Correspondence with FTI re: various production
                                                volumes.
03/22/2023 Bonifacio Abad                  8.00 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/22/2023 Fareed Ahmed                    2.50 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/22/2023 Ehi Arebamen                    8.30 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/22/2023 Jenna Dilone                    8.90 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/22/2023 LaToya Edwards                  8.40 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/22/2023 Camille Flynn                   9.80 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/22/2023 Ruth Godin                      6.00 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/22/2023 Dawn Harris-Cox                10.80 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/22/2023 Joshua Hazard                  10.10 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/22/2023 Sally Hewitson                  5.00 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/22/2023 Sherry Johnson                  3.10 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/22/2023 Frank Jordan                    6.00 Review document batches assigned to analyst review
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Date        Name                        Hours Description

                                                for responsiveness, privilege and other issues.
03/22/2023 Serge Koveshnikoff            12.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/22/2023 Georgia Maratheftis           11.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/22/2023 Robert Providence              6.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/22/2023 Nicolette Ragnanan             4.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/22/2023 Dawn Samuel                    6.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/22/2023 Mary McMahon                   4.90 Correspondence with the case team and FTI re:
                                               review and production (3.0); review and update the
                                               collection and processing chart (1.2); weekly standing
                                               call with S&C and FTI re: document processing and
                                               production (.70).
03/22/2023 Carrie Fanning                 0.70 Weekly standing call with S&C and FTI re: document
                                               processing and production.
03/22/2023 Eric Newman                    2.60 Weekly standing call with S&C and FTI re: document
                                               processing and production (.70); correspondence with
                                               case team and FTI re: preparation of production to
                                               HFSC (.80); correspondence with case team and FTI
                                               re: preparation of federal law enforcement production
                                               (.40); correspondence with case team and FTI re: a
                                               separate federal law enforcement production (.30);
                                               updates to internal project playbook (.40).
03/22/2023 Nicholas Wolowski              0.90 Weekly standing call with S&C and FTI re: document
                                               processing and production (.70); correspondence re:
                                               production specifications with S&C e-discovery team
                                               (.20).
03/23/2023 Stephanie Wheeler              1.30 Meeting with D. O’Hara re: privilege redactions and
                                               review issues (.20); call with S. Peikin, S. Yeargan, K.
                                               Donnelly and federal regulator re: document
                                               productions (.50); call with K. Donnelly re: same
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Date        Name                        Hours Description

                                                (.10); correspondence with B. Harsch re: state law
                                                enforcement subpoena (.20); call with D. O'Hara re:
                                                SDNY privilege issues (.30).
03/23/2023 Steven Peikin                  0.60 Call with S. Wheeler, S. Yeargan, K. Donnelly and
                                               federal regulator re: document productions (.50); draft
                                               notes re: same (.10).
03/23/2023 Samuel Woodall III             0.10 Correspondence with HFSC re: document request.
03/23/2023 Brian Glueckstein              0.60 Call with C. Dunne re: Rule 2004 workstreams.
03/23/2023 Christopher Dunne              1.20 Call with B. Glueckstein re: Rule 2004 workstreams
                                               (.60); call with D. O’Hara and with counsel for former
                                               FTX personnel re: Rule 2004 (.60).
03/23/2023 Anthony Lewis                  0.10 Correspondence with S&C team and counsel for
                                               relevant third parties re: Rule 2004 discovery requests.
03/23/2023 Bradley Harsch                 2.30 Email S. Wheeler re: state law enforcement subpoena
                                               (.10); review J. Gallant, FTI correspondence re:
                                               federal law enforcement productions (.10); review
                                               relevant third party data and revise talking points for
                                               call with state law enforcement (1.2); email S.
                                               Wheeler, J. McDonald re: follow up with WilmerHale
                                               re: debtor entity data (.40); call with M. Beville
                                               (WilmerHale) re: access to debtor entity data (.10);
                                               research and email S. Wheeler re: production items for
                                               state law enforcement (.40).
03/23/2023 Shane Yeargan                  0.70 Call with S. Peikin, S. Wheeler, K. Donnelly and
                                               federal regulator re: document productions (.50);
                                               correspondence with S. Wheeler re: data for states
                                               requests (.10); call with S. Wheeler re: same (.10).
03/23/2023 Kathleen Donnelly              3.30 Prepare for call with states (2.5); call with S. Peikin,
                                               S. Wheeler, S. Yeagan and federal regulator re:
                                               document productions (.50); correspondence with S.
                                               Wheeler re: same (.10); review and revise production
                                               letters (.20).
03/23/2023 Zoeth Flegenheimer             5.70 Coordinate with H. Masters re: drafting production
                                               letter (.30); review records to determine re: device
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Date        Name                         Hours Description

                                                 collection (2.4); coordinate with N. Friedlander re:
                                                 device collection (.10); coordinate with S. Wheeler re:
                                                 Slack data (.10); draft email to SDNY re: Slack
                                                 analysis (1.0); coordinate with FTI re: Slack analysis
                                                 and document production (1.6); coordinate with J.
                                                 Sedlak and M. Materni re: Slack collection (.20).
03/23/2023 Meaghan Kerin                   0.10 Review correspondence from relevant third parties re:
                                                Rule 2004 productions.
03/23/2023 Jared Rosenfeld                 0.90 Call with D. O’Hara re: document productions (.20);
                                                research and correspond with S&C team re:
                                                production to HFSC (.70).
03/23/2023 Alexander Holland               0.10 Correspondence with S&C team re: document
                                                production to SDNY.
03/23/2023 Daniel O'Hara                   4.00 Call with S. Wheeler re: SDNY privilege issue (.30);
                                                review documents for production (2.5); call with C.
                                                Dunne and with counsel for former FTX personnel re:
                                                Rule 2004 (.60); prepare for internal call re: subpoena
                                                meet and confer (.20); meeting with S. Wheeler re:
                                                privilege redactions and review issues (.20); call with
                                                J. Rosenfeld re: document productions (.20).
03/23/2023 Samantha Rosenthal              0.20 Correspondence with relevant third party counsel re:
                                                Rule 2004 request supplemental questions (.10);
                                                correspondence with H. Zhukovsky re: same (.10).
03/23/2023 Matthew Strand                  3.10 Coordinate access to production materials with DOJ
                                                (.90); review and revise production letters (.70);
                                                review documents and prepare summaries for
                                                documents escalated from associate review (1.5).
03/23/2023 Jason Gallant                   0.30 Review documents for outgoing productions.
03/23/2023 Hannah Masters                  1.60 prepare and send production letters.
03/23/2023 Emma Downing                    2.20 Draft summary of document review (1.2); revise
                                                summary re: same (1.0).
03/23/2023 Natalie Hills                   2.00 Document searches re: employee notes (1.7); work
                                                with FTI re: employee notes metadata (.30).
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Date        Name                        Hours Description
03/23/2023 William Scheffer               0.60 Correspondence with S&C team re: HFSC
                                               production (.10); review documents for production
                                               quality check (.50).
03/23/2023 Bonifacio Abad                 4.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/23/2023 Fareed Ahmed                   2.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/23/2023 Ehi Arebamen                   8.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/23/2023 Jenna Dilone                   4.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/23/2023 Camille Flynn                  9.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/23/2023 Ruth Godin                     1.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/23/2023 Dawn Harris-Cox                7.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/23/2023 Joshua Hazard                  8.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/23/2023 Sally Hewitson                 7.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/23/2023 Nicole Isacoff                 6.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/23/2023 Sherry Johnson                 6.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/23/2023 Frank Jordan                   6.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/23/2023 Serge Koveshnikoff             9.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/23/2023 Georgia Maratheftis           11.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/23/2023 Robin Perry                    4.30 Review document batches assigned to analyst review
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Date        Name                        Hours Description

                                                for responsiveness, privilege and other issues.
03/23/2023 Nicolette Ragnanan             2.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/23/2023 Dawn Samuel                    6.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/23/2023 Mary McMahon                   4.00 Correspondence with FTI and the case team re:
                                               review, quality check and batching updates (2.5);
                                               correspondence with E. Downing, W. Scheffer and
                                               FTI re: review for potentially privileged
                                               correspondence (.30); review metrics and collection
                                               reports received from FTI (1.2).
03/23/2023 Stephen Dooley                 0.60 Call with F. Sheikh, E. Newman, J. Gilday and FTI
                                               (various) re: workflows, reporting, metrics and invoice
                                               management.
03/23/2023 Joseph Gilday                  3.70 Call with E. Newman and FTI (various) re: workflows
                                               for production volumes (.50); call with S. Dooley, F.
                                               Sheikh, E. Newman, and FTI (various) re: workflows,
                                               reporting, metrics and invoice management (.60);
                                               attention to quality check of production volume (.60);
                                               update S&C e-discovery team chain of custody
                                               records (.30); review unread email re: document
                                               productions, collections and searches (1.5);
                                               correspondence with N. Hills re: document request to
                                               FTI (.20).
03/23/2023 Eric Newman                    1.80 Call with S. Dooley, F. Sheikh, J. Gilday and FTI
                                               (various) re: workflows, reporting, metrics and invoice
                                               management (.60); call with FTI (various) re:
                                               workflows for production volumes (.50);
                                               correspondence with internal team re: handling of
                                               previously produced documents (.20); updates to
                                               project playbook (.20); correspondence with internal
                                               team re: production volume (.30).
03/23/2023 Faisal Sheikh                  0.60 Call with S. Dooley, E. Newman, J. Gilday and FTI
                                               (various) re: workflows, reporting, metrics and invoice
                                               management.
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Date        Name                        Hours Description

03/23/2023 Wayne Walther                  2.20 Perform technical quality check re: outgoing
                                               production volume (1.9); correspondence with J.
                                               Gilday re: quality check findings for outgoing
                                               production volume, production reports and metadata
                                               summary (.30).
03/23/2023 Eileen Yim                     0.30 Create final production volume (.20); create copies of
                                               production volume (.10).
03/24/2023 Samuel Woodall III             0.20 Correspondence with S&C team re: responding to
                                               HFSC document request.
03/24/2023 Bradley Harsch                 0.80 Review and email re: subpoena from state law
                                               enforcement (.40); review and email re: summaries of
                                               documents escalated from first-level reviewers (.40).
03/24/2023 Mark Bennett                   0.50 Correspondence with e-discovery team to coordinate
                                               upload and production of documents.
03/24/2023 Kathleen Donnelly              0.20 Review draft privilege log.
03/24/2023 Zoeth Flegenheimer             3.40 Call with E. Newman, N. Wolowski and FTI re:
                                               Slack processing and analysis (.30); coordinate with
                                               FTI re: Slack data (.30); coordinate with S. Wheeler
                                               re: Slack data production to SDNY and providing
                                               Signal data to QE (.50); call with J. Gilday, S. Dooley,
                                               E. Newman, R. Perubhatla (RLKS) and FTI (various)
                                               re: document collection and processing (.70); call with
                                               M. McMahon, J. Gilday, E. Newman, C. Fanning, F.
                                               Sheikh, N. Wolowski and FTI (various) re: document
                                               collection and processing (.30); draft email to SDNY
                                               re: Slack analysis (1.2); coordinate with S&C
                                               e-discovery team re: processing data for production
                                               (.10).
03/24/2023 Daniel O'Hara                  4.30 Review document batches assigned to associate
                                               review for responsiveness, privilege and other issues
                                               (3.3); correspondence with team re: status of Rule
                                               2004 request requests (1.0).
03/24/2023 Matthew Strand                 0.90 Run searches and review documents re: current FTX
                                               US personnel.
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Date        Name                         Hours Description
03/24/2023 Jason Gallant                   0.20 Correspondence with S&C team re: outgoing
                                                productions.
03/24/2023 Hannah Masters                  0.90 Review documents escalated from first-level review.
03/24/2023 Natalie Hills                   6.80 Perform quality check re: production volumes (4.9);
                                                review regulatory requests for FTX and related emails
                                                (.30); gather and update documents re: regulatory
                                                requests for FTX (1.6).
03/24/2023 William Scheffer                1.80 Review documents for production quality check.
03/24/2023 Hannah Zhukovsky                0.30 Archive and record responses to Rule 2004 request.
03/24/2023 Fareed Ahmed                    2.90 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/24/2023 Ehi Arebamen                   10.10 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/24/2023 Jenna Dilone                    6.00 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/24/2023 Camille Flynn                   7.30 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/24/2023 Dawn Harris-Cox                 4.80 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/24/2023 Joshua Hazard                   7.30 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/24/2023 Sally Hewitson                  6.00 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/24/2023 Sherry Johnson                  3.70 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/24/2023 Serge Koveshnikoff              9.00 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/24/2023 Georgia Maratheftis            10.80 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/24/2023 Robin Perry                     6.40 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
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Date        Name                        Hours Description
03/24/2023 Dawn Samuel                    3.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/24/2023 Mary McMahon                   2.40 Call with Z. Flegenheimer, J. Gilday, E. Newman, C.
                                               Fanning, F. Sheikh, N. Wolowski and FTI (various)
                                               re: document collection and processing (.30);
                                               correspondence with FTI and the case team re:
                                               productions to the regulators (2.0); update case
                                               workplan (.10).
03/24/2023 Stephen Dooley                 0.70 Call with Z. Flegenheimer, J. Gilday, E. Newman, R.
                                               Perubhatla (RLKS) and FTI (various) re: document
                                               collection and processing.
03/24/2023 Carrie Fanning                 0.30 Call with Z. Flegenheimer, M. McMahon, J. Gilday,
                                               E. Newman, F. Sheikh, N. Wolowski and FTI
                                               (various) re: document collection and processing.
03/24/2023 Joseph Gilday                  3.20 Call with Z. Flegenheimer, S. Dooley, E. Newman, R.
                                               Perubhatla (RLKS) and FTI (various) re: document
                                               collection and processing (.70); call with Z.
                                               Flegenheimer, M. McMahon, E. Newman, C.
                                               Fanning, F. Sheikh, N. Wolowski and FTI (various)
                                               re: document collection and processing (.30); attention
                                               to quality check of production volumes (.60); attention
                                               to processing of customer account data (.30);
                                               attention to processing of Slack channel information
                                               data (.30); update S&C e-discovery team chain of
                                               custody records (.40); update production log (.30);
                                               review email re: document collections and searches
                                               (.10); coordinate with J. Ybanez transfer of matter
                                               data to physical media (.20).
03/24/2023 Evan Masurka                   4.00 Call re: production exports to FTI with E. Yim (.50);
                                               prepare multiple production exports for FTI (3.5).
03/24/2023 Eric Newman                    2.10 Call with Z. Flegenheimer and N. Wolowski and FTI
                                               re: Slack processing and analysis (.30); call with Z.
                                               Flegenheimer, J. Gilday, S. Dooley, R. Perubhatla
                                               (RLKS) and FTI (various) re: document collection
                                               and processing (.70); call with Z. Flegenheimer, M.
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Date        Name                        Hours Description

                                                McMahon, J. Gilday, C. Fanning, F. Sheikh, N.
                                                Wolowski and FTI (various) re: document collection
                                                and processing (.30); correspondence with internal
                                                team re: handling of previously produced documents
                                                for upcoming productions (.80).
03/24/2023 Faisal Sheikh                  0.30 Call with Z. Flegenheimer, M. McMahon, J. Gilday,
                                               E. Newman, C. Fanning, N. Wolowski and FTI
                                               (various) re: document collection and processing.
03/24/2023 Nicholas Wolowski              0.60 Call with Z. Flegenheimer, E. Newman and FTI re:
                                               Slack processing and analysis (.30); call with Z.
                                               Flegenheimer, M. McMahon, J. Gilday, E. Newman,
                                               C. Fanning, F. Sheikh and FTI (various) re: document
                                               collection and processing (.30).
03/24/2023 Eileen Yim                     0.70 Call re: production exports to FTI with E. Masurka
                                               (.50); correspondence with E. Newman re: production
                                               exports for FTI (.20).
03/25/2023 Bradley Harsch                 0.10 Email J. Gallant re: timing of federal law enforcement
                                               production.
03/25/2023 Matthew Strand                 0.70 Complete review of documents related to current FTX
                                               US personnel.
03/25/2023 Bonifacio Abad                 3.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/25/2023 Ehi Arebamen                   8.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/25/2023 LaToya Edwards                 4.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/25/2023 Joshua Hazard                  6.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/25/2023 Sally Hewitson                10.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/25/2023 Sherry Johnson                 4.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/25/2023 Georgia Maratheftis            5.20 Review document batches assigned to analyst review
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Date        Name                        Hours Description

                                                for responsiveness, privilege and other issues.
03/25/2023 Robin Perry                    9.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/25/2023 Robert Providence              6.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/25/2023 Joseph Gilday                  0.10 Attention to quality check of production volumes.
03/26/2023 Samuel Woodall III             0.10 Correspondence with HFSC re: document request.
03/26/2023 Jason Gallant                  1.00 Review documents for production to SDNY.
03/26/2023 Bonifacio Abad                 6.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/26/2023 Ehi Arebamen                   7.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/26/2023 LaToya Edwards                 8.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/26/2023 Ruth Godin                     3.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/26/2023 Joshua Hazard                  7.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/26/2023 Sally Hewitson                 2.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/26/2023 Nicole Isacoff                 8.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/26/2023 Sherry Johnson                 4.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/26/2023 Georgia Maratheftis            4.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/26/2023 Robin Perry                    5.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/26/2023 Robert Providence              5.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/26/2023 Nicolette Ragnanan             1.00 Review document batches assigned to analyst review
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Date        Name                        Hours Description

                                                for responsiveness, privilege and other issues.
03/26/2023 Dawn Samuel                    6.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/27/2023 Stephanie Wheeler              0.10 Call with W. Scheffer re: review of FTX subsidiary
                                               data.
03/27/2023 Samuel Woodall III             0.90 Correspondence with HFSC counsel re: document
                                               production (.50); correspondence with J. Rosenfeld,
                                               K. Shields, and S. Peikin re: HFSC document
                                               production (.40).
03/27/2023 Brian Glueckstein              0.30 Correspondence with QE team re: Rule 2004
                                               discovery issues.
03/27/2023 Christopher Dunne              0.50 Correspondence to former FTX.com personnel
                                               counsel and A. Kranzley re: follow-up
                                               communications.
03/27/2023 Anthony Lewis                  0.10 Correspondence with S&C, Sygnia, and relevant third
                                               party counsel teams re: Rule 2004 discovery requests.
03/27/2023 Kamil Shields                  2.90 Review and finalize production of documents to
                                               HFSC (1.3); correspondence re: same with J.
                                               Rosenfeld and P. Lavin (.40); revise draft production
                                               letter to HFSC (.90); email comments re: same to J.
                                               Rosenfeld (.30).
03/27/2023 Bradley Harsch                 2.40 Review response to non-party subpoena re: relevant
                                               third party (.20); review talking points for call with
                                               state law enforcement (.20); review email re: IRS
                                               summons for information (.10); email J. Gallant re:
                                               state law enforcement subpoena (.10); email A&M re:
                                               results of searches for state law enforcement (.10);
                                               review and email re: relevant third party data for state
                                               law enforcement subpoena (.10); finalize and circulate
                                               production and FOIA letters for federal law
                                               enforcement subpoena (.80); review A. Cohen and J.
                                               McDonald correspondence re: debtor entity
                                               documents and data (.10); email federal law
                                               enforcement re: subpoena (.10); review and address
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Date        Name                        Hours Description

                                                S. Wheeler comments re: talking points for state law
                                                enforcement call (.50); correspondence re: production
                                                of former FTX personnel email re: FTX U.S. issue
                                                (.10).
03/27/2023 Shane Yeargan                  1.10 Review A&M data for privilege.
03/27/2023 Mark Bennett                   0.60 Prepare documents for production and
                                               correspondence with FTI and Z. Flegenheimer re:
                                               same (.40); draft summary of producted documents
                                               for production letter (.20).
03/27/2023 Kathleen Donnelly              0.40 Correspondence with team re: productions.
03/27/2023 Zoeth Flegenheimer             4.30 Prepare productions to SDNY (1.0); call with E.
                                               Newman, J. Gilday, M. McMahon, C. Fanning and
                                               FTI (various) re: document collection and processing
                                               (.40); call with W. Scheffer re: review of FTX
                                               subsidiary data (.10); coordinate with FTI re:
                                               document production and preparing searches (.40);
                                               review database user access list for S&C
                                               accounts(.20); coordinate with A. Holland re: privilege
                                               determination (.20); coordinate with M. McMahon re:
                                               document review and production (.30); coordinate
                                               with M. Bennett re: document production (.10);
                                               review and revise draft form for providing third party
                                               access to document workspace (.50); coordinate with
                                               associate team re: document review (.40); coordinate
                                               with S&C e-discovery team re: document production
                                               (.10); update tracker of responses to SDNY's priority
                                               requests (.60).
03/27/2023 Jared Rosenfeld                2.40 Coordinate production to HFSC and draft cover letter
                                               re: same.
03/27/2023 Alexander Holland              2.40 Review and perform quality check re: documents for
                                               SDNY production.
03/27/2023 Daniel O'Hara                  3.60 Review document batches assigned to associate
                                               review for responsiveness, privilege and other issues.
03/27/2023 Samantha Rosenthal             0.40 Review relevant third party response to Rule 2004
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                                                 request follow-up questions (.30); correspondence
                                                 with Sygnia re: same (.10).
03/27/2023 Medina Sadat                    0.90 Prepare production letter (.60); correspondence with
                                                S&C team re: issues with SEC production (.30).
03/27/2023 Matthew Strand                  1.90 Coordinate with FTI and S&C e-discovery team re:
                                                production to state and prior productions related to
                                                SDNY.
03/27/2023 Ugonna Eze                      2.00 Review document batches assigned to associate
                                                review for responsiveness, privilege and other issues.
03/27/2023 Jason Gallant                   0.60 Correspondence with S&C team re: outgoing
                                                productions.
03/27/2023 Emma Downing                    0.30 Call with M. McMahon, W. Scheffer and FTI re:
                                                review for potentially privileged communications.
03/27/2023 Natalie Hills                   3.80 Perform quality check re: production volumes (2.4);
                                                review document batches assigned to associate review
                                                for responsiveness, privilege and other issues (.70);
                                                coordinate with FTI to retrieve documents (.70).
03/27/2023 Phoebe Lavin                    2.90 Review documents for production to HFSC.
03/27/2023 Aneesa Mazumdar                 2.30 Review documents for production quality check.
03/27/2023 Tatum Millet                    1.20 Revise summary chart for spreadsheets review in the
                                                course of relevant third party document review (1.0);
                                                correspondence to J. Rosenfeld and P. Lavin re:
                                                document review for HFSC (.20).
03/27/2023 Luke Ross                       1.30 Review document batches assigned to associate
                                                review for responsiveness, privilege and other issues.
03/27/2023 William Scheffer                1.90 Correspondence with P. Lavin re: HFSC production
                                                (.20); call with S. Wheeler re: review of FTX
                                                subsidiary data (.10); call with Z. Flegenheimer re:
                                                review of FTX subsidiary data (.10); call with Z.
                                                Flegenheimer re: review of FTX subsidiary data (.10);
                                                analyze search terms for privileged communications
                                                (.80); call with E. Downing, M. McMahon and FTI re:
                                                review for potentially privileged communications (.30);
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Date        Name                        Hours Description

                                                correspondence with C. Dunne and E. Downing re:
                                                privilege review (.30).
03/27/2023 Fareed Ahmed                  11.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/27/2023 Ehi Arebamen                   9.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/27/2023 Jenna Dilone                   8.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/27/2023 LaToya Edwards                 8.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/27/2023 Camille Flynn                  9.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/27/2023 Ruth Godin                     4.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/27/2023 Joshua Hazard                 11.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/27/2023 Sally Hewitson                 9.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues (8.7);
                                               call with R. Perry, N. Isacoff, M. McMahon and FTI
                                               re: review and logging of potentially privileged
                                               correspondence (.30).
03/27/2023 Nicole Isacoff                 3.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues (2.5);
                                               call with FTI re: privilege updates (.20); call with R.
                                               Perry, S. Hewitson, M. McMahon and FTI re: review
                                               and logging of potentially privileged correspondence
                                               (.30).
03/27/2023 Sherry Johnson                 3.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/27/2023 Serge Koveshnikoff             9.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/27/2023 Georgia Maratheftis           11.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
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03/27/2023 Robin Perry                    8.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues (8.2);
                                               call with S. Hewitson, N. Isacoff, M. McMahon and
                                               FTI re: review and logging of potentially privileged
                                               correspondence (.30).
03/27/2023 Nicolette Ragnanan             3.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/27/2023 Dawn Samuel                    2.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/27/2023 Mary McMahon                   5.00 Call with E. Downing, W. Scheffer and FTI re: review
                                               for potentially privileged communications (.30); call
                                               with Z. Flegenheimer, E. Newman, J. Gilday, M.
                                               McMahon, C. Fanning and FTI (various) re:
                                               document collection and processing (.40); call with S.
                                               Hewitson, R. Perry, N. Isacoff and FTI re: review and
                                               logging of potentially privileged communications (.30);
                                               correspondence with FTI and the case team re: review
                                               and case updates (2.0); review metric, collection and
                                               processing reports (1.0); update work plan (1.0).
03/27/2023 Carrie Fanning                 0.40 Call with Z. Flegenheimer, E. Newman, J. Gilday, M.
                                               McMahon, N. Wolowski and FTI (various) re:
                                               document collection and processing.
03/27/2023 Joseph Gilday                  3.00 Call with Z. Flegenheimer, E. Newman, M.
                                               McMahon, C. Fanning, N. Wolowski and FTI
                                               (various) re: document collection and processing (.40);
                                               attention to quality check of production volumes (.30);
                                               update processing request forms (.90); attention to
                                               processing of data for production volume (.30);
                                               update S&C e-discovery team chain of custody
                                               records (.10); attention to preparation of states
                                               production of volume (.10); attention to SEC access
                                               to production volume (.50); review email re: document
                                               collections and searches (.10); attention to preparation
                                               of production volume (.30).
03/27/2023 Eric Newman                    1.10 Call with Z. Flegenheimer, J. Gilday, M. McMahon,
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                                                C. Fanning and FTI (various) re: document collection
                                                and processing (.40); correspondence with internal
                                                team and FTI re: preparation of production to HFSC
                                                (.20); updates to internal project playbook (.50).
03/27/2023 Nicholas Wolowski              0.40 Call with Z. Flegenheimer, E. Newman, J. Gilday, M.
                                               McMahon, C. Fanning and FTI (various) re:
                                               document collection and processing.
03/28/2023 Stephanie Wheeler              1.40 Review privilege redactions (1.0); meeting with D.
                                               O’Hara re: privilege redactions (.20); review draft
                                               production letter to states (.10); correspondence with
                                               A. Kranzley re: surety bond request (.10).
03/28/2023 Samuel Woodall III             1.90 Review draft HFSC document production letter (.40);
                                               correspondence with HFSC counsels re: document
                                               production request (.50); numerous correspondence
                                               with K. Shield, J. Rosenfeld, P. Lavin and S. Peikin
                                               re: response to HFSC document production request
                                               (.80); meeting with J. Rosenfeld and P. Lavin re:
                                               discussion of the document production to the HFSC
                                               (.20).
03/28/2023 Brian Glueckstein              0.40 Call with QE team re: Rule 2004 discovery requests
                                               (.10); call with K. Lemire (QE), A. Alden (QE), J.
                                               Petiford and F. Weinberg re: Rule 2004 requests
                                               (.30).
03/28/2023 Christopher Dunne              1.90 Call with J. Rosenfeld re: production of data (.10); call
                                               with J. Harris (Sher Tremonte), K. Staropoli (Sher
                                               Tremonte) and D. O’Hara re: Rule 2004 request
                                               requests (.30); correspondence with S&C team re:
                                               discovery priorities (1.5).
03/28/2023 Anthony Lewis                  0.10 Correspondence with S&C team and Sygnia team re:
                                               Rule 2004 requests for discovery.
03/28/2023 Bradley Harsch                 2.70 Review A&M email re: status of federal law
                                               enforcement production (.10); review and address J.
                                               McDonald comments re: talking points for call re: state
                                               law enforcement subpoena (1.1); email associates re:
                                               queries re: state law enforcement talking points (.10);
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                                                  review J. Gallant, FTI email re: production for state
                                                  law enforcement (.10); review J. Rosenfeld response
                                                  re: inquiry for state law enforcement (.20); review S.
                                                  Yeargan, A&M email re: updated information (.10);
                                                  review email re: disposition of debtor entity data (.10);
                                                  draft production and cover letters for federal law
                                                  enforcement production (.20); email S. Wheeler re:
                                                  outreach to state law enforcement re: subpoena (.10);
                                                  email state law enforcement re: call re: subpoena
                                                  response (.10); email J. Gallant re: language for re:
                                                  production of account data (.10); draft production
                                                  letter and cover email for production to state law
                                                  enforcement (.40).
03/28/2023 Shane Yeargan                    3.00 Review documents for states requests (1.1);
                                                 correspondence with A&M re: production of same
                                                 (.10); correspondence with K. Donnelly re:
                                                 productions for state follow-up requests (.20);
                                                 correspondence with A&M re: federal law
                                                 enforcement access to relevant third party data (.10);
                                                 correspondence with SDNY re: relevant third party
                                                 data (.10); review A&M data for privilege (1.4).
03/28/2023 Michele Materni                  0.30 Meeting with Z. Flegenheimer re: review of relevant
                                                 third party correspondence.
03/28/2023 Julie Kapoor                     0.50 Call with K. Lemire (QE), A. Alden (QE), B.
                                                 Glueckstein and F. Weinberg re: Rule 2004 requests.
03/28/2023 Fabio Weinberg Crocco            0.50 Call with K. Lemire (QE), A. Alden (QE), B.
                                                 Glueckstein and J. Petiford re: Rule 2004 requests.
03/28/2023 Kathleen Donnelly                2.70 Correspondence with team re: productions (.50);
                                                 correspond with team re: state data (.60); correspond
                                                 with team re: requests from state (.70); coordinate
                                                 production to state (.90).
03/28/2023 Zoeth Flegenheimer               1.30 Meeting with M. Materni re: review of relevant third
                                                 party correspondence (.30); coordinate with S.
                                                 Wheeler re: review of relevant third party
                                                 correspondence (.30); coordinate with K. Lemire
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                                                 (QE) re: document review (.10); prepare documents
                                                 for production to SDNY (.30); review SDNY request
                                                 for Slack data (.20); coordinate with S&C team re:
                                                 document review (.10).
03/28/2023 Jared Rosenfeld                 1.90 Call with C. Dunne re: production of data (.10);
                                                supervise production to HFSC (1.2); meeting with S.
                                                Woodall and P. Lavin re: discussion of the document
                                                production to the HFSC (.20); call with P. Lavin and
                                                T. Millet re: document review re: requests from HFSC
                                                (.40).
03/28/2023 Daniel O'Hara                   3.40 Review document batches assigned to associate
                                                review for responsiveness, privilege and other issues
                                                (2.5); review and respond to correspondence re:
                                                production (.40); meeting with S. Wheeler re: privilege
                                                redactions (.20); call with J. Harris (Sher Tremonte),
                                                K. Staropoli (Sher Tremonte) and C. Dunne re: Rule
                                                2004 request requests (.30).
03/28/2023 Samantha Rosenthal              0.40 Correspondences with M. McGuire (Landis) re:
                                                relevant third party supplemental response to Rule
                                                2004 request (.10); correspondence with relevant
                                                third party counsel re: response to Rule 2004
                                                supplemental requests (.20); correspondence with
                                                Sygnia re: same (.10).
03/28/2023 Matthew Strand                  2.20 Reviewed and revised state production letter (.40);
                                                reviewed prior production materials to state regulators
                                                (.90); reviewed privilege calls for communications and
                                                coordinated production of related materials (.90).
03/28/2023 Jason Gallant                   0.40 Correspondence with S&C team re: outgoing
                                                productions (.20); meeting with V. Shahnazary re:
                                                subpoena production tracker (.20).
03/28/2023 Natalie Hills                   0.20 Answered first-level document review question.
03/28/2023 Phoebe Lavin                    3.20 Review document batches assigned to associate
                                                review for responsiveness, privilege and other issues
                                                (.20); call with J. Rosenfeld and T. Millet re: document
                                                review re: requests from HFSC (.40); review of
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                                                documents re: requests from HFSC (.60); meeting
                                                with S. Woodall and J. Rosenfeld re: discussion of
                                                document production to the HFSC (.20); review
                                                documents for production to the HFSC (1.8).
03/28/2023 Tatum Millet                   0.80 Call with J. Rosenfeld and P. Lavin re: document
                                               review re: requests from HFSC (.40); correspondence
                                               with P. Lavin re: same (.40).
03/28/2023 Victoria Shahnazary            0.20 Meeting with J. Gallant re: subpoena production
                                               tracker.
03/28/2023 Bonifacio Abad                12.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/28/2023 Fareed Ahmed                  11.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/28/2023 Ehi Arebamen                   8.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/28/2023 Jenna Dilone                   6.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/28/2023 LaToya Edwards                10.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/28/2023 Camille Flynn                  9.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/28/2023 Ruth Godin                     6.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/28/2023 Dawn Harris-Cox                6.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/28/2023 Joshua Hazard                  9.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/28/2023 Sally Hewitson                 8.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/28/2023 Nicole Isacoff                 6.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/28/2023 Sherry Johnson                 4.20 Review document batches assigned to analyst review
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                                                for responsiveness, privilege and other issues.
03/28/2023 Frank Jordan                  13.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/28/2023 Serge Koveshnikoff            12.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/28/2023 Georgia Maratheftis            9.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/28/2023 Robin Perry                    7.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/28/2023 Robert Providence             11.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/28/2023 Nicolette Ragnanan             1.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/28/2023 Dawn Samuel                   12.40 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/28/2023 Mary McMahon                   1.40 Correspondence with FTI and the case team re:
                                               review and production updates.
03/28/2023 Stephen Dooley                 0.40 Call with, E. Newman, N. Wolowski, J. Gilday, K.
                                               Dusendschon (A&M) and FTI (various) re: A&M
                                               document collection and processing.
03/28/2023 Joseph Gilday                  3.90 Call with S. Dooley, E. Newman, N. Wolowski, K.
                                               Dusendschon (A&M) and FTI (various) re: A&M
                                               document collection and processing (.40); attention to
                                               quality check of production volume (.70); update
                                               S&C e-discovery team chain of custody records
                                               (.80); update production log (.20); attention to
                                               preparation of production to states (.20); review email
                                               re: document collections and searches (.10);
                                               correspondence with S&C e-discovery team,
                                               contracts and paralegal teams re: court reporting for
                                               planned auction (.20); attention to preparation of
                                               production volume (.30); update processing request
                                               forms per S&C e-discovery team internal controls
                                               team (.10); correspondence with E. Newman re:
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                                                matter playbook (.10); update S&C data tracking
                                                matter summaries (.60); draft production quality check
                                                form for production volume (.20).
03/28/2023 Eric Newman                    1.70 Call with S. Dooley, N. Wolowski, J. Gilday, K.
                                               Dusendschon (A&M) and FTI (various) re: A&M
                                               document collection and processing (.40);
                                               correspondence with internal team and FTI re: transfer
                                               of documents prepared by S&C for production (.70);
                                               review internal collection and production logs (.60).
03/28/2023 Nicholas Wolowski              0.40 Call with S. Dooley, E. Newman, N. Wolowski, J.
                                               Gilday, K. Dusendschon (A&M) and FTI (various) re:
                                               A&M document collection and processing.
03/28/2023 Eileen Yim                     0.20 Correspondence with E. Newman re: new production
                                               exports for FTI with images and natives.
03/29/2023 Samuel Woodall III             0.70 Correspondence with J. Rosenfeld and K. Shields re:
                                               HFSC production (.10); correspondence with HFSC
                                               re: response to document production request (.20);
                                               correspondence with HFSC counsel re: document
                                               production (.20); draft and send final initial response
                                               to HFSC document request (.20).
03/29/2023 Bradley Harsch                 1.40 Review S&C e-discovery team, FTI email re: federal
                                               law enforcement production (.10); email S. Wheeler,
                                               J. McDonald, S. Peikin re: call with state law
                                               enforcement and potential productions (.20); email
                                               state law enforcement re: call re: subpoena (.10); call
                                               with J. Gallant re: A&M spreadsheet (.20); call with
                                               S. Yeargan re: A&M spreadsheet (.10); email S.
                                               Wheeler re: scheduling state law enforcement call
                                               (.10); review A&M email and spreadsheet re:
                                               documentation and data (.30); finalize and circulate
                                               production to state law enforcement (.20); review
                                               production letter to HFSC (.10).
03/29/2023 William Wagener                0.80 Review and comment re: draft Rule 2004 requests.
03/29/2023 Shane Yeargan                  5.10 Call with B. Harsch re: A&M spreadsheet (.10);
                                               review account data and correspondence with data
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Date        Name                        Hours Description

                                                team for state regulatory requests (1.6);
                                                correspondence with S. Wheeler and K. Donnelly re:
                                                state requests re: relevant third party (.20);
                                                correspondence with A&M re: relevant requests
                                                (.20); correspondence with K. Donnelly re: SSR
                                                requests (.10); correspondence with SDNY re:
                                                federal law enforcement access to data (.10);
                                                correspondence with A&M re: relevant third party
                                                (.10); correspondence with S. Wheeler, K. Donnelly
                                                and D. O'Hara re: data for state user (.70); review
                                                revised data for FTX.com and FTX US users (.60);
                                                correspondence with Z. Flegenheimer re: relevant
                                                agreements (.10); review A&M data for privilege
                                                (1.3).
03/29/2023 Kathleen Donnelly              1.60 Correspondence with team re: productions to the
                                               states (.40); review data for states production (1.2).
03/29/2023 Zoeth Flegenheimer             5.70 Prepare documents for production to SDNY (5.3);
                                               coordinate with S&C e-discovery team re: document
                                               production (.10); coordinate with S. Wheeler re:
                                               Slack review (.20); coordinate with S&C e-discovery
                                               team re: Slack data (.10).
03/29/2023 Meaghan Kerin                  0.10 Correspondence with A. Lewis and A. Holland re:
                                               DOJ production.
03/29/2023 Jared Rosenfeld                3.80 Supervise and correspondence with S&C team re:
                                               production to HFSC (.60); call with A. Mazumdar re:
                                               Rule 2004 requests (.50); draft and revise Rule 2004
                                               requests for relevant third party (2.7).
03/29/2023 Alexander Holland              0.30 Correspondence with M. Kerin re: document
                                               production.
03/29/2023 Daniel O'Hara                  3.30 Review and respond to correspondence re: weekly
                                               production (.10); review documents for production
                                               (3.1); correspondence with S&C team re: subpoena
                                               status (.10).
03/29/2023 Samantha Rosenthal             0.50 Draft follow-up questions to relevant third party re:
                                               Rule 2004 request response (.30); correspondence
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Date        Name                         Hours Description

                                                 with M. McGuire (Landis) re: same (.20).
03/29/2023 Matthew Strand                  1.90 Coordinate with S&C e-discovery team re: document
                                                production status (1.2); review documents for
                                                privilege and coordinate production to SDNY (.70).
03/29/2023 Jason Gallant                   0.20 Call with B. Harsch re: A&M spreadsheet.
03/29/2023 Hannah Masters                  0.60 Draft production letter.
03/29/2023 Natalie Hills                   4.20 Perform quality check re: production volumes (3.7);
                                                review HFSC request and background materials in
                                                preparation for reviewing related documents (.50).
03/29/2023 Phoebe Lavin                    3.30 Review documents for production to HFSC.
03/29/2023 Aneesa Mazumdar                 1.80 Research re: Rule 2004 requests (.70); revise draft
                                                Rule 2004 requests (.60); call with J. Rosenfeld re:
                                                Rule 2004 requests (.50).
03/29/2023 Tatum Millet                    3.40 Review documents to identify additional audit reports
                                                re: upcoming production to HFSC (1.5); collect
                                                documents re: SEC and political contributions (.80);
                                                review documents re: HFSC requests (1.1).
03/29/2023 Luke Ross                       1.10 Review produced documents re: political contributions
                                                presentation to SDNY.
03/29/2023 Victoria Shahnazary             0.30 Update production log with recent law enforcement
                                                production.
03/29/2023 Hannah Zhukovsky                0.20 Archive and record Relevant Third Party Rule 2004
                                                request response.
03/29/2023 Bonifacio Abad                 11.60 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/29/2023 Fareed Ahmed                   11.90 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/29/2023 Camille Flynn                   9.80 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/29/2023 Ruth Godin                      4.50 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/29/2023 Dawn Harris-Cox                12.50 Review document batches assigned to analyst review
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Date        Name                        Hours Description

                                                for responsiveness, privilege and other issues.
03/29/2023 Joshua Hazard                  7.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/29/2023 Sally Hewitson                 8.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/29/2023 Sherry Johnson                 7.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/29/2023 Frank Jordan                  11.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/29/2023 Georgia Maratheftis           11.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/29/2023 Robin Perry                    9.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/29/2023 Nicolette Ragnanan             1.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/29/2023 Dawn Samuel                   11.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/29/2023 Mary McMahon                   5.50 Correspondence with FTI re: review, production
                                               status and review quality check (2.5); review privilege
                                               updates and layout revisions (2.0); update work plan
                                               (1.0).
03/29/2023 Joseph Gilday                  3.20 Attention to quality check of production volumes
                                               (.70); update S&C e-discovery team chain of custody
                                               records (.40); update production log (.10); attention
                                               to processing of data for production volumes (.70);
                                               review email re: document collections and searches
                                               (.10); attention to database searches of production
                                               versions of selected documents (1.2).
03/29/2023 Eric Newman                    0.80 Correspondence with internal team re: EY review of
                                               Slack data (.30); correspondence with internal team
                                               re: former FTX personnel correspondence (.20);
                                               updates to internal project tracking for audit purposes
                                               (.30).
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Date        Name                        Hours Description
03/29/2023 Wayne Walther                  0.50 Perform technical quality check re: outgoing
                                               production volume (.40); correspondence with J.
                                               Gilday re: quality check findings for outgoing
                                               production, production reports and metadata summary
                                               (.10).
03/29/2023 Eileen Yim                     0.20 Retrieve production volume from FTI's fileshare.
03/30/2023 Stephanie Wheeler              0.20 Call with C. Dunne re: coordination of Rule 2004
                                               requests with QE (.10); meeting with Z. Flegenheimer
                                               re: production of Slack data (.10).
03/30/2023 Samuel Woodall III             0.10 Respond to HFSC counsel inquiry re: document
                                               production.
03/30/2023 Brian Glueckstein              0.40 Call with J. Petiford re: Rule 2004 requests and QE
                                               questions (.10); correspondence with C. Dunne re:
                                               Rule 2004 requests and requests workstreams (.30).
03/30/2023 Christopher Dunne              3.50 Extensive correspondence with Rule 2004 recipients
                                               and S&C team re: document productions (2.6); call
                                               with E. Downing re: confidentiality language for
                                               production letter (.10); review Rule 2004 requests
                                               (.30); call with S. Wheeler re: coordination of Rule
                                               2004 requests with QE (.10); call with E. Downing, J.
                                               Weinstein (Steptoe), M. Levin (Steptoe), and D.
                                               Podair (Steptoe) re: rule Rule 2004 meet and confer
                                               (.30); call with E. Downing re: Rule 2004 meet and
                                               confer (.10).
03/30/2023 Bradley Harsch                 5.90 Review email inquiry from state law enforcement
                                               (.10); email A&M re: inquiry from state law
                                               enforcement (.10); review email and attachments from
                                               international law enforcement (.20); review FTI email
                                               re: production for federal law enforcement (.10);
                                               review and email A&M re: spreadsheet and
                                               information (.30); prepare for call with state law
                                               enforcement re: subpoena response (.50);
                                               correspondence with S. Wheeler, J. McDonald and
                                               state law enforcement re: subpoena response (.50);
                                               correspondence to S. Wheeler re: state law
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Date        Name                        Hours Description

                                                enforcement call (.20); email S. Wheeler, J.
                                                McDonald re: action items from state law enforcement
                                                call (.10); email K. Donnelley re: documents for state
                                                law enforcement (.10); correspondence with S.
                                                Yeargan and A&M re: re: delivery of data (.50); draft
                                                follow up email to state law enforcement re: subpoena
                                                response (.20); review comments and circulate follow
                                                up email to state law enforcement re: subpoena
                                                response (.20); email J. Gallant re: production of
                                                documents for state law enforcement (.10); review
                                                and email re: inquiry from state law enforcement re:
                                                subpoena response (.10); review, research and email
                                                inquiry re: new requests from international law
                                                enforcement (.30); email S&C e-discovery team re:
                                                timing of state law enforcement production (.10); email
                                                S&C team re: time zone for production to state law
                                                enforcement (.10); draft follow up letter to state law
                                                enforcement (1.5); review correspondence to state
                                                law enforcement (.10); review and email A&M re:
                                                request from international law enforcement (.40); email
                                                international law enforcement re: requests (.10).
03/30/2023 William Wagener                0.60 Review and comment re: draft Rule 2004 requests and
                                               correspondence with J. Rosenfeld re: same.
03/30/2023 Michele Materni                0.30 Meeting with Z. Flegenheimer re: responding to
                                               SDNY’s request for Slack data.
03/30/2023 Mark Bennett                   2.20 Correspondence with L. Konig (A&M) re: response
                                               to SDNY request (.10); analyze data prepared in
                                               response to SDNY request (1.5); draft response to
                                               SDNY re: request (.60).
03/30/2023 Julie Kapoor                   0.20 Call with B. Glueckstein re: Rule 2004 requests (.10);
                                               follow up re: same (.10).
03/30/2023 Kathleen Donnelly              0.70 Review and revise production letter (.20); correspond
                                               with team re: states data (.10); correspond with team
                                               re: productions (.40).
03/30/2023 Zoeth Flegenheimer             4.30 Coordinate with S. Wheeler re: review of relevant
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                                 Project: 00029 - DISCOVERY

Date        Name                        Hours Description

                                                third party correspondence (.20); coordinate with
                                                A&M re: review of relevant third party
                                                correspondence (.10); coordinate with FTI re: Slack
                                                data and document productions (.70); prepare
                                                documents for production to SDNY (2.7); review
                                                documents for potential privilege (.10); meeting with
                                                S. Wheeler re: production of Slack data (.10);
                                                coordinate with M. McMahon re: document
                                                production (.10); meeting with M. Materni re:
                                                responding to SDNY’s request for Slack data (.30).
03/30/2023 Alexander Holland              1.10 Quality check review of documents for production to
                                               SDNY (.90); review document batches assigned to
                                               associate review for responsiveness, privilege and
                                               other issues (.20).
03/30/2023 Daniel O'Hara                  3.30 Prepare documents for production (1.0); draft cover
                                               letter and correspondence re: same (1.0); prepare
                                               status update re: subpoenas (.30); review documents
                                               for production (.40); review documents produced in
                                               response to subpoena (.60).
03/30/2023 Samantha Rosenthal             0.60 Draft follow-up questions to relevant third party re:
                                               Rule 2004 request response (.50); correspondence
                                               with A. Lewis and M. McGuire (Landis) re: same
                                               (.10).
03/30/2023 Matthew Strand                 2.10 Prepare production letters (.70); coordinate with FTI
                                               re: productions (.80); send production materials to
                                               various regulators (.60).
03/30/2023 Jason Gallant                  0.50 Correspondence with S&C team re: outgoing
                                               productions.
03/30/2023 Hannah Masters                 0.40 Draft and finalize production letter.
03/30/2023 Emma Downing                   1.90 Call with C. Dunne re: confidentiality language for
                                               production letter (.10); research confidentiality
                                               language (1.2); revise draft letter (.20); call with C.
                                               Dunne, J. Weinstein (Steptoe), M. Levin (Steptoe),
                                               and D. Podair (Steptoe) re: Rule 2004 meet and
                                               confer (.30); call with C. Dunne re: same (.10).
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                                  Project: 00029 - DISCOVERY

Date        Name                         Hours Description

03/30/2023 Natalie Hills                   3.10 Review documents re: HFSC request.
03/30/2023 Phoebe Lavin                    3.80 Review documents for production to HFSC.
03/30/2023 Keila Mayberry                  1.20 Review document batches assigned to associate
                                                review for responsiveness, privilege and other issues.
03/30/2023 Aneesa Mazumdar                 0.90 Answer questions escalated from first-level reviewers
                                                (.10); review documents for production quality check.
                                                (.80).
03/30/2023 Tatum Millet                    4.30 Review SEC-related documents for HFSC (2.7);
                                                correspondence with P. Lavin and N. Hill to
                                                determine responsiveness of certain documents (.40);
                                                coordinate with P. Lavin and N. Hill to collect
                                                responsive documents for J. Rosenfeld's review (1.2).
03/30/2023 Bonifacio Abad                 11.60 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/30/2023 Fareed Ahmed                    8.50 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/30/2023 Ehi Arebamen                   10.30 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/30/2023 Jenna Dilone                    6.10 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/30/2023 LaToya Edwards                  7.90 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/30/2023 Camille Flynn                  10.10 Update spreadsheet to reflect analyst assignments re:
                                                former FTX personnel and relevant third party
                                                production documents review (.50); review document
                                                batches assigned to analyst review for responsiveness,
                                                privilege and other issues (9.6).
03/30/2023 Ruth Godin                      6.90 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/30/2023 Dawn Harris-Cox                 7.30 Review document batches assigned to analyst review
                                                for responsiveness, privilege and other issues.
03/30/2023 Joshua Hazard                   8.30 Review document batches assigned to analyst review
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Date        Name                        Hours Description

                                                for responsiveness, privilege and other issues.
03/30/2023 Sally Hewitson                 9.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/30/2023 Sherry Johnson                 5.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/30/2023 Frank Jordan                  12.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/30/2023 Georgia Maratheftis            4.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/30/2023 Robert Providence             11.80 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/30/2023 Nicolette Ragnanan             3.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/30/2023 Mary McMahon                   6.00 Correspondence with FTI and the case team re:
                                               review, collections and productions (3.0); review the
                                               playbook (1.5); review privilege log scripts from FTI
                                               (1.5).
03/30/2023 Joseph Gilday                  4.00 Update S&C e-discovery team chain of custody
                                               records (.70); update production log (.20); attention
                                               to processing of third party production volume (.30);
                                               attention to processing of data for production volume
                                               (.40); attention to quality check of production volume
                                               (.40); attention to export of production volume (.40);
                                               review email re: document collections and searches
                                               (.10); transfer matter data to physical media (.60);
                                               correspondence with FTI re: preparation of
                                               production volume (.20); attention to preparation of
                                               production volume to state law enforcement (.70).
03/30/2023 Evan Masurka                   4.30 Call with E. Yim re: new export of internal FTX
                                               productions to FTI with images, natives and text (.50);
                                               prepare exports of internal FTX production volumes
                                               to FTI with load files, images, natives and text (3.8).
03/30/2023 Eric Newman                    0.70 Correspondence with internal team and FTI re:
                                               transmittal of previously produced documents for
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                                 Project: 00029 - DISCOVERY

Date        Name                        Hours Description

                                                re-production.
03/30/2023 Wayne Walther                  1.90 Perform technical quality check re: outgoing
                                               production volume (1.6); correspondence with J.
                                               Gilday re: quality check findings for outgoing
                                               production volume, production reports and metadata
                                               summary (.30).
03/30/2023 Eileen Yim                     0.70 Create production copies of production volume (.10);
                                               coordinate with J. Long re: media assistance of
                                               production volume (.10); call with E. Masurka re: new
                                               export of internal FTX productions to FTI with
                                               images, natives and text (.50).
03/31/2023 Stephanie Wheeler              1.00 Call with K. Donnelly re: production to federal
                                               regulator (.10); correspondence with K. Donnelly re:
                                               same (.20); revise letter to state law enforcement re:
                                               subpoena (.70).
03/31/2023 Christopher Dunne              0.70 Call with E. Downing, M. Summers (Ballard Spahr),
                                               N. Botwinick (Ballard Spahr), and D. Arellano
                                               (Herrera Arellano) re: rule Rule 2004 meet and confer
                                               (.20); call with E. Downing, and G. Dick (Cohen &
                                               Gresser) re: rule Rule 2004 meet and confer (.20); call
                                               with E. Downing re: rule Rule 2004 meet and confer
                                               (.30).
03/31/2023 Anthony Lewis                  0.10 Correspondence with Landis and S&C team re: Rule
                                               2004 discovery requests.
03/31/2023 Bradley Harsch                 3.50 Review A&M email re: status of response to
                                               international law enforcement (.10); email A.
                                               Thompson re: status of revisions to email re: debtor
                                               entity (.10); email re: provision of tax data to E&Y
                                               (.10); email SEC re: inquiry re: relevant third party
                                               document (.10); email S&C e-discovery tea and, J.
                                               Gallant re: SEC inquiry re: relevant third party
                                               document (.10); revise and circulate letter to state law
                                               enforcement re: subpoena response (.50); email J.
                                               Gallant re: status of federal law enforcement
                                               production (.10); review, research and email re: SEC
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                                 Project: 00029 - DISCOVERY

Date        Name                        Hours Description

                                                inquiry re: scope of communications search for
                                                relevant third party subpoena (.20); review S.
                                                Wheeler comments re: revised letter to state law
                                                enforcement re: subpoena response (1.3); email K.
                                                Donnelly re: relevant web page (.10); finalize and
                                                circulate production and FOIA letters for federal law
                                                enforcement subpoena (.20); email M. Strand re: draft
                                                email for relevant third party (.10); review email re:
                                                state law enforcement production status (.10); email
                                                M. Strand re: response to SEC inquiry re: relevant
                                                third party communications (.10); review and
                                                incorporate proofing comments re: state law
                                                enforcement letter (.20); email A&M re: searches for
                                                international law enforcement subpoena (.10).
03/31/2023 Jonathan Sedlak                0.30 Call with Z. Flegenheimer, M. McMahon, J. Gilday,
                                               E. Newman, S. Dooley and FTI (various) re:
                                               document collection and processing.
03/31/2023 Shane Yeargan                  0.80 Correspondence with K. Donnelly re: states
                                               productions (.30); correspondence with A&M re:
                                               debtor entity data exports (.20); correspondence with
                                               M. Bennett re: relevant third party data for SDNY
                                               borrow requests (.30).
03/31/2023 Michele Materni                0.20 Correspondence with J. Rosenfeld and T. Millet re:
                                               audit recordings.
03/31/2023 Mark Bennett                   1.60 Correspondence with S. Hewitson re: privilege issues
                                               re: first-level and analyst privilege review (.60); review
                                               privilege issues identified by analyst team (1.0).
03/31/2023 Kathleen Donnelly              2.40 Review data and correspond with team re:
                                               productions to the states (1.5); call with S. Wheeler
                                               re: production to federal regulators (.10) ; correspond
                                               with team re: productions (.80).
03/31/2023 Zoeth Flegenheimer             8.70 Prepare documents for production to SDNY (7.2);
                                               call with J. Gilday, S. Dooley, E. Newman, R.
                                               Perubhatla (RLKS) and FTI (various) re: document
                                               collection and processing (1.0); call with J. Sedlak, M.
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Date        Name                         Hours Description

                                                 McMahon, J. Gilday, E. Newman, S. Dooley and FTI
                                                 (various) re: document collection and processing (.30);
                                                 coordinate with M. McMahon re: document review
                                                 and production (.10); coordinate with FTI re:
                                                 document workspace access (.10).
03/31/2023 Meaghan Kerin                   0.20 Correspondence with A. Holland re: document
                                                production issues (.10); review documents re: same
                                                (.10).
03/31/2023 Jared Rosenfeld                 1.20 Supervise and correspond with S&C team re:
                                                production to HFSC.
03/31/2023 Andrew Thompson                 0.80 Review and provide comments to analysts re:
                                                proposed privilege log tagging guidance.
03/31/2023 Alexander Holland               0.40 Correspondence with M. Kerin, S&C e-discovery
                                                team, and FTI re: document production (.20); review
                                                documents for SDNY production (.20).
03/31/2023 Daniel O'Hara                   1.10 Review document batches assigned to associate
                                                review for responsiveness, privilege and other issues.
03/31/2023 Jason Gallant                   0.50 Correspondence with S&C team re: outgoing
                                                productions.
03/31/2023 Emma Downing                    3.20 Call with C. Dunne, M. Summers (Ballard Spahr), N.
                                                Botwinick (Ballard Spahr), and D. Arellano (Herrera
                                                Arellano) re: Rule 2004 meet and confer (.20); call
                                                with C. Dunne and G. Dick (Cohen & Gresser) re:
                                                Rule 2004 meet and confer (.20); call with C. Dunne
                                                re: Rule 2004 meet and confer (.30); review document
                                                batches assigned to associate review for
                                                responsiveness, privilege and other issues (.90); draft
                                                summary of relevant documents (1.2); revise summary
                                                (.40).
03/31/2023 Natalie Hills                   4.90 Prepare summary of documents review for HFSC
                                                request (2.4); update and edit summary (2.0); review
                                                documents for production in response to state
                                                regulatory requests (.50).
03/31/2023 Phoebe Lavin                    3.50 Review documents for production to HFSC.
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                                 Project: 00029 - DISCOVERY

Date        Name                        Hours Description
03/31/2023 Tatum Millet                   4.00 Identify additional audit reports responsive to HFSC
                                               request (1.3); identify versions of documents to be
                                               produced to HFSC (.70); draft correspondence to J.
                                               Rosenfeld re: produced versions of FTX audit reports
                                               (.30); correspondence with FTI re: same (.20); code
                                               documents for privilege (.60); discuss privilege coding
                                               of certain docs with P. Lavin (.40); review and revise
                                               summary of relevant documents (.50).
03/31/2023 Bonifacio Abad                10.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/31/2023 Fareed Ahmed                   8.90 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/31/2023 Jenna Dilone                   4.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/31/2023 LaToya Edwards                 4.20 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/31/2023 Dawn Harris-Cox                8.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/31/2023 Joshua Hazard                 11.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/31/2023 Sally Hewitson                10.60 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues (8.1);
                                               prepare privilege logging options for associate review
                                               and feedback (2.5).
03/31/2023 Sherry Johnson                 4.10 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/31/2023 Frank Jordan                  10.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/31/2023 Serge Koveshnikoff            10.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/31/2023 Georgia Maratheftis            8.00 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/31/2023 Robin Perry                    7.80 Review document batches assigned to analyst review
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Date        Name                        Hours Description

                                                for responsiveness, privilege and other issues.
03/31/2023 Robert Providence             12.30 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/31/2023 Nicolette Ragnanan             3.50 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/31/2023 Dawn Samuel                   11.70 Review document batches assigned to analyst review
                                               for responsiveness, privilege and other issues.
03/31/2023 Mary McMahon                   6.50 Correspondence with FTI and the case team re:
                                               review, collection updates and productions (3.2);
                                               correspondence with FTI re: privilege review and
                                               threading for potential redactions (3.0); call with J.
                                               Sedlak, Z. Flegenheimer, J. Gilday, E. Newman, S.
                                               Dooley and FTI (various) re: document collection and
                                               processing (.30).
03/31/2023 Stephen Dooley                 1.30 Call with Z. Flegenheimer, J. Gilday, E. Newman, R.
                                               Perubhatla (RLKS) and FTI (various) re: document
                                               collection and processing (.30); call with J. Sedlak, Z.
                                               Flegenheimer, M. McMahon, J. Gilday, E. Newman
                                               and FTI (various) re: document collection and
                                               processing.
03/31/2023 Joseph Gilday                  6.40 Call with Z. Flegenheimer, S. Dooley, E. Newman, R.
                                               Perubhatla (RLKS) and FTI (various) re: document
                                               collection and processing (1.0); call with J. Sedlak, Z.
                                               Flegenheimer, M. McMahon, E. Newman, S. Dooley
                                               and FTI (various) re: document collection and
                                               processing (.30); update S&C e-discovery team chain
                                               of custody records (.70); update production log (.20);
                                               attention to processing of data for production volume
                                               (.40); attention to quality check of production volumes
                                               (.70); review email re: document collections and
                                               searches (.10); transfer matter data to physical media
                                               (2.1); attention to resolution of unviewable
                                               attachments in production volume (.60); attention to
                                               preparation of production volume to state law
                                               enforcement (.30).
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Date       Name                        Hours Description
03/31/2023 Evan Masurka                  7.30 Prepare exports of internal FTX production volumes
                                              to FTI with load files, images, natives and text (6.3);
                                              prepare final combined internal FTX production
                                              volumes to FTI (1.0).
03/31/2023 Eric Newman                   1.30 Call with Z. Flegenheimer, J. Gilday, S. Dooley, R.
                                              Perubhatla (RLKS) and FTI (various) re: document
                                              collection and processing (1.0); call with J. Sedlak, Z.
                                              Flegenheimer, M. McMahon, J. Gilday, S. Dooley
                                              and FTI (various) re: document collection and
                                              processing (.30).
03/31/2023 Eileen Yim                    1.60 Create final deliverable zip of production volume
                                              export with images, natives and text for FTI (.10);
                                              correspondence with J. Gilday re: same (.10); quality
                                              check production volume (.50); correspondence with
                                              J. Gilday re: quality check finding of production
                                              volume (.10); quality check production volume (.70);
                                              correspondence with J. Gilday re: quality check of
                                              production volume (.10).

Total                                4,208.10
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                                 Project: 00030 - HEARINGS

Date        Name                        Hours Description

03/14/2023 Brian Glueckstein             2.50 Appear at Emergent MTD hearing.

Total                                    2.50
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                           Project: 00031 - FIRST AND SECOND DAY MOTIONS

Date        Name                            Hours Description

03/01/2023 Brian Glueckstein                 0.20 Call with J. Petiford re: creditor matrix order.
03/01/2023 Julie Kapoor                      0.20 Call with B. Glueckstein re: creditor matrix order.
03/09/2023 Brian Glueckstein                 0.30 Call with J. Petiford re: creditor matrix order.
03/09/2023 Ryan Logan                        0.80 Correspondence with J. Petiford regarding GDPR
                                                  issues in connection with creditor matrix order.
03/09/2023 Julie Kapoor                      0.60 Call with B. Glueckstein re: creditor matrix order
                                                  (.30); follow up re: same (.30).
03/10/2023 Nam Luu                           0.20 Correspondence with S&C team re: GDPR issues
                                                  related to creditor matrix order.
03/13/2023 Evan Simpson                      0.80 Call with S. Mishkin and J. Petiford re: GDPR issues
                                                  in connection with creditor matrix order (.30); review
                                                  prior local counsel advice re: data privacy matters in
                                                  advance of internal call (.50).
03/13/2023 Julie Kapoor                      0.30 Call with E. Simpson and S. Mishkin re: GDPR issues
                                                  in connection with creditor matrix order.
03/13/2023 Sarah Mishkin                     0.60 Call with E. Simpson and J. Petiford re: GDPR issues
                                                  in connection with creditor matrix order (.30); internal
                                                  correspondence re: data privacy law survey results
                                                  (.30).
03/15/2023 Ryan Logan                        0.20 Correspondence to J. Petiford re: FTX GDPR issues
                                                  in connection with creditor matrix order.
03/16/2023 Ryan Logan                        0.60 Call with J. Petiford and R. Grosvenor (A&M) re:
                                                  GDPR issues (.30); call with J. Petiford re: same
                                                  (.30).
03/16/2023 Julie Kapoor                      1.20 Call with R. Logan and R. Grosvenor (A&M) re:
                                                  GDPR issues (.30); call with R. Logan re: same (.30);
                                                  follow up re: same (.60).
03/23/2023 Ryan Logan                        0.20 Call with J. Petiford re: GDPR issues.
03/23/2023 Julie Kapoor                      0.60 Call with R. Logan re: GDPR issues (.20); review
                                                  research re: same (.40).
03/31/2023 Julie Kapoor                      0.10 Call with D. Mapplethorpe (Kroll) re: creditor matrix.
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Total                              6.90
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                               Project: 00032 - CLAIMS INVESTIGATION

Date        Name                            Hours Description

03/27/2023 Steven Peikin                     0.40 Call with QE team and J. Ray (FTX) re: claims.
03/31/2023 Andrew Dietderich                 1.20 Review A&M deck re: Alameda claims (.30); call
                                                  with A&M team to discuss and identify next steps for
                                                  their analytical work (.90).

Total                                        1.60
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                               Project: 00033 - GENERAL INVESTIGATIONS

Date        Name                             Hours Description

03/01/2023 Stephanie Wheeler                  0.30 Correspondence to E. Silver (Lowenstein), S. Peikin
                                                   and current FTX personnel re: conflicts issue (.20);
                                                   meeting with M. Materni and Z. Flegenheimer re:
                                                   responding to SDNY priority requests (.10).
03/01/2023 Samuel Woodall III                 0.20 Correspondence to S. Peikin, S. Wheeler, N.
                                                   Friedlander and K. Shields re: response to HFSC staff
                                                   request.
03/01/2023 Kathleen McArthur                  0.20 Correspondence to J. Croke re SDNY requests
                                                   (.10); review media coverage of FTX case (.10).
03/01/2023 Jacob Croke                        0.60 Analyze SDNY priority requests and potential
                                                   responses (.30), correspondence to S. Wheeler and
                                                   A. Holland re: same (.30).
03/01/2023 Anthony Lewis                      0.40 Correspondence with S&C, A&M and former FTX
                                                   personnel counsel teams re: discussions with FTX
                                                   personnel (.30); correspondence with S&C and
                                                   Sygnia teams re: materials for SDNY (.10).
03/01/2023 Theodore Rogers Jr.                0.50 Correspondence to S. Wheeler re: due diligence call
                                                   and responses to questions re: settlement
                                                   confidentiality provisions.
03/01/2023 Bradley Harsch                     0.70 Review response from Turkish counsel re: call with
                                                   SNG (.20); correspondence to Turkish counsel re: call
                                                   re: call with SNG and FTX Turkey status (.10); draft
                                                   notes for call with Turkish counsel (.20);
                                                   correspondence with current FTX personnel re:
                                                   former FTX personnel pay (.10); correspondence
                                                   with former FTX personnel counsel re: Lowenstein
                                                   (.10).
03/01/2023 William Wagener                    1.60 Meeting with S&C team re: ongoing investigations
                                                   workstreams (1.0); call with Alix team re: HFSC
                                                   request (.30 - partial attendance); correspondence to
                                                   S&C team re: former FTX personnel plea transcript
                                                   (.30).
03/01/2023 Ryan Logan                         0.30 Correspondence to N. Friedlander re: storage of FTX
                                                   databases by Alix.
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                               Project: 00033 - GENERAL INVESTIGATIONS

Date        Name                             Hours Description
03/01/2023 Shane Yeargan                      1.90 Call with Anderson Mori team re: Third Party
                                                   Exchanges (.20); meeting with S&C team re: ongoing
                                                   investigations workstreams (1.0); correspondence to
                                                   J. Croke and A. Holland re: Third Party Exchange
                                                   accounts (.20); review communications from Third
                                                   Party Exchanges (.50).
03/01/2023 Michele Materni                    8.40 Correspondence to A. Holland and A&M team re:
                                                   data analysis (.40); meeting with S&C team re:
                                                   ongoing investigations workstreams (1.0); continue
                                                   reviewing current FTX U.S. personnel
                                                   communications in connection with SDNY
                                                   presentation (1.7); call with J. Gallant re: search terms
                                                   for relevant third party documents (.20);
                                                   correspondence to J. Gallant re: relevant third party
                                                   documents (.20); revise summary of relevant third
                                                   party documents (.30); meeting with L. Ross re:
                                                   SDNY presentation outline (.30); revise drafts and
                                                   outline for SDNY presentation (3.8); meeting with Z.
                                                   Flegenheimer re: responding to SDNY priority
                                                   requests (.40); meeting with S. Wheeler and Z.
                                                   Flegenheimer re: responding to SDNY priority
                                                   requests (.10).
03/01/2023 Mark Bennett                       1.50 Correspondence to M. Materni re: Nardello report re:
                                                   former FTX personnel (.20); correspondence with
                                                   S&C associate team re: review of documents
                                                   identified as interesting to investigation (.30); meeting
                                                   with S&C team re: ongoing investigations
                                                   workstreams (1.0).
03/01/2023 Kathleen Donnelly                  2.00 Meeting with D. O’Hara re: ongoing investigatory
                                                   workstreams (.50); meeting with S&C team re:
                                                   ongoing investigations workstreams (1.0);
                                                   correspondence to S&C team re: investigative
                                                   workstreams (.50).
03/01/2023 Zoeth Flegenheimer                 2.00 Meeting with M. Materni re: responding to SDNY
                                                   priority requests (.40); meeting with S. Wheeler and
                                                   M. Materni re: responding to SDNY priority requests
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                                                    (.10); meeting with S&C team re: ongoing
                                                    investigations workstreams (1.0); correspondence to
                                                    K. Donnelly re: review of valuation memos (.20);
                                                    correspondence to M. Cilia (RLKS) re: collecting
                                                    requested by SDNY (.30).
03/01/2023 Jared Rosenfeld                    1.20 Meeting between W. Wagener, S. Yeargan, M.
                                                   Materni, M. Bennett, J. Rosenfeld, K. Donnelly, A.
                                                   Thompson and Z. Flegenheimer re: ongoing
                                                   investigations workstreams (1.0); correspondence to
                                                   S&C team re: revision history of produced document
                                                   (.20).
03/01/2023 Andrew Thompson                    1.00 Meeting with S&C team re: ongoing investigations
                                                   workstreams.
03/01/2023 Daniel O'Hara                      0.50 Meeting with K. Donnelly re: ongoing investigatory
                                                   workstreams.
03/01/2023 Jason Gallant                      2.30 Research re: relevant third party documents (1.9);
                                                   search for former FTX personnel allocution transcript
                                                   (.20); call with M. Materni re: search terms for
                                                   relevant third party documents (.20).
03/01/2023 Emma Downing                       2.00 Revise outline for presentation re: financial issue (1.6);
                                                   revise interview notes (.40).
03/01/2023 Keila Mayberry                     1.70 Edit interview memos.
03/01/2023 Tatum Millet                       0.30 Summarize document re: SDNY request.
03/01/2023 Luke Ross                          3.70 Draft presentation outline re: financial issue (3.1);
                                                   meeting with M. Materni re: presentation outline (.30);
                                                   revise counsel list (.30).
03/01/2023 William Scheffer                   2.20 Edit SDNY presentation outline re: financial issue and
                                                   review relevant documents.
03/02/2023 Mitchell Eitel                     0.20 Correspondence to N. Friedlander re: issue relevant
                                                   to investigation.
03/02/2023 Stephanie Wheeler                  2.00 Revise agenda for senior lawyer call (.20); bi-weekly
                                                   S&C senior lawyers’ call re: ongoing investigations
                                                   workstreams (.50); meeting with K. Donnelly re:
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                                                     investigative workstreams (.40); read Nardello report
                                                     re: former FTX personnel (.80); correspondence to J.
                                                     Petiford re: pool counsel (.10).
03/02/2023 Steven Peikin                       0.50 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                    investigations workstreams.
03/02/2023 Stephen Ehrenberg                   0.60 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                    investigations workstreams (.50); review outline for
                                                    report re: issue relevant to investigation (.10).
03/02/2023 Samuel Woodall III                  0.50 Correspondence to S. Peikin and K. Shields re:
                                                    response to HFSC, including review of draft response
                                                    to HFSC (.30); correspondence to HFSC staff re:
                                                    inquiries (.20).
03/02/2023 Christopher Dunne                   2.20 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                    investigations workstreams (.50); correspondence to
                                                    S&C team re: investigations workstreams (.40);
                                                    review materials re: same (1.3).
03/02/2023 Kathleen McArthur                   1.60 Read report from Nardello re: former employee (.50);
                                                    bi-weekly S&C senior lawyers’ call re: ongoing
                                                    investigations workstreams (.50); review draft memo
                                                    from M. Bennett re: potential claims against relevant
                                                    third party (.40); correspondence to N. Friedlander
                                                    re: issue relevant to investigation (.10);
                                                    correspondence to J. Rosenfeld re: relevant media
                                                    report (.10).
03/02/2023 Jacob Croke                         1.20 Correspondence to A. Dietderich re: investigations
                                                    updates (.30); bi-weekly S&C senior lawyers’ call re:
                                                    ongoing investigations workstreams (.50); analyze
                                                    materials re: cooperator communications (.40).
03/02/2023 Nicole Friedlander                  0.50 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                    investigations workstreams.
03/02/2023 Sharon Levin                        0.60 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                    investigations workstreams (.50); correspondence
                                                    with N. Friedlander re: AML (.10).
03/02/2023 Anthony Lewis                       0.90 Bi-weekly S&C senior lawyers’ call re: ongoing
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                                                    investigations workstreams (.50); review topics for
                                                    discussions with former employees (.10);
                                                    correspondence with S&C and A&M teams re:
                                                    correspondence with former employees (.10);
                                                    correspondence with S&C and Sygnia teams re:
                                                    materials for SDNY (.10); correspondence to S&C
                                                    team re: HFSC investigation (.10).
03/02/2023 Theodore Rogers Jr.                0.20 Correspondence to S. Wheeler and former Alameda
                                                   personnel counsel re: settlement completion.
03/02/2023 Bradley Harsch                     1.20 Correspondence to Turkish counsel for re: call re:
                                                   regulator report (.10); review Nardello
                                                   correspondence to S&C team re: issues relevant to
                                                   BVI companies (.20); review agenda for senior
                                                   lawyers’ call (.10); correspondence to Turkish counsel
                                                   re: request for access to FTX Turkey database (.10);
                                                   bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams (.50); correspondence to
                                                   A&M team re: update on chart for transfer (.20).
03/02/2023 William Wagener                    0.50 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams.
03/02/2023 Jonathan Sedlak                    0.50 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams.
03/02/2023 Shane Yeargan                      1.60 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams (.50); review relevant third
                                                   party materials (1.1).
03/02/2023 Michele Materni                    0.70 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams (.50); call with A. Holland
                                                   re: response to SDNY priority request (.10); call with
                                                   W. Scheffer re: SDNY presentation re: financial issue
                                                   (.10).
03/02/2023 Mark Bennett                       0.50 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams.
03/02/2023 Kathleen Donnelly                  0.80 Read media report re: former FTX personnel (.10);
                                                   meeting with S. Wheeler re: investigative workstreams
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                                                    (.40); meeting with D. O’Hara re: ongoing
                                                    investigative workstreams (.30).
03/02/2023 Zoeth Flegenheimer                 0.50 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams.
03/02/2023 Meaghan Kerin                      0.20 Review draft Nardello report re: former employee.
03/02/2023 Jared Rosenfeld                    3.90 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams (.50); research and
                                                   correspondence to S&C team re: relevant third party
                                                   (1.2); research and correspondence to S&C team re:
                                                   FTX internal procedure documents (2.2).
03/02/2023 Andrew Thompson                    0.50 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams.
03/02/2023 Alexander Holland                  0.50 Call with M. Materni re: response to SDNY priority
                                                   request (.10); draft correspondence to K.
                                                   Dusendschon (A&M) re: KYC information (.40).
03/02/2023 Daniel O'Hara                      1.40 Review news and docket filings (.60); meeting with K.
                                                   Donnelly re: ongoing investigative workstreams (.30);
                                                   call with E. Downing re: coordinating various
                                                   workstreams (.50).
03/02/2023 Emma Downing                       4.40 Revise interview notes (1.1); revise talking points for
                                                   SDNY presentation (1.9); call with D. O'Hara re:
                                                   coordinating various workstreams (.50); call with W.
                                                   Scheffer re: SDNY presentation re: financial issue
                                                   (.90).
03/02/2023 Keila Mayberry                     0.30 Review Nardello report re: former FTX personnel.
03/02/2023 William Scheffer                   7.30 Draft talking points for SDNY presentation re:
                                                   financial issue (6.1); call with M. Materni re: SDNY
                                                   presentation re: financial issue (.10); call with E.
                                                   Downing re: SDNY presentation re: financial issue
                                                   (.90); correspondence with S&C team re: meeting
                                                   with current LedgerX personnel (.20).
03/03/2023 Stephanie Wheeler                  0.80 Call with K. Donnelly re: investigative workstreams
                                                   (.20); read complaint for declaratory judgment action
                                                   by former LedgerX personnel for fee advancement
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                                                      (.30); correspondence to N. Menillo, J. McDonald
                                                      and A. Cohen re: strategy re: same (.30).
03/03/2023 Steven Peikin                        0.20 Correspondence to S&C team re: as pool counsel.
03/03/2023 Stephen Ehrenberg                    0.20 Correpondence with B. Harsch re: FTX Turkey data
                                                     access overview.
03/03/2023 James McDonald                       0.50 Correspondence to S&C team re: investigation
                                                     updates.
03/03/2023 Oderisio de Vito Piscicelli          0.10 Correspondence to N. Friedlander re: AML
                                                     compliance.
03/03/2023 Anthony Lewis                        0.70 Correspondence with S&C team re: document
                                                     review.
03/03/2023 Bradley Harsch                       0.20 Review Sygnia findings re: FTX Turkey transfer.
03/03/2023 Shane Yeargan                        0.30 Correspondence to E. Shehada and J. Croke re: Third
                                                     Party Exchange motion.
03/03/2023 Michele Materni                      9.30 Correspondence to J. Rosenfeld re: internal controls
                                                     (.20); meeting with W. Scheffer, E. Downing and Alix
                                                     team re: SDNY presentation (.50); revise draft letter
                                                     re: pointer data for SDNY (.20); call with D. O’Hara
                                                     re: ongoing investigative workstreams (.20); meeting
                                                     with E. Downing and W. Scheffer re: edits to SDNY
                                                     presentation talking points (.50); call with W. Scheffer
                                                     re: edits to SDNY presentation talking points (.20);
                                                     revise draft talking points for SDNY presentation
                                                     (7.5).
03/03/2023 Mark Bennett                         2.30 Collect documents identified as interesting to
                                                     investigation team and draft and revise summaries re:
                                                     same (1.8); correspondence to S&C team re: same
                                                     (.50).
03/03/2023 Kathleen Donnelly                    0.30 Correspondence to S&C team re: investigative
                                                     workstreams (.10); call with S. Wheeler re:
                                                     investigative workstreams (.20).
03/03/2023 Zoeth Flegenheimer                   1.30 Correspondence to J. Lee (RLKS) re: collecting
                                                     records for SDNY (.10); review Nardello
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                                                    background memo re: former FTX personnel (1.2).
03/03/2023 Jared Rosenfeld                    1.40 Research and correspondence to S&C team re:
                                                   relevant third party research project.
03/03/2023 Daniel O'Hara                      0.90 Review news and docket filings (.50); call with M.
                                                   Materni re: ongoing investigative workstreams (.20);
                                                   meeting with E. Downing re: coordinating various
                                                   workstreams (.20).
03/03/2023 Emma Downing                       3.00 Review documents for SDNY request (1.4); call with
                                                   W. Scheffer re: coordinating SDNY presentation
                                                   (.40); meeting with M. Materni and W. Scheffer re:
                                                   edits to SDNY presentation talking points (.50);
                                                   meeting with M. Materni, W. Scheffer and Alix team
                                                   re: SDNY presentation (.50); meeting with D. O'Hara
                                                   re: coordinating various workstreams (.20).
03/03/2023 Keila Mayberry                     0.10 Correspondence to S&C team re: former Alameda
                                                   personnel settlement.
03/03/2023 Tatum Millet                       1.50 Complete quality check of document review.
03/03/2023 William Scheffer                   2.70 Prepare for meeting with Alix team re: SDNY
                                                   presentation (.20); meeting with M. Materni, E.
                                                   Downing and Alix team re: SDNY presentation (.50);
                                                   meeting with M. Materni and E. Downing re: edits to
                                                   SDNY presentation talking points (.50); call with M.
                                                   Materni re: edits to SDNY presentation talking points
                                                   (.20); call with E. Downing re: coordinating SDNY
                                                   presenation (.40); revise talking points for SDNY
                                                   presentation (.90).
03/04/2023 Stephanie Wheeler                  0.10 Correspondence to A. Holland re: data for SDNY.
03/04/2023 Jacob Croke                        2.40 Analyze issues re: SDNY priority requests re:
                                                   Alameda trading data, including reviewing transaction
                                                   records (.60), correspondence to S. Wheeler and A.
                                                   Holland re: same (.50); review documents identified
                                                   during team review for SDNY requests (1.1);
                                                   correspondence to M. Bennett re: same (.20).
03/04/2023 Michele Materni                    0.20 Call with W. Scheffer re: edits to SDNY presentation
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                                                    talking points.
03/04/2023 Alexander Holland                  1.40 Correspondence to S. Wheeler, J. Croke and M.
                                                   Materni re: response to SDNY priority request.
03/04/2023 Emma Downing                       0.80 Revise talking points for SDNY presentation.
03/04/2023 William Scheffer                   4.20 Edit SDNY presentation talking points re: financial
                                                   issue (4.0); call with M. Materni re: edits to SDNY
                                                   presentation talking points (.20).
03/05/2023 Stephanie Wheeler                  0.40 Review documents re: commingling for HFSC (.20);
                                                   draft agenda for team meeting (.20).
03/05/2023 Anthony Lewis                      0.10 Correspondence with S&C team re: materials for
                                                   SDNY.
03/05/2023 Michele Materni                    3.40 Further revise draft talking points for SDNY
                                                   presentation re: financial issue.
03/05/2023 Alexander Holland                  1.10 Correspondence to S. Wheeler, J. Croke and M.
                                                   Materni re: response to SDNY priority request.
03/05/2023 William Scheffer                   2.90 Revise SDNY presentation talking points re: financial
                                                   issue.
03/06/2023 Stephanie Wheeler                  1.70 Call with S&C team, QE team and J. Ray (FTX) re:
                                                   ongoing investigations (.50); correspondence to S&C
                                                   team re: former LedgerX personnel request and return
                                                   of LedgerX documents (.50); correspondence to K.
                                                   Donnelly re: investigative workstreams (.30); review
                                                   interesting document sent by QE (.20); draft agenda
                                                   for senior lawyers' call (.20).
03/06/2023 Andrew Dietderich                  0.60 Call with S&C team, QE team and J. Ray (FTX) re:
                                                   ongoing investigations (.50); correspondence to S&C
                                                   team re: same (.10)
03/06/2023 Steven Peikin                      0.50 Call with S&C team, QE team and J. Ray (FTX) re:
                                                   ongoing investigations.
03/06/2023 Samuel Woodall III                 0.20 Correspondence to HFSC staff re: inquiries (.10);
                                                   correspondence to K. Shields and S. Peikin re:
                                                   communications with HFSC staff (.10).
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03/06/2023 Brian Glueckstein                   0.50 Call with S&C team, QE team and J. Ray (FTX) re:
                                                    ongoing investigations.
03/06/2023 Kathleen McArthur                   0.40 Correspondence to Alix team re: update calls (.10);
                                                    correspondence to SDNY team re: priority requests
                                                    (.10); review document of interest (.10); review
                                                    read-out of employee interview (.10).
03/06/2023 Jacob Croke                         1.30 Analyze records in response to SDNY priority
                                                    requests (.40); correspondence to S. Wheeler and A.
                                                    Holland re: same (.40); analyze issues identified re:
                                                    former FTX personnel (.50).
03/06/2023 Nicole Friedlander                  0.70 Call with S&C team, QE team and J. Ray (FTX) re:
                                                    ongoing investigations (.50); correspondence to W.
                                                    Scheffer re: current LedgerX personnel call (.20).
03/06/2023 James Bromley                       1.40 Review background materials re: investigation (.40);
                                                    call with S&C team, QE team and J. Ray (FTX) re:
                                                    ongoing investigations (.50); review materials re: same
                                                    (.50).
03/06/2023 James McDonald                      2.20 Review materials re: relevant third party (.50); call
                                                    with S&C team, QE team and J. Ray (FTX) re:
                                                    ongoing investigations (.50); review materials re: same
                                                    (.60); correspondence to S&C team re: potential
                                                    LedgerX resolution (.60).
03/06/2023 Anthony Lewis                       0.40 Review materials re: relevant third party (.10);
                                                    correspondence with S&C team re: SDNY
                                                    discussions re: privilege issues (.10); correspondence
                                                    to S&C team re: personnel matters (.10);
                                                    correspondence to S&C team re: communications
                                                    with FTX employees (.10).
03/06/2023 Theodore Rogers Jr.                 1.00 Correspondence to S. Wheeler re: request by former
                                                    Alameda personnel for payment of previously
                                                    submitted expense reimbursement reports and
                                                    potential response (.50); correspondence to S&C
                                                    team re: same (.50).
03/06/2023 Bradley Harsch                      2.20 Correspondence to S&C team re: re Alix investigation
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                                                    re: loans (.10); review and comment on A&M deck
                                                    re: transfers from FTX Turkey (.20); correspondence
                                                    to S&C team re: Alix workstreams and priorities
                                                    (.20); correspondence to SDNY team re: Alameda
                                                    transactions (.10); review A&M list of questions for
                                                    former FTX and Alameda personnel (.30); review
                                                    summary of interview with current LedgerX personnel
                                                    (.10); review Nardello report re: former FTX
                                                    personnel (.30); review summary of notable
                                                    documents (.20); correspondence to S&C team re:
                                                    relevant third party account with debtor entity (.30);
                                                    review agenda for associates meeting (.10); review
                                                    Sygnia research re: FTX Turkey issue (.30).
03/06/2023 Jonathan Sedlak                    0.40 S&C associate team call re: ongoing investigations
                                                   workstreams
03/06/2023 Shane Yeargan                      0.40 S&C associate team call re: ongoing investigations
                                                   workstreams.
03/06/2023 Michele Materni                    3.30 S&C associate team call re: ongoing investigations
                                                   workstreams (.40); call with W. Scheffer re: edits to
                                                   SDNY presentation talking points (.20); revise draft
                                                   talking points for SDNY presentation re: financial issue
                                                   (2.3); revise summary email re: relevant third party
                                                   (.40).
03/06/2023 Mark Bennett                       1.20 S&C associate team call re: ongoing investigations
                                                   workstreams (.40); revise notes of S&C team meeting
                                                   re: investigations workstreams (.20); correspondence
                                                   to S. Wheeler and J. Croke re: employment settlement
                                                   agreement re: former Alameda personnel (.20);
                                                   correspondence to S. Wheeler re: sharing documents
                                                   identified as interesting to investigation with QE (.20);
                                                   correspondence to N. Friedlander re: documents
                                                   identified as interesting to investigation (.20).
03/06/2023 Kathleen Donnelly                  0.40 S&C associate team call re: ongoing investigations
                                                   workstreams.
03/06/2023 Zoeth Flegenheimer                 0.70 S&C associate team call re: ongoing investigations
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                                                    workstreams (.40); correspondence to M. Materni re:
                                                    preparing presentations to SDNY and investigative
                                                    matter management (.20); share documents of interest
                                                    with Alix (.10).
03/06/2023 Jared Rosenfeld                    2.00 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams (.60); research relevant
                                                   third party documents (1.4).
03/06/2023 Andrew Thompson                    0.40 S&C associate team call re: ongoing investigations
                                                   workstreams.
03/06/2023 Alexander Holland                  0.60 S&C associate team call re: ongoing investigations
                                                   workstreams (.40); correspondence to Alix team re:
                                                   documents re: loans (.20).
03/06/2023 Daniel O'Hara                      1.10 S&C associate team call re: ongoing investigations
                                                   workstreams (.40); meeting with M. Strand re:
                                                   ongoing investigative workstreams (.40); meeting with
                                                   M. Strand re: motion to compel and investigative work
                                                   streams (.30).
03/06/2023 Medina Sadat                       0.40 S&C associate team call re: ongoing investigations
                                                   workstreams.
03/06/2023 Matthew Strand                     1.10 S&C associate team call re: ongoing investigations
                                                   workstreams (.40); meeting with D. O’Hara re:
                                                   ongoing investigative workstreams (.40); meeting with
                                                   D. O’Hara re: motion to compel and investigative
                                                   work streams (.30).
03/06/2023 Jason Gallant                      1.00 S&C associate team call re: ongoing investigations
                                                   workstreams (.40); correspondence to S&C team re:
                                                   relevant third party research (.60).
03/06/2023 Natalie Hills                      0.40 S&C associate team call re: ongoing investigations
                                                   workstreams.
03/06/2023 Phoebe Lavin                       0.40 S&C associate team call re: ongoing investigations
                                                   workstreams (.40).
03/06/2023 Keila Mayberry                     0.70 Correspondence to J. Rosenfeld re: relevant third
                                                   party fiat deposits (.10); revise meeting notes for S&C
                                                   associate team call (.20); S&C associate team call re:
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                                                    ongoing investigations workstreams (.40).
03/06/2023 Aneesa Mazumdar                    0.40 S&C associate team call re: ongoing investigations
                                                   workstreams.
03/06/2023 Tatum Millet                       0.50 S&C associate team call re: ongoing investigations
                                                   workstreams (.40); send SDNY priority request
                                                   tracker to Z. Flegenheimer (.10).
03/06/2023 William Scheffer                   4.30 Prepare documents for SDNY presentation (.80); edit
                                                   talking points for SDNY presentation (2.0); S&C
                                                   associate team call re: ongoing investigations
                                                   workstreams (.40); call with M. Materni re: edits to
                                                   SDNY presentation talking points (.20); revise notes
                                                   and prepare summary of main takeaways from call
                                                   with former LedgerX personnel (.90).
03/06/2023 Mary McMahon                       0.40 S&C associate team call re: ongoing investigations
                                                   workstreams.
03/07/2023 Stephanie Wheeler                  1.70 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams (.60); call with K. Lemire
                                                   (QE) and W. Burke (QE) re: complaint (.20);
                                                   correspondence to S&C team re: same (.10);
                                                   correspondence to N. Roos (SDNY) and Z.
                                                   Flegenheimer re: Slack messages (.20);
                                                   correspondence to S. Holley and M. Porpora re:
                                                   relevant third party complaint (.10); correspondence
                                                   to L. Korologos (SDNY), M. Strand and Z.
                                                   Flegenheimer re: privilege documents to be reviewed
                                                   (.30); review legal notices received in FTX mail and
                                                   send to bankruptcy team (.20).
03/07/2023 Audra Cohen                        0.80 Call with J. McDonald and S Wheeler re: potential
                                                   investigation resolution (.30); call with J. Ray (FTX),
                                                   J. McDonald and S. Wheeler re: potential investigation
                                                   resolution (.50).
03/07/2023 Steven Peikin                      0.50 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams (.50 - partial attendance).
03/07/2023 Stephen Ehrenberg                  0.50 Bi-weekly S&C senior lawyers’ call re: ongoing
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                                                     investigations workstreams (.50 - partial attendance).
03/07/2023 Samuel Woodall III                  0.20 Correspondence to S. Peikin and K. Shields re:
                                                    HFSC communication (.10); correspondence to
                                                    HFSC staff re: congressional inquiries (.10).
03/07/2023 Christopher Dunne                   0.60 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                    investigations workstreams.
03/07/2023 Kathleen McArthur                   1.10 Correspondence to S&C team re: former Alameda
                                                    personnel allegations (.80); correspondence with Alix
                                                    team re: chronology of loans (.10): correspondence to
                                                    S&C team re: technology access issue and docket
                                                    updates (.10); bi-weekly S&C senior lawyers’ call re:
                                                    ongoing investigations workstreams (.60).
03/07/2023 Jacob Croke                         0.90 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                    investigations workstreams (.60); analyze issues re:
                                                    former FTX personnel (.20); correspondence to W.
                                                    Wagener re: same (.10).
03/07/2023 Nicole Friedlander                  1.30 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                    investigations workstreams (.60); meeting with W.
                                                    Sheffer and M. Materni re: SDNY presentation re:
                                                    financial issue (.50); prepare for meeting re: SDNY
                                                    presentation (.20).
03/07/2023 Anthony Lewis                       1.00 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                    investigations workstreams (.60); correspondence
                                                    with S&C team re: communications review (.10);
                                                    correspondence to S&C team re: technology access
                                                    issue (.10); correspondence with S&C team re:
                                                    materials for SDNY (.20).
03/07/2023 Bradley Harsch                      1.30 Review email summarizing SDNY filing (.10); review
                                                    query re: relevant third party document (.10);
                                                    correspondence to N. Friedlander re: queries from J.
                                                    Ray (FTX) (.20); correspondence with A&M team re:
                                                    account balances (.20); review summary of notable
                                                    documents for relevant third party (.10); review
                                                    Alameda complaint (.20); review Nardello report on
                                                    former Alameda personnel (.10); review revised deck
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                                                  on FTX Turkey exchange transfer (.20);
                                                  correspondence to Turkish counsel re: request to
                                                  identify Turkish users (.10).
03/07/2023 William Wagener                  0.80 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                 investigations workstreams (.60); correspondence to
                                                 U. Eze and K. McArthur re: settlement with former
                                                 FTX personnel (.20).
03/07/2023 Jonathan Sedlak                  0.60 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                 investigations workstreams
03/07/2023 Shane Yeargan                    0.80 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                 investigations workstreams (.60); correspondence to
                                                 Z. Flagenheimer re: report data analysis information
                                                 (.20).
03/07/2023 Michele Materni                  6.60 Meeting with N. Friedlander and W. Scheffer re:
                                                 SDNY presentation re: financial issue (.50); meeting
                                                 with W. Scheffer re: SDNY presentation re: financial
                                                 issue (.50); review witness interviews documents in
                                                 connection with identifying testimony re: financial issue
                                                 (1.3); reviewed documents identified as interesting to
                                                 investigation (3.1); bi-weekly S&C senior lawyers’
                                                 call re: ongoing investigations workstreams (.60); call
                                                 with M. Bennett re: review of documents re: current
                                                 FTX employees (.10); review former FTX personnel
                                                 communications (.30).
03/07/2023 Mark Bennett                     2.50 Correspondence to K. Lemire (QE) re: sharing of
                                                 documents relevant to S&C investigation (.40);
                                                 correspondence with current FTX personnel re: list of
                                                 current FTX employees (.20); bi-weekly S&C senior
                                                 lawyers’ call re: ongoing investigations workstreams
                                                 (.60); call with M. Materni re: review of documents re:
                                                 current FTX personnel (.10); correspondence with
                                                 S&C team re: issues re: current FTX personnel (.30);
                                                 review correspondence from A&M team re: FTX
                                                 account balances of relevant third party (.30); review
                                                 S. Bankman-Fried docket updates (.20); review
                                                 Nardello report re: former Alameda personnel (.40).
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03/07/2023 Kathleen Donnelly                  0.60 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams.
03/07/2023 Zoeth Flegenheimer                 1.70 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams (.60); correspondence to
                                                   M. Materni re: investigative matter management (.10);
                                                   review background memo re: technology access issue
                                                   by Nardello (.70); review and summarize filings re:
                                                   technology access issue (.30).
03/07/2023 Meaghan Kerin                      0.10 Correspondence to N. Friedlander, S. Rosenthal and
                                                   A. Holland re: potential interviews of former
                                                   employees.
03/07/2023 Andrew Thompson                    0.60 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams.
03/07/2023 Daniel O'Hara                      0.20 Meeting with C. Dunne and M. Strand re: ongoing
                                                   investigative workstreams.
03/07/2023 Matthew Strand                     0.20 Meeting with C. Dunne and D. O’Hara re: ongoing
                                                   investigative workstreams.
03/07/2023 Ugonna Eze                         1.20 Correspondence to S&C team re: distribution of
                                                   confidential background reports to investigations team
                                                   (.50); research and distribute settlement agreement of
                                                   FTX personnel to investigations team (.70).
03/07/2023 Jason Gallant                      0.90 Review documents re: relevant third party transaction.
03/07/2023 Keila Mayberry                     0.30 Correspondence to S&C team re: Nardello
                                                   background reports.
03/07/2023 William Scheffer                  12.30 Review comments re: SDNY presentation and
                                                   correspondence to M. Materni re: same (.50); review
                                                   documents and interview notes re: financial issue (3.8);
                                                   revise SDNY presentation talking points (6.3);
                                                   meeting with N. Friedlander and M. Materni re:
                                                   SDNY presentation re: financial issue (.50); meeting
                                                   with M. Materni re: SDNY presentation re: financial
                                                   issue (.50); prepare documents to share with A&M
                                                   team re: financial issue (.20); further revise SDNY
                                                   talking points (.50).
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03/08/2023 Stephanie Wheeler                   1.70 Correspondence to Z. Flegenheimer re: SDNY call re:
                                                    Slack collections (.20); review and revise talking
                                                    points for SDNY call re: Slack (.20); call with Z.
                                                    Flegenheimer re: revising talking points on Slack
                                                    retention for SDNY presentation (.20); further revise
                                                    talking points for SDNY call re: Slack (.20); call with
                                                    M. Materni re: relevant third party complaint (.20);
                                                    call with J. Croke, Z. Flegenheimer, A. Holland and
                                                    SDNY team re: updates on SDNY priority requests
                                                    (.20); review summary of former FTX personnel
                                                    claims (.30); revise agenda for senior lawyers call
                                                    (.20).
03/08/2023 Steven Peikin                       0.60 Review interview memoranda.
03/08/2023 Kathleen McArthur                   0.30 Review documents re: former Alameda personnel
                                                    complaint (.10); review documents of interest from J.
                                                    Croke (.10); correspondence to J. McDonald re:
                                                    discussion with counsel for individual (.10).
03/08/2023 Jacob Croke                         0.40 Call with S. Wheeler, Z. Flegenheimer, A. Holland
                                                    and SDNY team re: updates on SDNY priority
                                                    requests (.20); analysis re: related SDNY requests re:
                                                    relevant third party (.10), correspondence to M.
                                                    Strand re: same (.10).
03/08/2023 Nicole Friedlander                  1.20 Meeting with M. Materni, W. Scheffer, L. Ross and
                                                    A&M team re: FTX U.S. financial issues (.50);
                                                    meeting with A. Kranzley, M. Materni, W. Scheffer
                                                    and L. Ross re: FTX U.S. financial issues (.30);
                                                    correspondence to J. Ray (FTX) and S. Wheeler re:
                                                    relevant third party (.40).
03/08/2023 James McDonald                      0.50 Call with former FTX U.S. personnel counsel re:
                                                    updates.
03/08/2023 Anthony Lewis                       0.10 Correspondence to S&C team re: materials for
                                                    SDNY.
03/08/2023 Alexa Kranzley                      0.30 Meeting with N. Friedlander, M. Materni, W.
                                                    Scheffer and L. Ross re: FTX U.S. financial issues.
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03/08/2023 Bradley Harsch                     1.00 Call with S. Yeargan re: revised user balance data
                                                   from A&M (.10); review Alix work re: relevant third
                                                   party funds (.10); review revised Nardello chart of
                                                   related entities (.20); correspondence to A&M team
                                                   re: account for bank withdrawals (.20);
                                                   correspondence to S&C team re: LedgerPrime
                                                   investor and funds at bank (.10); review documents re:
                                                   former FTX personnel settlement (.30).
03/08/2023 William Wagener                    0.70 Meeting with S&C team re: ongoing investigations
                                                   workstreams.
03/08/2023 Jonathan Sedlak                    0.70 Meeting with S&C team re: ongoing investigations
                                                   workstreams.
03/08/2023 Shane Yeargan                      0.80 Meeting with S&C team re: ongoing investigations
                                                   workstreams (.70); call with B. Harsh re: revised user
                                                   balance data from A&M (.10).
03/08/2023 Michele Materni                    7.30 Draft agenda for FTX senior associates meeting (.10);
                                                   meeting with S&C team re: ongoing investigations
                                                   workstreams (.70); meeting with N. Friedlander, W.
                                                   Scheffer, L. Ross and A&M team re: FTX U.S.
                                                   financial issues (.50); meeting with N. Friedlander, A.
                                                   Kranzley, W. Scheffer and L. Ross re: FTX U.S.
                                                   financial issues (.30); meeting with W. Scheffer re:
                                                   SDNY presentation re: financial issue (.30); review
                                                   documents re: former Alameda personnel complaint
                                                   (.40); review documents identified as interesting to
                                                   investigation (2.1); further revise draft talking points
                                                   for SDNY presentation re: financial issue (2.9).
03/08/2023 Mark Bennett                       1.50 Meeting with S&C team re: ongoing investigations
                                                   workstreams (.70); correspondence to L. Ross re:
                                                   interview of former Alameda personnel (.10);
                                                   correspondence to S&C associate team re: list of
                                                   current FTX personnel (.30); review analysis of K.
                                                   Baker (A&M) re: calculation of customer balances
                                                   (.40).
03/08/2023 Kathleen Donnelly                  0.80 Call with D. O’Hara re: ongoing investigative
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                                                    workstreams.
03/08/2023 Zoeth Flegenheimer                 3.00 Call with S. Wheeler re: revising talking points on
                                                   Slack retention for SDNY presentation (.20); meeting
                                                   with S&C team re: ongoing investigations
                                                   workstreams (.70); draft talking points for SDNY
                                                   presentation on Slack data (1.9); call with S. Wheeler,
                                                   J. Croke, A. Holland and SDNY team re: updates on
                                                   SDNY priority requests (.20).
03/08/2023 Jared Rosenfeld                    2.10 Meeting between W. Wagener, J. Sedlak, S.
                                                   Yeargan, M. Materni, M. Bennett, A. Thompson, J.
                                                   Rosenfeld and Z. Flegenheimer re: ongoing
                                                   investigations workstreams (.70); correspondence to
                                                   S&C team re: FTX OTC clients (1.4).
03/08/2023 Andrew Thompson                    3.90 Meeting with S&C team re: ongoing investigations
                                                   workstreams (.70); review Nardello report re: S.
                                                   Bankman-Fried (1.0); review documents from QE re:
                                                   relevant third party (1.4); review Alameda complaint
                                                   (.80).
03/08/2023 Alexander Holland                  0.20 Call with S. Wheeler, J. Croke, Z. Flegenheimer and
                                                   SDNY team re: updates on SDNY priority requests.
03/08/2023 Daniel O'Hara                      1.50 Review protective order and correspondence to S&C
                                                   team re: same (.70); call with K. Donnelly re: ongoing
                                                   investigative workstreams (.80).
03/08/2023 Tatum Millet                       0.70 S&C associate team call re: ongoing investigations
                                                   workstreams.
03/08/2023 Luke Ross                          7.60 Revise presentation talking points and review past
                                                   work product (3.4); draft interview memorandum
                                                   (2.2); meeting with N. Friedlander, A. Kranzley, M.
                                                   Materni and W. Scheffer re: FTX U.S. financial issues
                                                   (.30); meeting with N. Friedlander, M. Materni, W.
                                                   Scheffer and A&M team re: FTX U.S. financial issues
                                                   (.50); review interesting documents (1.2).
03/08/2023 William Scheffer                   1.90 Correspondence to N. Friedlander and M. Materni re:
                                                   revisions to SDNY talking points (.50); review current
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                                                    LedgerX personnel proffer notes (.30); meeting with
                                                    N. Friedlander, M. Materni, L. Ross and A&M team
                                                    re: FTX U.S. financial issues (.50); meeting with N.
                                                    Friedlander, A. Kranzley, M. Materni and L. Ross re:
                                                    FTX U.S. financial issues (.30); meeting with M.
                                                    Materni re: SDNY presentation re: financial issue
                                                    (.30).
03/09/2023 Mitchell Eitel                     0.10 Correspondence to S. Peikin, S. Woodall and K.
                                                   Shields re: formulations and record request.
03/09/2023 Stephanie Wheeler                  1.90 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams (.60); correspondence to
                                                   K. Shields and S. Woodall re: HFSC requests for
                                                   answers to questions (.10); correspondence to K.
                                                   Lemire (QE) re: former Alameda personnel (.20);
                                                   review documents re: former Alameda personnel in
                                                   advance of call with K. Lemire (QE) (.90); call with
                                                   M. Bennett re: same (.10).
03/09/2023 Steven Peikin                      0.80 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams (.50 - partial attendance);
                                                   correspondence to S&C team re: requests from
                                                   HFSC (.30).
03/09/2023 Stephen Ehrenberg                  0.60 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams.
03/09/2023 Samuel Woodall III                 0.30 Correspondence to S. Peikin, M. Eitel and K. Shields
                                                   re: inquiry from HFSC staff (.20); respond to HFSC
                                                   staff inquiry (.10).
03/09/2023 Brian Glueckstein                  1.10 Review and analyze documents re: claims against
                                                   former FTX personnel (.80); correspondence to S&C
                                                   team re: same (.30).
03/09/2023 Christopher Dunne                  0.60 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams.
03/09/2023 Kathleen McArthur                  0.30 Correspondence to A. Dietderich re: Alix
                                                   workstreams.
03/09/2023 Jacob Croke                        0.60 Bi-weekly S&C senior lawyers’ call re: ongoing
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                                                     investigations workstreams.
03/09/2023 Nicole Friedlander                  1.40 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                    investigations workstreams (.60); review weekly
                                                    documents of interest set (.60); call with S. Coverick
                                                    (A&M) re: Bahamas electronic devices (.20).
03/09/2023 James McDonald                      0.50 Review questions from HFSC and correspondence to
                                                    S&C team re: same.
03/09/2023 Anthony Lewis                       0.90 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                    investigations workstreams (.60); correspondence to
                                                    S&C team re: personnel issues (.20); correspondence
                                                    with S&C team re: HFSC investigation (.10).
03/09/2023 Bradley Harsch                      1.30 Review agenda for senior lawyers’ call (.10);
                                                    bi-weekly S&C senior lawyers’ call re: ongoing
                                                    investigations workstreams (.60); correspondence to
                                                    S&C team re request from HFSC (.20);
                                                    correspondence to S&C team re: S. Bankman-Fried
                                                    relationship with relevant third party (.10); review
                                                    Nardello report re: relevant third party (.20);
                                                    correspondence to A&M re: call on FTX Turkey
                                                    issues (.10).
03/09/2023 William Wagener                     0.90 Correspondence to S. Wheeler, S. Yeargan and Alix
                                                    team re: source of funds for relevant third party
                                                    transfer (.30); bi-weekly S&C senior lawyers’ call re:
                                                    ongoing investigations workstreams (.60).
03/09/2023 Jonathan Sedlak                     0.60 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                    investigations workstreams.
03/09/2023 Shane Yeargan                       0.90 Correspondence to N. Friedlander re: jurisdiction data
                                                    on trading platforms (.30); bi-weekly S&C senior
                                                    lawyers’ call re: ongoing investigations workstreams
                                                    (.60).
03/09/2023 Michele Materni                     8.80 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                    investigations workstreams (.60); revise new draft of
                                                    SDNY presentation re: financial issue (8.2).
03/09/2023 Mark Bennett                        2.10 Bi-weekly S&C senior lawyers’ call re: ongoing
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                                                    investigations workstreams (.60); correspondence to
                                                    Z. Flegenheimer re: investigation-related document
                                                    review workstream (.20); correspondence to N.
                                                    Friedlander and S. Wheeler re: disclosure of former
                                                    Alameda personnel settlement-related documents to
                                                    SDNY (.80); call with N. Friedlander re: same (.10);
                                                    review document requests from HSFC and
                                                    correspondence to S&C team re: same (.20); review
                                                    documents identified as interesting to investigation by
                                                    associate team (.20).
03/09/2023 Kathleen Donnelly                  1.10 Call with D. O’Hara re: ongoing investigatory
                                                   workstreams (.50); bi-weekly S&C senior lawyers’
                                                   call re: ongoing investigations workstreams (.60).
03/09/2023 Zoeth Flegenheimer                 0.70 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams (.60); review documents of
                                                   interest (.10).
03/09/2023 Jared Rosenfeld                    0.60 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams.
03/09/2023 Andrew Thompson                    0.60 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams.
03/09/2023 Daniel O'Hara                      0.70 Revise motion to compel (.20); call with K. Donnelly
                                                   re: ongoing investigatory workstreams (.50).
03/09/2023 Phoebe Lavin                       1.20 Compile documents re: relevant third party.
03/09/2023 Luke Ross                          0.60 Correspondence to S&C team re: SDNY
                                                   presentation.
03/09/2023 William Scheffer                   2.90 Edit SDNY presentation talking points re: financial
                                                   issue (2.5); correspondence to M. Materni re: SDNY
                                                   presentation talking points (.40).
03/10/2023 Stephanie Wheeler                  0.20 Correspondence to A. Finn re: underwriter privilege
                                                   question.
03/10/2023 Steven Peikin                      1.10 Meeting with J. Croke, H. Williams, L. Ross and
                                                   former FTX personnel's counsel re: updates (.30 -
                                                   partial attendance); review documents of interest
                                                   (.50); correspondence to S&C team re: requests from
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                                                     HFSC (.30).
03/10/2023 Kathleen McArthur                   0.60 Correspondence to S&C team re: investigative
                                                    workstreams (.30); review transcript of former FTX
                                                    personnel plea hearing (.30).
03/10/2023 Jacob Croke                         0.80 Meeting with S. Peikin, H. Williams, L. Ross and
                                                    former FTX personnel's counsel re: updates (.40);
                                                    correspondence to A. Dietderich and M. Wu re: same
                                                    (.40).
03/10/2023 Nicole Friedlander                  0.60 Correspondence to S. Wheeler, K. Lemire (QE) and
                                                    J. McDonald re: former Alameda personnel reach-out.
03/10/2023 Anthony Lewis                       0.60 Review former FTX personnel plea transcript (.20);
                                                    correspondence with S&C team re: SDNY
                                                    proceedings and technology access issue (.10); review
                                                    former FTX personnel proffer (.20); correspondence
                                                    to S&C team re: discussions with former FTX
                                                    personnel (.10).
03/10/2023 Kamil Shields                       1.20 Review materials re: HFSC requests.
03/10/2023 Hilary Williams                     0.70 Meeting with S. Peikin, J. Croke, L. Ross and former
                                                    FTX personnel's counsel re: updates.
03/10/2023 Bradley Harsch                      0.60 Correspondence to S&C team re: request from
                                                    HFSC (.10); S&C associate team call re: ongoing
                                                    investigations workstreams (.50 - partial attendance).
03/10/2023 William Wagener                     0.70 S&C associate team call re: ongoing investigations
                                                    workstreams.
03/10/2023 Shane Yeargan                       0.70 S&C associate team call re: ongoing investigations
                                                    workstreams.
03/10/2023 Michele Materni                     6.00 Further revise new draft talking points for SDNY
                                                    presentation re: FTX U.S. financial issues (2.3);
                                                    meeting with L. Ross and W. Scheffer re: SDNY
                                                    presentation talking points (.30); meeting with W.
                                                    Scheffer re: investigations workstreams (.10); S&C
                                                    associate team call re: ongoing investigations
                                                    workstreams (.70); review former FTX personnel
                                                    guilty plea (.50); continue reviewing documents
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                                                    identified as interesting to investigation (2.1).
03/10/2023 Mark Bennett                       1.20 S&C associate team call re: ongoing investigations
                                                   workstreams (.70); correspondence to L. Ross re:
                                                   interview memorandum of former Alameda employee
                                                   (.10); review former FTX personnel plea hearing
                                                   transcript (.40).
03/10/2023 Kathleen Donnelly                  2.30 Call with D. O’Hara re: ongoing investigative
                                                   workstreams (.60); correspondence to S&C team re:
                                                   investigative workstreams (.30); read transcript of
                                                   former FTX personnel plea hearing (.70); S&C
                                                   associate team call re: ongoing investigations
                                                   workstreams (.70).
03/10/2023 Zoeth Flegenheimer                 2.10 Call with D. O’Hara re: ongoing investigatory
                                                   workstreams (.20); review Nardello memo re: former
                                                   FTX personnel (.20); review Nardello memo re:
                                                   former Alameda personnel (.50); attend S.
                                                   Bankman-Fried's pre-trial conference (.50); draft
                                                   summary of S. Bankman-Fried's pre-trial conference
                                                   (.70).
03/10/2023 Jared Rosenfeld                    0.50 S&C associate team call re: ongoing investigations
                                                   workstreams (.50 - partial attendance).
03/10/2023 Andrew Thompson                    0.70 S&C associate team call re: ongoing investigations
                                                   workstreams.
03/10/2023 Alexander Holland                  0.70 S&C associate team call re: ongoing investigations
                                                   workstreams.
03/10/2023 Daniel O'Hara                      2.50 Review documents re: former FTX personnel (1.1);
                                                   review former FTX personnel plea transcript (.30);
                                                   call with K. Donnelly re: ongoing investigative
                                                   workstreams (.60); call with Z. Flegenheimer re:
                                                   ongoing investigatory workstreams (.20); call with M.
                                                   Strand re: investigatory workstreams (.30).
03/10/2023 Samantha Rosenthal                 0.10 Correspondence to M. Kerin re: former LedgerX
                                                   employee proffer.
03/10/2023 Matthew Strand                     1.00 Call with D. O’Hara re: investigatory workstreams
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                                                   (.30); S&C associate team call re: ongoing
                                                   investigations workstreams (.70).
03/10/2023 Ugonna Eze                        0.70 S&C associate team call re: ongoing investigations
                                                  workstreams.
03/10/2023 Jason Gallant                     0.70 S&C associate team call re: ongoing investigations
                                                  workstreams.
03/10/2023 Natalie Hills                     0.70 S&C associate team call re: ongoing investigations
                                                  workstreams.
03/10/2023 Phoebe Lavin                      0.70 S&C associate team call re: ongoing investigations
                                                  workstreams.
03/10/2023 Keila Mayberry                    1.10 S&C associate team call re: ongoing investigations
                                                  workstreams (.70); review and send meeting notes
                                                  from associates investigations meeting (.30);
                                                  correspondence to S&C team re: former Alameda
                                                  personnel complaint (.10).
03/10/2023 Aneesa Mazumdar                   0.70 S&C associate team call re: ongoing investigations
                                                  workstreams.
03/10/2023 Tatum Millet                      0.70 S&C associate team call re: ongoing investigations
                                                  workstreams.
03/10/2023 Luke Ross                         3.30 S&C associate team call re: ongoing investigations
                                                  workstreams (.20 - partial attendance); meeting with
                                                  S. Peikin, J. Croke, H. Williams and former FTX
                                                  personnel's counsel re: updates (.40); revise notes
                                                  from call with former FTX personnel's counsel (.70);
                                                  revise FTX U.S. presentation talking points (.90);
                                                  meeting with M. Materni and W. Scheffer re: SDNY
                                                  presentation talking points (.30); draft interview
                                                  memorandum (.80).
03/10/2023 William Scheffer                  1.10 Meeting with M. Materni and L. Ross re: SDNY
                                                  presentation talking points (.30); meeting with M.
                                                  Materni re: investigations workstreams (.10); S&C
                                                  associate team call re: ongoing investigations
                                                  workstreams (.70).
03/10/2023 Mary McMahon                      0.70 S&C associate team call re: ongoing investigations
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                                                    workstreams.
03/11/2023 Stephanie Wheeler                  0.30 Read Nardello report re: current LedgerX personnel.
03/11/2023 Steven Peikin                      0.30 Call with K. Shields and S. Woodall re: HFSC staff
                                                   request.
03/11/2023 Samuel Woodall III                 0.40 Correspondence to S. Peikin and K. Shields re:
                                                   HFSC staff request (,10); call with S. Peikin and K.
                                                   Shields re: HFSC staff request (.30).
03/11/2023 Kathleen McArthur                  0.30 Review Nardello report re: current LedgerX
                                                   personnel.
03/11/2023 Shane Yeargan                      0.10 Correspondence to S. Wheeler re: external exchange
                                                   narrative.
03/11/2023 Michele Materni                    1.40 Review summary of S. Bankman-Fried pre-trial
                                                   conference (.10); continue reviewing documents
                                                   identified as interesting to investigation (1.3).
03/11/2023 Zoeth Flegenheimer                 0.20 Correspondence to N. Friedlander and L. Ross re:
                                                   compiling public statements of S. Bankman-Fried re:
                                                   FTX.
03/11/2023 Luke Ross                          0.50 Correspondence to S&C team re: public statements
                                                   by FTX.
03/12/2023 Samuel Woodall III                 0.10 Correspondence to K. Shields re: responding to
                                                   HFSC inquiry.
03/12/2023 Jacob Croke                        0.40 Analyze materials identified in response to SDNY
                                                   priority requests (.30); correspondence to K.
                                                   Donnelly re: same (.10).
03/12/2023 Bradley Harsch                     0.30 Correspondence to S&C team re: FTX statements
                                                   and former FTX personnel (.10); correspondence to
                                                   A&M team re: call on FTX Turkey transaction (.10);
                                                   review summary of hearing in S. Bankman-Fried
                                                   criminal case (.10).
03/12/2023 Keila Mayberry                     0.10 Correspondence to Z. Flegenheimer re: Nardello
                                                   memos.
03/13/2023 Stephen Ehrenberg                  0.40 Review correspondence from Turkish counsel re:
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                                                     regulatory issues (.20); correspondence with B.
                                                     Harsch re: next steps (.20).
03/13/2023 Samuel Woodall III                  0.40 Correspondence to HFSC staff re: staff inquiry (.20);
                                                    call with K. Shields re: responding to HFSC staff
                                                    inquiry (.20).
03/13/2023 Christopher Dunne                   0.30 Call with D. O’Hara re: ongoing investigative
                                                    workstreams.
03/13/2023 Kathleen McArthur                   1.00 Correspondence to A. Dietderich and Alix team re:
                                                    board meeting (.10); review Alix draft presentation
                                                    materials for board meeting (.90).
03/13/2023 Jacob Croke                         0.60 Analysis re: additional bank account transfers in
                                                    response to SDNY priority requests (.30); further
                                                    analysis re: requests re: third-party lending platform
                                                    (.20); correspondence to SDNY team re: same (.10).
03/13/2023 Nicole Friedlander                  1.50 Correspondence to S&C team re: bankruptcy and
                                                    investigations workstreams (.60); correspondence to
                                                    A. Lewis re: DOJ question re: employees (.20);
                                                    correspondence to SDNY team re: former Alameda
                                                    personnel documents (.40); correspondence to M.
                                                    Bennett re: same (.10); correspondence to A. Lewis
                                                    and J. Croke re: pointer data (.20).
03/13/2023 Anthony Lewis                       0.10 Correspondence to S&C team re: discussions with
                                                    FTX employees.
03/13/2023 Shane Yeargan                       1.80 Review transaction data for Third Party Exchanges
                                                    (1.6); correspondence to J. Croke re: Third Party
                                                    Exchange motion (.10); correspondence to M. Bennet
                                                    re: account balance data (.10).
03/13/2023 Michele Materni                     0.40 Revise SDNY priority requests tracker.
03/13/2023 Mark Bennett                        2.20 Correspondence to M. Materni re: SDNY priority
                                                    requests (.20); correspondence to N. Friedlander re:
                                                    involvement of in-house counsel with FTX personnel
                                                    settlement agreement (.40); review status of SDNY
                                                    priority requests (.50); correspondence to S. Yeargan
                                                    re: SDNY priority request (.10); correspondence with
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                                                    L. Konig (A&M) re: status of data analysis re: same
                                                    (.30); review draft of memorandum re: interview of
                                                    former Alameda personnel (.70).
03/13/2023 Fabio Weinberg Crocco              0.30 Review advice from Turkish counsel re Turkey
                                                   investigations.
03/13/2023 Kathleen Donnelly                  0.40 Correspondence to S&C team re: investigative
                                                   workstreams.
03/13/2023 Zoeth Flegenheimer                 0.30 Review Nardello background memo on FTX
                                                   executive.
03/13/2023 Jared Rosenfeld                    1.20 Research and correspondence to S&C team re:
                                                   documents of interest found during case following Alix
                                                   call.
03/13/2023 Daniel O'Hara                      1.10 Call with E. Downing re: coordinating various
                                                   workstreams (.80); call with C. Dunne re: ongoing
                                                   investigative workstreams (.30).
03/13/2023 Emma Downing                       4.90 Search for documents re: accounting controls (.80);
                                                   review documents re: relevant third party question
                                                   (.80); search for relevant email address (.30); call with
                                                   W. Scheffer re: coordinating various workstreams
                                                   (1.1); call with D. O'Hara re: coordinating various
                                                   workstreams (.80); call with A. Mazumdar re: relevant
                                                   third party (.20); S&C team call re: ongoing
                                                   investigations workstreams (.90).
03/13/2023 Aneesa Mazumdar                    0.20 Call with E. Downing re: relevant third party.
03/13/2023 Tatum Millet                       3.50 Consolidate SDNY tracker outstanding requests
                                                   (.80); update tracker to reflect completed requests
                                                   (.20); complete quality check of document review
                                                   assignments (2.5).
03/13/2023 Luke Ross                          7.20 Identify and collect documents re: FTX statements to
                                                   customers and investors (4.8); draft memorandum of
                                                   former FTX personnel interview (2.4).
03/13/2023 William Scheffer                   2.90 Call with E. Downing re: coordinating various
                                                   workstreams (1.1); correspondence to S&C team re:
                                                   HFSC QFRs (.60); review draft congressional QFR
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                                                    responses (1.0); correspondence to Alix team re:
                                                    financial issue (.20).
03/14/2023 Stephanie Wheeler                  1.70 Correspondence to A. Herzog (Katz Banks Kumin)
                                                   re: former Alameda personnel transfer of documents
                                                   to D. Slovick (Barnes & Thornburgh) (.20); meeting
                                                   with M. Materni and Z. Flegenheimer re: responding
                                                   to SDNY priority requests (.30); bi-weekly S&C
                                                   senior lawyers’ call re: ongoing investigations
                                                   workstreams (.30); revise agenda for senior lawyers'
                                                   call (.30); review former FTX personnel comments on
                                                   various issues (.20); correspondence to E. Simpson
                                                   re: same (.30); correspondence to J. Petiford re: draft
                                                   email to A. Devlin-Brown (Covington) (.10).
03/14/2023 Stephen Ehrenberg                  0.30 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams.
03/14/2023 Samuel Woodall III                 0.30 Correspondence to S. Peikin and K. Shields re:
                                                   HFSC inquiry.
03/14/2023 Christopher Dunne                  1.20 Call with D. O’Hara re: Fifth Amendment issues (.20);
                                                   correspondence to S&C team re: former FTX
                                                   personnel meet and confer and Fifth Amendment
                                                   issues (.70); bi-weekly S&C senior lawyers’ call re:
                                                   ongoing investigations workstreams (.30).
03/14/2023 Kathleen McArthur                  0.40 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams (.30); correspondence to
                                                   N. Friedlander re: former Alameda personnel
                                                   allegations (.10).
03/14/2023 Jacob Croke                        0.30 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams.
03/14/2023 James McDonald                     1.50 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams (.30); review materials re:
                                                   LedgerX (.40); correspondence to S&C team re:
                                                   LedgerX request for data access (.30);
                                                   correspondence to current FTX U.S. personnel's
                                                   counsel and S&C team re: same (.50).
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03/14/2023 Anthony Lewis                      0.40 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams (.30); review presentation
                                                   to Moody’s (.10).
03/14/2023 Bradley Harsch                     0.50 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams (.30); correspondence to
                                                   S&C team re: outreach to current FTX U.S.
                                                   personnel's counsel by HFSC (.20).
03/14/2023 William Wagener                    0.30 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams.
03/14/2023 Jonathan Sedlak                    0.30 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams.
03/14/2023 Shane Yeargan                      0.60 Correspondence to M. Materni re: status of SDNY
                                                   priority requests (.20); bi-weekly S&C senior
                                                   lawyers’ call re: ongoing investigations workstreams
                                                   (.30); correspondence to Z. Flagenheimer re:
                                                   FTX.com account searches (.10).
03/14/2023 Michele Materni                    4.50 Call with J. Rosenfeld re: SDNY request workstreams
                                                   and audit documents (.50); further revise SDNY
                                                   priority request tracker (.30); bi-weekly S&C senior
                                                   lawyers’ call re: ongoing investigations workstreams
                                                   (.30); call with W. Scheffer re: customer assets (.30);
                                                   review documents re: FTX audit (.50); review
                                                   12.09.2022 document binder (1.2); review Nardello
                                                   memo re: former FTX personnel (1.1); meeting with
                                                   S. Wheeler and Z. Flegenheimer re: responding to
                                                   SDNY priority requests (.30).
03/14/2023 Mark Bennett                       0.50 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams (.30); correspondence to
                                                   L. Konig (A&M) re: SDNY priority requests (.20).
03/14/2023 Kathleen Donnelly                  0.60 Call with D. O’Hara and M. Strand re: SDNY team
                                                   redactions and other investigative workstreams (.30);
                                                   bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams (.30).
03/14/2023 Zoeth Flegenheimer                 0.60 Bi-weekly S&C senior lawyers’ call re: ongoing
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                                                    investigations workstreams (.30); meeting with S.
                                                    Wheeler and M. Materni re: responding to SDNY
                                                    priority requests (.30).
03/14/2023 Jared Rosenfeld                    5.00 Call with M. Materni re: SDNY request workstreams
                                                   and audit documents. (.50); bi-weekly S&C senior
                                                   lawyers’ call re: ongoing investigations workstreams
                                                   (.30); research and correspondence to S&C team re:
                                                   background on intercompany agreements (4.2).
03/14/2023 Andrew Thompson                    1.70 Review database and public sources for factual
                                                   development re: relevant third party (1.0); review first
                                                   draft of factual summary re: relevant third party (.70).
03/14/2023 Daniel O'Hara                      0.50 Call with C. Dunne re: Fifth Amendment issues (.20);
                                                   call with M. Strand and K. Donnelly re: SDNY team
                                                   redactions and other investigative workstreams (.30).
03/14/2023 Samantha Rosenthal                 0.20 Review technical questions for former FTX personnel.
03/14/2023 Matthew Strand                     0.30 Call with K. Donnelly and D. O’Hara re: SDNY team
                                                   redactions and other investigative workstreams.
03/14/2023 Tatum Millet                       0.60 Update SDNY priority request tracker (.50);
                                                   correspondence to M. Materni re: same (.10).
03/14/2023 Luke Ross                          3.40 Call with W. Scheffer re: FTX U.S. SDNY
                                                   presentation (.20); review FTX and FTX personnel
                                                   representations to investors and customers (3.2).
03/14/2023 William Scheffer                   0.50 Call with M. Materni re: customer assets (.30); call
                                                   with L. Ross re: SDNY presentation (.20).
03/15/2023 Steven Holley                      1.10 Review draft slide deck concerning relevant third party
                                                   options (.30); review draft press release concerning
                                                   transfers from Alameda and comments on draft press
                                                   release (.40); review latest draft of relevant third party
                                                   settlement agreement (.40).
03/15/2023 Stephanie Wheeler                  0.40 Call with J. McDonald re: HFSC (.10); call with N.
                                                   Friedlander re: counsel for current LedgerX personnel
                                                   (.30).
03/15/2023 Steven Peikin                      0.30 Call with K. Shields, J. McDonald and S. Woodall re:
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                                                     responding to HFSC inquiry.
03/15/2023 Samuel Woodall III                  0.30 Call with S. Peikin, K. Shields and J. McDonald re:
                                                    responding to HFSC inquiry.
03/15/2023 Brian Glueckstein                   1.40 Review analysis and correspondence to S&C team re:
                                                    fact investigation matters.
03/15/2023 Nicole Friedlander                  1.80 Call with SDNY re: questions for former FTX
                                                    employees (.40); correspondence with Sygnia and
                                                    A&M re: same (.40); correspondence with J. Croke
                                                    re: same (.20); correspondence with R. Perubhatla
                                                    (RKLS) re: former FTX personnel interview (.20); call
                                                    with S. Wheeler re: counsel for current LedgerX
                                                    personnel (.30); correspondence with N. Menillo and
                                                    former FTX personnel re: same (.10); correspondence
                                                    with S. Rosenthal and M. Kerin re: Relevant Third
                                                    Party issue (.20).
03/15/2023 James McDonald                      1.50 Review emails re: privilege issue (.20); call with K.
                                                    Shields, S. Woodall and S. Peikin re: responding to
                                                    HFSC inquiry (.30); call with current LedgerX
                                                    personnel's counsel re: same (.60); correspondence to
                                                    S&C team re: potential individual counsel interviews
                                                    (.30); call with S. Wheeler re: HFSC (.10).
03/15/2023 Anthony Lewis                       0.30 Correspondence to S&C team re: discussions with
                                                    current and former FTX personnel.
03/15/2023 Kamil Shields                       0.30 Call with J. McDonald, S. Woodall and S. Peikin re:
                                                    responding to HFSC inquiry.
03/15/2023 Bradley Harsch                      2.80 S&C associate team call re: ongoing investigations
                                                    workstreams (1.0); prepare for associate team call
                                                    (.10); review A&M, Sygnia email re: Turkey
                                                    transactions (1.7).
03/15/2023 William Wagener                     1.00 S&C associate team call re: ongoing investigations
                                                    workstreams.
03/15/2023 Jonathan Sedlak                     1.00 S&C associate team call re: ongoing investigations
                                                    workstreams.
03/15/2023 Shane Yeargan                       1.00 S&C associate team call re: ongoing investigations
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                                                    workstreams.
03/15/2023 Michele Materni                    4.30 S&C associate team call re: ongoing investigations
                                                   workstreams (1.0); review article re: S.
                                                   Bankman-Fried (.50); review Nardello memo re:
                                                   former FTX personnel (1.2); review Nardello memo
                                                   re: additional former FTX personnel (1.3); call with J.
                                                   Rosenfeld re: outstanding SDNY workstreams and
                                                   requests (.30).
03/15/2023 Mark Bennett                       1.40 S&C associate team call re: ongoing investigations
                                                   workstreams (1.0); review correspondence from L.
                                                   Konig (A&M) re: analysis prepared in response to
                                                   SDNY priority requests (.40).
03/15/2023 Kathleen Donnelly                  1.20 S&C associate team call re: ongoing investigations
                                                   workstreams (1.0); call with D. O'Hara re:
                                                   investigative workstreams (.20).
03/15/2023 Zoeth Flegenheimer                 1.00 S&C associate team call re: ongoing investigations
                                                   workstreams.
03/15/2023 Jared Rosenfeld                    1.00 S&C associate team call re: ongoing investigations
                                                   workstreams.
03/15/2023 Andrew Thompson                    0.70 S&C associate team call re: ongoing investigations
                                                   workstreams (.70 - partial attendance).
03/15/2023 Alexander Holland                  0.50 S&C associate team call re: ongoing investigations
                                                   workstreams (.50 - partial attendance).
03/15/2023 Daniel O'Hara                      1.20 Call with K. Donnelly re: investigative workstreams
                                                   (.20); S&C associate team call re: ongoing
                                                   investigations workstreams (1.0).
03/15/2023 Medina Sadat                       0.80 S&C associate team call re: ongoing investigations
                                                   workstreams (.80 - partial attendance).
03/15/2023 Matthew Strand                     1.00 S&C associate team call re: ongoing investigations
                                                   workstreams.
03/15/2023 Ugonna Eze                         1.00 S&C associate team call re: ongoing investigations
                                                   workstreams.
03/15/2023 Jason Gallant                      1.00 S&C associate team call re: ongoing investigations
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                                                    workstreams.
03/15/2023 Emma Downing                       1.00 S&C associate team call re: ongoing investigations
                                                   workstreams.
03/15/2023 Natalie Hills                      1.00 S&C associate team call re: ongoing investigations
                                                   workstreams.
03/15/2023 Phoebe Lavin                       1.00 S&C associate team call re: ongoing investigations
                                                   workstreams.
03/15/2023 Keila Mayberry                     1.20 Prepare notes from investigations associates meeting
                                                   and correspondence to S&C team re: same (.20);
                                                   S&C associate team call re: ongoing investigations
                                                   workstreams (1.0).
03/15/2023 Aneesa Mazumdar                    1.00 S&C associate team call re: ongoing investigations
                                                   workstreams
03/15/2023 Tatum Millet                       1.40 Update SDNY request tracker (.40); S&C associate
                                                   team call re: ongoing investigations workstreams (1.0).
03/15/2023 Luke Ross                          2.40 S&C associate team call re: ongoing investigations
                                                   workstreams (1.0); draft correspondence with counsel
                                                   of former FTX personnel (.30); review current FTX
                                                   personnel list (.50); research re: customer
                                                   representations and correspondence to S&C team re:
                                                   same (.60).
03/15/2023 William Scheffer                   1.00 S&C associate team call re: ongoing investigations
                                                   workstreams.
03/15/2023 Nicole Isacoff                     1.00 S&C associate team call re: ongoing investigations
                                                   workstreams.
03/16/2023 Stephanie Wheeler                  1.20 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams (.40); revise
                                                   correspondence to J. Ray (FTX) re: privilege issue
                                                   (.20); call with SDNY re: relevant third parties
                                                   presentations to SDNY (.20); review document
                                                   SDNY privilege team sent (.10); correspondence to
                                                   S&C team re: same (.10); correspondence to S.
                                                   Peikin and D. O'Hara re: same (.20).
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03/16/2023 Steven Peikin                       0.50 Correspondence to senior litigation team re:
                                                    investigation issues.
03/16/2023 Stephen Ehrenberg                   0.40 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                    investigations workstreams.
03/16/2023 Samuel Woodall III                  0.30 Correspondence with K. Shields, S. Peikin and J.
                                                    McDonald re: response to HFSC inquiry (.10); call
                                                    with K. Shields re: call with HFSC staff (.20).
03/16/2023 Christopher Dunne                   1.00 Review Nardello memos (.60); bi-weekly S&C senior
                                                    lawyers’ call re: ongoing investigations workstreams
                                                    (.40).
03/16/2023 Kathleen McArthur                   0.80 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                    investigations workstreams (.40); review request from
                                                    HFSC (.10); review correspondence from S. Wheeler
                                                    re: same (.10); review correspondence from S&C
                                                    team re: request from HFSC (.20).
03/16/2023 Nicole Friedlander                  0.70 Call with I. Graff (Fried Frank) re: questions for
                                                    former FTX personnel (.20); revise draft of same
                                                    (.20); correspondence with SDNY re: same (.20);
                                                    correspondence to S. Wheeler re: former Alameda
                                                    personnel communications (.10).
03/16/2023 Sharon Levin                        0.40 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                    investigations workstreams.
03/16/2023 James McDonald                      0.40 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                    investigations workstreams.
03/16/2023 Anthony Lewis                       0.50 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                    investigations workstreams (.40); review
                                                    correspondence re: HFSC investigation (.10).
03/16/2023 Kamil Shields                       2.60 Call with HFSC staff re: inquiry (1.0); call with S.
                                                    Woodall re: call with HFSC staff (.20); prepare
                                                    talking points for call with HFSC staff (1.4).
03/16/2023 Bradley Harsch                      0.60 Review agenda for senior lawyers’ call (.10);
                                                    bi-weekly S&C senior lawyers’ call re: ongoing
                                                    investigations workstreams (.40); review Signal
                                                    communications (.10).
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03/16/2023 William Wagener                    0.40 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams.
03/16/2023 Jonathan Sedlak                    0.60 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams.
03/16/2023 Shane Yeargan                      0.40 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams.
03/16/2023 Michele Materni                    0.80 Meeting with Z. Flegenheimer re: status of investigative
                                                   workstreams (.20); bi-weekly S&C senior lawyers’
                                                   call re: ongoing investigations workstreams (.40);
                                                   revise correspondence to FTX personnel re: Zoom
                                                   links (.20)
03/16/2023 Mark Bennett                       0.80 Correspondence to J. Croke re: media report (.30);
                                                   correspondence to M. Strand re: documents identified
                                                   as interesting to investigation (.20); review
                                                   correspondence from S. Wheeler re: privilege issue
                                                   (.30).
03/16/2023 Kathleen Donnelly                  0.90 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams (.40); correspondence
                                                   with S&C team re: investigative workstreams (.50).
03/16/2023 Zoeth Flegenheimer                 1.30 Draft summary of documents for J. Ray re: privilege
                                                   waiver (.40); revise SDNY call notes (.20);
                                                   correspondence to J. Rosenfeld re: prepare SDNY
                                                   presentation (.10); meeting with M. Materni re: status
                                                   of investigative workstreams (.20); bi-weekly S&C
                                                   senior lawyers’ call re: ongoing investigations
                                                   workstreams (.40).
03/16/2023 Jared Rosenfeld                    0.40 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams.
03/16/2023 Andrew Thompson                    0.40 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams.
03/16/2023 Alexander Holland                  1.00 Draft email to J. Croke re: documents referenced in
                                                   public reports.
03/16/2023 Tatum Millet                       2.20 Update documents of interest tracker with summaries
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                                                     of documents identified as interesting (1.8); review
                                                     documents to draft summaries re: same (.40).
03/16/2023 William Scheffer                    0.20 Review correspondence with HFSC staff.
03/17/2023 Christopher Dunne                   0.60 Call with J. Croke re: Alameda borrowing limits and
                                                    case theories.
03/17/2023 Nicole Friedlander                  2.20 Correspondence to I. Graff (Fried Frank) and M.
                                                    Kerin re: call with former FTX personnel (.30); email
                                                    to CFTC re: code access (.40); correspondence to A.
                                                    Dietderich re: report terminology (.10);
                                                    correspondence with M. Kerin and S. Rosenthal re:
                                                    review of report (.20); review revised sections of
                                                    report from M. Kerin and S. Rosenthal (.50); review
                                                    C. Dunne edits to report (.30); correspondence to C.
                                                    Dunne re: same (.10); review questions for former
                                                    FTX personnel (.30).
03/17/2023 Anthony Lewis                       0.10 Correspondence with S&C team re: discussions with
                                                    former employees.
03/17/2023 Michele Materni                     0.60 Correspondence to A. Holland re: searches for
                                                    documents related to investigation (.20);
                                                    correspondence with J. Croke, Z. Flegenheimer, D.
                                                    O'Hara, and E. Downing re: loans (.40).
03/17/2023 Mark Bennett                        2.00 Revise draft of memorandum re: interview of former
                                                    Alameda personnel and correspondence with L. Ross
                                                    re: same.
03/17/2023 Kathleen Donnelly                   1.20 Correspondence with S&C team re: investigative
                                                    workstreams.
03/17/2023 Zoeth Flegenheimer                  0.10 Correspondence to L. Ross re: former FTX personnel
                                                    representation.
03/17/2023 Meaghan Kerin                       0.10 Correspondence to N. Friedlander re: former
                                                    employee interviews.
03/17/2023 Keila Mayberry                      0.10 Correspondence to S&C team re: former Alameda
                                                    personnel communications re: relevant third parties.
03/17/2023 Dario Rosario                       2.80 Organize Signal chats.
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Date        Name                              Hours Description
03/18/2023 Jared Rosenfeld                     3.20 Research re: documents of interest to investigation.
03/18/2023 Jason Gallant                       0.70 Correspondence to S&C team re: invention
                                                    assignment agreement issue.
03/19/2023 Bradley Harsch                      4.80 Review and revise memo re: relevant third party (4.5);
                                                    draft correspondence to S&C team re: follow-up
                                                    items for relevant third party memo (.30).
03/20/2023 Stephen Ehrenberg                   0.80 S&C team meeting re: ongoing investigations
                                                    workstreams (.60); correspondence with R.
                                                    Perubhatla (RLKS) re: FTX Turkey data access
                                                    (.20).
03/20/2023 Kathleen McArthur                   0.80 Call with K. McArthur and J. Rosenfeld re: research
                                                    into withdrawals from relevant third party (.20); S&C
                                                    team meeting re: ongoing investigations workstreams
                                                    (.60).
03/20/2023 Nicole Friedlander                  0.20 Call with I. Graff (Fried Frank) re: former FTX
                                                    personnel.
03/20/2023 Bradley Harsch                      0.70 S&C team meeting re: ongoing investigations
                                                    workstreams (.60); review Signal chat from relevant
                                                    third party (.10).
03/20/2023 William Wagener                     1.20 S&C team meeting re: ongoing investigations
                                                    workstream (.60); S&C team meeting re: ongoing
                                                    investigations workstream (.60).
03/20/2023 Jonathan Sedlak                     0.60 S&C team meeting re: ongoing investigations
                                                    workstreams.
03/20/2023 Michele Materni                     0.60 S&C team meeting re: ongoing investigations
                                                    workstreams.
03/20/2023 Mark Bennett                        0.40 Correspondence with M. Materni re: investigation
                                                    workstream coordination (.20); correspondence with
                                                    M. Materni re: transactions involving former FTX
                                                    personnel and relevant third party (.20).
03/20/2023 Zoeth Flegenheimer                  1.70 S&C team meeting re: ongoing investigations
                                                    workstreams (.60); S&C team meeting re: ongoing
                                                    investigations workstreams (.60); review Signal
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Date        Name                             Hours Description

                                                    messages (.50).
03/20/2023 Alexander Holland                  0.20 Draft email to W. Scheffer re: relevant third party.
03/20/2023 Daniel O'Hara                      1.80 Review media reports and docket filings (.80); S&C
                                                   associate team call re: ongoing investigations
                                                   workstreams (1.0),
03/20/2023 Tatum Millet                       1.30 Research re: loan to former FTX personnel (.70);
                                                   S&C team meeting re: ongoing investigations
                                                   workstreams (.60).
03/20/2023 Luke Ross                          1.00 S&C associate team call re: ongoing investigations
                                                   workstreams,
03/21/2023 Stephen Ehrenberg                  0.10 Correspondence with Turkish counsel re: Turkey
                                                   updates and access to data.
03/21/2023 Jacob Croke                        0.40 Call with SDNY, S. Levin and A. Mazumdar re: FTX
                                                   updates.
03/21/2023 Sharon Levin                       0.40 Call with SDNY, J. Croke and A. Mazumdar re: FTX
                                                   updates.
03/21/2023 Anthony Lewis                      0.10 Correspondence with S&C team re: SDNY
                                                   discussions.
03/21/2023 Michele Materni                    0.10 Correspondence with FTX personnel re: audit
                                                   recordings.
03/21/2023 Zoeth Flegenheimer                 5.80 Review documents to prepare SDNY presentation
                                                   (5.1); coordinate with J. Rosenfeld re: preparing
                                                   SDNY presentation (.50); review draft outline for
                                                   talking points on SDNY presentation (.20).
03/21/2023 Daniel O'Hara                      0.30 Review media reports and docket filings.
03/21/2023 Aneesa Mazumdar                    1.10 Call with SDNY, J. Croke and S. Levin re: FTX
                                                   updates (.40); review and circulate notes re: SDNY
                                                   call (.70).
03/22/2023 Samuel Woodall III                 0.20 Correspondence to K. Shields re: HFSC staff
                                                   correspondence.
03/22/2023 Anthony Lewis                      0.10 Correspondence with S&C and A&M teams re:
                                                   discussions with FTX personnel.
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Date        Name                              Hours Description
03/22/2023 Bradley Harsch                      0.70 Draft talking points for call re: FTX Turkey transfer.
03/22/2023 Zoeth Flegenheimer                  1.60 Draft talking points for SDNY presentation (1.1);
                                                    review Nardello background memo on former FTX
                                                    personnel (.50).
03/22/2023 Daniel O'Hara                       0.20 Review docket filings.
03/23/2023 Stephanie Wheeler                   0.90 Revise agenda for senior lawyer call (.20); bi-weekly
                                                    S&C senior lawyers’ call re: ongoing investigations
                                                    workstreams (.40); correspondence to N. Kutler
                                                    (Covington) and A. Devlin-Brown (Covington) re:
                                                    former FTX personnel (.20); correspondence to K.
                                                    Schultea (RLKS) re: same (.10).
03/23/2023 Steven Peikin                       0.40 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                    investigations workstreams.
03/23/2023 Stephen Ehrenberg                   0.60 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                    investigations workstreams (.50); correspondence
                                                    with F. Weinberg Crocco, B. Harsch, D. Hisarli and
                                                    E. Downing re: emails from Turkey directors re:
                                                    regulator findings (.10).
03/23/2023 Christopher Dunne                   0.40 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                    investigations workstreams.
03/23/2023 Kathleen McArthur                   0.40 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                    investigations workstreams.
03/23/2023 Nicole Friedlander                  1.10 Bi-weekly senior attorneys call (.50); correspondence
                                                    to B. Glueckstein and S. Ehrenberg re: unsealing of
                                                    investigative agencies (.20); review list of questions for
                                                    former Alameda personnel (.20); correspondence to
                                                    P. Neiman (WilmerHale) re: questions for former
                                                    Alameda personnel (.20).
03/23/2023 James Bromley                       1.00 Review documents re: investigations workstreams.
03/23/2023 Anthony Lewis                       0.60 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                    investigations workstreams (.40); correspondence
                                                    with S&C, Sygnia, DOJ teams re: discussions with
                                                    employees (.20).
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Date        Name                             Hours Description
03/23/2023 Bradley Harsch                     0.50 Review agenda for senior lawyer call (.10); bi-weekly
                                                   S&C senior lawyers’ call re: ongoing investigations
                                                   workstreams (.40).
03/23/2023 William Wagener                    0.40 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams.
03/23/2023 Jonathan Sedlak                    0.40 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams.
03/23/2023 Michele Materni                    0.20 Review notes of senior lawyers call.
03/23/2023 Mark Bennett                       2.00 Review documents identified as interesting to
                                                   investigation by associates and circulate summaries re:
                                                   same.
03/23/2023 Fabio Weinberg Crocco              0.60 Review of letter to Turkish authorities (.40);
                                                   correspondence to S&C team re: same (.20);
                                                   correspondence to Turkish counsel re: investigation
                                                   developments (.20).
03/23/2023 Kathleen Donnelly                  5.20 Call with D. O’Hara re: ongoing investigative
                                                   workstreams (.50); call with M. Strand and D.
                                                   O’Hara re: ongoing investigative workstreams (.60);
                                                   bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams (.40); review documents of
                                                   interest (.20); meeting with Z. Flegenheimer re:
                                                   investigating document of interest to investigation
                                                   (.10); read Nardello reports (1.8); correspondence
                                                   with S&C team re: investigative workstreams (.40);
                                                   read documents of interest to investigation (1.2).
03/23/2023 Zoeth Flegenheimer                 2.40 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams (.40); meeting with K.
                                                   Donnelly re: investigating document of interest to
                                                   investigation (.10); correspondence to J. Rosenfeld re:
                                                   preparing SDNY presentation (.20); call with J.
                                                   Rosenfeld and Alix re: preparing SDNY presentation
                                                   (.70); review and revise draft talking points for SDNY
                                                   presentation (1.0).
03/23/2023 Jared Rosenfeld                    0.40 Bi-weekly S&C senior lawyers’ call re: ongoing
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Date        Name                             Hours Description

                                                    investigations workstreams.
03/23/2023 Andrew Thompson                    0.40 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams.
03/23/2023 Daniel O'Hara                      1.50 Review docket filings (.40); call with K. Donnelly re:
                                                   ongoing investigative workstreams (.50); call with K.
                                                   Donnelly and M. Strand re: ongoing investigative
                                                   workstreams (.60).
03/23/2023 Matthew Strand                     0.60 Call with K. Donnelly and D. O’Hara re: ongoing
                                                   investigative workstreams.
03/23/2023 Aneesa Mazumdar                    0.10 Research re: current FTX employees.
03/24/2023 Stephanie Wheeler                  0.50 Revise Z. Flegenheimer correspondence to SDNY re:
                                                   Slack channels.
03/24/2023 Christopher Dunne                  0.20 Call with D. O’Hara and E. Downing re: ongoing
                                                   investigation workstreams.
03/24/2023 Bradley Harsch                     0.30 Review summaries of documents of interest to
                                                   investigation.
03/24/2023 Kathleen Donnelly                  2.10 Read documents of interest (1.9); correspondence
                                                   with S&C team re: investigative workstreams (.20).
03/24/2023 Zoeth Flegenheimer                 1.70 Coordinate with J. Rosenfeld re: preparing SDNY
                                                   presentation (1.0); prepare SDNY presentation (.50);
                                                   review and summarize filing re: technology access
                                                   issue (.20).
03/24/2023 Daniel O'Hara                      0.40 Review documents of interest to investigation (.20);
                                                   call with C. Dunne and E. Downing re: ongoing
                                                   investigations workstreams (.20).
03/24/2023 William Scheffer                   0.30 Read relevant media report.
03/25/2023 Kathleen Donnelly                  0.30 Review documents of interest to investigation.
03/25/2023 Natalie Hills                      2.90 Analyze employee notes documents and metadata
                                                   (2.0); correspondence to K. Donnelly re: same (.90).
03/26/2023 Kathleen Donnelly                  1.30 Correspondence with S&C team and research re:
                                                   investigative workstreams (.50); review documents of
                                                   interest to investigation (.80).
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Date        Name                              Hours Description
03/26/2023 Natalie Hills                       0.40 Update and sent summary of employee notes analysis
                                                    to J. Croke and K. Donnelly.
03/26/2023 Aneesa Mazumdar                     0.30 Research re: former FTX employee plea agreement.
03/27/2023 Stephanie Wheeler                   2.00 S&C team meeting re: ongoing investigations
                                                    workstreams (.60); revise talking points for SDNY
                                                    presentation (1.0); call with J. Ray (FTX), QE, J.
                                                    Croke and investigations team re: investigation status
                                                    and potential areas of inquiry (.40).
03/27/2023 Steven Peikin                       1.30 Review and comment on draft of controls report (.70);
                                                    weekly call with bankruptcy team (.30); review talking
                                                    points for call with SDNY re: financial issue (.30).
03/27/2023 Stephen Ehrenberg                   1.00 S&C team meeting re: ongoing investigations
                                                    workstreams (.60); review email from E. Simpson re:
                                                    letter to Turkish regulator (.20); review email from F.
                                                    Weinberg Crocco re: correspondence with Turkish
                                                    enforcement authorities (.20).
03/27/2023 Kathleen McArthur                   0.10 Correspondence to S&C team re: QE memos.
03/27/2023 Jacob Croke                         0.70 Weekly call with bankruptcy team re: investigative
                                                    issues and next steps (.30); call with J. Ray (FTX),
                                                    QE, S. Wheeler and investigations team re:
                                                    investigation status and potential areas of inquiry (.40).
03/27/2023 Nicole Friedlander                  1.70 Correspondence to M. Materni, C. Dunne, J.
                                                    Rosenfeld and S. Wheeler re: talking points for SDNY
                                                    meeting (.50); revise talking points re: FTX U.S. (1.2).
03/27/2023 James Bromley                       0.60 Review of CFTC complaint against third party
                                                    exchange (.30); correspondence with J. Ray (FTX) re:
                                                    same (.10); call with S. Wheeler, S. Peikin, C. Dunne,
                                                    B. Glueckstein, A. Kranzley and S. Cohen Levin re:
                                                    interim investigation report (.20).
03/27/2023 Alexa Kranzley                      0.40 Update call with investigations and restructuring team.
03/27/2023 Bradley Harsch                      1.00 Review A&M email re: former Alameda personnel
                                                    (.10); review correspondence from S&C team re:
                                                    SDNY letter re: technology access issue (.10); review
                                                    correspondence from S&C team re: inquiry into
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                                                    former FTX personnel (.10); S&C team meeting re:
                                                    ongoing investigations workstreams (.60); review
                                                    correspondence from S&C team re: communications
                                                    to investors (.10).
03/27/2023 William Wagener                    1.10 S&C team meeting re: ongoing investigations
                                                   workstreams (.60); review correspondence from
                                                   S&C team re: same (.50).
03/27/2023 Shane Yeargan                      0.60 S&C team meeting re: ongoing investigations
                                                   workstreams.
03/27/2023 Michele Materni                    4.30 Review documents identified as interesting (1.7);
                                                   revise talking points for SDNY presentation re: FTX
                                                   U.S. financial issue (.60); S&C team meeting re:
                                                   ongoing investigations workstreams (.60); revise draft
                                                   talking points for SDNY presentation re: financial issue
                                                   (1.2); meeting with Z. Flegenheimer re: review of
                                                   documents re: business issue (.20).
03/27/2023 Mark Bennett                       1.10 S&C team meeting re: ongoing investigations
                                                   workstreams (.60); review documents identified as
                                                   interesting to investigation by associate team (.30);
                                                   review correspondence from W. Wagener and A.
                                                   Holland re: correspondence to FTX customers (.20).
03/27/2023 Fabio Weinberg Crocco              0.30 Correspondence to S&C team re: letter to Turkish
                                                   regulators re: local investigation.
03/27/2023 Kathleen Donnelly                  1.80 Call with E. Downing re: potential workstream (.10);
                                                   S&C team re: ongoing investigations workstreams
                                                   (.50); correspondence with S&C team re: investigative
                                                   workstreams (1.2).
03/27/2023 Zoeth Flegenheimer                 2.40 S&C team meeting re: ongoing investigations
                                                   workstreams (.60); update presentation to SDNY
                                                   (.10); meetings with J. Rosenfeld re: preparing SDNY
                                                   presentation (1.5); meeting with M. Materni re: review
                                                   of documents re: business issue (.20).
03/27/2023 Jared Rosenfeld                    2.70 S&C team meeting re: ongoing investigations
                                                   workstreams (.60); review documents identified as
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                                                    interesting to investigation (.60); meetings with Z.
                                                    Flegenheimer re: preparing SDNY presentation (1.5).
03/27/2023 Andrew Thompson                    0.50 S&C team meeting re: ongoing investigations
                                                   workstreams (.50 - partial attendance).
03/27/2023 Alexander Holland                  1.50 Review documents re: investment and publicity
                                                   outreach and draft emails to W. Wagener re: same.
03/27/2023 Daniel O'Hara                      1.70 Review docket filings and news (.40); meeting with M.
                                                   Strand re: ongoing investigative workstreams (.70);
                                                   S&C team meeting re: ongoing investigations
                                                   workstreams (.60).
03/27/2023 Medina Sadat                       1.40 Review user activity for former FTX personnel.
03/27/2023 Matthew Strand                     0.70 Meeting with D. O’Hara re: ongoing investigative
                                                   workstreams.
03/27/2023 Ugonna Eze                         0.60 S&C team meeting re: ongoing investigations
                                                   workstreams.
03/27/2023 Emma Downing                       2.40 Call with K. Donnelly re: potential workstream (.10);
                                                   revise SDNY presentation (2.3).
03/27/2023 Tatum Millet                       0.60 S&C team meeting re: ongoing investigations
                                                   workstreams.
03/27/2023 William Scheffer                   0.30 Correspondence re: SDNY presentation.
03/28/2023 Stephanie Wheeler                  1.40 Correspondence to E. Simpson re: payment to former
                                                   FTX personnel (.10); review documents of interest
                                                   binder (1.3).
03/28/2023 Steven Peikin                      1.70 Review documents of interest binder.
03/28/2023 Christopher Dunne                  3.40 Meetings with J. Rosenfeld and Z. Flegenheimer re:
                                                   presentation to SDNY.
03/28/2023 Kathleen McArthur                  0.30 Review S. Bankman-Fried superseding indictment.
03/28/2023 Jacob Croke                        0.60 Analyze new S. Bankman-Fried charges (.20),
                                                   correspondence to S. Wheeler re: same (.10); call G.
                                                   Walia (A&M) re: Alameda history (.20),
                                                   correspondence to G. Walia (A&M) re: same (.10).
03/28/2023 Anthony Lewis                      0.50 Review superseding charges against S.
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                                                    Bankman-Fried (.20); correspondence with S&C,
                                                    Sygnia, DOJ teams re: discussions with former
                                                    employees (.30).
03/28/2023 Bradley Harsch                     0.80 Review correspondence from S&C team re:
                                                   technology access issue (.10); call with F. Weinberg
                                                   re: matters re: ongoing investigations in Turkey (.10);
                                                   review superseding indictment against S.
                                                   Bankman-Fried (.20); correspondence relevant third
                                                   party re: superseding indictment vs. S. Bankman-Fried
                                                   (.10); review email re: research re: China-related issue
                                                   (.10); review notable Slack communication (.10);
                                                   review correspondence from S&C team re:
                                                   representation of current FTX personnel (.10).
03/28/2023 Michele Materni                    5.80 Revise draft talking points of SDNY presentation re:
                                                   FTX U.S. financial issue (5.0); call with M. Materni,
                                                   E. Downing, L. Ross, and W. Scheffer re: SDNY
                                                   presentation (.60); call with L. Ross re: FTX U.S.
                                                   financial issue (.20).
03/28/2023 Mark Bennett                       0.30 Correspondence with S. Wheeler re: interview of FTX
                                                   personnel (.10); correspondence with K. Lemire (QE)
                                                   re: documents identified as interesting by associate
                                                   team (.20).
03/28/2023 Fabio Weinberg Crocco              0.50 Call with B. Harsch re: matters re: ongoing
                                                   investigations in Turkey (.10); review of draft letter re:
                                                   same (.20); correspondence to J. Ray (FTX) re: same
                                                   (.20).
03/28/2023 Kathleen Donnelly                  0.80 Correspondence with S&C team re: investigative
                                                   workstreams (.40); meeting with D. O’Hara re:
                                                   ongoing investigative workstreams (.40).
03/28/2023 Zoeth Flegenheimer                10.00 Review and summarize filings re: technology access
                                                   issue and superseding indictment (1.5); meetings with
                                                   C. Dunne and J. Rosenfeld re: preparing presentation
                                                   to SDNY (3.4); revise talking points for same (2.0);
                                                   revise presentation to SDNY re: same (3.1).
03/28/2023 Jared Rosenfeld                    3.40 Meetings with C. Dunne and Z. Flegenheimer re:
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                                                    preparing presentation to SDNY.
03/28/2023 Daniel O'Hara                      1.20 Review docket filings (.20); review S. Bankman-Fried
                                                   superseding indictment (.60); meeting with K.
                                                   Donnelly re: ongoing investigative workstreams (.40).
03/28/2023 Emma Downing                       0.70 Call with M. Materni, L. Ross and W. Scheffer re:
                                                   SDNY presentation (.60); call with L. Ross and W.
                                                   Scheffer re: SDNY presentation (.10).
03/28/2023 Keila Mayberry                     0.10 Review of correspondence re: updates to criminal
                                                   case against S. Bankman-Fried (.10).
03/28/2023 Luke Ross                         10.80 Revise talking points for SDNY presentation and
                                                   organize binder re: same.
03/28/2023 William Scheffer                   0.70 Call with M. Materni, E. Downing, L. Ross, and W.
                                                   Scheffer re: SDNY presentation (.60); call with E.
                                                   Downing, L. Ross, and W. Scheffer re: SDNY
                                                   presentation (.10)
03/29/2023 Stephanie Wheeler                  3.80 Revise talking points for presentation on FTX U.S.
                                                   financial issue (1.0); revise talking points for SDNY
                                                   presentations (2.8).
03/29/2023 Christopher Dunne                  3.00 Meeting with, J. Rosenfeld, Z. Flegenheimer and L.
                                                   Ross re: preparing presentation to SDNY.
03/29/2023 Anthony Lewis                      0.30 Correspondence with S&C team and counsel for
                                                   former employees re: discussions with same.
03/29/2023 Bradley Harsch                     0.90 S&C associate team call re: ongoing investigations
                                                   workstreams (.50 - partial attendance); review email
                                                   re: FTX U.S. financial issue (.10); review
                                                   correspondence from S&C team re: call with SDNY
                                                   re: relevant third party (.10); review media report re:
                                                   S. Bankman-Fried gift (.10); review agenda for senior
                                                   lawyer call (.10).
03/29/2023 William Wagener                    0.70 S&C associate team call re: ongoing investigations
                                                   workstreams.
03/29/2023 Jonathan Sedlak                    0.70 S&C associate team call re: ongoing investigations
                                                   workstreams.
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03/29/2023 Shane Yeargan                      0.40 Correspondence to L. Ross re: FTX U.S. financial
                                                   issue.
03/29/2023 Michele Materni                    3.20 Draft associate team meeting agenda (.10); S&C
                                                   associate team call re: ongoing investigations
                                                   workstreams (.70); review S. Bankman-Fried
                                                   superseding indictment (1.0); revise draft SDNY
                                                   presentation re: FTX U.S. financial issue (1.4).
03/29/2023 Mark Bennett                       0.70 S&C associate team call re: ongoing investigations
                                                   workstreams.
03/29/2023 Kathleen Donnelly                  0.70 S&C associate team call re: ongoing investigations
                                                   workstreams.
03/29/2023 Zoeth Flegenheimer                 5.20 S&C associate team call re: ongoing investigations
                                                   workstreams (.70); meeting with C. Dunne, J.
                                                   Rosenfeld and L. Ross re: preparing presentation to
                                                   SDNY (3.0); update presentation to SDNY (1.5).
03/29/2023 Jared Rosenfeld                    5.10 Call with M. Kober re: fact research into relevant third
                                                   parties. (.10); research and correspondence to S&C
                                                   team re: documents of interest re: investigation of
                                                   relevant third parties (1.3); meeting with C. Dunne, Z.
                                                   Flegenheimer and L. Ross, re: preparing presentation
                                                   to SDNY (3.0); S&C associate team call re: ongoing
                                                   investigations workstreams (.70).
03/29/2023 Andrew Thompson                    0.70 S&C associate team call re: ongoing investigations
                                                   workstreams.
03/29/2023 Alexander Holland                  0.60 S&C associate team call re: ongoing investigations
                                                   workstreams (.60- partial attendance).
03/29/2023 Daniel O'Hara                      1.40 Review docket filings and articles (.70); S&C
                                                   associate team call re: ongoing investigations
                                                   workstreams (.70)
03/29/2023 Matthew Strand                     0.70 S&C associate team call re: ongoing investigations
                                                   workstreams.
03/29/2023 Ugonna Eze                         0.70 S&C associate team call re: ongoing investigations
                                                   workstreams.
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03/29/2023 Jason Gallant                      0.70 S&C associate team call re: ongoing investigations
                                                   workstreams.
03/29/2023 Hannah Masters                     0.70 S&C associate team call re: ongoing investigations
                                                   workstreams.
03/29/2023 Emma Downing                       2.80 Revise summary (2.5); collect documents for potential
                                                   SDNY presentation (.30).
03/29/2023 Natalie Hills                      1.10 S&C associate team call re: ongoing investigations
                                                   workstreams (.70); analyze new employee notes
                                                   documents and metadata (.40).
03/29/2023 Phoebe Lavin                       0.70 S&C associate team call re: ongoing investigations
                                                   workstreams.
03/29/2023 Keila Mayberry                     0.70 S&C associate team call re: ongoing investigations
                                                   workstreams.
03/29/2023 Aneesa Mazumdar                    0.70 S&C associate team call re: ongoing investigations
                                                   workstreams.
03/29/2023 Tatum Millet                       0.60 Document search re: former FTX personnel loans.
03/29/2023 Luke Ross                          6.40 Meeting with C. Dunne, J. Rosenfeld, and Z.
                                                   Flegenheimer re: preparing presentation to SDNY
                                                   (3.0); review of documents of interest for Alix (1.8);
                                                   draft analysis of FTX.com and FTX U.S. account
                                                   information (1.6).
03/29/2023 William Scheffer                   1.20 S&C associate team call re: ongoing investigations
                                                   workstreams (.70); review revisions to SDNY talking
                                                   points's (.20); compiled notes and draft talking points
                                                   on FTX.U.S. bankruptcy filing decision (.30)
03/30/2023 Stephanie Wheeler                  1.10 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams (.50); meeting with K.
                                                   Donnelly re: investigative workstreams (.20); meeting
                                                   with Z. Flegenheimer re: ongoing investigative
                                                   workstreams (.30); correspondence to Z.
                                                   Flegenheimer re: S. Bankman-Fried court hearing
                                                   (.10).
03/30/2023 Steven Peikin                      0.50 Bi-weekly S&C senior lawyers’ call re: ongoing
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Date        Name                             Hours Description

                                                    investigations workstreams.
03/30/2023 Stephen Ehrenberg                  0.80 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams (.50); correspondence
                                                   with K. Schultea (RLKS), F. Weinberg Crocco, B.
                                                   Harsch, D. Hisarli and E. Downing re: FTX Turkey
                                                   matters (.30).
03/30/2023 Christopher Dunne                  0.80 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams (.50); call with J.
                                                   Rosenfeld and Z. Flegenheimer re: preparing
                                                   presentation to SDNY (.30).
03/30/2023 Jacob Croke                        1.10 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams (.50); revise materials re:
                                                   presentation to SDNY re: FTX U.S. (.50),
                                                   correspondence to M. Materni re: same (.10).
03/30/2023 Sharon Levin                       0.50 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams.
03/30/2023 Anthony Lewis                      1.10 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams (.50); review materials re:
                                                   discussions with employees (.30); correspondence
                                                   with S&C team re: discussions with employees (.20);
                                                   correspondence with S&C team re: auditor issues
                                                   (.10).
03/30/2023 Bradley Harsch                     1.70 Review correspondence from S&C team re: customer
                                                   account information retrieval (.10); revise and circulate
                                                   draft talking points and documents for call on transfer
                                                   (.40); revise binder re: transfer (.40); bi-weekly S&C
                                                   senior lawyers’ call re: ongoing investigations
                                                   workstreams (.50); review and incorporate A&M
                                                   comments on talking points for call on transfer (.20);
                                                   correspondence S. Ehrenberg re: talking points and
                                                   documents for call on transfer (.10).
03/30/2023 William Wagener                    0.50 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams.
03/30/2023 Jonathan Sedlak                    0.50 Bi-weekly S&C senior lawyers’ call re: ongoing
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Date        Name                             Hours Description

                                                    investigations workstreams
03/30/2023 Shane Yeargan                      0.60 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams (.50); review summary of
                                                   S. Bankman-Fried status conference (.10);
03/30/2023 Michele Materni                    6.20 Complete review of documents of interest binder
                                                   (5.2); bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams (.50); review summary of
                                                   S. Bankman-Fried trial status conference (.10); further
                                                   revise draft talking points for SDNY presentation re:
                                                   FTX U.S. financial issue (.40).
03/30/2023 Mark Bennett                       0.50 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams.
03/30/2023 Kathleen Donnelly                  4.10 Read documents of interest (2.0); review and analyze
                                                   relevant third party motion (.80); correspondence with
                                                   S. Wheeler re: master documents of interest tracker
                                                   (.30); bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams (.50); correspondence
                                                   with S&C team re: relevant third party bank
                                                   statements (.30); meeting with S. Wheeler re:
                                                   investigative workstreams (.20).
03/30/2023 Zoeth Flegenheimer                 2.90 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                   investigations workstreams (.50); attend S.
                                                   Bankman-Fried's pretrial conference (.50); call with
                                                   C. Dunne and J. Rosenfeld re: preparing presentation
                                                   to SDNY (.30); call with J. Rosenfeld re: preparing
                                                   presentation to SDNY (.50); call with J. Rosenfeld
                                                   and Alix team re: preparing presentation to SDNY
                                                   (.40); meeting with S. Wheeler re: ongoing
                                                   investigative workstreams (.30); draft summary of S.
                                                   Bankman-Fried's pretrial hearing (.40).
03/30/2023 Jared Rosenfeld                    1.20 Call with C. Dunne, J. Rosenfeld and Z. Flegenheimer
                                                   re: preparing presentation to SDNY (.30); call with J.
                                                   Rosenfeld and Z. Flegenheimer re: preparing
                                                   presentation to SDNY (.50); call with Z. Flegenheimer
                                                   and Alix team re: preparing funds flow presentation to
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Date         Name                             Hours Description

                                                      SDNY (.40).
03/30/2023 Andrew Thompson                      0.50 Bi-weekly S&C senior lawyers’ call re: ongoing
                                                     investigations workstreams.
03/30/2023 Daniel O'Hara                        0.20 Review docket filings.
03/30/2023 Medina Sadat                         1.20 Research re: former FTX personnel trading activity.
03/31/2023 Stephanie Wheeler                    0.30 Correspondence to M. Materni and N. Friedlander re:
                                                     SDNY presentation materials and format.
03/31/2023 Stephen Ehrenberg                    0.30 Review email from D. Johnston (A&M) re: Turkey
                                                     analysis.
03/31/2023 Nicole Friedlander                   1.10 Meeting with M. Materni and L. Ross re: talking
                                                     points for SDNY presentation on FTX U.S. (.70 -
                                                     partial attendance); calls with M. Materni re: same
                                                     (.40).
03/31/2023 Oderisio de Vito Piscicelli          0.10 Correspondence with S&C team re: Turkey issue.
03/31/2023 Anthony Lewis                        0.50 Correspondence with S&C, A&M teams and counsel
                                                     for employee re: discussion with employee (.40);
                                                     correspondence with S&C and Sygnia teams re:
                                                     auditor issues (.10).
03/31/2023 Bradley Harsch                       0.10 Review correspondence from S&C team re: FTX
                                                     equity positions.
03/31/2023 Michele Materni                      6.30 Meeting with S. Wheeler and M. Materni re: SDNY
                                                     presentations (.20); call with S. Wheeler re: logistics
                                                     for SDNY presentation (.10); meeting with L. Ross re:
                                                     talking points for SDNY presentation on FTX U.S.
                                                     (.80); call with N. Friedlander re: SDNY presentation
                                                     on FTX U.S. (1.3); revise talking points for SDNY
                                                     presentation (3.1); meeting with N. Friedlander and L.
                                                     Ross re: talking points for SDNY presentation on
                                                     FTX U.S. (.80).
03/31/2023 Mark Bennett                         2.80 Analyze data prepared in response to SDNY request
                                                     and correspondence with L. Konig (A&M) re: same
                                                     (.80); correspondence with S. Yeargan re: response
                                                     to SDNY request (.40); call with L. Konig (A&M) re:
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Date        Name                             Hours Description

                                                     SDNY request (.30); correspondence with S.
                                                     Wheeler re: SDNY request (.60); review documents
                                                     escalated from associate review (.70).
03/31/2023 Kathleen Donnelly                  0.50 Correspondence with S&C team re: investigative
                                                   workstreams.
03/31/2023 Meaghan Kerin                      0.10 Correspondence to N. Friedlander and A&M re:
                                                   former employee interview.
03/31/2023 Natalie Hills                      1.60 Analyze new employee notes documents and
                                                   metadata and correspondence to J. Croke re: same.
03/31/2023 Luke Ross                          6.60 Meeting with N. Friedlander and M. Materni re:
                                                   talking points for SDNY presentation (.80); meeting
                                                   with M. Materni re: talking points for SDNY
                                                   presentation on FTX U.S. (.80); revise presentation
                                                   talking points and binder (4.2); revise counsel list
                                                   (.10); review of interview memorandum re: former
                                                   FTX employee (.70).

Total                                       650.40
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Date        Name                            Hours Description

03/01/2023 Andrew Dietderich                 0.40 Meeting with A. Kranzley re: various schedules and
                                                  statements disclosure questions (.20); review related
                                                  A&M correspondence and related examples (.20).
03/01/2023 Brian Glueckstein                 0.80 Meeting with A. Kranzley re: schedules and
                                                  statements issues (.50); call with A&M team and A.
                                                  Kranzley re: schedules CUD issues (.30).
03/01/2023 Alexa Kranzley                    2.40 Call with J. Petiford, A&M and Kroll teams re:
                                                  schedules and statements noticing procedures (.70);
                                                  review and revise schedules and statements (.30);
                                                  review questions re: the same (.20); work on related
                                                  issues re: the same (.20); meeting with A. Dietderich
                                                  re: various schedules and statements disclosure
                                                  questions (.20); meeting with B. Glueckstein re:
                                                  schedules and statements issues (.50); call with A&M
                                                  team and B. Glueckstein re: schedules CUD issues
                                                  (.30).
03/01/2023 Julie Kapoor                      2.80 Revise chart of outstanding litigation in connection with
                                                  schedules and statements (.50); review A&M
                                                  questions re: schedules (.30); research re: same (1.3);
                                                  call with A. Kranzley, A&M and Kroll teams re:
                                                  schedules and statements noticing procedures (.70).
03/01/2023 Grier Barnes                      1.50 Research re: schedules and statements.
03/01/2023 Benjamin Zonenshayn               0.70 Follow up correspondence with respect to A&M
                                                  questions on schedules and statements.
03/02/2023 Brian Glueckstein                 0.70 Meetings with A. Kranzley re: schedules/statements
                                                  and workstreams and follow-up.
03/02/2023 Alexa Kranzley                    2.30 Call with J. Petiford re: schedules and statements
                                                  (.20); call with M. Friedman re: Debtor entity
                                                  directors and officers (.10); calls with A&M re:
                                                  schedules and statements and related issues (.70);
                                                  review and respond to questions from team (.60);
                                                  meetings with B. Glueckstein re: schedules/statements
                                                  and workstreams and follow-up (.70).
03/02/2023 Shane Yeargan                     0.30 Call with J. Petiford re: schedules and statements.
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                          Project: 00034 - SCHEDULES, SOFAS AND REPORTING

Date        Name                            Hours Description
03/02/2023 Julie Kapoor                      1.30 Call with A. Kranzley re: schedules and statements
                                                  (.20); call with S. Yeargan re: same (.30); research re:
                                                  same (.80).
03/02/2023 Fabio Weinberg Crocco             0.40 Correspondence to A. Titus (A&M) re: reporting
                                                  requests.
03/02/2023 Mitchell Friedman                 0.10 Call with A. Kranzley re: Debtor entity directors and
                                                  officers.
03/03/2023 Andrew Dietderich                 1.70 Call with J. Ray (FTX) and A. Kranzley on SOFA
                                                  disclosure of customer positions (1.4); meeting with A.
                                                  Kranzley re: various SOFA issues (.30).
03/03/2023 Alexa Kranzley                    3.30 Calls with J. Petiford re: schedules and statements
                                                  issues (.40); calls and correspondences with A&M
                                                  team re the same (.60); review and work on questions
                                                  on the same (.60); call with J. Ray (FTX) and A.
                                                  Dietderich on SOFA disclosure of customer positions
                                                  and claims trading implications and policies (1.4);
                                                  meeting with A. Dietderich re: various SOFA issues
                                                  (.30).
03/03/2023 Julie Kapoor                      1.60 Revise chart of outstanding litigation in connection with
                                                  schedules and statements (1.0); call with R. Esposito
                                                  (A&M) re: same (.20); calls with A. Kranzley re:
                                                  schedules and statements issues (.40).
03/03/2023 Grier Barnes                      1.40 Revise summary of litigation involving debtors (1.0);
                                                  track outstanding questions re: same with foreign local
                                                  counsel and summarize (.40).
03/04/2023 Jeannette Bander                  0.20 Analyze question from J. Petiford re: schedules global
                                                  comment.
03/04/2023 Alexa Kranzley                    2.00 Review and revise global notes (1.3);
                                                  correspondences with internal team re: the same (.30);
                                                  correspondences with A&M team re: schedules and
                                                  statements questions (.40).
03/04/2023 Julie Kapoor                      2.00 Review and comment on global notes.
03/04/2023 Grier Barnes                      0.70 Provide feedback on Form 426 for Digital Custody
                                                  Inc. (.50); correspondence re: same with S&C team
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                           Project: 00034 - SCHEDULES, SOFAS AND REPORTING

Date        Name                             Hours Description

                                                    (.20).
03/04/2023 Julia Paranyuk                     0.10 Correspondence with J. Bander re: SOFA question.
03/06/2023 Brian Glueckstein                  0.50 Call with A. Kranzley re: schedules strategy issues and
                                                   review and follow-up.
03/06/2023 Jacob Croke                        1.30 Analyze materials for SOFA filings (.90);
                                                   correspondence with Nardello re: same (.10);
                                                   correspondence with Alix re: same (.10); call with R.
                                                   Esposito (A&M) re: insiders (.20).
03/06/2023 Alexa Kranzley                     3.20 Call with M. Cilia (RLKS), J. Ray (FTX) and S&C,
                                                   Landis and A&M teams re: schedules and statements
                                                   (1.9); meetings and correspondences with A&M team
                                                   regarding the same and related issues (.80); call with
                                                   B. Glueckstein re: schedules strategy issues and
                                                   review and follow-up (.50).
03/06/2023 James Simpson                      0.20 Draft description of Australian administration for use in
                                                   schedules.
03/06/2023 Julie Kapoor                       2.10 Call with M. Cilia (RLKS), J. Ray (FTX) and S&C,
                                                   Landis and A&M teams re: schedules and statements
                                                   (1.9); follow up with foreign counsel re: outstanding
                                                   litigation (.20).
03/07/2023 Audra Cohen                        0.40 Correspondences to internal team re: schedules and
                                                   statements.
03/07/2023 Jacob Croke                        2.40 Analyze materials for SOFA filings (2.1);
                                                   correspondence with R. Esposito re: same (.20);
                                                   correspondence with A. Kranzley re: same (.10).
03/07/2023 Alexa Kranzley                     3.40 Calls and correspondences with A&M and RLKS
                                                   teams re: schedules and statements (1.3); review and
                                                   comment on drafts of the same (2.1).
03/07/2023 Julie Kapoor                       0.40 Review schedules and statements.
03/07/2023 Robert Schutt                      3.30 Review dormant debtor schedules.
03/08/2023 Andrew Dietderich                  0.20 Discussion with A. Kranzley re: various issues on
                                                   schedules and statements.
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Date        Name                             Hours Description
03/08/2023 Jacob Croke                        1.20 Correspondence with A. Kranzley re: materials for
                                                   SOFA filings (.10); analyze materials re: same (.60);
                                                   call with Alix and A&M re: same (.50).
03/08/2023 Alexa Kranzley                     2.00 Calls and correspondences with A&M and RLKS re:
                                                   schedules and statements (1.1); review outstanding
                                                   questions, drafts and correspondences with internal
                                                   team and A&M re: the same (.70); discussion with A.
                                                   Dietderich re: various issues on SOFAs (.20).
03/08/2023 Julie Kapoor                       3.60 Review and revise global notes (2.9); correspondence
                                                   with A&M re: same (.70).
03/08/2023 Grier Barnes                       3.00 Review dormant debtor SOFAs (2.0); review Form
                                                   426 submission for FTX Capital Markets LLC (1.0).
03/08/2023 Robert Schutt                      0.10 Review dormant debtor schedules.
03/09/2023 Nicholas Menillo                   0.50 Call with A. Kranzley re: D&O policies (.20); emails
                                                   re: revisions to language for schedules and statements
                                                   (.30).
03/09/2023 Alexa Kranzley                     4.60 Call with M. Friedman re: schedules and statements
                                                   draft from A&M (.10); calls with J. Petiford re:
                                                   schedules and statements issues (.20); calls with A&M
                                                   and RLKS re: the same (1.2); review drafts of the
                                                   same (2.7); correspondences with A&M team re: the
                                                   same (.20); call with N. Menillo re: D&O policies
                                                   (.20).
03/09/2023 Julie Kapoor                       2.50 Calls with A. Kranzley re: schedules and statements
                                                   issues (.20); correspondence with S&C team re: same
                                                   (.30); draft and revise statement re: schedules and
                                                   statements (1.0); review and revise global notes (1.0).
03/09/2023 Mitchell Friedman                  1.50 Call with A. Kranzley re: schedules and statements
                                                   draft from A&M (.10); review and comment on
                                                   schedules and statements re: debtor contracts (1.4).
03/09/2023 Grier Barnes                       0.40 Provide feedback on Form 426 for FTX Capital
                                                   Markets LLC (.10); correspondence to J. Petiford re:
                                                   update on outstanding request from foreign counsel for
                                                   updates on litigation involving debtors (.30).
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Date        Name                            Hours Description
03/09/2023 Bach-Yen Nguyen                   2.40 Review the scope of search on the Darts-ip platform
                                                  and the search results (1.8); finalize the chart of
                                                  findings and the summary report (.60).
03/10/2023 Jacob Croke                       0.50 Analyze materials for SOFA filings and associated
                                                  entities (.20); correspondence with Alix re: same
                                                  (.10); correspondence with R. Esposito re: same
                                                  (.20).
03/10/2023 Alexa Kranzley                    2.10 Review schedules and statements questions from
                                                  A&M and respond to the same (.80); review drafts of
                                                  the same and correspondences with internal team and
                                                  A&M team re: the same (.90); correspondences with
                                                  internal team re: related issues (.40).
03/10/2023 Julie Kapoor                      1.30 Review and revise global notes (1.0); review and
                                                  revise statement re: schedules and statements (.30).
03/10/2023 Harrison Schlossberg              0.30 Review and revise notice to customers re: schedules
                                                  and statements.
03/11/2023 Benjamin Zonenshayn               1.00 Revise customer notice re: schedules and statements.
03/12/2023 Jacob Croke                       0.30 Analyze additional materials for schedules and
                                                  statements filings and debtor-associated entities (.20);
                                                  correspondence with R. Esposito re: same (.10).
03/13/2023 Brian Glueckstein                 0.40 Meeting with A. Kranzley and J. Petiford re: schedules
                                                  questions (.20); review and comment on schedules
                                                  global notes (.20).
03/13/2023 Jacob Croke                       1.40 Review and analyze insider materials for schedules and
                                                  statements filings (1.1); correspondence with R.
                                                  Esposito (A&M) (.10); correspondence with A.
                                                  Kranzley re: same (.20).
03/13/2023 Alexa Kranzley                    6.10 Meeting with J. Petiford, M. Cilia (RLKS), R.
                                                  Esposito (A&M) and R. Gordon (A&M) re: global
                                                  notes (1.3); numerous calls and correspondences with
                                                  A&M team re: same (1.4); numerous calls and
                                                  correspondences with M. Cilia (RLKS) re: same
                                                  (.70); review and revise schedules and statements and
                                                  global notes (2.5); meeting with B. Glueckstein and J.
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Date        Name                            Hours Description

                                                   Petiford re: schedules questions (.20).
03/13/2023 Julie Kapoor                      2.60 Meeting with A. Kranzley, M. Cilia (RLKS), R.
                                                  Esposito (A&M) and R. Gordon (A&M) re: global
                                                  notes (1.3); review schedules and statements (1.0);
                                                  call with E. Levin re: trademarks disputes for reporting
                                                  in schedules and statements (.10); meeting with B.
                                                  Glueckstein and A. Kranzley re: schedules questions
                                                  (.20).
03/13/2023 Elizabeth Levin                   0.10 Call with J. Petiford re: trademarks disputes for
                                                  reporting in schedules and statements.
03/13/2023 Grier Barnes                      0.80 Review schedules and statements.
03/14/2023 Andrew Dietderich                 1.80 Review filing materials re: schedules and statements
                                                  (.60); prepare draft press release (.70);
                                                  correspondences with team re: schedules and
                                                  statements issues (.10); call with S. Coverick (A&M)
                                                  re: same (.20); discussions with A. Kranzley re:
                                                  various schedule issues (.20).
03/14/2023 Brian Glueckstein                 1.00 Meetings with A. Kranzley re: schedules strategy and
                                                  information questions (.60); correspondence with A.
                                                  Kranzley re: schedules issues (.40).
03/14/2023 Jacob Croke                       1.20 Further review and revisions of materials for schedules
                                                  and statements filings (.50); correspondence with A.
                                                  Kranzley (.20); correspondence with Alix re: same
                                                  (.10); revise public statement re: filings (.30);
                                                  correspondence with A. Dietderich re: same (.10).
03/14/2023 Alexa Kranzley                    6.20 Numerous calls and emails with A&M re: schedules
                                                  and statements (1.8); numerous calls and emails with
                                                  RLKS re: the same (.60); correspondences with
                                                  Landis re: the same (.40); review and revise schedules
                                                  and statements and global notes (2.6); discussions
                                                  with A. Dietderich re: various schedule issues (.20);
                                                  meetings with B. Glueckstein re: schedules strategy
                                                  and information questions (.60).
03/14/2023 Julie Kapoor                      0.50 Review schedules and statements (.20);
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                                                   correspondence with S&C, A&M and RLKS teams
                                                   re: same (.30).
03/15/2023 Brian Glueckstein                 0.40 Discussions with A. Kranzley re: schedules questions
                                                  and follow-up.
03/15/2023 Jacob Croke                       2.70 Call with Alix, A&M, RLKS and S&C team re:
                                                  SOFAs 4 and 13 (1.0); further analysis of insider
                                                  issues and transactions re: inclusion in filings (1.3);
                                                  correspondence with A. Kranzley re: same (.30);
                                                  correspondence with R. Esposito re: same (.10).
03/15/2023 Alexa Kranzley                    2.40 Call with Alix, A&M, RLKS and S&C team re:
                                                  SOFAs 4 and 13 (1.0); call with J. Petiford re:
                                                  schedules and statements (.10); review, revise and
                                                  finalize the same for filing (.90); discussions with B.
                                                  Glueckstein re: schedules questions and follow-up
                                                  (.40).
03/15/2023 Julie Kapoor                      1.90 Call with S. Perry (Kroll) re: notice to customers re:
                                                  schedules and statements (.10); revise same (.40); call
                                                  with S. Perry (Kroll) and B. Steele (Kroll) re: same
                                                  (.20); call with A. Kranzley re: schedules and
                                                  statements (.10); review presentation to UCC re:
                                                  schedules and statements (1.1).
03/16/2023 Alexa Kranzley                    1.60 Calls with J. Petiford re: customer notice for schedules
                                                  and statements (.40); calls with A&M re: same (.40);
                                                  call with J. Petiford and R. Esposito (A&M) re:
                                                  schedules and statements redaction issues (.20);
                                                  follow up calls with J. Petiford (.20); work on related
                                                  issues (.40).
03/16/2023 Julie Kapoor                      2.50 Calls with A. Kranzley re: customer notice for
                                                  schedules and statements (.40); call with A. Kranzley
                                                  and R. Esposito (A&M) re: schedules and statements
                                                  redaction issues (.20); follow up calls with A.
                                                  Kranzley (.20); call with R. Esposito (A&M) and L.
                                                  Lewandowski (A&M) re: customer notice for
                                                  schedules and statements (.10); call with B. Steele
                                                  (Kroll) re: same (.10); work on same (1.4); call with
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                                                   B. Steele (Kroll) and S. Perry (Kroll) re: same (.10).
03/17/2023 Alexa Kranzley                    0.30 Correspondence with S&C team re: customer notice
                                                  for schedules and statements.
03/17/2023 Julie Kapoor                      0.50 Call with S. Perry (Kroll) re: customer notice for
                                                  schedules and statements (.10); revise same (.40).
03/20/2023 Alexa Kranzley                    0.80 Call with J. Petiford re: schedules and statements
                                                  redaction issues (.10); work on related issues (.40);
                                                  calls with A&M team re: same (.30).
03/20/2023 Julie Kapoor                      0.50 Call with A. Kranzley re: schedules and statements
                                                  redaction issues (.10); call with R. Esposito (A&M)
                                                  re: same (.40).
03/21/2023 Alexa Kranzley                    1.10 Call with J. Petiford, R. Gordon (A&M) and R.
                                                  Esposito (A&M) re: schedules and statements follow
                                                  up workstreams (.80); review related drafts and work
                                                  on related issues (.30).
03/21/2023 Julie Kapoor                      1.40 Call with M. Pierce (Landis) re: redaction issues in
                                                  schedules and statements (.10); call with A. Kranzley,
                                                  R. Gordon (A&M) and R. Esposito (A&M) re:
                                                  schedules and statements follow up workstreams
                                                  (.80); follow ups re: same (.50).
03/22/2023 Alexa Kranzley                    0.30 Work on customer email for schedules and statements
                                                  and related issues.
03/24/2023 Alexa Kranzley                    0.60 Coordinate with Kroll, A&M and internal team re:
                                                  customer email for schedules and statements (.30);
                                                  work on schedule revisions (.30).
03/24/2023 Julie Kapoor                      0.60 Revise customer email for schedules and statements
                                                  (.20); call with Kroll and A&M teams re: same (.30);
                                                  follow up re: same (.10).
03/27/2023 Alexa Kranzley                    0.50 Correspondence with A&M and RLKS team re:
                                                  interim reporting (.30); correspondence with Kroll re:
                                                  customer email for schedules and statements (.20).
03/28/2023 Alexa Kranzley                    0.30 Correspondence with A&M, Kroll and S&C re:
                                                  customer email for schedules and statements.
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                          Project: 00034 - SCHEDULES, SOFAS AND REPORTING

Date        Name                            Hours Description
03/28/2023 Julie Kapoor                      0.20 Customer email for schedules and statements (.10);
                                                  follow up correspondence re: same (.10).
03/29/2023 Alexa Kranzley                    0.60 Correspondence with internal EU and Japan teams re:
                                                  schedules and related issues (.40); correspondence
                                                  with internal team re: questions on same (.20).
03/29/2023 Nirav Mehta                       0.90 Correspondence with FTX Japan, H. Chambers
                                                  (A&M), K. Ramanathan (A&M) and S&C team re:
                                                  Kroll customer emails (.70); call with H. Chambers
                                                  (A&M) re: same (.20).
03/30/2023 Nirav Mehta                       0.20 Correspondence with FTX Japan, H. Chambers
                                                  (A&M), K. Ramanathan (A&M) and S&C team re:
                                                  Kroll customer emails.

Total                                      113.80
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                            Project: 00035 - OTHER MOTIONS/APPLICATIONS

Date        Name                            Hours Description

03/01/2023 Alexa Kranzley                    0.40 Correspondence with internal team re: turnover motion
                                                  (.20); work on same (.20).
03/01/2023 Nam Luu                           0.10 Correspondence with J. Petiford re: research on
                                                  redaction motion.
03/01/2023 Robert Schutt                     2.40 Review background for turnover motion (1.0); draft
                                                  turnover motion (1.4).
03/02/2023 Alexa Kranzley                    0.10 Follow up re: turnover motion.
03/02/2023 Julie Kapoor                      0.50 Review CNOs and COCs re: various motions (.20);
                                                  meeting with N. Luu re: research on redaction motion
                                                  (.30).
03/02/2023 Nam Luu                           0.30 Meeting with J. Petiford re: research on redaction
                                                  motion.
03/02/2023 Robert Schutt                     3.80 Work on turnover motion (3.6); call with E. Shehada
                                                  re: turnover order research (.20).
03/02/2023 Emile Shehada                     0.20 Call with R. Schutt re: turnover order research.
03/03/2023 Stephanie Wheeler                 0.70 Revise turnover motion and order (.60);
                                                  correspondence with team re: revisions to same (.10).
03/03/2023 Robert Schutt                     0.60 Revise turnover motion.
03/04/2023 Grier Barnes                      0.70 Review docket in advance of March 8 hearing (.50);
                                                  correspondence re: same with S&C team (.20).
03/06/2023 James Bromley                     0.60 Correspondence with S&C team re: UST notice of
                                                  appeal re: examiner (.30); review issues re: same
                                                  (.30).
03/06/2023 Julie Kapoor                      0.90 Review motion to extend deadline to file (.50);
                                                  correspondence with S&C and Landis teams re: filings
                                                  for the week (.40).
03/06/2023 Nam Luu                           1.00 Research re: redaction motion issues.
03/06/2023 Robert Schutt                     0.50 Review turnover order.
03/07/2023 Sean Fulton                       0.50 Review third party exchange motion and order.
03/07/2023 Julie Kapoor                      2.70 Review and revise motion to extend deadline.
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                             Project: 00035 - OTHER MOTIONS/APPLICATIONS

Date        Name                             Hours Description
03/07/2023 Nam Luu                            2.20 Research re: redaction motion (.80); draft same (1.0);
                                                   correspondence with J. Petiford re: same (.40).
03/08/2023 Alexa Kranzley                     0.40 Review turnover motion and order (.20);
                                                   correspondences with internal team re: same (.20).
03/08/2023 Sean Fulton                        1.70 Review memo re: ownership accounts (.70); review
                                                   draft of third party exchange motion (1.0).
03/08/2023 Matthew Strand                     3.20 Research re: motion to compel (2.2); draft same (1.0).
03/08/2023 Nam Luu                            2.40 Revise redaction motion (2.3); correspondence with
                                                   S&C team re: same (.10).
03/08/2023 Robert Schutt                      0.60 Correspondence with internal team re: turnover order
                                                   (.30); review and revise turnover order (.30).
03/09/2023 Stephanie Wheeler                  1.40 Call with counsel for relevant third party and J.
                                                   Rosenfeld re: loan repayment in connection with
                                                   turnover motion (.60); call with A. Kranzley re:
                                                   revising turnover motion (.10); revise turnover motion
                                                   (.50); correspondence with A. Kranzley and E.
                                                   Simpson re: same (.20).
03/09/2023 Alexa Kranzley                     2.00 Meeting with R. Schutt and B. Zonenshayn re:
                                                   turnover motion and other workstreams (.30); review
                                                   and revise turnover motion and order (.90);
                                                   correspondences with internal team re: the same (.10);
                                                   work on related issues (.40); correspondences with
                                                   internal team re: other motions for relief and related
                                                   issues (.20); call with S. Wheeler re: revising turnover
                                                   motion (.10).
03/09/2023 Jared Rosenfeld                    0.60 Call with counsel for relevant third party and S.
                                                   Wheeler re: loan repayment in connection with
                                                   turnover motion.
03/09/2023 Nam Luu                            2.80 Revise redaction motion (2.6); correspondence with
                                                   S&C team re: same (.20).
03/09/2023 Robert Schutt                      1.90 Review and revise proposed turnover order (1.6);
                                                   meeting with A. Kranzley and B. Zonenshayn re:
                                                   turnover motion and other workstreams (.30).
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                            Project: 00035 - OTHER MOTIONS/APPLICATIONS

Date        Name                            Hours Description
03/09/2023 Benjamin Zonenshayn               0.30 Meeting with A. Kranzley and R. Schutt re: turnover
                                                  motion and other workstreams.
03/10/2023 Stephanie Wheeler                 0.40 Correspondence to E. Simpson, A. Kranzley and R.
                                                  Schutt re: turnover motion revisions.
03/10/2023 Alexa Kranzley                    0.10 Correspondence with S&C team re: motion to extend
                                                  deadline.
03/10/2023 Julie Kapoor                      0.50 Review and revise motion to extend deadline.
03/10/2023 Christian Hodges                  1.30 Revise motion to extend deadline.
03/10/2023 Robert Schutt                     0.70 Correspondence with S. Wheeler and E. Simpson re:
                                                  turnover order and background (.20); revise turnover
                                                  order (.50).
03/12/2023 Christian Hodges                  1.00 Revise motion to extend deadline (.60); prepare email
                                                  to A. Kranzley with update re: same (.20); send J.
                                                  Petiford update of document (.20).
03/13/2023 Alexa Kranzley                    0.10 Follow up with internal team re: turnover motion.
03/13/2023 Christian Hodges                  0.10 Correspondence to S&C team re: status of motion to
                                                  extend deadline.
03/14/2023 Stephanie Wheeler                 0.10 Correspondence with E. Simpson re: turnover motion.
03/15/2023 Robert Schutt                     0.20 Review proposed turnover order.
03/16/2023 Stephanie Wheeler                 0.30 Call with J. Croke re: turnover motions (.10);
                                                  correspondence with E. Simpson re: turnover motion
                                                  deadline (.10); call with E. Simpson, A. Kranzley and
                                                  J. Croke re: loans in connection with turnover motion
                                                  (.10).
03/16/2023 Evan Simpson                      0.10 Call with S. Wheeler, A. Kranzley and J. Croke re:
                                                  loans in connection with turnover motion.
03/20/2023 Stephanie Wheeler                 0.20 Correspondence with E. Simpson re: turnover motion
                                                  (.10); call with Davis Polk team and E. Simpson re:
                                                  loan in connection with turnover motion (partial
                                                  attendance - .10).
03/20/2023 Brian Glueckstein                 0.40 Review and consider UST examiner appeal filings.
03/20/2023 Jacob Croke                       0.90 Review and revise turnover motion (.80);
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                            Project: 00035 - OTHER MOTIONS/APPLICATIONS

Date        Name                            Hours Description

                                                   correspondence with A. Dietderich re: same (.10).
03/20/2023 Evan Simpson                      0.50 Call with Davis Polk team and S. Wheeler re: loan in
                                                  connection with turnover motion.
03/20/2023 Ryan Logan                        1.80 Research GDPR data protection issues re: redaction
                                                  motion.
03/21/2023 Alexa Kranzley                    0.50 Review turnover motion and order and provide
                                                  comments to internal team.
03/21/2023 Ryan Logan                        1.20 Research GDPR data protection issues re: redaction
                                                  motion.
03/21/2023 Sean Fulton                       0.70 Review UST statement of issues and appeal record re:
                                                  examiner motion appeal.
03/21/2023 Nam Luu                           2.60 Research re: GDPR in connection with redaction
                                                  motion.
03/22/2023 Stephanie Wheeler                 0.20 Correspondence with E. Simpson, J. Ray (FTX) and
                                                  A. Kranzley re: turnover motion.
03/22/2023 Andrew Dietderich                 0.20 Correspondence with UST re: appeal of examiner
                                                  denial.
03/22/2023 Alexa Kranzley                    0.10 Follow up with internal team re: turnover motion.
03/22/2023 Ryan Logan                        1.00 Research GDPR data protection issues re: redaction
                                                  motion.
03/22/2023 Julie Kapoor                      0.70 Research re: GDPR in connection with redaction
                                                  motion.
03/22/2023 Nam Luu                           0.50 Research re: GDPR in connection with redaction
                                                  motion and summarize same (.40); correspondence
                                                  with J. Petiford re: same (.10).
03/22/2023 Emile Shehada                     0.50 Review designation of record re: UST appeal.
03/23/2023 Stephanie Wheeler                 0.10 Call with E. Simpson re: turnover motion.
03/23/2023 Evan Simpson                      0.10 Call with S. Wheeler re: turnover motion.
03/23/2023 James Bromley                     0.50 Correspondence with S&C team re: UST appeal of
                                                  examiner motion denial (.30); review materials re:
                                                  same (.20).
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Date        Name                            Hours Description
03/23/2023 Sean Fulton                       1.20 Call with E. Shehada re: research re: appeal from
                                                  examiner motion decision (.20); review UST motion
                                                  for leave to file direct appeal (1.0).
03/23/2023 Nam Luu                           5.70 Research re: GDPR in connection with redaction
                                                  motion and summarize same (5.3); correspondence
                                                  with J. Petiford re: same (.20); review UST appeal of
                                                  examiner denial (.20).
03/23/2023 Emile Shehada                     3.60 Call with S. Fulton re: research re: appeal from
                                                  examiner motion decision (.20); research re: same
                                                  (1.3); research re: opposition to UST motion for direct
                                                  certification of appeal (2.1).
03/24/2023 Brian Glueckstein                 3.00 Revise opposition to UST motion to shorten time re:
                                                  motion to certify appeal and related (2.0); review UST
                                                  reply (.20); review and analyze UST motion to certify
                                                  examiner appeal (.80).
03/24/2023 James Bromley                     0.90 Review issues re: UST motion to shorten examiner
                                                  certification (.40); review and comment on opposition
                                                  re: same (.30); correspondence with S&C team re:
                                                  procedural issues re: same (.20).
03/24/2023 Alexa Kranzley                    0.30 Work on turnover issues.
03/24/2023 Nam Luu                           0.60 Research re: GDPR in connection with redaction
                                                  motion (.40); correspondence with J. Petiford re:
                                                  same (.20).
03/24/2023 Emile Shehada                     3.70 Research re: opposition to UST motion for direct
                                                  certification of appeal (2.1); draft outline for same
                                                  (1.6).
03/25/2023 Brian Glueckstein                 0.50 Call with S. Fulton and E. Shehada to discuss
                                                  opposition to UST motion for direct certification.
03/25/2023 Sean Fulton                       0.60 Call with B. Glueckstein and E. Shehada to discuss
                                                  opposition to UST motion for direct certification (.40);
                                                  call with E. Shehada to discuss opposition to UST
                                                  motion for direct certification (.20).
03/25/2023 Emile Shehada                     3.90 Call with B. Glueckstein and S. Fulton to discuss
                                                  opposition to UST motion for direct certification (.50);
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                            Project: 00035 - OTHER MOTIONS/APPLICATIONS

Date        Name                            Hours Description

                                                   call with S. Fulton to discuss opposition to UST
                                                   motion for direct certification (.20); research case law
                                                   re: same (.20); further develop outline re: same (3.0).
03/26/2023 Alexa Kranzley                    0.20 Correspondence with S&C team re: turnover motion.
03/27/2023 Stephanie Wheeler                 0.90 Review revisions to turnover motion papers (.60);
                                                  correspondence with E. Simpson and A. Kranzley re:
                                                  same (.20); call with A. Kranzley re: same (.10).
03/27/2023 Stephen Ehrenberg                 0.30 Review responses from local counsel in several
                                                  jurisdictions regarding confidentiality and related Email
                                                  correspondence with B. Glueckstein regarding UST
                                                  record on appeal.
03/27/2023 Alexa Kranzley                    0.70 Call with S. Wheeler re: turnover motion (.10); revise
                                                  same (.60).
03/27/2023 Ryan Logan                        0.20 Email correspondence with J. Petiford, A. Kranzley
                                                  and B. Glueckstein regarding GDPR issues in
                                                  connection with redaction motion (.20).
03/28/2023 Stephanie Wheeler                 0.50 Call with J. Linder (Mayer Brown), G. Parlovecchio
                                                  (Mayer Brown) and J. Castelluccio (Mayer Brown)
                                                  re: turnover motion (.40); correspondence with E.
                                                  Simpson and A. Kranzley re: same (.10).
03/28/2023 Brian Glueckstein                 2.30 Revise turnover motion and supporting documents
                                                  (1.5); call with J. Croke re: related issues (.20); call
                                                  with third party counsel and J. Croke re: turnover of
                                                  assets (.20); correspondence with S&C team re:
                                                  turnover questions and issues (.40).
03/28/2023 Alexa Kranzley                    0.20 Review changes to turnover motion (.10);
                                                  correspondence with S&C team re: same (.10).
03/28/2023 Emile Shehada                     1.90 Research re: FTX's objection to UST motion for
                                                  direct certification of appeal.
03/29/2023 Stephanie Wheeler                 5.10 Review comments on turnover motion from Mayer
                                                  Brown (.40); correspondence with A. Kranzley re:
                                                  same (.10); correspondence with J. Rosenfeld, M.
                                                  Tatum and P. Lavin re: documents cited in turnover
                                                  motion (.10); meeting with E. Simpson, J. Rosenfeld
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                          Project: 00035 - OTHER MOTIONS/APPLICATIONS

Date        Name                          Hours Description

                                                 and A. Courroy to consider comments from third
                                                 party counsel on turnover motion documents and
                                                 discuss necessary amendments (.50); correspondence
                                                 to J. Castelluccio (Mayer Brown) re: loans in
                                                 connection with turnover motion (.20);
                                                 correspondences to H. Rosenblat (Morrison Cohen)
                                                 and A. Kranzley re: Debtor entity fund (.50); review
                                                 revisions to turnover motion documents (.30);
                                                 correspondence to A. Kranzley re: service of turnover
                                                 motion (.20); meeting with L. Callerio, R. Gordon
                                                 (A&M) and E. Simpson re: turnover motion (.10);
                                                 review turnover motion documents (.40);
                                                 correspondence to A. Courroy re: same (.10); call
                                                 with S. Raymond (SDNY) re: call re: turnover motion
                                                 (.20); correspondence to S&C investigations team re:
                                                 report of call (.10); correspondence to T. Shea (EY)
                                                 and K. Schultea (RLKS) re: FTX address for IRS
                                                 filings (.20); call with E. Simpson re: report on
                                                 turnover motion (.10); correspondence to J. Croke, E.
                                                 Simpson, A. Kranzley and J. Ray (FTX) re: same
                                                 (.30); correspondence to E. Simpson, A. Kranzley, B.
                                                 Glueckstein and J. Ray (FTX) re: same (.70);
                                                 correspondence with E. Simpson and A. Courroy re:
                                                 comments raised by third party counsel and
                                                 coordinate further steps re: filing of turnover motion
                                                 (.10); correspondence to J. Weiner (DPW), K.
                                                 Brown (Landis) and A. Kranzley re: filing turnover
                                                 motion (.50).
03/29/2023 Brian Glueckstein               3.10 Call with A. Kranzley and J. Petiford re: redaction
                                                motion (.50); revise turnover motion and supporting
                                                documents (2.4); correspondence with S&C team re:
                                                same (.20).
03/29/2023 Jacob Croke                     2.50 Review and revise materials re: turnover motion (1.2);
                                                correspondences with B. Glueckstein, exchange
                                                counsel, third-party counsel and J. Ray (FTX) re:
                                                same (1.3).
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Date        Name                             Hours Description
03/29/2023 Evan Simpson                       0.70 Meeting with S. Wheeler, J. Rosenfeld and A.
                                                   Courroy to consider comments from third party
                                                   counsel on turnover motion documents and discuss
                                                   necessary amendments (.50); meeting with L. Callerio,
                                                   R. Gordon (A&M) and S. Wheeler re: turnover
                                                   motion (.10); call with S. Wheeler re: report on
                                                   turnover motion (.10).
03/29/2023 Alexa Kranzley                     1.80 Call with B. Glueckstein and J. Petiford re: redaction
                                                   motion (.50); review and revise turnover motion and
                                                   related documentation (.70); correspondence with
                                                   S&C team re: finalizing the same for filing (.40);
                                                   correspondence with Landis re: filing and service of
                                                   the same (.20).
03/29/2023 Ryan Logan                         1.70 Review transcript from January FTX hearing and draft
                                                   analysis of GDPR redaction issues in connection with
                                                   redaction motion (1.7).
03/29/2023 Sean Fulton                        1.70 Review summary of cases.
03/29/2023 Julie Kapoor                       0.50 Call with B. Glueckstein and A. Kranzley re: redaction
                                                   motion.
03/29/2023 Jared Rosenfeld                    0.50 Meeting with S. Wheeler, E. Simpson and A. Courroy
                                                   to consider comments from third party counsel on
                                                   turnover motion documents and discuss necessary
                                                   amendments (.50).
03/29/2023 Arthur Courroy                     6.00 Correspondence with E. Simpson and S. Wheeler re:
                                                   comments raised by third party counsel and
                                                   coordinate further steps re: filing of turnover motion
                                                   (.10);
                                                   revise turnover motion (5.2); coordinate filing of
                                                   motion with E. Simpson, S. Wheeler and A. Kranzley
                                                   (.20); meeting with S. Wheeler, E. Simpson and J.
                                                   Rosenfeld to consider comments from third party
                                                   counsel on turnover motion documents and discuss
                                                   necessary amendments (.50).
03/29/2023 Emile Shehada                      1.30 Research re: opposition to UST motion for direct
                                                   certification of appeal.
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Date        Name                            Hours Description

03/30/2023 Stephanie Wheeler                  0.30 Correspondence with E. Simpson re: turnover motion
                                                   follow up.
03/30/2023 Ryan Logan                         2.10 Revise analysis of GDPR arguments on legal bases for
                                                   processing in connection with upcoming FTX Chapter
                                                   11 hearing (2.1).
03/30/2023 Sean Fulton                        0.60 Call with E. Shehada re: opposition to UST motion for
                                                   direct certification.
03/30/2023 Arthur Courroy                     5.00 Revise turnover motion (4.8); coordinate filing of
                                                   motion with E. Simpson, S. Wheeler and A. Kranzley
                                                   (.20).
03/30/2023 Emile Shehada                      7.80 Call with S. Fulton re: opposition to UST motion for
                                                   direct certification (.60); research re: same (3.0);
                                                   revise same (4.2).
03/31/2023 Stephanie Wheeler                  0.10 Correspondence with E. Simpson re: calculation of
                                                   interest on loan in connection with turnover motion.
03/31/2023 Ryan Logan                         2.10 Revise analysis re: GDPR issues in redaction motion.
03/31/2023 Sean Fulton                        5.40 Revise draft opposition to UST's motion for direct
                                                   certification of examiner motion appeal.
03/31/2023 Emile Shehada                      3.20 Research re: opposition to UST motion for direct
                                                   certification (1.1); revise same (.80); conduct
                                                   additional research re: same (1.30).

Total                                       135.80
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                                  Project: 00036 - TIME ENTRY REVIEW

Date        Name                             Hours Description

03/01/2023 Ella Capen                          0.70 Review and revise time entries. (no charge)
03/01/2023 Sophia Chen                         4.60 Review and revise time entries. (no charge)
03/01/2023 Jason Katz                          1.30 Review and revise time entries. (no charge)
03/01/2023 Virginia Ontiveros                  0.50 Review and revise time entries. (no charge)
03/01/2023 Halloran Purcell                    0.40 Review and revise time entries. (no charge)
03/01/2023 Harrison Schlossberg                1.00 Review and revise time entries. (no charge)
03/01/2023 Nicholas Smusz                      1.00 Review and revise time entries. (no charge)
03/01/2023 Natalia Vasylyk                     0.60 Review and revise time entries. (no charge)
03/01/2023 Jack Wiley                          5.30 Review and revise time entries. (no charge)
03/01/2023 Terry Fukui                         6.20 Review and revise time entries. (no charge)
03/01/2023 Shan Zhong                          3.60 Review and revise time entries. (no charge)
03/02/2023 Ella Capen                          1.00 Review and revise time entries. (no charge)
03/02/2023 Virginia Ontiveros                  2.00 Review and revise time entries. (no charge)
03/02/2023 Harrison Schlossberg                0.50 Review and revise time entries. (no charge)
03/02/2023 Victoria Shahnazary                 2.00 Review and revise time entries. (no charge)
03/02/2023 Natalia Vasylyk                     1.20 Review and revise time entries. (no charge)
03/02/2023 Jack Wiley                          1.70 Review and revise time entries. (no charge)
03/02/2023 Terry Fukui                         6.90 Review and revise time entries. (no charge)
03/03/2023 Ella Capen                          8.00 Review and revise time entries. (no charge)
03/03/2023 Sophia Chen                        12.00 Review and revise time entries. (no charge)
03/03/2023 Jason Katz                          2.30 Review and revise time entries. (no charge)
03/03/2023 Halloran Purcell                    4.00 Review and revise time entries. (no charge)
03/03/2023 Harrison Schlossberg                1.60 Review and revise time entries. (no charge)
03/03/2023 Nicholas Smusz                      0.70 Review and revise time entries. (no charge)
03/03/2023 Natalia Vasylyk                     2.30 Review and revise time entries. (no charge)
03/03/2023 Jack Wiley                          7.00 Review and revise time entries. (no charge)
03/03/2023 Shan Zhong                          6.00 Review and revise time entries. (no charge)
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                                  Project: 00036 - TIME ENTRY REVIEW

Date        Name                             Hours Description

03/04/2023 Ella Capen                          1.40 Review and revise time entries. (no charge)
03/04/2023 Sophia Chen                         2.90 Review and revise time entries. (no charge)
03/04/2023 Harrison Schlossberg                2.50 Review and revise time entries. (no charge)
03/04/2023 Nicholas Smusz                      2.70 Review and revise time entries. (no charge)
03/04/2023 Jack Wiley                          4.00 Review and revise time entries. (no charge)
03/04/2023 Terry Fukui                         1.90 Review and revise time entries. (no charge)
03/04/2023 Shan Zhong                          2.20 Review and revise time entries. (no charge)
03/05/2023 Ella Capen                          3.00 Review and revise time entries. (no charge)
03/05/2023 Sophia Chen                         5.40 Review and revise time entries. (no charge)
03/05/2023 Jason Katz                          6.30 Review and revise time entries. (no charge)
03/05/2023 Harrison Schlossberg                7.50 Review and revise time entries. (no charge)
03/05/2023 Victoria Shahnazary                 2.00 Review and revise time entries. (no charge)
03/05/2023 Nicholas Smusz                      3.90 Review and revise time entries. (no charge)
03/05/2023 Natalia Vasylyk                     4.70 Review and revise time entries. (no charge)
03/05/2023 Jack Wiley                          8.00 Review and revise time entries. (no charge)
03/05/2023 Terry Fukui                         1.30 Review and revise time entries. (no charge)
03/05/2023 Shan Zhong                          2.80 Review and revise time entries. (no charge)
03/06/2023 Sophia Chen                         1.50 Review and revise time entries. (no charge)
03/06/2023 Jason Katz                          1.60 Review and revise time entries. (no charge)
03/06/2023 Virginia Ontiveros                  4.00 Review and revise time entries. (no charge)
03/06/2023 Harrison Schlossberg                7.00 Review and revise time entries. (no charge)
03/06/2023 Nicholas Smusz                      0.50 Review and revise time entries. (no charge)
03/07/2023 Ella Capen                          0.60 Review and revise time entries. (no charge)
03/07/2023 Jason Katz                          0.50 Review and revise time entries. (no charge)
03/07/2023 Virginia Ontiveros                  2.00 Review and revise time entries. (no charge)
03/07/2023 Halloran Purcell                    2.00 Review and revise time entries. (no charge)
03/07/2023 Harrison Schlossberg                4.20 Review and revise time entries. (no charge)
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Date        Name                             Hours Description
03/07/2023 Victoria Shahnazary                 7.50 Review and revise time entries. (no charge)
03/07/2023 Jack Wiley                          9.30 Review and revise time entries. (no charge)
03/07/2023 Terry Fukui                         3.10 Review and revise time entries. (no charge)
03/07/2023 Shan Zhong                          2.80 Review and revise time entries. (no charge)
03/08/2023 Jason Katz                          2.30 Review and revise time entries. (no charge)
03/08/2023 Virginia Ontiveros                  5.00 Review and revise time entries. (no charge)
03/08/2023 Halloran Purcell                    2.00 Review and revise time entries. (no charge)
03/08/2023 Harrison Schlossberg                0.20 Review and revise time entries. (no charge)
03/08/2023 Victoria Shahnazary                 4.10 Review and revise time entries. (no charge)
03/08/2023 Nicholas Smusz                      5.70 Review and revise time entries. (no charge)
03/08/2023 Jack Wiley                         12.00 Review and revise time entries. (no charge)
03/08/2023 Terry Fukui                         7.50 Review and revise time entries. (no charge)
03/08/2023 Shan Zhong                          2.50 Review and revise time entries. (no charge)
03/09/2023 Ella Capen                          8.00 Review and revise time entries. (no charge)
03/09/2023 Sophia Chen                         7.80 Review and revise time entries. (no charge)
03/09/2023 Jason Katz                          4.20 Review and revise time entries. (no charge)
03/09/2023 Virginia Ontiveros                  5.00 Review and revise time entries. (no charge)
03/09/2023 Halloran Purcell                    5.10 Review and revise time entries. (no charge)
03/09/2023 Harrison Schlossberg                4.20 Review and revise time entries. (no charge)
03/09/2023 Victoria Shahnazary                 1.50 Review and revise time entries. (no charge)
03/09/2023 Nicholas Smusz                      3.50 Review and revise time entries. (no charge)
03/09/2023 Natalia Vasylyk                     3.30 Review and revise time entries. (no charge)
03/09/2023 Jack Wiley                          8.50 Review and revise time entries. (no charge)
03/09/2023 Terry Fukui                         7.90 Review and revise time entries. (no charge)
03/09/2023 Shan Zhong                          4.70 Review and revise time entries. (no charge)
03/10/2023 Ella Capen                          3.50 Review and revise time entries. (no charge)
03/10/2023 Sophia Chen                         9.20 Review and revise time entries. (no charge)
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Date        Name                             Hours Description
03/10/2023 Jason Katz                          1.50 Review and revise time entries. (no charge)
03/10/2023 Virginia Ontiveros                  5.00 Review and revise time entries. (no charge)
03/10/2023 Halloran Purcell                    4.00 Review and revise time entries. (no charge)
03/10/2023 Harrison Schlossberg                4.30 Review and revise time entries. (no charge)
03/10/2023 Nicholas Smusz                      2.90 Review and revise time entries. (no charge)
03/10/2023 Natalia Vasylyk                     3.50 Review and revise time entries. (no charge)
03/10/2023 Jack Wiley                          4.50 Review and revise time entries. (no charge)
03/10/2023 Terry Fukui                         4.90 Review and revise time entries. (no charge)
03/10/2023 Shan Zhong                          0.90 Review and revise time entries. (no charge)
03/11/2023 Jason Katz                          0.30 Review and revise time entries. (no charge)
03/13/2023 Ella Capen                          1.00 Review and revise time entries. (no charge)
03/13/2023 Sophia Chen                         1.90 Review and revise time entries. (no charge)
03/13/2023 Jason Katz                          0.50 Review and revise time entries. (no charge)
03/13/2023 Virginia Ontiveros                  4.00 Review and revise time entries. (no charge)
03/13/2023 Halloran Purcell                    2.00 Review and revise time entries. (no charge)
03/13/2023 Harrison Schlossberg                4.30 Review and revise time entries. (no charge)
03/13/2023 Victoria Shahnazary                 0.30 Review and revise time entries. (no charge)
03/13/2023 Nicholas Smusz                      1.50 Review and revise time entries. (no charge)
03/13/2023 Natalia Vasylyk                     2.60 Review and revise time entries. (no charge)
03/13/2023 Jack Wiley                          3.00 Review and revise time entries. (no charge)
03/13/2023 Terry Fukui                         6.90 Review and revise time entries. (no charge)
03/14/2023 Ella Capen                          2.00 Review and revise time entries. (no charge)
03/14/2023 Sophia Chen                         4.30 Review and revise time entries. (no charge)
03/14/2023 Jason Katz                          1.70 Review and revise time entries. (no charge)
03/14/2023 Virginia Ontiveros                  3.00 Review and revise time entries. (no charge)
03/14/2023 Halloran Purcell                    1.00 Review and revise time entries. (no charge)
03/14/2023 Harrison Schlossberg                0.80 Review and revise time entries. (no charge)
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Date        Name                             Hours Description
03/14/2023 Victoria Shahnazary                 3.30 Review and revise time entries. (no charge)
03/14/2023 Nicholas Smusz                      4.30 Review and revise time entries. (no charge)
03/14/2023 Natalia Vasylyk                     1.80 Review and revise time entries. (no charge)
03/14/2023 Jack Wiley                         10.30 Review and revise time entries. (no charge)
03/14/2023 Terry Fukui                         8.30 Review and revise time entries. (no charge)
03/15/2023 Ella Capen                          2.00 Review and revise time entries. (no charge)
03/15/2023 Sophia Chen                        12.00 Review and revise time entries. (no charge)
03/15/2023 Jason Katz                          2.70 Review and revise time entries. (no charge)
03/15/2023 Virginia Ontiveros                  3.00 Review and revise time entries. (no charge)
03/15/2023 Halloran Purcell                    3.00 Review and revise time entries. (no charge)
03/15/2023 Harrison Schlossberg                3.50 Review and revise time entries. (no charge)
03/15/2023 Nicholas Smusz                      5.50 Review and revise time entries. (no charge)
03/15/2023 Natalia Vasylyk                     2.50 Review and revise time entries. (no charge)
03/15/2023 Jack Wiley                          7.00 Review and revise time entries. (no charge)
03/15/2023 Terry Fukui                         6.20 Review and revise time entries. (no charge)
03/16/2023 Sophia Chen                         9.50 Review and revise time entries. (no charge)
03/16/2023 Virginia Ontiveros                  2.00 Review and revise time entries. (no charge)
03/16/2023 Halloran Purcell                    2.50 Review and revise time entries. (no charge)
03/16/2023 Harrison Schlossberg                3.00 Review and revise time entries. (no charge)
03/16/2023 Victoria Shahnazary                 2.20 Review and revise time entries. (no charge)
03/16/2023 Nicholas Smusz                      0.20 Review and revise time entries. (no charge)
03/16/2023 Natalia Vasylyk                     1.00 Review and revise time entries. (no charge)
03/16/2023 Jack Wiley                          2.50 Review and revise time entries. (no charge)
03/17/2023 Ella Capen                          3.50 Review and revise time entries. (no charge)
03/17/2023 Jason Katz                          0.30 Review and revise time entries. (no charge)
03/17/2023 Virginia Ontiveros                  2.00 Review and revise time entries. (no charge)
03/17/2023 Halloran Purcell                    1.50 Review and revise time entries. (no charge)
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Date        Name                             Hours Description
03/17/2023 Nicholas Smusz                      2.80 Review and revise time entries. (no charge)
03/17/2023 Natalia Vasylyk                     2.60 Review and revise time entries. (no charge)
03/18/2023 Victoria Shahnazary                 1.50 Review and revise time entries. (no charge)
03/19/2023 Sophia Chen                         2.70 Review and revise time entries. (no charge)
03/19/2023 Jack Wiley                          4.50 Review and revise time entries. (no charge)
03/20/2023 Ella Capen                          1.00 Review and revise time entries. (no charge)
03/20/2023 Jason Katz                          0.50 Review and revise time entries. (no charge)
03/20/2023 Virginia Ontiveros                  0.20 Review and revise time entries. (no charge)
03/20/2023 Halloran Purcell                    2.00 Review and revise time entries. (no charge)
03/20/2023 Harrison Schlossberg                1.70 Review and revise time entries. (no charge)
03/20/2023 Victoria Shahnazary                 2.60 Review and revise time entries. (no charge)
03/20/2023 Nicholas Smusz                      1.90 Review and revise time entries. (no charge)
03/20/2023 Jack Wiley                          5.80 Review and revise time entries. (no charge)
03/20/2023 Terry Fukui                         0.60 Review and revise time entries. (no charge)
03/21/2023 Sophia Chen                         1.20 Review and revise time entries. (no charge)
03/21/2023 Jason Katz                          1.20 Review and revise time entries. (no charge)
03/21/2023 Virginia Ontiveros                  1.00 Review and revise time entries. (no charge)
03/21/2023 Halloran Purcell                    2.00 Review and revise time entries. (no charge)
03/21/2023 Nicholas Smusz                      1.10 Review and revise time entries. (no charge)
03/21/2023 Natalia Vasylyk                     1.70 Review and revise time entries. (no charge)
03/21/2023 Jack Wiley                          3.00 Review and revise time entries. (no charge)
03/22/2023 Ella Capen                          3.10 Review and revise time entries. (no charge)
03/22/2023 Jason Katz                          2.30 Review and revise time entries. (no charge)
03/22/2023 Virginia Ontiveros                  1.00 Review and revise time entries. (no charge)
03/22/2023 Halloran Purcell                    3.00 Review and revise time entries. (no charge)
03/22/2023 Harrison Schlossberg                4.00 Review and revise time entries. (no charge)
03/22/2023 Victoria Shahnazary                 1.90 Review and revise time entries. (no charge)
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                                 Project: 00036 - TIME ENTRY REVIEW

Date        Name                            Hours Description
03/22/2023 Nicholas Smusz                     0.50 Review and revise time entries. (no charge)
03/22/2023 Natalia Vasylyk                    1.70 Review and revise time entries. (no charge)
03/22/2023 Jack Wiley                         5.00 Review and revise time entries. (no charge)
03/22/2023 Terry Fukui                        1.30 Review and revise time entries. (no charge)
03/22/2023 Shan Zhong                         1.60 Review and revise time entries. (no charge)
03/23/2023 Ella Capen                         4.70 Review and revise time entries. (no charge)
03/23/2023 Sophia Chen                        5.90 Review and revise time entries. (no charge)
03/23/2023 Virginia Ontiveros                 0.30 Review and revise time entries. (no charge)
03/23/2023 Nicholas Smusz                     0.40 Review and revise time entries. (no charge)
03/23/2023 Jack Wiley                         5.00 Review and revise time entries. (no charge)
03/23/2023 Terry Fukui                        0.90 Review and revise time entries. (no charge)
03/23/2023 Shan Zhong                         1.50 Review and revise time entries. (no charge)
03/24/2023 Sophia Chen                        2.90 Review and revise time entries. (no charge)
03/24/2023 Jason Katz                         0.50 Review and revise time entries. (no charge)
03/24/2023 Victoria Shahnazary                0.10 Review and revise time entries. (no charge)
03/24/2023 Jack Wiley                         3.00 Review and revise time entries. (no charge)
03/24/2023 Shan Zhong                         1.80 Review and revise time entires. (no charge)
03/27/2023 Ella Capen                         0.30 Review and revise time entries. (no charge)
03/27/2023 Sophia Chen                        2.20 Review and revise time entries. (no charge)
03/27/2023 Jason Katz                         0.20 Review and revise time entries. (no charge)
03/27/2023 Virginia Ontiveros                 1.00 Review and revise time entries. (no charge)
03/27/2023 Victoria Shahnazary                1.10 Review and revise time entries. (no charge)
03/27/2023 Nicholas Smusz                     0.70 Review and revise time entries. (no charge)
03/27/2023 Natalia Vasylyk                    0.50 Review and revise time entries. (no charge)
03/27/2023 Jack Wiley                         1.50 Review and revise time entries. (no charge)
03/27/2023 Terry Fukui                        0.30 Review and revise time entries. (no charge)
03/27/2023 Shan Zhong                         1.50 Review and revise time entries. (no charge)
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                                 Project: 00036 - TIME ENTRY REVIEW

Date        Name                            Hours Description
03/28/2023 Sophia Chen                        0.90 Review and revise time entries. (no charge)
03/28/2023 Natalia Vasylyk                    1.50 Review and revise time entries. (no charge)
03/28/2023 Jack Wiley                         7.00 Review and revise time entries. (no charge)
03/29/2023 Ella Capen                         0.10 Review and revise time entries. (no charge)
03/29/2023 Sophia Chen                        0.40 Review and revise time entries. (no charge)
03/29/2023 Jason Katz                         0.50 Review and revise time entries. (no charge)
03/29/2023 Virginia Ontiveros                 1.00 Review and revise time entries. (no charge)
03/29/2023 Halloran Purcell                   1.00 Review and revise time entries. (no charge)
03/29/2023 Victoria Shahnazary                1.60 Review and revise time entries. (no charge)
03/29/2023 Nicholas Smusz                     0.70 Review and revise time entries. (no charge)
03/29/2023 Natalia Vasylyk                    2.00 Review and revise time entries. (no charge)
03/29/2023 Jack Wiley                         3.30 Review and revise time entries. (no charge)
03/29/2023 Shan Zhong                         6.00 Review and revise time entries. (no charge)
03/30/2023 Sophia Chen                        1.00 Review and revise time entries. (no charge)
03/30/2023 Virginia Ontiveros                 1.20 Review and revise time entries. (no charge)
03/30/2023 Halloran Purcell                   2.00 Review and revise time entries. (no charge)
03/30/2023 Victoria Shahnazary                2.10 Review and revise time entries. (no charge)
03/30/2023 Nicholas Smusz                     0.40 Review and revise time entries. (no charge)
03/30/2023 Natalia Vasylyk                    2.20 Review and revise time entries. (no charge)
03/30/2023 Jack Wiley                         1.00 Review and revise time entries. (no charge)
03/30/2023 Terry Fukui                        6.90 Review and revise time entries. (no charge)
03/31/2023 Sophia Chen                        1.80 Review and revise time entries. (no charge)
03/31/2023 Jason Katz                         2.10 Review and revise time entries. (no charge)
03/31/2023 Halloran Purcell                   2.50 Review and revise time entries. (no charge)
03/31/2023 Victoria Shahnazary                3.00 Review and revise time entries. (no charge)
03/31/2023 Nicholas Smusz                     2.70 Review and revise time entries. (no charge)
03/31/2023 Natalia Vasylyk                    1.80 Review and revise time entries. (no charge)
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Date        Name                      Hours Description
03/31/2023 Jack Wiley                   4.40 Review and revise time entries. (no charge)
03/31/2023 Terry Fukui                  6.70 Review and revise time entries. (no charge)
03/31/2023 Shan Zhong                   1.90 Review and revise time entries. (no charge)

Total                                 662.40
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                                  Project: 00037 - BUDGETING

Date        Name                         Hours Description

03/08/2023 Nicole Friedlander              0.30 Correspondences with E. Taraba (A&M) and O.
                                                Wortman (Sygnia) re: Sygnia budgeting.
03/21/2023 Julie Kapoor                    0.10 Work on budget for S&C fees.
03/21/2023 Harrison Schlossberg            2.50 Work on budget for S&C fees per J. Petiford.
03/22/2023 Julie Kapoor                    1.00 Work on budget for S&C fees.

Total                                      3.90
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                                Project: 00039 - GENERAL REGULATORY

Date        Name                            Hours Description

03/01/2023 Stephanie Wheeler                 0.50 Revise talking points for call with CFTC.
03/01/2023 Kathleen McArthur                 0.10 Correspondence to S. Ehrenberg re: requests from
                                                  states.
03/01/2023 Jacob Croke                       0.30 Analyze issues relevant to state requests (.20);
                                                  correspondence to S. Wheeler re: same (.10).
03/01/2023 Bradley Harsch                    0.40 Review S. Wheeler comments on talking points for
                                                  CFTC call (.10); further review S. Wheeler and M.
                                                  Strand correspondence with S&C team re: CFTC
                                                  talking points (.10); review and comment on draft
                                                  passage for CFTC talking points (.20).
03/01/2023 Jennifer Sutton                   0.50 Correspondence to S&C team re: federal regulator
                                                  complaints and state license issues (.30); address
                                                  questions re: EY proposal (.20).
03/01/2023 Shane Yeargan                     0.50 Correspondence to S. Wheeler and K. Donnelly re:
                                                  states request for data (.30); correspondence with
                                                  A&M team re: format of data to be produced to
                                                  states (.20).
03/01/2023 Zoeth Flegenheimer                1.50 Review CFTC complaint and order of judgment
                                                  against N. Singh.
03/01/2023 Matthew Strand                    3.40 Review and revise talking points for call with CFTC.
03/01/2023 Tatum Millet                      1.30 Summarize references in interview notes and memos
                                                  to issue relevant to states request (.90);
                                                  correspondence to K. Donnelly re: same (.40).
03/02/2023 Stephanie Wheeler                 0.30 Correspondence to S. Yeargan and K. Donnelly re:
                                                  draft email to state regulators.
03/02/2023 Sharon Levin                      0.30 Correspondence to B. Harsch re: state regulator
                                                  query.
03/02/2023 James McDonald                    1.60 Review materials re: civil action against individuals
                                                  (.50); review materials re: CFTC data request and
                                                  correspondence to S&C team re: same (.40); revise
                                                  CFTC talking points (.70).
03/02/2023 Jennifer Sutton                   1.00 Correspondence to S&C team re: state license issue
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                               Project: 00039 - GENERAL REGULATORY

Date        Name                           Hours Description

                                                  (.30); draft related summary to get revised EY
                                                  estimate (.40); review draft order and provide to J.
                                                  Ray (FTX) for signature (.30).
03/02/2023 Shane Yeargan                    0.50 Correspondence to A&M team re: data to be
                                                 produced to CFTC (.20); correspondence to K.
                                                 Donnelly re: states responses (.10); correspondence
                                                 with CFTC team re: data access (.10);
                                                 correspondence to J. McDonald re: CFTC data
                                                 access (.10).
03/02/2023 Matthew Strand                   1.20 Revise CFTC talking points based on comments from
                                                 S. Wheeler.
03/02/2023 Leanne Van Allen                 0.10 Correspondence to state regulator re: proposed
                                                 consent order.
03/02/2023 Phoebe Lavin                     1.90 Search and review documents re: issue relevant to
                                                 states' request.
03/02/2023 Keila Mayberry                   0.30 Review regulatory correspondence and update the
                                                 regulatory correspondence tracker.
03/03/2023 Stephanie Wheeler                0.10 Correspondence to J. McDonald re: states request to
                                                 interview former FTX U.S. personnel.
03/03/2023 Stephen Ehrenberg                0.50 Correspondence to Z. Flegenheimer and S. Wheeler
                                                 re: preservation of Slack communications
03/03/2023 James McDonald                   0.70 Call with former FTX U.S. personnel counsel re: state
                                                 investigations.
03/03/2023 Bradley Harsch                   0.10 Correspondence to S&C team re: former FTX U.S.
                                                 personnel's counsel and states investigation.
03/03/2023 Jennifer Sutton                  0.20 Correspondence to S&C team re: executed state
                                                 order and state license issue.
03/03/2023 Shane Yeargan                    0.40 Call with A&M team re: lender data for states (.30);
                                                 correspondence to S. Wheeler and K. Donnelly re:
                                                 lending request from states (.10).
03/03/2023 Leanne Van Allen                 0.10 Update state license tracker.
03/05/2023 Stephanie Wheeler                0.40 Review revisions to talking points for CFTC call (.10);
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Date        Name                           Hours Description

                                                  revise talking points for call with state securities
                                                  regulators (.30).
03/06/2023 Stephanie Wheeler                2.20 Review state money transmitter suspension documents
                                                 (.10); correspondence to J. Sutton re: state money
                                                 transmitter license suspension documents (.10);
                                                 correspondence to K. Mayberry re: same (.10);
                                                 correspondence to K. Lemire (QE) re: same (.10);
                                                 call with J. McDonald and A. Cohen re: federal
                                                 regulator investigation (.30); call with M. Strand re:
                                                 potential settlements with federal regulator (.30);
                                                 review talking points to state securities regulators
                                                 (.20); call with K. Donnelly re: revising talking points
                                                 to state securities regulators (.10); correspondence to
                                                 J. Sutton, K. Mayberry and K. Lemire (QE) re:
                                                 confidential information and state money transmitter
                                                 license issues (.30); further revise talking points for
                                                 state securities regulators (.20); review summary of
                                                 settlements with federal regulator (.10); review draft
                                                 resolution papers (.30).
03/06/2023 Audra Cohen                      0.30 Call with S. Wheeler and J. McDonald re: federal
                                                 regulator investigation.
03/06/2023 James McDonald                   1.20 Call with S. Wheeler and A. Cohen re: federal
                                                 regulator investigation (.30); call with federal regulator
                                                 re: same (.40); review materials re: same (.50).
03/06/2023 Anthony Lewis                    0.10 Review draft of federal regulator consent order.
03/06/2023 Bradley Harsch                   0.10 Review research on settlements with federal regulator.
03/06/2023 Jennifer Sutton                  1.00 Address questions re: state suspension and research
                                                 re: same.
03/06/2023 Shane Yeargan                    0.90 Correspondence to A&M team re: exports for states'
                                                 requests (.20); correspondence to S. Wheeler and K.
                                                 Donnelly re: account data for state requests (.30);
                                                 review draft federal regulator consent order (.40).
03/06/2023 Kathleen Donnelly                0.10 Call with S. Wheeler re: revising talking points to state
                                                 securities regulators.
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Date        Name                           Hours Description
03/06/2023 Matthew Strand                   1.10 Review recent federal regulator resolutions and
                                                 summarize same (.80); call with S. Wheeler re:
                                                 potential settlements with federal regulator (.30).
03/06/2023 Keila Mayberry                   0.60 Review regulatory correspondence and update the
                                                 regulatory correspondence tracker (.40); send weekly
                                                 regulatory update email (.20).
03/07/2023 Stephanie Wheeler                0.40 Revise email to state securities regulators.
03/07/2023 James McDonald                   2.40 Correspondence to S&C team re: federal regulator
                                                 investigation (.30); review materials re: same (.80); call
                                                 with federal regulator re: same (.60); correspondence
                                                 to S&C team re: debtor entity strategy and possible
                                                 resolution with federal regulator (.50); correspondence
                                                 to S. Wheeler re: updates (.20).
03/07/2023 Bradley Harsch                   1.20 Review draft federal regulator consent order (.30);
                                                 correspondence to M. Beville (WilmerHale) re: call re:
                                                 confidentiality language (.10); review B. Glueckstein
                                                 and A. Dietderich responses to query re: state law
                                                 enforcement (.10); correspondence to S. Wheeler and
                                                 S. Yeargan re: state law enforcement query (.20); call
                                                 with M. Beville (WilmerHale) re: relevant third party
                                                 data (.20); correspondence to S. Cohen Levin re:
                                                 response to state law enforcement (.10);
                                                 correspondence to S&C team re: CFTC relevant third
                                                 party resolution (.20).
03/07/2023 Shane Yeargan                    0.30 Correspondence to S. Wheeler and K. Donnelly re:
                                                 response to state lenders requests.
03/07/2023 Keila Mayberry                   0.20 Review regulatory correspondence and update the
                                                 regulatory correspondence tracker.
03/08/2023 Stephanie Wheeler                0.40 Review talking points for states securities regulators re:
                                                 requests for information (.10); correspondence to S.
                                                 Peikin and J. McDonald re: same (.10); call with J.
                                                 McDonald re: talking points for states (.10);
                                                 correspondence to K. Donnelly re: revisions to talking
                                                 points for states (.10).
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Date        Name                          Hours Description
03/08/2023 James McDonald                  0.70 Call with S. Wheeler re: talking points for states (.10);
                                                revise talking points for states (.60).
03/08/2023 Jennifer Sutton                 0.50 Correspondence to S&C team re: state outreach and
                                                possible suspension (.40); correspondence to S&C
                                                team re: finalized state order (.10).
03/08/2023 Michele Materni                 0.20 Revise talking points for call with state regulators re:
                                                responding to their questions.
03/08/2023 Keila Mayberry                  1.20 Summarize regulatory correspondence (.40);
                                                correspondence to E. Shehada re: ongoing litigation
                                                tracking (.40); review regulatory correspondence and
                                                update the regulatory inquiry tracker (.40).
03/09/2023 Jennifer Sutton                 0.80 Call with state money transmitter regulator and L. Van
                                                Allen re: license suspension (.30); correspondence to
                                                S&C team re: call with state and bond status (.30);
                                                review prior communications with state (.20).
03/09/2023 Shane Yeargan                   0.10 Correspondence with A&M team re: states request
                                                for lender and equity investor data.
03/09/2023 Leanne Van Allen                0.70 Call with state money transmitter regulator and J.
                                                Sutton re: license suspension (.30); correspondence
                                                with state money transmitter regulator re: bond
                                                expiration (.30); correspondence to J. Petiford re:
                                                state money transmitter regulator discussion re: bond
                                                expiration (.10).
03/09/2023 Keila Mayberry                  0.40 Correspondence to M. Plamondon re: regulatory
                                                disclosures.
03/10/2023 Steven Peikin                   0.20 Review talking points for call with states.
03/10/2023 Jennifer Sutton                 1.60 Review license data and correspondence to S&C
                                                team re: same (1.0); correspondence to S&C team
                                                and state re: annual report (.30); correspondence to
                                                S&C team and state re: surety bond (.30).
03/10/2023 Leanne Van Allen                1.70 Review current state license statuses (.80);
                                                correspondence to J. Sutton re: current state license
                                                statuses (.40); update state license tracker (.30);
                                                review draft suspension order from state regulators
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Date        Name                           Hours Description

                                                  (.20).
03/10/2023 Keila Mayberry                   0.30 Review regulatory correspondence and update the
                                                 regulatory correspondence tracker.
03/11/2023 Keila Mayberry                   0.30 Review regulatory correspondence and update the
                                                 regulatory correspondence tracker.
03/13/2023 Stephen Ehrenberg                0.20 Correspondence to A. Kranzley re: creditor email.
03/13/2023 Bradley Harsch                   0.10 Correspondences to S. Cohen Levin re: state law
                                                 enforcement query.
03/13/2023 Jennifer Sutton                  0.30 Correspondence to state re: suspension and service.
03/13/2023 Shane Yeargan                    0.70 Correspondence to S. Wheeler re: data requests from
                                                 states (.20); review A&M data export for states
                                                 request (.50).
03/13/2023 Leanne Van Allen                 3.30 Research re: state law re: license issue (3.2);
                                                 correspondence to J. Sutton re: list of outstanding
                                                 licenses for EY (.10).
03/13/2023 Keila Mayberry                   0.70 Review regulatory correspondence and update the
                                                 regulatory correspondence tracker.
03/14/2023 James McDonald                   0.40 Review materials re: CFTC data request and
                                                 correspondence to S&C team re: same.
03/14/2023 Jennifer Sutton                  3.50 Research questions re: bond status (1.6); develop and
                                                 refine list of states for license preservation efforts
                                                 (1.0); address question re: assessment and related
                                                 research (.60); review received suspension (.20); call
                                                 with L. Van Allen re: state license and bond statuses
                                                 (.10).
03/14/2023 Leanne Van Allen                 0.40 Call with J. Sutton re: state license and bond statuses
                                                 (.10); update state licenses tracker (.10); review state
                                                 emergency suspension order (.20).
03/14/2023 Keila Mayberry                   0.20 Review regulatory correspondence and update the
                                                 regulatory correspondence tracker.
03/15/2023 David Gilberg                    0.20 Correspondence to M. Friedman re: issues related to
                                                 federal regulator.
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Date        Name                            Hours Description
03/15/2023 Steven Peikin                     0.60 Call with federal regulator team re: status and requests
                                                  (.40); correspondence to S&C team re: same (.20).
03/15/2023 Shane Yeargan                     1.60 Correspondence to S. Wheeler and K. Donnelly re:
                                                  data for states (.20); review data for states requests
                                                  (1.3); correspondence to S&C team re: data related
                                                  to states request (.10).
03/15/2023 Keila Mayberry                    0.50 Review regulatory correspondence and update the
                                                  regulatory correspondence tracker.
03/16/2023 Nicole Friedlander                0.60 Correspondence with CFTC team, Sygnia team and J.
                                                  McDonald re: codebase.
03/16/2023 James McDonald                    0.40 Review materials re: CFTC requests and
                                                  correspondence to S&C team re: same.
03/16/2023 Jennifer Sutton                   1.00 Review state assessment email (.30); review state
                                                  reporting issues and correspondence to S&C team re:
                                                  same (.70).
03/16/2023 Aaron Levine                      0.20 Review documents re: exchange issues.
03/16/2023 Meaghan Kerin                     0.10 Review correspondence from N. Friedlander and
                                                  Sygnia team re: CFTC requests.
03/16/2023 Keila Mayberry                    0.10 Review regulatory correspondence and update the
                                                  regulatory correspondence tracker.
03/17/2023 Jennifer Sutton                   0.60 Correspondence to S&C team re: state compliance
                                                  issue (.30); address inquiry from state re: application
                                                  (.30).
03/17/2023 Aaron Levine                      0.20 Review margin application documents.
03/17/2023 Keila Mayberry                    0.60 Review regulatory correspondence and update the
                                                  regulatory correspondence tracker.
03/20/2023 Jennifer Sutton                   0.40 Address state question re: refund (.20); address M.
                                                  Cilia (RKLS) question re: KYC (.20).
03/21/2023 Jennifer Sutton                   0.20 Address state question re: refund (.10); review
                                                  received process (.10).
03/22/2023 Jennifer Sutton                   0.20 Correspondence to S&C team re: registered agent
                                                  (.10); review received process (.10).
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Date        Name                            Hours Description
03/23/2023 Stephanie Wheeler                 0.70 Revise talking points for state securities regulators call
                                                  (.40); correspondence to S. Yeargan and K. Donnelly
                                                  re: preparation for state securities regulator call (.20);
                                                  correspondence to S. Ehrenberg and K. Donnelly re:
                                                  FINRA request to debtor entity (.10).
03/23/2023 Stephen Ehrenberg                 0.40 Correspondence to S. Peikin, S. Wheeler and K.
                                                  Donnelly re: FINRA request (.30); correspondence to
                                                  A. Lewis, K. Donnelly and S. Wheeler re: FINRA
                                                  request (.10).
03/23/2023 Nicole Friedlander                0.40 Correspondence with CFTC and Sygnia teams re:
                                                  code issue (.30); correspondence to J. McDonald re:
                                                  CFTC complaint (.10).
03/23/2023 James McDonald                    0.50 Correspondence with CFTC and S&C teams re:
                                                  complaint.
03/23/2023 Anthony Lewis                     0.10 Correspondence with S&C and Compliers teams re:
                                                  FINRA inquiry.
03/23/2023 Bradley Harsch                    0.10 Correspondence to S. Cohen Levin re: follow up from
                                                  state law enforcement inquiry.
03/23/2023 Jennifer Sutton                   1.00 Correspondence to S&C team re: registered agent
                                                  (.20); address question re: surety claims and
                                                  correspondence to S&C team re: same (.50); address
                                                  question re: refund (.30).
03/23/2023 Kathleen Donnelly                 0.80 Draft response email to FINRA and correspondence
                                                  to S&C team re: same.
03/23/2023 Leanne Van Allen                  2.20 Correspondence to J. Sutton, A. Kranzley, M. Cilia
                                                  (RKLS) and A&M team re: surety claim (.60);
                                                  research re: same (1.6).
03/23/2023 Aneesa Mazumdar                   1.30 Research re: foreign service of process.
03/24/2023 Anthony Lewis                     0.20 Review FINRA request (.10); correspondence with
                                                  S&C and Compliers teams re: FINRA request (.10).
03/24/2023 Jennifer Sutton                   0.40 Correspondence to S&C team, state and debtor re:
                                                  refund (.30); address question re: tax diligence (.10).
03/24/2023 Kathleen Donnelly                 0.90 Correspondence to S&C team re: FINRA requests.
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Date        Name                            Hours Description

03/25/2023 Anthony Lewis                     0.20 Correspondence with S&C team re: FINRA inquiry.
03/25/2023 Kathleen Donnelly                 0.70 Revise attorney list re: FINRA response (.10);
                                                  correspondence with S&C team re: FINRA response
                                                  (.60).
03/25/2023 Natalie Hills                     1.10 Update document re: FTXCM regulatory requests.
03/26/2023 Anthony Lewis                     0.10 Correspondence with S&C team re: FINRA inquiry.
03/27/2023 Stephen Ehrenberg                 0.50 Call with A. Lewis, K. Donnelly and Compliers team
                                                  re: FINRA examination.
03/27/2023 Jacob Croke                       0.30 Analyze CFTC enforcement action and potential
                                                  implications for investigation.
03/27/2023 James McDonald                    0.70 Revise state law enforcement talking points.
03/27/2023 Anthony Lewis                     0.60 Call with S. Ehrenberg, K. Donnelly and Compliers
                                                  team re: FINRA examination (.50); correspondence
                                                  with S&C and Compliers teams re: FINRA inquiry
                                                  (.10).
03/27/2023 Bradley Harsch                    0.10 Review CFTC complaint against third party exchange.
03/27/2023 Jennifer Sutton                   0.40 Correspondence to S&C team re: state money
                                                  transmitter and lender licenses strategy (.30);
                                                  correspondence to S&C team re: returned process
                                                  (.10).
03/27/2023 Kathleen Donnelly                 1.80 Correspondence with S&C team re: FINRA requests
                                                  and review documents re: same (1.3); call with S.
                                                  Ehrenberg, A. Lewis and Compliers team re: FINRA
                                                  examination (.50).
03/27/2023 Zoeth Flegenheimer                0.40 Review CFTC complaint against third party exchange
                                                  for information relevant to ongoing investigative
                                                  workstreams.
03/27/2023 Keila Mayberry                    1.20 Review regulatory correspondence and update the
                                                  regulatory correspondence tracker (.80);
                                                  correspondence to S&C team re: weekly regulatory
                                                  requests (.30); review CFTC charges against third
                                                  party exchange (.10).
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Date        Name                           Hours Description
03/28/2023 Stephanie Wheeler                 0.40 Correspondence to state law enforcement re:
                                                  customer data (.10); correspondence to K. Donnelly
                                                  re: providing customer data (.30).
03/28/2023 Kathleen McArthur                 0.10 Correspondence to S&C team re: FTX response to
                                                  state regulator.
03/28/2023 Bradley Harsch                    0.10 Correspondence to federal law enforcement re: results
                                                  of search.
03/28/2023 Keila Mayberry                    0.70 Review regulatory correspondence and update the
                                                  regulatory correspondence tracker (.40);
                                                  correspondence to V. Shahnazary re: law enforcement
                                                  subpoena tracker (.30).
03/29/2023 Stephanie Wheeler                 0.20 Correspondence to A. Kranzley and M. Wu re: state
                                                  regulatory filing update (.10); correspondence to B.
                                                  Harsch, S. Peikin and J. McDonald re: call with state
                                                  law enforcement (.10).
03/29/2023 Jennifer Sutton                   0.70 Address A. Kranzley questions re: licenses (.50);
                                                  address question re: state filings (.20).
03/29/2023 Keila Mayberry                    0.20 Review regulatory correspondence and update the
                                                  regulatory correspondence tracker.
03/30/2023 Stephanie Wheeler                 0.60 Call with state law enforcement and J. McDonald re:
                                                  inquiry update.
03/30/2023 James McDonald                    0.80 Call with state law enforcement and S. Wheeler re:
                                                  inquiry update (.60); review materials re: same (.20).
03/30/2023 Anthony Lewis                     0.10 Correspondence with S&C and Compliers teams re:
                                                  FINRA inquiry.
03/30/2023 Fabio Weinberg Crocco             0.10 Correspondence with J. Ray (FTX) re: letter to
                                                  regulators.
03/30/2023 Kathleen Donnelly                 0.10 Correspondence with S&C team re: FINRA
                                                  examination.

Total                                       77.90
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Date        Name                              Hours Description

03/01/2023 Christopher Howard                  0.30 Correspondence with internal team re: complaints.
03/01/2023 James Bromley                       0.30 Correspondence with B. Glueckstein and A.
                                                    Dietderich re: Bahamas issues.
03/02/2023 Andrew Dietderich                   0.20 Correspondence with J. Bromley re: update on
                                                    Bahamas issues.
03/03/2023 Nicholas Menillo                    0.20 Correspondence with B. Glueckstein re: Bahamas
                                                    issues.
03/04/2023 Garrard Beeney                      0.20 Correspondences with M. Ansari and D. Guzior re:
                                                    Bahamas issues.
03/04/2023 Mehdi Ansari                        0.40 Correspondence with D. Guzior re: Bahamas issues.
03/06/2023 Andrew Dietderich                   0.60 Correspondence with B. Pfeiffer (W&C) re: data
                                                    issues (.20); call with J. Ray (FTX) re: same (.20);
                                                    follow up emails re: same (.20).
03/06/2023 Brian Glueckstein                   0.30 Correspondence with N. Friedlander and follow up re:
                                                    Bahamas issues.
03/06/2023 Nicole Friedlander                  1.20 Review Maynard advice re: Bahamas issue (.40);
                                                    correspondence to A. Dietderich, J. Bromley and B.
                                                    Glueckstein re: same (.80).
03/06/2023 James Bromley                       0.70 Correspondence to A. Dietderich, N. Friedlander and
                                                    B. Glueckstein re: Bahamas issues (.30); review issues
                                                    re: demand letter and correspondence to S&C team
                                                    re: same (.40).
03/06/2023 Fabio Weinberg Crocco               0.50 Correspondence to Maynard team re: books and
                                                    records in the Bahamas (.20); draft summary reports
                                                    re: status of Bahamas proceedings and Chapter 15
                                                    case (.30).
03/06/2023 Emile Shehada                       1.50 Research cases for complaint.
03/07/2023 Andrew Dietderich                   2.70 Review materials re: Bahamas issue.
03/07/2023 James Bromley                       1.70 Review outline and other materials re: Bahamas
                                                    complaint (1.3); correspondence to S&C team re:
                                                    demand letter and review materials re: same (.40).
03/08/2023 Andrew Dietderich                   1.10 Correspondence with J. Bromley re: Bahamas relief
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                                                     and open issues (.70); correspondence with B.
                                                     Glueckstein re: same (.40).
03/08/2023 James Bromley                       0.20 Correspondence with J. Ray (FTX) re: Bahamas
                                                    issues.
03/08/2023 Colin Mark                          1.30 Research re: Bahamas matter.
03/09/2023 Brian Glueckstein                   0.70 Draft and review JPLs correspondence and related.
03/09/2023 Christopher Howard                  0.20 Research issues re: Bahamas admission.
03/09/2023 James Bromley                       1.80 Work on Bahamas complaint (.50); review materials
                                                    re: same (1.0); review JPL letter (.10);
                                                    correspondence with B. Glueckstein and A.
                                                    Dietderich re: same (.20).
03/09/2023 Anthony Lewis                       0.10 Correspondence with S&C team re: JPL
                                                    coordination.
03/09/2023 Fabio Weinberg Crocco               0.20 Correspondences with J. Petiford re: status of
                                                    Bahamas proceedings.
03/09/2023 Emile Shehada                       3.10 Review materials for complaint (1.6); revise outline for
                                                    complaint (1.5).
03/10/2023 Andrew Dietderich                   1.10 Correspondence with B. Glueckstein and J. Bromley
                                                    re: Bahamian letter received and next steps (.60); call
                                                    with committee counsel re: same (.20); work on draft
                                                    letter by B. Pfeiffer (W&C) re: same (.30).
03/10/2023 Brian Glueckstein                   3.50 Draft and revise letter to JPLs re: stay and litigation
                                                    (1.5); correspondences with A. Dietderich and J.
                                                    Bromley re: Bahamas strategy issues (2.0).
03/10/2023 James Bromley                       0.80 Correspondence with J. Ray (FTX) re: Bahamas
                                                    issues (.30); review and revise complaint (.50).
03/10/2023 Nicholas Menillo                    0.10 Call with F. Weinberg Crocco re: insurance matters
                                                    concerning JPLs.
03/10/2023 Sean Fulton                         1.00 Review draft of declaratory judgment complaint.
03/10/2023 Fabio Weinberg Crocco               2.30 Review letter to W&C re: dispute with JPLs (1.2);
                                                    review Cooperation Agreement (.50);
                                                    correspondences with A. Dietderich and C. Hodges
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Date        Name                          Hours Description

                                                 re: same (.50); call with N. Menillo re: insurance
                                                 matters concerning JPLs (.10).
03/10/2023 Colin Mark                      2.10 Research issues re: complaint.
03/10/2023 Emile Shehada                   8.40 Research issues re: complaint (5.9); review various
                                                founding documents for FTX corporate entities (1.4);
                                                draft summary of research findings re: complaint (1.1).
03/11/2023 Andrew Dietderich               1.60 Discussions with internal team re: litigation with the
                                                JPLs (.40); call with B. Glueckstein re: letter to JPLs
                                                (.20); draft letter to JPLs (.70); incorporate J. Ray
                                                (FTX), UCC and team comments re: same (.30).
03/11/2023 Brian Glueckstein               3.10 Correspondence with J. Bromley and A. Dietderich
                                                re: Bahamas strategy (.90); correspondence with
                                                S&C team re: Bahamas litigation issues (.30); review
                                                draft letter and follow-up re: strategy (.60); call with J.
                                                Bromley, S. Fulton, C. Mark and E. Shehada re:
                                                FTX’s response to JPLs’ letter of intent to file
                                                Bahamian application for directions (.30); follow-up
                                                re: same (.30); call with A. Dietderich re: letter to
                                                JPLs (.20); review and comment on draft letter to
                                                JPLs (.50).
03/11/2023 James Bromley                   0.30 Call with B. Glueckstein, S. Fulton, C. Mark and E.
                                                Shehada re: FTX’s response to JPLs’ letter of intent
                                                to file Bahamian application for directions.
03/11/2023 Sean Fulton                     0.60 Call with B. Glueckstein, J. Bromley, C. Mark and E.
                                                Shehada re: FTX’s response to JPLs’ letter of intent
                                                to file Bahamian application for directions (.30); call
                                                with C. Mark and E. Shehada re: FTX’s response to
                                                JPLs’ letter of intent to file Bahamian application for
                                                directions (.30).
03/11/2023 Christian Hodges                4.20 Revise letter to JPLs (3.1); correspondence with A.
                                                Dietderich and F. Weinberg Crocco re: letter (1.1).
03/11/2023 Colin Mark                      2.60 Call with B. Glueckstein, J. Bromley, S. Fulton and E.
                                                Shehada re: FTX’s response to JPLs’ letter of intent
                                                to file Bahamian application for directions (.20 - partial
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                                                  attendance); call with S. Fulton and E. Shehada re:
                                                  FTX’s response to JPLs’ letter of intent to file
                                                  Bahamian application for directions (.30);
                                                  correspondence with J. Bromley and E. Shehada re:
                                                  research relating to FTX’s response to JPLs’ letter of
                                                  intent to file Bahamian application for directions (.30);
                                                  draft complaint against JPLs of FTX DM (1.8).
03/11/2023 Emile Shehada                    4.40 Call with B. Glueckstein, J. Bromley, S. Fulton and C.
                                                 Mark re: FTX’s response to JPLs’ letter of intent to
                                                 file Bahamian application for directions (.30); call with
                                                 S. Fulton and C. Mark re: FTX’s response to JPLs’
                                                 letter of intent to file Bahamian application for
                                                 directions (.30); correspondence with J. Bromley and
                                                 C. Mark re: research relating to FTX’s response to
                                                 JPLs’ letter of intent to file Bahamian application for
                                                 directions (.30); draft substance of FTX's response re:
                                                 same (2.3); conduct additional research re: response
                                                 (1.2).
03/12/2023 Andrew Dietderich                0.90 Call with B. Pfeiffer (W&C) re: pleadings (.30);
                                                 review and comment on same (.60).
03/12/2023 Brian Glueckstein                0.90 Correspondence with A. Dietderich re: Bahamas
                                                 strategy issues (.30); review and consider
                                                 correspondence re: Bahamas issues (.40); review
                                                 correspondence re: Bahamas complaint (.20).
03/12/2023 Christopher Howard               0.50 Review correspondence re: intention to file an
                                                 application for directions in the Supreme Court of The
                                                 Bahamas.
03/12/2023 James Bromley                    1.00 Correspondence with E. Shehada, C. Mark and S.
                                                 Fulton re: Bahamas issues (.30); review and edit
                                                 materials re: same (.70).
03/12/2023 Sean Fulton                      3.40 Review draft of complaint.
03/12/2023 Emile Shehada                    7.90 Research, draft and revise complaint (7.9).
03/13/2023 Andrew Dietderich                0.60 Call with B. Pfeiffer (W&C) re: Bahamas update
                                                 (.30); review complaint (.30).
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03/13/2023 James Bromley                       1.60 Correspondence with A. Dietderich and B.
                                                    Glueckstein re: Bahamas issues (.40); correspondence
                                                    with J. Ray (FTX) re: same (.20); review materials re:
                                                    same (1.0).
03/13/2023 Sean Fulton                         3.20 Correspondence with Landis re: draft declaratory
                                                    judgment complaint (.20); review updated draft of
                                                    declaratory judgment complaint (3.0).
03/13/2023 Fabio Weinberg Crocco               2.00 Meeting with C. Hodges re: status and open items
                                                    (.30); call with B. Pfeiffer (W&C), N. Menillo and C.
                                                    Hodges re: insurance arrangements concerning FTX
                                                    DM (.40); review filing re: property issues (1.0);
                                                    review letter from JPLs (.30).
03/13/2023 Christian Hodges                    1.00 Call with B. Pfeiffer (W&C), N. Menillo and F.
                                                    Weinberg Crocco re: insurance arrangements
                                                    concerning FTX DM (.40); meeting with F. Weinberg
                                                    Crocco re: status and open items (.30); review
                                                    correspondence from W&C (.30).
03/13/2023 Nam Luu                             1.70 Work on complaint (1.5); correspondence with S&C
                                                    team re: same (.20).
03/13/2023 Colin Mark                          0.40 Review and revise draft complaint.
03/13/2023 Emile Shehada                       4.40 Review and revise complaint.
03/14/2023 Andrew Dietderich                   1.20 Review complaint (.60); correspondence with F.
                                                    Weinberg Crocco re: Bahamas issues (.40); meeting
                                                    with J. Bromley re: same (.20).
03/14/2023 Christopher Howard                  0.80 Review W&C letter (.30); analyze Bahamian
                                                    admission process (.30); correspondence to Maynard
                                                    re: same (.20).
03/14/2023 James Bromley                       0.60 Review A. Dietderich edits to complaint (.20);
                                                    correspondence with internal team re: same (.20);
                                                    meeting with A. Dietderich re: Bahamas issues (.20).
03/14/2023 Sean Fulton                         1.60 Review revised draft of declaratory (1.4); call with C.
                                                    Mark and E. Shehada re: FTX’s response to JPLs’
                                                    letter of intent to file Bahamian application for
                                                    directions (.20).
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03/14/2023 Fabio Weinberg Crocco               4.10 Review complaint (1.6); analyze procedural issues
                                                    (1.4); call with K. Brown (Landis) and M. McGuire
                                                    (Landis) re: same (.40); correspondence to S&C team
                                                    re: same (.50); meeting with C. Hodges re: status of
                                                    adversary proceeding and open matters (.20).
03/14/2023 M. Devin Hisarli                    0.40 Meeting with C. Hodges re: background and status of
                                                    Bahamas matters.
03/14/2023 Christian Hodges                    0.60 Meeting with F. Weinberg Crocco re: status of
                                                    adversary proceeding and open matters (.20); meeting
                                                    with D. Hisarli re: background and status of Bahamas
                                                    matters (.40).
03/14/2023 Colin Mark                          0.20 Call with S. Fulton and E. Shehada re: FTX’s
                                                    response to JPLs’ letter of intent to file Bahamian
                                                    application for directions.
03/14/2023 Emile Shehada                       7.30 Call with S. Fulton and C. Mark re: FTX’s response
                                                    to JPLs’ letter of intent to file Bahamian application for
                                                    directions (.20); research for complaint (4.5); research
                                                    re: cross-border insolvency matters (2.6).
03/15/2023 Andrew Dietderich                   2.90 Call with B. Glueckstein, F. Weinberg Crocco, C.
                                                    Hodges, D. Hisarli, J. Ray (FTX), JPLs and W&C
                                                    team re: Bahamas matters (1.3); follow up call with A.
                                                    Dietderich, B. Glueckstein, F. Weinberg Crocco, C.
                                                    Hodges, D. Hisarli, and J. Ray (FTX) re: same (.20);
                                                    call with B. Glueckstein and J. Ray (FTX) re:
                                                    Bahamas strategy (.20); correspondence with J.
                                                    Bromley and B. Glueckstein re: Bahamas litigation
                                                    issues (.30); draft notes for complaint (.60); draft
                                                    communication materials (.30).
03/15/2023 Brian Glueckstein                   2.40 Call with A. Dietderich, F. Weinberg Crocco, C.
                                                    Hodges, D. Hisarli, J. Ray (FTX), JPLs and W&C
                                                    team re: Bahamas matters (1.3); follow up call with A.
                                                    Dietderich, F. Weinberg Crocco, C. Hodges, D.
                                                    Hisarli and J. Ray (FTX) re: same (.20); call with A.
                                                    Dietderich and J. Ray (FTX) re: Bahamas strategy
                                                    (.20); correspondence with J. Bromley and A.
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                                                     Dietderich re: Bahamas litigation issues (.30); review
                                                     correspondence and documents re: Bahamas litigation
                                                     issues (.40).
03/15/2023 Sean Fulton                         2.00 Review updated draft of complaint.
03/15/2023 Fabio Weinberg Crocco               2.90 Call with A. Dietderich, B. Glueckstein, C. Hodges,
                                                    D. Hisarli, J. Ray (FTX), JPLs and W&C team re:
                                                    Bahamas matters (1.3); follow up call with A.
                                                    Dietderich, B. Glueckstein, C. Hodges, D. Hisarli and
                                                    J. Ray (FTX) re: same (.20); call with C. Jupp
                                                    (Maynard) and C. Hodges re: status update and
                                                    Bahamas insolvency process (.30); correspondence to
                                                    S&C team re: same (.60); review court filing (.50).
03/15/2023 M. Devin Hisarli                    1.50 Call with A. Dietderich, B. Glueckstein, F. Weinberg
                                                    Crocco, C. Hodges, J. Ray (FTX), JPLs and W&C
                                                    team re: Bahamas matters (1.3); follow up call with A.
                                                    Dietderich, B. Glueckstein, F. Weinberg Crocco, C.
                                                    Hodges and J. Ray (FTX) re: same (.20).
03/15/2023 Christian Hodges                    3.60 Call with A. Dietderich, B. Glueckstein, F. Weinberg
                                                    Crocco, D. Hisarli, J. Ray (FTX), JPLs and W&C
                                                    team re: Bahamas matters (1.3); follow up call with A.
                                                    Dietderich, B. Glueckstein, F. Weinberg Crocco, D.
                                                    Hisarli and J. Ray (FTX) re: same (.20); call with C.
                                                    Jupp (Maynard) and F. Weinberg Crocco re: status
                                                    update and Bahamas insolvency process (.30);
                                                    summarize notes from JPL meeting (.20); research
                                                    JPL court approval and compensation (.60); review
                                                    complaint and terms of service (1.0).
03/15/2023 Esther Loh                          0.30 Review research re: conflicts (.10); review Sam
                                                    Bankman-Fried Motion for Relief from Stay for
                                                    Reimbursement of Legal Fees (.20).
03/15/2023 Emile Shehada                       3.10 Research for complaint.
03/16/2023 Andrew Dietderich                   1.10 Meeting with F. Weinberg Crocco and C. Hodges re:
                                                    Bahamas KC process and update (.30); call with E.
                                                    Shehada re: edits to FTX’s response to JPLs’ ex
                                                    parte summons (.10); revise JPLs complaint (.70).
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Date        Name                              Hours Description

03/16/2023 Brian Glueckstein                   3.20 Draft and revise Bahamas JPLs complaint (2.4);
                                                    correspondence with A. Dietderich re: Bahamas JPLs
                                                    complaint (.40); review correspondences and filings
                                                    re: Bahamas (.40).
03/16/2023 Christopher Howard                  1.40 Discussions with Bahamian counsel re: process (.50);
                                                    review Ex-Parte Summons and the Fourth Affidavit of
                                                    B. Simms KC and exhibits (.90).
03/16/2023 Sean Fulton                         4.00 Call with C. Mark and E. Shehada re: edits to FTX’s
                                                    response to JPLs’ letter of intent to file Bahamian
                                                    application for directions (.30); correspondence to J.
                                                    Bromley and team re: comments to declaratory
                                                    judgment action (.50); further revise draft of
                                                    declaratory judgment complaint (3.2).
03/16/2023 Fabio Weinberg Crocco               1.90 Meetings with C. Hodges re: status of Bahamas
                                                    workstreams (.40); meeting with A. Dietderich and C.
                                                    Hodges re: Bahamas KC process and update (.30);
                                                    meeting with Maynard team and C. Hodges re: same
                                                    (.50); review summons and affidavit filed by JPLs with
                                                    the Bahamas Supreme Court (.70).
03/16/2023 Christian Hodges                    1.70 Meeting with A. Dietderich and F. Weinberg Crocco
                                                    re: Bahamas KC process and update (.30); meetings
                                                    with F. Weinberg Crocco re: status of Bahamas
                                                    workstreams (.40); meeting with Maynard team and
                                                    F. Weinberg Crocco re: Bahamas KC status and
                                                    updates (.50); review Bahamas JPL filing (.50).
03/16/2023 Colin Mark                          0.30 Call with S. Fulton and E. Shehada re: edits to FTX’s
                                                    response to JPLs’ letter of intent to file Bahamian
                                                    application for directions.
03/16/2023 Emile Shehada                       7.50 Call with S. Fulton and C. Mark re: edits to FTX’s
                                                    response to JPLs’ letter of intent to file Bahamian
                                                    application for directions (.30); call with A. Dietderich
                                                    re: edits to FTX’s response to JPLs’ ex parte
                                                    summons (.10); research re: FTX's complaint for
                                                    declaratory judgment and other remedies against FTX
                                                    DM (7.1).
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                                   Project: 00040 - BAHAMAS MATTERS

Date        Name                              Hours Description
03/17/2023 Andrew Dietderich                   0.30 Draft final notes on JPLs complaint.
03/17/2023 Brian Glueckstein                   2.50 Review and comment on draft Bahamas complaint
                                                    (1.8); follow-up correspondence with S&C team re:
                                                    Bahamas complaint issues (.70).
03/17/2023 Sean Fulton                         1.70 Further revise draft declaratory judgment complaint
                                                    (1.2); call with J. Maynard (Maynard), C. Jupp
                                                    (Maynard), F. Weinberg Crocco, C. Hodges and D.
                                                    Hisarli re: King’s Counsel application (.50).
03/17/2023 Fabio Weinberg Crocco               1.20 Call with C. Hodges re: KC appointment process
                                                    (.40); call with C. Hodges and D. Hisarli re: Bahamas
                                                    coverage (.30); call with J. Maynard (Maynard), C.
                                                    Jupp (Maynard), S. Fulton, C. Hodges and D. Hisarli
                                                    re: King’s Counsel application (.50).
03/17/2023 M. Devin Hisarli                    1.00 Call with J. Maynard (Maynard), C. Jupp (Maynard),
                                                    S. Fulton, F. Weinberg Crocco and C. Hodges re:
                                                    King’s Counsel application (.50); call with F.
                                                    Weinberg Crocco and C. Hodges re: Bahamas
                                                    coverage (.30); review Bahamian court filings
                                                    submitted by FTX DM (.20).
03/17/2023 Christian Hodges                    2.20 Call with F. Weinberg Crocco re: KC appointment
                                                    process (.40); call with J. Maynard (Maynard), C.
                                                    Jupp (Maynard), S. Fulton, D. Hisarli and F.
                                                    Weinberg Crocco re: King’s Counsel application
                                                    (.50); call with F. Weinberg Crocco and D. Hisarli re:
                                                    Bahamas coverage (.30); review draft JPL affidavit for
                                                    property of estate litigation (1.0).
03/17/2023 Emile Shehada                       3.30 Revise FTX's complaint for declaratory judgment and
                                                    other remedies against FTX DM.
03/18/2023 Andrew Dietderich                   2.50 Comment on complaint (.70); email correspondence
                                                    with J. Bromley re: same (.30); call with B.
                                                    Glueckstein re: Bahamas and related issues (.20);
                                                    review and comment on complaint draft riders (1.3).
03/18/2023 Brian Glueckstein                   1.80 Review and comment on draft Bahamas complaint
                                                    (.80); call with A. Dietderich re: Bahamas and related
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                                   Project: 00040 - BAHAMAS MATTERS

Date        Name                              Hours Description

                                                     issues (.20); correspondence with S&C team re:
                                                     complaint issues and follow-up strategy (.80).
03/18/2023 Mehdi Ansari                        2.00 Call with E. Shehada re: FTX DM (.30); review draft
                                                    complaint (1.1); correspondence with S&C team re:
                                                    draft complaint (.60).
03/18/2023 Nicole Friedlander                  1.30 Comment on draft declaratory judgment motion re:
                                                    Bahamas (1.1); correspondence to E. Shehada re:
                                                    same (.20).
03/18/2023 James Bromley                       2.00 Review and revise complaint (1.5); correspondence
                                                    with S&C team re: same (.50).
03/18/2023 Fabio Weinberg Crocco               0.40 Correspondences with Maynard team and S&C team
                                                    re: KC admission.
03/18/2023 Jason Gallant                       0.20 Correspondence to S&C team re: Bahamas matters.
03/18/2023 Emile Shehada                       5.70 Review and revise FTX's complaint for declaratory
                                                    judgment and other remedies against FTX DM (5.4);
                                                    call with M. Ansari re: FTX DM (.30).
03/19/2023 Stephanie Wheeler                   0.20 Correspondence with B. Glueckstein and N.
                                                    Friedlander re: JPL request for correspondence and
                                                    relevant third party.
03/19/2023 Andrew Dietderich                   1.10 Review correspondence from JPLs re: information
                                                    sharing (.20); call with B. Glueckstein re: Bahamas
                                                    strategy and complaint issue (.20); correspondence
                                                    with S&C team and J. Ray (FTX) re: response letter
                                                    (.30); call with B. Pfieffer (W&C) re: same (.20);
                                                    comments on adversary proceeding (.20).
03/19/2023 Brian Glueckstein                   4.50 Call with A. Dietderich re: Bahamas strategy and
                                                    complaint issues (.20); call with K. Pasquale (Paul
                                                    Hastings), I. Sasson (Paul Hastings), J. Bromley, E.
                                                    Shehada and S. Fulton re: Bahamas complaint (.30);
                                                    follow-up correspondence with internal team re:
                                                    complaint comments (.20); review and comment on
                                                    complaint (2.3); review correspondence (.30); draft
                                                    letter to JPLs (1.2).
03/19/2023 Nicole Friedlander                  0.70 Correspondences with K. Ramanathan (A&M), H.
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Date        Name                              Hours Description

                                                     Nachmias (Sygnia) and B. Glueckstein re: JPL
                                                     question.
03/19/2023 James Bromley                       3.00 Review and revise complaint (2.5); call with K.
                                                    Pasquale (Paul Hastings), I. Sasson (Paul Hastings),
                                                    B. Glueckstein, E. Shehada and S. Fulton re: Bahamas
                                                    complaint (.30); follow-up correspondence with
                                                    internal team re: same (.20).
03/19/2023 Anthony Lewis                       0.10 Correspondence with S&C and A&M teams re: JPL
                                                    discussions.
03/19/2023 Sean Fulton                        11.40 Revise draft of declaratory judgment complaint (8.1);
                                                    call with K. Pasquale (Paul Hastings), I. Sasson (Paul
                                                    Hastings), B. Glueckstein, J. Bromley and E. Shehada
                                                    re: Bahamas complaint (.30); finalize draft of
                                                    declaratory judgment complaint for filing (3.0).
03/19/2023 Fabio Weinberg Crocco               0.40 Correspondences to Maynard team re: KC admission.
03/19/2023 Emile Shehada                       4.40 Revise and proofread FTX's complaint (4.1); call with
                                                    K. Pasquale (Paul Hastings), I. Sasson (Paul
                                                    Hastings), B. Glueckstein, J. Bromley and S. Fulton
                                                    re: Bahamas complaint (.30).
03/20/2023 Andrew Dietderich                   0.50 Review and comment on letter to B. Pfeiffer (W&C)
                                                    re: process (.30); correspondence with B. Pfeiffer
                                                    (W&C) re: process (.20).
03/20/2023 Brian Glueckstein                   4.10 Draft and revise letter to JPLs (2.8); correspondence
                                                    with J. Bromley re: Bahamas strategy issues (.30);
                                                    correspondence with J. Bromley and A. Dietderich re:
                                                    Bahamas issues (.40); review and consider Bahamas
                                                    hearing reports (.20); follow-up correspondence with
                                                    internal team re: complaint and strategy matters (.40).
03/20/2023 Christopher Howard                  1.70 Attend Bahamas court hearing (.70 - partial
                                                    attendance); review and edit Affidavit of Tamika
                                                    Pinder in Support of Bar Council Application (.50);
                                                    review complaint (.50).
03/20/2023 Nicole Friedlander                  0.80 Correspondence to B. Glueckstein re: JPL question
                                                    (.40); comment on letter to JPLs (.40).
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Date        Name                              Hours Description
03/20/2023 Dustin Guzior                       2.50 Review complaint (2.2); correspondence with M.
                                                    Ansari re: same (.30).
03/20/2023 Sean Fulton                         2.20 Attend Bahamian court hearing re: FTX DM (.90);
                                                    review Bar Council Application for D. Allison (South
                                                    Square) (.50); correspondence with N. Luu and I.
                                                    Foote re: litigation related to FTX DM (.30); call with
                                                    I. Foote, N. Luu and E. Shehada re: FTX’s responses
                                                    to anticipated filings from JPLs (.50).
03/20/2023 Fabio Weinberg Crocco               3.10 Call with J. Maynard (Maynard) re: Bahamas
                                                    proceeding (.30); attend hearing with the Supreme
                                                    Court of The Bahamas (.50 - partial attendance);
                                                    review documents re: KC application (1.5); review
                                                    report re: Bahamas hearing (.40); correspondences
                                                    with J. Maynard (Maynard) and S&C team re:
                                                    Bahamas hearing (.40).
03/20/2023 Isaac Foote                         1.40 Call with S. Fulton, N. Luu and E. Shehada re: FTX’s
                                                    responses to anticipated filings from JPLs (.50);
                                                    follow-up call with N. Luu re: draft motion in response
                                                    to JPLs’ filings (.10); review adversary complaint
                                                    against JPLs (.30); review shell prepared by N. Luu
                                                    re: anticipated JPL response to adversary proceeding
                                                    (.50).
03/20/2023 M. Devin Hisarli                    0.50 Monitor Bahamian court hearing (partial attendance).
03/20/2023 Nam Luu                             2.10 Call with S. Fulton, I. Foote and E. Shehada re:
                                                    FTX’s responses to anticipated filings from JPLs
                                                    (.50); follow-up call with I. Foote re: draft motion in
                                                    response to JPLs’ filings (.10); review background
                                                    materials to FTX DM and JPLs litigation (.60); draft
                                                    shell response to JPLs' motion to lift automatic stay
                                                    (.80); correspondence with I. Foote re: same (.10).
03/20/2023 Emile Shehada                       0.50 Call with S. Fulton, I. Foote and N. Luu re: FTX’s
                                                    responses to anticipated filings from JPLs.
03/21/2023 Christopher Howard                  0.50 Finalize affidavit (.30); correspondence with Maynard
                                                    and F. Weinberg Crocco re: same (.20).
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Date        Name                              Hours Description
03/21/2023 Fabio Weinberg Crocco               0.60 Correspondences with J. Maynard (Maynard) re: KC
                                                    application (.20); review KC application (.40).
03/21/2023 Nam Luu                             0.80 Work on draft objection to JPLs' motion to lift
                                                    automatic stay.
03/22/2023 Christopher Howard                  0.50 Correspondence with Maynard and F. Weinberg
                                                    Crocco re: KC appointment.
03/22/2023 James Bromley                       0.60 Correspondence with A. Dietderich and J. Ray (FTX)
                                                    re: Bahamas issues (.30); call with J. Ray (FTX) re:
                                                    same (.30).
03/22/2023 Fabio Weinberg Crocco               2.00 Draft declaration re: Bahamas matters.
03/22/2023 Isaac Foote                         1.30 Draft preliminary statement of shell objection to JPL
                                                    motion to lift automatic stay.
03/22/2023 Nam Luu                             1.40 Work on objection to JPLs' motion to lift the
                                                    automatic stay (1.3); correspondence with I. Foote re:
                                                    same (.10).
03/22/2023 Emile Shehada                       1.20 Review arguments against JPLs' application to lift
                                                    automatic stay.
03/23/2023 Fabio Weinberg Crocco               3.20 Draft declaration to support litigation against JPL
                                                    (3.0); correspondence with J. Maynard (Maynard) re:
                                                    same (.20).
03/23/2023 Nam Luu                             0.20 Correspondence with S&C team re: draft objection to
                                                    the JPLs' lift-stay motion.
03/24/2023 Christopher Howard                  0.60 Correspondence with internal team re: Bahamian
                                                    process and request for Bahamas application (.20);
                                                    review draft declaration on Bahamian process (.40).
03/24/2023 James Bromley                       1.20 Call with J. Ray (FTX) re: Bahamas strategy (.50);
                                                    correspondence with internal team re: admission of D.
                                                    Allison (South Square) as KC in Bahamas (.30);
                                                    review materials re: same (.40).
03/24/2023 Fabio Weinberg Crocco               1.90 Draft memo re: matters concerning Bahamas litigation
                                                    (1.7); correspondence to Maynard team re: matters
                                                    concerning the Bahamas (.20).
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Date        Name                              Hours Description
03/25/2023 James Bromley                       0.80 Review materials re: Bahamas issues.
03/26/2023 Christian Hodges                    0.30 Review emails re: Bahamas issues.
03/27/2023 Christopher Howard                  1.00 Revise declaration on Bahamas matters (.40); review
                                                    admission rules (.30); process reference for D. Allison
                                                    (South Square) for Bahamian court (.30).
03/27/2023 Fabio Weinberg Crocco               1.10 Review court filing re: complaint against JPLs (.40);
                                                    correspondence with C. Hodges re: same (.20);
                                                    correspondence to R. Bell (Walkers) re: same (.20);
                                                    meeting with C. Hodges re: updates on Bahamas
                                                    matters (.30).
03/27/2023 M. Devin Hisarli                    0.30 Call with C. Hodges re: Bahamas updates.
03/27/2023 Christian Hodges                    1.80 Meeting with F. Weinberg Crocco re: updates on
                                                    Bahamas matters (.30); call with D. Hisarli re:
                                                    Bahamas updates (.30); correspondence with C.
                                                    Howard re: declaration open matters (.20); revise
                                                    declaration based on feedback from C. Howard and
                                                    F. Weinberg Crocco (1.0).
03/28/2023 Andrew Dietderich                   0.30 Draft notes re: Bahamian litigation.
03/28/2023 Brian Glueckstein                   1.90 Call with J. Ray (FTX) and potential experts re:
                                                    Bahamas strategy (.90); correspondence with A.
                                                    Dietderich and J. Bromley re: Bahamas strategy issues
                                                    and follow-up (1.0).
03/28/2023 Christian Hodges                    0.80 Correspondence with F. Weinberg Crocco and J.
                                                    Bromley re: updates and status of Bahamas
                                                    declaration.
03/29/2023 Andrew Dietderich                   0.20 Meeting with D. Nardello (Nardello) re: open items.
03/29/2023 James Bromley                       1.40 Meeting with F. Weinberg Crocco and C. Hodges re:
                                                    Bahamas declaration (.60); correspondence with C.
                                                    Hodges and F. Weinberg Crocco re: Bahamas
                                                    declaration (.40); review same (.40).
03/29/2023 Fabio Weinberg Crocco               2.50 Meeting with C. Hodges re: Bahamas declaration and
                                                    KC admission status (.90); meeting with J. Bromley
                                                    and C. Hodges re: Bahamas declaration (.60);
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Date        Name                          Hours Description

                                                 correspondence to Maynard team re: application
                                                 process (1.0).
03/29/2023 Christian Hodges                9.30 Meeting with F. Weinberg Crocco re: Bahamas
                                                declaration and KC admission status (.90); meeting
                                                with J. Bromley and F. Weinberg Crocco re: Bahamas
                                                declaration (.60); revise declaration per feedback
                                                from J. Bromley and F. Weinberg Crocco (.40);
                                                research for declarations (4.3); emails to Maynard
                                                (1.4); research re: Bahamas matters (1.7).
03/30/2023 Andrew Dietderich               1.70 Review recent pleadings (.70); call with B.
                                                Glueckstein, J. Bromley, S. Fulton, I. Foote, N. Luu
                                                and E. Shehada re: FTX’s response to JPLs’ motion
                                                to lift stay (1.0 - partial attendance).
03/30/2023 Brian Glueckstein               5.80 Call with A. Dietderich, J. Bromley, S. Fulton, I.
                                                Foote, N. Luu and E. Shehada re: FTX’s response to
                                                JPLs’ motion to lift stay (1.1); correspondence with
                                                A. Dietderich re: Bahamas response issues (.50);
                                                review and analyze JPLs stay relief motion and
                                                consider response (2.2); call with K. Pasquale (Paul
                                                Hastings) and I. Sasson (Paul Hastings) re: JPLs
                                                motion and response (.70); correspondence with JPL
                                                counsel re: scheduling and follow-up (.50); review and
                                                consider JPLs letter and follow-up (.80).
03/30/2023 James Bromley                   2.40 Call with A. Dietderich, B. Glueckstein, S. Fulton, I.
                                                Foote, N. Luu and E. Shehada re: FTX’s response to
                                                JPLs’ motion to lift stay (1.0 - partial attendance);
                                                review JPL motion to lift stay and supporting
                                                declarations (1.2); correspondence with Maynard and
                                                F. Weinberg Crocco re: KC admission (.20).
03/30/2023 Sean Fulton                     4.90 Review JPL's motion for relief from the stay and
                                                related papers (3.5); call with A. Dietderich, B.
                                                Glueckstein, J. Bromley, I. Foote, N. Luu and E.
                                                Shehada re: FTX’s response to JPLs’ motion to lift
                                                stay (1.1); call with I. Foote, N. Luu and E. Shehada
                                                re: same (.30).
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Date        Name                              Hours Description
03/30/2023 Fabio Weinberg Crocco               0.90 Correspondences with Maynard re: admission
                                                    application (.50); meetings with C. Hodges re: status
                                                    of Bahamas research questions (.40).
03/30/2023 Isaac Foote                         5.20 Review automatic stay motion filed by JPLs on March
                                                    29, 2023 and associated filings (1.0); call with A.
                                                    Dietderich, B. Glueckstein, J. Bromley, S. Fulton, N.
                                                    Luu and E. Shehada re: FTX’s response to JPLs’
                                                    motion to lift stay (1.1); call with S. Fulton, N. Luu
                                                    and E. Shehada re: same (.30); draft assigned section
                                                    of objection to automatic stay motion filed by JPLs
                                                    (2.8).
03/30/2023 Christian Hodges                    2.30 Meetings with F. Weinberg Crocco re: status of
                                                    Bahamas research questions (.40); correspondence
                                                    with S&C team re: Bahamas matters (.40); review
                                                    court filings (1.3); correspondence with A. Dietderich
                                                    and F. Weinberg Crocco re: Bahamas matters (.20).
03/30/2023 Nam Luu                             6.20 Call with A. Dietderich, B. Glueckstein, J. Bromley, S.
                                                    Fulton, I. Foote and E. Shehada re: FTX’s response
                                                    to JPLs’ motion to lift stay (1.1); call with S. Fulton, I.
                                                    Foote and E. Shehada re: same (.30); review JPLs'
                                                    lift-stay motion (1.0); draft portion of motion opposing
                                                    JPLs' lift-stay motion (3.8).
03/30/2023 Emile Shehada                       2.50 Call with A. Dietderich, B. Glueckstein, J. Bromley, S.
                                                    Fulton, I. Foote and N. Luu re: FTX’s response to
                                                    JPLs’ motion to lift stay (1.1); call with S. Fulton, I.
                                                    Foote and N. Luu re: same (.30); research case law
                                                    re: stay relief (1.1).
03/30/2023 Sophia Chen                         2.40 Assemble JPL automatic stay documents for review
                                                    per C. Hodges.
03/31/2023 Stephanie Wheeler                   0.20 Correspondence with J. Ray (FTX) re: Bahamas real
                                                    estate summaries.
03/31/2023 Andrew Dietderich                   1.20 Review pleadings (.30); correspondence with B.
                                                    Glueckstein and J. Bromley re: next steps (.40);
                                                    meeting with B. Glueckstein re: Bahamas response
                                                    and strategy issues (.50).
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Date        Name                              Hours Description

03/31/2023 Brian Glueckstein                   5.30 Correspondence with A. Dietderich and J. Bromley
                                                    re: Bahamas response and strategy issues (1.1);
                                                    meeting with A. Dietderich re: same (.50); call with C.
                                                    Shore (W&C) and JPL counsel re: Bahamas
                                                    scheduling and litigation matters and follow-up (.50);
                                                    review and analyze JPLs letter (1.3); review and
                                                    comment on stay relief motion re: strategy (1.3);
                                                    develop response to Bahamas JPLs issues (.60).
03/31/2023 Christopher Howard                  0.70 Correspondence with F. Weinberg Crocco and J.
                                                    Gallant re: declaration (.40); email correspondence to
                                                    S&C NY office re: novation (.30).
03/31/2023 Fabio Weinberg Crocco               0.60 Call with C. Hodges re: status of research relating to
                                                    Bahamas matters (.50); email correspondences to
                                                    Maynard team re: status of Bahamas workstream
                                                    (.10).
03/31/2023 Isaac Foote                         2.60 Draft assigned section of objection to automatic stay
                                                    motion filed by JPLs.
03/31/2023 Christian Hodges                    3.50 Call with F. Weinberg Crocco re: status of research
                                                    relating to Bahamas matters (.50); research court
                                                    filings re: Bahamas matters (2.3); review re: same
                                                    (.70).
03/31/2023 Nam Luu                             3.00 Draft objection to JPLs' motion to lift automatic stay.

Total                                        304.10
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                                Project: 00041 - FOREIGN DEBTOR MATTERS

Date         Name                             Hours Description

03/01/2023 Andrew Dietderich                    1.50 Call with J. Bromley, B. Glueckstein, C. Howard, L.
                                                     Su and H. Middleditch re: property memo.
03/01/2023 Brian Glueckstein                    1.50 Call with A. Dietderich, J. Bromley, C. Howard, L.
                                                     Su and H. Middleditch re: property memo.
03/01/2023 Christopher Howard                   0.70 Review H. Middleditch email re: proprietary claims.
03/01/2023 James Bromley                        1.50 Call with A. Dietderich, B. Glueckstein, C. Howard,
                                                     L. Su and H. Middleditch re: property memo.
03/01/2023 Oderisio de Vito Piscicelli          1.20 Call with T. Hill, M. Haase, F. Wünsche and A&M
                                                     re: process update (.20); correspondence with internal
                                                     team re: Cyprus matters (.10); correspondence with
                                                     internal team re: letter to third party claimant (.30);
                                                     review material from FTX Europe management re:
                                                     future options, terms of service and other matters
                                                     (.30); review additional terms of service (.30).
03/01/2023 Alexa Kranzley                       0.70 Work on issues re: foreign debtors and strategic
                                                     alternatives (.40); correspondences with internal team
                                                     re: same (.30).
03/01/2023 Lester Su                            3.50 Research re: remedies (2.0); call with A. Dietderich, J.
                                                     Bromley, B. Glueckstein, C. Howard and H.
                                                     Middleditch re: property memo (1.5).
03/01/2023 Nirav Mehta                          0.20 Correspondence to N. Nussbaum and R. Mekala
                                                     (PWP) re: FTX Japan.
03/01/2023 Tyler Hill                           0.20 Call with O. de Vito Piscicelli, M. Haase, F. Wünsche
                                                     and A&M re: process update.
03/01/2023 James Simpson                        1.60 Correspondence with S&C team re: status of cases of
                                                     certain non-US debtors (.60); finalize NDA with
                                                     Australian administrators (.60); correspondence to J.
                                                     Ray (FTX) re: NDA (.40).
03/01/2023 Michael Haase                        0.20 Call with O. de Vito Piscicelli, T. Hill, F. Wünsche
                                                     and A&M re: process update.
03/01/2023 Hattie Middleditch                   1.80 Call with A. Dietderich, J. Bromley, B. Glueckstein,
                                                     C. Howard and L. Su re: property memo (1.5);
                                                     correspondence with C. Howard re: same (.10);
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                                                      correspondence to L. Su and C. Howard re: remedies
                                                      (.10); correspondence with L. Su re: English law
                                                      remedies (.10).
03/01/2023 Fabio Weinberg Crocco                1.80 Call with A. Titus (A&M), S. Glustein (A&M),
                                                     current LedgerPrime personnel and B. Zonenshayn re:
                                                     Cayman debtor matters (.50); correspondence with
                                                     A. Kranzley and B. Zonenshayn re: issues with respect
                                                     to Cayman debtor (.20); correspondences with S&C
                                                     team re: same (.60); correspondence to current
                                                     LedgerPrime personnel re: same (.20);
                                                     correspondences with S&C team re: Japanese
                                                     customer withdrawals (.30).
03/01/2023 Frederic Wünsche                     0.20 Call with O. de Vito Piscicelli, T. Hill, M. Haase and
                                                     A&M team re: process update.
03/01/2023 Benjamin Zonenshayn                  0.50 Call with A. Titus (A&M), S. Glustein (A&M),
                                                     current LedgerPrime personnel and F. Weinberg
                                                     Crocco re: Cayman debtor matters.
03/02/2023 Craig Jones                          2.00 Call with O. de Vito Piscicelli, A&M and FTX
                                                     Europe re: return of customer funds and related
                                                     matters.
03/02/2023 Keiji Hatano                         0.30 Correspondence with internal team re: license to FTX
                                                     Japan.
03/02/2023 Christopher Howard                   1.20 Correspondences with D. Allison (South Square), L.
                                                     Su and H. Middleditch re: English law memo.
03/02/2023 Oderisio de Vito Piscicelli          4.60 Call with C. Jones, A&M and FTX Europe re: return
                                                     of customer funds and related matters (2.0); call with
                                                     T. Hill, FTX Europe management and Swiss counsel
                                                     re: claims (.50); call with T. Hill re: open workstreams
                                                     (.10); draft note re: status of European workstreams
                                                     (.30); read background material re: dispute (.40);
                                                     prepare summary note re: same (.30); correspondence
                                                     with A&M re: the scheduling of a third party claim
                                                     (.30); prepare for several conference calls (.40); call
                                                     with S&C and A&M teams re: AML review (.30).
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Date        Name                              Hours Description
03/02/2023 Alexa Kranzley                      0.10 Follow up re: strategic alternatives and related issues.
03/02/2023 Nirav Mehta                         0.30 Correspondence to A. Dietderich, A. Cohen, M.
                                                    Ansari, K. Hatano, K. Lim, E. Levin and S. Xiang re:
                                                    FTX Japan license of FTX technology.
03/02/2023 Tyler Hill                          0.60 Call with O. de Vito Piscicelli, FTX Europe
                                                    management and Swiss counsel re: claims (.50); call
                                                    with O. de Vito Piscicelli re: open workstreams (.10).
03/02/2023 James Simpson                       1.20 Review and comment on Indian director agreement
                                                    (.60); review and comment on email to Vietnamese
                                                    counsel (.40); review insider list (.20).
03/02/2023 Hattie Middleditch                  1.20 Correspondences with D. Allison (South Square), L.
                                                    Su and C. Howard re: English law memo (1.0);
                                                    correspondence to A. Dietderich, B. Glueckstein and
                                                    C. Howard re: remedies (.20).
03/02/2023 Fabio Weinberg Crocco               1.80 Call with B. Zonenshayn re: issues with respect to
                                                    Cayman debtor (.40); review underlying documents
                                                    re: Cayman debtor (.80); correspondence with S&C
                                                    team re: matter concerning Cayman debtor (.40);
                                                    correspondences with S&C Tokyo team re: customer
                                                    withdrawals (.20).
03/02/2023 Grier Barnes                        0.10 Review for any inconsistencies in global notes.
03/02/2023 Benjamin Zonenshayn                 3.40 Review materials re: matter concerning Cayman
                                                    debtor (2.5); correspondence with A. Kranzley re:
                                                    same (.50); call with F. Weinberg Crocco re: issues
                                                    with respect to Cayman debtor (.40).
03/03/2023 Craig Jones                         0.60 Call with O. de Vito Piscicelli, T. Hill and A&M re:
                                                    FTX Europe AML and KYC process (.50);
                                                    follow-up correspondence with call participants re:
                                                    contract between FTX Cyprus and relevant third party
                                                    (.10).
03/03/2023 Max Birke                           0.40 Call with O. de Vito Piscicelli, T. Hill, M. Haase and
                                                    A&M re: process update.
03/03/2023 Keiji Hatano                        0.90 Correspondence with internal team re: customer
                                                    withdrawals from FTX Japan (.50); review responses
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                                                      to Bloomberg (.40).
03/03/2023 Christopher Howard                   0.50 Call with L. Su re: English law matter (.30); review
                                                     response to A. Dietderich (.20).
03/03/2023 Evan Simpson                         0.50 Draft correspondence for foreign bank account
                                                     matters.
03/03/2023 Oderisio de Vito Piscicelli          4.50 Draft status report re: multiple workstreams (1.2);
                                                     review contract with service provider for AML (.50);
                                                     correspondence with Cyprus counsel re: customer
                                                     balances (.30); review emails re: corporate accounts
                                                     (.20); prepare for three conference calls (.40); call
                                                     with C. Jones, T. Hill and A&M re: FTX Europe
                                                     AML and KYC process (.50); call with M. Birke, T.
                                                     Hill, M. Haase and A&M re: process update (.40);
                                                     call with A&M and FTX Europe management re:
                                                     customer balances (1.0).
03/03/2023 Lester Su                            1.10 Call with C. Howard re: English law matter (.30);
                                                     correspondence with A. Dietderich re: email on
                                                     English law matter (.30); call with H. Middleditch re:
                                                     English law matter (.50).
03/03/2023 Nirav Mehta                          0.20 Correspondence to A. Kranzley, F. Weinberg
                                                     Crocco, K. Hatano and S. Xiang re: customer
                                                     withdrawals at FTX Japan.
03/03/2023 Tyler Hill                           0.90 Call with O. de Vito Piscicelli, M. Birke, M. Haase
                                                     and A&M re: process update (.40); call with C.
                                                     Jones, O. de Vito Piscicelli and A&M re: FTX
                                                     Europe AML and KYC process (.50).
03/03/2023 Michael Haase                        0.40 Call with O. de Vito Piscicelli, M. Birke, T. Hill and
                                                     A&M re: process update.
03/03/2023 Hattie Middleditch                   1.30 Call with L. Su re: English law matter (.30);
                                                     correspondence with C. Howard and L. Su re: A.
                                                     Dietderich email and response (.50); correspondence
                                                     with L. Su re: email to A. Dietderich re: English law
                                                     matter (.50).
03/04/2023 Andrew Dietderich                    0.70 Correspondence with UK team re: segregation issues.
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Date         Name                             Hours Description
03/04/2023 Christopher Howard                   0.80 Email exchanges with internal team re: segregation
                                                     (.50); review A. Dietderich email re: lack of
                                                     segregation (.30).
03/04/2023 Evan Simpson                         0.30 Draft framework for strategic alternatives assessment
                                                     and work.
03/04/2023 Lester Su                            2.00 Considering and responding to questions re: English
                                                     law matters.
03/05/2023 Keiji Hatano                         0.40 Correspondence with internal team re: cash transfer
                                                     from FTX Japan.
03/06/2023 Audra Cohen                          0.30 Call with M. Birke, E. Simpson, O. de Vito Piscicelli,
                                                     M. Wu, T. Hill, M. Haase, F. Wünsche, PWP, VP
                                                     Cyber Security and A&M re: process update.
03/06/2023 Craig Jones                          0.50 Call with O. de Vito Piscicelli re: Cyprus AML (.20);
                                                     call with A&M re: Cyprus AML report (.30).
03/06/2023 Max Birke                            0.50 Call with E. Simpson, A. Cohen, O. de Vito Piscicelli,
                                                     M. Wu, T. Hill, M. Haase, F. Wünsche, PWP, VP
                                                     Cyber Security Services and A&M re: process update
                                                     (.30), review emails re: status in Germany (.20).
03/06/2023 Christopher Howard                   0.60 Review conflicts of laws questions re: English law
                                                     matter.
03/06/2023 Evan Simpson                         3.00 Call with O. de Vito Piscicelli, T. Hill and FTX
                                                     Europe management re: open workstreams (.90); call
                                                     with O. de Vito Piscicelli, T. Hill, A&M and Cyprus
                                                     counsel re: account balances (.50); call with O. de
                                                     Vito Piscicelli, T. Hill), A&M and Cyprus counsel re:
                                                     account balances (.20); call with O. de Vito Piscicelli
                                                     re: FTX Europe open items (.20); coordination of
                                                     local entity renewal process (.20); review of files on
                                                     foreign debtors and structure chart issues for Chapter
                                                     11 filings (1.0).
03/06/2023 Evan Simpson                         0.30 Call with A. Cohen, O. de Vito Piscicelli, M. Birke,
                                                     M. Wu, T. Hill, M. Haase, F. Wünsche, PWP, VP
                                                     Cyber Security and A&M re: process update.
03/06/2023 Oderisio de Vito Piscicelli          4.60 Call with C. Jones re: Cyprus AML (.20);
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                                                correspondences with Cyprus counsel re: questions
                                                for FTX Europe management (1.0); review material
                                                provided by FTX Europe personnel re: Alameda
                                                liability (.30); call with E. Simpson re: FTX Europe
                                                open items (.20); prepare for several conference calls
                                                (.40); review emails re: board composition (.10); call
                                                with E. Simpson, T. Hill and FTX Europe
                                                management re: open workstreams (.90); call with E.
                                                Simpson, T. Hill, A&M and Cyprus counsel re:
                                                account balances (.50); call with E. Simpson, T. Hill,
                                                A&M and Cyprus counsel re: account balances (.20);
                                                call with E. Simpson, A. Cohen, M. Birke, M. Wu, T.
                                                Hill, M. Haase, F. Wünsche, PWP, VP Cyber
                                                Security Services and A&M re: process update (.30);
                                                call with S&C and A&M teams re: report on AML
                                                review (.50).
03/06/2023 Anthony Lewis                  0.10 Correspondence with S&C, PWP, Sygnia and A&M
                                               teams re: FTX Japan review.
03/06/2023 Lester Su                      1.30 Call with H. Middleditch re: English law matter (.30);
                                               revise memorandum re: English law matter (1.0).
03/06/2023 Nirav Mehta                    0.50 Correspondence to K. Hatano and S. Xiang re:
                                               technological issues for restarting FTX Japan (.20);
                                               correspondence to J. Petiford re: Japan OCP (.30).
03/06/2023 Mimi Wu                        0.30 Call with E. Simpson, A. Cohen, O. de Vito Piscicelli,
                                               M. Birke, T. Hill, M. Haase, F. Wünsche, PWP, VP
                                               Cyber Security Services and A&M re: process
                                               update.
03/06/2023 Tyler Hill                     2.30 Call with E. Simpson, O. de Vito Piscicelli and FTX
                                               Europe management re: open workstreams (.90); call
                                               with E. Simpson, O. de Vito Piscicelli, A&M and
                                               Cyprus counsel re: account balances (.50); call with E.
                                               Simpson, A. Cohen, O. de Vito Piscicelli, M. Birke,
                                               M. Wu, M. Haase, F. Wünsche, PWP, VP Cyber
                                               Security Services and A&M re: process update (.30);
                                               call with E. Simpson, O. de Vito Piscicelli, A&M and
                                               Cyprus counsel re: account balances (.20);
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                                                      correspondence with internal team re: German lawsuits
                                                      (.40).
03/06/2023 Michael Haase                        0.30 Call with E. Simpson, A. Cohen, O. de Vito Piscicelli,
                                                     M. Birke, M. Wu, T. Hill, F. Wünsche, PWP, VP
                                                     Cyber Security Services and A&M re: process
                                                     update.
03/06/2023 Hattie Middleditch                   0.30 Call with L. Su re: English law matter.
03/06/2023 Fabio Weinberg Crocco                1.90 Draft of other foreign debtors motion (1.5);
                                                     correspondence re: matter concerning Cayman debtor
                                                     (.40).
03/06/2023 Frederic Wünsche                     0.30 Call with E. Simpson, A. Cohen, O. de Vito Piscicelli,
                                                     M. Birke, M. Wu, T. Hill, M. Haase, PWP, VP
                                                     Cyber Security Services and A&M re: process
                                                     update.
03/06/2023 Joshua Hardin                        1.60 Research application of Butner v. U.S. to foreign law
                                                     (Third Circuit).
03/06/2023 Benjamin Zonenshayn                  0.20 Email correspondence with current LedgerPrime
                                                     personnel re: Cayman debtor matter.
03/07/2023 Keiji Hatano                         2.00 Correspondence with internal team re: claim related to
                                                     FTX Japan (.40); review Japan user update (.80);
                                                     correspondence with internal team re: same (.40);
                                                     correspondence with internal team re: corporate
                                                     logistics at FTX Japan (.40).
03/07/2023 Christopher Howard                   1.90 Research issues re: conflicts of law in England (1.2);
                                                     work on summary re: Delaware conflicts (.70).
03/07/2023 Evan Simpson                         2.10 Call with C. Beatty, J. Simpson, A&M, KordaMentha
                                                     and Piper Alderman re: FTX dot com information
                                                     sharing (.80); draft correspondence to foreign
                                                     regulators re: balances topics (.30); review of
                                                     underlying agreements re: claim against foreign debtor
                                                     (.50); analyze foreign non-debtor and debtor
                                                     information exchange matters and document requests
                                                     (.50).
03/07/2023 Oderisio de Vito Piscicelli          1.80 Review emails with Cyprus team and regulator re:
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                                                     request for information (.40); correspondences with
                                                     FTX Europe management and A&M re: customer
                                                     balances (.60); correspondence with FTX Europe
                                                     management re: CME discussions (.30); review emails
                                                     re: law suits (.10); review correspondence re: Swiss
                                                     moratorium (.30); review Lenz email re: SRO review
                                                     (.10).
03/07/2023 Anthony Lewis                       0.10 Correspondence with S&C team re: FTX Japan
                                                    public statement.
03/07/2023 Lester Su                           2.00 Revise memorandum re: English law matter.
03/07/2023 Nirav Mehta                         1.60 Correspondence to E. Simpson and J. Petiford re:
                                                    Japan OCP (.20); review draft notice re: FTX Japan
                                                    annual transaction statements (.40); correspondence
                                                    with K. Hatano and S. Xiang re: same (.40); call with
                                                    J. Simpson and representatives of FTX Japan and
                                                    A&M re: status of APAC workstreams (.60).
03/07/2023 James Simpson                       1.70 Call with N. Mehta and representatives of FTX Japan
                                                    and A&M re: status of APAC workstreams (.60); call
                                                    with C. Beatty, E. Simpson, A&M, KordaMentha
                                                    and Piper Alderman re: FTX dot com information
                                                    sharing (.80); review and comment on Indian director
                                                    agreement (.30).
03/07/2023 Hattie Middleditch                  0.50 Correspondence with L. Su and C. Howard re:
                                                    conflicts of laws issues.
03/07/2023 Fabio Weinberg Crocco               6.10 Draft other foreign debtors motion (5.0);
                                                    correspondences with A. Kranzley re: sharing of
                                                    information re: FTX Japan (.30); meeting with B.
                                                    Zonenshayn re: matters concerning Cayman debtor
                                                    (.50); review Japan user update (.30).
03/07/2023 Benjamin Zonenshayn                 1.00 Meeting with F. Weinberg Crocco re: matters
                                                    concerning Cayman debtor (.50); draft outline re:
                                                    letter for matters concerning Cayman debtor (.50).
03/07/2023 Siddhant Iyer                       0.40 Correspondence with L. Su re: conflict of laws
                                                    research.
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03/08/2023 Audra Cohen                    0.20 Call with E. Simpson, O. de Vito Piscicelli, M. Birke,
                                               M. Haase, M. Wu, F. Wunsche and A&M re:
                                               process update.
03/08/2023 Andrew Dietderich              0.40 Correspondence with A. Kranzley re: possibly
                                               immaterial debtor subsidiaries (.20); correspondence
                                               with F. Weinberg Crocco re: same (.10);
                                               correspondence with J. Ray (FTX) re: same (.10).
03/08/2023 Max Birke                      1.00 Call with E. Simpson, O. de Vito Piscicelli, A. Cohen,
                                               M. Haase, T. Hill, M. Wu, F. Wunsche and A&M re:
                                               process update (.20); call with E. Simpson, S.
                                               Mishkin, A. Kranzley, M. Birke, M. Haase, T. Hill,
                                               M. Wu, F. Wunsche, FTX Europe management,
                                               A&M and EY re: strategic alternatives (.80).
03/08/2023 Keiji Hatano                   1.70 Review comments re: Japan user update (.30);
                                               correspondence with internal team re: same (.40);
                                               correspondence with internal team re: avoidance claim
                                               related to FTX Japan (.50); review new orders on
                                               FTX Japan (.50).
03/08/2023 Christopher Howard             1.40 Research issues re: English law conflicts.
03/08/2023 Chris Beatty                   1.10 Call with E. Simpson, J. Simpson, A&M,
                                               KordaMentha and Piper Alderman re: FTX dot com
                                               information sharing (.80); prepare for calls with
                                               KordaMentha team re: same (.30).
03/08/2023 Evan Simpson                   4.20 Call with O. de Vito Piscicelli, T. Hill, M. Haase, F.
                                               Wunsche and Lenz re: board composition of FTX
                                               Europe AG (.40); call with O. de Vito Piscicelli, A.
                                               Cohen, M. Birke, M. Haase, T. Hill, M. Wu, F.
                                               Wunsche and A&M re: process update (.20); call
                                               with S. Mishkin, A. Kranzley, M. Birke, M. Haase, T.
                                               Hill, F. Wunsche, FTX Europe management, A&M
                                               and EY re: strategic alternatives (.80); call with A.
                                               Kranzley re: same (.20); attend hearing for non-debtor
                                               in local jurisdiction for bankruptcy related matters
                                               (1.0); revise chart re: foreign structure (.40); review
                                               and comment on foreign bank correspondence (.40);
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                                                      call with S. Mishkin, M. Haase. F. Wunsche and EY
                                                      re: strategic alternatives (.80).
03/08/2023 Oderisio de Vito Piscicelli          2.80 Call with E. Simpson, T. Hill, M. Haase, F. Wunsche
                                                     and Lenz re: board composition of FTX Europe AG
                                                     (.40); call with E. Simpson, A. Cohen, M. Birke, M.
                                                     Haase, T. Hill, M. Wu, F. Wunsche and A&M re:
                                                     process update (.20); call with E. Simpson, T. Hill and
                                                     FTX Europe management re: open workstreams
                                                     (.50); call with E. Simpson and T. Hill re: FTX Europe
                                                     workstreams (.30); review A&M information re:
                                                     balances (.70); prepare for calls (.30);
                                                     correspondence to T. Hill re: follow up work (.20);
                                                     review response to customer (.20).
03/08/2023 Alexa Kranzley                       1.70 Call with E. Simpson, S. Mishkin, M. Birke, M.
                                                     Haase, T. Hill, F. Wunsche, FTX Europe
                                                     management, A&M and EY re: strategic alternatives
                                                     (.80); call with R. Gordon (A&M) re: same (.20); call
                                                     with E. Simpson re: same (.20); work on related
                                                     issues and correspondences with internal team re:
                                                     same (.50).
03/08/2023 Nirav Mehta                          0.30 Correspondence to K. Hatano, F. Weinberg Crocco,
                                                     S. Xiang and D. Hisarli re: FTX Japan financial
                                                     statements and regulatory reporting.
03/08/2023 Mimi Wu                              0.20 Call with E. Simpson, O. de Vito Piscicelli, A. Cohen,
                                                     M. Birke, M. Haase, T. Hill, F. Wunsche and A&M
                                                     re: process update.
03/08/2023 Tyler Hill                           2.20 Call with O. de Vito Piscicelli, E. Simpson, M. Haase,
                                                     F. Wunsche and Lenz re: board composition of FTX
                                                     Europe AG (.40); call with E. Simpson, O. de Vito
                                                     Piscicelli, A. Cohen, M. Birke, M. Haase, M. Wu, F.
                                                     Wunsche and A&M re: process update (.20); call
                                                     with E. Simpson, S. Mishkin, A. Kranzley, M. Birke,
                                                     M. Haase, F. Wunsche, FTX Europe management,
                                                     A&M and EY re: strategic alternatives (.80); call with
                                                     E. Simpson, O. de Vito Piscicelli and FTX Europe
                                                     management re: open workstreams (.50); call with E.
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                                                     Simpson and O. de Vito Piscicelli re: FTX Europe
                                                     workstreams (.30).
03/08/2023 Michael Haase                       1.40 Call with O. de Vito Piscicelli, E. Simpson, T. Hill, F.
                                                    Wunsche and Lenz re: board composition of FTX
                                                    Europe AG (.40); call with E. Simpson, O. de Vito
                                                    Piscicelli, A. Cohen, M. Birke, T. Hill, M. Wu, F.
                                                    Wunsche and A&M re: process update (.20); call
                                                    with E. Simpson, S. Mishkin, A. Kranzley, M. Birke,
                                                    T. Hill, F. Wunsche, FTX Europe management, A&M
                                                    and EY re: strategic alternatives (.80).
03/08/2023 Hattie Middleditch                  0.30 Correspondence to C. Howard and L. Su re
                                                    co-ownership issue.
03/08/2023 Fabio Weinberg Crocco               2.70 Draft other foreign debtors motion (2.5);
                                                    correspondence to relevant third party re: matter
                                                    concerning Cayman debtor (.20).
03/08/2023 Frederic Wünsche                    1.40 Call with O. de Vito Piscicelli, E. Simpson, T. Hill, M.
                                                    Haase and Lenz re: board composition of FTX
                                                    Europe AG (.40); call with E. Simpson, O. de Vito
                                                    Piscicelli, A. Cohen, M. Birke, M. Haase, T. Hill, M.
                                                    Wu and A&M re: process update (.20); call with E.
                                                    Simpson, S. Mishkin, A. Kranzley, M. Birke, M.
                                                    Haase, T. Hill, FTX Europe management, A&M and
                                                    EY re: strategic alternatives (.60).
03/08/2023 Sarah Mishkin                       1.20 Review subsidiary requirements and related
                                                    correspondence with local counsel (.40); call with E.
                                                    Simpson, A. Kranzley, M. Birke, M. Haase, T. Hill,
                                                    F. Wunsche, FTX Europe management, A&M and
                                                    EY re: strategic alternatives (.80).
03/08/2023 Joshua Hardin                       1.50 Research application of Butner v. U.S. to foreign law
                                                    (Third Circuit).
03/08/2023 Siddhant Iyer                       2.50 Correspondence with C. Howard re: English law
                                                    conflict of law issues (.50); research re: conflict of
                                                    laws analysis (2.0).
03/09/2023 Keiji Hatano                        0.50 Correspondence with internal team re: regulatory
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                                                      status of FTX Japan.
03/09/2023 Christopher Howard                   1.20 Research case law.
03/09/2023 Evan Simpson                         2.50 Call with O. de Vito Piscicelli, T. Hill and FTX
                                                     Europe management re: open workstreams (.50); call
                                                     with O. de Vito Piscicelli and T. Hill re: FTX Europe
                                                     workstreams (.30); call with O. de Vito Piscicelli, T.
                                                     Hill, A&M, PWP and FTX EU management re: FTX
                                                     EU restart (.20); call with O. de Vito Piscicelli, T. Hill,
                                                     A&M, Cyprus counsel and FTX Europe management
                                                     re: customer account balances (1.0); prepare backup
                                                     documentation for corporate authorities for foreign
                                                     bank accounts (.50).
03/09/2023 Oderisio de Vito Piscicelli          2.70 Call with E. Simpson, T. Hill, A&M, PWP and FTX
                                                     EU management re: FTX EU restart (.20); call with T.
                                                     Hill, A&M, Cyprus counsel and FTX Europe
                                                     management re: customer account balances (1.0);
                                                     draft speaking notes (.30); correspondence with
                                                     internal team and A&M re: memorandum on strategic
                                                     alternatives (.30); review emails re: employee matters
                                                     (.20); correspondence with internal team re: schedule
                                                     of insider transactions (.50); correspondence with
                                                     internal team and Cyprus counsel re: customer
                                                     withdrawals (.20).
03/09/2023 Nirav Mehta                          0.60 Review emails from Anderson Mori re: updates on
                                                     regulatory situation (.50); correspondence to S. Xiang
                                                     re: same (.10).
03/09/2023 Tyler Hill                           1.70 Call with E. Simpson, O. de Vito Piscicelli, A&M,
                                                     PWP and FTX EU management re: FTX EU restart
                                                     (.20); call with O. de Vito Piscicelli, E. Simpson,
                                                     A&M, Cyprus counsel and FTX Europe management
                                                     re: customer account balances (1.0); correspondence
                                                     with S&C team re: FTX Europe customer balances
                                                     (.50).
03/09/2023 James Simpson                        0.90 Review questions and requests from FTX Japan team
                                                     re: corporate governance and security (.30); review
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                                                      advice of local counsel re: taxes (.60).
03/09/2023 Hattie Middleditch                   1.60 Correspondence with A. Dietderich re: English law
                                                     and co-ownership issue (.50); meeting with S. Iyer re:
                                                     conflicts of law issues (.30); review and comment on
                                                     S. Iyer research re: conflicts of law (.80).
03/09/2023 Fabio Weinberg Crocco                0.20 Correspondence with A. Kranzley and B. Zonenshayn
                                                     re: issues with respect to Cayman debtor.
03/09/2023 Sarah Mishkin                        0.10 Prepare documentation re: replacing BVI agent.
03/09/2023 Siddhant Iyer                        3.70 Meeting with H. Middleditch re: conflicts of laws
                                                     issues (.30); research re: conflicts of laws under
                                                     English law (3.4).
03/10/2023 Craig Jones                          0.30 Correspondence to A&M re: comments on the final
                                                     version of the KYC report.
03/10/2023 Max Birke                            0.30 Review external emails and internal emails.
03/10/2023 Keiji Hatano                         0.20 Correspondence with internal team re: response to
                                                     Rest of the World.
03/10/2023 Christopher Howard                   1.50 Review memorandum re: English law matter (1.0);
                                                     meeting with H. Middleditch and S. Iyer re: conflicts
                                                     of law issues (.50).
03/10/2023 Evan Simpson                         1.40 Call with O. de Vito Piscicelli, T. Hill, local regulator
                                                     and FTX Europe management re: FTX Europe (.50);
                                                     call with O. de Vito Piscicelli and T. Hill re: open
                                                     workstreams (.30); call with O. de Vito Piscicelli, T.
                                                     Hill, Swiss counsel and FTX Europe management re:
                                                     FTX Europe AG board (.60).
03/10/2023 Oderisio de Vito Piscicelli          4.20 Review and comment on A&M report re: AML (1.5);
                                                     correspondence with internal team re: customer cash
                                                     and related matters (.60); review A&M information re:
                                                     customer balances (.30); call with E. Simpson, T. Hill,
                                                     local regulator and FTX Europe management re: FTX
                                                     Europe (.50); call with E. Simpson and T. Hill re: open
                                                     workstreams (.30); call with E. Simpson, T. Hill,
                                                     Swiss counsel and FTX Europe management re: FTX
                                                     Europe AG board (.60); call with S&C and A&M
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                                                     teams re: pending Europe business matters (.40).
03/10/2023 Tyler Hill                          1.40 Call with E. Simpson, O. de Vito Piscicelli, local
                                                    regulator and FTX Europe management re: FTX
                                                    Europe (.50); call with E. Simpson and O. de Vito
                                                    Piscicelli re: open workstreams (.30); call with E.
                                                    Simpson, O. de Vito Piscicelli, Swiss counsel and
                                                    FTX Europe management re: FTX Europe AG board
                                                    (.60).
03/10/2023 James Simpson                       0.30 Review correspondence with FTX Japan re: former
                                                    employee.
03/10/2023 Hattie Middleditch                  1.00 Review and comment on S. Iyer memorandum re:
                                                    conflicts of law issues (.50); meeting with C. Howard
                                                    and S. Iyer re: conflicts of law issues (.50).
03/10/2023 Fabio Weinberg Crocco               1.00 Review demand letter on behalf of Cayman debtor
                                                    (.50); correspondence with internal team re: call about
                                                    cash held by FTX Japan (.20); call with F. Weinberg
                                                    Crocco re: next steps with respect to Cayman debtor
                                                    (.30).
03/10/2023 Sarah Mishkin                       0.50 Correspondence with internal team re: agent.
03/10/2023 Benjamin Zonenshayn                 0.50 Call with F. Weinberg Crocco re: next steps with
                                                    respect to Cayman debtor (.30); review emails re:
                                                    same (.20).
03/10/2023 Siddhant Iyer                       1.80 Meeting with C. Howard and H. Middleditch re:
                                                    conflicts of law issues (.50); update memorandum re:
                                                    English law conflict of laws issues (1.3).
03/11/2023 Keiji Hatano                        0.90 Correspondence with internal team re: unrestricted
                                                    cash of FTX Japan (.50); follow-up correspondence
                                                    with internal team re: unrestricted cash of FTX Japan.
                                                    (.40).
03/12/2023 Christopher Howard                  1.50 Work on draft memorandum re: conflict of laws under
                                                    English law.
03/12/2023 Hattie Middleditch                  1.30 Review and comment on S. Iyer draft summary re:
                                                    English conflicts of law research (.70); review C.
                                                    Howard comments on conflicts of law analysis (.60).
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03/13/2023 Audra Cohen                          0.30 Call with E. Simpson, O. de Vito Piscicelli, M. Birke,
                                                     T. Hill, M. Haase, F. Wünsche, PWP and A&M re:
                                                     process update.
03/13/2023 Max Birke                            1.20 Call with E. Simpson, A. Cohen, O. de Vito Piscicelli,
                                                     T. Hill, M. Haase, F. Wünsche, PWP and A&M re:
                                                     process update (.30); review and work on responses
                                                     re: next steps with respect to FTX Trading GmbH
                                                     (.90).
03/13/2023 Stephen Ehrenberg                    0.10 Review correspondence from S. Kit re: Quoine
                                                     deposits in bank and other status items.
03/13/2023 Keiji Hatano                         0.40 Call with H. Chambers (A&M), C. Kotarba (A&M),
                                                     N. Mehta, F. Weinberg Crocco, D. Hisarli and
                                                     Japanese counsel re: intercompany transfers between
                                                     foreign debtors.
03/13/2023 Christopher Howard                   1.40 Review and comment on memorandum re: conflicts of
                                                     laws.
03/13/2023 Evan Simpson                         2.60 Call with O. de Vito Piscicelli and FTX Europe
                                                     management re: update on various Cyprus matters
                                                     (.40); call with A. Cohen, O. de Vito Piscicelli, M.
                                                     Birke, T. Hill, M. Haase, F. Wünsche, PWP and
                                                     A&M re: process update (.30); review terms and files
                                                     re: GDPR considerations (.50); correspondence with
                                                     internal team re: foreign license requirements (.40);
                                                     draft email re: foreign organizational structure and
                                                     beneficial owners (.50); review foreign debtor
                                                     resolutions (.50).
03/13/2023 Oderisio de Vito Piscicelli          1.80 Call with E. Simpson and FTX Europe management
                                                     re: update on various Cyprus matters (.40); analyze
                                                     insolvency process (.30); prepare for calls (.40);
                                                     attention to emails re: various licenses (.10); review
                                                     Swiss corporate documents (.20); attention to emails
                                                     re: USS review (.10); call with E. Simpson, A. Cohen,
                                                     O. de Vito Piscicelli, M. Birke, T. Hill, M. Haase, F.
                                                     Wünsche, PWP and A&M re: process update (.30).
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03/13/2023 Nirav Mehta                         0.40 Call with H. Chambers (A&M), C. Kotarba (A&M),
                                                    K. Hatano, F. Weinberg Crocco, D. Hisarli and
                                                    Japanese counsel re: intercompany transfers between
                                                    foreign debtors.
03/13/2023 Tyler Hill                          1.30 Call with E. Simpson, A. Cohen, O. de Vito Piscicelli,
                                                    M. Birke, M. Haase, F. Wünsche, PWP and A&M
                                                    re: process update (.30); call with M. Birke, E.
                                                    Simpson, O. de Vito Piscicelli, M. Hasse, F. Wunsche
                                                    and FTX management re: FTX Trading GmbH (.50);
                                                    call with E. Simpson and O. de Vito Piscicelli re: FTX
                                                    Europe AG board composition and other topics (.50 -
                                                    partial attendance).
03/13/2023 Michael Haase                       1.60 Call with E. Simpson, A. Cohen, O. de Vito Piscicelli,
                                                    M. Birke, T. Hill, F. Wünsche, PWP and A&M re:
                                                    process update (.30); correspondence with T. Hill re:
                                                    status of intercompany agreement (.40); draft email
                                                    response to T. Hill re: lawsuit (.90).
03/13/2023 Hattie Middleditch                  1.40 Draft note to A. Dietderich re: conflicts of law analysis
                                                    (.80); review and comment on S. Iyer note re: same
                                                    (.60).
03/13/2023 Fabio Weinberg Crocco               0.10 Call with H. Chambers (A&M), C. Kotarba (A&M),
                                                    K. Hatano, N. Mehta, D. Hisarli and Japanese
                                                    counsel re: intercompany transfers between foreign
                                                    debtors (partial attendance).
03/13/2023 Frederic Wünsche                    1.60 Call with E. Simpson, A. Cohen, O. de Vito Piscicelli,
                                                    M. Birke, T. Hill, M. Haase, PWP and A&M re:
                                                    process update (.30); correspondence with T. Hill re:
                                                    status of intercompany agreement (.40);
                                                    correspondences with T. Hill re: lawsuit (.60);
                                                    correspondence with M. Birke re: same (.30).
03/13/2023 Sarah Mishkin                       0.20 Correspondence with independent director re: agent
                                                    appointment (.10); correspondence with Singapore
                                                    counsel re: KYC (.10).
03/13/2023 M. Devin Hisarli                    0.40 Call with H. Chambers (A&M), C. Kotarba (A&M),
                                                    K. Hatano, N. Mehta, F. Weinberg Crocco and
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                                                      Japanese counsel re intercompany transfers between
                                                      foreign debtors.
03/13/2023 Benjamin Zonenshayn                  1.20 Draft letter for Cayman debtor.
03/13/2023 Siddhant Iyer                        2.50 Research re: conflicts of law under English law (1.2);
                                                     work on memorandum re: same (1.3).
03/14/2023 Max Birke                            1.20 Call with E. Simpson, O. de Vito Piscicelli, T. Hill, M.
                                                     Hasse, F. Wunsche and FTX management re: FTX
                                                     Trading GmbH (.50); discussion with M. Haase and
                                                     F. Wunsche re: lawsuit (.40); correspondence with E.
                                                     Simpson re: same (.30).
03/14/2023 Keiji Hatano                         0.70 Correspondence with internal team re: Jefferies'
                                                     questions on FTX Japan.
03/14/2023 Christopher Howard                   3.00 Call with H. Middleditch re: conflicts analysis (.30);
                                                     call with L. Pyper (South Square), H. Middleditch and
                                                     S. Iyer re: conflicts points (.50); review note re:
                                                     conflicts of laws under English law (1.7); research re:
                                                     recognition of law by English court (.50).
03/14/2023 Evan Simpson                         1.80 Call with N. Mehta, J. Simpson and representatives of
                                                     FTX Japan and A&M re: status of APAC
                                                     workstreams (.50); prepare summary email re: foreign
                                                     debtor workstreams (.30); draft presentation re:
                                                     foreign debtor critical path (1.0).
03/14/2023 Oderisio de Vito Piscicelli          4.30 Draft an update for J. Ray (FTX) re: Cyprus funds
                                                     (.60); correspondence with internal team re:
                                                     calculation of balances (.20); review updated AML
                                                     report from A&M (.60); attention to strategic
                                                     alternatives and emails re: EY engagement (.30);
                                                     prepare for conference calls (.40); analyze question
                                                     from Cyprus regulator (.20); review revised corporate
                                                     documents for Switzerland (.20); review slides re:
                                                     relationship with relevant third party (.30); call with M.
                                                     Birke, E. Simpson, T. Hill, M. Hasse, F. Wunsche
                                                     and FTX management re: FTX Trading GmbH (.50);
                                                     call with E. Simpson and T. Hill re: FTX Europe AG
                                                     board composition and other topics (1.0).
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03/14/2023 Nirav Mehta                         0.80 Call with E. Simpson, J. Simpson and representatives
                                                    of FTX Japan and A&M re: status of APAC
                                                    workstreams (.50); correspondence to E. Simpson
                                                    and J. Simpson re: Alameda silo governance (.30).
03/14/2023 Tyler Hill                          1.30 Review letter from local regulator.
03/14/2023 James Simpson                       0.90 Call with E. Simpson, N. Mehta and representatives
                                                    of FTX Japan and A&M re: status of APAC
                                                    workstreams (.50); internal S&C correspondence re:
                                                    Alameda Japan entities (.20); correspondence with
                                                    S&C team re: frozen accounts (.20).
03/14/2023 Michael Haase                       0.90 Call with M. Birke, E. Simpson, O. de Vito Piscicelli,
                                                    T. Hill, F. Wunsche and FTX management re: FTX
                                                    Trading GmbH (.50); discussion with F. Wunsche and
                                                    M. Birke re: lawsuit (.40).
03/14/2023 Hattie Middleditch                  6.40 Research re: conflicts of law questions (4.0); update
                                                    note re: conflicts research (1.0); call with C. Howard
                                                    re: conflicts analysis (.30); call with L. Pyper (South
                                                    Square), C. Howard and S. Iyer re: conflicts points
                                                    (.50); review L. Pyper (South Square) research re:
                                                    conflicts (.60).
03/14/2023 Fabio Weinberg Crocco               1.80 Correspondence to A. Titus (A&M) re: matters
                                                    concerning Cayman debtor (.30); review email to
                                                    Cayman counsel (.20); meeting with B. Zonenshayn
                                                    re: matters concerning Cayman debtor (.20);
                                                    correspondence with A. Kranzley and B. Zonenshayn
                                                    re: same (.30); meeting with B. Zonenshayn and A&M
                                                    re: same (.50); call with A. Titus (A&M) and S.
                                                    Glustein (A&M) re: same (.30).
03/14/2023 Frederic Wünsche                    0.90 Call with M. Birke, E. Simpson, O. de Vito Piscicelli,
                                                    T. Hill, M. Hasse and FTX management re: FTX
                                                    Trading GmbH (.50); discussion with M. Haase and
                                                    M. Birke re: lawsuit (.40).
03/14/2023 Benjamin Zonenshayn                 5.00 Research and draft motion outline for Cayman debtor
                                                    (4.0); meeting with F. Weinberg Crocco re: matters
                                                    concerning Cayman debtor (.20); correspondence
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                                                      with A. Kranzley and F. Weinberg Crocco re: same
                                                      (.30); meeting with F. Weinberg Crocco and A&M
                                                      re: same (.50).
03/14/2023 Siddhant Iyer                        0.50 Call with L. Pyper (South Square), C. Howard and H.
                                                     Middleditch re: conflicts points.
03/15/2023 Andrew Dietderich                    0.20 Correspondence with E. Simpson re: FTX Europe
                                                     status.
03/15/2023 Craig Jones                          0.50 Review and comment on updated version of the KYC
                                                     report sent by A&M.
03/15/2023 Stephen Ehrenberg                    0.30 Review and revise draft letter to regulator re: customer
                                                     funds.
03/15/2023 Christopher Howard                   2.90 Further review S&C note re: conflicts of laws under
                                                     English law (1.6); review written advice of L. Pyper
                                                     (South Square) re: conflicts (1.0); call with H.
                                                     Middleditch re: L. Pyper (South Square) research re:
                                                     conflicts (.30).
03/15/2023 Evan Simpson                         2.20 Call with M. Birke, O. de Vito Piscicelli, T. Hill, M.
                                                     Hasse, F. Wunsche and FTX management re: FTX
                                                     Trading GmbH (.50); call with O. de Vito Piscicelli
                                                     and T. Hill re: FTX Europe AG board composition
                                                     and other topics (1.0); meeting with O. de Vito
                                                     Piscicelli, Cyprus counsel and FTX Europe
                                                     management re: Cyprus developments (.40); draft
                                                     response letter to foreign regulator (.30).
03/15/2023 Oderisio de Vito Piscicelli          1.70 Correspondences with internal team re: balances
                                                     (.50); review and comment on draft letter to regulator
                                                     (.50); correspondence with internal team re: call with
                                                     FTX management re: calculation of balances (.30);
                                                     meeting with E. Simpson, Cyprus counsel and FTX
                                                     Europe management re: Cyprus developments (.40).
03/15/2023 Tyler Hill                           0.30 Call with A&M and FTX Europe management re:
                                                     FTX Europe account balances.
03/15/2023 Hattie Middleditch                   2.30 Finalise note re: L. Pyper (South Square) research re:
                                                     conflicts (1.5); call with C. Howard re: same (.30);
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                                                      correspondence to A. Dietderich re: conflicts issues
                                                      (.50).
03/15/2023 Fabio Weinberg Crocco                1.00 Call with R. Bell (Walkers), A&M and B. Zonenshayn
                                                     re: matters relating to Cayman debtor (.50);
                                                     correspondence to S&C team re: review of summary
                                                     (.30); follow-up correspondence with S&C team re:
                                                     same (.20).
03/15/2023 Benjamin Zonenshayn                  1.50 Review motions for Cayman debtor (.80);
                                                     correspondence with A. Kranzley and F. Weinberg
                                                     Crocco re: summary of call writeup (.20); call with R.
                                                     Bell (Walkers), A&M and F. Weinberg Crocco re:
                                                     matters related to Cayman debtor (.50).
03/16/2023 Audra Cohen                          0.30 Call with S. Ehrenberg and O. de Vito Piscicelli re:
                                                     options for Chapter 11 actions.
03/16/2023 Craig Jones                          0.20 Correspondence to A. Kranzley re: GDPR issues.
03/16/2023 Max Birke                            0.30 Review agreements re: German entity.
03/16/2023 Stephen Ehrenberg                    0.30 Call with A. Cohen and O. de Vito Piscicelli re:
                                                     options for Chapter 11 actions.
03/16/2023 Keiji Hatano                         0.70 Correspondence with internal team re: response to
                                                     questions from Jefferies' re: FTX Japan.
03/16/2023 Evan Simpson                         3.20 Call with O. de Vito Piscicelli, T. Hill and A&M re:
                                                     presentation to UCC regarding FTX Europe (1.0);
                                                     call with O. de Vito Piscicelli and FTX Europe
                                                     management re: Chapter 11 filings (.20); prepare
                                                     content for UCC presentation (.80); review draft filing
                                                     re: local court process (.50); revise and finalize letter
                                                     to regulator (.40); correspondence with internal team
                                                     re: GDPR topics in relation to Europe (.30).
03/16/2023 Oderisio de Vito Piscicelli          4.70 Call with E. Simpson, T. Hill and A&M re:
                                                     presentation to UCC regarding FTX Europe (1.0);
                                                     call with E. Simpson and FTX Europe management re:
                                                     Chapter 11 filings (.20); call with S. Ehrenberg and A.
                                                     Cohen re: options for Chapter 11 actions (.30); draft
                                                     executive summary of FTX Europe presentation (1.2);
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                                                      review and comment on slides re: FTX Europe
                                                      presentation (.90); correspondences with internal team
                                                      re: GDPR matters (.60); correspondence with S&C
                                                      and A&M teams re: Cyprus cash (.30);
                                                      correspondence with internal team re: corporate
                                                      matters for Swiss entity (.20).
03/16/2023 Nirav Mehta                          0.50 Correspondence to N. Nussbaum (PWP) and R.
                                                     Mekala (PWP), K. Hatano and S. Xiang re: due
                                                     diligence question from UCC (.10); correspondence
                                                     to FTX Japan personnel and local counsel re: same
                                                     (.40).
03/16/2023 Tyler Hill                           1.00 Call with E. Simpson, O. de Vito Piscicelli and A&M
                                                     re: presentation to UCC regarding FTX Europe.
03/16/2023 James Simpson                        0.30 Review correspondence from local counsel re:
                                                     ongoing dispute in Singapore.
03/16/2023 Benjamin Zonenshayn                  0.60 Research for J. Petiford re: KYC and AML.
03/17/2023 Max Birke                            0.20 Review documents and emails re: German entity
                                                     agreements.
03/17/2023 Keiji Hatano                         0.40 Correspondence with internal team re: Jefferies'
                                                     questions re: FTX Japan.
03/17/2023 Evan Simpson                         2.70 Call with T. Hill and FTX EU management re: open
                                                     workstreams (.50); meeting with O. de Vito Piscicelli,
                                                     Cyprus counsel and FTX Europe management re:
                                                     Cyprus developments (.40); call with O. de Vito
                                                     Piscicelli, A&M and FTX Europe personnel re:
                                                     refunds (1.0); call with A. Kranzley, O. de Vito
                                                     Piscicelli and EY team re: foreign debtor issues (.30);
                                                     revise slides for FTX management re: foreign debtor
                                                     balance sheet and critical path items (.50).
03/17/2023 Oderisio de Vito Piscicelli          3.80 Call with E. Simpson, A&M and FTX Europe
                                                     personnel re: refunds (1.0); meeting with E. Simpson,
                                                     Cyprus counsel and FTX Europe management re:
                                                     Cyprus developments (.40); call with E. Simpson, A.
                                                     Kranzley and EY team re: foreign debtor issues (.30);
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                                                      review and comment on draft moratorium request
                                                      (1.1); review and comment on revised presentation re:
                                                      Europe situation (.60); prepare for calls (.30);
                                                      attention to emails re: GDPR issue (.10).
03/17/2023 Alexa Kranzley                       0.50 Call with E. Simpson, O. de Vito Piscicelli and EY
                                                     team re: foreign debtor issues (.30); follow up
                                                     correspondence with internal team re: same (.20).
03/17/2023 Nirav Mehta                          0.40 Correspondence to FTX Japan and AMT re: due
                                                     diligence question from UCC (.20); correspondence
                                                     to N. Nussbaum (PWP), R. Mekala (PWP), K.
                                                     Hatano and S. Xiang re: same (.20).
03/17/2023 Tyler Hill                           2.00 Review draft FTX Europe AG moratorium filing (1.5);
                                                     call with E. Simpson and FTX EU management re:
                                                     open workstreams (.50).
03/18/2023 Keiji Hatano                         0.60 Correspondence with internal team re: analysis of FTX
                                                     Japan.
03/18/2023 Evan Simpson                         0.60 Review and comment on summary of certain foreign
                                                     debtor status.
03/18/2023 Oderisio de Vito Piscicelli          1.90 Review FTX Europe management paper re: Cyprus
                                                     law.
03/19/2023 Bradley Harsch                       0.10 Correspondence to F. Weinberg Crocco re: follow up
                                                     on FTX Japan memo.
03/20/2023 Audra Cohen                          0.50 Call with E. Simpson, M. Wu, A. Kranzley, O. de
                                                     Vito Piscicelli and Paul Hastings re: FTX Europe.
03/20/2023 Max Birke                            0.40 Review agreements re: Swiss AG.
03/20/2023 Stephen Ehrenberg                    0.20 Review email correspondence from B. Harsch re:
                                                     possible assets to recover in foreign jurisdiction.
03/20/2023 Keiji Hatano                         0.70 Correspondence with internal team re: request from
                                                     regulator (.40); correspondence with internal team re:
                                                     monthly results of FTX Japan (.30).
03/20/2023 Evan Simpson                         4.00 Call with O. de Vito Piscicelli and FTX Europe
                                                     management re: balances and related matters (.90);
                                                     comments on summary slides for FTX Europe critical
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                                                      path items (1.0); review and comment on
                                                      correspondence in relation to claims (.50); call with
                                                      M. Wu, A. Cohen, A. Kranzley, O. de Vito Piscicelli
                                                      and Paul Hastings re: FTX Europe (.50); call with O.
                                                      de Vito Piscicelli, Cyprus counsel and A&M re:
                                                      calculation of balances (1.1).
03/20/2023 Oderisio de Vito Piscicelli          5.40 Review and comment on slides from A&M re:
                                                     balances (2.4); correspondence with E. Simpson re:
                                                     balances (.20); correspondence with internal team re:
                                                     ombudsman letters (.20); correspondence with internal
                                                     team re: FTX GP shares (.10); call with E. Simpson
                                                     and FTX Europe management re: balances and related
                                                     matters (.90); call with E. Simpson, M. Wu, A.
                                                     Cohen, A. Kranzley and Paul Hastings re: FTX
                                                     Europe (.50); call with E. Simpson, Cyprus counsel
                                                     and A&M re: calculation of balances (1.1).
03/20/2023 Alexa Kranzley                       0.50 Call with E. Simpson, M. Wu, A. Cohen, O. de Vito
                                                     Piscicelli and Paul Hastings re: FTX Europe.
03/20/2023 Mimi Wu                              0.50 Call with E. Simpson, A. Cohen, A. Kranzley, O. de
                                                     Vito Piscicelli and Paul Hastings re: FTX Europe.
03/20/2023 Sarah Mishkin                        0.60 Review BVI director change resolutions (.30);
                                                     correspondence with internal team re: same (.30).
03/21/2023 Max Birke                            0.40 Review emails and documents re: liquidity injection.
03/21/2023 Stephen Ehrenberg                    0.20 Review email from B. Harsch re: SNG investment.
03/21/2023 Keiji Hatano                         0.60 Correspondence with internal team re: FTX Japan
                                                     analysis.
03/21/2023 Evan Simpson                         1.60 Call with counterparty of foreign debtor re: KYC
                                                     requests (.30); revise slides re: foreign debtor status
                                                     (1.0); correspondence with internal team re: books
                                                     and records requests for foreign debtors (.30).
03/21/2023 Oderisio de Vito Piscicelli          1.80 Work on calculation of balances (1.1); call with Swiss
                                                     counsel re: offsetting (.30); review Sygnia report re:
                                                     forensic investigation (.40).
03/21/2023 Nirav Mehta                          0.20 Coordinate call with H. Trent (A&M), C. Arnett
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                                                      (A&M) and local counsel re: FTX Japan analysis.
03/22/2023 Max Birke                            0.40 Correspondence with internal team re: status of
                                                     German management agreements.
03/22/2023 Keiji Hatano                         0.30 Correspondence with internal team re: affidavit for
                                                     FTX Japan.
03/22/2023 Evan Simpson                         3.60 Work on foreign debtor lease arrangements (.50);
                                                     work on funds process for foreign debtors (1.0);
                                                     revise press release (.50); review re: strategic
                                                     alternatives (.50); review corporate records re: foreign
                                                     debtor governance (.40); call with A. Kranzley, M.
                                                     Haase and F. Wünsche re: update on strategic
                                                     alternatives (.20); call with O. de Vito Piscicelli, M.
                                                     Haase, F. Wünsche, A&M and FTX management re:
                                                     process update (.50).
03/22/2023 Oderisio de Vito Piscicelli          3.00 Draft press release re: return of funds (.60);
                                                     correspondence with Cyprus counsel re: Swiss law
                                                     issue (.10); attention to correspondence re: Swiss
                                                     entity matters (.30); review email from regulator re:
                                                     next steps (.40); correspondence with A&M re:
                                                     account balances (.30); review Cyprus ombudsman
                                                     claim (.30); review Cyprus comments on press release
                                                     (.10); attention to correspondence re: moratorium
                                                     request (.10); call with FTX Europe re: update on
                                                     Cyprus matters (.30); call with E. Simpson, M. Haase,
                                                     F. Wünsche, A&M and FTX management re: process
                                                     update (.50).
03/22/2023 Alexa Kranzley                       0.60 Call with E. Simpson, M. Haase and F. Wünsche re:
                                                     update on strategic alternatives (.20); correspondence
                                                     with E. Simpson re: same and other related issues
                                                     (.40).
03/22/2023 Nirav Mehta                          0.30 Correspondence with S. Xiang re: affidavits of FTX
                                                     director.
03/22/2023 Michelle Vickers                     0.50 Coordinate review of HK venture sales corporate
                                                     governance arrangements by KWM.
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Date        Name                             Hours Description
03/22/2023 James Simpson                      0.90 Correspondence with FTX Japan personnel re: FTX
                                                   Japan governance process (.60); correspondence with
                                                   FTX Japan personnel re: prepetition claims (.30).
03/22/2023 Michael Haase                      1.70 Call with E. Simpson, A. Kranzley and F. Wünsche
                                                   re: update on strategic alternatives (.30); call with E.
                                                   Simpson, O. de Vito Piscicelli, F. Wünsche, A&M
                                                   and FTX management re: process update (.50); call
                                                   with FTX Europe personnel re: situation of FTX
                                                   Trading (.40); assess employment matter in Germany
                                                   (.30); correspondence with M. Birke re: same (.20).
03/22/2023 Frederic Wünsche                   0.80 Call with E. Simpson, A. Kranzley and M. Haase re:
                                                   update strategic alternatives (.30); call with E.
                                                   Simpson, O. de Vito Piscicelli, M. Haase, A&M and
                                                   FTX management re: process update (.50).
03/22/2023 Sarah Mishkin                      0.50 Correspondence with BVI counsel re: registered
                                                   agent.
03/23/2023 Max Birke                          0.40 Correspondence with internal team re: German and
                                                   Swiss issues.
03/23/2023 Stephen Ehrenberg                  1.10 Review draft response re: service provider to FTX
                                                   Europe (.40); correspondence with E. Simpson, T.
                                                   Hill, O. de Vito Piscicelli and B. Glueckstein re: UST
                                                   appeal of examiner decision (.70).
03/23/2023 Keiji Hatano                       0.30 Call with N. Mehta, S. Xiang, A&M and local counsel
                                                   re: analysis of FTX Japan.
03/23/2023 Brian Glueckstein                  7.40 Correspondence with S&C team re: Third Party
                                                   Exchange questions and response (.40);
                                                   correspondence with S&C team re: UST questions to
                                                   KERP (.30); correspondence with S&C team and
                                                   UST re: examiner certification motion issues (.30);
                                                   follow-up correspondence with S&C team re:
                                                   examiner certification issues (.70); draft and revise
                                                   emergent stipulation and related issues (4.1); draft and
                                                   revise letter re: FTX Europe IT dispute (1.2);
                                                   correspondence with E. Simpson re: FTX Europe
                                                   dispute (.30); correspondence with A. Kranzley re:
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                                                      same (.10).
03/23/2023 Evan Simpson                         1.90 Draft response to vendor matters at foreign debtor
                                                     (1.5); revise press release for foreign debtor (.40).
03/23/2023 Oderisio de Vito Piscicelli          1.90 Review and revise letter re: IT provider demand and
                                                     response (1.6); attention to emails re: cash transfers
                                                     (.10); review revised Cyprus press release (.10);
                                                     analyze issues re: disclosure of investigations (.10).
03/23/2023 Alexa Kranzley                       0.40 Call with A&M and S&C teams re: foreign debtor
                                                     wind down.
03/23/2023 Nirav Mehta                          0.50 Call with K. Hatano, S. Xiang, A&M and local
                                                     counsel re: analysis of FTX Japan (.30);
                                                     correspondence to M. Ansari, K. Hatano, K. Lim, E.
                                                     Levin and F. Weinberg Crocco re: FTX Japan IP
                                                     licensing (.20).
03/23/2023 Shihui Xiang                         0.30 Call with K. Hatano, N. Mehta, A&M and local
                                                     counsel re: analysis of FTX Japan.
03/23/2023 Michelle Vickers                     0.50 Review KWM comments on signature pages to HK
                                                     venture corporate documents; correspondence with S.
                                                     Li re: same.
03/23/2023 James Simpson                        1.90 Review documents re: Hong Kong director removal
                                                     process (.80); correspondence with S&C team re:
                                                     liquidator retention and confidentiality (.90); work on
                                                     Antigua counsel engagement letter questions (.20).
03/23/2023 Michael Haase                        1.00 Review, together with F. Wunsche, and comment on
                                                     contract re: German law aspects.
03/23/2023 Frederic Wünsche                     1.00 Review, together with M. Haase, and comment on
                                                     contract re: German law aspects.
03/24/2023 Max Birke                            0.70 Call with E. Simpson, O. de Vito Piscicelli, M. Wu
                                                     and A&M re: process update (.30); correspondence
                                                     with internal team re: German situation (.40).
03/24/2023 Keiji Hatano                         0.50 Correspondence with internal team re: investigation by
                                                     regulator.
03/24/2023 Christopher Howard                   2.90 Review summary judgment motion, declaration and
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                                                      expert opinion (2.7); call with H. Middledich re:
                                                      summary judgment motion (.20).
03/24/2023 Evan Simpson                         2.80 Review files re: vendor matter at foreign debtor (1.0);
                                                     coordinate workstreams and documentation re: foreign
                                                     debtor process (1.5); call with O. de Vito Piscicelli,
                                                     M. Birke, M. Wu and A&M re: process update (.30).
03/24/2023 Oderisio de Vito Piscicelli          2.10 Correspondence with A&M re: account balances
                                                     (.20); review and revise letter to regulator (.40);
                                                     attention to correspondence re: claims (.20); attention
                                                     to correspondence re: backup of IT information (.10);
                                                     correspondence with internal team re: pending
                                                     workstreams (.30); prepare for advisers call (.10);
                                                     review revised moratorium documents (.20); review
                                                     final AML report from A&M (.30); call with E.
                                                     Simpson, O. de Vito Piscicelli, M. Birke, M. Wu and
                                                     A&M re: process update (.30).
03/24/2023 Alexa Kranzley                       0.10 Coordinate on foreign debtor issues with internal team.
03/24/2023 Nirav Mehta                          0.80 Review proposed board resolutions re: FTX Japan
                                                     Holdings and FTX Japan (.50); correspondence to E.
                                                     Simpson and J. Simpson re: same (.30).
03/24/2023 Mimi Wu                              0.30 Call with E. Simpson, O. de Vito Piscicelli, M. Birke
                                                     and A&M re: process update.
03/24/2023 James Simpson                        1.10 Correspondence with J. Ray (FTX) re: FTX Japan
                                                     status (.30); correspondence with S&C team re:
                                                     South Korean entity status (.10); correspondence with
                                                     S&C team re: Hong Kong entity director removal
                                                     process (.20); correspondence with S&C team re:
                                                     local counsel retention (.20); review correspondence
                                                     with FTX Japan re: lease termination (.30).
03/24/2023 Hattie Middleditch                   2.00 Review summary judgment motion (1.0);
                                                     correspondence with L. Su re: summary judgment
                                                     motion (.20); call C. Howard re: same (.20);
                                                     correspondence to B. Glueckstein re: same (.30);
                                                     correspondence to D. Allison (South Square) re: same
                                                     (.30).
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03/24/2023 Fabio Weinberg Crocco          0.50 Review information sharing request re: FTX Japan.
03/25/2023 Keiji Hatano                   0.60 Review comments on wind-down presentation re:
                                               FTX Japan.
03/25/2023 Nirav Mehta                    0.40 Correspondence to A. Dietderich, K. Hatano, F.
                                               Weinberg Crocco and D. Hisarli re: purported
                                               Blockfolio user claims against FTX Japan.
03/26/2023 Keiji Hatano                   0.40 Correspondence with internal team re: Blackfolio
                                               contracts in Japan.
03/27/2023 Audra Cohen                    0.60 Call with E. Simpson, O. de Vito Piscicelli, M. Birke,
                                               T. Hill, M. Haase, F. Wunsche, A&M and FTX
                                               management re: process update.
03/27/2023 Craig Jones                    0.10 Email correspondence with E. Simpson and O. de
                                               Vito Piscicelli re: KYC Report for FTX Europe.
03/27/2023 Max Birke                      0.80 Call with E. Simpson, O. de Vito Piscicelli, A. Cohen,
                                               T. Hill, M. Haase, F. Wunsche, A&M and FTX
                                               management re: process update (.60);
                                               correspondence with internal team re: German
                                               transitions (.20).
03/27/2023 Keiji Hatano                   0.60 Call with M. Ansari, N. Mehta, F. Weinberg Crocco,
                                               K. Lim, E. Levin, D. Hisarli, H. Chambers (A&M),
                                               A. Mohammed (A&M), M. Flynn (A&M), K.
                                               Cofksy (PWP), N. Nussbaum (PWP) and G. Posess
                                               (PWP) re: IP licensing for FTX Japan.
03/27/2023 Christopher Howard             0.30 Correspondence with S&C team re: arranging
                                               conference with D. Allison (South Square) and
                                               distilling issues.
03/27/2023 Mehdi Ansari                   0.60 Call with K. Hatano, N. Mehta, F. Weinberg Crocco,
                                               K. Lim, E. Levin, D. Hisarli, H. Chambers (A&M),
                                               A. Mohammed (A&M), M. Flynn (A&M), K.
                                               Cofksy (PWP), N. Nussbaum (PWP) and G. Posess
                                               (PWP) re: IP licensing for FTX Japan.
03/27/2023 Evan Simpson                   2.40 Call with O. de Vito Piscicelli, T. Hill, FTX Europe
                                               management and advisors re: format of FTX Europe
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                                                      customer website (1.1); call with O. de Vito Piscicelli,
                                                      T. Hill, FTX Europe management and A&M re: FTX
                                                      Europe (.70); call with O. de Vito Piscicelli, A.
                                                      Cohen, M. Birke, T. Hill, M. Haase, F. Wunsche,
                                                      A&M and FTX management re: process update (.60).
03/27/2023 Oderisio de Vito Piscicelli          3.50 Prepare for several calls (.60); correspondence with
                                                     internal team re: final AML report (.10); review A&M
                                                     updated information re: calculation of balances (.40);
                                                     call with E. Simpson, A. Cohen, M. Birke, T. Hill, M.
                                                     Haase, F. Wunsche, A&M and FTX management re:
                                                     process update (.60); call with E. Simpson, T. Hill,
                                                     FTX Europe management and advisors re: format of
                                                     FTX Europe customer website (1.1); call with E.
                                                     Simpson, T. Hill, FTX Europe management and A&M
                                                     re: FTX Europe (.70).
03/27/2023 Alexa Kranzley                       0.80 Call with S&C and EY teams re: foreign debtor
                                                     matters (.40); work on related issues (.40).
03/27/2023 Nirav Mehta                          0.60 Call with K. Hatano, M. Ansari, F. Weinberg Crocco,
                                                     K. Lim, E. Levin, D. Hisarli, H. Chambers (A&M),
                                                     A. Mohammed (A&M), M. Flynn (A&M), K.
                                                     Cofksy (PWP), N. Nussbaum (PWP) and G. Posess
                                                     (PWP) re: IP licensing for FTX Japan.
03/27/2023 Tyler Hill                           2.40 Call with E. Simpson, O. de Vito Piscicelli, FTX
                                                     Europe management and advisors re: format of FTX
                                                     Europe customer website (1.1); call with E. Simpson,
                                                     O. de Vito Piscicelli, FTX Europe management and
                                                     A&M re: FTX Europe (.70); call with E. Simpson, O.
                                                     de Vito Piscicelli, A. Cohen, M. Birke, M. Haase, F.
                                                     Wunsche, A&M and FTX management re: process
                                                     update (.60).
03/27/2023 James Simpson                        3.20 Call with A. Courroy and local counsel re: answer to
                                                     open letter and regulatory matters (.20); review
                                                     correspondence and documents from Singapore local
                                                     counsel re: litigation and regulatory matters (.60);
                                                     correspondence with Indonesian counsel re: status of
                                                     entity (1.4); correspondence with S&C team re: KYC
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                                                     requests (.30); correspondence with A&M re:
                                                     corporate secretarial services in Hong Kong (.20);
                                                     correspondence with A&M re: banking authorizations
                                                     for European entities (.30); correspondence with K.
                                                     Schultea (RLKS) re: customer inquiries (.20).
03/27/2023 Michael Haase                       2.70 Call with F. Wuensche, Lenz, A&M and FTX Europe
                                                    AG management re: employment matters (.50);
                                                    follow-up call with F. Wuensche re: same (.10);
                                                    correspondence with F. Wunsche and FTX Europe
                                                    AG management re: employment matters (.20); call
                                                    with E. Simpson, O. de Vito Piscicelli, A. Cohen, M.
                                                    Birke, T. Hill, F. Wunsche, A&M and FTX
                                                    management re: process update (.60); draft email re:
                                                    employment matters (1.3).
03/27/2023 Hattie Middleditch                  0.70 Correspondence with S&C team re: FTX summary
                                                    judgment motion appendix (.40); coordinate call with
                                                    D. Allison (South Square) (.30).
03/27/2023 Fabio Weinberg Crocco               0.80 Call with K. Hatano, M. Ansari, N. Mehta, K. Lim,
                                                    E. Levin, D. Hisarli, H. Chambers (A&M), A.
                                                    Mohammed (A&M), M. Flynn (A&M), K. Cofksy
                                                    (PWP), N. Nussbaum (PWP) and G. Posess (PWP)
                                                    re: IP licensing for FTX Japan (.60); review email to
                                                    local counsel team re: same (.20).
03/27/2023 Frederic Wünsche                    2.70 Call with M. Haase, F. Wuensche, Lenz, A&M and
                                                    FTX Europe AG management re: employment matters
                                                    (.50); follow-up call with M. Haase re: same (.10);
                                                    correspondence with M. Haase and FTX Europe AG
                                                    management re: employment matters (.20); call with E.
                                                    Simpson, O. de Vito Piscicelli, A. Cohen, M. Birke,
                                                    T. Hill, M. Haase, A&M and FTX management re:
                                                    process update (.60); draft email re: employment
                                                    matters (1.3).
03/27/2023 KJ Lim                              0.60 Call with K. Hatano, M. Ansari, N. Mehta, F.
                                                    Weinberg Crocco, E. Levin, D. Hisarli, H. Chambers
                                                    (A&M), A. Mohammed (A&M), M. Flynn (A&M),
                                                    K. Cofksy (PWP), N. Nussbaum (PWP) and G.
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                                                      Posess (PWP) re: IP licensing for FTX Japan.
03/27/2023 Elizabeth Levin                      0.60 Call with K. Hatano, M. Ansari, N. Mehta, F.
                                                     Weinberg Crocco, K. Lim, D. Hisarli, H. Chambers
                                                     (A&M), A. Mohammed (A&M), M. Flynn (A&M),
                                                     K. Cofksy (PWP), N. Nussbaum (PWP) and G.
                                                     Posess (PWP) re: IP licensing for FTX Japan.
03/27/2023 Arthur Courroy                       0.20 Call with J. Simpson and local counsel re: answer to
                                                     open letter and regulatory matters.
03/27/2023 M. Devin Hisarli                     1.10 Call with K. Hatano, M. Ansari, N. Mehta, F.
                                                     Weinberg Crocco, K. Lim, E. Levin, H. Chambers
                                                     (A&M), A. Mohammed (A&M), M. Flynn (A&M),
                                                     K. Cofksy (PWP), N. Nussbaum (PWP) and G.
                                                     Posess (PWP) re: IP licensing for FTX Japan (.60);
                                                     draft emails to Japanese counsel re: same (.50).
03/27/2023 Tillmann Dehner                      3.00 Research German law re: FTX Trading GmbH.
03/28/2023 Andrew Dietderich                    0.60 Review and comment on slides for FTX Europe.
03/28/2023 Max Birke                            0.40 Correpondence with internal team re: employment at
                                                     European entities.
03/28/2023 Stephen Ehrenberg                    0.20 Review local counsel's draft letter to PD Legal re:
                                                     order against certain wallets.
03/28/2023 Keiji Hatano                         0.40 Review email re: IP used by FTX Japan.
03/28/2023 Christopher Howard                   2.00 Prepare for call with D. Allison (South Square) re:
                                                     summary judgment motion (.50); call with D. Allison
                                                     (South Square), L. Su and H. Middleditch re:
                                                     summary judgment motion (1.5).
03/28/2023 Evan Simpson                         1.00 Meeting with O. de Vito Piscicelli, T. Hill and A&M
                                                     re: FTX Europe workstreams (partial attendance).
03/28/2023 Oderisio de Vito Piscicelli          4.00 Review and comment on text of website and FAQ
                                                     (1.4); correspondence with Cyprus counsel, S&C
                                                     team and FTX management re: same (.30); review
                                                     regulator comments on press release (.40);
                                                     correspondence with S&C team re: Europe updates
                                                     (.20); correspondence with Lenz and S&C teams re:
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                                                     moratorium process (.20); discussion with E.
                                                     Simpson, T. Hill, A&M and FTX Europe management
                                                     to walk through website (.40); meeting with E.
                                                     Simpson, T. Hill and A&M re: FTX Europe
                                                     workstreams (1.1).
03/28/2023 Lester Su                           1.50 Call with D. Allison (South Square), C. Howard and
                                                    H. Middleditch re: summary judgment motion.
03/28/2023 Nirav Mehta                         0.40 Call with J. Simpson, FTX Japan and A&M re: status
                                                    of APAC workstreams.
03/28/2023 Tyler Hill                          1.50 Discussion with E. Simpson, O. de Vito Piscicelli,
                                                    A&M and FTX Europe management to walk through
                                                    website (.40); meeting with O. de Vito Piscicelli, E.
                                                    Simpson and A&M re: FTX Europe workstreams
                                                    (1.1).
03/28/2023 James Simpson                       3.20 Call with N. Mehta, FTX Japan and A&M re: status
                                                    of APAC workstreams (.40); review correspondence
                                                    with FTX Japan re: prepetition claims and related
                                                    mattters (1.1); review and comment on
                                                    litigation-related documents and correspondence for
                                                    Singapore entity (.40); correspondence with S&C
                                                    team re: Hong Kong director change process (.90);
                                                    correspondence with S&C team re: Japan lease
                                                    termination (.40).
03/28/2023 Michael Haase                       1.50 Correspondence with E. Simpson re: status of funding
                                                    for German employees and transfer to FTX Europe
                                                    AG (.10); call with F. Wunsche re: employment
                                                    matters (.50); call with F. Wünsche and local counsel
                                                    re: employment matters (.40); call with F. Wünsche
                                                    and FTX Europe AG board member re: German
                                                    status update (.30); call with FTX Europe personnel
                                                    re: employment matters (.20).
03/28/2023 Hattie Middleditch                  1.70 Call with D. Allison (South Square), C. Howard and
                                                    L. Su re: summary judgment motion (1.5); work on
                                                    summary judgment appendix (.20).
03/28/2023 Frederic Wünsche                    1.30 Correspondence with E. Simpson re: status of funding
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                                                      for German employees and transfer to FTX Europe
                                                      AG (.10); call with M. Haase re: employment matters
                                                      (.50); call with M. Haase and local counsel re:
                                                      employment matters (.40); call with M. Haase and
                                                      FTX Europe AG board member re: German status
                                                      update (.30).
03/28/2023 Sarah Mishkin                        1.90 Correspondence with BVI counsel re: agent
                                                     appointments (.50); correspondence with internal team
                                                     re: invoices (.40); correspondence with internal team
                                                     re: Canada matter (.20); correspondence with M.
                                                     Cilia (RLKS) re: invoices and drafting of related letter
                                                     re: payments (.80).
03/28/2023 Elizabeth Levin                      1.80 Review key considerations for intercompany licensing
                                                     re: FTX Japan.
03/28/2023 Arthur Courroy                       0.30 Incorporate comments from J. Simpson to open letter
                                                     from Singapore counsel.
03/28/2023 Aneesa Mazumdar                      0.50 Research re: FTX Europe.
03/29/2023 Max Birke                            0.80 Correspondence with internal team re: German
                                                     employment issues (.30); review emails re:
                                                     appointment of managing director (.50).
03/29/2023 Keiji Hatano                         0.40 Correspondence with internal team re: Kroll response
                                                     to users related to FTX Japan.
03/29/2023 Christopher Howard                   1.20 Calls with clerk to Lord Neuberger re: delivery of
                                                     expert evidence and appointment as English law
                                                     expert (.70); correspondence with S&C team and D.
                                                     Allison (South Square) re: summary judgment (.30);
                                                     call with H. Middleditch re: English law evidence
                                                     (.20).
03/29/2023 Oderisio de Vito Piscicelli          3.10 Review and comment on email to EU clients (.50);
                                                     communications with internal team re: moratorium
                                                     (.20); correspondence with advisers re: status update
                                                     (.30); correspondence with S&C team and advisers
                                                     re: financial statements (.20); review and comment on
                                                     revised website (.80); review financial statements
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                                Project: 00041 - FOREIGN DEBTOR MATTERS

Date        Name                              Hours Description

                                                     (.20); correspondence with internal team re: Cyprus
                                                     notice of extension (.20); work on press release re:
                                                     return of funds (.30); call with A&M re: status update
                                                     (.40).
03/29/2023 Nirav Mehta                         1.40 Attend FTX Japan Holdings/FTX Japan board
                                                    meetings (1.2); email correspondence to FTX Japan
                                                    re: Blockfolio information reporting order from
                                                    regulator (.20).
03/29/2023 Mimi Wu                             0.30 Correspondence with S&C team, FTX Europe
                                                    management and A&M re: process update.
03/29/2023 Tyler Hill                          1.70 Correspondence with internal team re: FTX Europe
                                                    AG board and moratorium (.50); review FTX Europe
                                                    customer website (.60); review press release re: FTX
                                                    Europe customer withdrawal (.60).
03/29/2023 James Simpson                       1.30 Correspondence with S&C team and local counsel re:
                                                    Japan lease resolution (.30); correspondence with
                                                    FTX Japan personnel re: relevant third party
                                                    agreement (.30); brief review of same (.20);
                                                    correspondence with S&C team re: Singapore
                                                    litigation (.20); review liquidator NDA comments
                                                    (.30).
03/29/2023 Michael Haase                       6.10 Correspondence with E. Simpson and F. Wuensche
                                                    re: FTX Trading GmbH (.20); review email from M.
                                                    Cilia (RLKS) re: authorized signatories of German
                                                    FTX entity re: bank accounts (.10); draft letter,
                                                    together with F. Wunsche, to counsel for managing
                                                    director of FTX Trading GmbH re: service relationship
                                                    (4.7); call with F. Wunsche and FTX Europe
                                                    personnel re: same (.50); discussion with F. Wunsche
                                                    re: next steps (.20); correspondence with FTX Europe
                                                    personnel re: next steps (.20); review questions by
                                                    FTX Europe personnel (.20).
03/29/2023 Hattie Middleditch                  0.20 Call with C. Howard re: English law evidence.
03/29/2023 Frederic Wünsche                    5.70 Correspondence with E. Simpson and M. Haase re:
                                                    FTX Trading GmbH (.20); review email from M. Cilia
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Date         Name                             Hours Description

                                                      (RLKS) re: authorized signatories of German FTX
                                                      entity re: bank accounts (.10); draft letter, together
                                                      with M. Haase, to counsel for managing director of
                                                      FTX Trading GmbH re: service relationship (4.7); call
                                                      with F. Wunsche, M. Haase and FTX Europe
                                                      personnel re: same (.50); discussion with M. Haase re:
                                                      next steps (.20).
03/29/2023 M. Devin Hisarli                     2.60 Review correspondence re: Kroll communication to
                                                     FTX Japan users (.20); correspondence with F.
                                                     Weinberg Crocco re: document request by FTX
                                                     Japan personnel (.10); review agreement provisions
                                                     re: FTX Japan personnel (2.0); correspondence with
                                                     F. Weinberg Crocco and N. Mehta re: same (.30).
03/30/2023 Max Birke                            0.80 Correspondence with internal team re: German law.
03/30/2023 Keiji Hatano                         0.30 Correspondence with internal team re: Blockfolio
                                                     contracts related to FTX Japan.
03/30/2023 Evan Simpson                         2.70 Discussion with O. de Vito Piscicelli, T. Hill, A&M
                                                     and FTX Europe management to walk through
                                                     website (.40); meeting with O. de Vito Piscicelli, T.
                                                     Hill and A&M re: FTX Europe workstreams (1.1);
                                                     call with F. Weinberg Crocco re: intercompany
                                                     documents relating to FTX Japan (.20); work on
                                                     press release for foreign debtor (1.0).
03/30/2023 Oderisio de Vito Piscicelli          5.00 Review re: forensic data work (.20); work on press
                                                     release re: return of funds (1.7); review and comment
                                                     on financial statements of FTX Europe (.50); work on
                                                     website re: return of funds (1.2); review
                                                     correspondence re: court filing of balances (.30);
                                                     meeting with E. Simpson, T. Hill and A&M re: FTX
                                                     Europe workstreams (1.1).
03/30/2023 Nirav Mehta                          0.30 Correspondence to F. Weinberg Crocco and D.
                                                     Hisarli re: Blockfolio customers in Japan.
03/30/2023 Tyler Hill                           1.80 Correspondence with S&C team re: workstream
                                                     status (.30); meeting with O. de Vito Piscicelli, E.
                                                     Simpson and A&M re: FTX Europe workstreams
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Date        Name                            Hours Description

                                                   (1.1); work on press release re: FTX Europe (.40).
03/30/2023 Michael Haase                     6.20 Call with F. Wuensche and Lenz re: power of
                                                  representation for FTX Europe AG (.40); review
                                                  email of FTX Trading GmbH re: employment matter
                                                  (.30); draft email to. E Simpson re: letter of
                                                  employment counsel (.20); call with F. Wunsche,
                                                  A&M and FTX Europe management re: FTX Europe
                                                  Ltd (Cyprus) (.90); correspondence to S&C London
                                                  team re: debrief on FTX Europe Ltd (.30); review
                                                  letter from counsel of former managing director of
                                                  FTX Trading GmbH (.30); draft response letter to
                                                  said counsel (1.2); draft agreement re: FTX Trading
                                                  GmbH (1.5); review and comment on application to
                                                  commercial register to register changes of FTX
                                                  Trading GmbH (.20); draft email to FTX Europe
                                                  personnel re: final draft of agreements and signing
                                                  instructions (.40); call with FTX Europe personnel re:
                                                  same (.40); call with FTX Europe personnel re:
                                                  execution of documents (.10).
03/30/2023 Fabio Weinberg Crocco             3.20 Call with D. Hisarli and FTX Japan personnel re:
                                                  custodial services agreement (.50); revise draft of
                                                  custodial services agreement (.70); correspondence to
                                                  S&C team re: same (.60); correspondence to J. Ray
                                                  (FTX) re: same (.50); call with E. Simpson re:
                                                  intercompany documents relating to FTX Japan (.20);
                                                  correspondence with D. Hariton re: same (.10);
                                                  review intercompany documents and related
                                                  correspondence re: FTX Japan (.60).
03/30/2023 Frederic Wünsche                  5.70 Call with M. Haase and Lenz teams re: power of
                                                  representation for FTX Europe AG (.40); review
                                                  email of FTX Trading GmbH re: employment matter
                                                  (.30); draft email to. E Simpson re: letter of
                                                  employment counsel (.20); call with M. Haase, A&M
                                                  and FTX Europe management re: FTX Europe Ltd
                                                  (Cyprus) (.90); correspondence to S&C London
                                                  team re: debrief on FTX Europe Ltd (.30); review
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Date         Name                             Hours Description

                                                      letter from counsel of former managing director of
                                                      FTX Trading GmbH (.30); draft response letter to
                                                      said counsel (1.2); draft agreement re: FTX Trading
                                                      GmbH (1.5); review and comment on application to
                                                      commercial register to register changes of FTX
                                                      Trading GmbH (.20); draft email to FTX Europe
                                                      personnel re: final draft of agreements and signing
                                                      instructions (.40).
03/30/2023 Sarah Mishkin                        0.50 Revise BVI affidavit.
03/30/2023 M. Devin Hisarli                     2.50 Call with F. Weinberg Crocco and FTX Japan
                                                     personnel re: custodial services agreement (.50); make
                                                     edits to same (.40); incorporate comments from F.
                                                     Weinberg Crocco to same (.40); review agreements
                                                     re: FTX Japan personnel (1.2).
03/31/2023 Max Birke                            0.60 Correspondence with advisors re: Europe update
                                                     (.20); review emails re: same (.40).
03/31/2023 Christopher Howard                   1.00 Plan for UK expert witness process (.70);
                                                     correspondence with A. Dietderich, B. Glueckstein
                                                     and J. Bromley re: same (.30).
03/31/2023 Evan Simpson                         2.90 Call with FTX and A&M re: foreign debtor balance
                                                     sheet (.50); correspondence with local counsel re:
                                                     strategic alternatives (.40); call with O. de Vito
                                                     Piscicelli, T. Hill and local counsel re: press release
                                                     (.40); draft press release and other public
                                                     communications for foreign debtor (.30);
                                                     correspondence with S&C team re: foreign debtor
                                                     lease termination matters (.30); call with O. de Vito
                                                     Piscicelli, T. Hill and FTX Europe management re:
                                                     open workstreams (.40); review documents re: foreign
                                                     debtor bank account matters (.60).
03/31/2023 Oderisio de Vito Piscicelli          4.70 Work on communications matters re: balances (2.8);
                                                     call with E. Simpson, T. Hill and local counsel re:
                                                     press release (.40) correspondence with S&C team
                                                     re: FTX_Equity (.30); draft note to Cyprus and Swiss
                                                     counsel re: potential restructuring transaction (.40);
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Date        Name                            Hours Description

                                                   attention to emails re: employment matters (.10); call
                                                   with E. Simpson, T. Hill and FTX Europe
                                                   management re: open workstreams (.40); call with T.
                                                   Hill, M. Haase, F. Wunsche, A&M and FTX
                                                   management re: process update (.30).
03/31/2023 Nirav Mehta                       0.10 Correspondence to S. Mishkin re: signatures on
                                                  shareholder resolutions for FTX Japan Holdings.
03/31/2023 Tyler Hill                        2.80 Call with E. Simpson, O. de Vito Piscicelli and FTX
                                                  Europe management re: open workstreams (.40); call
                                                  with O. de Vito Piscicelli, M. Haase, F. Wunsche,
                                                  A&M and FTX management re: process update (.30);
                                                  call with E. Simpson, O. de Vito Piscicelli and local
                                                  counsel re: press release (.40); draft disclaimers re:
                                                  FTX Europe customer withdrawal website (1.7).
03/31/2023 Michael Haase                     4.90 Research legal arguments re: contract issues (.50);
                                                  review emails from FTX management re: authorized
                                                  signatories for German bank accounts (.40); review
                                                  emails from FTX Europe management re: change of
                                                  business address of FTX Trading GmbH (.30); call
                                                  with O. de Vito Piscicelli, T. Hill, F. Wunsche, A&M
                                                  and FTX management re: process update (.30);
                                                  review and mark-up of letter to labor court re:
                                                  employment matter (.80); review and comment on
                                                  letter to labor court (.90); draft letter to FTX Trading
                                                  GmbH's local employment counsel (1.2); call with J.
                                                  Lubsczyk (A&M) re: cash flow forecast of FTX
                                                  Trading GmbH (.10); call with FTX Europe personnel
                                                  re: next steps (.40).
03/31/2023 Julie Kapoor                      0.20 Correspondence with S&C team re: FTX Europe
                                                  customer inquiries.
03/31/2023 Frederic Wünsche                  4.00 Research legal arguments re: contract issues (.50);
                                                  review emails from FTX management re: authorized
                                                  signatories for German bank accounts (.40); review
                                                  emails from FTX Europe management re: change of
                                                  business address of FTX Trading GmbH (.30); call
                                                  with O. de Vito Piscicelli, T. Hill, M. Haase, A&M
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                             Project: 00041 - FOREIGN DEBTOR MATTERS

Date        Name                           Hours Description

                                                    and FTX management re: process update (.30);
                                                    review and comment on letter to labor court (.50);
                                                    review and analyze draft agreements (.50); draft letter
                                                    to FTX Trading GmbH's local employment counsel
                                                    (1.5).
03/31/2023 Sarah Mishkin                     0.30 Progress BVI agent changes.
03/31/2023 Tillmann Dehner                   7.80 Draft a pleading to a German court re: FTX Trading
                                                  GmbH issues (4.3); research legal arguments for and
                                                  against claims in the pleading (3.5).

Total                                      437.30
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                   Project: 00042 - COORDINATION WITH FOREIGN PROCEEDINGS

Date        Name                         Hours Description

03/02/2023 James Simpson                  1.30 Correspondence with J. Ray (FTX) re: NDA with
                                               Australian administrators (1.0); finalize same NDA
                                               (.30).
03/03/2023 James Simpson                  0.90 Coordinate information sharing process with
                                               Australian administrators (.30); compile fully executed
                                               Australian administrator NDA (.10); review local
                                               counsel bills (.50).
03/06/2023 Chris Beatty                   0.20 Call with W. Jones, E. Simpson, J. Simpson and
                                               representatives of Clayton Utz, KordaMentha and
                                               Piper Alderman re: status of Chapter 11 and
                                               Australian administration proceedings.
03/06/2023 Waldo Jones Jr.                0.20 Meeting with C. Beatty, E. Simpson, J. Simpson and
                                               representatives of Clayton Utz, KordaMentha and
                                               Piper Alderman re: status of Chapter 11 and
                                               Australian administration proceedings.
03/06/2023 Evan Simpson                   0.20 Call with W. Jones, C. Beatty, J. Simpson and
                                               representatives of Clayton Utz, KordaMentha and
                                               Piper Alderman re: status of Chapter 11 and
                                               Australian administration proceedings
03/06/2023 James Simpson                  0.40 Call with W. Jones, E. Simpson, C. Beatty and
                                               representatives of Clayton Utz, KordaMentha and
                                               Piper Alderman re: status of Chapter 11 and
                                               Australian administration proceedings (.20);
                                               coordinate information sharing call with A&M and
                                               representatives of the Australian administrators (.20).
03/07/2023 Chris Beatty                   0.60 Draft emails re: KordaMentha questions (.20); review
                                               deck re: same (.40).
03/07/2023 Sarah Mishkin                  1.10 Correspondence with internal team re: payment of
                                               Antigua invoices (.60); review organizational
                                               documents for Antigua entities (.30); review response
                                               to Canadian counsel (.20).
03/13/2023 Chris Beatty                   0.60 Coordination of Australian customer queries and
                                               correspondence with S&C and A&M teams re: same
                                               (.40); call with W. Jones, E. Simpson, J. Simpson,
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                   Project: 00042 - COORDINATION WITH FOREIGN PROCEEDINGS

Date        Name                         Hours Description

                                                Clayton Utz, KordaMentha and Piper Alderman re:
                                                status of Chapter 11 and Australian administration
                                                proceedings (.20).
03/13/2023 Waldo Jones Jr.                0.20 Meeting with C. Beatty, E. Simpson, J. Simpson,
                                               Clayton Utz, KordaMentha and Piper Alderman re:
                                               status of Chapter 11 and Australian administration
                                               proceedings.
03/13/2023 Evan Simpson                   0.20 Call with W. Jones, C. Beatty, J. Simpson, Clayton
                                               Utz, KordaMentha and Piper Alderman re: status of
                                               Chapter 11 and Australian administration proceedings.
03/13/2023 James Simpson                  0.20 Call with W. Jones, C. Beatty, E. Simpson, Clayton
                                               Utz, KordaMentha and Piper Alderman re: status of
                                               Chapter 11 and Australian administration proceedings.
03/13/2023 Joshua Hardin                  1.60 Review Morgan Lewis retention application for
                                               Emergent.
03/14/2023 Brian Glueckstein              2.50 Review documents and prepare for Emergent MTD
                                               hearing.
03/16/2023 Brian Glueckstein              0.80 Review and analyze correspondence re: Australia
                                               proceedings.
03/17/2023 Chris Beatty                   1.00 Review re: KordaMentha announcement (.80);
                                               correspondence with S&C team re: same (.20).
03/20/2023 Chris Beatty                   0.30 Review re: KordaMentha announcement (.10); call
                                               with Piper Alderman re: same (.20).
03/22/2023 Chris Beatty                   0.30 Weekly call with KordaMentha.
03/23/2023 Chris Beatty                   1.50 Call with counsel re: recognition and background
                                               (1.0); correspondence with S&C re: KordaMentha
                                               questions (.50).
03/27/2023 Brian Glueckstein              3.30 Correspondence with A. Kranzley re: UST exclusivity
                                               issues and follow-up (.60); correspondence with A.
                                               Dietderich re: exclusivity questions (.30); draft and
                                               revise relevant third party turnover motion and related
                                               (2.2); review correspondence re: Emergent stipulation
                                               issues (.20).
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                   Project: 00042 - COORDINATION WITH FOREIGN PROCEEDINGS

Date        Name                         Hours Description
03/27/2023 Chris Beatty                   0.20 Correspondence with KordaMentha re: coordination.
03/27/2023 Michelle Vickers               0.20 Call with J. Simpson, Clayton Utz, KordaMentha and
                                               Piper Alderman re: status of Chapter 11 and
                                               Australian administration proceedings.
03/27/2023 James Simpson                  0.20 Call with M. Vickers, Clayton Utz, KordaMentha and
                                               Piper Alderman re: status of Chapter 11 and
                                               Australian administration proceedings.

Total                                    18.00
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                    Project: 00043 - COORDINATION IN OTHER BANKRUPTCIES

Date        Name                        Hours Description

03/01/2023 Andrew Dietderich             1.00 Call with Morgan Lewis team and B. Glueckstein re:
                                              Emergent bankruptcy (.50); review Voyager docket
                                              filings re: plan and merits of objections (.40); review
                                              correspondence re: relevant third party (.10).
03/01/2023 Brian Glueckstein             4.20 Draft and further revise protective order and related
                                              (.80); draft and revise opposition to relevant third
                                              party motion to dismiss Emergent and related issues
                                              (3.4).
03/01/2023 Matthew Porpora               0.90 Review Emergent's draft opposition to relevant third
                                              party's motion to dismiss Emergent's chapter 11 case
                                              (.50); correspondence with B. Glueckstein re: same
                                              (.10); correspondence with B. Glueckstein re: FTX
                                              Debtors' draft opposition to relevant third party's
                                              motion to dismiss Emergent's chapter 11 case and
                                              next steps (.30).
03/01/2023 Benjamin Beller               4.30 Review materials re: Voyager Plan (1.0); review and
                                              revise re: amended Voyager complaint and related
                                              follow up (3.3).
03/01/2023 Marc-André Cyr                0.90 Correspondence with internal team re: complaint
                                              (.10), review of relevant case law (.10);
                                              correspondence with Alix re: Voyager (.10);
                                              correspondence with LRC re: motion to shorten the
                                              notice (.10); review re: draft of Exhibits to complaint
                                              (.10); review re: complaint (.40).
03/01/2023 Christopher Weldon            0.10 Correspondence with B. Glueckstein, M. Porpora, S.
                                              Mehta, I. Foote and E. Loh re: opposition to relevant
                                              third party motion to dismiss.
03/01/2023 Sienna Liu                    1.70 Revision re: complaint against Voyager (.70); revision
                                              re: summary of withdrawals as Exhibit B
                                              accompanying the amended 547 preference complaint
                                              against Voyager (1.0).
03/01/2023 Isaac Foote                   0.80 Cite check re: opposition to relevant third party
                                              motion to dismiss Emergent chapter 11 proceeding.
03/01/2023 Esther Loh                    0.60 Cite check re: opposition to relevant third party's
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                    Project: 00043 - COORDINATION IN OTHER BANKRUPTCIES

Date        Name                        Hours Description

                                               motion to dismiss Emergent Chapter 11 proceeding
                                               (.30); review re: Emergent's draft motion to dismiss
                                               Chapter 11 proceeding and complaint (.30).
03/01/2023 Adam Toobin                   2.10 Research re: bankruptcy issues.
03/02/2023 Andrew Dietderich             1.70 Review and comment re: Emergent filing (.60); call
                                              with B. Glueckstein re: Voyager litigation issues and
                                              amended complaint (.40); correspondence with J.
                                              Sussberg (Kirkland) re: Voyager mediation options
                                              (.30); review and comment re: amended complaint
                                              (.20); correspondence with B. Glueckstein and B.
                                              Beller re: same (.20).
03/02/2023 Brian Glueckstein             7.00 Correspondence with A. Dietderich and B. Beller re:
                                              Voyager litigation matters (.70); review and revise re:
                                              Voyager amended complaint and related issues (2.1);
                                              call with A. Dietderich re: Voyager litigation issues and
                                              amended complaint (.40); draft, revise and finalize
                                              opposition to relevant third party motion to dismiss
                                              Emergent case (3.8).
03/02/2023 Matthew Porpora               0.80 Review re: changes to opposition to relevant third
                                              party's motion to dismiss Emergent bankruptcy case
                                              (.70); correspondence with B. Glueckstein and
                                              internal team re: same (.10).
03/02/2023 James Bromley                 1.10 Correspondence with B. Glueckstein and A.
                                              Dietderich re: Voyager issues (.30); review materials
                                              re: same (.50); call with A. Dietderich re: same (.30).
03/02/2023 Benjamin Beller               8.50 Attend Voyager confirmation hearing (7.0); revision
                                              re: amended Voyager complaint (1.0); coordinate
                                              filing (.50).
03/02/2023 Suniti Mehta                  0.40 Review re: revised brief in support of Emergent
                                              opposition.
03/02/2023 Marc-André Cyr                0.90 Correspondence with internal team re: Voyager
                                              confirmation hearing (.10); Voyager's motion for entry
                                              of an order approving joint stipulation (.10);
                                              correspondence with internal team re: bankruptcy
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                    Project: 00043 - COORDINATION IN OTHER BANKRUPTCIES

Date        Name                        Hours Description

                                               research (.10); correspondence with Alix re: Voyager
                                               (.10); correspondence with Kirkland & Ellis re:
                                               mediation and negotiation of a litigation schedule (.10);
                                               correspondence with B. Beller re: complaint (.10);
                                               correspondence with S. Liu re: latest edits to
                                               complaint (.20); review re: exhibits to complaint (.10).
03/02/2023 Christopher Weldon            2.10 Revise re: opposition to relevant third party motion to
                                              dismiss (1.4); review re: Emergent opposition to
                                              relevant third party motion to dismiss (.70).
03/02/2023 Sienna Liu                    1.80 Revising complaint against Voyager (1.10); revising
                                              exhibits re: same (.70).
03/02/2023 Isaac Foote                   1.20 Implement edits from E. Loh on memorandum
                                              discussing re: property questions (.50); review re: ir re
                                              allco and accompanying materials shared by internal
                                              team (.30); call with A. Kaufman re: memorandum re:
                                              property questions (.40).
03/03/2023 Brian Glueckstein             4.90 Call with A. Dietderich and Ad Hoc FTX.com group
                                              (.40); call with J. Bromley re: litigation and follow-up
                                              (.70); correspondence re: same (.80); call with A.
                                              Dietderich re: Voyager litigation issues (.30); analyze
                                              and develop Voyager litigation strategies and
                                              follow-up (1.6); analysis and work re: Emergent
                                              bankruptcy motion to dismiss issues (1.1).
03/03/2023 James Bromley                 1.30 Correspondence with DOJ re: other cases (.20); call
                                              with DOJ and B. Glueckstein re: same (.80);
                                              correspondence with B. Glueckstein and A.
                                              Dietderich re: same (.30).
03/03/2023 Benjamin Beller               7.50 Attend Voyager confirmation hearing.
03/03/2023 Marc-André Cyr                0.10 Correspondence with Kirkland and Ellis re: Alameda
                                              and FTX's complaint.
03/03/2023 Isaac Foote                   1.30 Implement edits from A. Kaufman to memorandum re:
                                              property rights (.30); review re: filed versions of FTX
                                              & Emergent oppositions to relevant third party motion
                                              to dismiss Chapter 11 proceeding and accompanying
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Date        Name                        Hours Description

                                               documents (.50); implementing edits from M. Devlin
                                               and internal team re: memorandum re: property rights
                                               (.50).
03/05/2023 Andrew Dietderich             3.00 Review re: financial materials (.30); call with Alix re:
                                              relevant third party preferences (1.1); review and
                                              revise re: relevant third party stay lift motion (1.6).
03/05/2023 Christopher Weldon            0.10 Correspondence with M. Porpora and S. Mehta re:
                                              relevant third party motion to dismiss.
03/06/2023 Andrew Dietderich             0.60 Call with Morgan Lewis team re: Emergent filing.
03/06/2023 Brian Glueckstein             4.40 Review and analyze Emergent correspondence and
                                              DOJ stipulation (1.0); correspondence re: Voyager
                                              litigation issues (.20); call with Emergent counsel re:
                                              DOJ and relevant third party issues (.50); follow up
                                              correspondence with A. Dietderich and J. Bromley re:
                                              Emergent strategy issues (.50); call with relevant
                                              advisors (.30); review and analyze relevant third party
                                              claims information (.60); review and comment re: draft
                                              relevant third party stay relief motion (1.3).
03/06/2023 James Bromley                 0.90 Correspondence with DOJ, A. Dietderich, R. Cohen
                                              and B. Glueckstein re: bankruptcies (.60); review
                                              materials re: same (.30).
03/06/2023 Benjamin Beller               7.00 Attend Voyager confirmation hearing.
03/07/2023 Andrew Dietderich             1.30 Attention to Voyager confirmation hearing and related
                                              matters (.40); call with S. Fulton re: JPL reservation of
                                              rights re: Voyager stipulation (.20); correspondence
                                              with DOJ and B. Glueckstein re: issues re: relevant
                                              third party stock (.70).
03/07/2023 Brian Glueckstein             5.40 Correspondence with A. Dietderich, J. Bromley and
                                              DOJ team re: Emergent stipulation and litigation
                                              matters (.80); follow-up correspondence with A.
                                              Dietderich re: same (.30); revision re: finalize
                                              protective order (.60); correspondence with B. Beller
                                              re: Voyager litigation (.30); call with S. Levin re:
                                              Emergent and DOJ issues and follow-up (.50); review
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                    Project: 00043 - COORDINATION IN OTHER BANKRUPTCIES

Date        Name                        Hours Description

                                               and analyze re: Joint Provisional Liquidators' filing re:
                                               Voyager settlement (.70); correspondence with A.
                                               Dietderich and B. Beller re: same (.80); work to
                                               resolve Joint Provisional Liquidators' pleading re:
                                               Voyager settlement and related (1.4).
03/07/2023 Benjamin Beller               4.30 Attend Voyager Confirmation Hearing (2.0);
                                              correspondence re: Voyager stipulation (1.0); review
                                              re: objection to Voyager 9019 motion (1.0); internal
                                              correspondence re: same (.30).
03/07/2023 Marc-André Cyr                0.10 Correspondence with LRC re: serving the amended
                                              complaint on Voyager.
03/07/2023 Sean Fulton                   0.50 Call with A. Dietderich re: JPL reservation of rights re:
                                              Voyager stipulation (.20); call with C. Mark and E.
                                              Shehada re: FTX DM’s reservation of rights on
                                              Voyager stipulation (.30).
03/07/2023 Christopher Weldon            0.10 Review re: relevant third party limited objection to
                                              joint administration motion.
03/07/2023 Colin Mark                    2.30 Call with E. Shehada re: FTX DM’s reservation of
                                              rights on Voyager stipulation (.50); call with S. Fulton
                                              and E. Shehada re: FTX DM’s reservation of rights on
                                              Voyager stipulation (.30); research re: Reservation of
                                              Rights of Joint Provisional Liquidators (1.5).
03/07/2023 Emile Shehada                 5.50 Call with S. Fulton and C. Mark re: FTX DM’s
                                              reservation of rights on Voyager stipulation (.30); call
                                              with C. Mark re: FTX DM’s reservation of rights on
                                              Voyager stipulation (.50); research re: FTX DM's
                                              Voyager reservation of rights (3.6); review of
                                              cooperation agreement (1.1).
03/08/2023 Stephanie Wheeler             0.10 Correspondence with J. Croke re: Joint Provisional
                                              Liquidators' objection in Voyager.
03/08/2023 Andrew Dietderich             0.40 Review re: Voyager confirmation order (.20);
                                              correspondence with C. Jensen re: relevant third party
                                              issue (.20).
03/08/2023 Brian Glueckstein             4.20 Review re: property rights research (.60); review re:
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                                               potential valuation experts (1.1); correspondence with
                                               J. Bromley re: same (.20); correspondence with A.
                                               Dietderich re: Voyager litigation strategy issues (.30);
                                               call with relevant consultant and J. Bromley re:
                                               potential experts (.80); follow-up discussion with J.
                                               Bromley re: same (.30); Voyager settlement approval
                                               issues and related (.50); review and respond to TRO
                                               re: assets (.40).
03/08/2023 Benjamin Beller               0.80 Correspondence re: Voyager confirmation order.
03/08/2023 Sean Fulton                   2.60 Review re: research re property rights of agents (2.3);
                                              call with E. Shehada and C. Mark re: FTX DM’s
                                              reservation of rights on Voyager stipulation (.30).
03/08/2023 Emile Shehada                 3.20 Call with S. Fulton re: FTX DM’s reservation of rights
                                              on Voyager stipulation (.30); research re: FTX DM's
                                              Voyager reservation of rights (2.9).
03/09/2023 Brian Glueckstein             6.80 Review documents and consider response re: relevant
                                              third party issues (.40); respond to TRO letter and
                                              follow-up correspondence (.40); review and finalize
                                              common interest agreement with UCC (1.1); call with
                                              J. Bromley and internal team re: potential experts
                                              (.80); follow up meeting with J. Bromley re: same
                                              (.40); review re: relevant third party motion to strike
                                              (.80); respond to motion to shorten re: relevant third
                                              party (.80); call with M. Porpora re: relevant third
                                              party motion issues (.50); work on Emergent motion
                                              to strike and motion to dismiss strategy issues (1.6).
03/09/2023 Matthew Porpora               0.60 Review correspondence from relevant third party
                                              counsel re: Emergent's chapter 11 case (.10); call with
                                              B. Glueckstein relevant third party motion issues (.50).
03/09/2023 Suniti Mehta                  0.30 Review re: relevant third party's motion to strike
                                              opposition to motion to dismiss.
03/09/2023 Christopher Weldon            1.60 Review re: order in relevant third party adversary
                                              proceeding (.10); correspondence with B.
                                              Glueckstein, M. Porpora, S. Mehta, I. Foote and E.
                                              Loh re: response to relevant third party motion to
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                                               strike (.20); review re: Emergent asset schedules
                                               (.20); review re: relevant third party motion to strike
                                               (.40); review re: relevant third party motion to shorten
                                               (.20); review re: relevant third party motion to dismiss
                                               reply (.50).
03/09/2023 Isaac Foote                   4.10 Review internal correspondence re: announcement
                                              from relevant third party are: motion to strike the FTX
                                              Debtors' opposition motion to dismiss (.40); review
                                              internal correspondence re: potential customer claims
                                              (.20); review re: relevant third party motion to strike
                                              and motion to dismiss (.90); drafting re: opposition
                                              (2.6).
03/09/2023 Esther Loh                    0.80 Research re: party in interest standard for pleadings in
                                              Emergent Chapter 11 proceeding (.40); review
                                              relevant third party motion to strike (.20); review re:
                                              relevant third party reply in support of motion to
                                              dismiss (.20).
03/10/2023 Andrew Dietderich             0.20 Correspondence with B. Glueckstein and Emergent
                                              debtors re: next steps.
03/10/2023 Brian Glueckstein             5.90 Call with M. Porpora, C. Weldon, S. Mehta and I.
                                              Foote re: response to relevant third party Motion to
                                              Strike (.20); draft response to relevant third party
                                              motion to strike (.70); draft and revise re: common
                                              interest agreement (.60); correspondence with UCC
                                              re: same (.30); review and revise response letter to
                                              TRO (.40); call with Emergent counsel re: Motion to
                                              Dismiss and related issues (.50); work on issues for
                                              Emergent motion to dismiss hearing (1.2);
                                              correspondence with A. Dietderich re: Emergent
                                              issues (.40); draft and revise opposition re: relevant
                                              third party motion to shorten (1.3); correspondence
                                              with experts re: potential work (.30).
03/10/2023 Matthew Porpora               0.60 Call with B. Glueckstein, C. Weldon, S. Mehta, and I.
                                              Foote response to relevant third party Motion to
                                              Strike (.20); review relevant third party motion to
                                              strike (.40).
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03/10/2023 Suniti Mehta                  0.50 Call with B. Glueckstein, M. Porpora, C. Weldon and
                                              I. Foote re: response to relevant third party Motion to
                                              Strike (.20); revision re: opposition to motion to strike
                                              (.30).
03/10/2023 Christopher Weldon            3.70 Call with B. Glueckstein, M. Porpora, S. Mehta and I.
                                              Foote re: response to relevant third party Motion to
                                              Strike (.20); revise opposition re: relevant third party
                                              motion to strike (2.0); research re: opposition to
                                              relevant third party motion to strike (1.5).
03/10/2023 Isaac Foote                   4.90 Internal correspondence re: relevant third party
                                              Motion to Strike FTX Debtors Opposition to relevant
                                              third party Motion to Dismiss Emergent Bankruptcy
                                              Proceeding (.20); call with B. Glueckstein, M.
                                              Porpora, C. Weldon and S. Mehta re: response to
                                              relevant third party Motion to Strike (.20); draft re:
                                              Objection to relevant third party Motion to Strike
                                              (3.6); implement edits from C. Weldon and S. Mehta
                                              to Opposition to relevant third party Motion to Strike
                                              (.90).
03/11/2023 Andrew Dietderich             0.20 Review correspondence re: Emergent hearing.
03/11/2023 Brian Glueckstein             1.60 Call with Emergent counsel re: hearing and related
                                              matters (.50); strategy for motion to strike opposition
                                              (.40); correspondence with S&C team re: same (.20);
                                              review re: Emergent litigation issues (.50).
03/11/2023 Christopher Weldon            0.10 Review re: relevant third party witness list for Motion
                                              to Dismiss hearing.
03/12/2023 Matthew Porpora               1.40 Review and revise re: opposition to relevant third
                                              party's Motion to Strike (1.3); correspondence with
                                              internal team re: revised opposition and related
                                              materials (.10).
03/12/2023 Christopher Weldon            0.30 Revise re: opposition to relevant third party motion to
                                              strike.
03/12/2023 Isaac Foote                   0.50 Implement edits from M. Porpora and C. Weldon re:
                                              Opposition to relevant third party Motion to Strike
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                                               (.40); correspondence with internal team re: same
                                               (.10).
03/13/2023 Andrew Dietderich             0.60 Correspondence with B. Glueckstein re; Emergent
                                              hearing (.30); correspondence with B. Beller and B.
                                              Glueckstein re: relevant third party claims process
                                              (.30).
03/13/2023 Stephen Ehrenberg             0.80 Meeting with B. Beller re: status of Voyager
                                              preference claim.
03/13/2023 Brian Glueckstein             6.60 Attend relevant third party hearing (.70);
                                              correspondence with Emergent counsel re: hearing
                                              issues (.50); correspondence with B. Beller re:
                                              relevant third party claims and strategy issues (.60);
                                              call with relevant advisor re: potential expert witnesses
                                              (.80); follow-up and review re: relevant advisor expert
                                              materials (.40); draft and revise opposition to Motion
                                              to Strike Motion to Dismiss response (1.6); review
                                              exhibits and prepare for Emergent Motion to Dismiss
                                              evidentiary hearing (2.0).
03/13/2023 Matthew Porpora               0.40 Review and revise opposition to motion to strike
                                              Debtors' opposition to motion to dismiss Emergent's
                                              chapter 11 case (.40).
03/13/2023 Benjamin Beller               0.50 Meeting with S. Ehrenberg re: status of Voyager
                                              preference claim.
03/13/2023 Marc-André Cyr                0.20 Correspondence with B. Beller re: meeting to discuss
                                              next order of business (.10); correspondence with
                                              LRC re: Voyager's response deadline (.10).
03/13/2023 Christopher Weldon            0.70 Revision re: opposition to relevant third party Motion
                                              to Strike.
03/13/2023 Isaac Foote                   2.80 Cite check re: Objection to relevant third party
                                              Motion to Strike (1.4); cite check re: adversary
                                              complaint (1.4).
03/13/2023 Esther Loh                    0.60 Cite check re: draft opposition to relevant third party
                                              Motion to Strike.
03/13/2023 Adam Toobin                   0.20 Draft correspondence to B. Glueckstein re: motion re:
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Date        Name                         Hours Description

                                                Celsius.
03/14/2023 Brian Glueckstein              3.50 Meeting with A. Landis (LRC) re: Emergent hearing
                                               prep issues and related relevant third party matters
                                               (1.1); review re: relevant third party filings and
                                               documents (.50); correspondence with J. Bromley re:
                                               Emergent hearing and strategy issues (.50); meeting
                                               with A. Dietderich re: Emergent hearing (.40); review
                                               re: potential expert documents (.60); review re:
                                               Emergent stipulation issues (.40).
03/14/2023 Christopher Weldon             0.20 Correspondence with S. Mehta and I. Foote re:
                                               relevant third party Motion to Dismiss hearing.
03/14/2023 Isaac Foote                    2.10 Review of recording of March 3, 2023 hearing in
                                               Emergent bankruptcy proceeding.
03/15/2023 Brian Glueckstein              2.70 Follow-up correspondence re: Emergent stay and
                                               related issues (.50); finalize common interest
                                               agreement (.40); review and respond re: class action
                                               litigation questions (.50); correspondence with N.
                                               Menillo re: stay relief motion and follow-up (.40);
                                               meeting with A. Dietderich re: Emergent hearing and
                                               Bahamas issues (.40); follow-up correspondence re:
                                               Voyager litigation issues (.50).
03/15/2023 Marc-André Cyr                 0.10 Correspondence with LRC re: Voyager's response to
                                               Alameda's amended complaint.
03/15/2023 Nam Luu                        0.40 Review re: motion to lift automatic stay (.20); review
                                               internal correspondence re: English law questions
                                               (.20).
03/15/2023 Adam Toobin                    0.40 Draft re: Proofs of Claim
03/16/2023 Marc-André Cyr                 0.20 Review re: order approving stipulation re: the
                                               extension of the response deadline (.10);
                                               correspondence to A. Toobin re: same (.10).
03/17/2023 Brian Glueckstein              1.60 Call with B. Beller, M. Lunn and R. Poppetti re:
                                               Voyager litigation mediators and follow-up (.50);
                                               review and consider mediator proposals (.30); call
                                               with N. Singh (former FTX personnel) counsel re:
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Date        Name                        Hours Description

                                               class action litigation (.30); review information and
                                               consider strategy issues re: customer property
                                               litigations (.50).
03/17/2023 Benjamin Beller               1.50 Call with A. Toobin re: Relevant Third Party proofs of
                                              claim (.50); call with B. Glueckstein, M. Lunn and R.
                                              Poppetti re: Voyager litigation mediators and
                                              follow-up (.50); correspondence re: same (.50).
03/17/2023 Christopher Weldon            0.10 Correspondence with M. Porpora, S. Mehta, I. Foote
                                              and E. Loh re: Relevant Third Party hearing.
03/17/2023 Isaac Foote                   1.20 Review re: Relevant Third Party hearing (.60);
                                              highlighting relevant points to share with internal team
                                              (.60).
03/17/2023 Adam Toobin                   3.60 Review re: background information on Relevant Third
                                              Party claims (2.4); call with B. Beller re: Relevant
                                              Third Party proofs of claim (.50); draft re: clarifying
                                              email for A&M on Relevant Third Party claims (.40);
                                              review response re: Relevant Third Party question
                                              (.30).
03/18/2023 Andrew Dietderich             0.20 Review correspondence re: mediation.
03/19/2023 Brian Glueckstein             0.50 Call with B. Beller, K&E and McDermott teams re:
                                              mediators (.30); follow-up call with B. Beller re: same
                                              (.20).
03/19/2023 Benjamin Beller               3.50 Review and revise motion for other chapter 11 (2.0);
                                              call with B. Glueckstein, K&E and McDermott teams
                                              re: mediators (.50); follow up correspondence re:
                                              same (1.0).
03/21/2023 Brian Glueckstein             2.10 Draft and revise Emergent stipulation and related
                                              issues.
03/21/2023 Nicholas Menillo              0.30 Meeting with C. Weldon re: response to motion to lift
                                              automatic stay.
03/21/2023 Benjamin Beller               0.80 Correspondence re: proof of claim.
03/21/2023 Michael Haase                 0.50 Call with S&C and FTX management re: termination
                                              agreement (.20); prepare mark-up of termination
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Date        Name                        Hours Description

                                               agreement (.30).
03/21/2023 Christopher Weldon            0.40 Correspondence with B. Glueckstein, N. Menillo, and
                                              E. Loh re: response to automatic stay motion re: D&O
                                              insurance (.10); meeting with N. Menillo re: response
                                              to motion to lift automatic stay re: D&O insurance
                                              (.30).
03/21/2023 Frederic Wünsche              0.50 Call with S&C and FTX management re: termination
                                              agreement (.20); prepare mark-up of termination
                                              agreement (.30).
03/21/2023 Adam Toobin                   5.80 Draft re: initial Relevant Third Party proofs of claims
                                              (4.9); updated proofs of claim and sent summary
                                              matrix and A&M questions to B. Beller (.90).
03/22/2023 Brian Glueckstein             3.40 Draft and revise Emergent stipulation and follow up
                                              issues (1.4); review of exclusivity questions (.80); call
                                              with A. Dietderich re: strategy issues (.40);
                                              correspondence with S&C team re: response to UST
                                              inquiry (.80).
03/22/2023 Benjamin Beller               0.80 Review re: motion in other bankruptcy case.
03/22/2023 Marc-André Cyr                0.30 Review re: protective order governing the production
                                              of documents (.20); correspondence with FTX re:
                                              preference claim (.10).
03/22/2023 Christopher Weldon            0.90 Review re: motion to lift automatic stay re: D&O
                                              insurance and supporting documents.
03/23/2023 Brian Glueckstein             0.50 Attend Relevant Third Party hearing.
03/23/2023 Benjamin Beller               2.50 Revise motion in other bankruptcy proceeding.
03/24/2023 Brian Glueckstein             2.00 Draft and revise Emergent stipulation and related
                                              issues (2.0).
03/24/2023 Benjamin Beller               3.00 Revise motion in other bankruptcy proceeding.
03/24/2023 Michael Haase                 1.40 Review re: letter from employment counsel re:
                                              termination of service contract (.60); research re:
                                              requirements for termination (.60); correspondence
                                              with F. Wünsche re: same (.20).
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Date        Name                        Hours Description
03/24/2023 Christopher Weldon            1.50 Review re: D&O insurance policy (.80); draft
                                              response to motion to lift stay re: insurance policies
                                              (.70).
03/24/2023 Frederic Wünsche              1.10 Review re: letter from employment counsel re:
                                              termination of service contract (.50); research re:
                                              termination (.40); correspondence with M. Haase re:
                                              same (.20).
03/25/2023 Benjamin Beller               1.50 Revise motion in other bankruptcy matters.
03/25/2023 Christopher Weldon            1.10 Revise response to motion to lift stay (.80);
                                              correspondence with N. Menillo re: motion to lift stay
                                              (.30).
03/25/2023 Adam Toobin                   1.50 Update re: Relevant Third Party Proof of Claim.
03/26/2023 Christopher Weldon            0.20 Revise response to motion to lift stay.
03/27/2023 Benjamin Beller               1.40 Meeting with C. Hodges and A. Toobin re: Relevant
                                              Third Party proof of claim (.60); correspondence re:
                                              claims in other bankruptcies (.80).
03/27/2023 Christopher Weldon            0.20 Revise response to motion to lift stay.
03/27/2023 Christian Hodges              0.60 Meeting with B. Beller and A. Toobin re: Relevant
                                              Third Party proof of claim.
03/27/2023 Adam Toobin                   1.10 Meeting with C. Hodges and B. Beller re: Relevant
                                              Third Party proof of claim (.60); update re: Relevant
                                              Third Party proof of claim (.50).
03/28/2023 Andrew Dietderich             0.20 Update from B. Beller re: status.
03/28/2023 Brian Glueckstein             2.10 Correspondence with A. Dietderich re: litigation
                                              strategy and avoidance claims issues (1.0);
                                              correspondence re: Emergent issues (.20); call with
                                              Emergent counsel re: chapter 11 matters (.20); review
                                              order re: examiner motion to shorten (.20); review and
                                              analyze documents re: insider claims strategy issues
                                              (.50).
03/28/2023 Benjamin Beller               0.80 Review and revise proofs of claim.
03/28/2023 Marc-André Cyr                0.10 Internal correspondence re: Voyager hearing.
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03/28/2023 Adam Toobin                   1.90 Update re: Relevant Third Party Proof of Claim (1.2);
                                              review re: Proof of Claim Addendum (.10);
                                              information request to A&M (.10); update re: Proof of
                                              Claim Addendum (.50).
03/29/2023 Brian Glueckstein             1.50 Draft and revise Relevant Third Party claims (1.3);
                                              correspondence with B. Beller re: same (.20).
03/29/2023 Benjamin Beller               1.70 Call with A. Toobin and C. Hodges re: updates on
                                              Relevant Third Party proof of claim (.20);
                                              correspondence re: same (.50); research re: same
                                              (1.0).
03/29/2023 Christopher Weldon            0.20 Review re: UCC response to motion to lift stay.
03/29/2023 Christian Hodges              0.40 Call with A. Toobin and B. Beller re: updates on
                                              Relevant Third Party proof of claim (.20); review re:
                                              research on claims (.20).
03/29/2023 Adam Toobin                   2.00 Legal research re: Relevant Third Party Proof of Claim
                                              (1.80); call with B. Beller and C. Hodges re: updates
                                              on Relevant Third Party Proof of Claim (.20).
03/30/2023 Brian Glueckstein             2.00 Draft and revise Relevant Third Party claims and
                                              related matters (1.3); correspondence with S&C team
                                              re: same (.20); review and analyze revised Emergent
                                              stay stipulation (.50).
03/30/2023 Michael Devlin                2.50 Research re: standard for motion to stay in connection
                                              with customer property interest litigation.
03/30/2023 Benjamin Beller               4.90 Call with K&E re: stipulation (.60); correspondence
                                              re: same (.20); meetings with A. Toobin and C.
                                              Hodges re: Relevant Third Party claim analysis and
                                              proofs of claim (1.2); call with A&M team, A. Toobin
                                              and C. Hodges re: Relevant Third Party claim analysis
                                              (.40); review and correspondence re: same (2.5).
03/30/2023 Christian Hodges              3.50 Meetings with A. Toobin re: Relevant Third Party
                                              claim analysis (1.3); meeting with B. Beller and A.
                                              Toobin re: Relevant Third Party claim analysis and
                                              proofs of claim (1.2); call with A&M team, B. Beller
                                              and A. Toobin re: claim analysis (.40); revise Relevant
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                                                  Third Party addendum to proofs of claim (.60).
03/30/2023 Adam Toobin                     6.70 Proof of claim research summary and updates to B.
                                                Glueckstein (.50); update re: proof of claim for B.
                                                Glueckstein (.20); meetings with C. Hodges re:
                                                Relevant Third Party claim analysis (1.3); meetings
                                                with B. Beller and C. Hodges re: Relevant Third Party
                                                claim analysis and proofs of claim (1.2); call with
                                                A&M team, B. Beller and C. Hodges re: Relevant
                                                Third Party claim analysis (.40); update re: Relevant
                                                Third Party proof of claim addendum (2.3); draft re:
                                                Proof of Claim files (.80).
03/31/2023 Brian Glueckstein               0.80 Review re: revised Relevant Third Party claims and
                                                follow-up (.30); correspondence with S&C team re:
                                                same (.10); finalize Relevant Third Party claims
                                                submissions (.40).
03/31/2023 Michael Devlin                  1.30 Review re: research re: motion to stay.
03/31/2023 Benjamin Beller                 4.00 Review re: Relevant Third Party claims filing.
03/31/2023 Christian Hodges                3.20 Meeting with A. Toobin to submit Relevant Third
                                                Party proofs of claim (2.9); correspondence with B.
                                                Beller re: same (.30).
03/31/2023 Nam Luu                         1.70 Research re: case law re: to motion to stay (1.2);
                                                correspondence with S&C team re: same (.50).
03/31/2023 Adam Toobin                     6.40 Review and update re: Relevant Third Party proof of
                                                claim (3.5); meeting with C. Hodges to submit
                                                Relevant Third Party proofs of claim (2.9).

Total                                    256.60
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03/01/2023 Stephanie Wheeler                   1.70 Revise outline for interim investigation report (.80);
                                                    correspondence with N. Friedlander re: same (.20);
                                                    call with K. Lemire (QE) and N. Friedlander re: same
                                                    (.20); meeting with N. Friedlander and J. Croke re:
                                                    outline for same (.50).
03/01/2023 Jacob Croke                         0.50 Meeting with N. Friedlander and S. Wheeler re:
                                                    outline for interim investigation report.
03/01/2023 Nicole Friedlander                  2.40 Call with A. Lewis, M. Kerin and Sygnia team re:
                                                    interim investigation report topic (.70); call with K.
                                                    Lemire (QE) and S. Wheeler re: interim investigation
                                                    report (.20); emails with S. Wheeler re: same (.10);
                                                    meeting with J. Croke and S. Wheeler re: outline for
                                                    interim investigation report (.50); email to A. Lewis re:
                                                    assistance with interim investigation report (.20);
                                                    emails with S. Levin re: same (.50); emails with A.
                                                    Lewis and K. Ramanathan (A&M) re: topic related to
                                                    interim investigation report (.10); email to B.
                                                    Glueckstein re: topic related to interim investigation
                                                    report (.10).
03/01/2023 Anthony Lewis                       0.90 Call with N. Friedlander, M. Kerin and Sygnia team
                                                    re: interim investigation report topic (.70);
                                                    correspondence with S&C and Sygnia teams re:
                                                    interim investigation report (.20).
03/01/2023 Bradley Harsch                      0.10 Correspondence to N. Friedlander and S. Wheeler re:
                                                    interim investigation report.
03/01/2023 Meaghan Kerin                       0.80 Call with N. Friedlander, A. Lewis and Sygnia team
                                                    re: interim investigation report topic (.70);
                                                    correspondence with N. Friedlander and Sygnia team
                                                    re: same (.10).
03/02/2023 Stephanie Wheeler                   0.80 Call with C. Dune re: interim investigation report (.30);
                                                    call with N. Friedlander re: drafting same (.20); revise
                                                    outline for same (.30).
03/02/2023 Kathleen McArthur                   0.30 Correspondence with N. Friedlander re: interim
                                                    investigation report (.20); review outline for same
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                                                     (.10).
03/02/2023 Nicole Friedlander                  4.70 Revise outline of interim investigation report (1.5);
                                                    correspondence to S. Wheeler re: same (.80); call
                                                    with N. Menillo re: interim investigation report outline
                                                    (.20); call with S. Wheeler re: drafting interim
                                                    investigation report (.20); revise outline of same (.80);
                                                    correspondence to S&C investigations team re: same
                                                    (.10); emails with A&M team and S. Levin re:
                                                    potential topics in interim investigation report (.70);
                                                    emails with J. Rosenfeld re: auditor and accounting
                                                    topics for interim investigation report (.40).
03/02/2023 Nicholas Menillo                    0.20 Call with N. Friedlander re: outline for interim
                                                    investigation report.
03/02/2023 Zoeth Flegenheimer                  0.10 Review outline of interim investigation report.
03/02/2023 Meaghan Kerin                       0.10 Review outline of interim investigation report.
03/02/2023 Daniel O'Hara                       0.40 Review documents for interim investigation report
                                                    outline.
03/03/2023 Stephanie Wheeler                   0.40 Call with N. Friedlander re: revising outline of interim
                                                    investigation report assignments (.20); revise outline of
                                                    same (.20).
03/03/2023 Christopher Dunne                   1.70 Review materials and plan for interim investigation
                                                    report.
03/03/2023 James Bromley                       1.70 Review outline of interim investigation report (.60);
                                                    correspondence to A. Dietderich, B. Glueckstein and
                                                    N. Friedlander re: same (.30); correspondence with J.
                                                    Ray (FTX) re: same (.30); review materials re: same
                                                    (.50).
03/04/2023 Stephanie Wheeler                   6.20 Meeting with K. Lemire (QE), S. Williamson (QE),
                                                    N. Friedlander re: drafting interim investigation report
                                                    (.50); email S&C team re: same (.10); revise same
                                                    (5.0); email T. Millet and Z. Flegenheimer re: drafting
                                                    of same (.20); email A. Lewis re: topic for interim
                                                    investigation report (.20); email A. Searles (Alix) re:
                                                    topic for interim investigations report (.10); email S.
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                                                     Coverick (A&M) re: topic for interim investigations
                                                     report (.10).
03/04/2023 Zoeth Flegenheimer                  0.20 Correspondence with S. Wheeler and T. Millet re:
                                                    drafting interim investigation report.
03/04/2023 Meaghan Kerin                       0.20 Correspondence with N. Friedlander re: interim
                                                    investigation report (.10); review outline re: same
                                                    (.10).
03/04/2023 Samantha Rosenthal                  0.30 Reviewed outline of interim report (.20); email
                                                    correspondence with N. Friedlander, M. Kerin, A.
                                                    Holland re: outline of interim report (.10).
03/04/2023 Tatum Millet                        3.10 Research re: topic for interim investigation report
                                                    (.80); work on overview of advisors for the report
                                                    (2.3).
03/05/2023 Stephanie Wheeler                   0.70 Draft and revise sections of interim investigation
                                                    report.
03/05/2023 Zoeth Flegenheimer                  2.40 Draft and revise sections of the interim investigation
                                                    report (1.9); correspondence to A. Holland re: interim
                                                    investigation report (.10); correspondence to M.
                                                    Kerin re: same (.40).
03/05/2023 Meaghan Kerin                       0.60 Correspondence with N. Friedlander, A. Lewis, Z.
                                                    Flegenheimer and A&M re: draft interim investigation
                                                    report (.20); revise draft interim investigation report
                                                    (.30); review records re: same (.10).
03/05/2023 Tatum Millet                        2.00 Draft section of interim investigation report (1.1);
                                                    correspondence with Z. Flegenheimer re: same (.30);
                                                    revise interim investigation report (.60).
03/06/2023 Stephanie Wheeler                   1.00 Meeting with Z. Flegenheimer and T. Millet re:
                                                    preparing interim investigation report (.50); call with
                                                    K. Lemire (QE) and N. Friedlander re: interim
                                                    investigation report (.30); meeting with J. Rosenfeld re:
                                                    drafting section of interim investigation report (.20).
03/06/2023 Christopher Dunne                   0.20 Call with D. O’Hara, A&M and Alix re: sections of
                                                    interim investigation report.
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03/06/2023 Nicole Friedlander                  1.20 Call with K. Lemire (QE) and S. Wheeler re: interim
                                                    investigation report (.30); research re: interim
                                                    investigation report (.40); email to C. Dunne, S.
                                                    Wheeler and K. Lemire (QE) re: same (.40); email
                                                    with M. Kerin re: drafting of interim investigation
                                                    report (.10).
03/06/2023 Zoeth Flegenheimer                  1.90 Review relevant documents and revise interim
                                                    investigation report (1.3); coordinate with S. Fulton re:
                                                    collecting information to draft same (.10); meeting with
                                                    S. Wheeler and T. Millet re: preparing interim
                                                    investigation report (.50).
03/06/2023 Meaghan Kerin                       0.40 Review outline of interim report section (.10);
                                                    correspondence with N. Friedlander, S. Rosenthal
                                                    and A. Holland re: same (.10); review A. Lewis edits
                                                    re: interim investigation report (.20).
03/06/2023 Jared Rosenfeld                     0.20 Meeting with S. Wheeler re: drafting interim
                                                    investigation report section.
03/06/2023 Alexander Holland                   0.50 Review and revise interim investigation report.
03/06/2023 Daniel O'Hara                       1.10 Review documents and revise sections of interim
                                                    investigation report (.90); call with C. Dunne, A&M
                                                    team and Alix team re: sections of interim investigation
                                                    report (.20).
03/06/2023 Samantha Rosenthal                  1.10 Correspondence with M. Kerin and A. Holland re:
                                                    outline of interim investigation report (.30); revise
                                                    same (.10); review evidence re: interim investigation
                                                    report section topic (.30); review Sygnia call notes re:
                                                    interim investigation report section topic (.40).
03/06/2023 Keila Mayberry                      0.30 Correspondence with S. Wheeler re: interim
                                                    investigation report.
03/06/2023 Tatum Millet                        0.50 Meeting with S. Wheeler and Z. Flegenheimer re:
                                                    preparing interim investigation report.
03/07/2023 Stephanie Wheeler                   0.50 Correspondence with C. Dunne re: interim
                                                    investigation report (.10); email S. Coverick (A&M)
                                                    description for same (.20); meeting with W. Wagener
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                                                     re: section of interim investigation report (.20).
03/07/2023 Nicole Friedlander                  0.70 Call with A. Lewis, M. Kerin, S. Rosenthal, A.
                                                    Holland and Sygnia team re: interim investigation
                                                    report.
03/07/2023 Anthony Lewis                       0.90 Call with N. Friedlander, M. Kerin, S. Rosenthal, A.
                                                    Holland and Sygnia team re: interim investigation
                                                    report (.40 - partial attendance); correspondence with
                                                    S&C team re: same (.30); review materials re: same
                                                    (.20).
03/07/2023 William Wagener                     0.30 Correspondence to D. O'Hara, C. Dunne and K.
                                                    McArthur re: topic of interim investigation report
                                                    (.10); meeting with S. Wheeler re: section of interim
                                                    investigation report (.20).
03/07/2023 Zoeth Flegenheimer                  4.10 Review relevant documents and revise interim
                                                    investigation report (3.8); call with D. O’Hara to
                                                    discuss interim investigation report issues (.20); call
                                                    with A. Holland re: drafting the interim investigation
                                                    report (.10).
03/07/2023 Meaghan Kerin                       3.00 Call with N. Friedlander, A. Lewis, S. Rosenthal, A.
                                                    Holland and Sygnia re: interim investigation report
                                                    (.70); call with S. Rosenthal re: draft interim
                                                    investigation report section topic (.30);
                                                    correspondence with A. Lewis, N. Friedlander, Z.
                                                    Flegenheimer and A&M re: interim investigation report
                                                    topic (.10); revise draft re: same topic (.40);
                                                    correspondence with N. Friedlander, Sygnia and S.
                                                    Rosenthal re: report outline (.20); review Sygnia
                                                    outline re: interim investigation report topic (.50);
                                                    correspondence with D. O’Hara, A. Holland and S.
                                                    Rosenthal re: interim investigation report topic (.20);
                                                    review records relevant to same (.60).
03/07/2023 Alexander Holland                   4.20 Call with N. Friedlander, A. Lewis, M. Kerin, S.
                                                    Rosenthal and Sygnia team re: interim investigation
                                                    report (.70); call with Z. Flegenheimer re: drafting
                                                    interim investigation report (.10); revise same (3.4).
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03/07/2023 Daniel O'Hara                       0.40 Review documents for interim investigation report
                                                    (.20); call with Z. Flegenheimer to discuss report
                                                    issues (.20)
03/07/2023 Samantha Rosenthal                  5.00 Call with M. Kerin re: draft report re: section of
                                                    interim investigation report (.30); revise notes re: same
                                                    (.20); email correspondences with M. Kerin re: same
                                                    (.30); email correspondences with N. Friedlander, A.
                                                    Lewis, M. Kerin and A. Holland re: same (.20); email
                                                    correspondences with M. Kerin, D. O'Hara and A.
                                                    Holland re: interim investigation report materials (.10);
                                                    review interim investigation report materials (1.1);
                                                    review Sygnia outline of interim investigation report
                                                    (.90); review notes re: interim investigation report
                                                    topic (.30); review research re: interim investigation
                                                    reports (.50); call with N. Friedlander, A. Lewis, M.
                                                    Kerin, A. Holland and Sygnia team re: interim
                                                    investigation report (.70); revise notes re: same (.30);
                                                    email correspondence with Y. Torati (Sygnia) re: same
                                                    (.10).
03/07/2023 Tatum Millet                        1.90 Research in connection with interim investigation
                                                    report section (1.3); correspondence to Z.
                                                    Flegenheimer re: same (.60).
03/08/2023 Stephanie Wheeler                   3.20 Meeting with Z. Flegenheimer and T. Millet re: drafting
                                                    interim investigation report (1.0); revise sections of
                                                    same (2.2).
03/08/2023 Christopher Dunne                   3.20 Review and revise interim investigation report (2.5);
                                                    review materials for same (.70).
03/08/2023 Nicole Friedlander                  1.10 Meeting with M. Kerin to discuss interim investigation
                                                    report (.30); emails to C. Dunne and S. Wheeler re:
                                                    same (.40); assess issue for same (.30);
                                                    correspondence with A. Holland re: interim
                                                    investigation report drafting (.10).
03/08/2023 James Bromley                       1.00 Review materials for reports.
03/08/2023 Anthony Lewis                       0.10 Correspondence with S&C and Sygnia teams re:
                                                    interim investigation report.
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03/08/2023 Zoeth Flegenheimer                  2.80 Review relevant documents and revise interim
                                                    investigation report (.50); coordinate with T. Millet re:
                                                    drafting interim investigation report section topic (.30);
                                                    meeting with S. Wheeler and T. Millet re: drafting
                                                    interim investigation report (1.0); meeting with S.
                                                    Wheeler and T. Millet re: drafting interim investigation
                                                    report (1.0).
03/08/2023 Meaghan Kerin                       2.10 Review records in connection with interim investigation
                                                    report sections (1.0); correspondence with N.
                                                    Friedlander, A. Lewis and Sygnia team re: interim
                                                    investigation report topics (.20); revise interim
                                                    investigation report section (.60); meeting with N.
                                                    Friedlander to discuss interim investigation report
                                                    (.30).
03/08/2023 Jared Rosenfeld                     1.70 Revise section of interim investigation report.
03/08/2023 Alexander Holland                   3.60 Call with K. Mayberry re: interim investigation report
                                                    (.20); revise same (3.4).
03/08/2023 Daniel O'Hara                       4.90 Review and revise interim investigation report outline
                                                    and sections.
03/08/2023 Samantha Rosenthal                  0.40 Correspondences with A. Lewis and M. Kerin re:
                                                    interim investigation report outline (.20);
                                                    correspondences with N. Friedlander, C. Dunne and
                                                    S. Wheeler re: interim investigation report outline
                                                    (.10); correspondences with M. Kerin re: same (.10).
03/08/2023 Keila Mayberry                      0.60 Call with A. Holland re: interim investigation report
                                                    (.20); work on interim investigation report (.40).
03/08/2023 Tatum Millet                        2.80 Revise section of interim investigation report (1.8);
                                                    meeting with S. Wheeler and Z. Flegenheimer re:
                                                    drafting interim investigation report (1.0).
03/09/2023 Stephanie Wheeler                   4.00 Call with C. Dunne, D. O’Hara, A&M team and Alix
                                                    team re: draft interim investigation report section (.20 -
                                                    partial attendance); meeting with Z. Flegenheimer and
                                                    W. Scheffer re: drafting interim investigation report
                                                    (.30); revise sections of interim investigation report
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                                                     (3.0); call with M. Bennett, N. Friedlander and K.
                                                     Lemire (QE) re: settlement agreement with former
                                                     Alameda personnel for interim investigation report
                                                     (.50).
03/09/2023 Christopher Dunne                   6.50 Call with S. Wheeler, D. O’Hara, A&M team and
                                                    Alix team re: draft interim investigation report section
                                                    (.30); revise interim investigation report sections (6.2).
03/09/2023 Jacob Croke                         0.60 Call with A. Holland re: interim investigation report
                                                    (.10); revise interim investigation report sections (.40);
                                                    correspondence with S. Yeargan and S. Wheeler re:
                                                    same (.10).
03/09/2023 Nicole Friedlander                  0.50 Call with A. Holland re: drafting the interim
                                                    investigation report.
03/09/2023 Shane Yeargan                       0.20 Correspondence to T. Millet re: section of interim
                                                    investigation report.
03/09/2023 Mark Bennett                        0.50 Call with S. Wheeler, N. Friedlander and K. Lemire
                                                    (QE) re: settlement agreement with former Alameda
                                                    personnel for interim investigation report.
03/09/2023 Zoeth Flegenheimer                  6.00 Review relevant documents and revise interim
                                                    investigation report (5.3); coordinate with T. Millet re:
                                                    revising interim investigation report (.20); coordinate
                                                    with A&M re: topic for interim investigation report
                                                    (.20); meeting with S. Wheeler and W. Scheffer re:
                                                    drafting interim investigation report (.30).
03/09/2023 Meaghan Kerin                       4.80 Analyze research re: interim investigation reports (.60);
                                                    review records re: topic of interim investigation report
                                                    (1.8); revise report section re: same (2.0);
                                                    correspondence with D. O’Hara re: same (.20);
                                                    correspondence with S. Rosenthal re: draft interim
                                                    investigation report sections (.20).
03/09/2023 Alexander Holland                   5.20 Call with J. Croke re: interim investigation report
                                                    (.10); call with N. Friedlander re: drafting the interim
                                                    investigation report (.50); revise interim investigation
                                                    report (4.6).
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03/09/2023 Daniel O'Hara                       4.50 Revise portions of interim investigation report and
                                                    review correspondence re: same (4.2); call with C.
                                                    Dunne, S. Wheeler, D. O’Hara, A&M team and Alix
                                                    team to discuss control failures for draft report (.30).
03/09/2023 Samantha Rosenthal                  0.30 Review interim investigation report background
                                                    materials.
03/09/2023 Tatum Millet                        2.20 Research re: interim investigation report (.50); work
                                                    on transmittal email re: same (.40); identify and
                                                    summarize document relevant to interim investigation
                                                    report (.60); draft email to S. Yeargan re: data
                                                    relevant to interim investigation report (.30); revise
                                                    process section of interim investigation report (.40).
03/09/2023 William Scheffer                    0.30 Meeting with S. Wheeler and Z. Flegenheimer re:
                                                    drafting interim investigation report.
03/10/2023 Stephanie Wheeler                   0.50 Correspondence to A. Dietderich re: section of interim
                                                    investigation report (.20); correspondence to C.
                                                    Dunne and A&M team re: same (.30).
03/10/2023 Christopher Dunne                   6.50 Review materials and revise sections of interim
                                                    investigation report.
03/10/2023 Nicole Friedlander                  4.10 Emails with C. Dunne and M. Kerin re: sections of
                                                    draft report (.30); assess potential styles for report
                                                    (.40); email with C. Cipone (Alix) re: AWS databases
                                                    (.10); emails with Quinn, C. Dunne and S. Wheeler re:
                                                    outline and drafting conventions (.50); draft sections of
                                                    report (2.8).
03/10/2023 Anthony Lewis                       0.10 Correspondence with S&C team re: interim
                                                    investigation report.
03/10/2023 Zoeth Flegenheimer                  4.00 Review relevant documents and revise interim
                                                    investigation report.
03/10/2023 Meaghan Kerin                      10.50 Correspondence with N. Friedlander, S. Wheeler, S.
                                                    Rosenthal and Sygnia team re: draft interim
                                                    investigation report sections (.50); revise sections of
                                                    interim investigation report re: various topics (8.3);
                                                    review interview memoranda and documents in
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                                                     connection with same (1.3); review interim
                                                     investigation report section (.40).
03/10/2023 Alexander Holland                   0.20 Correspondence with N. Friedlander and M. Kerin re:
                                                    interim investigation report.
03/10/2023 Daniel O'Hara                       3.70 Revise sections of interim investigation report and
                                                    review documents re: same.
03/10/2023 Samantha Rosenthal                  8.20 Review Sygnia interim investigation report outline
                                                    (.90); correspondences with N. Friedlander, M.
                                                    Kerin, A. Holland and Sygnia re: same (.30); research
                                                    re: draft interim investigation report (1.8); research re:
                                                    interim investigation report (1.6); revise interim
                                                    investigation report section (3.1); correspondences
                                                    with N. Friedlander and M. Kerin re: same (.50).
03/10/2023 Tatum Millet                        1.90 Work on interim investigation report (.40); research
                                                    re: interim investigation report (.90); revise section of
                                                    interim investigation report (.60).
03/11/2023 Stephanie Wheeler                   3.70 Revise sections of interim investigation report (3.1);
                                                    correspondence to Z. Flegenheimer, T. Millet, N.
                                                    Friedlander and C. Dunne re: interim investigation
                                                    report (.30); review information from H. Ardizzoni
                                                    (A&M) re: interim investigation report (.30).
03/11/2023 Christopher Dunne                   3.30 Review materials and work on interim investigation
                                                    report.
03/11/2023 Nicole Friedlander                  2.50 Review Sygnia notes for crypto section of report
                                                    (.30); review witness interview memo re: Alameda
                                                    privileges (.40); continue drafting report (1.50); emails
                                                    with S. Wheeler and C. Dunne re: report terms and
                                                    financial controls section (.30).
03/11/2023 Zoeth Flegenheimer                  2.40 Review relevant documents and revise interim
                                                    investigation report.
03/11/2023 Meaghan Kerin                       6.60 Revise sections of interim investigation report (6.3);
                                                    correspondence with S. Rosenthal, N. Friedlander
                                                    and Sygnia re: same (.30).
03/11/2023 Daniel O'Hara                       1.90 Review documents for interim investigation report
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                                                     draft.
03/11/2023 Samantha Rosenthal                  7.50 Revise interim investigation report (7.0); email
                                                    correspondences with N. Friedlander and M. Kerin
                                                    re: same (.50).
03/11/2023 Tatum Millet                        1.60 Research for interim investigation report.
03/12/2023 Stephanie Wheeler                   5.00 Revise sections of interim investigation report.
03/12/2023 Christopher Dunne                   2.10 Review materials and work on interim investigation
                                                    report.
03/12/2023 Jacob Croke                         0.40 Review interim investigation report section (.30);
                                                    correspondence with S. Wheeler re: same (.10).
03/12/2023 Nicole Friedlander                  5.00 Review, edit, and comment on sections of report from
                                                    C. Kerin and S. Rosenthal (4.70); email to C. Kerin
                                                    and S. Rosenthal re: same (.30).
03/12/2023 Zoeth Flegenheimer                  1.50 Revise interim investigation report.
03/12/2023 Meaghan Kerin                       0.30 Review N. Friedlander comments on interim
                                                    investigation report section (.20); correspondence with
                                                    N. Friedlander and S. Rosenthal re: same (.10).
03/12/2023 Alexander Holland                   1.00 Revise interim investigation report.
03/12/2023 Daniel O'Hara                       0.10 Review interim investigation report.
03/12/2023 Tatum Millet                        1.30 Revise section of the interim investigation report.
03/12/2023 Luke Ross                           1.10 Review documentation and correspondence to S&C
                                                    team re: section of interim investigation report.
03/13/2023 Mitchell Eitel                      0.20 Call with B. Glueckstein, A. Kranzley, J. Croke, N.
                                                    Friedlander, J. McDonald, S. Cohen Levin and S.
                                                    Wheeler re: SDNY coordination on issues, including
                                                    interim investigation report (partial attendance - .20).
03/13/2023 Stephanie Wheeler                   5.80 Call with B. Glueckstein, A. Kranzley, J. Croke, N.
                                                    Friedlander, J. McDonald, S. Cohen Levin and M.
                                                    Eitel re: SDNY coordination on issues, including
                                                    interim investigation report (.50); call with C. Dunne
                                                    re: section of interim investigation report (.20); meeting
                                                    with K. Lemire (QE) and S. Williamson (QE), N.
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                                                     Friedlander, J. Croke and C. Dunne re: interim
                                                     investigation report (.40); call with Z. Flegenheimer,
                                                     H. Arizzoni (A&M), R. Gordon (A&M) and T. Millet
                                                     re: drafting the section of the interim investigation
                                                     report (.30); call with Z. Flegenheimer re: preparing
                                                     interim investigation report (.20); call with M. Wu and
                                                     A. Cohen re: topic of interim investigation report
                                                     section (.20); draft section of interim investigation
                                                     report (1.50); call with N. Friedlander re: interim
                                                     investigation report (.20); revise section of same (2.0);
                                                     call with Z. Flegenheimer re: revisions to section of
                                                     interim investigation report (.10); call with Z.
                                                     Flegenheimer re: preparing interim investigation report
                                                     (.20).
03/13/2023 Audra Cohen                         0.20 Call with M. Wu and S. Wheeler re: topic of interim
                                                    investigation report section.
03/13/2023 Christopher Dunne                   7.50 Work on interim investigation report.
03/13/2023 Jacob Croke                         1.90 Analyze and revise interim investigation report sections
                                                    (.30); calls with C. Dunne re: same (.70); call with B.
                                                    Glueckstein, A. Kranzley, S. Wheeler, N. Friedlander,
                                                    J. McDonald, S. Cohen Levin and M. Eitel re: SDNY
                                                    coordination on issues, including interim investigation
                                                    report (.50); meeting with K. Lemire (QE) and S.
                                                    Williamson (QE), N. Friedlander, S. Wheeler and C.
                                                    Dunne re: interim investigation report (.40).
03/13/2023 Nicole Friedlander                  5.70 Revisions to draft section of interim investigation
                                                    report (2.3); call and email S. Wheeler re: section of
                                                    interim investigation report (.60); coordination call with
                                                    C. Dunne re: drafting of interim investigation report
                                                    (.30); call with K. Lemire (QE), S. Williamson (QE),
                                                    S. Wheeler, J. Croke and C. Dunne re: interim
                                                    investigation report (.50); email to A. Dietderich re:
                                                    drafting interim investigation report (.10); call with M.
                                                    Kerin re: draft interim investigation report (.10); emails
                                                    with A. Holland and A&M team re: section of interim
                                                    investigation report (.40); review documents re: topic
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                                                     relevant to interim investigation report and emails with
                                                     L. Ross re: same (.50); email to Sygnia team re: same
                                                     (.10); call with A. Holland re: interim investigation
                                                     report (.10); call with M. Kerin re: draft interim
                                                     investigation report (.10); call with A. Lewis, M.
                                                     Kerin, A. Holland, S. Rosenthal and Sygnia re:
                                                     drafting the interim investigation report (.60).
03/13/2023 Sharon Levin                        0.50 Call with B. Glueckstein, A. Kranzley, J. Croke, N.
                                                    Friedlander, S. Wheeler, J. McDonald and M. Eitel.
03/13/2023 James McDonald                      0.30 Call with B. Glueckstein, A. Kranzley, J. Croke, N.
                                                    Friedlander, S. Wheeler, S. Cohen Levin and M. Eitel
                                                    re: SDNY coordination on issues, including interim
                                                    investigation report (.30 - partial attendance).
03/13/2023 Anthony Lewis                       0.80 Call with N. Friedlander, M. Kerin, A. Holland, S.
                                                    Rosenthal and Sygnia team re: drafting the interim
                                                    investigation report (.60); call with N. Friedlander re:
                                                    interim investigation report (.10); correspondence with
                                                    S&C re: same (.10).
03/13/2023 Alexa Kranzley                      0.50 Call with B. Glueckstein, S. Wheeler, J. Croke, N.
                                                    Friedlander, J. McDonald, S. Cohen Levin and M.
                                                    Eitel re: SDNY coordination on issues, including
                                                    interim investigation report.
03/13/2023 William Wagener                     2.20 Work on interim investigation report section.
03/13/2023 Mimi Wu                             0.20 Call with S. Wheeler and A. Cohen re: topic of interim
                                                    investigation report section.
03/13/2023 Zoeth Flegenheimer                  2.70 Revise interim investigation report (2.0); coordinate
                                                    with W. Wagener re: drafting interim investigation
                                                    report (.10); call with S. Wheeler re: revisions to
                                                    interim investigation report (.10); call with S. Wheeler
                                                    re: preparing interim investigation report (.20); call
                                                    with S. Wheeler, H. Arizzoni (A&M), R. Gordon
                                                    (A&M) and T. Millet re: drafting the process section
                                                    of the interim investigation report (.30).
03/13/2023 Meaghan Kerin                       5.40 Call with N. Friedlander re: draft interim investigation
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                                                     report (.10); call with S. Rosenthal re: draft interim
                                                     investigation report (.20); call with N. Friedlander, A.
                                                     Lewis, A. Holland, S. Rosenthal and Sygnia re:
                                                     drafting the interim investigation report (.60); revise
                                                     interim investigation report sections (3.7); review
                                                     records in connection with same (.60);
                                                     correspondence with N. Friedlander and S. Rosenthal
                                                     re: same (.20).
03/13/2023 Jared Rosenfeld                     5.30 Research documents relevant to interim investigations
                                                    report.
03/13/2023 Alexander Holland                   3.10 Call with N. Friedlander, A. Lewis, M. Kerin, S.
                                                    Rosenthal, and Sygnia re: drafting interim investigation
                                                    report (.60); call with N. Friedlander re: interim
                                                    investigation report (.10); revise interim investigation
                                                    report (2.4).
03/13/2023 Daniel O'Hara                       2.40 Revise sections of interim investigation report (2.0);
                                                    correspondence re: same (.40).
03/13/2023 Samantha Rosenthal                  3.40 Call with M. Kerin re: draft interim investigation report
                                                    (.20); call with N. Friedlander, A. Lewis, M. Kerin,
                                                    A. Holland and Sygnia re: drafting interim investigation
                                                    report (.60); revise notes re: same (.20); revise
                                                    technical follow-up questions to Sygnia re: interim
                                                    investigation report (1.1); research re: same (.50);
                                                    revise interim investigation report sections (.70);
                                                    attention to internal correspondences re: same (.10).
03/13/2023 Emma Downing                        0.80 Research key policy documents for draft interim
                                                    investigation report.
03/13/2023 Tatum Millet                        0.70 Call with S. Wheeler, Z. Flegenheimer, H. Arizzoni
                                                    (A&M) and R. Gordon (A&M) re: drafting section of
                                                    the interim investigation report (.30); revise notes re:
                                                    same for circulation (.40).
03/14/2023 Stephanie Wheeler                   1.80 Call with C. Dunne re: interim investigation report
                                                    (.10); calls with C. Dunne re: same (.30); revise
                                                    sections of interim investigation report on process
                                                    (1.0); call with Z. Flegenheimer re: revisions to interim
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                                                     investigation report (.10); emails with K. Lemire (QE)
                                                     re: interim investigation report (.10); emails with N.
                                                     Friedlander and K. Ramanathan (A&M) re:
                                                     information for interim investigation report (.20).
03/14/2023 Christopher Dunne                   7.70 Work on interim investigation report sections (7.3);
                                                    call with S. Wheeler re: interim investigation report
                                                    (.10); calls with S. Wheeler re: same (.30)
03/14/2023 Nicole Friedlander                  3.80 Draft and revise portions of report (3.3); emails with
                                                    C. Dunne and J. Rosenfeld re: same (.20); call with P.
                                                    Lavin re: research topic relevant to interim
                                                    investigation report (.30).
03/14/2023 Anthony Lewis                       1.00 Review and revise interim investigation report (.80);
                                                    review materials for interim investigation report (.20).
03/14/2023 William Wagener                     1.60 Revise interim investigation report.
03/14/2023 Meaghan Kerin                       8.10 Revise interim investigation report sections (5.9);
                                                    analyze interview memoranda and notes in connection
                                                    with same (1.9); correspondence with N. Friedlander,
                                                    S. Rosenthal and Sygnia re: draft report and related
                                                    records (.30).
03/14/2023 Alexander Holland                   0.10 Attention to team communication re: interim
                                                    investigation report.
03/14/2023 Daniel O'Hara                       4.80 Draft and revise sections of interim investigation report
                                                    (4.4); correspondence re: same (.40).
03/14/2023 Samantha Rosenthal                  4.90 Revise interim investigation report (4.3); internal
                                                    correspondences re: same (.60).
03/14/2023 Emma Downing                        0.90 Research factual statements for interim investigation
                                                    report.
03/14/2023 Phoebe Lavin                        3.30 Research re: interim investigation report (3.0); call with
                                                    N. Friedlander re: same (.30).
03/15/2023 Stephanie Wheeler                   0.40 Meeting with Z. Flegenheimer re: status of and
                                                    revisions to the interim investigation report (.10);
                                                    revise interim investigation report (.30).
03/15/2023 Christopher Dunne                   4.20 Review and revise interim investigation report.
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03/15/2023 Nicole Friedlander                  8.90 Call with S. Rosenthal re: topic relevant to interim
                                                    investigation report (.20); revise interim investigation
                                                    report (4.0); review documents re: hot/cold storage
                                                    (.30); emails with K. Ramanathan (A&M) re: same
                                                    (.40); review draft background section (.20); emails
                                                    with S. Wheeler re: drafting approach (.40); emails
                                                    with S. Rosenthal re: cold wallet evidence (.20);
                                                    review and review draft wallet node section (1.20);
                                                    review Sygnia comments on draft sections (.30); email
                                                    with A. Holland and Y. Torati (Sygnia) re: same (.10);
                                                    review and comment on findings re: cold wallet
                                                    storage (.50); emails with P. Lavin re: same (.30);
                                                    review A. Lewis comments on draft security sections
                                                    (.40); email with A. Lewis re: same (.10); emails with
                                                    T. Millet re: revising background (.20); email to C.
                                                    Kerin and S. Rosenthal re: approach to shortening
                                                    security section (.40).
03/15/2023 Anthony Lewis                       1.00 Review and revise excerpts of interim investigation
                                                    report (.50); correspondence with S&C team re: same
                                                    (.50).
03/15/2023 Zoeth Flegenheimer                  3.30 Revise interim investigation report (3.0); coordinate
                                                    with T. Millet re: revising interim investigation report
                                                    (.20); meeting with S. Wheeler re: status of and
                                                    revisions to the interim investigation report (.10).
03/15/2023 Meaghan Kerin                       2.10 Revise interim investigation report re: financial and
                                                    forensic-related control failures (1.7); review interview
                                                    memoranda and related records in connection with
                                                    same (.30); correspondence with N. Friedlander, S.
                                                    Rosenthal re: draft of interim investigation report (.10).
03/15/2023 Alexander Holland                   1.70 Review and revise interim investigation report.
03/15/2023 Daniel O'Hara                       1.40 Revise sections of interim investigation report.
03/15/2023 Samantha Rosenthal                  6.30 Correspondences with Sygnia re: technical questions
                                                    for interim investigation report (.30); call with Y.
                                                    Torati (Sygnia) re: technical questions for interim
                                                    investigation report (.50); revise notes re: same (.20);
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                                                     review and revise interim investigation report (2.7);
                                                     call with N. Friedlander re: topic relevant to interim
                                                     investigation report (.20); research re: topic relevant to
                                                     interim investigation report (1.9); internal
                                                     correspondences re: same (.50).
03/15/2023 Phoebe Lavin                        9.00 Research re: interim investigation report (8.6); call with
                                                    A. Mazumdar re: research to assist with interim
                                                    investigation report (.40).
03/15/2023 Aneesa Mazumdar                     1.90 Research re: topic relevant to interim investigation
                                                    report (1.5); call with P. Lavin re: same (.40).
03/15/2023 Tatum Millet                        2.70 Revise section of interim investigation report (1.2);
                                                    work on citations for the same (1.5).
03/16/2023 Stephanie Wheeler                   0.20 Call with C. Dunne re: interim investigation report
                                                    (.10); call with S. Peikin re: interim investigation report
                                                    (.10).
03/16/2023 Steven Peikin                       0.10 Call with S. Wheeler re: interim investigation report.
03/16/2023 Christopher Dunne                   0.10 Call with S. Wheeler re: interim investigation report.
03/16/2023 Jacob Croke                         0.40 Revise interim investigation report (.30),
                                                    correspondence with C. Dunne re: same (.10).
03/16/2023 Nicole Friedlander                  5.70 Call with M. Kerin re: interim investigation report
                                                    (.10); revise sections of same (4.4); correspondence
                                                    with S. Rosenthal, A. Holland, J. Croke, T. Millet and
                                                    C. Dunne re: same (.80); call with T. Millet re: revising
                                                    section of interim investigation report (.40).
03/16/2023 Anthony Lewis                       0.30 Review interim investigation report (.20);
                                                    correspondence with S&C team re: same (.10).
03/16/2023 Zoeth Flegenheimer                  0.90 Revise interim investigation report.
03/16/2023 Meaghan Kerin                       8.70 Correspondence with S&C and Sygnia teams re:
                                                    interim investigation report (.50); revise draft interim
                                                    investigation report section (7.3); review records in
                                                    connection with same (.80); call with N. Friedlander
                                                    re: interim investigation report (.10).
03/16/2023 Alexander Holland                   3.30 Revise interim investigation report.
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03/16/2023 Samantha Rosenthal                  8.20 Edit section of interim investigation report (2.6); edit
                                                    sections of interim report (2.3); review and revise draft
                                                    interim investigation report (2.4); email
                                                    correspondences with N. Friedlander, C. Kerin re:
                                                    same (.30); email correspondence with Y. Torati
                                                    (Sygnia) re: issue related to interim investigation report
                                                    (.10); email correspondences with Sygnia re: interim
                                                    investigation report (.20); email correspondences with
                                                    P. Lavin re: issue related to interim investigation report
                                                    (.30).
03/16/2023 Phoebe Lavin                        1.30 Research issue related to interim investigation report.
03/16/2023 Aneesa Mazumdar                     0.30 Review summary of documents re: issue related to
                                                    interim investigation report.
03/16/2023 Tatum Millet                        3.20 Call with N. Friedlander re: section of interim
                                                    investigation report (.40); correspondence with N.
                                                    Friedlander re: same (.10); revise section of the interim
                                                    investigation report (2.7).
03/17/2023 Christopher Dunne                   1.00 Review materials and draft and correspondence to
                                                    S&C team re: interim investigation report.
03/17/2023 Nicole Friedlander                  4.80 Revise interim investigation report (4.4); review A&M
                                                    comments on draft report (.40); email with K.
                                                    Ramanathan (A&M) re: same (.10); emails with S.
                                                    Rosenthal re: Sygnia comments on report (.20); emails
                                                    with K. Lemire (QE) re: QE section of report (.10).
03/17/2023 Meaghan Kerin                       5.10 Revise interim investigation report re: section (4.8);
                                                    correspondence with N. Friedlander, S. Rosenthal
                                                    and Alix re: interim investigation report (.30).
03/17/2023 Daniel O'Hara                       0.20 Correspondence with S&C team re: interim
                                                    investigation report.
03/17/2023 Samantha Rosenthal                  6.60 Review and revise interim investigation report (2.5);
                                                    email correspondences with N. Friedlander, M. Kerin
                                                    re: same (.30); email correspondences to internal team
                                                    re: issue relevant to interim investigation report (.50);
                                                    email correspondences with P. Lavin re: issue relevant
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                                                     to interim investigation report (.30); revise interim
                                                     investigation report sections re: same (.90); review
                                                     FTX Group due diligence questionnaires (.40); email
                                                     correspondences with Sygnia re: technical questions
                                                     for interim investigation report (.30); email
                                                     correspondences with N. Friedlander re: same (.20);
                                                     revise interim investigation report based on Sygnia
                                                     answers to technical questions (1.2).
03/17/2023 Phoebe Lavin                        1.50 Research forensic representations for interim
                                                    investigation report.
03/18/2023 Christopher Dunne                   0.50 Correspondence with S&C team re: interim
                                                    investigation report.
03/18/2023 Nicole Friedlander                  5.10 Call with K. Lemire re: Quinn sections of report (.30);
                                                    emails to K. Lemire re: same (.20); continue drafting
                                                    and revising report (3.7); revisions to table of
                                                    contents/outline (.40); emails with M. Kerin, S.
                                                    Rosenthal re: Alameda privileges section (.50).
03/18/2023 Alexa Kranzley                      0.30 Revise interim investigation report section.
03/18/2023 Meaghan Kerin                       0.10 Correspondence with N. Friedlander re: revisions to
                                                    interim investigation report.
03/19/2023 Christopher Dunne                   1.80 Review interim investigation report.
03/19/2023 Nicole Friedlander                  7.70 Continue drafting and revising report (6.60); review
                                                    revised sections from M. Kerin and D. O'Hara (.40);
                                                    review draft governance section (.20); emails with A.
                                                    Kranzley, A. Dietderich, M. Kerin, D. O'Hara re:
                                                    same (.40); emails with C. Dunne re: management
                                                    section (.10).
03/19/2023 Meaghan Kerin                       1.20 Revise interim investigation report (1.1);
                                                    correspondence with N. Friedlander re: same (.10).
03/19/2023 Samantha Rosenthal                  0.50 Email correspondences with M. Kerin re: interim
                                                    investigation report revisions (.10); review revised
                                                    draft interim investigation report (.40).
03/20/2023 Christopher Dunne                   3.90 Review and revise interim investigation report.
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03/20/2023 Nicole Friedlander                  3.50 Review background section of interim investigation
                                                    report (.20); emails with C Dunne and K. Lemire
                                                    (QE) re: same (.30); emails with C. Dunne re:
                                                    potential exhibits (.20); review Sygnia comments on
                                                    draft section (.20); revise draft interim investigation
                                                    report (2.6).
03/20/2023 Meaghan Kerin                       1.00 Correspondence with S. Rosenthal and Sygnia re:
                                                    interim investigation report (.10); review Sygnia outline
                                                    and comments re: interim investigation report (.90).
03/20/2023 Alexander Holland                   0.30 Correspondence with N. Friedlander re: interim
                                                    investigation report.
03/20/2023 Daniel O'Hara                       0.80 Draft and revise interim investigation report section.
03/20/2023 Samantha Rosenthal                  0.60 Email correspondences with Sygnia re: issue relevant
                                                    to interim investigation report (.20); review Sygnia
                                                    comments re: same (.30); email correspondences with
                                                    Sygnia re: issue relevant to interim investigation report
                                                    (.10).
03/21/2023 Nicole Friedlander                  4.90 Revise interim investigation report (4.6);
                                                    correspondence to C. Dunne re: same (.30).
03/21/2023 Meaghan Kerin                       3.40 Revise draft interim investigation report (2.6); research
                                                    re: interim investigation report (.60); correspondence
                                                    to N. Friedlander, Sygnia and S. Rosenthal re: same
                                                    (.20).
03/21/2023 Alexander Holland                   0.10 Correspondence with N. Friedlander re: interim
                                                    investigation report.
03/21/2023 Samantha Rosenthal                  4.60 Email correspondences with N. Friedlander, M. Kerin
                                                    re: revisions to interim investigation report (.50);
                                                    review M. Kerin revisions to interim investigation
                                                    report (.60); review Sygnia comments on interim
                                                    investigation report (.30); review N. Friedlander
                                                    revisions to interim investigation report (.70); further
                                                    revise interim investigation report (2.5).
03/21/2023 Tatum Millet                        0.60 Revise responses re: interim investigation report.
03/21/2023 William Scheffer                    0.20 Correspondence with M. Bennett re: draft interim
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                                                     investigation report.
03/22/2023 Nicole Friedlander                 12.10 Revise interim investigation report (9.8);
                                                    correspondence with M. Kerin, A. Holland, T. Millet
                                                    and S. Rosenthal re: same (1.2); correspondence with
                                                    E. Simpson and A. Kranzley re: interim investigation
                                                    report (.40); review and comment on interim
                                                    investigations report (.50); correspondence with K.
                                                    Lemire (QE) re: drafting of same (.20).
03/22/2023 Anthony Lewis                       0.10 Correspondence with S&C and Sygnia teams re:
                                                    interim investigation report.
03/22/2023 Meaghan Kerin                       4.00 Revise interim investigation report (3.1); review
                                                    records in connection with same (.50);
                                                    correspondence to N. Friedlander, S. Rosenthal and
                                                    Sygnia team re: same (.40).
03/22/2023 Alexander Holland                   0.20 Correspondence with N. Friedlander re: interim
                                                    investigation report.
03/22/2023 Samantha Rosenthal                  6.10 Revise interim investigation report (2.1);
                                                    correspondences with N. Friedlander, M. Kerin re:
                                                    same (.40); correspondences with N. Friedlander, M.
                                                    Kerin and Sygnia re: technical questions re: interim
                                                    investigation report (.30); review and revise interim
                                                    investigation report (3.3).
03/22/2023 Tatum Millet                        2.10 Research re: interim investigation report (1.7);
                                                    summarize of research re: same (.40).
03/23/2023 Christopher Dunne                   5.10 Review interim investigation report.
03/23/2023 Nicole Friedlander                  0.40 Review interim investigation report.
03/23/2023 Meaghan Kerin                       0.70 Review interim investigation report (.60);
                                                    correspondence with N. Friedlander, S. Rosenthal
                                                    and Sygnia re: same (.10).
03/23/2023 Samantha Rosenthal                  3.80 Review interim investigation report (.50); email
                                                    correspondences with N. Friedlander, M. Kerin re:
                                                    same (.20); incorporate S&C team edits into draft
                                                    interim investigation report (1.2); revise draft interim
                                                    investigation report (1.9).
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03/24/2023 Stephanie Wheeler                   8.00 Call with C. Dunne re: interim investigation report
                                                    (.20); revise interim investigation report (7.5);
                                                    correspondence with N. Friedlander and C. Dunne re:
                                                    revisions to same (.30).
03/24/2023 Christopher Dunne                   4.20 Call with S. Wheeler re: J. Ray (FTX) report (.20);
                                                    review, revise and correspondence to S&C team re: J.
                                                    Ray (FTX) report (3.5); call with S. Wheeler re:
                                                    interim investigation report (.20); call with N.
                                                    Friedlander re: interim investigation report (.30).
03/24/2023 Nicole Friedlander                  4.50 Call with C. Dunne re: interim investigation report
                                                    (.30); correspondence with S. Wheeler re: same (.30);
                                                    review same (.70); revise same (3.2).
03/24/2023 Meaghan Kerin                       0.10 Correspondence with N. Friedlander re: interim
                                                    investigation report (.10).
03/24/2023 Emma Downing                        0.40 Research re: interim investigation report.
03/25/2023 Stephanie Wheeler                   0.80 Review and revise interim investigation report (.70);
                                                    correspondence with N. Friedlander and C. Dunne re:
                                                    same (.10).
03/25/2023 Christopher Dunne                   0.50 Revise interim investigation report.
03/25/2023 Jacob Croke                         0.80 Review and revise interim investigation report.
03/25/2023 James Bromley                       1.70 Review interim investigation report.
03/25/2023 James McDonald                      2.10 Revise interim investigation report and
                                                    correspondence to S&C team re: same.
03/25/2023 Meaghan Kerin                       0.10 Correspondence with N. Friedlander and Alix re:
                                                    updated draft interim report.
03/25/2023 Daniel O'Hara                       1.20 Revise interim investigation report.
03/26/2023 Stephanie Wheeler                   1.70 Review and revise interim investigation report based
                                                    on from J. McDonald and K. Lemire (QE).
03/26/2023 Christopher Dunne                   1.50 Review and comment on interim investigation report.
03/26/2023 Jacob Croke                         0.50 Revise interim investigation report.
03/26/2023 Nicole Friedlander                  2.70 Review comments from J. Bromley and J McDonald
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                                                     on draft report (.40); revisions to draft report (1.7);
                                                     emails with J. Bromley, J. McDonald, A. Dietderich,
                                                     S. Wheeler, C. Dunne and C. Kerin re: same (.60).
03/26/2023 James Bromley                       1.30 Review and revise interim investigation report (1.0);
                                                    correspondence with N. Friedlander, A. Dietderich
                                                    and S. Wheeler re: same (.30).
03/26/2023 Anthony Lewis                       0.40 Review interim investigation report (.30);
                                                    correspondence with S&C team re: same (.10).
03/26/2023 Meaghan Kerin                       2.90 Review interim investigation report (.50); revise same
                                                    (.80); analyze Sygnia records re: same (.60); conduct
                                                    research re: same (.90); correspondence with N.
                                                    Friedlander and S. Rosenthal re: same (.10).
03/26/2023 Daniel O'Hara                       0.40 Revise interim investigation report.
03/26/2023 Samantha Rosenthal                  0.60 Correspondences with N. Friedlander, M. Kerin re:
                                                    interim investigation report (.30); review proposed
                                                    revisions to interim investigation report (.30).
03/27/2023 Stephanie Wheeler                   2.00 Call with S. Peikin, C. Dunne, B. Glueckstein, A.
                                                    Kranzley, J. Bromley and S. Cohen Levin re: interim
                                                    investigation report (.20); call with S. Peikin re:
                                                    revisions to same (.10); correspondence to N.
                                                    Friedlander and C. Dunne re: same (.10); revise
                                                    interim investigation report (1.3); call with C. Dunne
                                                    re: revisions on same (.30).
03/27/2023 Steven Peikin                       0.30 Call with C. Dunne, S. Wheeler, B. Glueckstein, A.
                                                    Kranzley, J. Bromley and S. Cohen Levin re: interim
                                                    investigation report (.20); call with S. Wheeler re:
                                                    revisions to same (.10).
03/27/2023 Brian Glueckstein                   0.40 Correspondence with S&C team re: investigation
                                                    report (.20); call with S. Peikin, S. Wheeler, C.
                                                    Dunne, A. Kranzley, J. Bromley and S. Cohen Levin
                                                    re: interim investigation report (.20).
03/27/2023 Christopher Dunne                   4.30 Call with C. Dunne, D. O’Hara, and Alix team and
                                                    A&M team to discuss interim investigation report draft
                                                    (.20); consider comments and approach to interim
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                                                     investigation report (3.4); call with S. Peikin, S.
                                                     Wheeler, B. Glueckstein, A. Kranzley, J. Bromley and
                                                     S. Cohen Levin re: interim investigation report (.20);
                                                     call with S. Wheeler re: revisions on same (.30); call
                                                     with D. O’Hara, Alix team and A&M team re: interim
                                                     investigation report draft (.20).
03/27/2023 Nicole Friedlander                  4.10 Correspondence to S. Wheeler and C. Dunne re:
                                                    drafting and revisions to report (.90); revise to report
                                                    (3.2).
03/27/2023 Sharon Levin                        0.20 Call with S. Peikin, S. Wheeler, B. Glueckstein, C.
                                                    Dunne, J. Bromley and A. Kranzley re: interim
                                                    investigation report.
03/27/2023 Alexa Kranzley                      0.20 Call with S. Peikin, S. Wheeler, B. Glueckstein, C.
                                                    Dunne, J. Bromley and S. Cohen Levin re: interim
                                                    investigation report (.20).
03/27/2023 Meaghan Kerin                       2.00 Revise interim investigation report (1.9);
                                                    correspondence with N. Friedlander, S. Rosenthal
                                                    and Sygnia re: same (.10).
03/27/2023 Alexander Holland                   0.30 Correspondence to N. Friedlander re: interim
                                                    investigation report.
03/27/2023 Daniel O'Hara                       1.50 Revise interim investigation report (1.3); call with C.
                                                    Dunne, Alix team and A&M team re: interim
                                                    investigation report draft (.20).
03/27/2023 Samantha Rosenthal                  5.60 Correspondences with N. Friedlander and M. Kerin
                                                    re: interim investigation report (.70); review comments
                                                    on interim investigation report (.60); revise interim
                                                    investigation report (3.9); correspondence to internal
                                                    team re: Japan regulatory question (.40).
03/28/2023 Stephanie Wheeler                   0.50 Revise interim investigation report (.30);
                                                    correspondence with N. Friedlander and C. Dunne re:
                                                    same (.20).
03/28/2023 Christopher Dunne                   0.30 Call with D. O’Hara to discuss revisions to interim
                                                    investigation report.
03/28/2023 Nicole Friedlander                  2.60 Correspondence with M. Kerin, S. Rosenthal, K.
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                                                     Ramanathan (A&M), C. Dunne and S. Wheeler re:
                                                     revisions to interim investigation report and open
                                                     questions (0.90); review and assess revisions to report
                                                     (1.7).
03/28/2023 Anthony Lewis                       0.10 Correspondence with S&C team re: interim
                                                    investigation report.
03/28/2023 Bradley Harsch                      0.40 Review and comment on correspondence to J. Ray
                                                    (FTX) re: letter to regulator.
03/28/2023 Meaghan Kerin                       7.60 Call with D. O’Hara re: revisions to interim
                                                    investigation report (.20); call with S. Rosenthal re:
                                                    interim investigation report (.20); correspondence with
                                                    N. Friedlander, A. Lewis, D. O’Hara, A. Holland, S.
                                                    Rosenthal and Sygnia re: interim investigation report
                                                    (.60); revise same (5.9); review interview memoranda
                                                    and related records in connection with same (.70).
03/28/2023 Alexander Holland                   0.60 Revise interim investigation report.
03/28/2023 Daniel O'Hara                       2.70 Revise interim investigation report (2.5); call with M.
                                                    Kerin re: same (.20).
03/28/2023 Samantha Rosenthal                 10.80 Call with M. Kerin re: interim investigation report
                                                    (.20); revise notes re: same (.40); correspondence to
                                                    internal team re: draft interim investigation report (.60);
                                                    research re: interim investigation report (.50); review
                                                    draft interim investigation report (1.1); revise draft
                                                    interim investigation report (2.7); correspondences
                                                    with Sygnia re: technical questions for interim
                                                    investigation report (.50); revise interim investigation
                                                    report based on Sygnia responses to technical
                                                    questions (2.5); correspondences with P. Lavin re:
                                                    same (.20); revise interim investigation report (1.6);
                                                    correspondence with N. Friedlander, M. Kerin re:
                                                    same (.20); email correspondence with M. Kerin, D.
                                                    O'Hara re: Sygnia and A&M edits to interim
                                                    investigation report (.10); correspondences with S.
                                                    Wheeler, N. Friedlander, C. Dunne and M. Kerin re:
                                                    status of interim investigation report and version
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Date        Name                             Hours Description

                                                     control (.20).
03/29/2023 Christopher Dunne                   2.40 Calls with D. O’Hara to discuss interim investigation
                                                    report (.20); call with J. Croke re: interim investigation
                                                    report (.50); work on interim investigation report
                                                    (1.5); call with D. O’Hara to discuss interim
                                                    investigation report (.20).
03/29/2023 Jacob Croke                         0.60 Revise interim investigation report (.40), call with N.
                                                    Friedlander re: same (.20).
03/29/2023 Nicole Friedlander                  3.40 Revise interim investigation report (1.8); comments on
                                                    same (.40); correspondence with C. Kerin, C. Dunne,
                                                    A. Lewis, S. Wheeler, J. Croke and K. Ramanathan
                                                    (A&M) re: same (1.2).
03/29/2023 Anthony Lewis                       0.20 Correspondence with S&C team re: interim
                                                    investigation report.
03/29/2023 Meaghan Kerin                       6.50 Call with D. O’Hara re: draft interim investigation
                                                    report (.10); revise same (5.1); review interview
                                                    memoranda and related records in connection with
                                                    same (.60); correspondence with N. Friedlander, D.
                                                    O’Hara, S. Rosenthal, A&M team and Sygnia team
                                                    re: same (.70).
03/29/2023 Daniel O'Hara                       1.80 Revise interim investigation report (1.5); call with M.
                                                    Kerin re: draft interim investigation report (.10); call
                                                    with C. Dunne re: draft interim investigation report
                                                    (.20).
03/29/2023 Samantha Rosenthal                  4.30 Correspondence with N. Friedlander, M. Kerin re:
                                                    interim investigation report graphics (.20);
                                                    correspondences with Sygnia re: same (.20); review
                                                    UCC deck for same (.20); correspondences with M.
                                                    Kerin and D. O'Hara re: comments on interim
                                                    investigation report (.30); review same (.90); revisions
                                                    to interim investigation report based on same (1.1);
                                                    further revisions to interim investigation report based
                                                    on S&C comments (1.4).
03/30/2023 Christopher Dunne                   1.90 Review and revise interim investigation report.
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Date        Name                             Hours Description
03/30/2023 Jacob Croke                         1.20 Revise interim investigative report (1.0),
                                                    correspondence C. Dunne re: same (.20).
03/30/2023 Nicole Friedlander                  8.80 Review and assess comments on interim investigation
                                                    report (.30); correspondence with C. Dunne and J.
                                                    Croke re: same (.50); correspondence with C. Dunne,
                                                    S. Wheeler, C. Kerin, S. Rosenthal, A. Holland and
                                                    D. O' Hara re: revisions and open questions for report
                                                    (1.2); revise interim investigation report (6.7); call with
                                                    K. Ramanathan (A&M) re: same (.10).
03/30/2023 Anthony Lewis                       0.10 Correspondence with S&C team re: interim
                                                    investigation report.
03/30/2023 Bradley Harsch                      0.10 Review correspondence from S&C team re:
                                                    documents to review for interim investigation report.
03/30/2023 Zoeth Flegenheimer                  0.30 Review interim investigation report.
03/30/2023 Meaghan Kerin                       3.00 Revise interim investigation report (1.8); review
                                                    records in connection with same (.90);
                                                    correspondence with N. Friedlander, A. Holland, D.
                                                    O’Hara and A&M team re: same (.30).
03/30/2023 Alexander Holland                   0.30 Correspondence with N. Friedlander re: interim
                                                    investigation report.
03/30/2023 Daniel O'Hara                       0.10 Correspondence with S&C team re: interim
                                                    investigation report.
03/30/2023 Samantha Rosenthal                  2.50 Correspondences with N. Friedlander and M. Kerin
                                                    re: draft interim investigation report (.40);
                                                    correspondences with N. Friedlander and M. Kerin
                                                    re: interim investigation report (.20); correspondence
                                                    with K. Ramanathan (A&M) re: same (.10); review
                                                    Sygnia comments re: interim investigation report (.30);
                                                    review S&C comments re: interim investigation report
                                                    (.40); revise interim investigation report (1.1).
03/31/2023 Stephanie Wheeler                   2.30 Revise interim investigation report (2.0); research for
                                                    interim investigation report (.20); correspondence with
                                                    N. Friedlander re: same (.10).
03/31/2023 Nicole Friedlander                  7.30 Call with S. Rosenthal re: draft interim investigation
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Date        Name                             Hours Description

                                                      report (.10); correspondence with S. Rosenthal, C.
                                                      Kerin and A. Holland re: same (.60); review Sygnia
                                                      comments on same (.40); review and revise interim
                                                      investigation report (6.1); correspondence to J. Ray
                                                      (FTX) re: same (.10).
03/31/2023 Anthony Lewis                       0.10 Correspondence with S&C team re: interim
                                                    investigation report.
03/31/2023 Meaghan Kerin                       1.50 Correspondence with N. Friedlander, A. Holland and
                                                    S. Rosenthal re: interim investigation report (.30);
                                                    conduct research in connection with same (.80);
                                                    review interim investigation report (.40).
03/31/2023 Alexander Holland                   0.70 Correspondence with N. Friedlander re: interim
                                                    investigation report.
03/31/2023 Samantha Rosenthal                  3.10 Call with N. Friedlander re: draft interim investigation
                                                    report (.10); review S. Wheeler comments re: same
                                                    (.70); revise interim investigation report (2.1);
                                                    correspondences with M. Kerin and L. Ross re: same
                                                    (.20).

Total                                        605.50
